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                       U.S. DEPARTMENT OF AGRICULTURE



            After Identifying Gaps in Previous
            Aid, USDA Announces ‘Pandemic
            Assistance for Producers’ to
            Distribute Resources More
            Equitably
            USDA Reopens Program Sign-Up to a Larger Share of Producers with Plans to Expand
            Outreach and New Programming


                 Press Release
                 Release No. 0056.21

                 Contact: USDA Press
                 Email: press@usda.gov


            WASHINGTON, March 24, 2021 — Agriculture Secretary Tom Vilsack announced today
            that USDA is establishing new programs and efforts to bring financial assistance to
            farmers, ranchers and producers who felt the impact of COVID-19 market disruptions.
            The new initiative—USDA Pandemic Assistance for Producers—will reach a broader set
            of producers than in previous COVID-19 aid programs. USDA is dedicating at least $6
            billion toward the new programs. The Department will also develop rules for new
            programs that will put a greater emphasis on outreach to small and socially
            disadvantaged producers, specialty crop and organic producers, timber harvesters, as
            well as provide support for the food supply chain and producers of renewable fuel,
            among others. Existing programs like the Coronavirus Food Assistance Program (CFAP)
            will fall within the new initiative and, where statutory authority allows, will be refined to
            better address the needs of producers.



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            USDA Pandemic Assistance for Producers was needed, said Vilsack, after a review of
            previous COVID-19 assistance programs targeting farmers identified a number of gaps
            and disparities in how assistance was distributed as well as inadequate outreach to
            underserved producers and smaller and medium operations.

            “The pandemic affected all of agriculture, but many farmers did not benefit from
            previous rounds of pandemic-related assistance. The Biden-Harris Administration is
            committed to helping as many producers as possible, as equitably as possible,” said
            Vilsack. “Our new USDA Pandemic Assistance for Producers initiative will help get
            financial assistance to a broader set of producers, including to socially disadvantaged
            communities, small and medium sized producers, and farmers and producers of less
            traditional crops.”

            USDA will reopen sign-up for CFAP 2 for at least 60 days beginning on April 5, 2021. The
            USDA Farm Service Agency (FSA) has committed at least $2.5 million to improve
            outreach for CFAP 2 and will establish partnerships with organizations with strong
            connections to socially disadvantaged communities to ensure they are informed and
            aware of the application process.

            The payments announced today (under Part 3, below) will go out under the existing
            CFAP rules; however, future opportunities for USDA Pandemic Assistance will be
            reviewed for verified need and during the rulemaking process, USDA will look to make
            eligibility more consistent with the Farm Bill. Moving forward, USDA Pandemic
            Assistance for Producers will utilize existing programs, such as the Local Agricultural
            Marketing Program, Farming Opportunities Training and Outreach, and Specialty Crop
            Block Grant Program, and others to enhance educational and market opportunities for
            agricultural producers.


            USDA Pandemic Assistance for Producers – 4
            Parts Announced Today
            Part 1: Investing $6 Billion to Expand Help & Assistance to More Producers

            USDA will dedicate at least $6 billion to develop a number of new programs or modify
            existing proposals using discretionary funding from the Consolidated Appropriations Act



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            and other coronavirus funding that went unspent by the previous administration. Where
            rulemaking is required, it will commence this spring. These efforts will include
            assistance for:

                    Dairy farmers through the Dairy Donation Program or other means:
                    Euthanized livestock and poultry;
                    Biofuels;
                    Specialty crops, beginning farmers, local, urban and organic farms;
                    Costs for organic certification or to continue or add conservation activities
                    Other possible expansion and corrections to CFAP that were not part of today’s
                    announcement such as to support dairy or other livestock producers;
                    Timber harvesting and hauling;
                    Personal Protective Equipment (PPE) and other protective measures for food and
                    farm workers and specialty crop and seafood producers, processors and
                    distributors;
                    Improving the resilience of the food supply chain, including assistance to meat and
                    poultry operations to facilitate interstate shipment;
                    Developing infrastructure to support donation and distribution of perishable
                    commodities, including food donation and distribution through farm-to-school,
                    restaurants or other community organizations; and
                    Reducing food waste.

            Part 2: Adding $500 Million of New Funding to Existing Programs

            USDA expects to begin investing approximately $500 million in expedited assistance
            through several existing programs this spring, with most by April 30. This new assistance
            includes:

                    $100 million in additional funding for the Specialty Crop Block Grant Program,
                    administered by the Agricultural Marketing Service (AMS), which enhances the
                    competitiveness of fruits, vegetables, tree nuts, dried fruits, horticulture, and
                    nursery crops.




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                    $75 million in additional funding for the Farmers Opportunities Training and
                    Outreach program, administered by the National Institute of Food and Agriculture
                    (NIFA) and the Office of Partnerships and Public Engagement, which encourages
                    and assists socially disadvantaged, veteran, and beginning farmers and ranchers in
                    the ownership and operation of farms and ranches.
                    $100 million in additional funding for the Local Agricultural Marketing Program,
                    administered by the AMS and Rural Development, which supports the
                    development, coordination and expansion of direct producer-to-consumer
                    marketing, local and regional food markets and enterprises and value-added
                    agricultural products.
                    $75 million in additional funding for the Gus Schumacher Nutrition Incentive
                    Program, administered by the NIFA, which provides funding opportunities to
                    conduct and evaluate projects providing incentives to increase the purchase of
                    fruits and vegetables by low-income consumers
                    $20 million for the Animal and Plant Health Inspection Service to improve and
                    maintain animal disease prevention and response capacity, including the National
                    Animal Health Laboratory Network.
                    $20 million for the Agricultural Research Service to work collaboratively with Texas
                    A&M on the critical intersection between responsive agriculture, food production,
                    and human nutrition and health.

                    $28 million for NIFA to provide grants to state departments of agriculture to expand
                    or sustain existing farm stress assistance programs.

                    Approximately $80 million in additional payments to domestic users of upland and
                    extra-long staple cotton based on a formula set in the Consolidated Appropriations
                    Act, 2021 that USDA plans to deliver through the Economic Adjustment Assistance
                    for Textile Mills program.

            Part 3: Carrying Out Formula Payments under CFAP 1, CFAP 2, CFAP AA

            The Consolidated Appropriations Act, 2021, enacted December 2020 requires FSA to
            make certain payments to producers according to a mandated formula. USDA is now
            expediting these provisions because there is no discretion involved in interpreting such
            directives, they are self-enacting.




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                    An increase in CFAP 1 payment rates for cattle. Cattle producers with approved CFAP
                    1 applications will automatically receive these payments beginning in April.
                    Information on the additional payment rates for cattle can be found on
                    farmers.gov/cfap. Eligible producers do not need to submit new applications, since
                    payments are based on previously approved CFAP 1 applications. USDA estimates
                    additional payments of more than $1.1 billion to more than 410,000 producers,
                    according to the mandated formula.
                    Additional CFAP assistance of $20 per acre for producers of eligible crops identified
                    as CFAP 2 flat-rate or price-trigger crops beginning in April. This includes alfalfa,
                    corn, cotton, hemp, peanuts, rice, sorghum, soybeans, sugar beets and wheat,
                    among other crops. FSA will automatically issue payments to eligible price trigger
                    and flat-rate crop producers based on the eligible acres included on their CFAP 2
                    applications. Eligible producers do not need to submit a new CFAP 2 application.
                    For a list of all eligible row-crops, visit farmers.gov/cfap. USDA estimates additional
                    payments of more than $4.5 billion to more than 560,000 producers, according to
                    the mandated formula.
                    USDA will finalize routine decisions and minor formula adjustments on applications
                    and begin processing payments for certain applications filed as part of the CFAP
                    Additional Assistance program in the following categories:

                          Applications filed for pullets and turfgrass sod;
                          A formula correction for row-crop producer applications to allow producers
                          with a non-Actual Production History (APH) insurance policy to use 100% of the
                          2019 Agriculture Risk Coverage-County Option (ARC-CO) benchmark yield in
                          the calculation;
                          Sales commodity applications revised to include insurance indemnities,
                          Noninsured Crop Disaster Assistance Program payments, and Wildfire and
                          Hurricane Indemnity Program Plus payments, as required by statute; and
                          Additional payments for swine producers and contract growers under CFAP
                          Additional Assistance remain on hold and are likely to require modifications to
                          the regulation as part of the broader evaluation and future assistance;
                          however, FSA will continue to accept applications from interested producers.

            Part 4: Reopening CFAP 2 Sign-Up to Improve Access & Outreach to Underserved Producers



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            As noted above, USDA will re-open sign-up for of CFAP 2 for at least 60 days beginning on
            April 5, 2021.

                    FSA has committed at least $2.5 million to establish partnerships and direct
                    outreach efforts intended to improve outreach for CFAP 2 and will cooperate with
                    grassroots organizations with strong connections to socially disadvantaged
                    communities to ensure they are informed and aware of the application process.

            Please stay tuned for additional information and announcements under the USDA
            Pandemic Assistance to Producers initiative, which will help to expand and more
            equitably distribute financial assistance to producers and farming operations during the
            COVID-19 national emergency. Please visit www.farmers.gov for more information on the
            details of today’s announcement.

            USDA touches the lives of all Americans each day in so many positive ways. In the Biden-
            Harris administration, USDA is transforming America’s food system with a greater focus
            on more resilient local and regional food production, ensuring access to healthy and
            nutritious food in all communities, building new markets and streams of income for
            farmers and producers using climate-smart food and forestry practices, making historic
            investments in infrastructure and clean-energy capabilities in rural America, and
            committing to equity across the Department by removing systemic barriers and building
            a workforce more representative of America. To learn more, visit www.usda.gov.

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            USDA is an equal opportunity provider, employer, and lender.




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                                  Report to Congress



     A Comparison of Transfers and Subsidies to Minority and Non-Minority Producers
                 Associated with Key Farm and Conservation Programs


                                           as
                           Requested by House Report 116-107



                                     Prepared by:

              FPAC Business Center/Economic and Policy Analysis Division

                       FPAC Business Center/Civil Rights Division

                              FPAC/Farm Service Agency

                     FPAC/Natural Resources Conservation Service




                                     August 5, 2021




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  Executive Summary

  House Report 116-107 requests that the U.S. Department of Agriculture (USDA) provide to the
  House Committee on Appropriations “a report on the distribution of farm subsidies, low-interest
  loans, and cost-share conservation programs and its impact on minority-owned farms.” 1
  Administrative data from the Farm Service Agency (FSA) and Natural Resources Conservation
  Service (NRCS) are used in this report to identify transfers and subsidies for select programs to
  minority and non-minority producers for (depending on the program) either program years 2015-
  2019 or program years 2015-2020.

  Data from the 2017 Census of Agriculture indicate that nearly 8 percent of U.S. producers
  identified as minorities. Minorities accounted for 8 percent or fewer of the FSA and NRCS
  program payees analyzed in this report, with the exception of the Livestock Forage Program
  (LFP), at 10 percent, and the Environmental Quality Incentives Program (EQIP), at 11 percent.
  While minority producers accounted for 12 percent of EQIP payments between fiscal years 2015
  and 2020, payments to minority producers did not exceed 8 percent for any other conservation or
  farm program. In general, minority producers accounted for a larger share of conservation
  program payees and payments than they did farm program payees and payments.

  Much interest surrounds minority farmer participation in farm loan programs, and these
  programs are examined in depth, including primary loan servicing. Primary loan servicing is
  available to delinquent or distressed borrowers and may allow for restructuring, amortization
  with longer terms, and lower rates. On average, non-minority borrowers who received primary
  loan servicing had an average 71-basis point reduction in their rate, amounting to an average of
  $297 per borrower per year in interest subsidy. Minority borrowers received an average 82-basis
  point reduction from primary loan servicing, amounting to an average $309 subsidy per borrower
  per year. Minorities represented 6.6 percent of all borrowers receiving an interest write down.

  The value of the explicit interest subsidy on an annual basis was estimated for down-payment
  and participation loans. The subsidy rate for obligations is the difference between the regular
  farm ownership interest rate and the interest rate for down-payment or participation loans.
  Between program years 2015 and 2020, FSA provided an explicit interest rate subsidy of $45.5
  million (95 percent) to non-minorities and $2.2 million (5 percent) to minorities. The average
  subsidy per borrower was $2,664 for non-minorities and $2,235 for minorities.

  FSA and NRCS continue to examine outreach and education processes to improve producer
  awareness and increase program participation. Solid steps are being taken to increase both
  awareness and participation in programs through employee outreach training, more in-depth data
  analysis, and stakeholder engagement and employee education regarding minority barriers and
  cultural sensitivities.
  Introduction

  1 The definition of “minority” for the majority of programs in this report is based on the definition of “socially

  disadvantaged farmer or rancher” in section 2501(a) of the Food, Agriculture, Conservation, and Trade Act of 1990
  (7 U.S.C. 2279(a)). We use the terms “minority,” “socially disadvantaged (SDA),” and “historically underserved”
  as program guidance uses these definitions. Data used in this report are for racial and ethnic demographics.


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  The Agriculture, Rural Development, Food and Drug Administration, and Related Agencies
  Appropriations Bill, 2020 (H. Rept. 116-107) requests that USDA provide to the Committee “a
  report on the distribution of farm subsidies, low-interest loans, and cost-share conservation
  programs and its impact on minority-owned farms.”

  The definition of “minority” for the majority of programs in this report is based on the definition
  of “socially disadvantaged farmer or rancher” in section 2501(a) of the Food, Agriculture,
  Conservation, and Trade Act of 1990 (7 U.S.C. 2279(a)). We use the terms “minority,” “socially
  disadvantaged” (SDA), and “historically underserved” in this report as program guidance uses
  these definitions. Data used in this report are for racial and ethnic demographics.

  This report examines the distribution of benefits and payments associated with key farm subsidy,
  low-interest loan, and cost-share conservation programs managed by FSA and NRCS. Not all
  FSA subsidy programs are analyzed; rather, programs were chosen based on the volume of
  payments and to provide a comparison between longstanding farm bill (“mandatory”) programs,
  other programs, and recent ad hoc programs. 2 Programs analyzed include:

      •   Safety Net Programs
             Agriculture Risk Protection/Price Loss Coverage (ARC/PLC)
             Livestock Indemnity Program (LIP)
             Livestock Forage Program (LFP)

      •   Ad Hoc Programs
              Market Facilitation Program (MFP)
              Coronavirus Food Assistance Program (CFAP)

      •   Conservation Programs
              Conservation Reserve Program (CRP)
              Environmental Quality Incentives Program (EQIP)
              Conservation Stewardship Program (CSP)
              Agricultural Management Assistance (AMA)

      •   Farm Loan Programs
              Direct Loan Programs with an Explicit Interest Rate Subsidy
                    Down-payment Loans
                    Participation Loans
                    Primary Loan Servicing
              Total Value of Interest Rate Subsidy for Direct Loans

  The safety net and ad hoc programs listed above have specific eligibility criteria with payments
  (cash transfers) based on the size of operation (typically in terms of some measure of acreage or
  number of animals). Conservation programs involve financial assistance and, in the case of CRP
  cash transfers in the form of annual rental payments. In contrast, farm loan programs are credit

  2
   Crop insurance is not included given that subsidies are expressed as a discount on a producer’s premium bill and
  are not transfer payments. If a producer purchases insurance and has no losses, the producer has received no net
  payment from the government.

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  programs that can contain an interest rate subsidy. As a result, a different approach is used to
  analyze subsidy issues for these programs and a more detailed analysis is provided in the report

  Along with 2017 Census of Agriculture data, administrative data from FSA and NRCS for
  program years 2015-2019 or program years 2015-2020 form the basis for this report. Several
  notes are important to understanding the administrative data:

  Producer race and ethnicity data—Historically, FSA employees would record the race and
  ethnicity of its customers based either on self-reporting by customers or often from visual
  observations by FSA staff. Currently, in accordance with Departmental Regulation 4370-001,
  farm program participants’ reporting of race and ethnicity is entirely voluntary unless the
  applicant wishes to qualify for socially disadvantaged-targeted funds associated with FSA credit
  programs. With future customers, FSA is transitioning away from any employee and third-party
  observations and relying on voluntary self-reporting by customers. The data tables in this report
  rely on historical reporting of race and ethnicity which includes third-party observations by FSA
  staff.

  If an FSA customer voluntarily provides race and ethnicity information on the AD-2106 or AD-
  2047 form for a farm program (such as ARC/PLC or CFAP), it is “Customer Declared.” If the
  race or ethnicity of a customer is observed by an FSA employee or other third party, it is “Not
  Verified.”

  As shown in Table 1, the “Not Verified” category accounts for a large portion of the race and
  ethnicity data captured by FSA. The data in this report regarding FSA programs rely on both the
  “Customer Declared” and “Not Verified” data.

  Table 1. Proportion of FSA Minority Customers in FSA Data System by Method Identified:
  “Customer Declared” vs. “Not Verified”
                     Asian, Pacific     Black or       American
                       Islander,        African                           Hispanic   White       Any
                                                      Indian and
                      Hawaiian         American                                              Racial/Ethnic
                                                     Alaska Native
                         Native                                                                Minority
     Customer
     Declared            29%              19%            18%               33%       13%         23%


    Not Verified         71%              81%            82%               67%       87%         77%
  Source: FSA Business Partner data system; accessed February 23, 2021.

  NRCS uses a different data collection strategy, in addition to the use of the AD-2106 as
  authorized by DR 4370-001. NRCS conservation program applications contain a section where
  the producer may self-certify as socially disadvantaged. This election is available for all NRCS
  programs as many programs offer benefits in ranking or advanced payments to socially
  disadvantaged producers. This option involves “checking a box,” which confirms that the
  producer is socially disadvantaged but does not ask for specifics regarding race or ethnicity.
  Thus, the NRCS data presented in this report include only “Customer Declared” data.


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  Race and ethnicity reporting varies throughout the report depending on the data source—For
  the 2017 Census of Agriculture data (Figure 1), individuals can report more than one race in
  addition to ethnicity, and producers are included in each category they report. If a producer
  declares that they are both “Black” and “Hispanic,” then they appear in both categories.
  Similarly, if a producer declares both “Black” and “White,” then they appear in both categories.

  In contrast, most tables in this report use a more streamlined approach where a producer can be
  in only one category (Tables 2-11, 13, 15, 17, and 18). For the NRCS programs, any producer
  may self-certify as minority and all who do not are considered non-minority (no unknowns). For
  the FSA non-credit programs and CRP, producers who self-identified or were identified by local
  FSA staff as a racial minority or Hispanic (“not verified”) are categorized as minorities, while
  producers who self-identified or were identified by FSA staff (“not verified”) as White and not
  Hispanic are categorized as non-minority. Any others are considered “minority status unknown”
  (see discussion below). Thus, for FSA farm programs, all NRCS programs, and Farm Loan
  Programs, if a producer declares both “Black” and “Hispanic” or “White” and “Black,” he or
  she appears just once in the “minority” category (see Tables 2-11, 13, 15, 17, and 18).

  Data collection for Farm Loan Programs has a different history. The Farm Loan Programs
  section of this report contains a set of tables and maps (Tables 12, 14, 16, Figures 6, 7, and 8)
  that show distinct race and Hispanic categories. A producer declaring both “Black” and
  “Hispanic” will be reported in both categories. In addition, a producer can report up to five races.
  However, only one racial category is provided for reporting purposes to avoid duplication and
  the reporting of over 100 possible combinations. For borrowers choosing more than one race,
  Farm Loan Programs has historically identified race or ethnicity for reporting purposes in
  alphabetical order: Asian, Black, Native Indian/Alaska Native, Pacific Islander/Hawaiian,
  White. 3

  Minority status unknown—The administrative data tables appearing in this report contain a
  “minority status unknown” category. Corporations, partnerships, LLCs, and other entities may
  designate as to race and ethnicity (although it is not required). (See footnote for detail.) 4 Those
  who do not designate appear in the “minority status unknown” category.

  Producers include both owners and operators—Both Census and USDA data include owners
  and operators as producers, since farm operators are involved in making day-to-day management
  decisions and can be eligible for many of the programs covered in this report. Producers who
  meet eligibility requirements may participate in more than one of the programs discussed in this
  report.

  Census Data on the Race and Ethnicity of Farm Producers

  The Census of Agriculture, conducted every five years, provides context as to the proportion of
  minority farmers relative to total U.S. farmers. The Census of Agriculture is a complete count of
  3
    For example, a borrower declaring “Asian” and any other racial category is reported as “Asian.” A Black producer
  with any other race (other than “Asian”) would be reported as “Black.”
  4
    The race, ethnicity, and gender data selection and system requirements for both individuals and entities are in
  Handbook 11-CM subparagraph 60 C, page 3-39. See: https://www.fsa.usda.gov/Internet/FSA_File/11-
  cm_r00_a03.pdf.

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  U.S. farms and ranches and the people who operate them. Even small plots of land—whether
  rural or urban—are counted if $1,000 or more of agricultural products were produced and sold,
  or normally would have been sold, during the Census year. The most recent Census year for
  which data were collected is 2017. USDA’s National Agricultural Statistics Service (NASS)
  mailed 2017 Census of Agriculture questionnaires to farm and ranch operators in December
  2017 to collect data for the 2017 calendar year.

  This report takes the broadest approach for counting racial and ethnic minority producers. The
  2017 Census of Agriculture collected data on up to four 5 producers from each of the nation’s two
  million farms for a total of 3.4 million producers (Figure 1). All of these producers are counted,
  and if a producer reports more than one race (or race and Hispanic ethnicity), they are included
  in each category and therefore categories will sum to more than the total. 6

  The vast majority of producers, 96.2 percent, identified as White (Figure 1). The next largest
  racial category 7 was American Indian or Alaska Native, accounting for 2.3 percent of producers.
  Black or African American producers were 1.4 percent of all producers. Asian producers were
  0.7 percent, and Pacific Islander, and Native Hawaiian producers accounted for 0.2 percent. In a
  separate question, Hispanic producers were 3.3 percent of the total. Combined, all minorities
  accounted for just under 8 percent of all U.S. producers.

  Figure 1. Number of U.S. Producers by Race/Ethnicity,a 2017

                                      Total Producers                                            Percent
                                                                                     3,399,834
                 Number of producers identifying* as:

                                                White                                             96.2%
                     American Indian or Alaska Native         79,198                3,269,738      2.3%
                             Black or African American       48,697                                1.4%
                                                 Asian       25,310                                0.7%
                     Pacific Islander, Native Hawaiian       5,296                                 0.2%


                                  Hispanic (Ethnicity)        112,451                              3.3%
                                                         0        1,000,000 2,000,000 3,000,000 4,000,000
  a Producers may report (and be included in) more than one race, or by race and in the Hispanic category.

  Source: 2017 U.S. Census of Agriculture.
  Figure 2 shows farm specialization and average acreage for operations by different race and
  ethnicity categories. Several of the programs discussed later in this report have eligibility
  requirements based on crop type and other considerations. The differences in farm type and size
  among producers of different race/ethnicity is one contributing reason to the differences in
  payments detailed later.

  5
    Fifty-four percent of farms had multiple producers.
  6
    Note that other sources may take alternative approaches and calculate different totals than reported here.
  7
    NASS publishes profiles that contain additional information about minority producers. See:
  https://www.nass.usda.gov/Publications/AgCensus/2017/Online_Resources/Race,_Ethnicity_and_Gender_Profiles/c
  pd99000.pdf.

                                                                 6


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  Figure 2. Percent of Farm Specialization and by Race/Ethnicity,a 2017

   100%


    80%


    60%


    40%


    20%


      0%
           American Indian        Asian       Black or African Native Hawaiian        White           Hispanic
                                                 American         or Pacific
                                                                   Islander
            Avg. acres: 978        160              132              240               431              372

       Oilseed and Grain Farming                                 Vegetable and Melon Farming
       Fruit and Tree Nut Farming                                Greenhouse, Nursery, and Floriculture Production
       Other Crop Farming                                        Beef Cattle Ranching, Farming, and Feedlots
       Dairy Cattle and Milk Production                          Poultry and Egg Production
       Hog and Pig Farming                                       Sheep and Goat Farming
       Aquaculture and Other Animal Production
  a Producers may report (and be included in) more than one race, or by race and in the Hispanic category.

  Source: 2017 U.S. Census of Agriculture.



  Safety Net Programs

  Agriculture Risk Coverage-County (ARC-CO) and Price Loss Coverage (PLC)
  The ARC-CO and PLC programs, first authorized by the Agricultural Act of 2014 (the 2014
  Farm Bill), are administered by FSA. ARC-CO provides payments when actual crop revenue
  declines below a specified guarantee level established for the county in any given year, while
  PLC provides payments when the national effective price for a covered commodity falls below




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  its effective reference price. Producers must have base acres 8 associated with one of the 22
  covered commodities 9 to be eligible for payment.

  Table 2 shows the ARC-CO and PLC payee count and payments for non-minorities, minorities,
  and producers with unknown minority status over program years 2015-2019 and for the total of
  the years. (Note that a program year for ARC-CO and PLC encompasses a variety of different
  crop marketing years. Further, marketing year price data are necessary to compute ARC/PLC
  payments for every crop. As a result, program year 2018 payments for most crops, for example,
  were released in October of 2019. Payments for the last cycle of crops in any given year are
  made in February.

  Table 2. Combined Agriculture Risk Coverage-County (ARC-CO) and Price Loss Coverage
  (PLC) Data, Program Years 2015–2019a
                       Non-Minorities                         Minorities                  Minority Status Unknown
        Year      Payees       Payments                Payees       Payments              Payees        Payments
        2015       754,632    $7,401,071,980            14,928       $74,168,568           31,338      $451,517,296
        2016       711,468    $6,539,336,815            14,505       $88,404,459           30,685      $458,517,660
        2017       533,893    $2,849,618,446            12,533       $45,931,292           24,124      $228,931,256
        2018       478,762    $2,367,350,333            12,193       $42,065,745           23,781      $212,333,976
        2019       694,781    $5,684,489,089            13,347       $81,700,646           37,250      $480,976,184
       5-year
                   634,707       $4,968,373,333          13,501        $66,454,142         29,436        $366,455,274
      average
  a
   The data for this report were developed early in calendar 2021, prior to the end of the 2020 ARC/PLC program
  year.

  Non-minorities accounted for an average of 634,707ARC-CO and PLC payees per year (94
  percent) and an average of $4.97 billion in payments per year (92 percent) for the 2015-2019
  program years. Minorities accounted for an average of 13,501 payees per year (2 percent) and an
  average of $66.45 million of payments per year (1 percent). USDA had no race or ethnicity data
  on the remaining payees.


  Livestock Indemnity Program (LIP)

  LIP, also administered by FSA, originated in the Food, Conservation, and Energy Act of 2008
  (the 2008 Farm Bill). It provides benefits to eligible livestock owners or contract growers for
  livestock deaths in excess of normal mortality caused by eligible loss conditions, including

  8
    All programs discussed in this report require that a producer must: 1) be in compliance with highly erodible land
  conservation and wetland conservation provisions, and 2) have an average adjusted gross income that does not
  exceed $900,000 for the three most recent tax years. ARC/PLC is the only program containing a base acre
  requirement. Minority producers held 1 percent of enrolled base in 2019 that can be attributed by minority status.
  See Appendix for detailed data and information.
  9
    The 22 covered commodities are: wheat, oats, barley, corn, grain sorghum, long grain rice, medium/short grain
  rice, temperate japonica rice, seed cotton, dry peas, lentils, large and small chickpeas, soybeans, peanuts, sunflower
  seed, canola, flaxseed, mustard seed, rapeseed, safflower, crambe, and sesame seed.



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  eligible adverse weather, eligible disease, and attacks by animals reintroduced into the wild by
  the Federal government or protected by federal law, including wolves and avian predators.
  The eligible loss condition must have directly resulted in the producer's livestock either dying or
  being injured and sold at a reduced price.

  Table 3. Livestock Indemnity Program (LIP) Data, Program Years 2015–2019a
                        Non-Minorities                      Minorities                    Minority Status Unknown
        Year        Payees      Payments            Payees        Payments                Payees          Payments
        2015            6,234   $42,888,418             214          $2,092,693                 108        $3,021,438
        2016            3,170   $19,954,717             150            $735,195                  68          $918,126
        2017            2,746   $25,480,839             537          $6,133,400                 123        $4,264,282
        2018            5,164   $29,532,504             339          $3,689,226                 141        $2,087,314
        2019            9,821   $70,368,406             423          $4,391,258                 389        $7,323,028
       5-year
                         5,427     $37,644,977            333           $3,408,354               166        $3,522,838
      average
  a
      Sign-up for the 2020 LIP program was not final until March 2021; hence, the 2020 data are not included here.


  Table 3 details the number of LIP payees and payment totals for program years 2015-2019 by
  minority status. Non-minorities accounted for an average of 5,427 LIP payees per year (92
  percent) and $37.64 million of payments per year (84 percent) for the 2015 through 2019
  program years. Minorities accounted for an average of 333payees per year (6 percent) and $3.41
  million in payments per year (8 percent). USDA had no race or ethnicity data on the remaining
  payees.

  Livestock Forage Disaster Program (LFP)

  LFP, also originating in the 2008 Farm Bill and administered by FSA, provides payments to
  eligible livestock owners and contract growers who have covered livestock and who are also
  producers of grazed forage crop acreage (native and improved pasture land with permanent
  vegetative cover or certain crops planted specifically for grazing) that have suffered a loss of
  grazed forage due to a qualifying drought during the normal grazing period for the eligible
  county. 10 To be eligible for LFP, the grazing or pastureland must be physically located in a
  county rated by the U.S. Drought Monitor as in at least D2 (severe drought) status. 11


  10
     Eligible livestock graze forage grasses or legumes and include such species as alpacas, beef cattle, buffalo/bison,
  beefalo, dairy cattle, deer, elk, emus, equine, goats, llamas, reindeer or sheep. Within those species, animals that are
  eligible include those that are, or would have been, grazing the eligible grazing land or pastureland: 1) during the
  normal grazing period for the specific type of grazing land or pastureland for the county; or 2) when the Federal
  agency prohibited the livestock owner or contract grower from having livestock graze the normally permitted
  livestock on the managed rangeland due to fire.
  11
     LFP also provides payments to eligible livestock owners or contract growers that have covered livestock and who
  are also producers of grazed forage crop acreage on rangeland managed by a Federal agency if the eligible livestock
  producer is prohibited by the Federal agency from grazing the normal permitted livestock on the managed rangeland
  due to a qualifying fire. The qualifying drought and qualifying grazing losses, and/or notification of prohibition to
  graze Federal land due to fire, must have occurred in the grazing period and crop year.


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  Table 4. Livestock Forage Disaster Program (LFP) Data, Program Years 2015–2019 a
                       Non-Minorities                            Minorities               Minority Status Unknown
      Year        Payees      Payments              Payees             Payments           Payees        Payments
        2015       58,779     $478,636,786             7908                $30,082,767       1330       $22,653,822
        2016       55,236     $261,204,256             4975                $14,048,028        841        $9,733,498
        2017       45,643     $319,726,632             3730                $21,319,693       1099       $16,475,263
        2018       76,931     $437,584,492             7383                $26,190,994       1978       $23,068,227
        2019       27,183     $102,049,095             4384                 $9,746,737        748        $6,005,567
       5-year
                    52,754       $ 319,840,252         5,676              $20,277,644         1,199      $15,587,275
       average
  a
      Sign-up for the 2020 LFP program was not final until February 2021; hence, the 2020 data are not included here.


  Table 4 details the number of LFP payees and payment totals for program years 2015-2019 by
  minority status. Non-minorities accounted for an average of 52,754 LFP payees per year (88
  percent) and an average of $319.84 million of payments per year (90 percent) for the 2015
  through 2019 program years. Minorities accounted for an average of 5,676 payees per year (10
  percent) and $20.28 million of payments per year (6 percent). USDA had no race or ethnicity
  data on the remaining payees. Note that minority LFP payments are higher than for many other
  farm programs. According to the 2017 Census of Agriculture, approximately 56 percent of all
  minority producers are located in Texas, California, Oklahoma, New Mexico, and Arizona—
  which have all experienced significant drought in recent years.

  Ad Hoc Programs

  Market Facilitation Program (MFP)

  MFP, an ad hoc program using CCC Charter Act authority, was administered by FSA. It
  provided assistance to farmers and ranchers whose commodities in 2018 and 2019 were directly
  impacted by foreign retaliatory tariffs, resulting in the loss of traditional export markets. Program
  details were somewhat different in a comparison of 2018 and 2019 MFP. The 2018 MFP
  provided direct payments to help corn, cotton, sorghum, soybean, wheat, dairy, hog, shelled
  almond, and fresh sweet cherry producers. For crops, the payment was based on 2018
  production.

  In contrast, 2019 MFP assistance was available for producers of non-specialty crops, 12 dairy,
  hogs, and select specialty crops. 13 Assistance in 2019 for non-specialty crops was based on a
  single-county payment rate multiplied by a farm’s total plantings of MFP-eligible crops in
  aggregate. Specialty crop producers received a payment based on 2019 acres of fruit or nut
  bearing plants, or in the case of ginseng, based on reported acres in 2019.
  12
     Eligible non-specialty crops were: alfalfa hay, barley, canola, corn, crambe, dried beans, dry peas, extra-long
  staple cotton, flaxseed, lentils, long grain and medium grain rice, millet, mustard seed, oats, peanuts, rapeseed, rye,
  safflower, sesame seed, small and large chickpeas, sorghum, soybeans, sunflower seed, temperate japonica rice,
  triticale, upland cotton, and wheat. This acreage must have been planted by August 1, 2019, to be considered eligible
  for MFP payments.
  13
     Eligible specialty crops were: almonds, cranberries, cultivated ginseng, fresh grapes, fresh sweet cherries,
  hazelnuts, macadamia nuts, pecans, pistachios, and walnuts.

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  Table 5. Market Facilitation Program (MFP) Data, Program Years 2018-2019
                            Non-Minorities                   Minorities           Minority Status Unknown
                     Payees        Payments           Payees     Payments        Payees        Payments
         2018        552,828       7,941,683,376       7,191      64,897,740      30,651         619,175,657
         2019        612,210      13,153,507,091      10,274     168,101,106      35,538       1,176,855,183
        2-year
                     582,519      $10,547,595,234      8,733    $116,499,423      33,095         $898,015,420
       average

  Table 5 details the number of MFP payees and payments for 2018 and 2019 by minority status.
  Non-minorities accounted for an average of 582,519 MFP payees per year (93 percent) and an
  average of $10.55 billion of payments per year (91 percent) in 2018 and 2019, while minorities
  accounted for an average of 8,733 payees per year (1 percent) and an average of $116.50 million
  in payments per year (1 percent).

  Coronavirus Food Assistance Program (CFAP)

  CFAP, with funding provided by the Coronavirus Aid, Relief, and Economic Stability Act
  (CARES Act) and the CCC Charter Act, was administered by FSA via two programs—CFAP 1
  and CFAP 2. They provided direct relief to producers who faced price declines and additional
  marketing costs due to the COVID-19 pandemic. Eligible producers of specified commodities
  were eligible for CFAP 1 payments if they suffered a 5 percent-or-greater price decline as a
  result of the COVID-19 pandemic and faced substantial marketing costs for inventories. The
  deadline for most producers to apply for CFAP 1 was September 11, 2020. Certain producers in
  Louisiana, Oregon, and Texas could apply through October 9, 2020.

  CFAP 2 also provided producers with financial assistance to absorb some of the increased
  marketing costs associated with the COVID-19 pandemic. CFAP 2 sign-up opened on September
  21 and ran through December 11, 2020; 14 commodity eligibility for CFAP 2 15 was broader than
  for CFAP 1.

  Table 6. Coronavirus Food Assistance Program (CFAP) Data, through January 27, 2021
                        Non-Minorities                    Minorities            Minority Status Unknown
                 Payees         Payments          Payees       Payments        Payees        Payments
   CFAP 1         595,302       9,047,821,024      28,962      375,755,073      27,609       1,172,717,079
   CFAP 2         817,919      11,442,486,251      31,860      348,928,936      43,738       1,539,200,507
    CFAP
                 706,611       $10,245,153,638     30,411      $362,342,005     35,674      $1,355,958,793
   average

  Table 6 details the number of payees and payment totals for CFAP through January 27, 2021 by
  minority status. Non-minorities accounted for an average of 706,611 CFAP payees (91 percent)
  and an average of $10.25 billion in payments (86 percent), while minorities accounted for an
  14
     On March 24, 2021, USDA announced that sign-up for CFAP 2 would be re-opened for at least 60 days beginning
  on April 5, 2021. This report covers CFAP payments through January 27, 2021.
  15
     See https://www.farmers.gov/cfap1and https://www.farmers.gov/cfap2 for eligible commodities.

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  average of 30,411payees (4 percent) and an average of $362.34 million of payments (3 percent).
  USDA had no race or ethnicity data on the remaining payees.

  Conservation Programs 16

  Conservation Reserve Program (CRP)

  FSA’s CRP, first established in the Food Security Act of 1985 (the 1985 Farm Bill), involves
  producer entry into voluntary contracts so that environmentally sensitive agricultural land is not
  farmed but is instead devoted to conservation benefits. CRP participants establish long-term,
  resource-conserving plant species, such as approved grasses or trees to control soil erosion,
  improve water quality, and develop wildlife habitat. In return, FSA provides participants with
  rental payments and cost-share assistance. Contract duration is between 10 and 15 years. Cost-
  share assistance cannot be more than 50 percent of the participants’ costs to establish approved
  practices.

  Table 7. Conservation Reserve Program (CRP) Cost-Share Assistance Data, Fiscal Years 2015-
  2020average251265724
                         Non-Minorities                        Minorities               Minority Status Unknown
        Year       Payees         Payments              Payees      Payments            Payees         Payments
        2015       35,261       $62,989,845              329        $805,754             1,433        $4,104,480
        2016       48,593       $99,090,866              387       $1,377,847            2,218        $5,990,036
        2017       50,205       $103,259,989             399       $1,754,306            2,501        $7,038,261
        2018        51,339          $99,815,169           470          $961,837           2,817        $7,505,325
        2019        36,642          $46,686,318           271          $616,062           2,054        $3,868,754
         2020       30,905          $33,573,382           203          $314,031           1,878        $2,559,830
        6-year
                    42,158          $74,235,928           343          $971,639           2,150        $5,177,781
       average


  Table 7 details the number of CRP payees and cost-share payment totals for fiscal years (FYs)
  2015-2020 by minority status. Non-minorities accounted for an average of 42,158 CRP cost-
  share assistance payees per year (94 percent) for the 2015 through 2020 fiscal years with an
  average of $74.24 million of payments per year (92 percent), while minorities accounted for an
  average of 343 payees per year (1 percent) and an average of $971,639 of payments per year (1
  percent).




  Environmental Quality Incentives Program (EQIP)

  16
    The statutory language refers to “cost-share” conservation programs; as a result, only cost-share payments are
  reported in this section.

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  EQIP, first authorized by the Federal Agriculture Improvement and Reform Act of 1996 (the
  1996 Farm Bill), is administered by NRCS. EQIP provides financial and technical assistance to
  agricultural producers to address natural resource concerns and deliver environmental benefits
  such as improved water and air quality, conserved ground and surface water, increased soil
  health and reduced soil erosion and sedimentation, improved or created wildlife habitat, and
  mitigation against drought and increasing weather volatility.

  EQIP provides special provisions for historically underserved participants including socially
  disadvantaged producers (racial or ethnic minorities), limited resource farmers, beginning
  farmers and ranchers, and veteran farmers and ranchers. 17 EQIP pays up to 75 percent of the
  estimated incurred cost of practice implementation, and up to 90 percent of the estimated
  incurred cost for qualifying historically underserved producers. In addition, historically
  underserved producers are eligible for advance payments under EQIP to help offset the costs of
  purchasing materials or contracting. The 2018 Farm Bill authorized historically underserved
  producers to elect to receive an advanced payment of not less than 50 percent of
  the EQIP conservation practice payment amount. Upon completion of the conservation practice,
  the historically underserved producer receives the remainder of the conservation practice
  payment amount.

  Table 8. Environmental Quality Incentives Program (EQIP) Payment Data, Fiscal Years 2015–
  2020
                                  Non-Minorities                                         Minorities
   Year                  Payees             Payments                      Payees                      Payments
       2015                 26,290               $641,886,700                   2,811                     $73,268,216
       2016                 28,995               $745,047,809                   3,390                     $98,896,819
       2017                 30,976               $784,767,950                   3,712                    $108,889,485
       2018                 34,863               $804,460,153                   4,593                    $121,629,698
       2019                 35,696               $598,883,245                   4,021                     $79,803,368
       2020                 29,926               $131,875,539                   3,679                     $21,311,505
      6-year
                             31,124                 $617,820,233                 3,701                    $83,966,515
     average

  Table 8 details the number of EQIP payees and payment totals for FYs 2015-2020 by minority
  status. Non-minorities accounted for an average of 31,124 EQIP payees per year (89 percent) and
  $617.82 million of EQIP payments per year (88 percent), while minorities accounted for an
  average of 3,701 payees per year (11 percent) and $83.97 million of payments per year (12
  percent).

  Conservation Stewardship Program (CSP)

  CSP, also administered by NRCS, began with the 2008 Farm Bill and helps producers maintain
  and improve their existing conservation systems and adopt additional conservation activities to
  address priority resource concerns. CSP addresses various resource concerns including soil

  17
       For more information, see: https://www.nrcs.usda.gov/wps/portal/nrcs/main/national/people/outreach/slbfr/
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  quality, soil erosion, water quality, water quantity, air quality, plant resources, and animal
  resources as well as energy. CSP pays participants for conservation performance—the higher the
  performance, the higher the payment.

  Table 9. Conservation Stewardship Program (CSP) Payment Data, Fiscal Years 2015–2020
                              Non-Minorities                               Minorities
   Year              Payees              Payments               Payees               Payments
       2015              15,593              $1,299,709,440            643               $52,899,598
       2016              11,080                $895,720,973            620               $38,744,214
       2017              11,393                $686,687,691            533               $24,304,810
       2018               9,894                $435,821,763            479               $14,539,790
       2019               5,255                $116,558,123            370                $7,411,397
       2020               6,235                 $51,042,106            428                $2,451,169
      6-year
                          9,908               $580,923,349             512              $23,391,830
     average

  Table 9 details the number of CSP payees and payment totals for FYs 2015-2020 by minority
  status. Non-minorities accounted for an average of 9,908 CSP payees per year (95 percent) and
  over $580.92 million of CSP payments per year (96 percent), while minorities accounted for an
  average of 512 payees per year (5 percent) and $23.39 million of payments per year (4 percent).

  Agricultural Management Assistance (AMA)

  AMA, first authorized by the Agricultural Risk Protection Act of 2000, helps agricultural
  producers manage financial risk through diversification, marketing, or natural resource
  conservation practices. NRCS administers the conservation provisions while USDA’s
  Agricultural Marketing Service and Risk Management Agency implement the production
  diversification and marketing provisions. NRCS provides technical and financial assistance to
  AMA participants to address issues such as water management, water quality, and erosion
  control by incorporating conservation practices into their agricultural operations. AMA is only
  available in the sixteen states where crop insurance participation is historically low.

  Table 10. Agricultural Management Assistance (AMA) Program Data, Fiscal Years 2015–2020
                           Non-Minorities                                 Minorities
   Year             Payees               Payments                Payees                Payments
     2015                   147              $2,544,548                      13            $135,834
     2016                   233              $2,809,554                      10            $124,338
     2017                   281              $3,184,177                      28            $252,719
     2018                   129              $2,025,268                      10             $64,453
     2019                   184              $1,635,244                      23            $185,779
     2020                   418                $722,357                      30             $26,028
    6-year
                             232              $2,153,525                     19            $131,525
   average



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  Table 10 details the number of AMA payees and payment totals for FYs 2015-2020 by minority
  status. Non-minorities accounted for an average of 232 AMA payees per year (92 percent) and
  an average of $2.15 million of AMA payments per year (94 percent), while minorities accounted
  for an average of 19 payees per year (8 percent) and an average of $131,525 of payments per
  year (6 percent).

  Credit Programs

  USDA’s FSA provides farmers with low-interest loans, authorized under the Consolidated Farm
  and Rural Development Act of the Agricultural Act of 1961, as amended. The interest-rate
  subsidies associated with these loans can be explicit or implicit. For this report, an explicit
  interest subsidy is the interest amount provided to the borrower below the Federal Government’s
  cost of funds, which was presumed to be the rate charged by FSA on regular direct farm
  ownership loans (DFOs) or direct operating loans (DOLs). An implicit subsidy occurs when the
  interest rate to the borrower compensates the Government for the cost of funds but is still below
  rates charged by commercial lenders.

  Several programs 18 administered by FSA include an explicit interest subsidy, including direct
  farm ownership down-payment and participation loans. 19 The explicit interest rate subsidy is the
  difference between the regular farm ownership interest rate (which are made at the government
  cost of funds) and the interest rate for down-payment or participation loans. Though FSA has
  made few in recent years, the emergency loan program also includes an explicit interest rate
  subsidy equal to the difference between rates on regular DOLs and EM loans. Figure 3 shows
  average loan interest rates since 2015 for regular DFO loans, DFO down-payment loans, DFO
  participation loans, and Emergency Loans (EM). DFO down-payment loans are made at
  4 percent below the current regular DFO rate with a floor at 1.5 percent. DFO participation loans
  are made at 2 percent below the current regular DFO rate with a floor at 2.5 percent.

  With interest rates on FSA regular farm loans below 5 percent over the past 5 years, the DFO
  and DOL statutory floor of 5 percent (the limited resource rate) is less relevant. In addition,
  regular DOL rates declined such that EM loans have not provided an explicit interest rate
  subsidy to farmers. Borrowers may also receive an explicit interest rate subsidy through the
  limited resource program, but as is the case with EM loans, limited resource rates have been
  above regular program rates over the past 5 years, negating their need.




  18
    See https://www.fsa.usda.gov/programs-and-services/farm-loan-programs/.
  19
    For more information on these loans, see: https://www.fsa.usda.gov/Assets/USDA-FSA-
  Public/usdafiles/FactSheets/2019/sda_loans-fact_sheet-aug_2019.pdf and https://www.fsa.usda.gov/programs-and-
  services/farm-loan-programs/farm-ownership-loans/index.

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  Figure 3. Average Interest Rates on New Direct Loans by Month, 2015–2020

                                       Average Interest Rates on New Direct Loans,
                                                      2015 – 2020
                                 4.5
                                 4.0
       Interest Rate (Percent)




                                 3.5
                                 3.0
                                 2.5
                                 2.0
                                 1.5
                                 1.0
                                 0.5
                                 0.0




                                           DFO Regular Loans              DFO Down Payment Loans
                                           DFO Participation Loans        Emergency Loans

  Source: USDA FSA OBFN Database
  Note: Gaps in Emergency Loan line indicate no loans occurring in thatmonth.


  Borrowers can also receive an explicit interest rate subsidy through primary loan servicing. 20
  Primary loan servicing is available to borrowers who are 90 days delinquent on any direct loan.
  In addition, any borrower experiencing financial distress may request primary loan servicing,
  even if not 90 days delinquent. Under primary loan servicing, payments may be deferred or loans
  may be restructured through consolidation, amortization with longer terms, and lower interest
  rates. Any reduction in interest rates represents a cost to the government and is considered an
  explicit subsidy to borrowers. 21

  Since regular DFOs and DOLs are made at rates sufficient to cover the Government’s cost of
  funds, they do not represent an explicit interest rate subsidy. These loans are, however, made at
  rates below what the borrower could receive from a commercial bank or Farm Credit institution.
  As such, they represent an implicit subsidy in that the receipt of a direct government loan
  provides a financial benefit in the form of reduced farm interest expense. In contrast, guaranteed
  loans are made and priced by commercial lenders at rates considered typical for comparable farm

  20
     https://www.fsa.usda.gov/Assets/USDA-FSA-Public/usdafiles/FactSheets/archived-fact-
  sheets/Primary_and_Preservation_Loan_Servicing_for_Delinquent_FSA_Borrowers.pdf               .
  21
     Under Primary Loan Servicing, interest rates may be reduced up to the current rate on new FSA loans. However,
  this is still considered a cost to the government as rates are reduced below the rate initially in the loan contract.

                                                                     16


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  borrowers of similar risk. For this analysis, guaranteed loans were considered to have neither an
  explicit nor implicit interest rate subsidy component.

  Since minority farmers can access reserved direct loan funds, 22 it might be expected that
  minority farms would be well-represented in FSA direct loan programs. The following section
  presents data in several ways to shed light on the situation. Figure 4 is calculated for each state
  by dividing the number of minority direct loan participants by the total number of minority farm s
  from the 2017 Census of Agriculture. The Census of Agriculture overstates the number of farms
  likely eligible for FSA loans; 23 therefore, Figure 4 can be interpreted as a lower bound for
  minority participation.

  Minority farm participation in FSA direct loan programs varies significantly by state (Figure 4).
  Over 30 percent of minority farms in South Dakota and 23 percent in Oklahoma were direct loan
  borrowers in 2017. Other states with relatively high minority farm use of direct loans (over 10
  percent) include Arkansas, Alabama, North Dakota, Vermont, Montana, and Nebraska. In 22
  states, the percentage of minority farms participating in FSA’s direct loan programs was in the
  range of 6-10 percent, and 20 states had 5 percent or fewer of minority farms with direct loans.




  22
     Targeted funds refer to that portion of the annual allotment which is legislated set aside for exclusive use by
  minority farmers, women farmers, and beginning farmers.
  23
     For FSA farm loan programs eligibility criteria, see: https://www.fsa.usda.gov/programs-and-services/farm-loan-
  programs/farm-ownership-loans/index.

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  Figure 4. Percent of Minority Farms Who were FSA Direct Loan Borrowers, 2017




  Source: USDA 2017 Census of Agriculture data and September 31, 2017 FSA direct loan R540 data.


  For comparison, Figure 5 is calculated for each state by dividing the number of non-minority
  direct loan participants by the total number of non-minority farms from the 2017 Census of
  Agriculture. The scale of both maps is the same for consistency, and Figure 5 shows that the rate
  of use of FSA direct loans is much lower among non-minority farms than minority farms. In
  absolute numbers, however, there are more non-minority borrowers as will be shown in tables
  later in this report.




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  Figure 5. Percent of Non-Minority Farms Who were FSA Direct Loan Borrowers, 2017




  Down-Payment Loans

  Down-payment loans represented 17 percent of all DFO obligations between FYs 2015 and 2020
  and are targeted exclusively to beginning farmers and underserved groups, including minorities
  and veterans. Down-payment loans may only be used for farmland purchase. The qualified
  applicant must provide 5 percent equity toward the purchase and may borrow a down-payment
  through the program of up to 45 percent of the purchase price or $300,000, whichever is less.
  The balance of the purchase price not covered by the down payment loan and the loan applicant's
  down payment may be financed by a commercial lender, private lender, a cooperative, or the
  seller.

  Table 11 details the number of borrowers and loan totals for DFO down-payment loans for FYs
  2015-2020 by minority status. For FYs 2015-2020, non-minorities accounted for an average of
  1,159 down-payment loan borrowers per year (95 percent) and an average of $192.26 million of
  down-payment loan obligation volume per year (95 percent), while minorities accounted for an
  average of 55 borrowers per year (4 percent) and $7.85 million of down-payment loan obligation
  volume per year (4 percent). USDA had no race or ethnicity data on the remaining loan
  recipients identified as unknown. The average down-payment loan size for minorities was
  $143,082 compared to $165,886 for non-minorities.




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  Table 11. FSA Direct Farm Ownership Down-Payment Loan Data, Fiscal Years 2015–2020a
                         Non-Minorities                          Minorities                    Minority Status Unknown
       Year       Borrowers            Loans           Borrowers            Loans             Borrowers        Loans
        2015            1,131        $184,968,485                57         $7,723,115                6         $773,520
        2016            1,136        $184,424,006                44         $6,910,075               10        $1,862,910
        2017            1,082        $177,695,319                48         $7,018,710               14        $2,486,540
        2018            1,274        $214,940,545                58         $8,268,247               21        $3,759,745
        2019            1,241        $206,967,640                66         $9,303,720               10        $1,303,160
        2020            1,090        $184,578,134                56         $7,850,030               15        $3,243,540
       6-year
                        1,159        $192,262,355                55         $7,845,650               13        $2,238,236
      average
  a
    Statute (Consolidated Farm and Rural Development Act, Section 355) requires that funds for farm ownership and
  operating loans be prioritized to minorities and women applicants.


  DFO down-payment loans can draw from loan funds reserved for minorities. To qualify, a
  producer identifying as an underserved race or ethnicity must report their minority status. In
  these cases, race is identified by the customer rather than an employee and should be more
  precise than for other USDA programs. Organizational entities may qualify if their majority
  interest qualifies as minority. Some organizations may choose not to declare either race or
  ethnicity (for example, if they qualify due to beginning farmer or veteran status) and fall into the
  ‘unknown’ race category. Table 12 presents the number of down-payment loan borrowers by
  race and ethnicity for FYs 2015-2020. Due to overlap between race and ethnicity, the values do
  not sum to match those in Table 11.


  Table 12. Down-Payment Loan Program Borrowers by Race/Ethnicity, Fiscal Years 2015-
  2020a,b
       Year      Asian, Pacific         Black or          American            Hispanic          Unknown         White
                   Islander,            African          Indian and
                Hawaiian Native        American         Alaska Native
       2015                     3                  1                44                   11                6       1,140
       2016                     1                  0                36                   10               10       1,144
       2017                     4                  0                37                    7               14       1,091
       2018                     5                  4                38                   11               21       1,293
       2019                     2                  3                56                    5               10       1,246
       2020                     3                  0                44                    9               15       1,104
      6-year
                                18                 8                  255                53               59       7,018
       total
  a
    Data largely reflect new borrowers in each year.
  b
    If a producer reports more than one race (or race and Hispanic ethnicity), they are included in each category and
  therefore categories will sum to more than the minority total in Table 11.




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  Approximately 75 percent of minority down-payment loan participants during FYs 2015-2020
  were American Indians (Table 12), with 80 percent in Oklahoma 24 and another 10 percent in
  Kansas and Arkansas (Figure 6).

  Figure 6. Approximate Geographic Location of Down-Payment Loan Borrowers, Fiscal Years
  2015-2020




  Participation Loans

  Participation loans have comprised one-third of all DFO obligations since FY 2015. Loans are
  made jointly with a commercial lender or State agency with FSA providing up to 50 percent of
  the proceeds. Loan amounts can be greater than down-payment loan amounts—up to $600,000—
  and can also be funded out of minority-targeted funds if a producer identifies as an underserved
  race or ethnicity. Table 13 indicates that, between FYs 2015-2020, on average 1,673 borrowers
  per year have been non-minorities (91 percent) who have received on average $366.32 million of
  participation loan obligation volume per year (92 percent), while minorities made up an average
  143 borrowers per year (8 percent) and received on average $27.11 million of loan obligation
  volume per year (7 percent).



  24
     Of the 129,619 Oklahoma producers recorded in the 2017 Census of Agriculture, 9 percent reported their race as
  American Indian only and an additional 4 percent reported being American Indian in combination with other races.



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  Table 13. Participation Loan Program Data, Fiscal Years 2015–2020a
                         Non-Minorities                           Minorities                    Minority Status Unknown
      Year       Borrowers            Loans            Borrowers           Loans               Borrowers      Loans
        2015           1,415        $279,779,542                 136     $21,360,151                 17       $4,026,540
        2016           1,452        $289,551,577                 153     $26,412,560                 27       $7,143,140
        2017           1,629        $326,243,592                 144     $22,835,050                 22       $5,525,696
        2018           1,981        $394,420,541                 142     $24,497,370                 40       $9,339,889
        2019           2,192        $523,235,691                 172     $39,515,010                 36      $10,392,130
        2020           1,371        $384,685,305                 109     $28,057,500                 15       $4,306,720
       6-year
                       1,673        $366,319,375                 143     $27,112,940                 26       $6,789,019
      average
  a
    Statute (Consolidated Farm and Rural Development Act, Section 355) requires that funds for farm ownership and
  operating loans be prioritized to minorities and women applicants.




  As with the down-payment loan program, loans to minorities were smaller, averaging $190,044
  versus $218,916 (Table 13). And, like the down-payment loan borrowers, most minority
  participation loan borrowers have been American Indians located in Oklahoma or nearby in
  Kansas or Arkansas (Table 14, Figure 7).

  Table 14. Participation Loan Program Borrowers by Race/Ethnicity, Fiscal Years 2015-2020 a, b
       Year      Asian, Pacific         Black or          American             Hispanic         Unknown        White
                   Islander,            African          Indian and
                Hawaiian Native        American         Alaska Native
        2015                    5                  7              112                     15           17         1,433
        2016                    8                  7              119                     20           27         1,476
        2017                   10                  6              110                     18           22         1,650
        2018                   10                  7              109                     19           40         2,004
        2019                    9                  6              134                     27           36         2,228
        2020                   14                  5                74                    22           15         1,393
       6-year
                               56               38                 658               121              157        10,184
        total
  a
    Data largely reflect new borrowers in each year.
  b
    If a producer reports more than one race (or race and Hispanic ethnicity), they are included in each category and
  therefore categories will sum to more than the minority total in Table 13.




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  Figure 7 Approximate Geographic Location of Participation Loan Borrowers, Fiscal Years 2015-
  2020




  Primary Loan Servicing

  Between 2015 and 2020, only about 3 percent of all direct borrowers received primary loan
  servicing, and only one-third of those receiving primary loan servicing received an interest rate
  adjustment which can happen under certain interest-rate conditions. A comparison of interest
  rates before and after restructuring for those who received an interest rate adjustment allows
  estimation of the subsidy provided through primary loan servicing.

  On average overall, non-minority borrowers who received primary loan servicing had an average
  71-basis point reduction in their rate, amounting to an average of $297 per borrower per year in
  interest subsidy (Table 15). Minority borrowers received an average 82-basis point reduction
  from primary loan servicing, amounting to an average $309 subsidy per borrower per year. The
  higher basis point reduction for minorities would be consistent with greater financial difficulties,
  which would require a greater interest rate reduction through loan restructuring to cash flow.
  While only 1,059 minorities received an interest rate reduction in Fiscal Years 2015-2020, this
  represented 6.6 percent of all borrowers receiving an interest write down. American Indians were
  the primary minority group receiving primary loan servicing (Table 16).



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  Table 15. Borrowers Receiving Interest Reduction through Primary Loan Servicing, Fiscal Years
  2015-2020 a
                             Borrowers Receiving                                          Average interest reduction
                            Primary Loan Servicing           Average rate reduction       per borrower ($) per year
                                                                                            Non-
      Fiscal Year        Non-Minority      Minority     Non-Minority        Minority       Minority        Minority
          2015                 1,910              59                0.92         1.10           $320            $262
          2016                    3,167          112                0.50         0.51             $224            $285
          2017                    3,701          306                0.50         0.52             $188            $256
          2018                    2,389          207                0.77         1.21             $142            $127
          2019                    2,492          212                0.77         1.32             $168            $144
          2020                    2,439          163                1.00         0.94             $850            $783
      6-year average                                                0.71         0.82             $297            $309
       6-year total             16,098         1,059
  a
   The averages in this table focus on the borrower level and therefore the summary row is weighted per borrower
  over the entire period rather than each year receiving equal weight.



  Table 16. Borrowers Receiving Interest Reduction through Primary Loan Servicing, by
  Race/Ethnicity, Fiscal Years 2015–2020 a, b
                       Asian, Pacific                          American Indian
                                          Black or African
        Year             Islander,                               and Alaska            Hispanic           White
                                             American
                      Hawaiian Native                              Native
         2015                         4                 29                  26                    0              1,910
         2016                        16                 49                  45                    2              3,167
         2017                        19                 96                 186                    7              3,701
         2018                        17                 74                 113                    7              2,389
         2019                        25                 68                 117                    5              2,492
         2020                        11                 36                 112                    6              2,439
        6-year
                                    92                 352                 599                    27           16,098
         total
  a
    Data largely reflect new borrowers in each year.
  b
    If a producer reports more than one race (or race and Hispanic ethnicity), they are included in each category and
  therefore categories will sum to more than the minority total in Table 15.

  While many minority primary loan servicing recipients are in Oklahoma, the geographic
  distribution is more widespread than for down-payment or participation loans (Figure 8).




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  Figure 8. Approximate Geographic Location of Primary Loan Servicing Borrowers, Fiscal Years
  2015-2020




  Total Value of Interest Subsidy for Direct Loans

  The value of the explicit interest subsidy on an annual basis was estimated for down-payment
  and participation loans. The subsidy rate for obligations is the difference between the regular
  farm ownership interest rate and the interest rate for down-payment or participation loans. The
  value of the subsidy is estimated as the differential between the regular and subsidized rate
  multiplied by the outstanding loan balance for each of the two programs, then aggregated. The
  value of the subsidy is reported in the year in which the loan was obligated. Note that
  fluctuations in interest rates influence the amount of the direct subsidy and that, i n recent years,
  low “regular” rates have reduced the value of the subsidy to borrowers.

  Borrower totals and obligation amounts for down-payment and participation loans are listed in
  Tables 10 and 12. Table 17 details combined data on the two programs, highlighting the annual
  percent of minority borrowers and obligations over FYs 2015-2020. Minorities represented
  7.7 percent of borrowers who received explicit interest subsidies for down-payment and
  participation loans which, on average, represented 5.8 percent of obligations per year reflecting a
  smaller average loan size for minorities. The value of subsidy was $45.5 million for non-
  minorities (95 percent) and $2.2 million (5 percent) to minorities. The average subsidy per

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  borrower was $2,664 per borrower for non-minorities compared to $2,235 for minorities, and the
  discounted present value of the subsidy per borrower was $44,664 for non-minorities and
  $38,067 for minorities (Table 17).

  Table 17. Borrowers Receiving DFO Explicit Interest Subsidies for Participation and Down-
  Payment Loans), Fiscal Years 2015–2020 a, b
                                                                  Average interest          Discounted Present
                                            Total Value of      subsidy/borrower per             Value of
                Minority % of subsidy     subsidy (millions)            year                 Subsidy/borrower
                                           Non-                   Non -                     Non -
                Borrowers   Obligations              Minority                Minority                     Minority
      Year                                Minority               Minority                  Minority
        2015      7.82%         5.83%        $6.9      $0.36       $2,720      $2,176       $45,099        $36,961
        2016      8.29%         6.45%        $6.5      $0.33       $2,515      $2,006       $42,099        $35,264
        2017      7.76%         5.51%        $7.7      $0.39       $2,829      $2,260       $47,210        $38,809
        2018      7.42%         5.00%        $9.7      $0.47       $2,933      $2,636       $48,211        $43,766
        2019      7.64%         6.17%       $11.0      $0.53       $3,188      $2,748       $54,177        $46,223
        2020      7.34%         5.86%        $3.7      $0.17       $1,485      $1,269       $26,002        $22,307
       6-year
                  7.70%         5.80%                              $2,664      $2,235       $44,664        $38,067
      average
       6-year
                                            $45.5      $2.24
        total
  a
    The explicit subsidy is the difference between the regular FO rate and the rate on Participation/Down-payment
  loans. The present value is estimated over 20 years for down payment loans and 35 years for participation loans by
  discounting the annual subsidy at the regular FO rate at the time of obligation.
  b
    The averages in this table focus on the borrower level and, therefore, the summary row is weighted per borrower
  over the entire period rather than each year receiving equal weight.


  In addition to the direct subsidy discussed above, there is an implicit interest subsidy in all direct
  loans based upon the difference between commercial lender interest rates and rates charged by
  FSA. Interest rates on direct FSA loans are based on the Government’s cost of borrowing and are
  priced below what a borrower would likely pay a commercial bank or Farm Credit System
  institution. The Federal Reserve Board’s Agricultural Finance Databook provides data on rates
  charged on farm loans by commercial banks, which were compared with rates for regular DFO
  and DOL rates to provide an estimate of the implicit subsidy. Over the 5-year period, rates on
  DFO loans were 277 basis points below average interest rates charged by commercial banks on
  farm real estate loans (Figure 9).

  FSA DOL rates were 304 basis points below interest rates charged by commercial banks for
  nonreal estate loans, while EM rates were 200 basis points below. These estimates may be
  conservative given that FSA borrowers are above average risk and would likely pay higher rates
  if they could receive loans from commercial lenders.




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  Figure 9. Average Interest Rates for Commercial Banks and Regular Direct Loans, 2001–2020

                                          Average Monthly Interest Rates
                                     Commercial Banks & FSA Regular Direct Loans
                              10.0
                               9.0
                               8.0
    Interest Rate (Percent)




                               7.0
                               6.0
                               5.0
                               4.0
                               3.0
                               2.0
                               1.0
                               0.0




                                              Regular DFO              Regular DOL
                                              Bank Nonreal Estate      Bank Real Estate



  Source: Federal Reserve Bank, Ag Finance Databook and USDA OBFN Database


  Table 18 details the value of implicit subsidies for borrowers from FYs 2015-2020. The average
  implicit annual benefit per borrower was $3,811 for non-minorities compared to $3,308 for
  minorities. These subsidies would be expected to continue over the life of the loan. For example,
  on a 30-year FO, the borrower would benefit from the subsidy for the entire 30 years. The annual
  subsidies reported in Table 18 have been discounted back to the original obligation year to
  provide an estimate of the total economic value of receiving lower interest rates. For non-
  minorities, this amounted to $59,765 per borrower over the 2015-2020 period. Because
  minorities had smaller loans, the present value of the subsidy was less, at $43,199 per borrower.
  These totals did not include the explicit interest rate subsidies inherent in down-payment and
  participation loans documented in Table 17. Adding in these totals shows that the total economic
  value of the interest subsidy for recipients of down-payment/participation loans exceeds
  $100,000 for non-minorities and $80,000 for minorities.




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  Table 18. Implicit Value of Subsidy Received by Direct Borrowers or DFO, DOL, and EM
  Loans, Fiscal Years 2015 – 2020a,b
                                                     Average implicit             Average Discounted Present
                   Minority % of subsidy        subsidy/borrower per year              Value of Subsidy c

                 Borrowers  Subsidy   Non-minority              Minority        Non-minority      Minority
       2015            7.2%      5.5%       $2,947                    $2,408          $47,606           $32,749
       2016            7.2%      5.9%       $3,254                    $2,997          $52,948           $39,227
       2017              6.5%         5.1%            $3,262          $2,667          $51,833           $34,465
       2018              5.6%         4.9%            $3,956          $3,544          $64,024           $41,427
       2019              6.5%         5.6%            $4,916          $4,617          $76,433           $60,831
       2020              6.2%         5.0%            $3,965          $3,222          $59,027           $44,345
       6-year
      average            6.5%         5.3%            $3,811          $3,308          $59,765           $43,199
  a
    Based on the difference in regular rates on FSA loans and average rate charged by commercial lenders. Excludes
  value of explicit subsidy presented in Table 16.
  b
    The averages in this table focus on the borrower level and therefore the summary row is weighted per borrower
  over the entire period rather than each year receiving equal weight.
  cc
     Based on a 25-year term for FO loans and a 5-year term for OLs, with subsidies expected in future years
  discounted at the FSA rate at time of loan obligation.


  Concluding Remarks
  The data and information in this report are being used to improve awareness of minority
  participation in FSA and NRCS programs and to inform an internal review of its programs as
  part of implementation of Executive Order 13895, Advancing Racial Equity and Support for
  Underserved Communities Through the Federal Government. FSA is taking steps to increase
  minority participation in programs through employee outreach training, more in- depth data
  analysis, and stakeholder engagement and employee education. Concurrently, the agency is
  striving to better understand the extent to which there are substantial barriers to access or
  discrimination—overt or unintentional—that present obstacles to minorities and other
  underserved communities from accessing and fully participating in USDA programs. At USDA
  we are recommitting ourselves to the values of equity and inclusion and to upholding civil rights
  and equal opportunity for our employees and those we serve.




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                                                Appendix
  The table below identifies base acres enrolled in the 2019 ARC/PLC program by their minority
  status, calculated by using producers’ payment shares. As elsewhere in this report, a producer is
  considered a "minority" if the data indicates they are Black, Asian, American Indian, Native
  Alaskan, or Pacific Islander or if their ethnicity is listed as Hispanic. A producer is considered a
  "non-minority" if the data indicates they are White (and have none of the other aforementioned
  race declared) and their ethnicity is listed as Non-Hispanic. All other producers are "Unknown."
  Of the approximately 255 million base acres that exist, about 243 million base acres can be
  successfully attributed (see bottom of table). The bulk of the remaining base acres are enrolled in
  ARC-IC which does not use payment shares. A smaller number of base acres have no assigned
  crop and are ineligible for enrollment in farm programs. Farmers often set up their businesses as
  multi-member entities such as corporations. USDA is not required to assign a race or ethnicity to
  those entities, which explains a portion of the base acres included in the “Unknown” category.


  Table 19. Attribution of 2019 Enrolled Base Acres by Minority Status
           Non-Minorities                      Minorities                      Minority Status Unknown
     Crop name       Base acres        Crop name     Base acres              Crop name       Base acres
   Barley                3,990,218   Barley                     84,756 Barley                       1,287,716
   Canola                1,300,091   Canola                     10,018 Canola                         160,490
   Small chickpeas          17,171   Small chickpeas               248 Small chickpeas                  4,452
   Large chickpeas          58,812   Large chickpeas             1,069 Large chickpeas                 21,779
   Corn                 71,553,862   Corn                      519,105 Corn                        17,639,049
   Crambe                    2,181   Crambe                        168 Crambe                             246
   Dry peas                342,234   Dry peas                    4,533 Dry peas                        86,808
   Grain sorghum         6,569,065   Grain sorghum             158,361 Grain sorghum                1,894,346
   Flaxseed                208,256   Flaxseed                    1,554 Flaxseed                        19,621
   Lentils                 213,550   Lentils                     3,908 Lentils                         60,628
   Mustard                  18,573   Mustard                        54 Mustard                          5,804
   Oats                  1,669,603   Oats                       33,545 Oats                           318,326
   Peanuts               1,947,444   Peanuts                    56,627 Peanuts                        416,468
   Rapeseed                  1,767   Rapeseed                        0 Rapeseed                           700
   Rice-long grain       2,534,549   Rice-long grain            49,961 Rice-long grain              1,361,580
   Rice-med grain          102,684   Rice-med grain              1,428 Rice-med grain                  67,559
   Rice- temperate                   Rice-temperate                    Rice-temperate
   japonica                328,788   japonica                   21,461 japonica                       199,360
   Safflower                57,254   Safflower                   2,441 Safflower                       23,579
   Seed cotton           9,124,906   Seed cotton               321,970 Seed cotton                  3,426,787
   Sesame                    5,162   Sesame                         17 Sesame                             912
   Soybeans             40,843,861   Soybeans                  360,308 Soybeans                     9,412,669
   Sunflowers            1,300,816   Sunflowers                 17,694 Sunflowers                     301,738
   Wheat                49,065,909   Wheat                   1,034,322 Wheat                       12,632,287
   Total               191,256,756   Total                   2,683,548 Total                      49,342,904

                                                                      All enrolled 2019 base acres: 255,135,147
                                         Total base acres able to be attributed by minority status: 243,283,207
                                                   Unattributed ARC-IC and unassigned base acres: 11,851,940




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                                            This section of the FEDERAL REGISTER                    Information and Regulatory Affairs,                   Application Deadline
                                            contains regulatory documents having general            Office of Management and Budget,                         On March 24, 2021, USDA announced
                                            applicability and legal effect, most of which           Washington, DC 20503.
                                            are keyed to and codified in the Code of
                                                                                                                                                          in a news release that the application
                                            Federal Regulations, which is published under              Comments will be available for                     period for CFAP 2 was reopened for all
                                            50 titles pursuant to 44 U.S.C. 1510.                   inspection online at http://                          eligible producers for at least 60 days
                                                                                                    www.regulations.gov. Copies of the                    beginning on April 5, 2021. This
                                            The Code of Federal Regulations is sold by              information collection may be requested               reopening allowed USDA to improve
                                            the Superintendent of Documents.                        by contacting Brittany Ramsburg at the                outreach efforts and ensure that
                                                                                                    above address.                                        producers in socially disadvantaged
                                                                                                                                                          communities were informed and aware
                                            DEPARTMENT OF AGRICULTURE                               FOR FURTHER INFORMATION CONTACT:                      of the application process. This rule
                                                                                                    Kimberly Graham; telephone: (202) 720–                announces that the CFAP 2 application
                                            Office of the Secretary                                 6825; email: Kimberly.Graham@                         deadline will be October 12, 2021, and
                                                                                                    usda.gov. Persons with disabilities who               amends 7 CFR 9.4 to specify the
                                            7 CFR Part 9                                            require alternative means for                         deadline. This deadline applies to all
                                            [Docket ID: FSA–2020–0006]                              communication should contact the                      producers applying for CFAP 2,
                                                                                                    USDA Target Center at (202) 720–2600                  including producers of sales-based
                                            RIN 0503–AA71
                                                                                                    (voice) or (844) 433–2774 (toll-free                  commodities and contract producers
                                            Coronavirus Food Assistance Program                     nationwide).                                          who submit new applications or revise
                                            2; Producers of Sale-Based                                                                                    previously filed applications due to the
                                                                                                    SUPPLEMENTARY INFORMATION: USDA
                                            Commodities and Contract Producers                                                                            changes included in this rule.
                                                                                                    established CFAP to assist producers of
                                            AGENCY: Office of the Secretary,                        agricultural commodities marketed in                  Sales-BasedCommodities
                                            Department of Agriculture (USDA).                       2020 who faced continuing market                         Consistent with section 751 of
                                            ACTION: Final rule.                                     disruptions, reduced farm-level prices,               Subtitle B of Title VII of Division N of
                                                                                                    and increased production and marketing                CAA, USDA is amending the CFAP 2
                                            SUMMARY: This rule amends the                           costs due to COVID–19. CFAP went                      payment calculation for sales-based
                                            Coronavirus Food Assistance Program 2                   through two rounds of payments (CFAP                  commodities in 7 CFR 9.203(i) and (j) to
                                            (CFAP 2) provisions related to                          1 and CFAP 2), and the Farm Service                   allow eligible producers to substitute
                                            assistance for producers of sales-based                 Agency (FSA) is administering CFAP 2,                 2018 sales for 2019 sales. Previously,
                                            commodities and contract producers.                     as directed by the Secretary of                       payments for producers of sales-based
                                            This rule also announces the deadline                   Agriculture. USDA announced CFAP 2                    commodities were based only on 2019
                                            for submitting CFAP 2 applications and                  through a final rule published in the                 sales; however, various conditions
                                            clarifies general provisions related to                 Federal Register on September 22, 2020.               occurring in 2019 could have adversely
                                            equitable relief and refunds.                           85 FR 59380–59388. A second final rule                affected a producer’s amount of sales
                                            DATES:                                                  was published on January 19, 2021. 86                 and therefore their CFAP 2 payment.
                                              Effective date: August 27, 2021.                      FR 4877–4883. That rule amended                       CFAP 2 uses a producer’s 2019 sales as
                                              Comment due date: With grass seed                     CFAP 2 provisions and included                        an approximation of what the producer
                                            being added as an eligible crop under                   assistance for contract producers of                  would have expected to market in 2020,
                                            CFAP, we will consider comments on                      swine and poultry (including broilers,                which could not be determined for most
                                            the information collection requirements                 pullets, layers, chicken eggs, and                    producers at the time of application.
                                            under the Paperwork Reduction Act that                  turkeys), who were not originally                     Under the final rule published on
                                            we receive by: October 26, 2021.                        eligible for CFAP 2. After publication of             January 19, 2021, crop insurance
                                            ADDRESSES: We invite you to submit
                                                                                                    that rule, USDA suspended approval of                 indemnities under the Federal Crop
                                            comments on the information collection                  applications from contract producers                  Insurance Act, 7 U.S.C 1501–1524, and
                                            requirements. You may submit                            while that final rule was under review.               2019 crop year payments under the
                                            comments by any of the following                           As a result of that review and for                 Noninsured Crop Disaster Assistance
                                            methods:                                                consistency with the provisions of the                Program (NAP) and Wildfires and
                                              " Federal eRulemaking Portal: Go to:                  Consolidated Appropriations Act, 2021                 Hurricanes Indemnity Program Plus
                                            www.regulations.gov and search for                      (CAA), Public Law 116–260, USDA is                    (WHIP+), are included as eligible sales
                                            Docket ID FSA–2020–0006. Follow the                     making changes to the provisions for                  under 7 CFR 9.202(i) in addition to the
                                            online instructions for submitting                      CFAP 2 as described below. These                      amount of the producer’s 2019 sales, as
                                            comments.                                               changes include adjusting the CFAP 2                  required by Subtitle B, section 751, of
                                              " Mail, Hand-Delivery, or Courier:                    application deadline, changing the                    the CAA. That change is intended to
                                            Director, Safety Net Division, Farm                     calculation of payments for sales-based               more accurately represent what a
                                            Service Agency, U.S. Department of                      commodities, adding grass seed as an                  producer would have expected to have
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                                            Agriculture, 1400 Independence Avenue                   eligible sales-based commodity,                       marketed in 2020 by taking into account
                                            SW, Stop 0510, Washington, DC 20250–                    changing aspects of the provisions for                commodities that would have been
                                            0522. In your comment, specify the                      assistance for contract producers, and                available for marketing in 2019 but were
                                            docket ID FS–2020–0006.                                 clarifying the applicability of equitable             lost due to natural events. However,
                                              You may also send comments to the                     relief provisions and provisions                      crop insurance indemnities and NAP
                                            Desk Officer for Agriculture, Office of                 requiring refunds.                                    and WHIP+ program payments for a


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                                            crop are less than the full amount that                 types. In addition to the listed livestock            producer’s square footage increase to the
                                            a producer would have expected to                       and poultry types, USDA may                           operation in 2020, or a contract
                                            receive for marketing the commodity if                  determine that additional livestock and               producer’s production or number of
                                            there was no loss. Giving producers the                 poultry types are eligible at a later time.           turns for 2018, 2019, or 2020, as
                                            option to substitute 2018 sales                         These changes are reflected in a new                  applicable.
                                            (including 2018 crop insurance                          definition of ‘‘eligible contract livestock              This rule also provides assistance in
                                            indemnities and 2018 crop year NAP                      or poultry’’ in 7 CFR 9.201, in which                 7 CFR 9.202(d) and 9.203(m) to
                                            and WHIP+ payments) for 2019 sales                      USDA is also clarifying that contract                 producers who were not in operation in
                                            provides additional flexibility to                      producers of breeding stock of those                  2018 or 2019, who would have been
                                            producers who had reduced sales in                      defined eligible livestock and poultry                ineligible under the previous final rule.
                                            2019.                                                   are eligible for CFAP 2. Contract                     Assistance for these producers is based
                                               In addition, USDA has determined                     producers of breeding stock are                       on their 2020 eligible revenue and the
                                            that producers of grass seed faced                      included because those producers may                  average revenue loss level, which will
                                            continuing market disruptions, low                      have suffered a revenue loss for the                  be determined by USDA for a
                                            farm-level prices, and significant                      livestock and poultry, regardless of the              geographic area based on the best
                                            marketing costs associated with the                     livestock owner’s intended end use of                 available data including, but not limited
                                            COVID–19 outbreak, similar to                           the animals. This rule also amends the                to, losses reported by other contract
                                            producers of commodities that were                      definition of ‘‘producer’’ in 7 CFR 9.201             producers for the same area and type of
                                            previously determined to be eligible for                to specify that the requirement that a                livestock or poultry as reported in their
                                            CFAP 2 assistance. As a result, USDA is                 producer must be in the business of                   CFAP 2 applications.
                                            amending the definitions of ‘‘Ineligible                farming at the time of application does                  This rule also specifies that payments
                                            commodities’’ and ‘‘Sales-based                         not apply to contract producers because               to contract producers will be calculated
                                            commodities’’ in § 9.201 to make grass                  contract producers may have had                       separately for the categories of livestock
                                            seed an eligible commodity.                             contracts terminated for reasons outside              listed in § 9.203(n). As provided in the
                                                                                                    of their control due to COVID–19.                     previous final rule, payments to contract
                                            Contract Producers
                                                                                                       The final rule published on January                producers may be factored if total
                                               The final rule published on January                  19, 2021, specified that payments for                 calculated payments exceed the
                                            19, 2021, added provisions to provide                   contract producers would be based on a                available funding under 7 CFR 9.203(o).
                                            assistance for contract producers and                   comparison of eligible revenue for the
                                            specified that those payments would be                                                                        Other Changes
                                                                                                    periods of January 1, 2019, through
                                            issued with remaining funding                           December 27, 2019, and January 1, 2020,                  This rule amends § 9.7(a) to address
                                            authorized by the Coronavirus Aid,                      through December 27, 2020. This rule                  situations where FSA determines that
                                            Relief, and Economic Security Act                       amends the regulation in 7 CFR 9.202(b)               the applicant intentionally
                                            (CARES Act; Pub. L. 116–136). Contract                  and 9.203(l) to allow a contract                      misrepresented either the total amount
                                            producer payments were suspended                        producer to elect to use eligible revenue             or producer’s share of the commodities,
                                            before any CARES Act funding was used                   from the period of January 1, 2018,                   acres, sales, or revenue on their
                                            to fund those payments. Subtitle B,                     through December 27, 2018, in lieu of                 application. In those cases, the
                                            section 751, of the CAA specifically                    during that date range in 2019. This                  producer’s application will be
                                            directs the Secretary to use not more                   change is intended to provide flexibility             disapproved and the participant must
                                            than $1 billion of the additional funding               and make the program more equitable                   refund the full payment to FSA with
                                            provided under the CAA to make                          for contract producers who had reduced                interest from the date of disbursement.
                                            payments to contract producers of                       revenue in 2019 compared to a normal                  This rule also amends § 9.7(b) to specify
                                            livestock and poultry to cover not more                 year for their operation.                             that the equitable relief provisions of 7
                                            than 80 percent of their revenue losses,                   The payment calculation in the final               CFR part 718, subpart D, apply to CFAP
                                            as determined by the Secretary of                       rule published on January 19, 2021,                   determinations.
                                            Agriculture, from January 1, 2020,                      specified that payments for contract
                                            through December 27, 2020. While CAA                    producers would be equal to the eligible              Notice and Comment, Effective Date,
                                            uses the term ‘‘contract grower’’ and the               revenue received from January 1, 2019,                and Exemptions
                                            CFAP 2 regulation uses the term                         through December 27, 2019, minus the                     The Administrative Procedure Act
                                            ‘‘contract producer’’ both terms refer to               eligible revenue received from January                (APA), 5 U.S.C. 553(a)(2), provides that
                                            and mean the same people or entities;                   1, 2020, through December 27, 2020,                   the notice-and-comment and 30-day
                                            this rule uses the term ‘‘contract                      multiplied by 80 percent. In response to              delay in the effective date requirements
                                            producer,’’ for consistency. Payments to                additional review and stakeholder                     do not apply when the rule involves
                                            contract producers will be funded as                    concerns about certain situations when                specified actions, including matters
                                            authorized by the CAA rather than the                   the original calculation would not                    relating to benefits. This rule governs
                                            CARES Act.                                              accurately capture a contract producer’s              CFAP for payments to certain
                                               This rule also amends the provisions                 loss of eligible revenue due to COVID–                commodity producers and therefore
                                            for contract producers based on                         19, this rule amends the regulation at 7              falls within the benefits exemption.
                                            additional evaluation of CFAP 2 and                     CFR 9.203(l)(4) to allow FSA to adjust                   This rule is exempt from the
                                            stakeholder concerns related to the                     a contract producer’s eligible revenue                regulatory analysis requirements of the
                                            payment calculation. The previous final                 based on information certified by the                 Regulatory Flexibility Act (5 U.S.C.
                                            rule provided assistance for contract                   contract producer on supplemental form                601–612), as amended by the Small
                                            producers of broilers, pullets, layers,                 AD–3117B if a contract producer did                   Business Regulatory Enforcement
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                                            chicken eggs, turkeys, hogs, and pigs.                  not have a full period of revenue from                Fairness Act of 1996 (SBREFA). The
                                            After further review, USDA has                          January 1 to December 27 for either                   requirements for the regulatory
                                            determined that contract producers of                   2018 or 2019, or if the contract producer             flexibility analysis in 5 U.S.C. 603 and
                                            ducks, geese,pheasants, and quail will                  increased their operation size in 2020.               604 are specifically tied to the
                                            also be eligible, including contract                    Information required to calculate these               requirement for a proposed rule by
                                            producers of eggs of all eligible poultry               adjustments includes a contract                       section 553 or any other law; in


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                                            addition, the definition of rule in 5                      In implementing these programs,                      explicitly included in the initial CFAP
                                            U.S.C. 601 is tied to the publication of                additional assistance was deemed                        2 rule. For example, grass seed was not
                                            a proposed rule.                                        necessary. Subdivision B, section 751,                  included in the initial CFAP 2 rule, but
                                               The Office of Management and Budget                  of the CAA authorizes payments of up                    evidence indicates that production and
                                            (OMB) designated this rule as major                     to 80 percent of contract producers’                    revenue were significantly affected. This
                                            under the Congressional Review Act                      revenue loss and up to $1 billion in                    rule clarifies that grass seed is now an
                                            (CRA), as defined by 5 U.S.C. 804(2).                   funding. To qualify for payment, a                      eligible sales-based commodity, the
                                            Section 808 of the CRA allows an                        producer must demonstrate a drop in                     expected cost is $41 million.
                                            agency to make a major regulation                       revenue (‘‘revenue loss’’) between 2019                    FSA, which implemented CFAP 1 and
                                            effective immediately if the agency finds               and 2020. The producer can then choose                  2, is implementing these three
                                            there is good cause to do so. The                       their 2018 revenue in lieu of their 2019                provisions. Producers must fill out
                                            beneficiaries of this rule have been                    revenue in the revenue loss calculation                 paperwork to participate in these
                                            significantly impacted by the COVID–19                  if their 2018 revenue is more                           programs, and the associated
                                            outbreak, which has resulted in                         representative of anticipated revenue in                administrative costs are estimated at
                                            significant declines in demand and                      2020. In addition, note that the CFAP                   $1.5 million for contract producers, $2.2
                                            market disruptions. USDA finds that                     Additional Assistance regulation,                       million for the use of 2018 versus 2019
                                            notice and public procedure would be                    published on January 19, 2021,                          revenue in the calculations for sales-
                                            contrary to the public interest.                        provided assistance to contract                         based commodities, and $0.1 million for
                                            Therefore, even though this rule is a                   producers. CFAP Additional Assistance                   grass seed.
                                            major rule for purposes of the                          activity was paused in late January                     Environmental Review
                                            Congressional Review Act, USDA is not                   2021. No payments were issued to
                                                                                                    contract producers under that                              The environmental impacts of this
                                            required to delay the effective date for
                                                                                                    regulation.                                             final rule have been considered in a
                                            60 days from the date of publication to                                                                         manner consistent with the provisions
                                            allow for Congressional review.                            This rule and cost-benefit analysis use
                                                                                                    an 80 percent payment factor, the                       of the National Environmental Policy
                                            Accordingly, this rule is effective upon                                                                        Act (NEPA, 42 U.S.C. 4321–4347), the
                                            publication in the Federal Register.                    maximum allowed by the CAA, and
                                                                                                    apply it to the individual producer’s                   regulations of the Council on
                                            Executive Orders 12866 and 13563                        actual 2019 to 2020 revenue change.                     Environmental Quality (40 CFR parts
                                                                                                    Contract producer payments are highly                   1500–1508), and because USDA will be
                                               Executive Order 12866, ‘‘Regulatory                                                                          making the payments to producers the
                                            Planning and Review,’’ and Executive                    uncertain and can depend on the
                                                                                                    number of animals received by the                       USDA regulations for compliance with
                                            Order 13563, ‘‘Improving Regulation                                                                             NEPA (7 CFR part 1b).
                                            and Regulatory Review,’’ direct agencies                contractor and the price paid by the
                                                                                                    integrator to the contractor. The                          Although OMB has designated this
                                            to assessall costs and benefits of                                                                              rule as ‘‘economically significant’’
                                                                                                    projections contained in this assessment
                                            available regulatory alternatives and, if                                                                       under Executive Order 12866,
                                                                                                    provide an upper bound at over $1
                                            regulation is necessary, to select                                                                              ‘‘economic or social effects are not
                                                                                                    billion. However, available evidence
                                            regulatory approaches that maximize                                                                             intended by themselves to require
                                                                                                    suggests that year-to-year differences in
                                            net benefits (including potential                                                                               preparation of an environmental impact
                                                                                                    animal volume may moderate that
                                            economic, environmental, public health,                                                                         statement’’ when not interrelated to
                                                                                                    estimate. Broiler and hog contract
                                            and safety effects; distributive impacts;                                                                       natural or physical environmental
                                                                                                    producers will receive the bulk of
                                            and equity). Executive Order 13563                                                                              effects (see 40 CFR 1502.16(b)). CFAP
                                                                                                    payments.
                                            emphasized the importance of                                                                                    was designed to avoid skewing planting
                                                                                                       In contrast to assistance for contract
                                            quantifying both costs and benefits, of                                                                         decisions. Producers continue to make
                                                                                                    producers, CAA provides authority for,
                                            reducing costs, of harmonizing rules,                                                                           their planting and production decisions
                                                                                                    but does not mandate, use of 2018 or
                                            and of promoting flexibility. The                                                                               with the market signals in mind, rather
                                                                                                    2019 revenue data in the calculation of
                                            requirements in Executive Orders 12866                                                                          than any expectation of what a new
                                                                                                    payments for sales-based1 commodities.
                                            and 13563 for the analysis of costs and                                                                         USDA program might look like. The
                                                                                                    This provision, included in this rule,
                                            benefits apply to rules that are                                                                                discretionary aspects of CFAP (for
                                                                                                    ensures that farmers who had lower
                                            determined to be significant.                                                                                   example, determining adjusted gross
                                                                                                    sales in 2019 than in 2018—for
                                               The Office of Management and Budget                  example, those unable to plant a 2019                   income (AGI) and payment limitations)
                                            (OMB) designated this rule as                           crop—would not be penalized in the                      were designed to be consistent with
                                            economically significant under                          payment calculation. Fifty-two percent                  established USDA and the FSA
                                            Executive Order 12866. Therefore, OMB                   of sales-based applicants are projected                 administered programs and are not
                                            has reviewed this rule.                                 to prefer the use of 2018 revenue data                  expected to have any impact on the
                                               The costs and benefits of this rule are              (relative to 2019 data) based on analysis               human environment, as CFAP payments
                                            summarized below. The full cost benefit                 of USDA cash receipts data. The                         will only be made after the commodity
                                            analysis is available on regulations.gov.               expected cost associated with this                      has been produced. Accordingly, the
                                                                                                    change is estimated at $207 million.                    following Categorical Exclusion in 7
                                            Cost Benefit Analysis Summary
                                                                                                       Upon implementation of the CFAP 2                    CFR part 1b applies: § 1b.3(a)(2), which
                                               CFAP 1 and CFAP 2 assisted                           rule, FSA became aware that certain                     applies to activities that deal solely with
                                            producers of agricultural commodities                   commodities had experienced COVID–                      the funding of programs, such as
                                            marketed in 2020 who faced continuing                   19 market disruptions but had not been                  program budget proposals,
                                            market disruptions, reduced farm-level                                                                          disbursements, and the transfer or
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                                            prices, and increased production and                       1 This category includes fruits, vegetables, and     reprogramming of funds. As such, the
                                            marketing costs due to COVID–19.                        nuts; dry edible beans, lentils, dry edible peas, and   implementation of and participation in
                                            These additional costs are associated                   chickpeas; and commodities including aquaculture,       CFAP do not constitute major Federal
                                                                                                    turkeys, mink, mohair, rabbits, and others. For more
                                            with declines in demand, surplus                        information, see the CFAP 2 cost-benefit assessment
                                                                                                                                                            actions that would significantly affect
                                            productions, or disruptions to shipping                 at: https://www.farmers.gov/sites/default/files/        the quality of the human environment.
                                            patterns and marketing channels.                        documents/CFAP2-CBA-09252020.pdf.                       Therefore, an environmental assessment


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                                            or environmental impact statement for                   Tribal governments, in the aggregate,or               time per response multiplied by the
                                            this regulatory action will not be                      to the private sector. UMRA generally                 estimated total annual responses.
                                            prepared; this rule serves as                           requires agencies to consider                            Estimate of Respondent Burden:
                                            documentation of the programmatic                       alternatives and adopt the more cost-                 Public reporting burden for this
                                            environmental compliance decision for                   effective or least burdensome alternative             information collection is estimated to
                                            this Federal action.                                    that achieves the objectives of the rule.             average 0.43 hours per response,
                                                                                                    This rule contains no Federal mandates,               including the time for reviewing
                                            Executive Order 12988
                                                                                                    as defined in Title II of UMRA, for State,            instructions, searching existing data
                                               This rule has been reviewed under                    local, and Tribal governments or the                  sources, gathering and maintaining the
                                            Executive Order 12988, ‘‘Civil Justice                  private sector. Therefore, this rule is not           data needed and completing and
                                            Reform.’’ This rule will not preempt                    subject to the requirements of sections               reviewing the collections of
                                            State or local laws, regulations, or                    202 and 205 of UMRA.                                  information.
                                            policies unless they represent an                                                                                Type of Respondents: Producers or
                                            irreconcilable conflict with this rule.                 Federal AssistancePrograms                            farmers.
                                            Before any judicial actions may be                        The title and number of the Federal                    Estimated Annual Number of
                                            brought regarding the provisions of this                Domestic Assistance Program found in                  Respondents: 2,204.
                                            rule, the administrative appeal                         the Catalog of Federal Domestic                          Estimated Number of Responses per
                                            provisions of 7 CFR parts 11 and 780 are                Assistance to which this rule applies is              Respondent: 2.005.
                                            to be exhausted.                                        10.132—Coronavirus Food Assistance                       Estimated Total Annual Responses:
                                            Executive Order 13175                                   Program 2.                                            4,419.
                                                                                                                                                             Estimated Average Time per
                                               This rule has been reviewed in                       Paperwork Reduction Act                               Response: 0.43 hours.
                                            accordance with the requirements of                        In accordance with the Paperwork                      Estimated Annual Burden on
                                            Executive Order 13175, ‘‘Consultation                   Reduction Act of 1995, FSA is                         Respondents: 1,892 hours.
                                            and Coordination with Indian Tribal                     administering the information collection                 FSA is requesting comments on all
                                            Governments.’’ Executive Order 13175                    activities under a currently approved                 aspects of this information collection to
                                            requires Federal agencies to consult and                information collection request of OMB                 help us to:
                                            coordinate with Tribes on a                             control number of 0560–0297. Thus,                       (1) Evaluate whether the collection of
                                            government-to-government basis on                       there are no required changes to the                  information is necessary for the proper
                                            policies that have Tribal implications,                 information collection request for FSA                performance of the functions of FSA,
                                            including regulations, legislative                      in providing assistance for contract                  including whether the information will
                                            comments, or proposed legislation, and                  producers of eligible contract livestock              have practical utility;
                                            other policy statements or actions that                 and poultry and to provide additional                    (2) Evaluate the accuracy of the FSA’s
                                            have substantial direct effects on one or               assistance for other commodities as                   estimate of burden including the
                                            more Indian Tribes, on the relationship                 described in this rule.                               validity of the methodology and
                                            between the Federal Government and                                                                            assumptions used;
                                                                                                       Additionally, the new information
                                            Indian Tribes, or on the distribution of                                                                         (3) Enhance the quality, utility, and
                                                                                                    collection request for the eligible grass
                                            power and responsibilities between the                                                                        clarity of the information to be
                                                                                                    seed that will be included in the CFAP
                                            Federal Government and Indian Tribes.                                                                         collected; and
                                                                                                    was submitted to OMB for emergency
                                               USDA has assessedthe impact of this                                                                           (4) Minimize the burden of the
                                                                                                    approval. FSA will collect and evaluate
                                            rule on Indian Tribes and determined                                                                          collection of information on those who
                                                                                                    the application from the producers and
                                            that this rule does not, to our                                                                               are to respond, including through the
                                                                                                    other required paperwork. Following
                                            knowledge, have Tribal implications                                                                           use of appropriate automated,
                                                                                                    the 60-day public comment period
                                            that required Tribal consultation under                                                                       electronic, mechanical, or other
                                                                                                    provided by this rule, FSA intends to
                                            Executive Order 13175 at this time. If a                                                                      technological collection techniques or
                                                                                                    merge the burden hours associated with
                                            Tribe requests consultation, the USDA                                                                         other forms of information technology.
                                                                                                    the new grass seed information                           All comments received in response to
                                            Office of Tribal Relations (OTR) will
                                                                                                    collection request (ICR) into the main                this document, including names and
                                            ensure meaningful consultation is
                                                                                                    CFAP 2 ICR that is currently approved                 addresses when provided, will be a
                                            provided where changes, additions, and
                                                                                                    under OMB control number 0560–0297.                   matter of public record. Comments will
                                            modifications are not expressly
                                            mandated by law. Outside of Tribal                         Title: CFAP 2.                                     be summarized and included in the
                                            consultation, USDA is working with                         OMB Control Number: 0560–New.                      submission for Office of Management
                                            Tribes to provide information about                        Type of Request: New Collection.                   and Budget approval.
                                            CFAP additional assistance and other                       Abstract: This information collection
                                                                                                    is required to support CFAP 2                         USDA Non-Discrimination Policy
                                            issues.
                                                                                                    information collection activities to                     In accordance with Federal civil
                                            Unfunded Mandates                                       provide payments to eligible producers                rights law and U.S. Department of
                                              Title II of the Unfunded Mandates                     who, with respect to their agricultural               Agriculture (USDA) civil rights
                                            Reform Act of 1995 (UMRA), Public                       commodities, have been impacted by                    regulations and policies, USDA, its
                                            Law 104–4, requires Federal agencies to                 the effects of the COVID–19 pandemic.                 Agencies, offices, and employees, and
                                            assessthe effects of their regulatory                   The information collection is necessary               institutions participating in or
                                            actions on State, local, and Tribal                     to evaluate the application and other                 administering USDA programs are
                                            governments or the private sector.                      required paperwork for determining the                prohibited from discriminating based on
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                                            Agencies generally must prepare a                       producer’s eligibility and assist in the              race, color, national origin, religion, sex,
                                            written statement, including a cost                     producer’s payment calculations.                      gender identity (including gender
                                            benefit analysis, for proposed and final                   For the following estimated total                  expression), sexual orientation,
                                            rules with Federal mandates that may                    annual burden on respondents, the                     disability, age, marital status, family or
                                            result in expenditures of $100 million or               formula used to calculate the total                   parental status, income derived from a
                                            more in any 1 year for State, local, or                 burden hour is the estimated average                  public assistance program, political


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                                            beliefs, or reprisal or retaliation for prior               (2) October 12, 2021, for payments                  contract producers determined by
                                            civil rights activity, in any program or                issued under § 9.203.                                   USDA for a geographic area based on
                                            activity conducted or funded by USDA                    *       *    *    *      *                              the best available data including, but
                                            (not all bases apply to all programs).                  ■ 3. Amend § 9.7 as follows:
                                                                                                                                                            not limited to, losses reported by
                                            Remedies and complaint filing                           ■ a. Revise paragraph (a); and                          contract producers for the same area and
                                            deadlines vary by program or incident.                  ■ b. In paragraph (b), remove the words                 type of livestock or poultry.
                                               Persons with disabilities who require                ‘‘in parts’’ and add ‘‘in part 718, subpart             *      *     *    *      *
                                            alternative means of communication for                  D, and parts’’ in their place.                             Eligible contract livestock or poultry
                                            program information (for example,                           The revision reads as follows:                      means broilers, pullets, layers, poultry
                                            Braille, large print, audiotape, American                                                                       eggs, turkeys, ducks, geese,pheasants,
                                            Sign Language, etc.) should contact the                 § 9.7     Miscellaneous provisions.                     quail, hogs, pigs, and other livestock or
                                            responsible Agency or USDA TARGET                          (a) If a CFAP payment resulted from                  poultry types determined eligible and
                                            Center at (202) 720–2600 or (844) 433–                  erroneous information provided by a                     announced by USDA, including
                                            2774 (toll-free nationwide).                            participant, or any person acting on                    breeding stock of those eligible livestock
                                            Additionally, program information may                   their behalf, the payment will be                       and poultry types.
                                            be made available in languages other                    recalculated and the participant must                   *      *     *    *      *
                                            than English.                                           refund any excess payment with interest                    Turn means a group of eligible
                                               To file a program discrimination                     calculated from the date of the                         contract livestock or poultry that is
                                            complaint, complete the USDA Program                    disbursement of the payment.                            delivered to a contract producer who
                                            Discrimination Complaint Form, AD–                         (1) If FSA determines that the                       provides labor and equipment to
                                            3027, found online at https://                          applicant intentionally misrepresented                  produce the livestock or poultry for the
                                            www.usda.gov/oascr/how-to-file-a-                       either the total amount or applicant’s                  integrator or owner.
                                            program-discrimination-complaint and                    share of the commodities, acres, sales,                 *      *     *    *      *
                                            at any USDA office or write a letter                    or revenue on their application, the
                                                                                                                                                            ■ 5. Amend § 9.202 by revising
                                            addressed to USDA and provide in the                    application will be disapproved and the
                                                                                                    applicant must refund the full payment                  paragraphs (b)(1) through (3) and adding
                                            letter all the information requested in                                                                         paragraphs (b)(4) and (d) to read as
                                            the form. To request a copy of the                      to FSA with interest from the date of
                                                                                                    disbursement.                                           follows:
                                            complaint form, call (866) 632–9992.
                                            Submit your completed form or letter to                    (2) Any required refunds must be                     § 9.202       Eligibility.
                                            USDA by mail to: U.S. Department of                     resolved in accordance with part 3 of                   *       *    *     *     *
                                            Agriculture, Office of the Assistant                    this title.                                                (b) * * *
                                            Secretary for Civil Rights, 1400                        *      *     *    *    *                                   (1) Produced eligible contract
                                            Independence Avenue SW, Washington,                                                                             livestock or poultry under a contract in
                                            DC 20250–9410 or email: OAC@                            Subpart C—CFAP 2                                        either the 2018 or 2019 calendar year
                                            usda.gov.                                                                                                       and in the 2020 calendar year;
                                                                                                    ■ 4. Amend § 9.201 as follows:
                                               USDA is an equal opportunity                                                                                    (2) Received revenue under such a
                                                                                                    ■ a. Add the definitions of ‘‘Average
                                            provider, employer, and lender.                                                                                 contract during the period from January
                                                                                                    revenue loss level’’ and ‘‘Eligible                     1, 2020, through December 27, 2020;
                                            List of Subjectsin 7 CFR Part 9                         contract livestock or poultry’’ in                         (3) Had a loss in eligible revenue for
                                                                                                    alphabetical order;                                     the period from January 1, 2020,
                                               Agricultural commodities,                            ■ b. In the definition of ‘‘Eligible
                                            Agriculture, Disaster assistance,                                                                               through December 27, 2020, as
                                                                                                    revenue’’, remove the words ‘‘broilers,                 compared to the period from:
                                            Indemnity payments.                                     pullets, layers, chicken eggs, turkeys,                    (i) January 1, 2018, through December
                                               For the reasons discussed above, this                hogs, or pigs’’ and add the words                       27, 2018; or
                                            final rule amends 7 CFR part 9 as                       ‘‘eligible contract livestock or poultry’’                 (ii) January 1, 2019, through
                                            follows:                                                in their place;                                         December 27, 2019; and
                                                                                                    ■ c. In the definition of ‘‘Ineligible                     (4) Meet all other requirements for
                                            PART 9—CORONAVIRUS FOOD                                 commodities’’, remove the words                         eligibility under this part.
                                            ASSISTANCE PROGRAM                                      ‘‘ineligible crops’’ and add the words                  *       *    *     *     *
                                                                                                    ‘‘ineligible crops other than grass seed’’                 (d) Contract producers are eligible for
                                            ■ 1. The authoritycitation for part 9                   in their place;
                                            continues to read as follows:                                                                                   payment under § 9.203(m) if they:
                                                                                                    ■ d. In the definition of ‘‘Producer’’, in                 (1) Did not receive eligible revenue
                                              Authority: 15 U.S.C. 714b and 714c;                   the second sentence, remove the word                    from January 1 through December 27 in
                                            Division B, Title I, Pub. L. 116–136, 134 Stat.         ‘‘Producers’’ and add the words ‘‘Except                2018 or 2019, but received eligible
                                            505; and Division N, Title VII, Subtitle B,             for contract producers, producers’’ in its              revenue for the period from January 1,
                                            Chapter 1, Pub. L. 116–260.                             place;                                                  2020, through December 27, 2020; and
                                                                                                    ■ e. In the definition of ‘‘Sales-based                    (2) Meet all other requirements for
                                            Subpart A—General Provisions                            commodities’’, remove the words ‘‘milk,                 eligibility under this part.
                                                                                                    mink (including pelts);’’ and add the                   ■ 6. Amend § 9.203 as follows:
                                            ■ 2. Amend § 9.4 as follows:
                                                                                                    words ‘‘milk, grass seed, mink                          ■ a. Revise paragraph (i);
                                            ■ a. Revise paragraphs (a)(1) and (2);
                                                                                                    (including pelts),’’ in its place; and                  ■ b. In Table 2 to paragraph (j), revise
                                            and                                                     ■ f. Add the definition of ‘‘Turn’’ in                  the first column heading;
                                            ■ b. Remove paragraph (a)(3).                           alphabetical order.                                     ■ c. Revise paragraph (l); and
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                                               The revisions read as follows:                           The additions read as follows:                      ■ d. Add paragraphs (m) through (o).
                                            § 9.4   Time and method of application.
                                                                                                                                                               The revisions and additions read as
                                                                                                    § 9.201     Definitions.                                follows:
                                               (a) * * *                                            *    *     *    *     *
                                               (1) September 11, 2020, for payments                   Average revenue loss level means the                  § 9.203       Calculation of payments.
                                            issued under § 9.102; and                               average percentage of revenue loss for                  *        *       *       *   *


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                                              (i) Payments for sales-based                          range in Table 2 of paragraph (j) of this             such as processing and packaging, and
                                            commodities will be:                                    section:                                              from sales of products purchased for
                                              (1) Based on one of the following as                     (i) The sum of the amount of the                   resale is not included in the payment
                                            elected by the producer:                                producer’s eligible sales for the sales-              calculation unless determined eligible
                                                                                                    based commodities in the applicable                   by the Secretary.
                                              (i) The producer’s sales for calendar
                                                                                                    calendar year and the producer’s crop                    (3) Payments for producers of sales
                                            year 2018 and crop insurance
                                                                                                    insurance indemnities and NAP and                     commodities who began farming in
                                            indemnities and NAP and WHIP+
                                                                                                    WHIP+ payments for the sales                          2020 and had no sales in 2019,
                                            payments for the 2018 crop year for all
                                                                                                    commodities for the applicable crop                   calculated as provided in paragraph
                                            sales-based commodities; or
                                                                                                    year within the specified range,                      (i)(2) of this section, except that the
                                              (ii) The producer’s sales for calendar                multiplied by the payment rate for that               payments will be based on the
                                            year 2019 and crop insurance                            range in Table 2 of paragraph (j) of this             producer’s actual 2020 sales, without
                                            indemnities and NAP and WHIP+                           section.                                              crop insurance indemnities, NAP or
                                            payments for the 2019 crop year for all                    (ii) Eligible sales only includes sales            WHIP+ payments, as of the date the
                                            sales-based commodities.                                of raw commodities grown by the                       producer submits an application for
                                              (2) Equal to the sum of the results for               producer; the portion of sales derived                payment under this section.
                                            the following calculation for each sales                from adding value to the commodity,                      (j) * * *

                                                                            TABLE 2 TO PARAGRAPH (J)—PAYMENT RATES FOR SALES COMMODITIES
                                                                                           2018 or 2019 Sales range                                                             Percent payment factor
                                                                    (including crop insurance indemnities and NAP and WHIP+ payments)


                                                      *                       *                       *                      *                       *                      *                 *



                                            *      *      *     *    *                              loss level, determined by USDA for a                  DEPARTMENT OF TRANSPORTATION
                                               (l) For eligible contract producers, if              geographic area based on the best
                                            eligible revenue for the period from                    available data including, but not limited             Federal Aviation Administration
                                            January 1, 2020, through December 27,                   to, losses reported by other contract
                                            2020, decreased compared to eligible                    producers for the same area and type of               14 CFR Part 71
                                            revenue for the period from January 1,                  livestock or poultry; and                             [Docket No. FAA–2021–0075; Airspace
                                            2018, through December 27, 2018, or the                                                                       Docket No. 21–ASO–2]
                                            period from January 1, 2019, through                       (2) The payment will be equal to:
                                            December 27, 2019, then payments will                      (i) The result of the calculation in               RIN 2120–AA66
                                            be equal to:                                            paragraph (m)(1) of this section minus
                                                                                                                                                          Amendment of Class E Airspace;
                                               (1) Eligible revenue received from                   the contract producer’s eligible revenue
                                                                                                                                                          Muscle Shoals, AL
                                            January 1, 2018, through December 27,                   received from January 1, 2020, through
                                            2018, or from January 1, 2019, through                  December 27, 2020; multiplied by                      AGENCY: Federal Aviation
                                            December 27, 2019; minus                                   (ii) 80 percent.                                   Administration (FAA), DOT.
                                               (2) Eligible revenue received from                                                                         ACTION: Final rule.
                                            January 1, 2020, through December 27,                      (n) Payments under paragraphs (l) and
                                            2020; multiplied by                                     (m) of this section and the average                   SUMMARY: This action amends Class E
                                               (3) 80 percent.                                      revenue loss levels under paragraph                   airspace extending upward from 700
                                               (4) USDA will adjust the eligible                    (m)(1) of this section will be calculated             feet above the surface in Muscle Shoals,
                                            revenue based on information certified                  separately for the following categories:              AL, due to the decommissioning of the
                                            by the contract producer on form AD–                                                                          Muscle Shoals Very High Frequency
                                                                                                       (1) Chickens—broilers, pullets, and
                                            3117B for contract producers who did                                                                          Omni-Directional Radio Range Tactical
                                                                                                    layers;
                                            not have a full period of revenue from                                                                        Air Navigation Aid (VORTAC), and
                                            January 1 to December 27 for either                        (2) Chicken eggs;                                  cancellation of the associated approach
                                            2018 or 2019, or who increased their                       (3) Turkeys;                                       at Northwest Alabama Regional Airport.
                                            operation size in 2020. Information                                                                           This action also updates the airport
                                                                                                       (4) Hogs and pigs;
                                            required to calculate these adjustments                                                                       name under the Class E surface airspace
                                            may include a contract producer’s                          (5) Ducks, geese,pheasants, quail; and             and makes an editorial change replacing
                                            square footage increase to the operation                   (6) All other eligible poultry eggs.               the term Airport/Facility Directory with
                                            in 2020, or a contract producer’s                          (o) The calculations in paragraphs (l)             the term Chart Supplement in the legal
                                            production or number of turns for 2018,                                                                       descriptions of associated Class E
                                                                                                    and (m) of this section are subject to the
                                            2019, or 2020, as applicable.                                                                                 airspace. Controlled airspace is
                                                                                                    availability of funds and will be
                                               (m) For eligible contract producers                                                                        necessary for the safety and
                                                                                                    factored, if needed.                                  management of instrument flight rules
                                            who did not receive eligible revenue
                                            from January 1 through December 27 in                   Gloria Montaño Greene,                               (IFR) operations in the area.
                                            2018 or 2019, but received eligible                     Deputy Under Secretary, Farm Production               DATES: Effective 0901 UTC, December 2,
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                                            revenue for the period from January 1,                  and Conservation, U.S. Department of                  2021. The Director of the Federal
                                            2020, through December 27, 2020:                        Agriculture.                                          Register approves this incorporation by
                                               (1) FSA will divide the eligible                     [FR Doc. 2021–18423 Filed 8–26–21; 8:45 am]           reference action under 1 CFR part 51,
                                            revenue received from January 1, 2020,                  BILLING CODE 3410–05–P
                                                                                                                                                          subject to the annual revision of FAA
                                            through December 27, 2020, by the                                                                             Order 7400.11 and publication of
                                            result of 1 minus the average revenue                                                                         conforming amendments.


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                                           Office of the Secretary

                                          Washington, D.C. 20250



                                            January 18, 2022
The Honorable Glenn Thompson
Republican Leader
Committee on Agriculture
U.S. House of Representatives
1301 Longworth House Office Building
Washington, D.C. 20515

Dear Ranking Member Thompson:

Thank you for your letter of May 19, 2021, regarding gaps and disparities in distribution of COVID
relief funds prior to the Biden-Harris Administration. I apologize for the delay in this written response.

Your comments and concerns are appreciated. On March 24, 2021, I announced the Pandemic
Assistance for Producers initiative aimed at addressing gaps and disparities in distributing assistance
under the Coronavirus Food Assistance Program (CFAP). Further assistance to producers and business
as part of this initiative was announced on June 15 and again on August 24, 2021. The gaps and
disparities we continue to focus on addressing have been brought to our attention by farmers, ranchers,
producers, organizations, and members of Congress. We have provided the latest information about the
Pandemic Assistance for Producers initiative on www.farmers.gov/coronavirus/pandemic-assistance.

From the start, USDA has sought to engage stakeholders directly to collect information about losses
incurred and has invited members of Congress to identify areas for further scrutiny so that we can best
target the limited dollars based on demonstrated need.

To that end, we have announced the following programs:

   � The Spot Market Hog Pandemic Program (SMHPP) provides pandemic assistance to hog
     producers who sold hogs through a negotiated sale from April 16, 2020 through September 1,
     2020, which reflects when producers faced the greatest reduction in market prices due to the
     pandemic.
   � The Organic and Transitional Education and Certification Program (OTECP) provides
     pandemic assistance to cover eligible certification and education expenses for agricultural
     producers who are certified organic or transitioning to organic. The economic challenges due to
     the pandemic have made obtaining and renewing USDA organic certification financially
     challenging for many operations.
   � The Pandemic Livestock Indemnity Program (PLIP) provides relief to chicken, turkey, and
     swine producers who suffered losses during the pandemic due to insufficient access to
     processing.
   � The Pandemic Assistance for Timber Harvesters and Haulers program (PATHH) provides
     financial relief to timber harvesting and timber hauling businesses that experienced losses in
     2020 due to COVID-19 due to significant disruptions in the logging industry.
   � The Dairy Donation Program (DDP) allocates $400 million to facilitate dairy product
     donations and reduce food waste. Under this program, eligible dairy organizations partner with
                                         An Equal Opportunity Employer

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   � non-profit feeding organizations that distribute food to individuals and families. Those
     partnerships may apply for and receive reimbursements to cover some expenses related to
     eligible dairy product donations.
   � USDA opened signup for the Dairy Margin Coverage (DMC) program and expanded the
     program to allow dairy producers to better protect their operations by enrolling supplemental
     production through Supplemental DMC. Supplemental DMC will provide $580 million to
     better help small- and mid-sized dairy operations that have increased production over the years
     but were not able to enroll the additional production.
   � Through the Pandemic Market Volatility Assistance Program (PMVAP), USDA will
     provide pandemic assistance payments to dairy farmers who received a lower value due to
     market abnormalities caused by the pandemic and ensuing Federal policies. Payments will
     reimburse qualified dairy farmers for 80% of the revenue difference per month based on an
     annual production of up to 5 million pounds of milk marketed and on fluid milk sales from July
     through December 2020.
   � The Pandemic Response and Safety (PRS) Grant Program and the Seafood Processors
     Pandemic Response and Safety (Seafood PRS) Block Grant Program will provide
     approximately $700 million in assistance to small scale specialty crop producers and
     processors, shellfish, aquaculture and other select producers, meat and other processors,
     distributors, farmers markets, seafood facilities, and processing vessels impacted by the
     coronavirus pandemic and who received insufficient federal support to address the costs they
     incurred to keep workers safe and help keep the U.S. food supply intact during the crisis.
   � The Pandemic Cover Crop Program (PCCP) provided premium support to producers who
     insured their spring crop with most insurance policies and planted a qualifying cover crop
     during the 2021 crop year due to the additional economic challenges the pandemic created for
     producers working to maintain cover cropping systems.
   � Through the Biofuel Producer Program, USDA is providing relief to eligible biofuel
     producers for unexpected market losses as a result of the pandemic in order to maintain a viable
     and significant biofuels market for agricultural producers that supply biofuel producers.
     Payments will be based upon the volume of market loss the biofuel producer experienced in the
     calendar year 2020.
   � USDA re-opened and extended the sign-up period for CFAP 2 in April 2021 and initiated
     cooperative agreements to provide additional education and outreach informing all producers of
     the assistance available and the extended enrollment period. In August 2021, grass seed was
     added as an eligible commodity and additional flexibility was provided to contract producers
     and producers of sales-based commodities to reflect challenges experienced. As a result, we
     saw a fourfold increase in applications from historically underserved producers.

In addition to these new programs, USDA has been able to allocate additional funds targeted for
pandemic relief through the following existing programs: Value-Added Producer Grant Program,
Specialty Crop Block Grant Program, Gus Schumacher Nutrition Incentive Program, Beginning
Farmer and Rancher Development Program, and the Local Agriculture Market Program.

As assistance has been developed and finalized, USDA has conducted congressional notifications and




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briefings. USDA is working to provide relief as expeditiously as possible to America’s producers who
have felt the impact of COVID–19 market disruptions.

I apologize for the delayed written response. Please let me know if you have further questions.

Thank you for writing and for the opportunity to respond.

                                             Sincerely,




                                             Thomas J. Vilsack
                                             Secretary




                                             APP. 000746
       Received: 1 April 2022        Accepted: 30 August 2022
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       SUBMITTED ARTICLE




       Analysis of the payments from the coronavirus
       food assistance program and the market
       facilitation program to minority producers

       Anil K. Giri              |      Dipak Subedi               | Kathleen Kassel

       Economic Research Service, USDA,
       Washington, DC, USA                                      Abstract
                                                                This paper examines the payments made to minority
       Correspondence
                                                                producers, focused on African American producers,
       Anil K. Giri, Economic Research Service,
       USDA, 1400 Independence Avenue, S.W.,                    from the COVID-19 program, Coronavirus Food Assis-
       Washington, DC 20250, USA.                               tance Program (CFAP), of the United States Depart-
       Email: anil.giri@usda.gov
                                                                ment of Agriculture (USDA) and compares it with one
       Funding information                                      of the other more recent ad hoc program payments, the
       This research was supported by the U.S.                  Market Facilitation Program (MFP). There were two
       Department of Agriculture, Economic
       Research Service. The findings and
                                                                rounds of the CFAP, and combinedly (as of March
       conclusions in this publication are those                2022), the program made direct payments of $31.0 bil-
       of the author(s) and should not be                       lion ($11.8 billion from CFAP 1 and $19.2 billion from
       construed to represent any official USDA
       or U.S. Government determination or                      CFAP 2) starting in 2020. The MFP made a total pay-
       policy.                                                  ment of $23.5 billion (in two rounds, MFP 2018 and
                                                                MFP 2019) to producers affected by the retaliatory tar-
       Editor in charge: Mindy Mallory
                                                                iffs placed on US producers by trade partners across
                                                                multiple years. CFAP made almost $600 million in
                                                                direct payments to minority producers, including Black
                                                                or African American producers. Black or African
                                                                American only producers received more than $52 mil-
                                                                lion in CFAP payments. CFAP payments were propor-
                                                                tional to the value of agricultural commodity sold for
                                                                most minority producers. The 2017 Census of Agricul-
                                                                ture showed that the majority of minority producers,
                                                                including African American producers but excluding
                                                                Asian producers, raised livestock. CFAP made the highest
                                                                payments to livestock minority producers. The CFAP


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                                              payment distribution pattern shows that payments reached
                                              minority producers who often did not receive Government
                                              payments. CFAP made more payments and as a share of
                                              total program outlays to minority producers compared to
                                              MFP. However, for Black or African American only pro-
                                              ducers, even though the magnitude increased (because
                                              CFAP disbursed more funds compared to MFP), the share
                                              of payment received did not increase.

                                              KEYWORDS
                                              African American, Coronavirus Food Assistance program
                                              (CFAP), government payments, Market Facilitation
                                              Program (MFP)

                                              JEL CLASSIFICATION
                                              Q1 (Agriculture), Q18 (Agricultural Policy), Q28 (Government
                                              Policy)



             We saw 99% of the money going to White farmers and 1% going to socially disad-
             vantaged farmers and if you break that down to how much went to Black farmers,
             it's 0.1%.

             -Tom Vilsack, Secretary, USDA, as quoted in Washington Post, March 25, 2021
             (Riley, 2021)


           The above quote was in reference to the CFAP1 fund disbursed by USDA related to the
       COVID-19 relief program. After the Secretary Vilsack's statement above, USDA implemented
       changes with the goal of improving access to COVID-19 relief funds for minority farmers,
       including Black or African American producers. These changes included expanding eligibility
       to commodities that were initially not eligible to receive payments. For instance, poultry and
       contract producers initially were ineligible to receive USDA COVID relief payments. However,
       on August 24, 2021, USDA updated the Coronavirus Food Assistance Program 2 (CFAP 2) for
       eligible livestock and poultry contract producers and specialty crops, and other sales-based com-
       modity producers (USDA Farm Service Agency, 2021). Furthermore, the USDA emphasized
       outreach to small and socially disadvantaged producers, specialty crop and organic producers,
       timber harvesters, and renewable fuel producers (USDA Press Release, 2021).
           Recent studies do not show racial discrimination in the delivery of USDA programs to
       minority producers after some instances in the past. There was no evidence of racial discrimina-
       tion in loan approval (Escalante et al., 2006) and loan amounts and maturities (Escalante
       et al., 2018) from the USDA's Farm Service Agency (FSA). Ghimire et al. (2020) provide evi-
       dence in support of reforms made by the USDA's FSA to lend without bias, especially to socially
       disadvantaged producers and ranchers. They found certain minority borrowers with lower loan
       amounts at higher interest rates and with shorter maturities. However, this was not because of



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       discrimination but because of credit risk management considerations (Ghimire et al., 2020).
       While the lending practice of the USDA has been investigated thoroughly, there are not as
       many studies that examine the payments made to producers from the USDA. This paper aims
       to fill that void by examining payments from two recent USDA programs, the CFAP and the
       Market Facilitation Program (MFP).
            This paper examines the payments made to minority producers, focused on African American
       producers, from the COVID-19 program, CFAP, of the United States Department of Agriculture
       (USDA) and compares it with one of the other more recent ad hoc program payments. Almost all
       the payments from CFAP have been made and the USDA is no longer accepting any new applica-
       tions for the CFAP. Therefore, this paper provides a robust ex-post analysis using a novel dataset
       of the actual payments and sheds light on payments differentiated by race. It also compares pay-
       ments from CFAP with payments from the MFP for minority producers, including Black pro-
       ducers. Analysis and findings of this paper have the potential to be useful to policymakers and
       others when drafting new USDA programs as there is more flexibility in rulemaking and dis-
       bursement of payments in ad hoc programs compared to existing farm bill programs.
            The CFAP was the main COVID-19 relief program of the USDA. There were two rounds of the
       CFAP, and combinedly (as of March 2022), the program made direct payments of $31.0 billion ($11.8
       billion from CFAP 1 and $19.2 billion from CFAP 2) starting in 2020 (U.S. Department of Agriculture,
       Farm Service Agency, 2020a, 2020b). Total direct Government payments (in inflation-adjusted 2020
       dollars) for 2019, 2020, and the 20-year average (2000 through 2019) were $22.7 billion, $45.7 billion,
       and $17.8 billion, respectively. These values show that the combined payments from CFAP were sig-
       nificantly larger than the total pre-pandemic year direct Government payments in 2019 and higher
       than the average total direct Government payment for the past 20 pre-pandemic years.
            Figure 1 shows the total direct Government payments from 2000 to 2020 in inflation-
       adjusted 2020 dollars. Total direct Government payments are payments made from the standing
       Farm Bill programs and new ad hoc payments to the farm sector. In 2020, the farm sector
       received the highest recorded direct Government payment in real (inflation-adjusted) dollars.
       Total direct Government payments for 2020 were $45.7 billion, out of which more than half
       ($23.5 billion) were from the CFAP program. The other COVID-19 program, the Paycheck Pro-
       tection Program (PPP), made forgivable loans to offset labor expenses and made up $6.0 billion,
       or 13% of total direct Government payments. PPP was designed and administered by the Small
       Business Administration with the help of the Treasury. Combined, the COVID-19 relief pro-
       grams, CFAP and PPP, made payments of $29.5 billion, or nearly two-thirds of total direct Gov-
       ernment payments in 2020. Figure 1 also shows another recent ad hoc program, the MFP. The
       MFP made a total payment of $23.5 billion (in two rounds, MFP 2018 and MFP 2019) to pro-
       ducers affected by the retaliatory tariffs placed on US producers by trade partners (Giri
       et al., 2020) across multiple years. The CFAP program was larger than the MFP program, and
       in 1 year (2020), made more in payments than payments from both rounds of MFP.
            The CFAP made direct payments to producers who faced additional pandemic-related mar-
       keting costs, market disruptions, increased production costs, and reduced farm-level prices
       (USDA, 2020a, 2020b). The second round of CFAP 2 was one of the most comprehensive USDA
       programs as 97% of commodities, measured in terms of cash receipts, were eligible for CFAP
       2 funding (Giri et al., 2020). The first round of CFAP (CFAP 1) was also more comprehensive
       than most of the standing Farm Bill programs, which do not generally make payments to live-
       stock producers. Only 18% of commodities, measured in terms of cash receipts, were ineligible
       for CFAP 1 funding (Giri et al., 2020).



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       F I G U R E 1 Direct government payments to U.S. producers, 2000–2020
       Source: USDA, Economic Research Service, farm income and wealth statistics, data as of February 4, 2022.
       Values are adjusted for inflation using the U.S. Bureau of Economic Analysis Gross Domestic Product Price
       Index (BEA API series code: A191RG) rebased to 2020 by USDA, Economic Research Service


       DATA

       CFAP outlays in this report and their demographic distributions are taken from USDA FSA
       administrative data. FSA tabulates payment receipts for those who receive a payment directly
       and those that benefit indirectly from the payment. As an illustration, consider a small farming
       operation with four shareholders, each with a 25% ownership share. Farm program payments
       will be made directly to the operation and attributed to the four owner-operators, or beneficia-
       ries, according to their ownership shares. Therefore, when the operation receives a $100 pay-
       ment each owner is attributed a $25 benefit. This report analyzes the demographic breakdown
       and payment receipts of the four beneficiaries, not the operation.
           To put the payments in context, we use data from the 2017 Census of Agriculture. Every 5 years,
       the USDA does a comprehensive survey and collects data on land use and ownership, operator
       characteristics, production practices, income, and expenditures (USDA NASS 2017 Census of Agri-
       culture). The Census of Agriculture is a complete count of U.S. farms and ranches and the people
       who operate them (USDA NASS Census of Agriculture). The most recent census of Agriculture for
       which data is available is the 2017 Census of Agriculture (U.S. Department of Agriculture, 2020c).


       MINORITY PRODUCER CHARACTERISTICS

       In the subsequent short sections, we provide the producer characteristics of minority producers,
       including Black producers, from the 2017 Census of Agriculture. These characteristics are
       financial as well as demographics related. We provide data on the number of producers, the
       number of farms operated, agricultural products sold, and total Government payments received
       in 2017 for each minority producer type.


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       Black producers

       The 2017 Census of Agriculture reported 48,697 producers who were Black, either alone or in
       combination with another race and they accounted for 1.4% of the country's 3.4 million pro-
       ducers, and they lived and farmed primarily in southeastern and mid-Atlantic states
       (USDA, 2019a). The same Census found farms operated by Black producers were smaller on
       average and accounted for $1.4 billion (0.4%) of agricultural products sold, with 61% ($858 mil-
       lion) in crop sales and 39% ($559 million) in sales of livestock and livestock products
       (USDA, 2019a). Finally, they received $59 million in government payments in 2017
       (USDA, 2019a). Nearly half (48%) of Black-operated farms specialized in cattle and dairy pro-
       duction in 2017, almost all in beef cattle production (USDA, 2019a).


       Asian producers

       The 2017 Census of Agriculture reported 25,310 producers who were Asian, either alone or
       in combination with another race, and they accounted for 0.7% of the country's 3.4 million
       producers (USDA, 2019b). The 2017 Census found farms operated by Asians were highly
       concentrated in California and Hawaii. Asian producers were younger and more likely to
       have recently started farming than U.S. producers overall. In 2017, Asian-operated farms
       sold $7.5 billion in agricultural products, with 58% ($4.3 billion) in crop sales and 42% ($3.2
       billion) in sales of livestock and livestock products (USDA, 2019b). In 2017, Asian-operated
       farms accounted for less than 2% of total U.S. agriculture sales; more than half specialized
       in the production of specialty crops and received $27 million in Government payments
       (USDA, 2019b).


       American Indian/Alaska native producers

       The 2017 Census of Agriculture reported 79,198 producers who were American Indian or Alaska
       Natives, either alone or in combination with another race and they accounted for 2.3% of the coun-
       try's 3.4 million producers (USDA, 2019c). The same Census found that most farms operated by
       American Indians or Alaska Natives were in Western and Plains states. Furthermore, the Census
       also revealed that American Indians or Alaska Natives producers were younger and more likely to
       be female than U.S. producers overall. In 2017, American Indian/Alaska Natives–operated farms
       sold $3.5 billion in agricultural products, with 40% ($1.4 billion) in crop sales and 60% ($2.1 billion)
       in sales of livestock and livestock products (USDA, 2019c). In 2017, these farms accounted for 0.9%
       of U.S. agriculture sales and received $103 million in government payments (USDA, 2019c).


       CORONAVIRUS FOOD A SSISTANCE PROG RAM ( CFAP)
       PAYMENTS

       In the following sections, we examine the CFAP payments at the national and state level. The
       2017 Census of Agriculture identifies states with the highest number of African American pro-
       ducers. So, we examine the distribution of CFAP payments in those states. Furthermore, we
       also compare payments by commodity to minority groups at the national level.


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       CORONAVIRUS FOOD A SSISTANCE PROG RAM ( CFAP)
       PAYMENTS AT NATIONAL LEVEL

       Table 1 shows total CFAP payments by race in nominal dollars. The largest share—97.92%, or
       more than $30 billion out of a total of $30.9 billion—went to White producers. Black or African
       American producers received 0.17% of total CFAP payments, or $52.72 million. In relative
       terms, this is slightly lower than their reported share of contribution to the total market value
       of agricultural products sold based on 2017 Agricultural Census data (the last data available).
       Producers who identified as Black or African American only (and not in combination with
       other races) contributed 0.27% of the total market value in 2017 (Census of Agriculture 2017)
       but received 0.17% of total CFAP payments. It is important to note that share of production can
       and does change year to year. Factors such as the price of commodities planted and harvested
       by producers, change in commodities produced, and other local and regional factors (such as
       weather) can affect the market value. Therefore, it is possible that the share of market value for
       2020 could be the same as the share of CFAP received by Black producers.
           Overall, for producers differentiated by race, the CFAP payments were more closely
       aligned to the market value of products sold at the national level. Where differences existed, the
       difference was marginal. Producers identified as Asians contributed 1.82% ($7.1 billion) of the
       market value of agricultural products sold in 2017 and received 0.64% ($196.78 million) of total
       CFAP dollars. American Indians or Alaska Natives received $261.51 million (0.85% of total
       CFAP, slightly higher than their share of the market value of agricultural products sold). Native
       Hawaiian or Other Pacific Islanders received $17.97 million (0.06% of total CFAP, slightly lower
       than their share of the market value of agricultural products sold). White-only producers
       received the largest amount at $30.2 billion (97.92% of total CFAP, slightly higher than their


       T A B L E 1 Coronavirus food assistance program (CFAP) payments and market value of agricultural products
       sold by race

                                                        Share (%)
                                 Total CFAP             of              Market value of                  Share (%) of market
                                 payments (in $         total           agricultural products            value of agricultural
           Race                  million)               CFAP            sold ($ million)                 products sold
           American Indian       $261.51                  0.85%         $2340.80                          0.60%
            or Alaska
            Natives only
           Asian only            $196.78                  0.64%         $7106.41                          1.82%
           Black or African      $52.72                   0.17%         $1076.05                          0.27%
             American only
           Native Hawaiian       $17.97                   0.06%         $517.03                           0.13%
            or other Pacific
            Islander only
           White only            $30,216.27             97.92%          $380,286.34                      97.18%

       Note: This table shows CFAP payments and market value of agricultural products sold by race categories. Among minority
       American Indian or Alaska Native only producers received the most payments, but the value of production was highest for
       Asian only producers. Asian only producers tend to produce specialty crops (fruits, vegetables, and nursery crops).
       Source: CFAP payments are from FSA. Market value of agricultural product sold are from the 2017 Census of Agriculture,
       Table 61. Race categories used to determine shares of value of production are for producer reporting that race alone, not in
       combination with other races.



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       share of market value at 97.18% of total agricultural products sold). T-test showed the share of
       CFAP payments and share of the market value of agricultural products sold (in Table 1) were
       not statistically significantly different.


       CORONAVIRUS FOOD A SSISTANCE PROG RAM ( CFAP)
       PAYMENTS AT STATE L EVEL

       Figure 2 shows the distribution of total CFAP dollars at the state level. The states where Black
       or African American only producers received the highest CFAP dollars were Mississippi ($8.9
       million), Alabama ($6.4 million), Texas ($5.7 million), Georgia ($5.1 million), Louisiana ($3.5
       million), Arkansas ($3.2 million), Florida ($2.8 million), North Carolina ($2.6 million), Okla-
       homa ($2.5 million), Virginia ($2.4 million), South Carolina ($2.3 million), and Tennessee ($1.9
       million). Black or African American only producers of these 12 states received 95% of all CFAP
       payments made to Black or African American only producers.
          Figure 2 also shows the share of total CFAP received by Black or African American only
       producers for each of the States. Black or African American only producers in five states




       F I G U R E 2 Distribution of total coronavirus food assistance program (CFAP) payments to black or African
       American only producers by state
       Source: Farm Service Agency (FSA), USDA.

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       received more than 1% of the total CFAP dollars received by all producers of that state. Those
       five states were: Mississippi (2.6%), Alabama (2.4%), South Carolina (1.9%), Louisiana (1.2%),
       and Georgia (1.2%). Figure 1 suggests that Black or African American only producers in states
       with higher numbers received more in CFAP dollars and more as a share of total CFAP dollars
       for the states. This suggests that participation and allocation of CFAP dollars in States with a
       higher population of African American producers were relatively proportional. We explicitly list
       the total CFAP dollars and share of total CFAP dollars received by Black or African American
       only producers for the top 12 states, based on the number of producers, from the 2017 Census
       of Agriculture.


       CORONAVIRUS FOOD A SSISTANCE PROG RAM P AYM ENTS
       B Y C O M M O D I T Y AN D R A C E

       Table 2 shows the total CFAP payments (at the national level) by commodities for minority pro-
       ducers. There are a few key observations from Table 2. First, except for Asian producers, the
       highest CFAP payments were for cattle producers. American Indian or Alaska Natives only pro-
       ducers received the highest CFAP cattle payments ($165.4 million), followed by Black or Afri-
       can American only cattle producers ($28.9 million). Native Hawaiian or other Pacific Islander
       only cattle producers received $22.7 million in CFAP payments. This aligns with the Census of
       Agriculture finding that the majority of minority producers, except Asians, are engaged in live-
       stock production, especially cattle production. Asian American producers engaged more in
       poultry production. It is important to note that cattle producers of all races do not generally
       receive Government payments from standing Farm Bill programs. Therefore, it is more likely
       than not that many minority cattle producers, including Black producers, received Government
       payments for the first time. The CFAP payment distribution pattern shows that payments
       reached minority producers who often did not receive Government payments.
           Cattle producers not only received larger payments but also a larger share of total CFAP
       payments for that race (i.e., distribution of CFAP payments was skewed toward cattle pro-
       ducers), except for Asian producers. Sixty-six percent, 60%, and 51% of total CFAP payment
       made to American Indian or Alaska Natives only, Black or African American only, Native
       Hawaiian or other Pacific Islander only producers, respectively, went to cattle producers of that
       race. Asian only cattle producers received 3% of total CFAP payments made to all Asian pro-
       ducers. Asian producers received the highest payment in all other categories, which includes
       specialty crops. This is also consistent with the Census of Agriculture finding that showed more
       than half of Asian-operated farms specialized in the production of specialty crops. Black or
       African American only producers received the second largest amount of soybean CFAP dollars
       at $7.1 million, or 37% of total CFAP dollars.


       CORONAVIRUS FOOD A SSISTANCE PROG RAM P AYM ENTS
       B Y C O M M O D I T IES TO BL A C K O R A F R I C A N AM ER I C A N
       ONLY PRODUCERS AT STATE LEVEL

       The 2017 Census of Agriculture identifies the share of farms specializing by commodity types
       for Black producers. The Census shows more than 54% of farms operated by Black producers
       specialized in livestock enterprises: cattle and dairy (48%), sheep and goats (4%), hogs and pigs


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       ANALYSIS OF PAYMENTS FROM CORONAVIRUS FOOD ASSISTANCE PROGRAM                                                            9
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       (1%), and poultry and eggs (1%) operations. Eighteen percent of Black-operated farms special-
       ized in other crops and 12% in specialty crops. It is not possible, using publicly available Census
       tabulations, to break down the other crop and specialty crops categories. The Census identifies
       the top 12 states with Black producers. Therefore, we examine CFAP payments by livestock
       commodities for those top 12 states.
           Table 3 shows CFAP payments by commodity for 12 states with the most Black or African
       American only producers. We find for half of the 12 States more than half of CFAP dollars went
       to cattle producers. More than 96% of total CFAP dollars in Oklahoma went to Black or African
       American only cattle producers. The share was 91%–80% for Black or African American only
       cattle producers of Texas and Alabama, respectively. For some other states such as North Caro-
       lina, Arkansas, and Virginia the share of total CFAP payments to cattle producers was less than
       one-third. In fact, the share of total CFAP dollars going to all livestock enterprises was less than
       one-third for these states suggesting Black or African American only producers engage more in
       crop enterprises in these states.


       T A B L E 2 Coronavirus food assistance program payments by commodities to minority producers

                           American                Black or
                           Indian or               African                                                Native Hawaiian
                           Alaska                  American                              Mixed            or other Pacific
         Commodity         natives only            only                Asian only        race             islander only
         Alfalfa           $5,183,958              $15,737             $242,745          $860,799         $210,433
         Almonds           $745,282                $38,854             $12,148,244       $2,049,760       $157,395
         Basil             N/A                     $1266               $2,318,190        N/A              N/A
         Cattle            $165,374,112            $28,948,052         $6,048,560        $22,669,496      $8,611,355
         Chickens          $6,687,273              $845,199            $26,891,495       $2,302,785       N/A
         Corn              $10,940,008             $2,945,072          $1,391,221        $4,215,719       $2,007,505
         Cotton            $5,386,447              $2,529,984          $166,815          $821,401         $74,337
         Guava             N/A                     N/A                 $7,091,342        $79,610          N/A
         Hogs              $662,214                $691,670            $153,779          $240,906         $217,482
         Milk              $2,470,887              $166,055            N/A               $616,796         $293,934
         Milk/Lbs          $2,694,662              $162,225            N/A               $377,049         $141,269
         Mushrooms         $2,087,689              N/A                 $102,093          N/A              N/A
         Pistachios        $206,494                $16,259             $2,271,937        $195,063         $2881
         Soybeans          $7,999,815              $7,154,988          $762,302          $2,638,996       $720,628
         Squash            $22,810                 $186,593            $2,338,151        N/A              N/A
         Strawberries      $3,098,262              $14,109             $1,477,785        N/A              $73,128
         Tomatoes          N/A                     $19,458             $1,833,914        N/A              $23,766
         Walnuts           $964,671                N/A                 $6,723,399        $537,113         $40,121
         Wheat             $13,053,537             $847,903            $553,388          $2,680,480       $664,294
         All other         $23,862,185             $3,820,011          $107,111,575      $16,409,930      $3,727,328

       Note: This table shows CFAP payments by commodity differentiated by race. Cattle producers of all races but Asian only
       received the largest payments.
       Source: Farm Service Agency, USDA.



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       T A B L E 3 Coronavirus food assistance program payments by commodities to Black or African American only
       producers for census identified top states

            State             Cattle          Hogs and pigs        Poultry and eggs         Sheep and goats        Total CFAP
            Alabama           $5,109,902      $27,641              N/A                      $6210                  $6,370,186
            Arkansas          $762,341        N/A                  N/A                      $5921                  $3,236,312
            Florida           $969,517        $128,328             N/A                      $23,430                $2,774,217
            Georgia           $2,335,267      $95,039              $291,867                 $38,514                $5,116,196
            Louisiana         $2,201,393      $4002                $127,646                 N/A                    $3,516,463
            Mississippi       $6,007,946      $57,154              $215,768                 N/A                    $8,898,798
            North Carolina    $376,916        $188,351             N/A                      $7921                  $2,558,449
            Oklahoma          $2,440,935      N/A                  N/A                      N/A                    $2,531,240
            South Carolina    $1,203,855      $83,302              $48,028                  N/A                    $2,316,699
            Tennessee         $701,818        N/A                  N/A                      N/A                    $1,919,310
            Texas             $5,225,990      $29,555              N/A                      $26,757                $5,738,958
            Virginia          $629,915        $53,505              $161,890                 N/A                    $2,426,315
            Total             $28,948,052     $691,670             $845,199                 $166,413               $52,722,269

       Note: This table shows payments to Black or African American producers in states with the largest Black or African American
       producers. Black or African American producers of Mississippi received the largest CFAP payments.
       Source: Farm Service Agency, USDA. Top states identified by the 2017 Census of Agriculture.




       COMPARISON OF T H E C OR ON AV I R US F O O D A SS I ST A NC E
       PROG RAM A ND M ARK ET FAC I LITATION PROG RAM
       PAYMENTS BY RACE

       The MFP and CFAP programs were implemented for entirely different purposes. The MFP
       made payments to producers impacted by retaliatory tariffs placed on American producers. The
       CFAP made assistance payments to producers impacted by the COVID-19 pandemic. Fewer
       commodities were eligible for MFP payments compared to CFAP payments. Finally, payment
       rates and payment structure were different for the two programs. Therefore, there are signifi-
       cant limitations to drawing conclusions by comparing payments from these two programs.
       However, the programs had some similarities, including payment limitations. Both programs
       were new programs designed by the USDA. So, comparing the share of total payments made to
       producers differentiated by race can still provide insights into designing future programs to
       reach more minority producers.
           Table 4 lists the total and share of MFP and CFAP payments by race and shows a higher
       share of CFAP payments went to minority producers. While 99.18% of total MFP payments
       went to White only producers, 97.92% of total CFAP payments went to White only producers.
       This information provides evidence that more payments as a share of total payments from
       CFAP went to minority producers compared to MFP. However, this gain was not realized by
       Black or African American only producers.
           An interesting observation from Table 4 is that even though the two programs were signifi-
       cantly different in scope and propose, they both paid 0.17% of total payments to Black or


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       ANALYSIS OF PAYMENTS FROM CORONAVIRUS FOOD ASSISTANCE PROGRAM                                                          11
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       T A B L E 4 Payments from the market facilitation program and coronavirus food assistance program
       differentiated by race

                                         Total CFAP
                                         payments ($                Share (%) of         Total MFP ($       Share (%) of
         Race                            million)                   total CFAP           million)           total MFP
         American Indian or Alaska       $261.51                       0.85%             $64.90               0.28%
          Natives only
         Asian only                      $196.78                       0.64%             $26.44               0.11%
         Black or African American       $52.72                        0.17%             $40.35               0.17%
           only
         Mixed race                      $59.35                        0.19%             $22.77               0.10%
         Native Hawaiian or other        $17.97                        0.06%             $7.35                0.03%
          Pacific Islander only
         Unknown race                    $52.40                        0.17%             $27.30               0.12%
         White only                      $30,216.27                   97.92%             $22,938.39          99.18%
         Total                           $30,857.01                 100.00%              $23,127.52         100.00%

       Note: This table shows CFAP and MFP payments by race. Among identified minority producers, American Indian or Alaska
       Natives only producers received the largest total CFAP and MFP payments.
       Source: Farm Service Agency, USDA.




       African American only producers. Table 4 also shows in absolute terms the CFAP's total outlay
       was $7.7 billion, or 33%, more than MFP. The amount of money received by Black or African
       American only producers increased from $40.35 million from MFP to $52.72 million from
       CFAP, a 31% increase.
           The gain of more CFAP payments being disbursed (as a share of total payments) to minority
       producers was realized by American Indian or Alaska Natives only producers, Asian only pro-
       ducers, and Native Hawaiian or other Pacific Islander only producers. These producers received
       more than double in actual payments and as a share of total payments from CFAP compared to
       MFP. American Indian or Alaska Natives only producers received a higher share (0.85%) of
       total CFAP payments compared to (0.28% of total) MFP payments. Asian only producers
       received a higher share (0.64%) of total CFAP payments compared to (0.11% of total) MFP pay-
       ments. Native Hawaiian or Other Pacific Islander only producers received a higher share
       (0.06%) of total CFAP payments compared to (0.03% of total) MFP payments.


       C O N C L U S IO N

       The CFAP was the main USDA program that provided economic relief to producers impacted
       by the COVID-19 pandemic. CFAP made almost $600 million in direct payments to minority
       producers, including Black or African American producers. Black or African American only
       producers received more than $52 million in CFAP payments. CFAP payments were propor-
       tional to the value of agricultural commodity sold for most minority producers. The 2017 Cen-
       sus of Agriculture showed that the majority of minority producers, including African American
       producers but excluding Asian producers, raised livestock. CFAP made the highest payments to
       livestock minority producers. In some States, such as Oklahoma, 96% of CFAP dollars received


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       by Black or African American only producers went to cattle producers. Producers of almost all
       commodities, measured in cash receipts, were eligible to receive CFAP payments. Therefore,
       many producers of all races that do not generally receive Government payments received pay-
       ments in 2020. CFAP made more payments in actual dollars and as a share of total program
       outlays to minority producers compared to MFP. However, for Black or African American only
       producers, even though the magnitude increased (because CFAP disbursed more funds com-
       pared to MFP), the share of payment received did not increase. CFAP payments were more than
       double and as a share of total program dollars to minority producers (except for Black or
       African- American producers) compared to MFP.

       A C K N O WL E D G M E N T S
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          “Analysis of the Payments from the Coronavirus Food Assistance Program and the
          Market Facilitation Program to Minority Producers.” Applied Economic Perspectives and
          Policy 1–13. https://doi.org/10.1002/aepp.13325




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        OFFICE OF INSPECTOR GENERAL
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USDA Coronavirus Food Assistance Program Data Story




OAI Report 22-033-01
December 2022




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                        United States Department of Agriculture

  DATE:          December 1, 2022

  PRODUCT
  NUMBER:        22-033-01

  TO:            Zach Ducheneaux
                 Administrator
                 Farm Service Agency

  ATTN:          Gary Weishaar
                 Branch Chief
                 External Audits and Investigations Division

  FROM:          Craig M. Goscha
                 Deputy Assistant Inspector General for Analytics and Innovation

  SUBJECT:       USDA Coronavirus Food Assistance Program Data Story

  The U.S. Department of Agriculture (USDA) Office of Inspector General (OIG) has launched a
  series of data products called data stories. The purpose of these data stories is to enhance
  transparency of significant USDA programs using data analytics and visualizations while
  integrating data storytelling methods.

  This data story is the second in the series and focuses on the USDA Coronavirus Food
  Assistance Program (CFAP). This product utilized data analytics, visualizations, and data
  storytelling methods to enhance transparency of how the CFAP 1 and CFAP 2 programs evolved
  over time. The data utilized for this data story were unaudited.

  CFAP 1 and CFAP 2 provided payments to agricultural producers to help address the economic
  hardships created when COVID-19 disrupted the agricultural supply chain. This CFAP data story
  invites the reader to explore both programs and how they evolved from inception to the end of
  February 2022 in response to changing pandemic conditions.

  Farm Service Agency’s written response to the data story is included in its entirety in the data
  story and this report. OIG applied the established Office of Analytics and Innovation quality
  assurance standards to ensure the information presented in this product is adequately supported.

  We appreciate the courtesies and cooperation extended to us by members of your staff during the
  development of this data story. The product will be posted in its entirety to our website
  (usdaoig.oversight.gov) in the near future.



  Attachment



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  Topic:         Response to the Office of Inspector General Data Story
                 on the Coronavirus Food Assistance Program


  To:            Craig Goscha, Craig.Goscha@oig.usda.gov
                 Deputy Assistant Inspector General, Analytics and Innovation, Office of
                 Inspector General

  From:          Zach Ducheneaux, Zach.Ducheneaux@usda.gov
                 Administrator, Farm Service Agency, U.S. Department off A
                                                                         Agriculture
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  The U.S. Department of Agriculture’s (USDA’s) Farm Service Agency (FSA) commends the
  Office of Inspector General’s launch of its new product, Data Stories, and its efforts to use this
  product to enhance the transparency of significant USDA programs using data analytics and
  visualization while integrating data storytelling methods. Below are our comments:

  FSA agrees with OIG’s explanation of the sizable disruptions to food supply chains caused by
  the onset of the COVID-19 pandemic and the impacts of those disruptions on American
  farmers, ranchers, and producers. Through funds provided by Congress in response to this
  unprecedented crisis, USDA under the previous Administration distributed tens of billions of
  dollars in supplemental assistance to agricultural producers. Part of this assistance was
  distributed through the Coronavirus Food Assistance Program (CFAP).

  The previous Administration announced the CFAP on April 17, 2020. This program, which
  totaled over $19 billion, initially provided support to farmers and ranchers impacted by the
  COVID-19 pandemic. The vast majority of this funding—$16 billion—was administered as
  direct payments to producers who suffered price declines and faced additional significant
  marketing costs as a result of lower demand, surplus production, and disruptions to shipping
  patterns and the orderly marketing of commodities.

  OIG appropriately notes that, following the initial payments under the original CFAP (“CFAP
  1”), in September 2020, the previous Administration announced details of another multi-billion
  “CFAP 2.” Unlike CFAP 1, payments under CFAP 2 were divided into multiple categories,
  including price trigger commodities, flat-rate commodities, and sales commodities. In December
  2021, Congress also approved additional funding for relief to agricultural producers, including a
  third round of CFAP payments.

  As all forms of CFAP assistance were paid out to producers, Congressional leaders and
  agricultural stakeholders raised concern that the relief was not reaching a broad enough set of
  producers, and many of the most vulnerable agricultural communities were not receiving the
  assistance they needed to weather the pandemic.

  While the OIG Data Story elevates the fact that more than 200 commodities were ultimately
  included under both CFAP 1 and CFAP 2—and that both programs were amended over time to
  include “wider varieties of producers and commodities”—it is important to understand that



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  both iterations of the program had very low participation among minority producers. When
  CFAP 1 was initially implemented, the program had a minority participation rate of 4.4 percent
  (3.5 percent of payments), and prior to being reopened, CFAP 2 had a minority participation
  rate of 4.2 percent (3 percent of payments). That is why, one of the first actions of Biden-Harris
  Administration leadership was to temporarily pause CFAP payments; the Administration
  paused payments so that USDA could conduct a detailed analysis of the payments that had
  been issued and the gaps in assistance that remained. The Administration deemed it essential to
  ensure that future CFAP payments were targeted towards producers and industries that had not
  yet benefitted from the program.

  During its review and analysis of previous CFAP payments, USDA found that, under CFAP 2
  in particular, sign-up appeared rushed and lacked normal procedures focused on ensuring
  effective outreach, from translated forms to partnerships focused on reaching underserved and
  nontraditional customers. USDA also found that, while the sales commodity category of
  payments under CFAP 2 provided a new opportunity to reach specialty crop and diversified
  producers who normally do not participate in USDA’s price support programs, data continued
  to reflect a lack of nontraditional producers’ participation through this category.

  After completing its analysis of the program, in March 2021, USDA shared that it would re-
  open signup for CFAP 2 for at least 60 days beginning on April 5, 2021. USDA’s FSA
  committed at least $2 million to improve outreach for CFAP 2 and established partnerships
  with organizations with strong connections to historically underserved communities to ensure
  they were informed and aware of the application process. The formula payments to finish out
  CFAP went out under the then-existing CFAP rules due to statutory requirements. However,
  future opportunities for USDA pandemic assistance were reviewed for verified need, and
  during the rulemaking process, USDA was committed to making eligibility more consistent
  with the Farm Bill.

  It is important to note that the re-opening of CFAP sign-up under the Biden-Harris
  Administration was for all eligible producers and was based on the clear discovery of
  inadequate outreach under previous iterations of the program. As a result of USDA’s efforts,
  USDA saw a fourfold increase in CFAP 2 participation by underserved producers during the
  reopening period.

  Moreover, in addition to reopening CFAP and intentionally working to expand its reach
  in underserved communities, USDA concurrently established several new programs and
  efforts to bring financial assistance to farmers, ranchers, and producers who felt the
  impacts of COVID-19 market disruptions but had not received assistance through CFAP.
  USDA dedicated $6 billion to a new Pandemic Assistance for Producers initiative,
  putting a greater emphasis on outreach to small and underserved producers, including but
  not limited to specialty crop and organic producers, timber harvesters, and others
  impacted by COVID.

  The Department remains focused on reaching a better understanding of where barriers to
  accessing USDA programs and services exist, so that they can be better addressed both in
  program design as authorities allow and in USDA’s outreach efforts. FSA respectfully



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  requests the OIG CFAP data story reflect the additional context and information this
  management response provides.




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civil rights regulations and policies, the USDA, its Agencies, oﬀices, and employees,          Complaint Form, AD-3027, found online at How to File a Program Discrimination Complaint
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discriminating based on race, color, national origin, religion, sex, gender identity (in-      the information requested in the form. To request a copy of the complaint form, call (866)
cluding gender expression), sexual orientation, disability, age, marital status, family/       632-9992. Submit your completed form or letter to USDA by: (1) mail: U.S. Department of
parental status, income derived from a public                                                  Agriculture, Oﬀice of the Assistant Secretary for Civil Rights, 1400 Independence Avenue,
assistance program, political beliefs, or reprisal or retaliation for prior civil rights- ac   SW, Washington, D.C. 20250-9410; (2) fax: (202) 690-7442; or (3) email: program.intake@
tivity, in any program or activity conducted or funded by USDA (not all bases apply to         usda.gov.
all programs). Remedies and complaint filing deadlines vary by program or incident.
                                                                                               USDA is an equal opportunity provider, employer, and lender.
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Language, etc.) should contact the responsible Agency or USDA’s TARGET Center at               public domain. They do not depict any particular audit, inspection, or investigation.
(202) 720-2600 (voice and TTY) or contact USDA through the Federal Relay Service
at (800) 877-8339. Additionally, program information may be made available in
languages other than English.
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Sum of Total Payments
Gender /Race                             Hispanic Ltno Not Hispanic          (blank)              Grand Total
Female                      $407,994.35    $8,745,361.80  $1,269,534,627.78       $49,111,693.19     $1,327,799,677.12
Amer Ind/Alaska                               $537,000.49      $3,309,720.68           $38,950.25         $3,885,671.42
Asian                                           $2,537.48      $1,826,391.92            $1,423.14         $1,830,352.54
Black                                          $40,105.51      $1,863,168.49           $67,689.41         $1,970,963.41
Hawaiian/Pcf Is                                 $3,743.44        $681,090.87           $95,936.41           $780,770.72
Two or More                                                      $780,263.82           $13,970.41           $794,234.23
White                                       $8,025,933.42  $1,261,073,992.00       $48,893,723.57     $1,317,993,648.99
(blank)                      $407,994.35      $136,041.46                                                   $544,035.81
Male                        $378,893.75 $54,853,936.70 $11,819,817,640.33        $153,764,976.72 $12,028,815,447.50
Amer Ind/Alaska                             $2,074,623.73     $31,609,011.27           $44,615.36        $33,728,250.36
Asian                                           $4,984.80      $7,079,422.35           $12,062.52         $7,096,469.67
Black                                          $54,052.44     $23,452,369.04          $385,263.47        $23,891,684.95
Hawaiian/Pcf Is                                $91,043.92      $2,752,580.39           $19,125.51         $2,862,749.82
Two or More                                     $8,700.47     $11,591,711.88           $77,580.59        $11,677,992.94
White                                      $52,426,509.60 $11,743,332,545.40      $153,226,329.27    $11,948,985,384.27
(blank)                      $378,893.75      $194,021.74                                                   $572,915.49
Org Other               $223,537,039.84 $19,747,940.35    $2,454,257,212.33 $2,291,564,781.10        $4,989,106,973.62
Amer Ind/Alaska                               $611,126.46      $5,348,391.14        $6,168,622.58        $12,128,140.18
Asian                                                          $2,793,903.29          $279,868.80         $3,073,772.09
Black                                                          $3,420,993.34        $2,597,022.02         $6,018,015.36
Hawaiian/Pcf Is                                                  $818,589.10          $269,870.76         $1,088,459.86
Two or More                                   $240,759.49      $3,420,085.84        $1,843,101.07         $5,503,946.40
White                                      $16,245,125.79  $2,390,949,266.53    $2,280,406,295.87     $4,687,600,688.19
(blank)                  $223,537,039.84    $2,650,928.61     $47,505,983.09                            $273,693,951.54
Org/Fem-Owned            $16,878,297.75      $787,857.57    $126,247,857.93       $20,739,265.94       $164,653,279.19
Amer Ind/Al                                    $25,004.04                                                    $25,004.04
Amer Ind/Ala                                                     $493,687.79                                $493,687.79
Asian                                                            $435,460.56           $15,078.25           $450,538.81
Black                                                            $834,981.05           $94,668.44           $929,649.49
Hawaiian/Pcf                                                      $49,835.27                                 $49,835.27
Two or More                                                        $2,102.40            $5,122.65             $7,225.05
White                                         $731,206.48    $120,647,378.31       $20,624,396.60       $142,002,981.39
(blank)                   $16,878,297.75       $31,647.05      $3,784,412.55                             $20,694,357.35
Org/Male-Owned         $159,701,846.56 $10,794,919.82     $1,694,682,052.60      $281,200,512.84     $2,146,379,331.82
Amer Ind/A                                    $315,641.17                                                   $315,641.17
Amer Ind/Al                                                    $3,014,559.88                              $3,014,559.88
Amer Ind/Alaska                                                                       $128,453.14           $128,453.14
Asian                                                          $2,540,893.25          $339,673.23         $2,880,566.48
Black                                          $21,254.68      $3,996,578.67          $227,709.24         $4,245,542.59
Hawaiian/P                                      $2,821.88                                                     $2,821.88
Hawaiian/Pc                                                    $2,311,020.89                              $2,311,020.89
Hawaiian/Pcf Is                                                                       $642,293.98           $642,293.98
Two or More                                     $3,772.80        $174,486.39                                $178,259.19
White                                       $9,492,049.30  $1,636,764,773.72      $279,862,383.25     $1,926,119,206.27
(blank)                  $159,701,846.56      $959,379.99     $45,879,739.80                            $206,540,966.35
Unknown               $1,171,100,701.51    $3,831,296.21    $953,058,008.72      $285,633,241.37     $2,413,623,247.81
Amer Ind/Alaska                               $165,996.21      $1,971,170.80          $254,680.82         $2,391,847.83
Asian                                           $2,918.02      $1,375,098.88          $156,542.62         $1,534,559.52
Black                                                          $1,180,264.18            $4,818.95         $1,185,083.13
Hawaiian/Pcf Is                                                  $532,843.19          $140,410.59           $673,253.78
Two or More                                                      $322,783.85                                $322,783.85
White                                       $3,425,416.46    $840,768,635.72      $285,076,788.39     $1,129,270,840.57
(blank)                $1,171,100,701.51      $236,965.52    $106,907,212.10                          $1,278,244,879.13
Grand Total           $1,572,004,773.76 $98,761,312.45 $18,317,597,399.69 $3,082,014,471.16 $23,070,377,957.06




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Sum of Total Payment (blank)
Gender / Race                           Hispanic Ltno    Not Hispanic       Grand Total
Female                   $13,973,615.14    $5,513,351.78 $420,986,891.32 $440,473,858.24
                             $62,408.07       $25,316.29                           $87,724.36
Amer Ind/Alaska              $28,775.52      $462,505.40      $8,839,569.91     $9,330,850.83
Asian                                          $5,796.00      $1,476,769.52     $1,482,565.52
Black                        $34,486.21        $6,103.24      $1,412,418.17     $1,453,007.62
Hawaiian/Pcf Is              $50,841.40        $8,278.00        $690,692.56       $749,811.96
Two or more                   $5,214.00                       $1,034,665.97     $1,039,879.97
White                    $13,791,889.94    $5,005,352.85 $407,532,775.19 $426,330,017.98
Male                     $78,717,164.87 $41,588,442.05 $4,157,572,131.34 $4,277,877,738.26
                            $393,606.67      $762,229.12                        $1,155,835.79
Amer Ind/Alaska             $270,836.88    $2,604,248.23    $59,806,027.72     $62,681,112.83
Asian                         $3,284.97      $121,593.95      $6,370,541.32     $6,495,420.24
Black                       $405,538.74      $223,924.46    $12,067,784.53     $12,697,247.73
Hawaiian/Pcf Is              $57,466.08      $164,104.09      $2,775,287.55     $2,996,857.72
Two or more                 $143,157.86      $356,638.95    $10,272,268.77     $10,772,065.58
White                    $77,443,273.67 $37,355,703.25 $4,066,280,221.45 $4,181,079,198.37
Org Other             $1,020,193,249.42 $22,623,729.41 $1,093,221,189.56 $2,136,038,168.39
                        $144,356,857.68    $2,160,507.74    $21,523,936.91 $168,041,302.33
Amer Ind/Alaska           $2,852,902.14    $1,250,201.19      $3,455,031.09     $7,558,134.42
Asian                       $937,809.24                       $3,518,203.30     $4,456,012.54
Black                       $726,731.97       $32,858.74        $402,733.43     $1,162,324.14
Hawaiian/Pcf Is              $41,115.03                         $286,623.33       $327,738.36
Two or more                 $737,690.60        $1,358.46      $1,357,702.27     $2,096,751.33
White                   $870,540,142.76 $19,178,803.28 $1,062,676,959.23 $1,952,395,905.27
Org/Fem-Owned            $11,068,471.46    $3,179,467.80    $42,116,192.52     $56,364,131.78
                          $4,404,110.83       $21,299.41        $725,645.12     $5,151,055.36
Amer Ind/Alaska               $3,300.00        $1,656.57        $187,650.00       $192,606.57
Asian                                                           $891,484.10       $891,484.10
Black                         $5,510.57                          $92,595.36        $98,105.93
Hawaiian/Pcf Is                                                  $69,160.33        $69,160.33
Two or more                     $655.03                          $79,682.08        $80,337.11
White                     $6,654,895.03    $3,156,511.82    $40,069,975.53     $49,881,382.38
Org/Male-Owned          $243,714,006.18 $22,511,539.55 $830,942,959.48 $1,097,168,505.21
                         $99,853,088.13      $690,336.77    $24,400,758.66 $124,944,183.56
Amer Ind/Alaska              $32,928.58      $840,339.80      $2,032,835.28     $2,906,103.66
Asian                       $352,884.26                       $4,484,638.95     $4,837,523.21
Black                       $364,083.00       $14,936.47        $920,450.40     $1,299,469.87
Hawaiian/Pcf Is             $136,266.30       $31,680.00      $1,977,630.72     $2,145,577.02
Two or more                                   $62,606.69        $587,015.23       $649,621.92
White                   $142,974,755.91 $20,871,639.82 $796,539,630.24 $960,386,025.97
Unknown                 $788,795,210.41    $4,591,388.32 $378,927,878.43 $1,172,314,477.16
                        $630,595,844.49      $974,630.68    $43,823,474.56 $675,393,949.73
Amer Ind/Alaska             $174,109.07      $711,575.98      $1,901,858.34     $2,787,543.39
Asian                       $301,986.06        $8,556.40        $821,540.69     $1,132,083.15
Black                        $28,666.11        $6,270.00         $99,862.62       $134,798.73
Hawaiian/Pcf Is             $474,224.63                         $503,221.60       $977,446.23
Two or more                                                      $73,157.08        $73,157.08
White                   $157,220,380.05    $2,890,355.26 $331,704,763.54 $491,815,498.85
Grand Total           $2,156,461,717.48 $100,007,918.91 $6,923,767,242.65 $9,180,236,879.04



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                                            DEPARTMENT OF AGRICULTURE                                   Federal eRulemaking Portal: Go to:                commodities, crops prevented from
                                                                                                    www.regulations.gov and search for                     planting in 2020 and 2021, and
                                            Office of the Secretary                                 docket ID USDA–2021–0012. Follow the                   harvested adulterated wine grapes),
                                                                                                    online instructions for submitting                     trees, bushes, and vines, as a
                                            7 CFR Part 9                                            comments.                                              consequence of droughts, wildfires,
                                                                                                        Mail, Hand-Delivery, or Courier:                  hurricanes, floods, derechos, excessive
                                            Farm Service Agency                                     Director, Safety Net Division, FSA,                    heat, winter storms, freeze (including a
                                                                                                    USDA, 1400 Independence Avenue SW,                     polar vortex), smoke exposure, quality
                                            7 CFR Parts 701 and 760                                 Stop 0510, Washington, DC 20250–                       losses of crops, and excessive moisture
                                                                                                    0522. In your comment, specify the                     occurring in calendar years 2020 and
                                            Commodity Credit Corporation                            docket ID USDA–2021–0012.                              2021. FSA previously announced ERP
                                                                                                       Comments will be available for                      Phase 1 through a notice of funds
                                            7 CFR Parts 1400, 1416, 1437, and 1450                  inspection online at http://                           availability on May 18, 2022 (87 FR
                                            [Docket ID: USDA–2021–0012]
                                                                                                    www.regulations.gov. Copies of the                     30164–30172),2 which provided
                                                                                                    information collection may be requested
                                            RIN 0503–AA75                                                                                                  assistance for crop, tree, bush, and vine
                                                                                                    by contacting Kathy Sayers or Shanita
                                                                                                                                                           losses through a streamlined process
                                                                                                    Landon, respectively (see FOR FURTHER
                                            Pandemic Assistance Programs and                                                                               with pre-filled applications using data
                                                                                                    INFORMATION CONTACT below). You may
                                            Agricultural Disaster Assistance                        also send comments to the Desk Officer                 already on file with FSA or the Risk
                                            Programs                                                for Agriculture, Office of Information                 Management Agency (RMA), as a result
                                                                                                    and Regulatory Affairs, Office of                      of the producer previously receiving a
                                            AGENCY: Commodity     Credit Corporation
                                                                                                    Management and Budget, Washington,                     NAP payment or a crop insurance
                                            (CCC), Farm Service Agency (FSA), and
                                                                                                    DC 20503.                                              indemnity. This rule provides the
                                            Office of the Secretary, Department of
                                                                                                                                                           eligibility requirements, application
                                            Agriculture (USDA).                                     FOR FURTHER INFORMATION CONTACT: For
                                                                                                                                                           process, and payment calculations for
                                            ACTION: Final rule.                                     CFAP, ERP, ELAP, LFP, LIP, NAP,
                                                                                                                                                           ERP Phase 2, which is intended to
                                                                                                    PARP, and PARP information collection
                                            SUMMARY: This rule announces Phase 2                                                                           address eligible crop losses not included
                                                                                                    activity, and payment eligibility, Kathy
                                            of the Emergency Relief Program (ERP),                  Sayers; telephone: (202) 720–6825;                     in ERP Phase 1.3 ERP Phase 2 provides
                                            which provides assistance to producers                  email: kathy.sayers@usda.gov. For ECP,                 assistance for necessary expenses
                                            who suffered crop losses due to                         EFRP, and BCAP, Shanita Landon;                        related to both production and quality
                                            wildfires, hurricanes, floods, derechos,                telephone: (202) 690–1612; email:                      losses of eligible crops. Where loss
                                            excessive heat, winter storms, freeze                   shanita.landon@usda.gov. Persons with                  information is not already on file with
                                            (including a polar vortex), smoke                       disabilities who require alternative                   FSA or RMA through NAP or Federal
                                            exposure, excessive moisture, and                       means for communication should                         crop insurance, and therefore included
                                            qualifying droughts occurring in                        contact the USDA Target Center at (202)                in ERP Phase 1, FSA has determined
                                            calendar years 2020 and 2021. It also                   720–2600 (voice).                                      that the best approximation of such
                                            announces Pandemic Assistance                           SUPPLEMENTARY INFORMATION:
                                                                                                                                                           losses is a producer’s decrease in gross
                                            Revenue Program (PARP), a new                                                                                  revenue, which will reflect losses in
                                            program that provides support for                       Background                                             both production and quality without
                                            agricultural producers impacted by the                     This rule announces ERP Phase 2 and                 requiring the more extensive
                                            COVID–19 pandemic. In addition, this                    PARP, a new program. In addition, this                 calculations and documentation
                                            rule makes changes to the Coronavirus                   rule amends the CFAP regulations to                    required under previous programs
                                            Food Assistance Program (CFAP); the                     provide an additional CFAP 2 payment                   addressing crop losses due to disaster
                                            Emergency Conservation Program (ECP);                   for underserved producers; 1 makes                     events.4 Using a decrease in gross
                                            the Emergency Forest Restoration                        clarifying changes based on previously                 revenue in the calculation of ERP Phase
                                            Program (EFRP); the Emergency                           implemented provisions of the                          2 payments also captures a producer’s
                                            Assistance for Livestock, Honeybees,                    Consolidated Appropriations Act, 2021                  loss due to a qualifying disaster event
                                            and Farm-Raised Fish Program (ELAP);                    (CAA); and amends the payment                          regardless of whether the loss occurs
                                            the Livestock Forage Disaster Program                   provisions for producers of swine. It                  before harvest or after harvest while the
                                            (LFP); the Livestock Indemnity Program                  also updates provisions for and makes
                                            (LIP); the Noninsured Crop Disaster                     technical changes to the regulations for                  2 A clarification to the notice of funds availability
                                            Assistance Program (NAP); and general                   BCAP, ECP, ELAP, LFP, LIP, NAP, and                    for ERP Phase 1 was published on August 18, 2022
                                            payment eligibility provisions. This rule               payment eligibility provisions of 7 CFR                (87 FR 50828–50830).
                                                                                                                                                              3 Additional assistance authorized by the
                                            also makes a technical correction to the                part 1400, as described in this                        Extending Government Funding and Delivering
                                            Biomass Crop Assistance Program                         document.                                              Emergency Assistance Act for losses to milk and
                                            (BCAP).                                                                                                        livestock will be announced in subsequent
                                                                                                    ERP Phase 2                                            documents to be published in the Federal Register.
                                            DATES:
                                                                                                       Division B, Title I, of the Extending               FSA previously announced Phase 1 of the
                                               Effective date: January 11, 2023.                                                                           Emergency Livestock Relief Program (ELRP), which
                                               Comment due date: For PARP, ECP,                     Government Funding and Delivering                      provided payments to producers who faced
                                            and ERP, we will consider comments on                   Emergency Assistance Act (Pub. L. 117–                 increased supplemental feed costs as a result of
                                            the information collection requirements                 43) provides $10 billion for necessary                 forage losses due to a qualifying drought or wildfire
                                                                                                    expenses related to losses of crops                    in calendar year 2021 on April 4, 2022 (87 FR
                                            under the Paperwork Reduction Act that                                                                         19465–19470).
lotter on DSK11XQN23PROD with RULES2




                                            we receive by March 13, 2023.                           (including milk, on-farm stored                           4 Assistance for crop losses that occurred prior to

                                            ADDRESSES: We invite you to submit                                                                             harvest due to disaster events in the 2018 and 2019
                                                                                                       1 Throughout this document, the term                calendar years was provided through two separate
                                            comments on the information collection
                                                                                                    ‘‘underserved farmer or rancher’’ refers to a          programs: the Wildfires and Hurricanes Indemnity
                                            requirements. You may submit                            beginning farmer or rancher, limited resource          Program Plus (WHIP+) for production losses, and
                                            comments by any of the following                        farmer or rancher, socially disadvantaged farmer or    the Quality Loss Adjustment (QLA) Program for
                                            methods:                                                rancher, or veteran farmer or rancher.                 quality losses.


                                                                                                                                                                                   Strickland AR 0768
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                                            crop is in storage, further streamlining                to a share in the eligible crop available                   NAP payments, minus the amount
                                            the delivery of assistance.                             for marketing or would have shared had                 of service fees and premiums;
                                               Decreasesin gross revenue are                        the eligible crop been produced and                         ELAP payments for an aquaculture
                                            strongly correlated to crop production                  marketed. In addition, to be eligible for              crop;
                                            and quality losses due to disaster                      ERP Phase 2, a producer must be one of                      Payments issued through grant
                                            events. Gross revenue is essentially the                the following:                                         agreements with FSA for losses of
                                            aggregation of the value of all of a                       (1) Citizen of the United States;                   eligible crops;
                                            producer’s crops, and a decrease in                        (2) Resident alien, which for purposes                   Grants from the Department of
                                            gross revenue in a year when a producer                 of this subpart means ‘‘lawful alien’’ as              Commerce, National Oceanic and
                                            suffered a loss due to a disaster event                 defined in 7 CFR part 1400;                            Atmospheric Administration, and State
                                            reflects the producer’s crop losses                        (3) Partnership organized under State               program funds providing direct
                                            resulting from decreased production or                  Law;                                                   payments for the loss of eligible crops
                                            from obtaining a lower price due to a                      (4) Corporation, limited liability                  or the loss of revenue from eligible
                                            reduction in quality for that year.                     company, or other organizational                       crops;
                                            Previous FSA disaster assistance                        structure organized under State law; or                     Other revenue directly related to
                                            programs have similarly been based on                      (5) Indian Tribe or Tribal                          the production of eligible crops that IRS
                                            a producer’s loss of value compared to                  organization, as defined in section 4(b)               requires the producer to report as
                                            their expected value, using payment                     of the Indian Self-Determination and                   income;
                                            calculations based on crop acres, price,                Education Assistance Act (25 U.S.C.                         For the applicable disaster year
                                            and yield (or inventory and price for                   5304).                                                 only, ERP Phase 1 payments issued to
                                            value loss crops) as a way to estimate                                                                         another person or entity for the
                                                                                                    ERP Phase 2 Allowable Gross Revenue
                                            the value of a crop. While ERP Phase 2                                                                         producer’s share of an eligible crop,
                                            uses a different calculation than                          In general, ERP Phase 2 payments are
                                                                                                                                                           regardless of the tax year in which the
                                            previous disaster assistance programs to                based on the difference in allowable
                                                                                                                                                           payment would be reported to IRS; 5 and
                                            capture that value loss, it accounts for                gross revenue between a benchmark
                                                                                                                                                                For the benchmark year only, 2018,
                                            crop losses in a streamlined way that                   year (2018 or 2019), reflective of a
                                                                                                                                                           2019 and 2020 WHIP+ and QLA
                                            minimizes the burden on producers and                   typical year, as elected by the producer,
                                                                                                                                                           payments.
                                            improves efficiency of application                      intended to represent a typical year of
                                                                                                    revenue for the producer’s operation,                      The allowable gross revenue will be
                                            processing by FSA county offices.                                                                              based on the year for which the revenue
                                                                                                    and the applicable disaster year (2020 or
                                            ERP Phase 2 Eligibility                                 2021). For the purposes of ERP Phase 2,                would be reported for the purpose of
                                               To be eligible for ERP Phase 2, a                    ‘‘allowable gross revenue’’ includes                   filing a tax return. Producers who file or
                                            producer must have suffered a loss of an                revenue from:                                          would be eligible to file a joint tax
                                            eligible crop due in whole or in part to                    Sales of eligible crops produced by               return will certify their allowable gross
                                            a qualifying disaster event that occurred               the producer, which includes sales                     revenue based on what it would have
                                            in the 2020 or 2021 calendar year                       resulting from value added through                     been had they filed taxes separately for
                                            (referred to as the ‘‘disaster year’’).                 post-production activities (for example,               the applicable year.
                                            Qualifying disaster events include                      sales of jam from the processing of                        If a producer decreased their
                                            wildfires, hurricanes, floods, derechos,                strawberries) that were reportable on                  operation capacity in a disaster year, as
                                            excessive heat, winter storms, freeze                   IRS Schedule F;                                        compared to the benchmark year, the
                                            (including a polar vortex), smoke                           Sales of eligible crops a producer                producer must certify to an adjusted
                                            exposure, excessive moisture, qualifying                purchased for resale that had a change                 benchmark revenue on form FSA–521
                                            drought, and related conditions                         in characteristic due to the time held                 that represents the producer’s
                                            occurring in calendar years 2020 and                    (for example, a plant purchased at a size              reasonably expected allowable gross
                                            2021. ‘‘Qualifying drought’’ means an                   of 2 inches and sold as an 18-inch plant               revenue for the disaster year prior to the
                                            area within the county was rated by the                 after 4 months), less the cost or other                impact of the qualifying disaster event.
                                            U.S. Drought Monitor as having a                        basis of such eligible crops;                          A producer may also certify to an
                                            drought intensity of D2 (severe drought)                    The taxable amount of cooperative                 adjusted benchmark revenue on form
                                            for 8 consecutive weeks or D3 (extreme                  distributions directly related to the sale             FSA–521 if the producer did not have
                                            drought) or higher level for any period                 of the eligible crops produced by the                  a full year of benchmark allowable gross
                                            of time during the applicable calendar                  producer;                                              revenue or expanded their operation
                                            year.                                                       Benefits under the following                      capacity in a disaster year, compared to
                                               To receive a payment for ERP Phase                   agricultural programs: 2017 Wildfires                  their benchmark year. If requested by
                                            2, the eligible crop loss must have                     and Hurricanes Indemnity Program                       FSA, producers are required to submit
                                            resulted in a decrease of allowable gross               (WHIP), Agriculture Risk Coverage                      documentation to support these
                                            revenue, as described in the next section               (ARC) and Price Loss Coverage (PLC),                   adjustments within 30 calendar days of
                                            of this document. ‘‘Eligible crop’’ for                 Biomass Crop Assistance Program                        the request. The documentation to
                                            ERP Phase 2 means a crop, including                     (BCAP), Loan Deficiency Payment (LDP)                  support an adjustment due to a change
                                            eligible aquaculture, that is produced in               program, marketing loan gains (MLG)                    in operation capacity must show that
                                            the United States as part of a farming                  under the Marketing Assistance Loan
                                            operation and is intended to be                         (MAL) program, 2018 and 2019 Market                       5 ERP Phase 1 allowed producers who received

                                            commercially marketed. It excludes                      Facilitation Programs (MFP), Seafood                   pre-filled application forms to indicate shares in the
                                                                                                                                                           crop. In some cases, payment for a producer’s share
                                            crops for grazing, aquatic species that do              Trade Relief Program (STRP), and the                   of a crop may have been issued to a different person
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                                            not meet the definition of aquaculture,                 On-Farm Storage Loss Program;                          or entity than the producer applying for a related
                                            Cannabis sativa L. and any part of that                     CCC loans, if treated as income and               revenue loss under ERP Phase 2. Applications for
                                            plant that does not meet the definition                 reported to IRS;                                       ERP Phase 2 must include any ERP Phase 1
                                                                                                                                                           payments issued to another person or entity for the
                                            of hemp, and timber.                                        Crop insurance proceeds, minus the                producer’s share of an eligible crop in order to
                                               For ERP, ‘‘producer’’ refers to a                    amount of administrative fees and                      prevent duplicate benefits being issued for the same
                                            person or legal entity who was entitled                 premiums;                                              loss.


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                                            the adjustment to the producer’s                        qualifying disaster event had not                         (4) Form CCC–901, Member
                                            benchmark revenue is due to an:                         occurred. For ERP Phase 2 purposes,                    Information for Legal Entities, if
                                                Addition or decrease in production                 ‘‘specialty crop’’ has the same meaning                applicable;
                                            capacity of the farming operation;                      as in ERP Phase 1.6 A crop may be                         (5) Form CCC–902, Farm Operating
                                                Increase or decrease in the use of                 considered a high value crop based on                  Plan for an individual or legal entity as
                                            existing production capacity; or                        either the crop itself, or how the crop is             provided in 7 CFR part 1400;
                                                Physical alterations that were made                marketed. High value crop includes any                    (6) Form FSA–510, Request for an
                                            to existing production capacity.                        eligible crop not specifically identified              Exception to the $125,000 Payment
                                               Change in production capacity does                   as a specialty crop or listed in the                   Limitation for Certain Programs,
                                            not include crop rotation from year to                  definition of ‘‘other crop’’ (that is,                 accompanied by a certification from a
                                            year, changes in farming practices such                 cotton, peanuts, rice, feedstock, and any              certified public accountant or attorney
                                            as converting from conventional tillage                 crop grown with an intended use of                     as to that person or legal entity’s
                                            to no-till, or increasing the rate of                   grain, silage, or forage), and it also                 certification, for a legal entity and all
                                            fertilizers or chemicals.                               includes any eligible crop, regardless of              members of that entity, for each
                                               If a producer began farming in 2020                  whether the crop is identified as a                    applicable program year, including the
                                            or 2021 and did not have allowable                      specialty crop or listed in the definition             legal entity’s members, partners, or
                                            gross revenue in a benchmark year, the                  of ‘‘other crop,’’ if the crop is a direct             shareholders, as provided in 7 CFR part
                                            producer may certify to an adjusted                     market crop, organic crop, or a crop                   1400; and
                                            benchmark allowable gross revenue on                    grown for a specific market in which                      (7) Form AD–1026, Highly Erodible
                                            form FSA–521 that represents what had                   specialized products can be sold                       Land Conservation (HELC) and Wetland
                                            been the producer’s reasonably expected                 resulting in an increased value                        Conservation (WC) Certification, for the
                                            disaster year revenue prior to the impact               compared to the typical market for the                 ERP Phase 2 applicant and applicable
                                            of the qualifying disaster event. If                    crops (for example, soybeans intended                  affiliates as provided in 7 CFR part 12.
                                            requested by FSA, documentation                         for tofu production), as determined by                    If requested by FSA, the producer
                                            required to support a producer’s                        the Deputy Administrator for Farm                      must provide additional documentation
                                            certification must be provided within 30                Programs (Deputy Administrator).                       that establishes the producer’s eligibility
                                            calendar days of FSA’s request, or the                                                                         for ERP Phase 2. If supporting
                                            producer will be considered ineligible                  Applying for ERP Phase 2
                                                                                                                                                           documentation is requested, the
                                            for ERP Phase 2. Acceptable                                A completed FSA–521, Emergency                      documentation must be submitted to
                                            documentation must be generated in the                  Relief Program (ERP) Phase 2                           FSA within 30 calendar days from the
                                            ordinary course of business and dated                   Application, must be submitted to any                  request or the application will be
                                            prior to the impact of the disaster event               FSA county office by the close of                      disapproved by FSA. FSA may request
                                            and includes, but is not limited to:                    business on the date announced by the                  supporting documentation to verify
                                                Financial documents such as a                      Deputy Administrator. Applications                     information provided by the producer
                                            business plan or cash flow statement                    may be submitted in person or by mail,                 and the producer’s eligibility including,
                                            that demonstrate an expected level of                   email, facsimile, or other methods                     but not limited to, the producer’s:
                                            revenue;                                                announced by FSA.                                         (1) Allowable gross revenue as
                                                Sales contracts or purchase                           Producers must also submit the                      reported on the ERP Phase 2
                                            agreements; and                                         following forms if not already on file                 application;
                                                Documentation supporting                           with FSA within 60 days of the ERP                        (2) Percentages of the expected
                                            production capacity, use of existing                    Phase 2 application deadline:                          allowable gross revenue from specialty
                                            production capacity, or physical                           (1) Form AD–2047, Customer Data                     and high value crops and other crops;
                                            alterations that demonstrate production                 Worksheet, for new customers or                        and
                                            capacity.                                               existing customers who need to update                     (3) Ownership share in the
                                               FSA is providing an optional form,                   their customer profile;                                agricultural commodities.
                                            FSA–521A, Continuation Sheet for                           (2) Form FSA–521A, Continuation
                                            Emergency Relief Program (ERP)                          Sheet for Emergency Relief Program                     ERP Phase 2 Payment Calculation
                                            Adjusted Revenue, to help producers                     (ERP) Adjusted Revenue, if applicable;                   Although producers will be able to
                                            calculate their adjusted benchmark                         (3) Form CCC–860, Socially                          apply for both the 2020 and 2021
                                            revenue if they are certifying to an                    Disadvantaged, Limited Resource,                       disaster years, as applicable, on one
                                            adjustment on FSA–521.                                  Beginning and Veteran Farmer or                        form, ERP Phase 2 payments will be
                                               In addition to providing their                       Rancher Certification, applicable for the              calculated separately for each disaster
                                            allowable gross revenue for the                         program year or years for which the                    year. If a producer indicates that they
                                            benchmark and disaster years,                           producer is applying for ERP;7                         have expected revenue for both
                                            producers will certify to the percentage
                                                                                                                                                           specialty and high value crops and other
                                            of their expected allowable gross                          6 As defined for ERP Phase 1, ‘‘specialty crops’’
                                                                                                                                                           crops for a disaster year, a payment will
                                            revenue from specialty and high value                   means fruits, tree nuts, vegetables, culinary herbs
                                                                                                    and spices, medicinal plants, and nursery,             be calculated separately for specialty
                                            crops and the percentage from other
                                                                                                    floriculture, and horticulture crops. This includes
                                            crops for the applicable disaster year on               common specialty crops identified by USDA’s            farmer or rancher includes the relevant date needed
                                            their application form. This information                Agricultural Marketing Service at https://             to determine for what program years the status
                                            is used in the payment calculation to                   www.ams.usda.gov/services/grants/scbgp/specialty-      would apply. An entity that has filed CCC–860
                                            determine the amount applied to the                     crop and other crops as designated by the Deputy       certifying its status as a socially disadvantaged,
                                                                                                    Administrator for Farm Programs.                       beginning, or veteran farmer or rancher for a prior
                                            separate payment limitations for                           7 An individual who has filed CCC–860 certifying    program year is not required to submit a subsequent
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                                            specialty and high value crops and for                  their status as a socially disadvantaged, beginning,   certification of its status for a later program year
                                            all other crops, as described later in this             or veteran farmer or rancher for a prior program       unless the entity’s status has changed due to
                                            document. The percentages certified                     year is not required to submit a subsequent CCC–       changes in membership. Because a producer’s
                                                                                                    860 certifying their status for a later program year   status as a limited resource farmer or rancher may
                                            must be equal to the percentages that                   because an individual’s status as socially             change annually depending on the producer’s direct
                                            the producer would have reasonably                      disadvantaged would not change in different years,     and indirect gross farm sales, those producers must
                                            expected for the disaster year if the                   and their certification as a beginning or veteran      submit CCC–860 for each applicable program year.


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                                            and high value crops and other crops for                example, if the ERP Factor is set at 50                   If at least 75 percent of the producer’s
                                            a disaster year.                                        percent, the factor used for underserved               average AGI is derived from farming,
                                               To determine a producer’s ERP Phase                  producers will be 65 percent, but if the               ranching, or forestry related activities
                                            2 payment amount, FSA will calculate:                   factor is set at 55 percent or higher, the             and the producer provides the required
                                               (1) The ERP factor of 70 percent 8                   factor for underserved producers will be               certification and documentation, as
                                            multiplied by the producer’s benchmark                  capped at 70 percent. An initial                       discussed below, the producer, other
                                            year allowable gross revenue, adjusted                  payment to a producer will not be                      than a joint venture or general
                                            according to 7 CFR 760.1903, if                         recalculated or reduced if the total                   partnership, is eligible to receive,
                                            applicable, minus                                       calculated ERP Phase 2 factored                        directly or indirectly, up to:
                                               (2) The producer’s disaster year                     payment for that producer is less than                    (1) $900,000 for specialty crops and
                                            allowable gross revenue; minus                          the initial payment amount.                            high value crops combined for:
                                               (3) The sum of the producer’s net ERP                  If a producer receives additional                       (i) ERP Phase 1 for program year 2020
                                            Phase 1 payments for the 2020 program                   assistance through CFAP or ERP Phase                   and ERP Phase 2 for program year 2020,
                                            year, if the calculation is for the 2020                1 after a producer’s ERP Phase 2                       combined; and
                                            disaster year, or for the 2021 and 2022 9               payment is calculated, the producer’s                     (ii) ERP Phase 1 for program years
                                            program years, if the calculation is for                ERP Phase 2 payment will be                            2021 and 2022 and ERP Phase 2 for
                                            the 2021 disaster year; minus                           recalculated and the producer must                     program year 2021, combined; and
                                               (4) The sum of the producer’s net                    refund any resulting overpayment.                         (2) $250,000 for all other crops for:
                                            CFAP payments (excluding payments                                                                                 (i) ERP Phase 1 for program year 2020
                                            for contract producer revenue), net 2020                ERP Phase 2 Payment Limitation and
                                                                                                    Attribution                                            and ERP Phase 2 for program year 2020,
                                            WHIP+ payments, and net 2020 Quality                                                                           combined; and
                                            Loss Adjustment (QLA) Program                              As required by the Extending                           (ii) ERP Phase 1 for program years
                                            payments, if the calculation is for the                 Government Funding and Delivering                      2021 and 2022 and ERP Phase 2 for
                                            2020 disaster year; and                                 Emergency Assistance Act and                           program year 2021, combined.
                                               (5) Multiplied by the percentage of the              consistent with 7 CFR 760.1507, the                       The relevant tax years for establishing
                                            expected disaster year revenue for                      payment limitation for ERP is                          a producer’s AGI and percentage
                                            specialty and high value crops or other                 determined by the producer’s average                   derived from farming, ranching, or
                                            crops, as applicable.                                   adjusted gross farm income (income                     forestry related activities are:
                                               ERP Phase 2 payments are subject to                  from activities related to farming,                       (1) 2016, 2017, and 2018 for program
                                            the availability of funds. FSA will issue               ranching, or forestry). Specifically, if the           year 2020; and
                                            an initial payment equal to the lesser of:              producer’s average adjusted gross farm                    (2) 2017, 2018, and 2019 for program
                                                The amount calculated as described                 income is less than 75 percent of the                  year 2021.
                                            above; or                                               producer’s average adjusted gross                         To receive more than $125,000 in ERP
                                                A maximum initial payment of                       income (AGI) for the 3 taxable years                   payments, producers must submit form
                                            $2,000.                                                 preceding the most immediately                         FSA–510, accompanied by a
                                               If a producer has also received a                    preceding complete tax year, a                         certification from a certified public
                                            payment under ERP Phase 1, FSA will                     producer, other than a joint venture or                accountant or attorney as to that person
                                            reduce the producer’s initial ERP Phase                 general partnership, cannot receive,                   or legal entity’s certified AGI. If a
                                            2 payment amount by subtracting their                   directly or indirectly, more than                      producer requesting the increased
                                            ERP Phase 1 gross payment amount. 10 If                 $125,000 in payments for specialty                     payment limitation is a legal entity, all
                                            total calculated payments exceed the                    crops and high value crops 12 and                      members of that entity must also
                                            total funding available for ERP Phase 2,                $125,000 in payment for all other crops                complete form FSA–510 and provide
                                            the ERP Factor may be adjusted and the                  under:                                                 the required certification according to
                                            final payment amounts will be prorated                     (1) ERP Phase 1 for program year 2020               the direct attribution provisions in 7
                                            to stay within the amount of available                  and ERP Phase 2 for program year 2020,                 CFR 1400.105, ‘‘Attribution of
                                            funding. If there are insufficient funds,               combined; and                                          Payments.’’ If a legal entity would be
                                            a differential of 15 percent will be used                  (2) ERP Phase 1 for program years
                                                                                                                                                           eligible for the increased payment
                                            for underserved producers similar to                    2021 and 2022 13 and ERP Phase 2 for
                                                                                                                                                           limitation based on the legal entity’s
                                            ERP Phase 1, but with a cap at the                      program year 2021, combined.
                                                                                                                                                           average AGI derived from farming,
                                            statutory maximum of 70 percent. 11 For
                                                                                                    ranchers (or specific groups included in that term)
                                                                                                                                                           ranching, or forestry related activities
                                              8 The Extending    Government Funding and             in several programs, such as ECP, ELAP, and the        but a member of that legal entity either
                                            Delivering Emergency Assistance Act provides that       Tree Assistance Program. FSA has also used higher      does not complete a form FSA–510 and
                                            the total amount of payments cannot exceed 70           payment factors for these producers in several         provide the required certification or is
                                                                                                    recently announced programs: the Food Safety
                                            percent of the loss for producers who did not obtain
                                                                                                    Certification for Specialty Crops Program, the         not eligible for the increased payment
                                            federal crop insurance or NAP coverage for the crop
                                            incurring the losses.
                                                                                                    Organic and Transitional Education and                 limitation, the payment to the legal
                                               9 For ERP Phase 1, the program year was based
                                                                                                    Certification Program, ELRP Phase 1, and ERP           entity will be reduced for the limitation
                                                                                                    Phase 1. In addition, NAP provides a reduced
                                            on the crop year, as defined in the applicable crop     service fee and premium for underserved farmers
                                                                                                                                                           applicable to the share of the ERP Phase
                                            insurance policy or NAP provisions, and 2022 was        and ranchers. This approach supports the equitable     2 payment attributed to that member.
                                            included because a qualifying disaster event            administration of FSA programs, as underserved            If a producer files form FSA–510 and
                                            occurring in the 2021 calendar year may have            farmers and ranchers are more likely to lack
                                            caused a loss of a crop during the 2022 crop year.
                                                                                                                                                           the accompanying certification after
                                                                                                    financial reserves and access to capital that would
                                            The program year for ERP Phase 2 is based on the        allow them to cope with losses due to unexpected       their ERP Phase 2 payment is issued but
                                            disaster year (2020 or 2021) because the payment        events outside of their control.
                                            is based on a producer’s allowable gross revenue,                                                              insurance policy or NAP provisions, and 2022 was
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                                                                                                       12 High value crops were not defined in ERP
                                            which may include revenue from multiple crops.          Phase 1; therefore, only ERP Phase 1 payments to       included because a qualifying disaster event
                                               10 If the producer’s ERP Phase 1 payment is equal
                                                                                                    specialty crops, as defined in the ERP Phase 1         occurring in the 2021 calendar year may have
                                            to or exceeds the producer’s initial ERP Phase 2        notice, will be counted toward the increased           caused a loss of a crop during the 2022 crop year.
                                            payment amount, the producer will not receive an        payment limitation for specialty and high value        The program year for ERP Phase 2 is based on the
                                            initial ERP Phase 2 payment.                            crops.                                                 disaster year (2020 or 2021) because the payment
                                               11 FSA calculates payments based on a higher            13 For ERP Phase 1, the program year was based      is based on a producer’s allowable gross revenue,
                                            payment factor for underserved farmers and              on the crop year, as defined in the applicable crop    which may include revenue from multiple crops.


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                                            before the deadline announced by FSA,      for the next 2 available crop years will                            programs, with a specific focus on
                                            FSA will process the form FSA–510 and      be determined from the date a producer                              strengthening outreach to underserved
                                            issue the additional payment amount if     receives an ERP payment and may vary                                producers and communities and small
                                            a maximum initial payment amount has       depending on the timing and                                         and medium agricultural operations.
                                            not been reached.                          availability of crop insurance or NAP for                           PARP, a new program administered by
                                               A payment made to a legal entity will   a producer’s particular crops. The final                            FSA, is part of that initiative.
                                            be attributed to those members who         crop year to purchase crop insurance or                                PARP will use funding authorized by
                                            have a direct or indirect ownership        NAP coverage to meet the second year                                the Consolidated Appropriations Act,
                                            interest in the legal entity, unless the   of coverage for this requirement is the                             2021 (CAA; Pub. L. 116–260), which
                                            payment of the legal entity has been       2026 crop year.                                                     provides funding to prevent, prepare
                                            reduced by the proportionate ownership        In situations where federal crop                                 for, and respond to the COVID–19
                                            interest of the member due to that         insurance is unavailable for a crop, a                              pandemic by providing support for
                                            member’s ineligibility. Attribution of     producer must obtain NAP coverage.                                  agricultural producers, growers, and
                                            payments made to legal entities will be    Section 1001D of the Food Security Act                              processors impacted by coronavirus.
                                            tracked through four levels of             of 1985 (1985 Farm Bill) provides that                              This rule establishes PARP to respond
                                            ownership in legal entities as described   a person or entity with an AGI greater                              to the COVID–19 pandemic by
                                            in § 760.1906.                             than $900,000 is not eligible to                                    providing support for eligible producers
                                               Like other programs administered by     participate in NAP; however, producers                              of agricultural commodities who
                                            FSA, payments made to an Indian Tribe      with an AGI greater than $900,000 are                               suffered an eligible revenue loss in
                                            or Tribal organization, as defined in      eligible for ERP. To reconcile this                                 calendar year 2020 due to the COVID–
                                            section 4(b) of the Indian Self-           restriction in the 1985 Farm Bill and the                           19 pandemic. PARP is intended to
                                            Determination and Education                requirement to obtain NAP or crop                                   provide assistance to a wide variety of
                                            Assistance Act (25 U.S.C. 5304), will not  insurance coverage, a producer may                                  agricultural producers, including those
                                            be subject to payment limitation.          meet the purchase requirement by                                    who produced agricultural commodities
                                                                                       purchasing Whole-Farm Revenue                                       that were not eligible for CFAP 1 and 2
                                            ERP Phase 2 Miscellaneous Provisions       Protection (WFRP) crop insurance                                    (7 CFR part 9).
                                               If an ERP Phase 2 payment resulted      coverage, if eligible, or they may pay the                             For PARP, ‘‘producer’’ refers to a
                                            from erroneous information provided by applicable NAP service fee despite their                                person or legal entity (including a
                                            a producer, or any person acting on        ineligibility for a NAP payment. In other                           general partnership or joint venture)
                                            their behalf, the payment will be          words, the service fee must be paid even                            who was in the business of farming to
                                            recalculated and the producer must         though no NAP payment may be made                                   produce an agricultural commodity in
                                            refund any excess payment with interest because the AGI of the person or entity                                calendar year 2020, and who was
                                            calculated from the date of the            exceeds the 1985 Farm Bill limitation.                              entitled to a share in the agricultural
                                            disbursement of the payment. If FSA           If both federal crop insurance and                               commodity available for marketing or
                                            determines that the producer               NAP coverage are unavailable for a crop,                            would have shared had the agricultural
                                            intentionally misrepresented               the producer must obtain WFRP crop                                  commodity been produced and
                                            information provided on the producer’s     insurance coverage, if eligible.                                    marketed. ‘‘Producer’’ also includes
                                            application, the application will be          For all crops listed on form FSA–522,
                                                                                                                                                           cattle feeder operations, which were not
                                            disapproved and the producer must          any producer who has the crop or crop
                                                                                                                                                           eligible for CFAP 1 and CFAP 2. To be
                                            refund the full amount of any payments     acreage in subsequent years and who
                                                                                                                                                           eligible for PARP, a producer must:
                                            to FSA with interest from the date of      fails to obtain the 2 years of crop
                                                                                                                                                               Have been in the business of
                                            disbursement.                              insurance or NAP coverage required as
                                                                                                                                                           farming during at least part of the 2020
                                                                                       specified in this document, must refund
                                            ERP Phase 2 Requirement To Purchase the full amount of any ERP Phase 2                                         calendar year; and
                                            Crop Insurance or NAP Coverage                                                                                     Have had at least a 15 percent
                                                                                       payments with interest from the date of
                                                                                                                                                           decrease in ‘‘allowable gross revenue’’ 14
                                               All producers who receive ERP Phase disbursement. Any producer who does
                                            2 payments are statutorily required to                                                                         for the 2020 calendar year, as compared
                                                                                       not plant a crop listed on form FSA–522
                                            purchase federal crop insurance, or NAP in a year for which this requirement                                   to:
                                            coverage where crop insurance is not                                                                              Æ The 2018 or 2019 calendar year
                                                                                       applies is not subject to the crop
                                            available, for the next 2 available crop                                                                       (similar to the benchmark year for ERP
                                                                                       insurance or NAP purchase requirement
                                            years (Pub. L. 117–43, 135 STAT. 357)                                                                          Phase 2), reflective of a typical year, as
                                                                                       for the crop for that year.
                                            as described in this section and as           Producers who received an ERP Phase                              elected by the producer, if they received
                                            determined by the Secretary. To identify   1 payment for a crop are not required to                            allowable gross revenue during the 2018
                                            which crops suffered losses that           obtain additional years of crop                                     or 2019 calendar years; or
                                            resulted in a revenue loss due to a        insurance or NAP coverage for that crop,                               Æ The producer’s expected 2020
                                            qualifying disaster event, producers       to the extent the producer is already                               allowable gross revenue, if the producer
                                            must complete form FSA–522, Crop           complying with the requirement in                                   had no allowable gross revenue in 2018
                                            Insurance and/or NAP Coverage              connection with an ERP Phase 1                                      and 2019.15
                                            Agreement. For each of those crops, a      payment, if they also receive an ERP                                   In addition, to be eligible for PARP, a
                                            producer must file an acreage report and Phase 2 payment for a loss associated                                 producer must be one of the following:
                                            obtain federal crop insurance or NAP, as with that crop.                                                          14 ‘‘Allowable gross revenue’’ is explained later in
                                            may be applicable:                         PARP                                                                this section of this document.
                                               (1) At a coverage level equal to or                                                                            15 PARP provides assistance to participants
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                                            greater than 60 percent for insurable         Secretary Tom Vilsack announced the                              whose allowable gross revenue for the 2020
                                            crops; or                                  USDA Pandemic Assistance for                                        calendar year was at or below 85 percent of the
                                               (2) At the catastrophic level or higher Producers initiative on March 24, 2021.                             ‘‘benchmark’’ allowable gross revenue. This uses
                                                                                                                                                           the same maximum level of coverage available
                                            for NAP crops.                             Through that initiative, USDA is                                    under RMA’s Whole Farm Revenue Program
                                               The timing for the requirement to       reaching a broader set of producers than                            (WFRP), coverage that requires 15 percent or more
                                            purchase federal crop insurance or NAP in previous COVID–19 assistance                                         decrease in revenue to trigger a payment.


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                                                A citizen of the United States;                        Grants from the Department of                     impact of the COVID–19 pandemic and
                                                A resident alien, which for                        Commerce, National Oceanic and                         includes, but is not limited to, financial
                                            purposes of this subpart means ‘‘lawful                 Atmospheric Administration and State                   documents such as a business plan or
                                            alien’’ as defined in 7 CFR part 1400;                  program funds providing direct                         cash flow statement that demonstrates
                                                A partnership organized under                      payments for the loss of agricultural                  an expected level of revenue; sales
                                            State Law;                                              commodities or the loss of revenue from                contracts or purchase agreements; and
                                                A corporation, limited liability                   agricultural commodities;                              documentation supporting production
                                            company, or other organizational                            Revenue from raised breeding                      capacity, use of existing production
                                            structure organized under State law;                    livestock;                                             capacity, or physical alterations that
                                                An Indian Tribe or Tribal                              Revenue earned as a cattle feeder                 demonstrate production capacity.
                                            organization, as defined in section 4(b)                operation;
                                            of the Indian Self-Determination and                        Other revenue directly related to                 PARP Application Process
                                            Education Assistance Act (25 U.S.C.                     the production of agricultural                            FSA will accept PARP applications
                                            5304); or                                               commodities that IRS requires the                      until the date announced by the Deputy
                                                A foreign person or foreign entity                 producer to report as income; and                      Administrator. To apply for PARP,
                                            who meets all requirements as described                     For 2020 allowable gross revenue,                 producers must submit a complete
                                            in 7 CFR part 1400.                                     payments under the Pandemic Market                     FSA–1122, Pandemic Assistance
                                               For PARP, ‘‘agricultural commodity’’                 Volatility Assistance Program regardless               Revenue Program Application, in
                                            means a crop, aquaculture, livestock,                   of the calendar year in which the                      person, by mail, email, facsimile, or
                                            livestock byproduct, or other animal or                 payment was received.                                  other method announced by FSA to any
                                            animal byproduct that is produced as                       An optional worksheet is available to               FSA county office. 16 Applicants must
                                            part of a farming operation and is                      assist producer’s in computing their                   also submit all of the following items, if
                                            intended to be commercially marketed.                   revenue from the sources listed above.                 not previously filed with FSA:
                                            It includes only commodities produced                   Producers who file or would be eligible                    Form AD–2047, Customer Data
                                            in the United States, and commodities                   to file a joint tax return will certify their          Worksheet, for new customers or
                                            produced outside the United States by                   revenue based on what their revenue
                                                                                                                                                           existing customers who need to update
                                            a producer located in the United States                 would have been had they filed taxes
                                                                                                                                                           their customer profile;
                                            and marketed inside the United States.                  separately for the applicable year.
                                                                                                                                                               Form CCC–860, Socially
                                            It excludes:                                            Revenue earned as a contract producer
                                                                                                                                                           Disadvantaged, Limited Resource,
                                                Wild free-roaming animals;                         of an agricultural commodity is not
                                                                                                                                                           Beginning and Veteran Farmer or
                                                Horses and other animals used or                   included in allowable revenue for
                                                                                                                                                           Rancher Certification, applicable for the
                                            intended to be used for racing or                       PARP.
                                                                                                       If a producer did not have a full year              2020 program year, if the applicant is an
                                            wagering;                                                                                                      underserved farmer or rancher; 17
                                                Aquatic species that do not meet                   of revenue for 2018 or 2019 or
                                                                                                    physically expanded their operation in                     Form CCC–901, Member
                                            the definition of aquaculture;                                                                                 Information for Legal Entities, if
                                                Cannabis sativa L. and any part of                 2020, the producer may certify to an
                                                                                                                                                           applicable;
                                            that plant that does not meet the                       adjusted 2018 or 2019 allowable gross
                                                                                                                                                               Form CCC–902, Farm Operating
                                            definition of hemp; and                                 revenue on form FSA–1122A. Producers
                                                                                                                                                           Plan for an individual or legal entity as
                                                Timber.                                            must provide documentation to support
                                                                                                                                                           provided in 7 CFR part 1400;
                                               As provided in § 9.304, allowable                    the adjusted amount within 30 calendar
                                                                                                                                                               Form CCC–941, Average Adjusted
                                            gross revenue for PARP includes                         days of submitting their PARP
                                                                                                                                                           Gross Income (AGI) Certification and
                                            revenue from:                                           application. The documentation must
                                                                                                                                                           Consent to Disclosure of Tax
                                                Sales of agricultural commodities                  show that the producer added
                                                                                                                                                           Information, for the 2020 program year
                                            produced by the producer, including the                 production capacity to the farming
                                                                                                                                                           for the producer, including the legal
                                            sales resulting from value added                        operation, increased the use of existing
                                                                                                                                                           entity’s members, partners,
                                            through post-production activities (for                 production capacity, or made physical
                                                                                                                                                           shareholders, heirs, or beneficiaries as
                                            example, sales of jam from the                          alterations to existing production
                                                                                                                                                           provided in 7 CFR part 1400;
                                            processing of strawberries);                            capacity that would have resulted in
                                                                                                                                                               Form FSA–1123, Certification of
                                                Sales of agricultural commodities a                increased revenue in 2020. Increases in
                                                                                                                                                           2020 Adjusted Gross Income, if
                                            producer purchased for resale, less the                 production capacity do not include crop
                                                                                                                                                           applicable;
                                            cost or other basis of such commodities;                rotation from year to year, changes in
                                                                                                                                                               Form FSA–1122A, Pandemic
                                                The taxable amount of cooperative                  farming practices such as converting
                                                                                                                                                           Assistance Revenue Program (PARP)
                                            distributions directly related to the sale              from conventional tillage to no-till, or
                                                                                                                                                           Application, if applicable;
                                            of the agricultural commodities                         increasing the rate of fertilizers or
                                                                                                                                                               Form AD–1026, Highly Erodible
                                            produced by the producer;                               chemicals.
                                                                                                       If a producer did not have allowable                Land Conservation (HELC) and Wetland
                                                Benefits under certain federal                                                                            Conservation (WC) Certification, for the
                                            agricultural programs and disaster                      gross revenue in 2018 and 2019 but was
                                            programs (excluding conservation                        in the business of farming in 2020, the                   16 The FSA county office locator can be found
                                            programs, CFAP 1 and 2, 2020 program                    producer must certify on form FSA–                     through the ‘‘Find Your Local Service Center’’
                                            year ERP, the Pandemic Livestock                        1122A as to what had been their                        section on: https://www.farmers.gov/.
                                            Indemnity Program (PLIP), and the Spot                  reasonably expected 2020 allowable                        17 For PARP, socially disadvantaged groups

                                            Market Hog Pandemic Program                             gross revenue prior to the impact of the               include the following: American Indians or Alaskan
                                                                                                                                                           Natives, Asians or Asian-Americans, Blacks or
                                            (SMHPP));                                               COVID–19 pandemic. Producers must                      African Americans, Hispanics or Hispanic
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                                                CCC loans, if treated as income and                provide documentation to support their                 Americans, Native Hawaiians or other Pacific
                                            reported to IRS;                                        expected 2020 allowable gross revenue                  Islanders, and women. Form CCC–860 is not
                                                Crop insurance proceeds;                           within 30 days of submitting their PARP                required for underserved farmers and ranchers to
                                                                                                                                                           receive a payment; however, failure to submit form
                                                Payments issued through grant                      application. Acceptable documentation                  CCC–860 will result in an producer’s payment
                                            agreements with FSA for losses of                       must be generated in the ordinary                      being calculated using a lower payment factor.
                                            agricultural commodities;                               course of business and dated prior to the              Also, see footnote 7.


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                                            PARP applicant and applicable affiliates                SMHPP. If a producer receives                          using the average of the adjusted gross
                                            as provided in 7 CFR part 12.                           assistance through any of those                        incomes for the 2016, 2017, and 2018
                                               The required eligibility forms                       programs after their PARP payment is                   tax years, is more than $900,000, unless
                                            specified above must be submitted no                    calculated, their PARP payment will be                 the producer’s AGI for 2020 is $900,000
                                            later than 60 days from the PARP                        recalculated and the producer must                     or less. To be eligible for payment, a
                                            application deadline. When the                          refund any resulting overpayment to                    producer whose average AGI for 2016,
                                            producer does not timely submit the                     FSA.                                                   2017, and 2018 exceeds $900,000 but
                                            required eligibility forms, or when a                      If a producer was in the business of                whose 2020 AGI is $900,000 or less
                                            member of a legal entity who is required                farming in 2020 but did not have                       must submit form FSA–1123 and
                                            to submit AD–1026 has not done so,                      allowable gross revenue in 2018 and                    provide a certification from a licensed
                                            FSA will not issue a payment to the                     2019, then the payment calculation will                CPA or attorney affirming the
                                            producer. When any other required                       be equal to the producer’s expected                    producer’s 2020 AGI is not more than
                                            eligibility forms are not timely                        2020 allowable gross revenue minus the                 $900,000. With respect to joint ventures
                                            submitted for a member of a legal entity,               producer’s actual 2020 allowable gross                 and general partnerships, this AGI
                                            FSA will reduce the payment based on                    revenue, multiplied by a payment factor                provision will be applied to each
                                            that member’s ownership share of the                    of 90 percent for underserved farmers                  member of the joint venture and general
                                            legal entity.                                           and ranchers who have filed the form                   partnership.
                                               In addition, producers must provide                  CCC–860, or 80 percent for all other                      To be eligible for payment and
                                            documentation within 30 calendar days                   producers. As described above, the                     facilitate administration of payment
                                            of submitting the FSA–1122, if                          PARP payment will be equal to the                      limitation, payment attribution, AGI,
                                            applicable, to verify:                                  result of that calculation minus any                   and rules applicable to foreign persons,
                                                The producer’s certified expected                  assistance received by the producer                    producers that are a legal entity must
                                            2020 allowable gross revenue; and                       under CFAP 1 and 2 (not including any                  provide the names, addresses, valid
                                                The physical expansion of a                        CFAP 2 payments for contract producer                  taxpayer identification numbers, and
                                            producer’s operation in 2020.                           revenue), 2020 program year ERP, PLIP,                 ownership share of each person or each
                                               If requested by FSA, the producer                    and SMHPP, and the PARP payment                        legal entity that holds or acquires a
                                            must provide additional documentation                   will be recalculated if the producer                   direct or indirect ownership interest in
                                            that establishes the producer’s eligibility             receives additional payments under                     the legal entity. Payments to a legal
                                            for PARP. If any supporting                             those programs. Those producers must                   entity will be reduced in proportion to
                                            documentation is requested, the                         provide documentation to support their                 a member’s ownership share in cases
                                            documentation must be submitted to                      certification of their expected 2020                   where a person or legal entity holds less
                                            FSA within 30 days from the request or                  allowable gross revenue within 30 days                 than a 10 percent direct or indirect
                                            the application will be disapproved by                  of submitting their PARP application or                ownership interest and fails to provide
                                            FSA.                                                    they will be ineligible for payment.                   a taxpayer identification number to
                                            PARP Payment Calculation                                   PARP payments will be issued after                  USDA.
                                                                                                    the application period ends. PARP
                                               The PARP payment calculation is                      payments are subject to the availability               PARP General Requirements
                                            based on the difference in a producer’s                 of funds and may be factored if total                     General requirements that apply to
                                            revenue compared to a prior                             calculated payments exceed the                         other FSA-administered commodity
                                            ‘‘benchmark’’ year. Producers who had                   available funding. PARP payments are                   programs also apply to PARP, including
                                            allowable gross revenue in 2018 or 2019                 not subject to offset.                                 compliance with the provisions of 7
                                            will elect which of those years is most                                                                        CFR part 12, ‘‘Highly Erodible Land and
                                            reflective of a typical year to use as a                PARP Payment Limitation, Average
                                                                                                                                                           Wetland Conservation.’’
                                            benchmark for the purposes of                           AGI Limitation, and Attribution                           The regulations in 7 CFR part 1400,
                                            calculating a PARP payment. FSA will                       PARP payments are subject to a per                  subpart E, are applicable to foreign
                                            determine the result of the producer’s                  person or legal entity payment                         persons and legal entities containing
                                            2018 or 2019 allowable gross revenue,                   limitation of $125,000. USDA may                       members, stockholders, or partners who
                                            minus the producer’s 2020 allowable                     establish a lower maximum payment                      are not U.S. citizens or resident aliens
                                            gross revenue, multiplied by a payment                  amount per person, legal entity, or                    that own more than 10 percent of the
                                            factor. The adjusted 2018 or 2019                       member of a joint venture or general                   legal entity. In order for a foreign person
                                            allowable gross revenue, as described                   partnership after the application period               to receive a PARP payment, the person
                                            above, will be used for producers who                   has ended if calculated payment                        must provide land, capital, and a
                                            did not have a full year of revenue for                 amounts exceed available funding.                      substantial amount of active personal
                                            2019 or increased their operation size in               Similar to the manner in which                         labor to the farming operation, as
                                            2020. The payment factor will be 90                     payment limitations are applied in the                 required by § 1400.401(a), and comply
                                            percent for underserved farmers and                     major commodity and disaster                           with the other requirements of subpart
                                            ranchers who have filed CCC–860                         assistance programs administered by                    E.
                                            certifying their status for the 2020                    FSA, payments will be attributed to an                    Additionally, United States Federal,
                                            program year.18 The payment rate for all                individual through the direct attribution              State, and local governments (including
                                            other producers will be 80 percent. The                 process used in those programs. The                    public schools) are not eligible for PARP
                                            PARP payment will be equal to the                       total payment amount of PARP                           payments.
                                            result of that calculation minus any                    payments attributed to an individual                      Appeal regulations specified in 7 CFR
                                            2020 program year ERP payments and                      will be determined by taking into                      parts 11 and 780 and equitable relief
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                                            pandemic assistance received by the                     account the direct and indirect                        and finality provisions in 7 CFR part
                                            producer under CFAP 1 and 2 (not                        ownership interests of the individual in               718, subpart D, apply to determinations
                                            including any CFAP 2 payments for                       all legal entities participating in PARP.              under PARP. The determination of
                                            contract producer revenue), PLIP, and                      A producer, other than a joint venture              matters of general applicability that are
                                                                                                    or general partnership, is ineligible for              not in response to, or result from, an
                                              18 See footnotes 7 and 11.                            payments if the producer’s average AGI,                individual set of facts in an individual

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                                            producer’s application for payment are                  provisions for contract producers, and                   hog producers, FSA implemented the
                                            not matters that can be appealed. Such                  allowed producers of sales-based                         Spot Market Hog Pandemic Program
                                            matters of general applicability include,               commodities to use 2018 sales for their                  (SMHPP), which provided targeted
                                            but are not limited to, eligibility criteria,           payment calculation.                                     assistance to producers who sold hogs
                                            the payment calculation, and payment                       FSA is issuing an additional CFAP 2                   through a spot market sale from April
                                            rates.                                                  payment to underserved farmers and                       16, 2020, through September 1, 2020,
                                               In the event that any application for                ranchers. 19 These payments will be                      the period in which those producers
                                            a PARP payment resulted from                            issued under the same authority as the                   faced the greatest reduction in market
                                            erroneous information reported by the                   producers’ previous CFAP 2 payments,                     prices due to the COVID–19 pandemic.
                                            producer, the payment will be                           using CCC funds as authorized by                         Producers of hogs and pigs may also be
                                            recalculated, and the producer must                     sections 5(b), (d), and (e) of the CCC                   eligible for PARP as previously
                                            refund any excess payment to USDA,                      Charter Act (15 U.S.C. 714c(b), (d), and                 discussed in this rule if they suffered an
                                            including interest to be calculated from                (e)), except for payments for tobacco                    eligible revenue loss in 2020.
                                            the date of the disbursement to the                     which will use remaining funds                              FSA previously implemented
                                            producer. If FSA determines that the                    authorized by the CARES Act. As                          mandatory provisions of CAA that
                                            producer intentionally misrepresented                   provided in § 9.203(p), the additional                   provide additional assistance for
                                            information provided on their                           payment will be equal to 15 percent of                   producers of cattle, price trigger crops,
                                            application, the application will be                    a producer’s previous CFAP 2 payment,                    and flat-rate crops. Cattle payments are
                                            disapproved and the producer must                       subject to CFAP 2 payment limitation                     based on inventory owned between
                                            refund the full payment to FSA with                     provisions in § 9.7.20 Contract producers                April 16, 2020, to May 14, 2020, based
                                            interest from the date of disbursement.                 are not eligible for this additional                     on a producer’s previously filed CFAP
                                            Any required refunds must be resolved                   payment because CFAP 2 payments to                       1 application, multiplied by the
                                            in accordance with debt settlement                      contract producers were authorized and                   following payment rates per head:
                                            regulations in 7 CFR part 3.                            funded through the CAA, which                            $14.75 for slaughter cattle—mature
                                                                                                    specified that those payments could                      cattle, $63 for slaughter cattle—fed
                                            CFAP
                                                                                                    ‘‘cover not more than 80 percent of                      cattle, $7 for feeder cattle less than 600
                                               USDA established CFAP to assist                      revenue losses.’’ Previous CFAP 2                        pounds, $25.50 for feeder cattle 600
                                            producers of agricultural commodities                   payments to contract producers were                      pounds or more, and $17.25 for all other
                                            marketed in 2020 who faced continuing                   already calculated to have covered 80                    cattle. Payments for flat-rate and price-
                                            market disruptions, reduced farm-level                  percent of contract producers’ revenue                   trigger crops, as defined in § 9.201, are
                                            prices, and increased production and                    losses.                                                  equal to the eligible acres of the crop
                                            marketing costs due to COVID–19 under                      As specified in § 9.4(e), CCC–860,                    included on a producer’s CFAP 2
                                            authority provided by the Coronavirus                   Socially Disadvantaged, Limited                          application, multiplied by a payment
                                            Aid, Relief, and Economic Security Act                  Resource, Beginning and Veteran                          rate of $20 per eligible acre. This rule
                                            (CARES Act; Pub. L. 116–136) and                        Farmer or Rancher Certification, must                    amends the payment calculations for
                                            sections 5(b), (d), and (e) of the CCC                  be on file with FSA with a certification                 cattle in § 9.102(c), price trigger crops in
                                            Charter Act (15 U.S.C. 714c(b), (d), and                applicable for the 2020 program year to                  § 9.203(a), and flat-rate crops in
                                            (e)). USDA implemented CFAP through                     receive the additional payment. 21                       § 9.203(b) for consistency with CAA to
                                            two rounds of payments (CFAP 1 and                      Producers who have not previously                        reflect these additional payments. FSA
                                            CFAP 2), administered by FSA. CFAP 1                    certified to their status for the 2020                   already issued these payments and
                                            was implemented through a final rule                    program year may submit CCC–860                          producers were not required to take any
                                            published in the Federal Register on                    until the date announced by the Deputy                   additional action to qualify. These
                                            May 21, 2020 (85 FR 30825–30835),                       Administrator to be eligible for the                     payments were subject to existing CFAP
                                            with corrections published in the                       additional payment.                                      payment limitations and eligibility
                                            Federal Register on June 12, 2020 (85                      The final rule published on January                   requirements.
                                            FR 35799–35800), July 10, 2020 (85 FR                   19, 2021, included a provision for an                       This rule amends the general CFAP
                                            41328–41330), August 14, 2020 (85 FR                    additional CFAP 1 payment for hog and                    provisions to clarify how FSA will
                                            49593–49594), and September 21, 2020                    pig inventory owned between April 16,                    handle applications when the taxpayer
                                            (85 FR 59174–59175), and documents                      2020, and May 14, 2020, based on a rate                  identification number for a person or
                                            published in the Federal Register on                    of $17 per head. USDA suspended                          legal entity that holds a direct or
                                            May 22, 2020 (85 FR 31062–31065),                       implementation of that provision and,                    indirect ownership interest in a
                                            June 12, 2020 (85 FR 35812), July 10,                   after further review, USDA has                           business structure is not provided to
                                            2020 (85 FR 41321–41323), and August                    determined that it will not issue the                    USDA. To receive a CFAP payment, a
                                            14, 2020 (85 FR 49589–49593). USDA                      additional CFAP 1 payment for hog and                    person or legal entity must provide their
                                            implemented CFAP 2 through a final                      pig inventory. To provide assistance to                  name, address, and taxpayer
                                            rule published in the Federal Register                                                                           identification number to USDA. In
                                            on September 22, 2020 (85 FR 59380–                       19 See footnote 11.                                    addition, consistent with most other
                                            59388). USDA also published a final                       20 This additional  CFAP payment is similar to         FSA programs, a legal entity must
                                            rule in the Federal Register on January                 FSA’s administration of ELRP Phase 1 and ERP
                                                                                                    Phase 1, which provided a 15 percent increase for
                                                                                                                                                             provide the name, taxpayer
                                            19, 2021 (86 FR 4877–4883), to provide                  payments to underserved producers and Congress           identification number, address and
                                            additional assistance for certain                       has directed for underserved producers in some           ownership share of each person or legal
                                            commodities under CFAP 1 and CFAP                       permanent disaster programs a 15 percent higher          entity that holds or acquires a direct or
                                                                                                    payment rate (Emergency Livestock Assistance
                                            2, but suspended implementation of that                 Program or Emergency Conservation Program).              indirect ownership interest in the legal
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                                            rule on January 20, 2021, to allow                      Consistent with those programs, 15 percent has           entity; however, the previous CFAP
                                            further evaluation of the assistance                    been determined as the increased rate for                rules did not specify how the failure to
                                            offered through CFAP. A final rule                      underserved producers.                                   provide such information would affect
                                                                                                      21 See footnote 7 for an explanation of how long
                                            published on August 27, 2021 (86 FR                     an underserved producer’s certification remains
                                                                                                                                                             the producer’s payment eligibility.
                                            48013–48018), revised the CFAP 2                        valid and the requirement to file CCC–860 in             Previously, FSA had implemented this
                                            application deadline, amended                           subsequent years.                                        requirement by determining that the

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                                            producer was ineligible for payment.                    which allowed payments as specified in                   7 CFR 701.126, 701.127, and 701.226 to
                                            Rather than determining the producer                    the FSA Handbook 1–ECP.22                                authorize the Secretary to waive the
                                            ineligible for payment, in cases where a                   This rule also corrects a typographical               maximum limitations to the maximum
                                            person or legal entity holding less than                error in a section number to redesignate                 extent otherwise allowed by law.
                                            10 percent direct or indirect ownership                 § 718.128 to be § 701.128. Prior to this
                                                                                                                                                             Supplemental Agricultural Disaster
                                            interest does not submit a taxpayer                     rule, the ECP regulation authorized
                                                                                                                                                             AssistancePrograms
                                            identification number, FSA will reduce                  advance payment only for fence repair
                                            the producer’s payment in proportion to                 or replacement. This rule further                           This rule makes discretionary changes
                                            a member’s ownership share when the                     amends § 701.128 to allow advance                        to ELAP, LFP, and LIP to amend what
                                            taxpayer identification number for a                    payments for all ECP practices.                          is considered eligible livestock.
                                            person or legal entity that holds a direct              Consistent with the authorization for                    Previously, livestock that were
                                            or indirect ownership interest of less                  fence repair or replacement, ECP will                    maintained for pleasure, roping, pets, or
                                            than 10 percent at, or above, the fourth                provide advance payments of up to 25                     show were ineligible under ELAP, LFP,
                                            level of ownership in the business                      percent of the cost for all ECP practices                and LIP. This rule removes those
                                            structure is not provided to USDA as                    before the restoration is carried out. In                restrictions in §§ 1416.104, 1416.204,
                                            provided in § 9.7(i). Additionally, a                   the event this cost share assistance is                  and 1416.304 because FSA recognizes
                                            legal entity will not be eligible to                    not spent within 60 calendar days of                     that animals maintained in a
                                            receive payment when a valid taxpayer                   being issued, the participant will be                    commercial operation for those
                                            identification number for a person or                   required to refund the advance cost-                     purposes have value and could be
                                            legal entity that holds a direct or                     share payment. To reflect these changes,                 available for marketing from the farm. In
                                            indirect ownership interest of 10                       we are revising the section heading of                   addition, FSA is clarifying that horses
                                            percent or greater at, or above the fourth              § 701.128 to ‘‘Advance Payment.’’                        and other animals used or intended to
                                            level of ownership in the business                         Additionally, this rule clarifies the                 be used for racing or wagering are
                                            structure is not provided to USDA as                    duplicate benefits provisions in                         considered ineligible livestock for
                                            provided in § 9.7(i). USDA is making                    § 701.111. The language was modified to                  ELAP, LFP, and LIP.
                                                                                                    further define parameters surrounding                       This rule also amends §§ 1416.104
                                            this change because many farm
                                                                                                    restoration activities being performed on                and 1416.204 to remove the restriction
                                            operations suffered sales losses and had
                                                                                                    the same piece of land. This will ensure                 on ostrich eligibility for LFP and ELAP.
                                            increased marketing costs in 2020 due
                                                                                                    that other Federal program-related                       FSA is making this change because
                                            to the COVID–19 pandemic, and the
                                                                                                    benefits do not cover the same or similar                ostriches satisfy more than 50 percent of
                                            ability to receive a partial CFAP
                                                                                                    expenses so as to create duplicative                     their net energy requirement through
                                            payment will assist those operations in
                                                                                                    payments on the same piece of land and                   the consumption of growing forage
                                            managing those losses and costs. USDA
                                                                                                    that any other Federal cost-share                        grassesand legumes; therefore, they are
                                            is not reopening the CFAP application
                                                                                                    payments would not result in paying                      considered ‘‘grazing animals,’’ as
                                            period; this change only affects how
                                                                                                    more than is authorized for ECP.                         defined in §§ 1416.102 and 1416.202,
                                            FSA will process CFAP applications
                                                                                                       This rule also makes minor technical                  for the purpose of LFP and ELAP. This
                                            currently on file.
                                                                                                    amendments to the existing ECP and                       change is effective for the 2022 program
                                               This rule also updates references                                                                             year for both LFP and ELAP. ELAP
                                            throughout 7 CFR part 9, subparts A                     EFRP regulations. Specifically, this rule:
                                                                                                        Adds the definition of ‘‘Socially                   requires a notice of loss to be filed
                                            through C, to refer specifically to those                                                                        within 30 days of when the loss is first
                                            subparts rather than part 9 due to the                  disadvantaged farmer or rancher’’ and,
                                                                                                    within that definition, defines ‘‘Socially               apparent. Because that deadline may
                                            addition of subpart D for PARP.                                                                                  have passed for producers’ 2022 losses
                                                                                                    disadvantaged group’’ in § 701.2 to be
                                            ECP, EFRP, and BCAP                                     consistent with the definition (7 U.S.C.                 related to ostriches that occurred prior
                                                                                                    2279(a)) used in its authorizing                         to publication of this rule, FSA is
                                               The Agricultural Credit Act of 1978
                                                                                                    legislation instead of defaulting to using               extending the deadline for those notices
                                            (16 U.S.C. 2201), amended by section
                                                                                                    the definition in § 718.2 and makes the                  of loss through February 10, 2023.
                                            2403 of the Agriculture Improvement                                                                                 This rule removes and reserves
                                            Act of 2018 (Pub. L. 115–334),                          same technical correction in § 1450.2 for
                                                                                                    the BCAP regulation;                                     § 1416.5, which provides policy related
                                            authorizes ECP, and generally                                                                                    to equitable relief determinations under
                                            authorizes payments to farmers and                          Removes outdated provisions,
                                                                                                    specifically removing: 7 CFR 701.44,                     ELAP, LFP, LIP, and the Tree Assistance
                                            ranchers to rehabilitate farmland                                                                                Program (TAP). These programs are
                                            damaged by certain natural disasters                    701.45, and 701.150 through 701.157;
                                                                                                        Adds the definition for                             already subject to the general equitable
                                            and to implement emergency water                                                                                 relief provisions in 7 CFR part 718,
                                                                                                    ‘‘Forestland,’’ removes the definition of
                                            conservation measures in periods of                                                                              subpart C; therefore, the provisions in
                                                                                                    ‘‘Commercial forestland,’’ and corrects
                                            severe drought. The ECP regulations are                                                                          § 1416.5 are unnecessary. Equitable
                                                                                                    the definition of ‘‘Non-industrial private
                                            in 7 CFR part 701, subpart B.                                                                                    relief for these programs will be
                                                                                                    forestland’’ to remove the words
                                               Prior to this rule, land owned or                                                                             administered in a manner that is
                                                                                                    ‘‘commercial forest’’ in § 701.102.
                                            controlled by the United States or                          Recognizes Public Law 117–180,                      consistent with other FSA programs to
                                            States, including State agencies or other               the Continuing Appropriations and                        which part 718 applies. This rule also
                                            political subdivisions, was specified in                Ukraine Supplemental Appropriations                      makes minor clarifications and
                                            the regulation as ineligible for cost                   Act, 2023, Division G, section                           technical corrections to the definition of
                                            share. This rule amends the general ECP                 104(k)(3)(A) authorizing 100 percent                     ‘‘eligible loss condition’’ in § 1416.102
                                            provision at § 701.105 to allow                         Federal assistance for the cost of                       and to §§ 1416.103(a), 1416.103(d)(6),
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                                            eligibility of that land under certain                  damages to producers associated with                     1416.304(c)(3), 1416.305(g), and
                                            conditions. The intent of this change is                the ‘‘Hermit’s Peak/Calf Canyon’’ Fire.                  1416.305(i).
                                            to allow producers who lease Federal                    This rule is amending the regulations in
                                            and State land the opportunity to                                                                                NAP
                                            participate in ECP. This is consistent                     22 See https://www.fsa.usda.gov/internet/FSA            FSA is amending the NAP regulations
                                            with the previous operational policy,                   File/1-ecp r06a01.pdf.                                 to update provisions related to

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                                            applications for coverage. This rule                    information is provided for some, but                  share of each person; or (2) the name,
                                            updates the definition of ‘‘application                 not all members, may adversely impact                  address, valid taxpayer identification
                                            for coverage’’ and 7 CFR 1437.7(a) to                   a farm operation’s sustainability during               number, and ownership share of each
                                            reflect that the application for coverage               times when farm program payments                       legal entity, that holds or acquires an
                                            may be filed in any FSA county office,                  may be a large portion of the farm’s                   ownership interest in the legal entity.
                                            rather than only in the producer’s                      income. FSA recognizes that names,                        For programs administered by FSA
                                            administrative county. The definition of                addresses, valid taxpayer identification               that are subject to the provisions of
                                            ‘‘application for coverage’’ is also                    numbers, and ownership shares are                      § 1400.107, this change will be effective
                                            amended to provide flexibility as FSA                   important elements necessary to                        for the current and subsequent program
                                            reviews ways to streamline the                          facilitate administration of FSA’s rules               years. FSA is also making this change
                                            application process for underserved                     for payment eligibility and establishing               retroactive to the 2020 program year,
                                            farmers and ranchers who are eligible                   maximum payment limitations for each                   subject to funding availability, because
                                            for catastrophic coverage without                       program. However, if a valid taxpayer                  many farm operations suffered income
                                            paying a service fee.                                   identification number is not provided                  losses in 2020 due to the COVID–19
                                               Following the change to the                          for a member of a legal entity, FSA is                 pandemic, and the ability to receive a
                                            regulation, FSA intends to designate the                still able to make applicable                          partial payment under the applicable
                                            CCC–860 to be an application for                        determinations of eligibility and                      programs will assist those operations in
                                            catastrophic coverage for NAP if filed                  establish a maximum payment                            managing those losses. FSA is not
                                            before the deadline for application for                 limitation for the legal entity and its                reopening sign up periods for programs
                                            the coverage period. The catastrophic                   other members.                                         with payments that could be affected by
                                            coverage for underserved producers,                        With this rule change, for programs                 this change; it will only affect the way
                                            once in effect, will be treated as                      administered by FSA, FSA will reduce                   payments are processed for legal entities
                                            continuous coverage for all eligible                    the payment to a legal entity in                       that previously filed applications.
                                            crops as long as the producer’s                         proportion to a member’s ownership                     Because the notification of interest
                                            certification is valid. 23 Once the                     share in cases where a person or legal                 provisions are general provisions that
                                            applicable status expires, a producer                   entity holding less than a 10 percent                  are applicable to part 1400, subparts B,
                                            will need to apply for NAP coverage by                  direct or indirect ownership interest                  C, E, and F, FSA is also moving the
                                            the deadline and pay the applicable                     fails to provide a valid taxpayer                      notification of interest requirement from
                                            service fee. Many underserved                           identification number, instead of                      § 1400.107 in subpart B, Payment
                                            producers have previously filed a                       prohibiting any payment to the legal                   Limitation, to § 1400.10 in subpart A,
                                            certification of their underserved status               entity. Additionally, a legal entity will              General Provisions.
                                            with FSA, and those producers will be                   not be eligible to receive payment when
                                                                                                    a valid taxpayer identification number                 Notice and Comment and Effective Date
                                            considered as having timely applied for
                                            catastrophic coverage for the 2022 crop                 for a person or legal entity that holds a                 The Administrative Procedure Act
                                            year if the certification was filed before              direct or indirect ownership interest of               (APA, 5 U.S.C. 553(a)(2)) provides that
                                            the deadline for application for the NAP                10 percent or greater, at or above the                 the notice and comment and 30-day
                                            coverage period.                                        fourth level of ownership in the                       delay in the effective date provisions do
                                               As provided in 7 CFR 1437.2(e), the                  business structure, is not provided to                 not apply when the rule involves
                                                                                                    USDA. This change will allow the legal                 specified actions, including matters
                                            Deputy Administrator may authorize
                                                                                                    entity to earn a partial payment based                 relating to benefits or contracts. This
                                            State and county committees to waive or
                                                                                                    on the ownership shares of the members                 rule governs pandemic assistance and
                                            modify deadlines in cases where
                                                                                                    whose valid taxpayer identification                    disaster assistance payments to certain
                                            lateness or failure to meet such other
                                                                                                    numbers are submitted in cases where a                 commodity producers and therefore
                                            requirements does not adversely affect
                                                                                                    member or members holding less than a                  falls within the benefits exemption for
                                            the operation of NAP; therefore, FSA is
                                                                                                    10 percent interest do not submit a valid              ERP, PARP, ECP, BCAP, and the disaster
                                            amending 7 CFR 1437.6(a) to remove an
                                                                                                    taxpayer identification number.                        assistance programs.
                                            unnecessary provision related to                           NRCS has determined that such                          As specified in 7 U.S.C. 9091, the
                                            applications filed after the deadline.                  change in the notification requirements                regulations to implement the ELAP, LIP,
                                            This rule also makes minor                              is not appropriate for the programs it                 LFP, and NAP are:
                                            clarifications in 7 CFR 1437.7.                         administers. Unlike the intended                           Exempt from the notice and
                                            Payment Eligibility                                     purposes of FSA program payments,                      comment provisions of 5 U.S.C. 553,
                                                                                                    NRCS conservation program payments                     and
                                              Notification of interest requirements                 are not intended to provide economic                       Exempt from the Paperwork
                                            in § 1400.107 provide that an entity is                 support, including in times of disaster,               Reduction Act (44 U.S.C. chapter 35).
                                            ineligible for any payment under any                    to keep operations economically viable.                   As specified in 16 U.S.C. 3648, the
                                            program listed in § 1400.1, including                   Rather, they are payments made to                      regulations to implement EFRP are
                                            certain programs administered by the                    reimburse a participant for costs                      exempt from the Paperwork Reduction
                                            Natural Resources Conservation Service                  incurred by a participant to voluntarily               Act (44 U.S.C. chapter 35).
                                            (NRCS), when the names and taxpayer                     implement conservation practices and                      This rule is exempt from the
                                            identification numbers for members                      activities or payments made for the                    regulatory analysis requirements of the
                                            holding an ownership interest in the                    conveyance of a conservation easement.                 Regulatory Flexibility Act (5 U.S.C.
                                            legal entity are not provided to FSA.                   Therefore, for the programs NRCS                       601–612), as amended by the Small
                                            FSA has determined for the programs                     administers, the participant is ineligible             Business Regulatory Enforcement
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                                            that it administers that prohibiting                    to receive any payment specified in                    Fairness Act of 1996 (SBREFA). The
                                            payments to a legal entity when member                  § 1400.1(a)(7) or as NRCS provides in                  requirements for the regulatory
                                              23 See footnote 7 for an explanation of how long
                                                                                                    individual program regulations if the                  flexibility analysis in 5 U.S.C. 603 and
                                            an underserved producer’s certification remains
                                                                                                    participant fails to provide: (1) the                  604 are specifically tied to the
                                            valid and the requirement to file CCC–860 in            name, address, valid taxpayer                          requirement for a proposed rule by
                                            subsequent years.                                       identification number, and ownership                   section 553 or any other law; in

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                                            addition, the definition of rule in 5                   Emergency Assistance Act (Pub. L. 117–                 an owner, lessee, or contract grower,
                                            U.S.C. 601 is tied to the publication of                43), which provided $10 billion for                    were ineligible for ELAP, LFP, and LIP.
                                            a proposed rule.                                        expenses related to losses of crops                    This rule removes those restrictions.
                                               The Office of Management and Budget                  (including milk, on-farm stored                        Estimated net outlays (accounting for
                                            (OMB) designated this rule as major                     commodities, crops prevented from                      AGI considerations, payment limits, and
                                            under the Congressional Review Act                      planting in 2020 and 2021, and                         other reductions) are $17.7 million
                                            (CRA), as defined by 5 U.S.C. 804(2).                   harvested adulterated wine grapes),                    annually.
                                            Section 808 of the CRA allows an                        trees, bushes, and vines, as a                             Flexibility in Non-Insured Crop
                                            agency to make a major regulation                       consequence of droughts, wildfires,                    Disaster Assistance Program (NAP)
                                            effective immediately if the agency finds               hurricanes, and other events occurring                 Enrollment for Underserved
                                            there is good cause to do so. The                       in calendar years 2020 and 2021.                       Producers—FSA is updating NAP
                                            beneficiaries of this rule have been                    Targeted outlays for ERP Phase 2 are                   provisions regarding program
                                            significantly impacted by the COVID–19                  $1.2 billion; a pro-rate in payments is                flexibilities for underserved producers.
                                            outbreak and disaster events, which has                 likely as gross outlays are projected at               For example, the ‘‘application of
                                            resulted in significant declines in                     $1.5 billion (see Table 1).                            coverage’’ is amended to provide
                                            demand and market disruptions. USDA                        Two programs—including a new                        flexibility as FSA reviews ways to
                                            finds that notice and public procedure                  pandemic assistance program and                        streamline the application process for
                                            are contrary to the public interest.                    additional assistance for underserved                  underserved farmers and ranchers. Net
                                            Therefore, even though this rule is a                   producers—address COVID–19 losses.                     outlays are estimated at $4.3 million
                                            major rule for purposes of the                          Prior rules associated with the COVID–                 annually (identical to the gross outlay
                                            Congressional Review Act, USDA is not                   19 pandemic, CFAP 1, CFAP 2, and                       estimate).
                                            required to delay the effective date for                CFAP 2: Producers of Sales-Based                           Notification of Interest Changes—
                                            60 days from the date of publication to                 Commodities and Contract Producers,                    Prior to this rule, a legal entity was
                                            allow for Congressional review.                         assisted producers of agricultural                     ineligible for farm programs when the
                                            Accordingly, this rule is effective upon                commodities marketed in 2020 who                       names and valid taxpayer identification
                                            publication in the Federal Register.                    faced continuing market disruptions,                   numbers for all members holding an
                                                                                                    reduced farm-level prices, and increased               ownership interest in the entity were
                                            Executive Orders 12866 and 13563                        production and marketing costs due to                  not provided to USDA. Now, a legal
                                               Executive Order 12866, ‘‘Regulatory                  COVID–19. The additional costs are                     entity can receive a partial payment in
                                            Planning and Review,’’ and Executive                    associated with declines in demand,                    cases where a person or legal entity
                                            Order 13563, ‘‘Improving Regulation                     surplus production, or disruptions to                  holding less than a 10 percent direct or
                                            and Regulatory Review,’’ direct agencies                shipping patterns and marketing                        indirect ownership interest fails to
                                            to assessall costs and benefits of                      channels.                                              provide a taxpayer identification
                                            available regulatory alternatives and, if                  In implementing the pandemic related                number. Net outlays are estimated at
                                            regulation is necessary, to select                      programs, USDA determined that                         $3.7 million annually.
                                            regulatory approaches that maximize                     additional assistance was necessary:                       ECP Expansion to Public Lands
                                            net benefits (including potential                           PARP will assist producers with                   (that is, Federally- and State-owned
                                            economic, environmental, public health                  revenue loss resulting from the COVID–                 Land)—ECP provides payments to
                                            and safety effects, distributive impacts,               19 pandemic for eligible agricultural                  farmers and ranchers to rehabilitate
                                            and equity). Executive Order 13563                      commodities. Payments will be made on                  farmland damaged by certain natural
                                            emphasized the importance of                            a whole farm basis and not on a                        disasters and to implement emergency
                                            quantifying both costs and benefits, of                 commodity-by-commodity basis. The                      water conservation measures in periods
                                            reducing costs, of harmonizing rules,                   aggregateallocation for PARP is targeted               of severe drought. ECP eligibility on
                                            and of promoting flexibility. The                       at $250 million; a pro-rate in payments                public lands has not been included in
                                            requirements in Executive Orders 12866                  is likely as gross outlays are projected at            the regulation until now. ECP coverage
                                            and 13563 for the analysis of costs and                 $2.7 billion (Table 1).                                of public lands has been FSA policy, as
                                            benefits apply to rules that are                            CFAP 2 recipients who are                         specified in the FSA handbook, for
                                            determined to be significant.                           underserved (beginning, limited                        many years, however, and FSA staff in
                                               The Office of Management and Budget                  resource, socially disadvantaged, and                  the field have provided ECP assistance
                                            (OMB) designated this rule as                           veteran farmers and ranchers),                         to both public and private lands since
                                            economically significant under                          excluding contract producers, will                     at least the 1990s. As a result, no
                                            Executive Order 12866 and therefore,                    receive a 15-percent top-up payment.                   increase in net outlays is expected.
                                            OMB has reviewed this rule. The costs                   Net outlays are estimated at $325                          ECP and EFRP and the Hermit’s
                                            and benefits of this rule are summarized                million (Table 1). As few underserved                  Peak/Calf Canyon Fire—Section
                                            below. The full cost benefit analysis is                producers are likely to have AGI issues                104(3)(A) of the Continuing
                                            available on regulations.gov.                           or reach the payment limit, gross and                  Appropriations and Ukraine
                                                                                                    net outlays are assumed to be identical.               Supplemental Appropriations Act, 2023
                                            Cost Benefit Analysis Summary                              The other changes relate to existing                authorizes the Federal government to
                                               The cost-benefit analysis covers the                 FSA programs or requirements:                          pay 100 percent of the ECP and
                                            unrelated programs or program changes,                      Expanded Eligibility of Animals in                Emergency Forest Restoration Program
                                            which are included in this rule, that                   Livestock Disaster Programs—This rule                  (EFRP) cost for damage associated with
                                            largely address pandemic assistance or                  makes discretionary changes to ELAP,                   the Hermit’s Peak/Calf Canyon Fire.
                                            natural disaster assistance.                            LFP, and LIP to amend the definition of                This fire burned over 340,000 acres from
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                                               The accompanying rule announces                      eligible livestock. Previously, animals                April 2022 to June 2022 and was the
                                            Phase 2 of the Emergency Relief                         that contributed to the commercial                     largest wildfire in recorded history in
                                            Program (ERP), which addresses eligible                 viability of an operation and were                     New Mexico. The cost-share rate for
                                            crop losses not included in ERP Phase                   maintained for the purposes of pleasure,               both ECP and EFRP, prior to this
                                            1. ERP is authorized in the Extending                   roping, hunting, pets, or show, as well                legislation, was generally 75 percent
                                            Government Funding and Delivering                       as animals intended for consumption by                 regardless of location. The legislation

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                                            applies only to the locale of the Hermit’s                            as well as the targeted caps on ERP                              paperwork to participate in these
                                            Peak/Calf Canyon Fire. The expected                                   Phase 2 and PARP spending, net outlays                           programs, and the associated
                                            net cost is $22.5 million for FY 2023.                                are estimated at $1.8 billion. ERP Phase                         administrative costs are estimated at
                                              Gross outlays for these items are                                   2 accounts for about two-thirds of                               $18.4 million. Note that ERP Phase 2,
                                            estimated at $4.5 billion (see Table 1).                              expected total net outlays.                                      PARP, and the Hermit’s Peak/Calf’s
                                            After taking into account AGI                                           FSA will administer all programs in                            Canyon ECP/EFRP fire item use
                                            considerations and payment limitations,                               Table 1. Producers must fill out                                 exclusively appropriated funds.

                                                  TABLE 1—ESTIMATED GROSS AND NET OUTLAYS FOR THE PANDEMIC ASSISTANCE AND AGRICULTURAL DISASTER
                                                                             ASSISTANCE PROGRAMS RULE FOR FY 2023
                                                                                                          Gross estimated               Net estimated                Implementing
                                                                    Item                                                                                                                                  Funding source
                                                                                                          outlays in 2023                  outlays                     agency

                                            Item 1—Emergency Relief Program                              $1.504 billion a ......     $1.2 billion ............   FSA .......................    Extending Government Funding and
                                               (ERP) Phase 2.                                                                                                                                     Delivering Emergency Assistance
                                                                                                                                                                                                  Act.
                                            Item 2—PARP ......................................           $2.662 billion b ......     250 million ............    FSA .......................    CAA.
                                            Item 3—15 Percent Top-Up for Under-                          325 million ............    325 million ............    FSA .......................    CCC net transfer except for the to-
                                               served Recipients of CFAP 2 Pay-                                                                                                                   bacco portion, which is from the
                                               ments.                                                                                                                                             CARES Act.
                                            Item 4—Recreational Animals and                              19.5 million ...........    17.7 million ...........    FSA .......................    CCC.
                                               Livestock Disaster Programs.
                                            Item 5—Flexibility in NAP Enrollment                         4.3 million .............   4.3 million .............   FSA .......................    CCC.
                                               for Underserved Producers d .
                                            Item     6—Notification      of       Interest               3.7 million .............   3.7 million .............   FSA .......................    CCC.
                                               Changes.
                                            Item 7—ECP and Public Lands ............                     No change in cost           No change in cost           FSA .......................    CCC.
                                            Item 8—ECP and EFRP and the Her-                             24.2 million ...........    22.5 million ...........    FSA .......................    Continuing     Appropriations and
                                               mit’s Peak/Calf’s Canyon Fire c .                                                                                                                 Ukraine Supplemental Appropria-
                                                                                                                                                                                                 tions Act, 2023.

                                                 Total ...............................................   4.54 billion ............   1.82 billion ............
                                               a This estimate uses the 50-percent loss scenario. Note that both 2020 and 2021 losses are expected to be paid in FY 2023. The significant
                                            difference between gross and net outlays is because the targeted amount for ERP Phase 2 spending is $1.2 billion.
                                               b This estimate represents the most plausible scenario but, as discussed below, gross estimated outlays could be considerably higher. Note
                                            that the significant difference between gross and net outlays is because the targeted amount for PARP spending is $250 million.
                                               c The difference between the gross and net amount is due to adjusted gross income (AGI) considerations, payment limitations, and other re-
                                            ductions.
                                               d This estimate uses the 20 percent increase-in-participation scenario.
                                               Note: Benefits associated with items 4 through 7 continue in FY 2023 and in perpetuity in each FY beyond. Payments associated with Items 1,
                                            2, 3, and 8 are assumed to be paid in FY 2023 and to not continue beyond.


                                            Environmental Review                                                  any expectation of what a new USDA                               environmental impacts resulting from
                                                                                                                  program might look like.                                         implementing the mandatory changes to
                                               The environmental impacts of this                                     This rule includes discretionary                              those programs. Accordingly, these
                                            final rule have been considered in a                                  amendments for ECP and EFRP.                                     discretionary aspects are coved by the
                                            manner consistent with the provisions                                 Accordingly, the discretionary                                   following Categorical Exclusion: in 7
                                            of the National Environmental Policy                                  provisions of this action are covered by                         CFR 799.31(b)(6)(vi) safety net programs
                                            Act (NEPA, 42 U.S.C. 4321–4347), the                                  the Categorical Exclusion, in 7 CFR                              administrated by FSA. ERP Phase 2 is a
                                            regulations of the Council on                                         799.31(b)(2)(iii) for minor amendments                           new regulation, which is a benefit
                                            Environmental Quality (40 CFR parts                                   or revisions to previously approved                              program providing assistance after
                                            1500–1508), and because USDA will be                                  actions and § 799.31(b)(3)(i), for the                           specific natural disasters; therefore,
                                            making the payments to producers, the                                 issuance of minor technical corrections                          similar to the other programs discussed
                                            USDA regulation for compliance with                                   to regulations.                                                  in this paragraph, ERP Phase 2 has
                                            NEPA (7 CFR part 1b).                                                    The rule implements discretionary                             similar discretionary aspects that are
                                               Although OMB has designated this                                   amendments for BCAP, CFAP, ELAP,                                 coved by the following Categorical
                                            rule as ‘‘economically significant’’                                  LIP, LFP, NAP, and PARP. The                                     Exclusion: in 7 CFR 799.31(b)(6)(vi)
                                            under Executive Order 12866, ‘‘. . .                                  discretionary aspects are to improve                             safety net programs administrated by
                                            economic or social effects are not                                    administration of the programs and                               FSA.
                                            intended by themselves to require                                     clarify existing program requirements.                              Through this review, FSA determined
                                            preparation of an environmental impact                                The change to BCAP is a technical                                that the proposed discretionary changes
                                            statement’’ when not interrelated to                                  clarification and does not alter the                             in this rule fit within the categorical
                                            natural or physical environmental                                     impacts or alternatives previously                               exclusions listed above. Categorical
                                            effects (see 40 CFR 1502.16(b)). The                                  considered in the BCAP Programmatic                              exclusions apply when no extraordinary
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                                            pandemic assistance and disaster                                      Environmental Impact Statement and                               circumstances (§ 799.33) exist.
                                            assistance programs were designed to                                  Record of Decision dated June 2010.                              Therefore, as this rule presents only
                                            avoid skewing planting decisions.                                     FSA is providing the disaster assistance                         discretionary amendments that will not
                                            Producers continue to make their                                      under ELAP, LIP, LFP, and NAP to                                 have an impact to the human
                                            planting and production decisions with                                eligible producers. The discretionary                            environments, individually or
                                            the market signals in mind, rather than                               provisions would not alter any                                   cumulatively, FSA will not prepare an

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                                            environmental assessment or                             assessthe effects of their regulatory                  information collection activity was
                                            environmental impact statement for this                 actions of State, local, and Tribal                    submitted to OMB for emergency
                                            rule; this rule serves as documentation                 governments or the private sector.                     approval. FSA will collect and evaluate
                                            of the programmatic environmental                       Agencies generally must prepare a                      the application and other required
                                            compliance decision for this federal                    written statement, including cost                      paperwork from the producers for
                                            action.                                                 benefits analysis, for proposed and final              PARP. The forms are described above in
                                            Executive Order 12988                                   rules with Federal mandates that may                   the PARP Application Process section.
                                                                                                    result in expenditures of $100 million or              Following the 60-day public comment
                                               This rule has been reviewed under                    more in any 1 year for State, local or                 period provided by this rule, FSA
                                            Executive Order 12988, ‘‘Civil Justice                  Tribal governments, in the aggregate,or                intends to request 3-year OMB approval
                                            Reform.’’ This rule will not preempt                    to the private sector. UMRA generally                  to cover the PARP information
                                            State or local laws, regulations, or                    requires agencies to consider                          collection request.
                                            policies unless they represent an                       alternatives and adopt the more cost                      Title: PARP.
                                            irreconcilable conflict with this rule.                 effective or least burdensome alternative                 OMB Control Number: 0560–New.
                                            For the payment eligibility regulation                  that achieves the objectives of the rule.                 Type of Request: New Collection.
                                            changes, payments will be adjusted                      This rule contains no Federal mandates,                   Abstract: This information collection
                                            retroactively, starting in January 2020,                as defined in Title II of UMRA, for State,             is required to support PARP information
                                            as discussed above in the Payment                       local and Tribal governments or the                    collection activities to provide
                                            Eligibility section, above. For the ELAP                private sector. Therefore, this rule is not            payments to eligible producers who,
                                            regulation changes, payments will be                    subject to the requirements of sections                with respect to their agricultural
                                            made retroactively starting at January 1,               202 and 205 of UMRA.                                   commodities, have been impacted by
                                            2021, as discussed in the Cost Benefit                                                                         the effects of the COVID–19 pandemic.
                                            Analysis Summary section, above.                        Federal AssistancePrograms                             The information collection is necessary
                                            Before any judicial actions may be                        The titles and numbers of the Federal                to evaluate the application and other
                                            brought regarding the provisions of this                Domestic Assistance Programs found in                  required paperwork for determining the
                                            rule, the administrative appeal                         the Catalog of Federal Domestic                        producer’s eligibility and assist in the
                                            provisions of 7 CFR parts 11 and 780 are                Assistance to which this rule applies                  producer’s payment calculations. The
                                            to be exhausted.                                        are:                                                   forms are included in the request.
                                                                                                    10.051—Commodity Loans and Loan                           For the following estimated total
                                            Executive Order 13175
                                                                                                      Deficiency Payments                                  annual burden on respondents, the
                                               This rule has been reviewed in                                                                              formula used to calculate the total
                                                                                                    10.054—Emergency Conservation
                                            accordance with the requirements of                                                                            burden hour is the estimated average
                                                                                                      Program
                                            Executive Order 13175, ‘‘Consultation                                                                          time per response multiplied by the
                                                                                                    10.069—Conservation Reserve Program
                                            and Coordination with Indian Tribal                     10.087—Biomass Crop Assistance                         estimated total annual responses.
                                            Governments.’’ Executive Order 13175                      Program                                                 Estimate of Respondent Burden:
                                            requires Federal agencies to consult and                10.088—Livestock Indemnity Program                     Public reporting burden for this
                                            coordinate with Tribes on a                             10.089—Livestock Forage Disaster                       information collection is estimated to
                                            government-to-government basis on                         Program                                              average 0.51385 hours per response,
                                            policies that have Tribal implications,                 10.091—Emergency Assistance for                        including the time for reviewing
                                            including regulations, legislative                        Livestock, Honeybees, and Farm-                      instructions, searching existing data
                                            comments or proposed legislation, and                     Raised Fish Program                                  sources, gathering and maintaining the
                                            other policy statements or actions that                 10.092—Tree Assistance Program                         data needed, and completing and
                                            have substantial direct effects on one or               10.112—Price Loss Coverage                             reviewing the collections of
                                            more Indian Tribes, on the relationship                 10.113—Agriculture Risk Coverage                       information.
                                            between the Federal Government and                      10.130—Coronavirus Food Assistance                        Type of Respondents: Producers or
                                            Indian Tribes, or on the distribution of                  Program 1                                            farmers.
                                            power and responsibilities between the                  10.132—Coronavirus Food Assistance                        Estimated Annual Number of
                                            Federal Government and Indian Tribes.                     Program 2                                            Respondents: 313,901.
                                               USDA has assessedthe impact of this                  10.143—Pandemic Assistance Revenue                        Estimated Number of Responses per
                                            rule on Indian Tribes and determined                      Program                                              Respondent: 1.6550.
                                            that this rule does not, to our                         10.451—Noninsured Assistance                              Estimated Total Annual Responses:
                                            knowledge, have Tribal implications                     10.912—Environmental Quality                           519,506.
                                            that required Tribal consultation under                   Incentives Program                                      Estimated Average Time per
                                            Executive Order 13175 at this time. If a                10.917—Agricultural Management                         Response: 0.51385 hours.
                                            Tribe requests consultation, the USDA                     Assistance                                              Estimated Annual Burden on
                                            Office of Tribal Relations (OTR) will                   10.964—Emergency Relief Program                        Respondents: 266,947 hours.
                                            ensure meaningful consultation is                                                                                 Also, FSA is requesting comments
                                                                                                    Paperwork Reduction Act                                from all interested individuals and
                                            provided where changes, additions, and
                                            modifications are not expressly                           As noted above, the regulations to                   organizations on a new information
                                            mandated by law. Outside of Tribal                      implement the EFRP, ELAP, LIP, LFP,                    collection associated with ERP Phase 1
                                            consultation, USDA is working with                      and NAP changes are exempt from PRA                    and 2. The emergency request was
                                            Tribes to provide information about                     as specified in 7 U.S.C. 9091(c)(2)(B)                 approved for the ERP Phase 1 using
                                            pandemic assistance, agricultural                       and 16 U.S.C. 3846(b)(1).                              OMB control number 0560–0309. The
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                                            disaster assistance, and other issues.                    For ECP and BCAP, there are no                       emergency request was approved for the
                                                                                                    changes to the information collection                  ERP Phase 2 using temporary OMB
                                            Unfunded Mandates                                       activities approved by OMB under                       control number. The ERP Phase 2 will
                                              Title II of the Unfunded Mandates                     control number 0560–0082.                              be merged with the approved 0560–
                                            Reform Act of 1995 (UMRA, Pub. L.                         In accordance with the Paperwork                     0309 information collection request.
                                            104–4) requires Federal agencies to                     Reduction Act of 1995, the PARP                        ERP is for the producers who suffered

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                                            losses of crops, trees, bushes, and vines                  Type of Request: New.                               submission for Office of Management
                                            due to wildfires, hurricanes, floods,                      Abstract: This information collection               and Budget approval.
                                            derechos, excessive heat, winter storms,                is required to support CFAP 2
                                                                                                                                                           USDA Non-Discrimination Policy
                                            freeze (including a polar vortex), smoke                information collection activities to
                                            exposure, excessive moisture, qualifying                provide payments to eligible producers                    In accordance with Federal civil
                                            drought, and related conditions                         who, with respect to their agricultural                rights law and U.S. Department of
                                            occurring in calendar years 2020 and                    commodities, have been impacted by                     Agriculture (USDA) civil rights
                                            2021. FSA needs to disburse the                         the effects of the COVID–19 pandemic.                  regulations and policies, USDA, its
                                            payments to the eligible producers to                   The information collection is necessary                Agencies, offices, and employees, and
                                            cover the losses of crops, trees, bushes                to evaluate the application and other                  institutions participating in or
                                            and vines, and the payments will                        required paperwork for determining the                 administering USDA programs are
                                            seriously assist the producers not to                   producer’s eligibility and assist in the               prohibited from discriminating based on
                                            consider making business decisions to                   producer’s payment calculations.                       race, color, national origin, religion, sex,
                                            lose the farm business.                                    For the following estimated total                   gender identity (including gender
                                               Title: ERP Phase 2.                                  annual burden on respondents, the                      expression), sexual orientation,
                                               Type of Request: New.                                formula used to calculate the total                    disability, age, marital status, family or
                                               Abstract: ERP is for the producers                   burden hour is the estimated average                   parental status, income derived from a
                                            who suffered losses of crops, trees,                    time per response multiplied by the                    public assistance program, political
                                            bushes, and vines due to wildfires,                     estimated total annual responses.                      beliefs, or reprisal or retaliation for prior
                                            hurricanes, floods, derechos, excessive                    Estimate of Respondent Burden:                      civil rights activity, in any program or
                                            heat, winter storms, freeze (including a                Public reporting burden for this                       activity conducted or funded by USDA
                                            polar vortex), smoke exposure,                          information collection is estimated to                 (not all bases apply to all programs).
                                            excessive moisture, qualifying drought,                 average 0.0999 hours per response,                     Remedies and complaint filing
                                            and related conditions occurring in                     including the time for reviewing                       deadlines vary by program or incident.
                                            calendar years 2020 and 2021. FSA                       instructions, searching existing data                     Persons with disabilities who require
                                            needs to disburse the payments to the                   sources, gathering and maintaining the                 alternative means of communication for
                                            eligible producers to cover the losses of               data needed, and completing and                        program information (for example,
                                            crops, trees, bushes and vines, and the                 reviewing the collections of                           braille, large print, audiotape, American
                                            payments will seriously assist the                      information.                                           Sign Language, etc.) should contact the
                                            producers not to consider making                           Type of Respondents: Producers or                   responsible Agency or USDA TARGET
                                            business decisions to lose the farm                     farmers.                                               Center at (202) 720–2600 or (844) 433–
                                            business.                                                  Estimated Annual Number of                          2774 (toll-free nationwide).
                                               For the following estimated total                    Respondents: 96,973.                                   Additionally, program information may
                                            annual burden on respondents, the                          Estimated Number of Responses per                   be made available in languages other
                                            formula used to calculate the total                     Respondent: 1.                                         than English.
                                            burden hour is the estimated average                       Estimated Total Annual Responses:                      To file a program discrimination
                                            time per response multiplied by the                     96,973.                                                complaint, complete the USDA Program
                                            estimated total annual responses.                          Estimated Average Time per                          Discrimination Complaint Form, AD–
                                               Estimate of Respondent Burden:                       Response: 0.0999 hours.                                3027, found online at https://
                                            Public reporting burden for this                           Estimated Annual Burden on                          www.usda.gov/oascr/how-to-file-a-
                                            information collection is estimated to                  Respondents: 9,697 hours.                              program-discrimination-complaint and
                                            average 0.54492 hours per response,                        FSA is requesting comments on all                   at any USDA office or write a letter
                                            including the time for reviewing                        aspects of this information collection to              addressed to USDA and provide in the
                                            instructions, searching existing data                   help FSA to:                                           letter all the information requested in
                                            sources, gathering and maintaining the                                                                         the form. To request a copy of the
                                                                                                       (1) Evaluate whether the collection of
                                            data needed, and completing and                                                                                complaint form, call (866) 632–9992.
                                                                                                    information is necessary for the proper
                                            reviewing the collections of                                                                                   Submit your completed form or letter to
                                                                                                    performance of the functions of FSA,
                                            information.                                                                                                   USDA by mail to: U.S. Department of
                                                                                                    including whether the information will
                                               Type of Respondents: Producers or                                                                           Agriculture, Office of the Assistant
                                                                                                    have practical utility;
                                            farmers.                                                                                                       Secretary for Civil Rights, 1400
                                               Estimated Annual Number of                              (2) Evaluate the accuracy of the FSA’s
                                                                                                    estimate of burden including the                       Independence Avenue SW, Washington,
                                            Respondents: 48,402.                                                                                           DC 20250–9410 or email: OAC@
                                               Estimated Number of Responses per                    validity of the methodology and
                                                                                                    assumptions used;                                      usda.gov.
                                            Respondent: 2.085.                                                                                                USDA is an equal opportunity
                                               Estimated Total Annual Responses:                       (3) Enhance the quality, utility, and
                                                                                                    clarity of the information to be                       provider, employer, and lender.
                                            100,918.
                                               Estimated Average Time per                           collected; and                                         List of Subjects
                                            Response: 0.54492 hours.                                   (4) Minimize the burden of the
                                                                                                    collection of information on those who                 7 CFR Part 9
                                               Estimated Annual Burden on
                                            Respondents: 54,992 hours.                              are to respond, including through the                    Agricultural commodities,
                                               Also, FSA is requesting comments                     use of appropriate automated,                          Agriculture, Disaster assistance,
                                            from all interested individuals and                     electronic, mechanical, or other                       Indemnity payments.
                                            organizations on a new information                      technological collection techniques or
                                                                                                                                                           7 CFR Part 701
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                                            collection associated with CFAP 2. The                  other forms of information technology.
                                            emergency request was approved under                       All comments received in response to                  Disaster assistance, Environmental
                                            a temporary OMB control number and                      this document, including names and                     protection, Forests and forest products,
                                            will merge with CFAP 2 under the OMB                    addresses when provided, will be a                     Grant programs—agriculture, Grant
                                            control number 0560–0297.                               matter of public record. Comments will                 programs—natural resources, Reporting
                                               Title: CFAP 2.                                       be summarized and included in the                      and recordkeeping requirements, Rural

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                                            areas, Soil conservation, Water                         ■ c. In paragraph (d), remove words ‘‘the              ■ c. Add paragraph (i).
                                            resources, Wildlife.                                    programs of this part’’ and add ‘‘CFAP’’                   The addition reads as follows.
                                                                                                    in their place.
                                            7 CFR Part 760                                                                                                 § 9.7   Miscellaneous provisions.
                                                                                                    ■ 5. Amend § 9.2 as follows:
                                              Dairy products, Indemnity payments,                                                                          *      *     *      *     *
                                                                                                    ■ a. In the introductory text, remove the
                                            Reporting and recordkeeping                                                                                       (i) To be eligible to receive a CFAP
                                                                                                    words ‘‘this part’’ and add ‘‘subparts A               payment and facilitate administration of
                                            requirements.                                           through C of this part’’ in its place;                 paragraphs (d) and (e) of this section, a
                                                                                                    ■ b. In the definition of ‘‘NOFA’’,
                                            7 CFR Part 1400                                                                                                person or legal entity must provide their
                                                                                                    remove the words ‘‘under this part’’;
                                              Agriculture, Grant programs—                                                                                 name, address, and taxpayer
                                                                                                    and
                                            agriculture, Loan programs—agriculture,                                                                        identification number to USDA. In
                                                                                                    ■ c. Add a definition for ‘‘Ownership
                                            Natural resources, Price support                                                                               addition, a legal entity must provide the
                                                                                                    interest’’ in alphabetical order.
                                            programs.                                                                                                      name taxpayer identification number,
                                                                                                       The addition reads as follows:
                                                                                                                                                           address and ownership share of each
                                            7 CFR Part 1416                                         § 9.2   Definitions.                                   person or legal entity that holds or
                                              Administrative practice and                           *       *    *     *     *                             acquires a direct or indirect ownership
                                            procedure, Agriculture, Disaster                           Ownership interest means to have                    interest in the legal entity. CFAP
                                            assistance, Fruits, Livestock, Nursery                  either legal ownership interest or                     payments to a legal entity will be
                                            stock, Seafood.                                         beneficial ownership interest in a legal               reduced in proportion to a member’s
                                                                                                    entity. For the purposes of                            ownership share when the taxpayer
                                            7 CFR Part 1437                                         administering CFAP, a person or legal                  identification number for a person or
                                              Acreage allotments, Agricultural                      entity that owns a share or stock in a                 legal entity that holds less than a 10
                                            commodities, Crop insurance, Disaster                   legal entity that is a corporation, limited            percent direct or indirect ownership
                                            assistance, Fraud, Penalties, Reporting                 liability company, limited partnership,                interest at, or above, the fourth level of
                                            and recordkeeping requirements.                         or similar type entity, and shares in the              ownership in the business structure is
                                                                                                    profits or losses of such entity is                    not provided to USDA. Additionally, a
                                            7 CFR Part 1450                                         considered to have an ownership                        legal entity will not be eligible to
                                               Administrative practice and                          interest in such legal entity. A person or             receive CFAP payments when a valid
                                            procedure, Agriculture, Energy,                         legal entity that is a beneficiary of a                taxpayer identification number for a
                                            Environmental protection, Grant                         trust or heir of an estate who benefits                person or legal entity that holds a direct
                                            programs-agriculture, Natural resources,                from the profits or losses of such entity              or indirect ownership interest of 10
                                            Reporting and recordkeeping                             is also considered to have an ownership                percent or greater, at or above the fourth
                                            requirements, Technical assistance.                     interest in such legal entity.                         level of ownership in the business
                                                                                                                                                           structure, is not provided to USDA.
                                               For the reasons discussed above, this                *       *    *     *     *
                                            final rule amends 7 CFR parts 9, 701,                                                                          Subpart B—CFAP 1
                                            760, 1400, 1416, 1437, and 1450 as                      § 9.3   [Amended]
                                            follows:                                                ■ 6. Amend § 9.3 as follows:                           § 9.101   [Amended]
                                                                                                    ■ a. In paragraph (a), remove the words                ■ 9. Amend § 9.101, in the definition  of
                                            PART 9—PANDEMIC ASSISTANCE                              ‘‘this part’’ and add ‘‘subparts A through             ‘‘All other cattle’’, by removing the word
                                            PROGRAMS                                                C of this part’’ in their place; and                   ‘‘part’’ and adding ‘‘subpart’’ in its
                                                                                                    ■ b. In paragraph (b)(2), remove the                   place.
                                            ■ 1. The authoritycitation for part 9                   words ‘‘this part means’’ and add
                                            continues to read as follows:                                                                                  ■ 10. Amend § 9.102 as follows:
                                                                                                    ‘‘subparts A through C of this part                    ■ a. In paragraph (c) introductory text,
                                              Authority: 15 U.S.C. 714b and 714c;                   means’’ in its place.                                  remove the word ‘‘two’’ and add ‘‘three’’
                                            Division B, Title I, Pub. L. 116–136, 134 Stat.         ■ 7. Amend § 9.4 by adding paragraph                   in its place;
                                            505; and Division N, Title VII, Subtitle B,             (e) to read as follows:                                ■ b. In paragraph (c)(1), remove the
                                            Chapter 1, Pub. L. 116–260.
                                                                                                                                                           word ‘‘and’’;
                                                                                                    § 9.4   Time and method of application.                ■ c. In paragraph (c)(2), remove the
                                            ■ 2. Revise the heading for part 9 to read
                                            as set forth above.                                     *      *     *       *    *                            period and add ‘‘; and’’ at the end of the
                                                                                                       (e) To receive an additional payment                paragraph;
                                            Subpart A—CFAP General Provisions                       under § 9.203(p), a producer must                      ■ d. Add paragraph (c)(3);
                                                                                                    submit form CCC–860, Socially                          ■ e. In paragraph (d) introductory text,
                                            ■ 3. Revise the heading for subpart A to                Disadvantaged, Limited Resource,                       remove the word ‘‘three’’ and add ‘‘two’’
                                            read as set forth above.                                Beginning and Veteran Farmer or                        in its place;
                                                                                                    Rancher Certification, with a                          ■ f. In paragraph (d)(1), add the word
                                            § 9.1   [Amended]                                                                                              ‘‘and’’ at the end of the paragraph;
                                                                                                    certification applicable to the 2020
                                            ■ 4. Amend § 9.1 as follows:                            program year by the date announced by                  ■ g. In paragraph (d)(2), remove ‘‘; and’’
                                            ■ a. In paragraph (a) introductory  text,               the Deputy Administrator.                              and add a period in its place; and
                                            remove the words ‘‘This part specifies’’                                                                       ■ h. Remove paragraph (d)(3).
                                                                                                    ■ 8. Amend § 9.7 as follows:
                                            and add ‘‘Subparts A through C of this                                                                            The addition reads as follows.
                                                                                                    ■ a. In paragraphs (b), (c), (d), and
                                            part specify’’ in their place, and remove               (e)(2)(ii) and (iii), add the words                    § 9.102   Calculation of payments.
                                            the words ‘‘payment made under this                     ‘‘subparts A through C of’’ before the                 *      *    *     *    *
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                                            part’’ and add ‘‘CFAP payment’’ in their                words ‘‘this part’’ each time they                       (c) * * *
                                            place;                                                  appear;                                                  (3) Cattle inventory owned between
                                            ■ b. In paragraph (c), remove the words                 ■ b. In paragraph (h), remove the words                April 16, 2020, to May 14, 2020,
                                            ‘‘this part’’ each time they appear and                 ‘‘This part applies’’ and add ‘‘Subparts               multiplied by:
                                            add ‘‘subparts A through C of this part’’               A through C of this part apply’’ in their                (i) $14.75 for slaughter cattle—mature
                                            in their place; and                                     place; and                                             cattle;

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                                              (ii) $63 for slaughter cattle—fed cattle;                (1) American Indians or Alaskan                         (p) An additional payment equal to 15
                                              (iii) $7 for feeder cattle less than 600              Natives;                                                percent of a producer’s CFAP 2 payment
                                            pounds;                                                    (2) Asians or Asian-Americans;                       calculated according to paragraphs (a)
                                              (iv) $25.50 for feeder cattle 600                        (3) Blacks or African Americans;                     through (k) of this section will be issued
                                            pounds or more; and                                        (4) Hispanics or Hispanic Americans;                 to producers who have certified their
                                              (v) $17.25 for all other cattle.                         (5) Native Hawaiians or other Pacific                status as an underserved farmer or
                                            *      *     *     *    *                               Islanders; and                                          rancher, applicable to the 2020 program
                                                                                                       (6) Women.                                           year, on CCC–860, Socially
                                            Subpart C—CFAP 2                                        *       *    *     *     *                              Disadvantaged, Limited Resource,
                                                                                                       Underserved farmer or rancher means                  Beginning and Veteran Farmer or
                                            ■ 11. In § 9.201, add definitionsfor                    a beginning farmer or rancher, limited                  Rancher Certification.
                                            ‘‘Beginning farmer or rancher’’,                        resource farmer or rancher, socially
                                            ‘‘Limited resource farmer or rancher’’,                                                                         ■ 14. Add subpart D, consisting of
                                                                                                    disadvantaged farmer or rancher, or
                                            ‘‘Socially disadvantaged farmer or                      veteran farmer or rancher.                              §§ 9.301 through 9.310, to read as
                                            rancher’’, ‘‘Underserved farmer or                                                                              follows:
                                                                                                    *       *    *     *     *
                                            rancher’’, and ‘‘Veteran farmer or                         Veteran farmer or rancher means a                    Subpart D—Pandemic Assistance Revenue
                                            rancher’’ in alphabetical order to read as              farmer or rancher:                                      Program
                                            follows:                                                   (1) Who has served in the Armed                      Sec.
                                                                                                    Forces (as defined in 38 U.S.C.                         9.301 Applicability and administration.
                                            § 9.201   Definitions.                                                                                          9.302 Definitions.
                                                                                                    101(10) 25 ) and:
                                            *       *     *     *     *                                (i) Has not operated a farm or ranch                 9.303 Producer eligibility requirements.
                                               Beginning farmer or rancher means a                  for more than 10 years; or                              9.304 Allowable gross revenue.
                                            farmer or rancher who has not operated                     (ii) Has obtained status as a veteran                9.305 Time and method of application.
                                            a farm or ranch for more than 10 years                  (as defined in 38 U.S.C. 101(2) 26 ) during             9.306 Payment calculation.
                                            and who materially and substantially                                                                            9.307 Adjusted gross income limitation,
                                                                                                    the most recent 10-year period; or
                                            participates in the operation. For a legal                                                                           payment limitation, and attribution.
                                                                                                       (2) That is an entity and at least 50                9.308 Eligibility subject to verification.
                                            entity to be considered a beginning                     percent of the ownership interest is held               9.309 Miscellaneous provisions.
                                            farmer or rancher, at least 50 percent of               by members who meet the criteria in                     9.310 Perjury.
                                            the interest must be beginning farmers                  paragraph (1) of this definition.
                                            or ranchers.                                            *       *    *     *     *                              Subpart D—Pandemic Assistance
                                            *       *     *     *     *                                                                                     Revenue Program
                                               Limited resource farmer or rancher                   § 9.202    [Amended]
                                            means a farmer or rancher:                                                                                      § 9.301   Applicability and administration.
                                                                                                    ■ 12. Amend § 9.202 as follows:
                                               (1) Who is a person whose:                           ■ a. In paragraph (a), remove the words                    (a) This subpart specifies the
                                               (i) Direct or indirect gross farm sales              ‘‘this part’’ and add the words ‘‘subpart               eligibility requirements and payment
                                            did not exceed $180,300 in each                         A of this part and this subpart’’ in their              calculations for the Pandemic
                                            calendar year for 2017 and 2018 (the                    place; and                                              Assistance Revenue Program (PARP).
                                            relevant years for the 2020 program                     ■ b. In paragraphs (b)(4) and (d)(2),                   FSA is administering PARP to respond
                                            year); and                                              remove the words ‘‘this part’’ and add                  to the COVID–19 pandemic by
                                               (ii) Total household income was at or                the words ‘‘subpart A of this part and                  providing support for eligible producers
                                            below the national poverty level for a                  this subpart’’ in their place.                          of agricultural commodities who
                                            family of four in each of the same two                  ■ 13. Amend § 9.203 as follows:                         suffered an eligible revenue loss in
                                            previous years referenced in paragraph                  ■ a. Add paragraph (a)(5);                              calendar year 2020 due to the COVID–
                                            (1)(i) of this definition; 24 or                        ■ b. In paragraph (b), add a sentence at                19 pandemic. To be eligible for PARP
                                               (2) That is an entity and all members                the end of the paragraph;                               payments, participants must comply
                                            who hold an ownership interest in the                   ■ c. In paragraphs (f)(2) and (h)(2),                   with all provisions under this subpart.
                                            entity meet the criteria in paragraph (1)               remove the word ‘‘part’’ and add the                       (b) PARP is administered under the
                                            of this definition.                                     word ‘‘subpart’’ in its place; and                      general supervision and direction of the
                                            *       *     *     *     *                             ■ d. Add paragraph (p).                                 Administrator, Farm Service Agency
                                               Socially disadvantaged farmer or                         The additions read as follows.                      (FSA).
                                            rancher means a farmer or rancher who                   § 9.203    Calculation of payments.                        (c) The FSA State committee will take
                                            is a member of a group whose members                       (a) * * *                                            any action required by this subpart that
                                            have been subjected to racial, ethnic, or                  (5) An additional payment will be                    an FSA county committee has not taken.
                                            gender prejudice because of their                       issued for price trigger crops equal to                 The FSA State committee will also:
                                            identity as members of a group without                  the eligible acres of the crop multiplied                  (1) Correct, or require an FSA county
                                            regard to their individual qualities. For               by a payment rate of $20 per acre.                      committee to correct, any action taken
                                            entities, at least 50 percent of the                       (b) * * * An additional payment will                 by such county FSA committee that is
                                            ownership interest must be held by                      be issued for flat-rate crops equal to the              not in accordance with the regulations
                                            individuals who are members of such a                   eligible acres of the crop multiplied by                of this subpart; or
                                            group. Socially disadvantaged groups                    a payment rate of $20 per acre.                            (2) Require an FSA county committee
                                            include the following and no others                     *      *     *     *    *                               to withhold taking any action that is not
                                            unless approved in writing by the                                                                               in accordance with this subpart.
                                            Deputy Administrator:                                      25 The term ‘‘Armed Forces’’ means the United           (d) No provision or delegation to an
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                                                                                                    States Army, Navy, Marine Corps, Air Force, Space       FSA State or county committee will
                                              24 Limited resource farmer or rancher status can      Force, and Coast Guard, including the reserve           preclude the FSA Administrator, the
                                            be determined using a website available through the     components.                                             Deputy Administrator, or a designee or
                                            Limited Resource Farmer and Rancher Online Self            26 The term ‘‘veteran’’ means a person who served

                                            Determination Tool through Natural Resources            in the active military, naval, air, or space service,
                                                                                                                                                            other such person, from determining
                                            Conservation Service at https://lrftool.sc.egov.        and who was discharged or released under                any question arising under the programs
                                            usda.gov.                                               conditions other than dishonorable.                     of this subpart, or from reversing or

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                                            modifying any determination made by                        BCAP means the Biomass Crop                            ERP means the Emergency Relief
                                            an FSA State or county committee.                       Assistance Program under 7 CFR part                    Program, which was administered in 2
                                               (e) The Deputy Administrator has the                 1450.                                                  phases:
                                            authority to permit State and county                       Beginning farmer or rancher means a                    (1) ERP Phase 1, administered
                                            committees to waive or modify                           farmer or rancher who has not operated                 according to the notice of funds
                                            deadlines (except deadlines specified in                a farm or ranch for more than 10 years                 availability published in the Federal
                                            a law) and other requirements or                        and who materially and substantially                   Register on May 18, 2022 (87 FR 30164–
                                            program provisions not specified in law,                participates in the operation. For a legal             30172) and the clarification to the notice
                                            in cases where lateness or failure to                   entity to be considered a beginning                    of funds availability that was published
                                            meet such other requirements or                         farmer or rancher, at least 50 percent of              on August 18, 2022 (87 FR 50828–
                                            program provisions do not adversely                     the interest must be beginning farmers                 50830); and
                                            affect operation of PARP.                               or ranchers.                                              (2) ERP Phase 2, administered
                                                                                                       Cattle feeder operation means an                    according to 7 CFR part 760, subpart S.
                                            § 9.302   Definitions.                                                                                            Farming operation means a business
                                                                                                    operation that intensely feeds cattle on
                                               The following definitions apply to                   behalf of another person or entity for                 enterprise engaged in the production of
                                            this subpart. The definitions in part                   finishing purposes and is compensated                  agricultural products, commodities, or
                                            1400 of this title apply, except where                  based on feed, yardage, or weight gain                 livestock, operated by a person, legal
                                            they conflict with the definitions in this              of the cattle.                                         entity, or joint operation, and that is
                                            section.                                                   CCC means the Commodity Credit                      eligible to receive payments, directly or
                                               2017 WHIP means the 2017 Wildfires                   Corporation.                                           indirectly, under this subpart. A person
                                            and Hurricanes Indemnity Program                           CFAP means the Coronavirus Food                     or legal entity may have more than one
                                            under 7 CFR part 760, subpart O.                        Assistance Program 1 and 2 under 7                     farming operation if the person or legal
                                               Agricultural commodity means a crop,                 CFR part 9, subparts A through C,                      entity is a member of one or more legal
                                            aquaculture, livestock, livestock                       excluding assistance for contract                      entity or joint operation.
                                            byproduct, or other animal or animal                    producers specified in § 9.203(l) through                 Foreign entity means a corporation,
                                            byproduct that is produced as part of a                 (o).                                                   trust, estate, or other similar
                                            farming operation and is intended to be                    Contract producer means a producer                  organization that has more than 10
                                            commercially marketed. It includes only                 who grows or produces an agricultural                  percent of its beneficial interest held by
                                            commodities produced in the United                      commodity under contract for or on                     individuals who are not:
                                            States, or produced outside the United                  behalf of another person or entity. The                   (1) Citizens of the United States; or
                                            States by a producer located in the                     contract producer does not have                           (2) Lawful aliens possessing a valid
                                            United States and marketed inside the                   ownership in the commodity and is not                  Alien Registration Receipt Card.
                                            United States. It excludes:                             entitled to a share from sales proceeds                   Foreign person means any person who
                                               (1) Wild free-roaming animals;                                                                              is not a citizen or national of the United
                                               (2) Horses and other animals used or                 of the commodity. The term ‘‘contract
                                                                                                    producer’’ does not include cattle feeder              States or who is admitted into the
                                            intended to be used for racing or                                                                              United States for permanent residence
                                            wagering;                                               operations.
                                                                                                       Controlled environment means an                     under the Immigration and Nationality
                                               (3) Aquatic species that do not meet
                                                                                                    environment in which everything that                   Act and possessesa valid Alien
                                            the definition of aquaculture;
                                               (4) Cannabis sativa L. and any part of               can practicably be controlled by the                   Registration Receipt Card issued by the
                                            that plant that does not meet the                       producer with structures, facilities, and              United States Citizenship and
                                            definition of hemp; and                                 growing media (including but not                       Immigration Services, Department of
                                               (5) Timber.                                          limited to water, soil, or nutrients), is in           Homeland Security.
                                               Applicable pandemic assistance                       fact controlled by the producer, as                       Hemp means the plant species
                                            includes payments received directly by                  determined by industry standards.                      Cannabis sativa L. and any part of that
                                            an applicant under the following                           County means the county or parish of                plant, including the seeds thereof and
                                            programs:                                               a state. For Alaska, Puerto Rico, and the              all derivatives, extracts, cannabinoids,
                                               (1) The Coronavirus Food Assistance                  Virgin Islands, a county is an area                    isomers, acids, salts, and salts of
                                            Program (CFAP);                                         designated by the State committee with                 isomers, whether growing or not, with a
                                               (2) The Pandemic Livestock                           the concurrence of the Deputy                          delta-9 tetrahydrocannabinol
                                            Indemnity Program (PLIP); and                           Administrator.                                         concentration of not more than 0.3
                                               (3) The Spot Market Hog Pandemic                        County committee means the FSA                      percent on a dry weight basis, that is
                                            Program (SMHPP).                                        county committee.                                      grown under a license or other required
                                               Application means the PARP                              Crop insurance means an insurance                   authorization issued by the applicable
                                            application form.                                       policy reinsured by Federal Crop                       governing authority that permits the
                                               Aquaculture means any species of                     Insurance Corporation under the                        production of the hemp.
                                            aquatic organisms grown as food for                     provisions of the Federal Crop                            IRS means the Department of
                                            human or livestock consumption or for                   Insurance Act, as amended, or a private                Treasury, Internal Revenue Service.
                                            industrial or biomass uses, fish raised as              plan of insurance.                                        LDP means the Loan Deficiency
                                            feed for fish that are consumed by                         Deputy Administrator means Deputy                   Payment programs in 7 CFR parts 1421,
                                            humans, and ornamental fish                             Administrator for Farm Programs, Farm                  1425, 1427, 1434, and 1435.
                                            propagated and reared in an aquatic                     Service Agency, U.S. Department of                        Legal entity means a corporation, joint
                                            medium. Eligible aquacultural species                   Agriculture, or their designee.                        stock company, association, limited
                                            must be raised by a commercial operator                    DMC means the Dairy Margin                          partnership, irrevocable trust, estate,
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                                            and in water in a controlled                            Coverage Program under 7 CFR part                      charitable organization, or other similar
                                            environment.                                            1430, subpart D.                                       organization including any such
                                               ARC and PLC means the Agriculture                       ELAP means the Emergency                            organization participating in a business
                                            Risk Coverage (ARC) and Price Loss                      Assistance for Livestock, Honeybees,                   structure as a partner in a general
                                            Coverage (PLC) programs under 7 CFR                     and Farm-Raised Fish Program under 7                   partnership, a participant in a joint
                                            part 1412.                                              CFR part 1416, subpart B.                              venture, a grantor of a revocable trust,

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                                            or as a participant in a similar                        entity is considered to have an                          United States means all 50 States of
                                            organization. A business operating as a                 ownership interest in such legal entity.               the United States, the District of
                                            sole proprietorship is considered a legal               A person or legal entity that is a                     Columbia, the Commonwealth of Puerto
                                            entity.                                                 beneficiary of a trust or heir of an estate            Rico, and any other territory or
                                               Limited resource farmer or rancher                   who benefits from the profits or losses                possession of the United States.
                                            means a farmer or rancher:                              of such entity is also considered to have                Veteran farmer or rancher means a
                                               (1) Who is a person whose:                           a beneficial ownership interest in such                farmer or rancher:
                                               (i) Direct or indirect gross farm sales              legal entity.                                            (1) Who has served in the Armed
                                            did not exceed $180,300 in each                            Person means an individual, natural                 Forces (as defined in 38 U.S.C.
                                            calendar year for 2017 and 2018 (the                    person and does not include a legal                    101(10) 2 ) and:
                                            relevant years for the 2020 program                     entity.                                                  (i) Has not operated a farm or ranch
                                            year); and                                                 PLIP means the Pandemic Livestock                   for more than 10 years; or
                                               (ii) Total household income was at or                Indemnity Program announced in the                       (ii) Has obtained status as a veteran
                                            below the national poverty level for a                  notice of funds availability published on              (as defined in 38 U.S.C. 101(2) 3 ) during
                                            family of four in each of the same two                  July 19, 2021 (86 FR 37990–37994).                     the most recent 10-year period; or
                                            previous years referenced in paragraph                     PMVAP means the Pandemic Market                       (2) That is an entity and at least 50
                                            (1)(i) of this definition; 1 or                         Volatility Assistance Program                          percent of the ownership interest is held
                                               (2) That is an entity and all members                administered by USDA’s Agricultural                    by members who meet the criteria in
                                            who hold an ownership interest in the                   Marketing Service.                                     paragraph (1) of this definition.
                                            entity meet the criteria in paragraph (1)                  Producer means a person or legal                      WHIP+ means the Wildfires and
                                            of this definition.                                     entity who was in the business of                      Hurricanes Indemnity Program Plus
                                               LFP means the Livestock Forage                       farming to produce an agricultural                     under 7 CFR part 760, subpart O.
                                            Disaster Program under CFR part 1416,                   commodity in calendar year 2020, and
                                            subpart C.                                              who was entitled to a share in the                     § 9.303   Producer eligibility requirements.
                                               LIP means the Livestock Indemnity                    agricultural commodity available for                      (a) To be eligible for PARP, a producer
                                            Program under 7 CFR part 1416, subpart                  marketing or would have shared had the                 must:
                                            D.                                                      agricultural commodity been produced                      (1) Have been in the business of
                                               Minor child means a person who is                    and marketed. For PARP, ‘‘producer’’                   farming in the 2020 calendar year;
                                            under 18 years of age as of June 1, 2020.               also includes cattle feeder operations.                   (2) Have had at least a 15 percent
                                               MFP means the 2018 Market                               Socially disadvantaged farmer or                    decrease in allowable gross revenue for
                                            Facilitation Program under 7 CFR part                   rancher means a farmer or rancher who                  the 2020 calendar year, as compared to
                                            1409, subpart A, and the 2019 Market                    is a member of a group whose members                   the:
                                            Facilitation Program under 7 CFR part                   have been subjected to racial, ethnic, or                 (i) Actual allowable gross revenue for
                                            1409, subpart B.                                        gender prejudice because of their                      the 2018 or 2019 calendar year,
                                               Milk Loss Program means the Milk                     identity as members of a group without                 whichever is reflective of a typical year,
                                            Loss Program under 7 CFR part 760,                      regard to their individual qualities. For              as elected by the producer, if the
                                            subpart Q.                                              entities, at least 50 percent of the                   producer had allowable gross revenue in
                                               MLG means a marketing loan gain                      ownership interest must be held by                     the 2018 or 2019 calendar year; or
                                            under the Marketing Assistance Loan                     individuals who are members of such a                     (ii) Producer’s expected allowable
                                            programs in 7 CFR parts 1421, 1425,                     group. Socially disadvantaged groups                   gross revenue for the 2020 calendar
                                            1427, 1434, and 1435.                                   include the following and no others                    year, if the producer had no allowable
                                               MPP-Dairy means the Margin                           unless approved in writing by the                      gross revenue for the 2018 and 2019
                                            Protection Program for Dairy under 7                    Deputy Administrator:                                  calendar years; and
                                            CFR part 1430, subpart A.                                  (1) American Indians or Alaskan                        (3) Meet all other requirements for
                                               NAP means the Noninsured Crop                        Natives;                                               eligibility under this subpart.
                                            Disaster Assistance Program under                          (2) Asians or Asian-Americans;                         (b) To be eligible for a PARP payment,
                                            section 196 of the Federal Agriculture                     (3) Blacks or African Americans;                    a producer must be a:
                                            Improvement and Reform Act of 1996 (7                      (4) Hispanics or Hispanic Americans;                   (1) Citizen of the United States;
                                            U.S.C. 7333) and 7 CFR part 1437.                          (5) Native Hawaiians or other Pacific                  (2) Resident alien, which for purposes
                                               On-Farm Storage Loss Program means                   Islanders; and                                         of this subpart means ‘‘lawful alien’’ as
                                            the On-Farm Storage Loss Program                           (6) Women.                                          defined in part 1400 of this title;
                                            under 7 CFR part 760, subpart P.                           TAP means the Tree Assistance                          (3) Partnership organized under State
                                               Ownership interest means to have                     Program under 7 CFR part 1416, subpart                 Law;
                                            either legal ownership interest or                      E.                                                        (4) Corporation, limited liability
                                            beneficial ownership interest in a legal                   SMHPP means the Spot Market Hog                     company, or other organizational
                                            entity. For the purposes of                             Pandemic Program announced in the                      structure organized under State law;
                                            administering PARP, a person or legal                   notice of funds availability published on                 (5) Indian Tribe or Tribal
                                            entity that owns a share or stock in a                  December 14, 2021 (86 FR 71003–                        organization, as defined in section 4(b)
                                            legal entity that is a corporation, limited             71007).                                                of the Indian Self-Determination and
                                            liability company, limited partnership,                    STRP means the Seafood Trade Relief                 Education Assistance Act (25 U.S.C.
                                            or similar type entity where members                    Program announced in the notice of                     5304); or
                                            hold a legal ownership interest and                     funds availability published on
                                            shares in the profits or losses of such                 September 14, 2020 (85 FR 56572–                         2 The term ‘‘Armed Forces’’ means the United
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                                                                                                    56575).                                                States Army, Navy, Marine Corps, Air Force, Space
                                              1 Limited resource farmer or rancher status can be       Underserved farmer or rancher means                 Force, and Coast Guard, including the reserve
                                            determined using a website available through the        a beginning farmer or rancher, limited                 components.
                                            Limited Resource Farmer and Rancher Online Self                                                                  3 The term ‘‘veteran’’ means a person who served

                                            Determination Tool through Natural Resources
                                                                                                    resource farmer or rancher, socially                   in the active military, naval, air, or space service,
                                            Conservation Service at https://lrftool.sc.egov.        disadvantaged farmer or rancher, or                    and who was discharged or released under
                                            usda.gov.                                               veteran farmer or rancher.                             conditions other than dishonorable.


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                                               (6) Foreign person or foreign entity                     (4) Income from a pass-through entity              that demonstrate an expected level of
                                            who meets all requirements as described                 such as an S Corp or limited liability                 revenue;
                                            in 7 CFR part 1400.                                     company;                                                  (2) Sales contracts or purchase
                                                                                                        (5) Conservation program payments;                 agreements; and
                                            § 9.304   Allowable gross revenue.                          (6) Any pandemic assistance                           (3) Documentation supporting
                                               (a) For the purposes of this subpart,                payments that were not intended to                     production capacity, use of existing
                                            ‘‘allowable gross revenue’’ includes                    compensate for the loss of agricultural                production capacity, or physical
                                            revenue from:                                           commodities or the loss of revenue from                alterations that demonstrate production
                                               (1) Sales of agricultural commodities                agricultural commodities due to the                    capacity.
                                            produced by the producer, including                     pandemic (for example, payments to                        (e) A producer who does not provide
                                            sales resulting from value added                        provide assistance with the cost of                    acceptable documentation described in
                                            through post-production activities;                     purchasing personal protective                         paragraph (c) or (d) of this section
                                               (2) Sales of agricultural commodities                equipment, retrofitting facilities for                 within 30 calendar days of submitting
                                            a producer purchased for resale that had                worker and consumer safety, shifting to                their application is not eligible for an
                                            a change in characteristic due to the                   online sales platforms, transportation,                adjustment to their 2019 allowable gross
                                            time held (for example, a plant                         worker housing, or medical costs);                     revenue or to have their payment
                                            purchased at a size of 2 inches and sold                    (7) Custom hire income;                            calculated using an expected 2020
                                            as an 18-inch plant after 4 months), less                   (8) Net gain from hedging or                       allowable gross revenue, as applicable.
                                            the cost or other basis of such                         speculation;                                              (f) Except as provided in paragraph
                                            commodities;                                                (9) Wages, salaries, tips, and cash                (a)(13) of this section, the allowable
                                               (3) The taxable amount of cooperative                rent;                                                  gross revenue for a specific calendar
                                            distributions directly related to the sale                  (10) Rental of equipment or supplies;              year will be based on the calendar year
                                            of the agricultural commodities                         and                                                    in which that revenue was received by
                                            produced by the producer;                                   (11) Acting as a contract producer of              the producer.
                                               (4) Benefits under the following                     an agricultural commodity.                                (g) Producers who file or would file a
                                            agricultural programs: ARC and PLC,                         (c) If a producer did not have a full              joint tax return will certify their
                                            BCAP, DMC, LDP, MFP, MLG, and                           year of revenue for 2018 or 2019, or                   allowable gross revenue based on what
                                            MPP-Dairy;                                              increased their production capacity in                 it would have been had they filed taxes
                                               (5) CCC loans, if treated as income                  2020 compared to 2018 or 2019, the                     separately for the applicable year.
                                            and reported to IRS;                                    producer may certify to an adjusted                    § 9.305   Time and method of application.
                                               (6) Crop insurance proceeds;                         2018 or 2019 allowable gross revenue on
                                               (7) Federal disaster program payments                form FSA–1122A. Increases in                              (a) A completed PARP application
                                            under the following programs: 2017                                                                             under this subpart must be submitted to
                                                                                                    production capacity do not include
                                            WHIP, ELAP, LFP, LIP, NAP, Milk Loss                                                                           any FSA county office by the close of
                                                                                                    changes due to crop rotation from year
                                                                                                                                                           business on the date announced by the
                                            Program, On-Farm Storage Loss                           to year, changes in farming practices
                                                                                                                                                           Deputy Administrator. Applications
                                            Program, STRP, TAP, and WHIP+;                          such as converting from conventional
                                               (8) Payments issued through grant                                                                           may be submitted in person or by mail,
                                                                                                    tillage to no-till, or increasing the rate of
                                                                                                                                                           email, facsimile, or other methods
                                            agreements with FSA for losses of                       fertilizers or chemicals. Documentation
                                                                                                                                                           announced by FSA.
                                            agricultural commodities;                               required to support such an adjustment                    (b) Failure of an individual, entity, or
                                               (9) Grants from the Department of                    must be provided within 30 calendar                    a member of an entity to submit the
                                            Commerce, National Oceanic and                          days of submitting their PARP                          following payment limitation and
                                            Atmospheric Administration and State                    application and demonstrate that the                   payment eligibility forms within 60
                                            program funds providing direct                          producer:                                              days from the PARP application
                                            payments for the loss of agricultural                       (1) Had the production capacity to                 deadline, may result in no payment or
                                            commodities or the loss of revenue from                 support the expected full year revenue;                a reduced payment:
                                            agricultural commodities;                                   (2) Added production capacity to the                  (1) Form AD–2047, Customer Data
                                               (10) Revenue from raised breeding                    farming operation;                                     Worksheet, for new customers or
                                            livestock;                                                  (3) Increased the use of existing                  existing customers who need to update
                                               (11) Revenue earned as a cattle feeder               production capacity; or                                their customer profile;
                                            operation;                                                  (4) Made physical alterations to                      (2) Form FSA–1122A, PARP
                                               (12) Other revenue directly related to               existing production capacity.                          Application, if applicable;
                                            the production of agricultural                              (d) If a producer did not have                        (3) Form CCC–860, Socially
                                            commodities that IRS requires the                       allowable gross revenue in 2018 and                    Disadvantaged, Limited Resource,
                                            producer to report as income and                        2019, the producer must certify on form                Beginning and Veteran Farmer or
                                               (13) For 2020 allowable gross revenue,               FSA–1122A as to what had been their                    Rancher Certification, if applicable;
                                            payments PMVAP regardless of the                        reasonably expected 2020 allowable                        (4) Form CCC–901, Member
                                            calendar year in which the payment was                  gross revenue prior to the impact of the               Information for Legal Entities, if
                                            received.                                               COVID–19 pandemic. Documentation                       applicable;
                                               (b) Allowable gross revenue does not                 required to support the producer’s                        (5) Form CCC–902 Farm Operating
                                            include revenue from sources other than                 certification must be provided within 30               Plan for an individual or legal entity as
                                            those listed in paragraph (a) of this                   calendar days of submitting the                        provided in 7 CFR part 1400;
                                            section, including but not limited to,                  producer’s PARP application.                              (6) Form CCC–941, Average Adjusted
                                            revenue from:                                           Acceptable documentation must be                       Gross Income (AGI) Certification and
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                                               (1) Applicable pandemic assistance;                  generated in the ordinary course of                    Consent to Disclosure of Tax
                                               (2) Sales of commodities that are                    business and dated prior to the impact                 Information, for the 2020 program year
                                            excluded from ‘‘agricultural                            of the COVID–19 pandemic and                           for the person or legal entity, including
                                            commodities,’’                                          includes, but is not limited to:                       the legal entity’s members, partners, or
                                               (3) Resale items not held for                            (1) Financial documents such as a                  shareholders, as provided in 7 CFR part
                                            characteristic change;                                  business plan or cash flow statement                   1400;

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                                               (7) Form FSA–1123, Certification of                  definition for at least one of the                     provided in paragraph (c) of this
                                            2020 Adjusted Gross Income (AGI), if                    applicable groups; or                                  section.
                                            applicable; and                                            (B) 80 percent for all other producers;                (c) A person or legal entity that does
                                               (8) Form AD–1026, Highly Erodible                    and                                                    not meet the average adjusted gross
                                            Land Conservation (HELC) and Wetland                       (2) The producer’s PARP payment                     income requirements described in
                                            Conservation (WC) Certification, for the                will be equal to the result of the                     paragraph (b) of this section, may
                                            PARP applicant and applicable affiliates                calculation in paragraph (b)(1) of this                otherwise meet the adjusted gross
                                            as provided in 7 CFR part 12.                           section minus the producer’s applicable                income requirements, provided the
                                               (c) If requested by USDA, the                        pandemic assistance, and 2020 program                  person’s or legal entity’s 2020 adjusted
                                            producer must provide additional                        year ERP payments.                                     gross income, as defined under 26
                                            documentation that establishes the                         (c) If a producer receives assistance               U.S.C. 62 or comparable measure, is not
                                            producer’s eligibility for PARP. If                     through 2020 program year ERP or any                   more than $900,000. Except for general
                                            supporting documentation is requested,                  program included under applicable                      partnerships and joint ventures, a PARP
                                            the documentation must be submitted to                  pandemic assistance after their PARP                   applicant that is a person or legal entity,
                                            USDA within 30 calendar days from the                   payment is calculated, their PARP                      including members holding an
                                            request or the application will be                      payment will be recalculated and the                   ownership interest in the legal entity, is
                                            disapproved by USDA. FSA may request                    producer must refund any resulting                     required to:
                                            supporting documentation to verify                      overpayment.                                              (1) Certify, on a form that is approved
                                            information provided by the producer                       (d) Payments calculated according to                for that purpose by the Deputy
                                            and their eligibility including, but not                this section are subject to the                        Administrator, that their 2020 adjusted
                                            limited to, the producer’s:                             availability of funds and may be                       gross income or comparable measure is
                                               (1) Allowable gross revenue reported                 factored if total calculated payments                  not more than $900,000; and
                                            on the PARP application; and                            exceed the available funding.                             (2) Submit a certification from a
                                               (2) Ownership share in the                                                                                  licensed CPA or attorney affirming the
                                                                                                    § 9.307 Adjusted gross income limitation,              person’s or legal entity’s 2020 adjusted
                                            agricultural commodities.                               payment limitation, and attribution.                   gross income is not more than $900,000.
                                            § 9.306   Payment calculation.                             (a) To be eligible to receive a PARP                   (d) Members of general partnerships
                                               (a) If the producer’s allowable gross                payment and facilitate administration of               and joint ventures not meeting the
                                            revenue for 2020 decreased by at least                  paragraphs (b) through (f) of this                     income requirements described in
                                            15 percent compared to the producer’s                   section, a person or legal entity must                 paragraph (b) of this section may
                                            allowable gross revenue for 2018 or                     provide their name, address, valid                     otherwise meet the income
                                            2019, as elected by the producer:                       taxpayer identification number, and                    requirements, provided the member’s
                                               (1) FSA will calculate:                              ownership share to USDA. In addition,                  2020 adjusted gross income, as defined
                                               (i) The producer’s 2018 or 2019                      a legal entity must provide the name,                  under 26 U.S.C. 62 or comparable
                                            allowable gross revenue, as elected by                  address, valid taxpayer identification                 measure, is not more than $900,000. The
                                            the producer and as adjusted according                  number, and ownership share of each                    member is required to provide the
                                            to § 9.304(c), if applicable; minus                     person or legal entity, that holds or                  information described in paragraphs
                                               (ii) The producer’s 2020 allowable                   acquires a direct or indirect ownership                (c)(1) and (2) of this section.
                                            gross revenue; multiplied by                            interest in the legal entity. PARP                        (e) A person or legal entity other than
                                               (iii) A payment factor of:                           payments to a legal entity will be                     a joint venture or general partnership
                                               (A) Ninety (90) percent for                          reduced in proportion to a member’s                    cannot receive, directly or indirectly,
                                            underserved farmers or ranchers, who                    ownership share when a valid taxpayer                  more than $125,000 under PARP. USDA
                                            have submitted form CCC–860 certifying                  identification number for a person or                  may establish a lower maximum
                                            they meet the definition for at least one               legal entity that holds less than a 10                 payment amount per person, legal
                                            of the applicable groups; or                            percent direct or indirect ownership                   entity, or member of a joint venture or
                                               (B) Eighty (80) percent for all other                interest, at or above the fourth level of              general partnership after the application
                                            producers; and                                          ownership in the business structure, is                period has ended if calculated payment
                                               (2) The producer’s PARP payment                      not provided to USDA. Additionally, a                  amounts exceed available funding.
                                            will be equal to the result of the                      legal entity will not be eligible to                   Payments made to a PARP applicant
                                            calculation in paragraph (a)(1) of this                 receive PARP payments when a valid                     who is a joint operation, including a
                                            section minus the producer’s applicable                 taxpayer identification number for a                   joint venture or a general partnership,
                                            pandemic assistance, and 2020 program                   person or legal entity that holds a direct             may not exceed the amount determined
                                            year ERP payments.                                      or indirect ownership interest of 10                   by multiplying $125,000 (or the reduced
                                               (b) If a producer did not have                       percent or greater, at or above the fourth             maximum payment limitation, if
                                            allowable gross revenue in 2018 and                     level of ownership in the business                     applicable) by the number of persons or
                                            2019 and the producer’s allowable gross                 structure, is not provided to USDA.                    legal entities that comprise the first-
                                            revenue for 2020 decreased by at least                     (b) The $900,000 average adjusted                   level membership of the joint operation.
                                            15 percent compared to the producer’s                   gross income limitation provisions in 7                   (f) A PARP payment made to a legal
                                            expected 2020 allowable gross revenue:                  CFR part 1400 relating to limits on                    entity will be considered in
                                               (1) FSA will calculate:                              income for persons or legal entities,                  combination with other PARP payments
                                               (i) The producer’s expected 2020                     including members of legal entities,                   attributed to every person or legal entity
                                            allowable gross revenue, as specified in                joint ventures, and general partnerships               with a direct or indirect ownership
                                            § 9.304(d), minus                                       applies to PARP. The average adjusted                  interest in the legal entity. The
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                                               (ii) The producer’s actual 2020                      gross income will be calculated for a                  maximum limitation described in
                                            allowable gross revenue;                                person or legal entity based on the 2016,              paragraph (e) of this section for a legal
                                               (iii) Multiplied by a payment factor of:             2017, and 2018 tax years. If the person’s              entity is determined based on payments
                                               (A) 90 percent for underserved                       or legal entity’s average adjusted gross               to the legal entity and members who are
                                            farmers or ranchers who have submitted                  income exceeds $900,000, the applicant                 an individual person or a legal entity. If
                                            form CCC–860 certifying they meet the                   is ineligible for PARP except as                       a member’s combined PARP payments

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                                            reach the maximum payment limitation                       (2) Payment limitation described in                 against the commodity or proceeds from
                                            when summed from all businesses in                      paragraph (e) of this section; and                     the sale of the commodity. The
                                            which the person or legal entity has an                    (3) Attribution of payments described               regulations governing offsets in part 3 of
                                            ownership interest, then subsequent                     in paragraph (f) of this section.                      this title do not apply to payments made
                                            payments to the legal entity will be                       (h) Payments made directly or                       under this subpart.
                                            reduced by the proportionate ownership                  indirectly to a person who is a minor                     (g) For the purposes of the effect of a
                                            interest of the member. A payment to a                  child will not be combined with the                    lien on eligibility for Federal programs
                                            legal entity will be attributed to those                earnings of the minor child’s parent or                (28 U.S.C. 3201(e)), USDA waives the
                                            members who have a direct or indirect                   legal guardian.                                        restriction on receipt of funds under
                                            ownership interest in the legal entity,                                                                        PARP but only as to beneficiaries who,
                                            unless the payment of the legal entity                  § 9.308    Eligibility subject to verification.
                                                                                                                                                           as a condition of the waiver, agree to
                                            has been reduced by the proportionate                      (a) Producers who are approved for                  apply the PARP payments to reduce the
                                            ownership interest of the member due to                 participation in PARP are required to                  amount of the judgment lien.
                                            that member’s ineligibility. Attribution                retain documentation in support of their
                                                                                                    application for 3 years after the date of                 (h) The provisions in 7 CFR 718.3,
                                            of payments made to legal entities will                                                                        718.4, 718.5, 718.6, 718.8, 718.9, 718.10,
                                            be tracked through four levels of                       approval.
                                                                                                       (b) Participants receiving PARP                     and 718.11 are applicable to multiple
                                            ownership in legal entities as follows:                                                                        programs and apply to PARP.
                                               (1) First level of ownership: Any                    payments must permit authorized
                                            payment made to a legal entity that is                  representatives of USDA or the                            (i) In addition to any other Federal
                                            owned in whole or in part by a person                   Government Accountability Office,                      laws that apply to PARP, the following
                                            will be attributed to the person in an                  during regular business hours, to enter                laws apply: 15 U.S.C. 714; 18 U.S.C.
                                            amount that represents the direct                       the agricultural operation and to                      286, 287, 371, and 1001.
                                            ownership interest in the first-level or                inspect, examine, and to allow                         § 9.310    Perjury.
                                            payment legal entity;                                   representatives to make copies of books,
                                               (2) Second level of ownership: Any                   records, or other items for the purpose                   In either applying for or participating
                                            payment made to a first-level legal                     of confirming the accuracy of the                      in PARP, or both, the producer is
                                            entity that is owned in whole or in part                information provided by the participant.               subject to laws against perjury and any
                                            by another legal entity (referred to as a                                                                      resulting penalties and prosecution,
                                            second-level legal entity) will be                      § 9.309    Miscellaneous provisions.                   including, but not limited to, 18 U.S.C.
                                            attributed to the second-level legal                       (a) If a PARP payment resulted from                 1621. If the producer willfully makes
                                            entity in proportion to the ownership of                erroneous information provided by a                    and represents as true any verbal or
                                            the second-level legal entity in the first-             producer, or any person acting on their                written declaration, certification,
                                            level legal entity; if the second-level                 behalf, the payment will be recalculated               statement, or verification that the
                                            legal entity is owned in whole or in part               and the producer must refund any                       producer knows or believes not to be
                                            by a person, the amount of the payment                  excess payment with interest calculated                true, in the course of either applying for
                                            made to the first-level legal entity will               from the date of the disbursement of the               or participating in PARP, or both, then
                                            be attributed to the person in the                      payment.                                               the producer may be guilty of perjury
                                            amount that represents the indirect                        (b) If FSA determines that the                      and, except as otherwise provided by
                                            ownership in the first-level legal entity               producer intentionally misrepresented                  law, may be fined, imprisoned for not
                                            by the person;                                          information provided on their                          more than 5 years, or both, regardless of
                                               (3) Third and fourth levels of                       application, the application will be                   whether the producer makes such verbal
                                            ownership: Except as provided in the                    disapproved and the producer must                      or written declaration, certification,
                                            second-level ownership in paragraph                     refund the full payment to FSA with                    statement, or verification within or
                                            (f)(2) of this section and in the fourth                interest from the date of disbursement.                without the United States.
                                            level of ownership in paragraph (f)(4) of                  (c) Any required refunds must be
                                            this section, any payments made to a                    resolved in accordance with part 3 of                  PART 701—EMERGENCY
                                            legal entity at the third and fourth levels             this title.                                            CONSERVATION PROGRAM,
                                            of ownership will be attributed in the                     (d) The regulations in 7 CFR part 718,              EMERGENCY FOREST RESTORATION
                                            same manner as specified in paragraph                   subpart D, and 7 CFR parts 11 and 780                  PROGRAM, AND CERTAIN RELATED
                                            (f)(2) of this section; and                             apply to determinations made under                     PROGRAMS PREVIOUSLY
                                               (4) Fourth-level of ownership: If the                this subpart.                                          ADMINISTERED UNDER THIS PART
                                            fourth level of ownership is that of a                     (e) A producer, whether a person or
                                            legal entity and not that of a person, a                legal entity that either fails to timely               ■ 15. The authoritycitation for part 701
                                            reduction in payment will be applied to                 provide all required documentation or                  continues to read as follows:
                                            the first-level or payment legal entity in              fails to satisfy any eligibility                         Authority: 16 U.S.C. 2201–2206; Sec. 101,
                                            the amount that represents the indirect                 requirement for PARP, is not eligible to               Pub. L. 109–148, 119 Stat. 2747; and Pub. L.
                                            ownership in the first level or payment                 receive PARP payments, directly or                     111–212, 124 Stat. 2302.
                                            legal entity by the fourth-level legal                  indirectly. A PARP payment to an
                                            entity.                                                 eligible legal entity applicant whose                  Subpart A—General
                                               (g) Payments made to a PARP                          member(s) either fails to timely provide
                                                                                                                                                           ■ 16. Amend § 701.2 in paragraph (b) as
                                            applicant that is an Indian Tribe or                    all required documentation or fails to
                                            Tribal organization, as defined in the                  satisfy any eligibility requirement for                follows:
                                            section 4(b) of the Indian Self-                        PARP will be reduced proportionate to                  ■ a. Remove the definition    of
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                                            Determination and Education                             that member’s ownership interest in the                ‘‘Commercial forest land’’;
                                            Assistance Act (25 U.S.C. 5304), are not                legal entity.                                          ■ b. Add the definition of ‘‘Forestland’’
                                            subject to:                                                (f) Any payment under this subpart                  in alphabetical order;
                                               (1) AGI requirements described in                    will be made without regard to                         ■ c. In a definition for ‘‘Nonindustrial
                                            paragraphs (b) through (d) of this                      questions of title under State law and                 private forest land’’, remove the words
                                            section;                                                without regard to any claim or lien                    ‘‘commercial forest’’; and

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                                            ■ d. Add a definition
                                                                for ‘‘Socially                         (ii) Eligible person or legal entity is             paragraphs (a) through (c) of this section
                                            disadvantaged farmer or rancher’’ in                    prohibited by the lease from accepting                 to the maximum extent allowed by law.
                                            alphabetical order.                                     cost-share.                                            ■ 22. Amend § 701.127 by designating
                                              The additions read as follows:                           (b) Federally-owned farmland. When                  the undesignated paragraph as
                                                                                                    land is federally owned, whether it is                 paragraph (a) and adding paragraph (b)
                                            § 701.2   Abbreviations and definitions.
                                                                                                    eligible for cost-share is as specified in             to read as follows.
                                            *      *    *     *     *                               this paragraph (a), in addition to the
                                               (b) * * *                                            requirements in § 701.105.                             § 701.127 Maximum ECP payments per
                                               Forestland means land that is at least                   (1) If an eligible person or legal entity          person or legal entity.
                                            120 feet wide and 1 acre in size and at                 files a cost-share request on federally                *     *      *   *     *
                                            least 10 percent covered by live trees of               owned farmland, the land is eligible if                  (b) The Secretary may waive the
                                            any size.                                               all of the following apply:                            maximum limitations described in
                                            *      *    *     *     *                                   (i) An eligible private person or legal            paragraph (a) of this section to the
                                               Socially disadvantaged farmer or                     entity is farming or ranching the                      maximum extent allowed by law.
                                            rancher means a farmer or rancher who                   farmland;                                              ■ 23. Amend § 701.128 by revising the
                                            is a member of a socially disadvantaged                     (ii) An eligible person or legal entity            section heading and paragraph (a) to
                                            group. A socially disadvantaged group                   has a lease that does not prohibit cost-               read as follows.
                                            is a group whose members have been                      share;
                                            subjected to racial or ethnic prejudice                                                                        § 701.128     Advance payment.
                                                                                                        (iii) The practice will primarily
                                            because of their identity as members of                 benefit nearby or adjacent privately                     (a) With respect to a payment to an
                                            a group without regard to their                         owned farmland of the eligible person                  agricultural producer for any eligible
                                            individual qualities.                                   or legal entity performing the practice;               ECP practice, the agricultural producer
                                                                                                        (iv) A person or legal entity                      has the option of receiving up to 25
                                            §§ 701.44 and 701.45      [Removed and                                                                         percent of the projected payment,
                                            Reserved]                                               performing the practice has
                                                                                                    authorization from a Federal agency to                 determined based on the applicable
                                            ■ 17. Remove and reserve §§ 701.44 and                  install and maintain the practice;                     percentage of the fair market value of
                                            701.45.                                                     (v) The Federal land is the most                   the cost of the practice, as determined
                                                                                                    practical location for the eligible                    by FSA, before the agricultural producer
                                            Subpart B—Emergency Conservation                                                                               carries out the restoration.
                                                                                                    practice; and
                                            Program                                                                                                        *     *     *     *     *
                                                                                                        (vi) During a drought, the practice
                                            ■ 18. Amend § 701.105 as follows:                       will primarily benefit the livestock
                                                                                                                                                           §§ 701.150 through 701.157     [Removed]
                                            ■ a. Remove paragraphs (b)(1) and (2);                  owned or managed by the eligible
                                                                                                    person or legal entity performing the                  ■ 25. Remove §§ 701.150 through
                                            ■ b. Redesignate paragraphs (b)(3)
                                            through (13) as paragraphs (b)(1)                       practice.                                              701.157.
                                            through (11), respectively;                                 (2) If an eligible person or legal entity
                                                                                                    files a cost share request on federally-               Subpart C—Emergency Forest
                                            ■ c. Add paragraph (d).
                                                                                                    owned land, the land is ineligible if the              Restoration Program
                                               The addition reads as set forth below.
                                                                                                    practices performed on these lands are                 ■ 26. Amend § 701.226 by adding
                                            § 701.105   Land eligibility.                           for the benefit of land owned by a                     paragraph (c) to read as follows.
                                            *     *     *    *     *                                Federal agency.
                                              (d) Additional provisions making                          (c) Federal or State agency. For the               § 701.226 Maximum cost-share
                                            Government-owned land eligible is                       purposes of this subpart, private persons              percentages.
                                            specified in § 701.106.                                 or legal entities exclude Federal and                  *     *    *     *     *
                                            ■ 19. Add § 701.106 to read as follows:                 State agencies.                                          (c) The Secretary may waive the
                                                                                                    ■ 20. Amend § 701.111 by revising                      maximum limitations described in
                                            § 701.106   Government-owned land.                      paragraph (a) to read as follows:                      paragraphs (a) and (b) of this section to
                                                (a) State-owned land. When land is                                                                         the maximum extent allowed by law.
                                            owned by a State, whether it is eligible                § 701.111 Prohibition on duplicate
                                            for cost share is as specified in this                  payments.                                              Farm Service Administration
                                            paragraph (a) in addition to the                          (a) Duplicate payments. Participants                 Chapter VII
                                            requirements in § 701.105.                              are not eligible to receive funding under
                                                (1) If an eligible person or legal entity           ECP on the same piece of land for which                PART 760—INDEMNITY PAYMENT
                                            has a lease for the State-owned land that               the participant has or will receive                    PROGRAMS
                                            allows cost share, and files a cost share               funding under any other Federal or
                                                                                                                                                           ■ 27. The authority  citation for part 760
                                            request for the State-owned land, the                   State program that covers the same or
                                                                                                    similar expenses so as to create                       is revised to read as follows:
                                            land is eligible for cost share if, as
                                            determined by FSA, the:                                 duplicate payments, or, in effect, a                      Authority: 7 U.S.C. 4501 and 1531; 16
                                                (i) Eligible person or legal entity will            higher rate of cost share than is allowed              U.S.C. 3801, note; 19 U.S.C. 2497; Title III,
                                            directly benefit from the practice; or                  under this part.                                       Pub. L. 109–234, 120 Stat. 474; Title IX, Pub.
                                                                                                                                                           L. 110–28, 121 Stat. 211; Sec. 748, Pub. L.
                                                (ii) The land will remain in                        *     *     *     *     *                              111–80, 123 Stat. 2131; Title I, Pub. L. 115–
                                            agricultural production throughout the                  ■ 21. Amend § 701.126 by adding                        123, 132 Stat. 65; Title I, Pub. L. 116–20, 133
                                            established practice life span.                         paragraph (d) to read as follows.                      Stat. 871; Division B, Title VII, Pub. L. 116–
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                                                (2) If an eligible person or legal entity                                                                  94, 133 Stat. 2658; and Division B, Title I,
                                            files a cost-share request for State-                   § 701.126 Maximum cost-share                           Pub. L. 117– 43, 135 Stat. 344.
                                            owned land, the land is ineligible for                  percentages.
                                                                                                                                                           ■ 28. Add subpart S to read as follows.
                                            cost share if, as determined by FSA, the:               *    *    *    *    *
                                                (i) Practice is for the primary benefit              (d) The Secretary may waive the                       Subpart S—Emergency Relief Program
                                            of the State or State agencies; or                      maximum limitations described in                       Sec.


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                                            760.1900 Applicability and administration.              in cases where lateness or failure to                     (2) For the 2021 program year, 2017,
                                            760.1901 Definitions.                                   meet such other requirements or                        2018, and 2019.
                                            760.1902 Producer eligibility requirements.             program provisions do not adversely                       BCAP means the Biomass Crop
                                            760.1903 Allowable gross revenue.                                                                              Assistance Program under 7 CFR part
                                            760.1904 Time and method of application.
                                                                                                    affect operation of ERP.
                                            760.1905 Payment calculation.                                                                                  1450.
                                                                                                    § 760.1901    Definitions.                                Beginning farmer or rancher means a
                                            760.1906 Payment limitation and
                                                attribution.                                           The following definitions apply to                  farmer or rancher who has not operated
                                            760.1907 Eligibility subject to verification.           this subpart. The definitions in parts                 a farm or ranch for more than 10 years
                                            760.1908 Miscellaneous provisions.                      718 and 1400 of this title apply, except               and who materially and substantially
                                            760.1909 Perjury.                                       where they conflict with the definitions               participates in the operation. For a legal
                                            760.1910 Requirement to purchase crop                   in this section.                                       entity to be considered a beginning
                                                insurance or NAP coverage.                             2017 WHIP means the 2017 Wildfires                  farmer or rancher, at least 50 percent of
                                                                                                    and Hurricanes Indemnity Program                       the interest must be beginning farmers
                                            Subpart S—Emergency Relief Program
                                                                                                    under 7 CFR part 760, subpart O.                       or ranchers.
                                            § 760.1900 Applicability and                               Administrative fee means the amount                    Benchmark revenue means allowable
                                            administration.                                         an insured producer paid for                           gross revenue for the benchmark year. If
                                               (a) This subpart specifies the                       catastrophic risk protection, and                      a producer began farming in 2020 or
                                            eligibility requirements and payment                    additional coverage for each crop year                 2021 and did not have allowable gross
                                            calculations for Phase 2 of the                         as specified in the applicable crop                    revenue in either 2018 or 2019, the
                                            Emergency Relief Program (ERP). ERP                     insurance policy.                                      benchmark revenue is the producer’s
                                            provides payments to producers who                         Application means the ERP Phase 2                   reasonably expected allowable gross
                                            suffered eligible crop losses due to                    application form.                                      revenue for the disaster year prior to the
                                            qualifying disaster events, which                          Aquaculture means any species of                    impact of the qualifying disaster event.
                                            include wildfires, hurricanes, floods,                  aquatic organisms grown as food for                       Benchmark year means the 2018 or
                                            derechos, excessive heat, winter storms,                human or livestock consumption or for                  2019 tax year, as elected by the
                                            freeze (including a polar vortex), smoke                industrial or biomass uses, fish raised as             producer.
                                            exposure, excessive moisture, qualifying                feed for fish that are consumed by                        Buy-up NAP coverage means NAP
                                            drought, and related conditions                         humans, and ornamental fish                            coverage at a payment amount that is
                                            occurring in calendar years 2020 and                    propagated and reared in an aquatic                    equal to an indemnity amount
                                            2021.1 To be eligible for ERP Phase 2                   medium. Eligible aquacultural species                  calculated for buy-up coverage
                                            payments, participants must comply                      must be raised by a commercial operator                computed under section 508(c) or (h) of
                                            with all provisions under this subpart.                 and in water in a controlled                           the Federal Crop Insurance Act and
                                               (b) ERP is administered under the                    environment.                                           equal to the amount that the buy-up
                                            general supervision and direction of the                   ARC and PLC means the Agriculture                   coverage yield for the crop exceeds the
                                            Administrator, Farm Service Agency                      Risk Coverage (ARC) and Price Loss                     actual yield for the crop.
                                            (FSA).                                                  Coverage (PLC) programs under 7 CFR                       Catastrophic coverage has the same
                                               (c) The FSA State committee will take                part 1412.                                             meaning as in 7 CFR 1437.3.
                                            any action required by this subpart that                   Average adjusted gross farm income                     CCC means the Commodity Credit
                                            an FSA county committee has not taken.                  means the average of the person or legal               Corporation.
                                            The FSA State committee will also:                      entity’s adjusted gross income derived                    Certifying agent means a private or
                                               (1) Correct, or require an FSA county                from farming, ranching, or forestry                    governmental entity accredited by the
                                            committee to correct, any action taken                  operations for the 3 taxable years                     USDA Secretary for the purpose of
                                            by such county FSA committee that is                    preceding the most immediately                         certifying a production, processing, or
                                            not in accordance with the regulations                  preceding complete taxable year.                       handling operation as organic.
                                            of this subpart; or                                        (1) If the resulting average adjusted                  CFAP means the Coronavirus Food
                                               (2) Require an FSA county committee                  gross farm income is at least 66.66                    Assistance Program 1 and 2 under 7
                                            to withhold taking any action that is not               percent of the average adjusted gross                  CFR part 9, subparts A through C,
                                            in accordance with this subpart.                        income of the person or legal entity,                  excluding assistance for contract
                                               (d) No provision or delegation to an                 then the average adjusted gross farm                   producers specified in § 9.203(l) through
                                            FSA State or county committee will                      income may also take into consideration                (o).
                                            preclude the FSA Administrator, the                     income or benefits derived from the                       Controlled environment means an
                                            Deputy Administrator, or a designee or                  following:                                             environment in which everything that
                                            other such person, from determining                        (i) The sale of equipment to conduct                can practicably be controlled by the
                                            any question arising under the programs                 farm, ranch, or forestry operations; and               producer with structures, facilities, and
                                            of this subpart, or from reversing or                      (ii) The provision of production                    growing media (including but not
                                            modifying any determination made by                     inputs and services to farmers, ranchers,              limited to water, soil, or nutrients), is in
                                            an FSA State or county committee.                       foresters, and farm operations.                        fact controlled by the producer, as
                                               (e) The Deputy Administrator has the                    (2) The relevant tax years are:                     determined by industry standards.
                                            authority to permit State and county                       (i) For the 2020 program year, 2016,                   County means the county or parish of
                                            committees to waive or modify                           2017, and 2018; and                                    a state. For Alaska, Puerto Rico, and the
                                            deadlines (except deadlines specified in                   (ii) For the 2021 program year, 2017,               Virgin Islands, a county is an area
                                            a law) and other requirements or                        2018, and 2019.                                        designated by the State committee with
                                            program provisions not specified in law,                   Average adjusted gross income means                 the concurrence of the Deputy
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                                                                                                    the average of the adjusted gross income               Administrator.
                                              1 ERP Phase 1 was administered according to the
                                                                                                    as defined under 26 U.S.C. 62 or                          County committee means the FSA
                                            notice of funds availability published in the Federal   comparable measure of the person or                    county committee.
                                            Register on May 18, 2022 (87 FR 30164–30172). A
                                            clarification to the notice of funds availability for
                                                                                                    legal entity. The relevant tax years are:                 Coverage level means the percentage
                                            ERP Phase 1 was published on August 18, 2022 (87           (1) For the 2020 program year, 2016,                determined by multiplying the elected
                                            FR 50828–50830).                                        2017, and 2018; and                                    yield percentage under a crop insurance

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                                            policy or NAP coverage by the elected                   indirectly, under this subpart. A person               practices, crop insurance indemnities,
                                            price percentage.                                       or legal entity may have more than one                 and catastrophic risk protection plans;
                                               Crop insurance means an insurance                    farming operation if the person or legal                  (9) Sale of land that has been used for
                                            policy reinsured by the Federal Crop                    entity is a member of one or more legal                agricultural purposes;
                                            Insurance Corporation under the                         entity or joint operation.                                (10) Payments and benefits authorized
                                            provisions of the Federal Crop                             FCIC means the Federal Crop                         under any program made available and
                                            Insurance Act, as amended.                              Insurance Corporation, a wholly owned                  applicable to payment eligibility and
                                               Crop insurance indemnity means the                   Government Corporation of USDA,                        payment limitation rules;
                                            payment to a participant for crop losses                administered by RMA.                                      (11) Income reported on Internal
                                            covered under crop insurance                               Hemp means the plant species                        Revenue Service (IRS) Schedule F or
                                            administered by RMA in accordance                       Cannabis sativa L. and any part of that                other schedule used by the person or
                                            with the Federal Crop Insurance Act (7                  plant, including the seeds thereof and                 legal entity to report income from such
                                            U.S.C. 1501–1524).                                      all derivatives, extracts, cannabinoids,               operations to the IRS;
                                               Deputy Administrator means Deputy                    isomers, acids, salts, and salts of                       (12) Wages or dividends received
                                            Administrator for Farm Programs, Farm                   isomers, whether growing or not, with a                from a closely held corporation, Interest
                                            Service Agency, U.S. Department of                      delta-9 tetrahydrocannabinol                           Charge Domestic International Sales
                                            Agriculture, or their designee.                         concentration of not more than 0.3                     Corporation (IC–DISC), or legal entity
                                               Direct market crop means a crop sold                 percent on a dry weight basis, that is                 comprised entirely of family members
                                            directly to consumers without the                       grown under a license or other required                when more than 50 percent of the legal
                                            intervention of an intermediary such as                 authorization issued by the applicable                 entity’s gross receipts for each tax year
                                            a registered handler, wholesaler,                       governing authority that permits the                   are derived from farming, ranching, or
                                            retailer, packer, processor, shipper, or                production of the hemp.                                forestry activities as defined in this
                                            buyer (for example, a crop sold at a                       High value crop means:                              document; and
                                            farmer’s market or roadside stand),                        (1) Any eligible crop not specifically                 (13) Any other activity related to
                                            excluding crops sold for livestock                      identified as a specialty crop or listed in            farming, ranching, and forestry, as
                                            consumption.                                            the definition of ‘‘other crop’’; and                  determined by the Deputy
                                               Disaster year means the calendar year                   (2) Any eligible crop, regardless of                Administrator.
                                            in which the qualifying disaster event                  whether it is identified as a specialty                   IRS means the Department of
                                            occurred (that is, 2020 or 2021).                       crop or listed in the definition of ‘‘other            Treasury, Internal Revenue Service.
                                               Disaster year revenue means the                      crop,’’ if the crop is a direct market                    LDP means the Loan Deficiency
                                            allowable gross revenue for:                            crop, organic crop, or a crop grown for                Payment programs in 7 CFR parts 1421,
                                               (1) The 2020 or 2021 tax year, as                    a specific market in which specialized                 1425, 1427, 1434, and 1435.
                                            elected by the producer, for the 2020                   products can be sold resulting in an                      Legal entity means a corporation, joint
                                            disaster year; and                                      increased value compared to the typical                stock company, association, limited
                                               (2) The 2021 or 2022 tax year, as                                                                           partnership, irrevocable trust, estate,
                                                                                                    market for the crops (for example,
                                            elected by the producer, for the 2021                                                                          charitable organization, or other similar
                                                                                                    soybeans intended for tofu production),
                                            disaster year.                                                                                                 organization including any such
                                                                                                    as determined by the Deputy
                                               (3) Producers must choose
                                                                                                    Administrator.                                         organization participating in a business
                                            consecutive tax years if they are
                                                                                                       Income derived from farming,                        structure as a partner in a general
                                            applying for both the 2020 and 2021
                                                                                                    ranching, and forestry operations means                partnership, a participant in a joint
                                            disaster years (that is, they may choose
                                                                                                    income of an individual or entity                      venture, a grantor of a revocable trust,
                                            2020 tax year revenue for the 2020
                                                                                                    derived from:                                          or as a participant in a similar
                                            disaster year, and 2021 tax year revenue
                                                                                                       (1) Production of crops, specialty                  organization. A business operating as a
                                            for the 2021 disaster year; or they may
                                                                                                    crops, and unfinished raw forestry                     sole proprietorship is considered a legal
                                            choose 2021 tax year revenue for the
                                                                                                    products;                                              entity.
                                            2020 disaster year, and 2022 tax year
                                                                                                       (2) Production of livestock,                           Limited resource farmer or rancher
                                            revenue for the 2021 disaster year).
                                               ELAP means the Emergency                             aquaculture products used for food,                    means a farmer or rancher:
                                            Assistance for Livestock, Honeybees,                    honeybees, and products derived from                      (1) Who is a person whose:
                                            and Farm-Raised Fish Program under                      livestock;                                                (i) Direct or indirect gross farm sales
                                            part 1416, subpart B, of this title.                       (3) Production of farm-based                        did not exceed:
                                               Eligible crop means a crop, including                renewable energy;                                         (A) $180,300 in each calendar year for
                                            eligible aquaculture, that is produced in                  (4) Selling (including the sale of                  2017 and 2018 (the relevant years for
                                            the United States as part of a farming                  easements and development rights) of                   the 2020 program year); or
                                            operation and is intended to be                         farm, ranch, and forestry land, water or                  (B) $179,000 in each of the 2018 and
                                            commercially marketed. It excludes:                     hunting rights, or environmental                       2019 calendar years for the 2021
                                               (1) Crops for grazing;                               benefits;                                              program year;
                                               (2) Aquatic species that do not meet                    (5) Rental or lease of land or                         and
                                            the definition of aquaculture;                          equipment used for farming, ranching,                     (ii) Total household income was at or
                                               (3) Cannabis sativa L. and any part of               or forestry operations, including water                below the national poverty level for a
                                            that plant that does not meet the                       or hunting rights;                                     family of four in each of the same two
                                            definition of hemp; and                                    (6) Processing, packing, storing, and               previous years referenced in paragraph
                                               (4) Timber.                                          transportation of farm, ranch, forestry                (1)(i) of this definition; 1 or
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                                               Farming operation means a business                   commodities including renewable
                                            enterprise engaged in the production of                 energy;                                                  1 Limited resource farmer or rancher status can be

                                            agricultural products, commodities, or                     (7) Feeding, rearing, or finishing of               determined using a website available through the
                                                                                                                                                           Limited Resource Farmer and Rancher Online Self
                                            livestock, operated by a person, legal                  livestock;                                             Determination Tool through Natural Resources
                                            entity, or joint operation, and that is                    (8) Payments of benefits, including                 Conservation Service at https://lrftool.sc.egov.
                                            eligible to receive payments, directly or               benefits from risk management                          usda.gov.


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                                               (2) That is an entity and all members                would have shared had the eligible crop                www.ams.usda.gov/services/grants/
                                            who hold an ownership interest in the                   been produced and marketed.                            scbgp/specialty-crop and other crops as
                                            entity meet the criteria in paragraph (1)                  Program year means:                                 designated by the Deputy
                                            of this definition.                                        (1) For ERP Phase 2, the disaster year;             Administrator.
                                               LFP means the Livestock Forage                       and                                                        Substantial beneficial interest (SBI)
                                            Disaster Program under CFR part 1416,                      (2) For all other programs, the                     has the same meaning as specified in
                                            subpart C.                                              program year as defined in the                         the applicable crop insurance policy.
                                               MLG means marketing loan gains                       applicable program provisions.                         For the purposes of ERP Phase 1,
                                            under the Marketing Assistance Loan                        Qualifying disaster event means                     Federal crop insurance records for
                                            program provisions in 7 CFR parts 1421,                 wildfires, hurricanes, floods, derechos,               ‘‘transfer of coverage, right to
                                            1425, 1427, 1434, and 1435.                             excessive heat, winter storms, freeze                  indemnity’’ are considered the same as
                                               Minor child means a person who is                    (including a polar vortex), smoke                      SBIs.
                                            under 18 years of age as of June 1, 2020.               exposure, excessive moisture, qualifying                   STRP means the Seafood Trade Relief
                                               MFP means the 2018 Market                            drought, and related conditions.                       Program announced in the notice of
                                            Facilitation Program under 7 CFR part                      Qualifying drought means an area                    funds availability published on
                                            1409, subpart A, and the 2019 Market                    within the county was rated by the U.S.                September 14, 2020 (85 FR 56572–
                                            Facilitation Program under 7 CFR part                   Drought Monitor as having a drought                    56575).
                                            1409, subpart B.                                        intensity of D2 (severe drought) for eight                 Underserved farmer or rancher means
                                               NAP means the Noninsured Crop                        consecutive weeks or D3 (extreme                       a beginning farmer or rancher, limited
                                            Disaster Assistance Program under                       drought) or higher level for any period                resource farmer or rancher, socially
                                            section 196 of the Federal Agriculture                  of time during the applicable calendar                 disadvantaged farmer or rancher, or
                                            Improvement and Reform Act of 1996 (7                   year.                                                  veteran farmer or rancher.
                                            U.S.C. 7333) and 7 CFR part 1437.                          Related condition means damaging                        United States means all 50 States of
                                               On-Farm Storage Loss Program means                   weather and adverse natural                            the United States, the District of
                                            the On-Farm Storage Loss Program                        occurrences that occurred concurrently                 Columbia, the Commonwealth of Puerto
                                            under 7 CFR part 760, subpart P.                        with and as a direct result of a specified             Rico, and any other territory or
                                               Organic crop means a crop that is                    qualifying disaster event. Related                     possession of the United States.
                                            organically produced consistent with                    conditions include, but are not limited                    U.S. Drought Monitor means the
                                            section 2103 of the Organic Foods                       to:                                                    system for classifying drought severity
                                            Production Act of 1990 (7 U.S.C. 6502)                     (1) Excessive wind that occurred as a               according to a range of abnormally dry
                                            and grown on acreage certified by a                     direct result of a derecho;                            to exceptional drought. It is a
                                            certifying agent as conforming to                          (2) Silt and debris that occurred as a              collaborative effort between Federal and
                                            organic standards specified in 7 CFR                    direct and proximate result of flooding;               academic partners, produced on a
                                            part 205.                                                  (3) Excessive wind, storm surges,                   weekly basis, to synthesize multiple
                                               Other crop means cotton, peanuts,                    tornados, tropical storms, and tropical                indices, outlooks, and drought impacts
                                            rice, feedstock, and any crop grown                     depressions that occurred as a direct                  on a map and in narrative form. This
                                            with an intended use of grain, silage, or               result of a hurricane; and                             synthesis of indices is reported by the
                                            forage, unless the crop meets the                          (4) Excessive wind and blizzards that               National Drought Mitigation Center at
                                            requirements in paragraph (2) of the                    occurred as a direct result of a winter                http://droughtmonitor.unl.edu.
                                            definition of ‘‘high value crop.’’                      storm.                                                     Veteran farmer or rancher means a
                                               Ownership interest means to have                        Socially disadvantaged farmer or                    farmer or rancher:
                                            either legal ownership interest or                      rancher means a farmer or rancher who                      (1) Who has served in the Armed
                                            beneficial ownership interest in a legal                is a member of a group whose members                   Forces (as defined in 38 U.S.C.
                                            entity. For the purposes of                             have been subjected to racial, ethnic, or              101(10) 2 ) and:
                                            administering ERP Phase 2, a person or                  gender prejudice because of their                          (i) Has not operated a farm or ranch
                                            legal entity that owns a share or stock                 identity as members of a group without                 for more than 10 years; or
                                            in a legal entity that is a corporation,                regard to their individual qualities. For                  (ii) Has obtained status as a veteran
                                            limited liability company, limited                      entities, at least 50 percent of the                   (as defined in 38 U.S.C. 101(2) 3 ) during
                                            partnership, or similar type entity where               ownership interest must be held by                     the most recent 10-year period; or
                                            members hold a legal ownership interest                 individuals who are members of such a                      (2) That is an entity and at least 50
                                            and shares in the profits or losses of                  group. Socially disadvantaged groups                   percent of the ownership interest is held
                                            such entity is considered to have an                    include the following and no others                    by members who meet the criteria in
                                            ownership interest in such legal entity.                unless approved in writing by the                      paragraph (1) of this definition.
                                            A person or legal entity that is a                      Deputy Administrator:                                      WHIP+ means the Wildfires and
                                            beneficiary of a trust or heir of an estate                (1) American Indians or Alaskan                     Hurricanes Indemnity Program Plus
                                            who benefits from the profits or losses                 Natives;                                               under 7 CFR part 760, subpart O.
                                            of such entity is also considered to have                  (2) Asians or Asian-Americans;
                                            a beneficial ownership interest in such                    (3) Blacks or African Americans;                    § 760.1902 Producer eligibility
                                            legal entity.                                              (4) Hispanics or Hispanic Americans;                requirements.
                                               Person means an individual, natural                     (5) Native Hawaiians or other Pacific                 (a) To be eligible for ERP Phase 2, a
                                            person and does not include a legal                     Islanders; and                                         producer must have suffered a loss in
                                            entity.                                                    (6) Women.
                                               Premium means the premium paid by                       Specialty crops means fruits, tree                    2 The term ‘‘Armed Forces’’ means the United
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                                            the producer for crop insurance                         nuts, vegetables, culinary herbs and                   States Army, Navy, Marine Corps, Air Force, Space
                                            coverage or NAP buy-up coverage                         spices, medicinal plants, and nursery,                 Force, and Coast Guard, including the reserve
                                                                                                    floriculture, and horticulture crops. This             components.
                                            levels.                                                                                                          3 The term ‘‘veteran’’ means a person who served
                                               Producer means a person or legal                     includes common specialty crops                        in the active military, naval, air, or space service,
                                            entity who was entitled to a share in the               identified by USDA’s Agricultural                      and who was discharged or released under
                                            eligible crop available for marketing or                Marketing Service at https://                          conditions other than dishonorable.


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                                            disaster year allowable gross revenue, as                   (11) Other revenue directly related to              calendar days of the request. The
                                            compared to the benchmark allowable                      the production of eligible crops that IRS              documentation to support an
                                            gross revenue, due to necessary                          requires the producer to report as                     adjustment due to a change in operation
                                            expenses associated with losses of                       income;                                                capacity must show that the adjustment
                                            eligible crops due in whole or in part to                   (12) For the disaster year only, ERP                to the producer’s benchmark revenue is
                                            a qualifying disaster event that occurred                Phase 1 payments issued to another                     due to an:
                                            in the 2020 or 2021 calendar year.                       person or entity for the producer’s share                 (1) Addition or decrease in
                                               (b) To be eligible for an ERP Phase 2                 of an eligible crop, regardless of the tax             production capacity of the farming
                                            payment, a producer must be a:                           year in which the payment would be                     operation;
                                               (1) Citizen of the United States;                     reported to IRS; and
                                                                                                                                                               (2) Increase or decrease in the use of
                                               (2) Resident alien, which for purposes                   (13) For the benchmark year only,
                                                                                                                                                            existing production capacity; or
                                            of this subpart means ‘‘lawful alien’’ as                2018, 2019 and 2020 WHIP+ and QLA
                                            defined in part 1400 of this title;                      payments.                                                 (3) Physical alterations that were
                                               (3) Partnership organized under State                    (b) Allowable gross revenue does not                made to existing production capacity.
                                            Law;                                                     include revenue from sources other than                   (f) If a producer began farming in 2020
                                               (4) Corporation, limited liability                    those listed in paragraph (a) of this                  or 2021 and did not have allowable
                                            company, or other organizational                         section, including but not limited to,                 gross revenue in a benchmark year, the
                                            structure organized under State law; or                  revenue from:                                          producer may certify to an adjusted
                                               (5) Indian Tribe or Tribal                               (1) Federal assistance programs not                 benchmark allowable gross revenue on
                                            organization, as defined in section 4(b)                 included in paragraph (a) of this section;             form FSA–521 that represents what had
                                            of the Indian Self-Determination and                        (2) Sales of livestock, animal by-                  been the producer’s reasonably expected
                                            Education Assistance Act (25 U.S.C.                      products, and any commodities that are                 disaster year revenue prior to the impact
                                            5304).                                                   excluded from ‘‘eligible crops’’;                      of the qualifying disaster event. If
                                                                                                        (3) Resale items not held for                       requested by FSA, documentation
                                            § 760.1903       Allowable gross revenue.                characteristic change;                                 required to support a producer’s
                                               (a) For the purposes of this subpart,                    (4) Income from a pass-through entity               certification must be provided within 30
                                            ‘‘allowable gross revenue’’ includes                     such as an S Corp or limited liability                 calendar days of FSA’s request, or the
                                            revenue from:                                            company;                                               producer will be considered ineligible
                                               (1) Sales of eligible crops produced by                  (5) Conservation program payments;                  for ERP Phase 2. Acceptable
                                            the producer, which includes sales                          (6) Any pandemic assistance                         documentation must be generated in the
                                            resulting from value added through                       payments that were not for the loss of                 ordinary course of business and dated
                                            post-production activities that were                     eligible crops or the loss of revenue                  prior to the impact of the disaster event
                                            reportable on IRS Schedule F;                            from eligible crops;                                   and includes, but is not limited to:
                                               (2) Sales of eligible crops a producer                   (7) Custom hire income;
                                            purchased for resale that had a change                      (8) Net gain from hedging or                           (1) Financial documents such as a
                                            in characteristic due to the time held                   speculation;                                           business plan or cash flow statement
                                            (for example, a plant purchased at a size                   (9) Wages, salaries, tips, and cash                 that demonstrate an expected level of
                                            of 2 inches and sold as an 18-inch plant                 rent;                                                  revenue;
                                            after 4 months), less the cost or other                     (10) Rental of equipment or supplies;                  (2) Sales contracts or purchase
                                            basis of such eligible crops;                            and                                                    agreements; and
                                               (3) The taxable amount of cooperative                    (11) Acting as a contract producer of                  (3) Documentation supporting
                                            distributions directly related to the sale               an agricultural commodity.                             production capacity, use of existing
                                            of the eligible crops produced by the                       (c) A producer is required to certify to            production capacity, or physical
                                            producer;                                                an adjusted allowable gross revenue for                alterations that demonstrate production
                                               (4) Benefits under the following                      the benchmark year on FSA–521 if the                   capacity.
                                            agricultural programs: 2017 WHIP, ARC                    producer had a decreased operation                        (g) The allowable gross revenue will
                                            and PLC, BCAP, LDP, MLG, MFP, the                        capacity in a disaster year for which                  be based on the year for which the
                                            On-Farm Storage Loss Program, and                        they are applying for ERP Phase 2,                     revenue would be reported for the
                                            STRP;                                                    compared to the benchmark year.                        purpose of filing a tax return, except for
                                               (5) CCC loans, if treated as income                      (d) A producer may certify to an                    the ERP Phase 1 payments specified in
                                            and reported to IRS;                                     adjusted allowable gross revenue for the               paragraph (a)(12) of this section.
                                               (6) Crop insurance proceeds for                       benchmark year on FSA–521 if either of
                                            eligible crops, minus the amount of                      the following apply:                                      (h) Producers who file or would be
                                            administrative fees and premiums;                           (1) The producer did not have a full                eligible to file a joint tax return will
                                               (7) NAP payments for eligible crops,                  year of revenue for 2018 or 2019; or                   certify their allowable gross revenue
                                            minus the amount of service fees and                        (2) The producer had expanded their                 based on what it would have been had
                                            premiums;                                                operation capacity in a disaster year for              they filed taxes separately for the
                                               (8) ELAP payments for an aquaculture                  which they are applying for ERP Phase                  applicable year.
                                            crop;                                                    2, compared to the benchmark year.                        (i) On form FSA–521, for each
                                               (9) Payments issued through grant                        (e) Change in operation capacity does               applicable disaster year, producers must
                                            agreements with FSA for losses of                        not include crop rotation from year to                 indicate the percentage of their
                                            eligible crops;                                          year, changes in farming practices such                allowable gross revenue from specialty
                                               (10) Grants from the Department of                    as converting from conventional tillage                and high value crops and the percentage
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                                            Commerce, National Oceanic and                           to no-till, or increasing the rate of                  from other crops. The percentages
                                            Atmospheric Administration and State                     fertilizers or chemicals. If requested by              certified must be equal to the
                                            program funds providing direct                           FSA, producers are required to submit                  percentages that the producer would
                                            payments for the loss of eligible crops                  documentation to FSA to support                        have reasonably expected to receive for
                                            or the loss of revenue from eligible                     adjustments described in paragraphs (c)                the disaster year if not for the qualifying
                                            crops;                                                   and (d) of this section within 30                      disaster event.

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                                            § 760.1904 Time and method of                             (i) Specialty and high value crops;                  producers similar to ERP Phase 1, but
                                            application.                                            and                                                    with a cap at the statutory maximum of
                                               (a) A completed FSA–521, Emergency                     (ii) Other crops; and                                70 percent. For example, if the ERP
                                            Relief Program (ERP) Phase 2                              (3) Ownership share in the                           Factor is set at 50 percent, the factor
                                            Application, must be submitted to the                   agricultural commodities.                              used for underserved producers will be
                                            producer’s recording county office by                                                                          65 percent, but if the factor is set at 55
                                                                                                    § 760.1905    Payment calculation.
                                            the close of business on the date                                                                              percent or higher, the factor for
                                            announced by the Deputy                                    (a) ERP Phase 2 payments will be                    underserved producers will be capped
                                            Administrator. Applications may be                      calculated separately for each disaster                at 70 percent.
                                            submitted in person or by mail, email,                  year. If a producer indicates that they                   (e) If a producer receives assistance
                                            facsimile, or other methods announced                   have expected revenue for both                         through CFAP or ERP Phase 1 after their
                                            by FSA.                                                 specialty and high value crops and other               ERP Phase 2 payment is calculated, the
                                               (b) Failure of an individual, entity, or             crops for a disaster year, a payment will              producer’s ERP Phase 2 payment will be
                                            a member of an entity to submit the                     be calculated separately for:                          recalculated and the producer must
                                            following payment limitation and                           (1) Specialty and high value crops;                 refund any resulting overpayment.
                                            payment eligibility forms within 60                     and
                                                                                                       (2) Other crops.                                    § 760.1906 Payment limitation and
                                            days from the date of the ERP Phase 2                                                                          attribution.
                                            application deadline, may result in no                     (b) To determine a producer’s ERP
                                                                                                    Phase 2 payment amount, FSA will                          (a) The payment limitation for ERP is
                                            payment or a reduced payment:
                                               (1) Form AD–2047, Customer Data                      calculate:                                             determined by the person’s or legal
                                            Worksheet, for new customers or                            (1) The producer’s benchmark year                   entity’s average adjusted gross farm
                                            existing customers who need to update                   allowable gross revenue, adjusted                      income (income from activities related
                                            their customer profile;                                 according to 7 CFR 760.1903, if                        to farming, ranching, or forestry).
                                               (2) Form CCC–860, Socially                           applicable, multiplied by the ERP factor               Specifically, if their average adjusted
                                            Disadvantaged, Limited Resource,                        of 70 percent; minus                                   gross farm income is less than 75
                                            Beginning and Veteran Farmer or                            (2) The producer’s disaster year                    percent of their average adjusted gross
                                            Rancher Certification, applicable for the               allowable gross revenue; minus                         income (AGI) for the three taxable years
                                            program year or years for which the                        (3) The sum of the producer’s net ERP               preceding the most immediately
                                            producer is applying for ERP;                           Phase 1 payments for the 2020 program                  preceding complete tax year, a person or
                                               (3) Form CCC–901, Member                             year, if the calculation is for the 2020               legal entity, other than a joint venture or
                                            Information for Legal Entities, if                      disaster year, or for the 2021 and 2022                general partnership, cannot receive,
                                            applicable;                                             program years, if the calculation is for               directly or indirectly, more than
                                               (4) Form CCC–902, Farm Operating                     the 2021 disaster year; minus                          $125,000 in payments for specialty
                                            Plan for an individual or legal entity as                  (4) The sum of the producer’s net                   crops and high value crops 1 and
                                            provided in 7 CFR part 1400;                            CFAP payments (excluding payments                      $125,000 in payment for all other crops
                                               (5) Form FSA–510, Request for an                     for contract producer revenue), net 2020               under:
                                            Exception to the $125,000 Payment                       WHIP+ payments, and net 2020 Quality                      (1) ERP Phase 1 for program year 2020
                                            Limitation for Certain Programs,                        Loss Adjustment (QLA) Program                          and ERP Phase 2 for program year 2020,
                                            accompanied by a certification from a                   payments, if the calculation is for the                combined; and
                                            certified public accountant or attorney                 2020 disaster year; and                                   (2) ERP Phase 1 for program years
                                                                                                       (5) Multiplied by the percentage of the             2021 and 2022 and ERP Phase 2 for
                                            as to that person or legal entity’s
                                                                                                    expected disaster year revenue for                     program year 2021, combined.
                                            certification, for a legal entity and all
                                                                                                    specialty and high value crops or other                   (b) If at least 75 percent of the person
                                            members of that entity, for each                                                                               or legal entity’s average AGI is derived
                                            applicable program year, including the                  crops, as applicable, to determine the
                                                                                                    separate payments for specialty and                    from farming, ranching, or forestry
                                            legal entity’s members, partners, or                                                                           related activities and the producer
                                            shareholders, as provided in 7 CFR part                 high value crops or other crops.
                                                                                                       (c) FSA will issue an initial payment               provides the required certification and
                                            1400; and                                                                                                      documentation, as discussed below, the
                                               (6) Form AD–1026, Highly Erodible                    equal to the lesser of the amount
                                                                                                    calculated according to this section or                person or legal entity, other than a joint
                                            Land Conservation (HELC) and Wetland
                                                                                                    the maximum initial payment amount of                  venture or general partnership, is
                                            Conservation (WC) Certification, for the                                                                       eligible to receive, directly or indirectly,
                                            ERP Phase 2 applicant and applicable                    $2,000. If a producer has also received
                                                                                                    a payment under ERP Phase 1, FSA will                  up to:
                                            affiliates as provided in 7 CFR part 12.                                                                          (1) $900,000 for specialty crops and
                                               (c) If requested by FSA, the producer                reduce the producer’s initial ERP Phase
                                                                                                                                                           high value crops combined for:
                                            must provide additional documentation                   2 payment amount by subtracting the                       (i) ERP Phase 1 for program year 2020
                                            that establishes the producer’s eligibility             producer’s ERP Phase 1 gross payment                   and ERP Phase 2 for program year 2020,
                                            for ERP Phase 2. If supporting                          amount.                                                combined; and
                                            documentation is requested, the                            (d) After the close of the ERP Phase                   (ii) ERP Phase 1 for program years
                                            documentation must be submitted to                      2 application period, FSA will issue a                 2021 and 2022 and ERP Phase 2 for
                                            FSA within 30 calendar days from the                    final payment equal to the amount                      program year 2021, combined.; and
                                            request or the application will be                      calculated according to this section                      (2) $250,000 for all other crops for:
                                            disapproved by FSA. FSA may request                     minus the amount of the producer’s                        (i) ERP Phase 1 for program year 2020
                                            supporting documentation to verify                      initial payment. If total calculated                   and ERP Phase 2 for program year 2020,
                                            information provided by the producer                    payments exceed the total funding                      combined; and
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                                            and the produce’s eligibility including,                available for ERP Phase 2, the ERP factor
                                            but not limited to, the producer’s:                     may be adjusted and the final payment                     1 High value crops were not defined in ERP Phase

                                               (1) Allowable gross revenue reported                 amounts will be prorated to stay within                1; therefore, only ERP Phase 1 payments for
                                                                                                    the amount of available funding. If there              specialty crops, as defined in the ERP Phase 1
                                            on the ERP Phase 2 application;                                                                                notice of funds availability, will be counted toward
                                               (2) Percentages of the expected                      are insufficient funds, a differential of              the increased payment limitation for specialty and
                                            allowable gross revenue from:                           15 percent will be used for underserved                high value crops.


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                                               (ii) ERP Phase 1 for program years                   attributed to the second-level legal                   § 760.1907 Eligibility subject to
                                            2021 and 2022 and ERP Phase 2 for                       entity in proportion to the ownership of               verification.
                                            program year 2021, combined.                            the second-level legal entity in the first-               (a) Producers who are approved for
                                               (c) The relevant tax years for                       level legal entity; if the second-level                participation in ERP Phase 2 are
                                            establishing a producer’s AGI and                       legal entity is owned in whole or in part              required to retain documentation in
                                            percentage derived from farming,                        by a person, the amount of the payment                 support of their application for 3 years
                                            ranching, or forestry related activities                made to the first-level legal entity will              after the date of approval.
                                            are:                                                    be attributed to the person in the                        (b) Participants receiving ERP Phase 2
                                               (1) Years 2016, 2017, and 2018 for                   amount that represents the indirect                    payments must permit authorized
                                            program year 2020; and                                  ownership in the first-level legal entity              representatives of USDA or the
                                               (2) Years 2017, 2018, and 2019 for                   by the person;                                         Government Accountability Office,
                                            program year 2021.                                         (3) Third and fourth levels of                      during regular business hours, to enter
                                               (d) To receive more than $125,000 in                 ownership: Except as provided in the                   the agricultural operation and to
                                            ERP payments, producers must submit                     second-level ownership in paragraph                    inspect, examine, and to allow
                                            form FSA–510, accompanied by a                          (f)(2) of this section and in the fourth               representatives to make copies of books,
                                            certification from a certified public                   level of ownership in paragraph (f)(4) of              records, or other items for the purpose
                                            accountant or attorney as to that person                this section, any payments made to a                   of confirming the accuracy of the
                                            or legal entity’s certification. If a                   legal entity at the third and fourth levels
                                            producer requesting the increased                                                                              information provided by the participant.
                                                                                                    of ownership will be attributed in the
                                            payment limitation is a legal entity, all               same manner as specified in paragraph                  § 760.1908   Miscellaneous provisions.
                                            members of that entity must also                        (f)(2) of this section; and                               (a) If an ERP Phase 2 payment
                                            complete form FSA–510 and provide                          (4) Fourth-level of ownership: If the               resulted from erroneous information
                                            the required certification according to                 fourth level of ownership is that of a                 provided by a producer, or any person
                                            the direct attribution provisions in 7                  legal entity and not that of a person, a               acting on their behalf, the payment will
                                            CFR 1400.105, ‘‘Attribution of                          reduction in payment will be applied to                be recalculated and the producer must
                                            Payments.’’ If a legal entity would be                  the first-level or payment legal entity in             refund any excess payment with interest
                                            eligible for the increased payment                      the amount that represents the indirect                calculated from the date of the
                                            limitation based on the legal entity’s                  ownership in the first-level or payment                disbursement of the payment.
                                            average AGI from farming, ranching, or                  legal entity by the fourth-level legal                    (b) If FSA determines that the
                                            forestry related activities but a member                entity.                                                producer intentionally misrepresented
                                            of that legal entity either does not                       (g) Payments made directly or
                                                                                                                                                           information provided on their
                                            complete a form FSA–510 and provide                     indirectly to a person who is a minor
                                                                                                                                                           application, the application will be
                                            the required certification or is not                    child will not be combined with the
                                                                                                                                                           disapproved and the producer must
                                            eligible for the increased payment                      earnings of the minor’s parent or legal
                                                                                                    guardian.                                              refund the full payment to FSA with
                                            limitation, the payment to the legal
                                                                                                       (h) A producer that is a legal entity               interest from the date of disbursement.
                                            entity will be reduced for the limitation
                                                                                                    must provide the names, addresses,                        (c) Any required refunds must be
                                            applicable to the share of the ERP Phase
                                                                                                    ownership share, and valid taxpayer                    resolved in accordance with part 3 of
                                            2 payment attributed to that member.
                                               (e) If a producer files form FSA–510                 identification numbers of the members                  this title.
                                            and the accompanying certification after                holding an ownership interest in the                      (d) A producer, whether a person or
                                            their ERP Phase 2 payment is issued but                 legal entity. Payments to a legal entity               legal entity, that either fails to timely
                                            before the deadline announced by FSA,                   will be reduced in proportion to a                     provide all required documentation or
                                            FSA will process the form FSA–510 and                   member’s ownership share when a valid                  fails to satisfy any eligibility
                                            issue the additional payment amount if                  taxpayer identification number for a                   requirement for ERP Phase 2, is not
                                            a maximum initial payment amount has                    person or legal entity that holds a direct             eligible to receive ERP Phase 2
                                            not been reached.                                       or indirect ownership interest, at the                 payments, directly or indirectly. An ERP
                                               (f) A payment made to a legal entity                 first through fourth levels of ownership               Phase 2 payment to an eligible legal
                                            will be attributed to those members who                 in the business structure, is not                      entity applicant whose member(s) either
                                            have a direct or indirect ownership                     provided to FSA.                                       fails to timely provide all required
                                            interest in the legal entity, unless the                   (i) If an individual or legal entity is             documentation or fails to satisfy any
                                            payment of the legal entity has been                    not eligible to receive ERP Phase 2                    eligibility requirement for ERP Phase 2
                                            reduced by the proportionate ownership                  payments due to the individual or legal                will be reduced proportionate to that
                                            interest of the member due to that                      entity failing to satisfy payment                      member’s ownership interest in the
                                            member’s ineligibility. Attribution of                  eligibility provisions, the payment made               legal entity.
                                            payments made to legal entities will be                 either directly or indirectly to the                      (e) Any payment under this subpart
                                            tracked through four levels of                          individual or legal entity will be                     will be made without regard to
                                            ownership in legal entities as follows:                 reduced to zero. The amount of the                     questions of title under State law and
                                               (1) First level of ownership: Any                    reduction for the direct payment to the                without regard to any claim or lien
                                            payment made to a legal entity that is                  producer will be commensurate with                     against the commodity or proceeds from
                                            owned in whole or in part by a person                   the direct or indirect ownership interest              the sale of the commodity. The
                                            will be attributed to the person in an                  of the ineligible individual or ineligible             regulations governing offsets in part 3 of
                                            amount that represents the direct                       legal entity.                                          this title apply to payments made under
                                            ownership interest in the first-level or                   (j) Like other programs administered                this subpart.
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                                            payment legal entity;                                   by FSA, payments made to an Indian                        (f) For the purposes of the effect of a
                                               (2) Second level of ownership: Any                   Tribe or Tribal organization, as defined               lien on eligibility for Federal programs
                                            payment made to a first-level legal                     in section 4(b) of the Indian Self-                    (28 U.S.C. 3201(e)), USDA waives the
                                            entity that is owned in whole or in part                Determination and Education                            restriction on receipt of funds under
                                            by another legal entity (referred to as a               Assistance Act (25 U.S.C. 5304), will not              ERP Phase 2 but only as to beneficiaries
                                            second-level legal entity) will be                      be subject to payment limitation.                      who, as a condition of the waiver, agree

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                                            to apply the ERP Phase 2 payments to                      participate in NAP; however, producers                 number, and ownership share of each
                                            reduce the amount of the judgment lien.                   with an AGI greater than $900,000 are                  legal entity, that holds or acquires an
                                               (g) In addition to any other Federal                   eligible for ERP. To reconcile this                    ownership interest in the legal entity;
                                            laws that apply to ERP Phase 2, the                       restriction in the 1985 Farm Bill and the              and
                                            following laws apply: 15 U.S.C. 714; 18                   requirement to obtain NAP or crop                         (2) The name, address, valid taxpayer
                                            U.S.C. 286, 287, 371, and 1001.                           insurance coverage, ERP participants                   identification number, and ownership
                                                                                                      may meet the purchase requirement by                   share of each legal entity in which the
                                            § 760.1909       Perjury.                                 purchasing Whole-Farm Revenue
                                               In either applying for or participating                                                                       person or legal entity holds an
                                                                                                      Protection (WFRP) crop insurance                       ownership interest.
                                            in ERP Phase 2, or both, the producer                     coverage, if eligible, or they may pay the
                                            is subject to laws against perjury and                    applicable NAP service fee despite their                  (c) Except as provided in paragraph
                                            any resulting penalties and prosecution,                  ineligibility for a NAP payment. In other              (d) of this section, payments to a legal
                                            including, but not limited to, 18 U.S.C.                  words, the service fee must be paid even               entity will be reduced in proportion to
                                            1621. If the producer willfully makes                     though no NAP payment may be made                      a member’s ownership share when a
                                            and represents as true any verbal or                      because the AGI of the person or entity                valid taxpayer identification number for
                                            written declaration, certification,                       exceeds the 1985 Farm Bill limitation.                 a person or legal entity that holds a
                                            statement, or verification that the                          (e) If both Federal crop insurance and              direct or indirect ownership interest of
                                            producer knows or believes not to be                      NAP coverage are unavailable for a crop,               less than 10 percent at, or above the
                                            true, in the course of either applying for                the producer must obtain WFRP crop                     fourth level of ownership in the
                                            or participating in ERP Phase 2, or both,                 insurance coverage, if eligible.                       business structure is not provided to
                                            then the producer may be guilty of                           (f) For all crops listed on form FSA–               USDA. Additionally, A legal entity will
                                            perjury and, except as otherwise                          522, producers who have the crop or                    not be eligible to receive payment when
                                            provided by law, may be fined,                            crop acreage in subsequent years and                   a valid taxpayer identification number
                                            imprisoned for not more than 5 years, or                  who fail to obtain the 2 years of crop                 for a person or legal entity that holds a
                                            both, regardless of whether the producer                  insurance or NAP coverage required as                  direct or indirect ownership interest of
                                            makes such verbal or written                              required by this section, must refund                  10 percent or greater at, or above the
                                            declaration, certification, statement, or                 the ERP Phase 2 payment with interest                  fourth level of ownership in the
                                            verification within or without the                        from the date of disbursement.                         business structure is not provided to
                                            United States.                                            Producers who do not plant a crop                      USDA.
                                                                                                      listed on form FSA–522 in a year for                      (d) In order to be eligible to receive
                                            § 760.1910 Requirement to purchase crop                   which this requirement applies are not
                                            insurance or NAP coverage.                                                                                       any payment specified in § 1400.1(a)(7)
                                                                                                      subject to the crop insurance or NAP                   or as provided by the Natural Resources
                                               (a) Producers must report all crops                    purchase requirement for that year.
                                            that suffered a revenue loss in whole or                                                                         Conservation Service in individual
                                                                                                         (g) Producers who received an ERP                   program regulations in this chapter, a
                                            in part due to a qualifying disaster event                Phase 1 payment for a crop are not
                                            on form FSA–522, Crop Insurance and/                                                                             person or legal entity must provide
                                                                                                      required to obtain additional years of                 information in the manner as prescribed
                                            or NAP Coverage Agreement.                                crop insurance or NAP coverage for that
                                               (b) All producers who receive ERP                                                                             by the Deputy Administrator as
                                                                                                      crop if they also receive an ERP Phase                 identified in paragraph (b) of this
                                            Phase 2 payments must file an accurate                    2 payment for a loss associated with that
                                            acreage report and purchase crop                                                                                 section. Paragraph (c) of this section
                                                                                                      crop.                                                  does not apply to the identified Natural
                                            insurance or NAP coverage where crop
                                            insurance is not available, for the next                  PART 1400—PAYMENT LIMITATION                           Resources Conservation Service
                                            2 available crop years. For each crop                     AND PAYMENT ELIGIBILITY                                programs (programs specified in
                                            reported according to paragraph (a) of                                                                           § 1400.1(a)(7) or any other Natural
                                            this section, participants must obtain                    ■ 29. The authoritycitation for part                   Resources Conservation Service
                                            crop insurance or NAP, as may be                          1400 continues to read as follows:                     program as specified in the individual
                                            applicable:                                                  Authority: 7 U.S.C. 1308, 1308–1, 1308–
                                                                                                                                                             program regulations in this chapter).
                                               (1) At a coverage level equal to or                    2, 1308–3, 1308–3a, 1308–4, and 1308–5; and
                                                                                                      Title I, Pub. L. 115–123.
                                                                                                                                                             Subpart B—Payment Limitation
                                            greater than 60 percent for insurable
                                            crops; or                                                                                                        § 1400.107   [Removed]
                                               (2) At the catastrophic level or higher                Subpart A—General Provisions
                                            for NAP crops.                                                                                                   ■ 31. Remove § 1400.107.
                                                                                                      ■ 30. Add § 1400.10 to read as follows:
                                               (c) Availability will be determined
                                            from the date a producer receives an                      § 1400.10    Notification of interests.                PART 1416—EMERGENCY
                                            ERP payment and may vary depending                                                                               AGRICULTURAL DISASTER
                                                                                                         (a) To facilitate administration of
                                            on the timing and availability of crop                                                                           ASSISTANCE PROGRAMS
                                                                                                      subparts B, C, E, and F of this part for
                                            insurance or NAP for a producer’s                         programs specified in § 1400.1, or any
                                            particular crops. The final crop year to                                                                         ■ 32. The authoritycitation for part
                                                                                                      other program as provided in individual
                                            purchase crop insurance or NAP                            program regulations in this chapter, a                 1416 continues to read as follows:
                                            coverage to meet the second year of                       person or legal entity must provide                      Authority: Title I, Pub. L. 113–79, 128
                                            coverage for this requirement is the                      information in the manner as prescribed                Stat. 649; Title I, Pub. L. 115–123; Title VII,
                                            2026 crop year.                                           by the Deputy Administrator.                           Pub. L. 115–141; and Title I, Pub. L. 116–20.
                                               (d) In situations where crop insurance                    (b) The information required to be
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                                            is unavailable for a crop, an ERP                         submitted under paragraph (a) of this                  Subpart A—General Provisions for
                                            participant must obtain NAP coverage.                     section must include:                                  Supplemental Agricultural Disaster
                                            Section 1001D of the Food Security Act                       (1) The name, address, valid taxpayer               Assistance Programs
                                            of 1985 (1985 Farm Bill) provides that                    identification number, and ownership                   § 1416.5   [Removed and Reserved]
                                            a person or entity with an AGI greater                    share of each person, or the name,
                                            than $900,000 is not eligible to                          address, valid taxpayer identification                 ■ 33. Remove and reserve § 1416.5.


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                                            Subpart B—Emergency Assistance for                          (iv) Animals produced or maintained                     (iii) Animals produced or maintained
                                            Livestock, Honeybees, and Farm-                           for consumption by owner.                              for hunting; and
                                            Raised Fish Program                                       *     *    *    *    *                                    (iv) Animals produced or maintained
                                                                                                                                                             for consumption by owner.
                                            ■ 34. In § 1416.102, in the definition of                 Subpart C—Livestock Forage Disaster                    *       *    *     *     *
                                            ‘‘eligible loss condition’’, add a sentence               Program                                                ■ 39. Amend § 1416.305 as follows:
                                            at the end of the definition to read as                                                                          ■ a. In paragraph (g) introductory text,
                                            follows:                                                  ■ 37. Amend § 1416.204 as follows:
                                                                                                      ■ a. In paragraph (a)(1), add ‘‘ostriches,’’           remove the words ‘‘if reliable’’ and add
                                            § 1416.102       Definitions.                             after ‘‘llamas,’’;                                     the words ‘‘if the livestock are not
                                            *       *     *     *     *                               ■ b. Revise paragraph (a)(5);                          owned by the licensed veterinarian and
                                                Eligible loss condition * * * All other               ■ c. Redesignate paragraphs (b)(15) and                reliable’’ in their place;
                                                                                                      (16) as (b)(16) and (17), respectively;                ■ b. Revise paragraph (i) introductory
                                            causes of losses are not covered,
                                                                                                      ■ d. Add new paragraph (b)(15);                        text; and
                                            including, but not limited to,
                                                                                                      ■ e. Remove paragraph (c)(4);                          ■ c. In paragraph (i)(1) introductory text,
                                            negligence, mismanagement, or
                                                                                                      ■ f. Redesignate paragraphs (c)(5)                     remove the words ‘‘For 2017 and
                                            wrongdoing by the producer.
                                                                                                      through (9) as (c)(4) through (8),                     subsequent calendar years, livestock
                                            *       *     *     *     *                               respectively; and                                      inventory reports by livestock unit must
                                            ■ 35. Amend § 1416.103 as follows:                        ■ g. Revise newly redesignated                         be provided to the local county FSA
                                            ■ a. Add a sentence to the end of                         paragraph (c)(8).                                      office by the later of December 3, 2018,
                                            paragraph (a); and                                           The revisions and addition read as                  or’’ and add ‘‘Livestock inventory
                                            ■ b. In paragraph (d)(6), in the first                    follows.                                               reports by livestock unit must be
                                            sentence, remove ‘‘transport,’’ and add                                                                          provided to the FSA local county office
                                                                                                      § 1416.204    Covered livestock.
                                            ‘‘transport’’ in its place.                                                                                      by’’ in their place.
                                                The addition reads as follows:                        *       *    *     *    *                                 The revision reads as follows.
                                                                                                         (a) * * *
                                            § 1416.103 Eligible losses, adverse                          (5) Not have been produced and                      § 1416.305   Application process.
                                            weather, and other loss conditions.                       maintained for reasons other than                      *     *   *     *     *
                                               (a) * * * All other causes of loss are                 commercial use as part of a farming                      (i) Unweaned livestock operations
                                            not considered an eligible loss                           operation. Such excluded uses include,                 may provide proof of death by using the
                                            condition, including, but not limited to,                 but are not limited to:                                LBIH.
                                            negligence, mismanagement or                                 (i) Any uses of wild free roaming
                                                                                                                                                             *     *   *     *     *
                                            wrongdoing by the producer.                               livestock;
                                                                                                         (ii) Racing or wagering;                            PART 1437—NONINSURED CROP
                                            *      *    *      *    *                                    (iii) Hunting; and
                                            ■ 36. Amend § 1416.104 as follows:                           (iv) Consumption by owner; and                      DISASTER ASSISTANCE PROGRAM
                                            ■ a. Redesignate paragraphs (b)(16) and                   *       *    *     *    *                              ■ 40. The authoritycitation for part
                                            (17) as (b)(17) and (18), respectively;                      (b) * * *                                           1437 continues to read as follows:
                                            ■ b. Add new paragraph (b)(16);                              (15) Ostriches,
                                            ■ c. Remove paragraph (c)(4);                                                                                      Authority: 7 U.S.C. 1501–1508 and 7333;
                                                                                                      *       *    *     *    *                              15 U.S.C. 714–714m; 19 U.S.C. 2497, and 48
                                            ■ d. Redesignate paragraphs (c)(5)                           (c) * * *                                           U.S.C. 1469a.
                                            through (8) as paragraphs (c)(4) through                     (8) Livestock produced or maintained
                                            (7), respectively;                                        for reasons other than commercial use,                 Subpart A—General Provisions
                                            ■ e. In newly redesignated paragraph                      including, but not limited to, livestock
                                            (c)(6), add the word ‘‘and’’ at the end;                  produced or maintained for racing or                   ■ 41. In § 1437.3, revise the definition   of
                                            ■ f. Revise newly redesignated                            wagering purposes, hunting, or                         ‘‘Application for coverage’’ to read as
                                            paragraph (c)(7); and                                     consumption by owner.                                  follows:
                                            ■ g. Remove paragraph (c)(9).
                                               The addition and revision read as                      Subpart D—Livestock Indemnity                          § 1437.3   Definitions.
                                            follows.                                                  Program                                                *      *     *     *     *
                                                                                                                                                                Application for coverage means:
                                            § 1416.104 Eligible livestock, honeybees,                 ■ 38. Amend § 1416.304 as follows:                        (1) The form specified by FSA to be
                                            and farm-raised fish.                                     ■ a. In paragraph (c)(3), remove the                   completed by a producer applying for
                                            *       *    *     *    *                                 words ‘‘for livestock’’ and add ‘‘for                  NAP coverage for an eligible crop that
                                               (b) * * *                                              livestock sale or’’ in their place; and                is accompanied by the service fee or the
                                               (16) Ostriches,                                        ■ b. Revise paragraph (c)(4).                          service fee waiver form, or
                                                                                                         The revision reads as follows.                         (2) Another applicable form,
                                            *       *    *     *    *
                                               (c) * * *                                              § 1416.304    Eligible livestock.                      designated by the Deputy Administrator
                                               (7) Livestock that are not produced for                *       *    *     *    *                              to qualify as an application for NAP,
                                            commercial use or those that are not                         (c) * * *                                           that the producer has on file with FSA
                                            produced or maintained in a                                  (4) Not be produced or maintained for               before the deadline for application for
                                            commercial operation for livestock                        reasons other than commercial use for                  the coverage period which certifies they
                                            products, such as milk from dairy,                        livestock sale or for the production of                are eligible for a service fee waiver.
                                            including, but not limited to:                            livestock products such as milk or eggs.               *      *     *     *     *
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                                               (i) Any wild free roaming livestock;                   Livestock excluded from being eligible
                                               (ii) Horses and other animals used or                                                                         § 1437.6   [Amended]
                                                                                                      include, but are not limited to:
                                            intended to be used for racing or                            (i) Wild free roaming animals;                      ■ 42. Amend § 1437.6 as follows:
                                            wagering;                                                    (ii) Horses and other animals used or               ■ a. Remove paragraph (a)(1); and
                                               (iii) Animals produced or maintained                   intended to be used for racing or                      ■ b. Redesignate paragraphs (a)(2) and
                                            for hunting; and                                          wagering;                                              (3) as (a)(1) and (2), respectively.

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                                            § 1437.7   [Amended]                                    PART 1450—BIOMASS CROP                                 is a member of a socially disadvantaged
                                                                                                    ASSISTANCE PROGRAM (BCAP)                              group. A socially disadvantaged group
                                            ■ 43. Amend § 1437.7 as follows:
                                                                                                                                                           is a group whose members have been
                                            ■ a. In paragraph (a), remove the words                 ■ 44. The authoritycitation for part                   subjected to racial or ethnic prejudice
                                            ‘‘in the administrative county office’’;                1450 continues to read as follows:                     because of their identity as members of
                                            ■ b. In paragraph (b) introductory text,                    Authority: 7 U.S.C. 8111.                          a group without regard to their
                                            remove the words ‘‘request for’’ and add                ■ 45. In § 1450.2, add a definitionfor                 individual qualities.
                                            the words ‘‘certification of eligibility for            ‘‘Socially disadvantaged farmer or                     *     *    *      *     *
                                            a’’ in their place; and                                 rancher’’ in alphabetical order to read as             Gloria Montaño Greene,
                                            ■ c. In paragraph (g) add the words ‘‘for               follows.
                                                                                                                                                           Deputy Under Secretary, Farm Production
                                            any buy-up coverage elected’’ at the end                § 1450.2    Definitions.                               and Conservation, U.S. Department of
                                            of the first sentence.                                  *    *     *     *    *                                Agriculture.
                                                                                                      Socially disadvantaged farmer or                     [FR Doc. 2023–00005 Filed 1–9–23; 8:45 am]
                                                                                                    rancher means a farmer or rancher who                  BILLING CODE 3411–E2–P
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                                                                                                                                                                                Strickland AR 0798
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                                              Notices                                                                                                       Federal Register
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                                                                                                                                                            Wednesday, May 18, 2022



                                              This section of the FEDERAL REGISTER                    the online instructions for submitting                document, FSA is announcing ERP,
                                              contains documents other than rules or                  comments.                                             which will assist producers who
                                              proposed rules that are applicable to the                   Mail, Hand-Delivery, or Courier:                 suffered losses of crops, trees, bushes, or
                                              public. Notices of hearings and investigations,         Director, Safety Net Division, FSA,                   vines due to qualifying disaster events.
                                              committee meetings, agency decisions and                USDA, 1400 Independence Avenue SW,                    FSA will administer ERP in two phases:
                                              rulings, delegations of authority, filing of                                                                      ERP Phase 1 will use a streamlined
                                              petitions and applications and agency
                                                                                                      Stop 0510, Washington, DC 20250–
                                              statements of organization and functions are            0522. In your comment, specify the                    process with pre-filled application
                                              examples of documents appearing in this                 docket ID FSA–2022–0004.                              forms. It will provide payments for crop
                                              section.                                                   All comments will be posted without                production losses and tree, bush, and
                                                                                                      change and publicly available on http://              vine losses in certain situations where
                                                                                                      www.regulations.gov.                                  data are already on file with FSA or the
                                              DEPARTMENT OF AGRICULTURE                               FOR FURTHER INFORMATION CONTACT:                      Risk Management Agency (RMA), as a
                                                                                                      Tona Huggins; telephone: (202) 720–                   result of the producer previously
                                              Farm Service Agency                                     6825; email: tona.huggins@usda.gov.                   receiving a NAP payment or a crop
                                              [Docket ID FSA–2022–0004]                               Persons with disabilities who require                 insurance indemnity under certain crop
                                                                                                      alternative means for communication                   insurance policies. This document
                                              Notice of Funds Availability;                           should contact the USDA Target Center                 provides the eligibility requirements,
                                              Emergency Relief Program (ERP)                          at (202) 720–2600 (voice) or (844) 433–               application process, and payment
                                                                                                      2774 (toll-free nationwide).                          calculations for ERP Phase 1.
                                              AGENCY: Farm Service Agency, USDA.                                                                                ERP Phase 2 will provide payments
                                                                                                      SUPPLEMENTARY INFORMATION:
                                              ACTION: Notification of funding                                                                               for other eligible losses through a more
                                              availability.                                           Background                                            traditional application process during
                                                                                                                                                            which eligible producers will provide
                                              SUMMARY: The Farm Service Agency                           Division B, Title I, of the Extending
                                                                                                                                                            all data required to calculate a payment.
                                              (FSA) is issuing this notice announcing                 Government Funding and Delivering
                                                                                                                                                            FSA will announce ERP Phase 2
                                              ERP. ERP will provide assistance to                     Emergency Assistance Act (Pub. L. 117–
                                                                                                                                                            provisions and application period in a
                                              producers for losses to crops, trees,                   43) provides $10 billion for necessary
                                                                                                                                                            future Federal Register document.
                                              bushes, and vines due to wildfires,                     expenses related to losses of:
                                              hurricanes, floods, derechos, excessive                     Crops;                                           Definitions
                                              heat, winter storms, freeze (including a                    Trees;                                              The definitions in 7 CFR parts 718
                                              polar vortex), smoke exposure,                              Bushes; and                                      and 1400 apply to ERP, except as
                                              excessive moisture, qualifying drought,                     Vines.                                           otherwise provided in this document.
                                              and related conditions occurring in                        To be eligible for assistance, the loss            The following definitions also apply.
                                              calendar years 2020 and 2021. ERP                       must be a consequence of one of the                      Administrative fee means the amount
                                              assistance will be provided in two                      following qualifying disaster events                  an insured paid for catastrophic risk
                                              phases. This document provides the                      occurring in the 2020 or 2021 calendar                protection, and additional coverage for
                                              eligibility requirements, application                   years:                                                each crop year as specified in the
                                              process, and payment calculations for                       Droughts;                                        applicable crop insurance policy.
                                              ERP Phase 1, which will provide                             Wildfires;                                          Average adjusted gross farm income
                                                                                                          Hurricanes;                                      means the average of the portion of the
                                              payments for crop production losses
                                                                                                          Floods;                                          person or legal entity’s adjusted gross
                                              and tree, bush, and vine losses
                                                                                                          Derechos;                                        income derived from farming, ranching,
                                              calculated using certain data from
                                                                                                          Excessive heat;                                  or forestry operations for the 3 taxable
                                              previously issued crop insurance
                                                                                                          Winter storms;                                   years preceding the most immediately
                                              indemnities and Noninsured Crop                             Freeze, including a polar vortex;
                                              Disaster Assistance Program (NAP)                                                                             preceding complete taxable year. The
                                                                                                          Smoke exposure; and                              relevant tax years are:
                                              payments.                                                   Excessive moisture.                                 (1) For the 2020 program year, 2016,
                                              DATES:                                                     Losses due to drought are only                     2017, and 2018;
                                                 Funding availability: Implementation                 eligible for assistance if any area within               (2) For the 2021 program year, 2017,
                                              will begin May 18, 2022.                                the county in which the loss occurred                 2018, and 2019; and
                                                 Comment Date: We will consider                       was rated by the U.S. Drought Monitor                    (3) For the 2022 program year,2 2018,
                                              comments on the Paperwork Reduction                     as having a D2 (severe drought) for eight             2019, and 2020.
                                              Act that we receive by: July 18, 2022.                  consecutive weeks or a D3 (extreme                      Average adjusted gross income means
                                              ADDRESSES: We invite you to submit                      drought) or higher level of drought                   the average of the adjusted gross income
                                              comments on the information collection                  intensity.                                            as defined under 26 U.S.C. 62 or
                                              request. You may submit comments by                        FSA is using the funding to assist                 comparable measure of the person or
                                              any of the following methods, although                  producers who suffered eligible losses
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                                                                                                                                                            legal entity. The relevant tax years are:
                                              FSA prefers that you submit comments                    through several programs. 1 In this
                                              electronically through the Federal                                                                              2 The 2022 crop year is included because a
                                                                                                        1 FSA previously announced ELRP on April 4,         qualifying disaster event occurring in the 2021
                                              eRulemaking Portal:
                                                                                                      2022 (87 FR 19465–19470). The Milk Loss Program       calendar year may have caused a loss of a crop
                                                  Federal eRulemaking Portal: Go to                  and On-Farm Stored Commodity Loss Program will        during the 2022 crop year, based on how ‘‘crop
                                              http://www.regulations.gov and search                   be announced in a future rule. These programs and     year’’ is defined in the applicable crop insurance
                                              for Docket ID FSA–2022–0004. Follow                     ERP have the same funding source.                     policy or NAP provisions.


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                                                 (1) For the 2020 program year, 2016,                 rancher, socially disadvantaged farmer                   (b) $179,000 in each of the 2018 and
                                              2017, and 2018;                                         or rancher, or veteran farmer or rancher.             2019 calendar years for the 2021
                                                 (2) For the 2021 program year, 2017,                    Income derived from farming,                       program year; or
                                              2018, and 2019; and                                     ranching, and forestry operations means                  (c) $189,200 in each of the 2019 and
                                                 (3) For the 2022 program year, 2018,                 income of an individual or entity                     2020 calendar years for the 2022
                                              2019, and 2020.                                         derived from:                                         program year; and
                                                 Beginning farmer or rancher means a                     (1) Production of crops, specialty                    (2) A person whose total household
                                              farmer or rancher who has not operated                  crops, and unfinished raw forestry                    income was at or below the national
                                              a farm or ranch for more than 10 years                  products;                                             poverty level for a family of four in each
                                              and who materially and substantially                       (2) Production of livestock,                       of the same two previous calendar years
                                              participates in the operation. For a legal              aquaculture products used for food,                   referenced in paragraph (1) of this
                                              entity to be considered a beginning                     honeybees, and products derived from                  definition. Limited resource farmer or
                                              farmer or rancher, at least 50 percent of               livestock;                                            rancher status can be determined using
                                              the interest must be beginning farmers                     (3) Production of farm-based                       a website available through the Limited
                                              or ranchers.                                            renewable energy;                                     Resource Farmer and Rancher Online
                                                 Bush means a low, branching, woody                      (4) Selling (including the sale of                 Self Determination Tool through
                                              plant, from which at maturity of the                    easements and development rights) of                  National Resource and Conservation
                                              bush, an annual fruit or vegetable crop                 farm, ranch, and forestry land, water or              Service at https://lrftool.sc.egov.
                                              is produced for commercial market for                   hunting rights, or environmental                      usda.gov.
                                              human consumption, such as a                            benefits;                                                For an entity to be considered a
                                              blueberry bush. The definition does not                    (5) Rental or lease of land or                     limited resource farmer or rancher, all
                                              cover nursery stock or plants that                      equipment used for farming, ranching,                 members who hold an ownership
                                              produce a bush after the normal crop is                 or forestry operations, including water               interest in the entity must meet the
                                              harvested.                                              or hunting rights;                                    criteria in paragraphs (1) and (2) of this
                                                 Buy-up NAP coverage means NAP                           (6) Processing, packing, storing, and              definition.
                                              coverage at a payment amount that is                    transportation of farm, ranch, forestry                  NAP means the Noninsured Crop
                                              equal to an indemnity amount                            commodities including renewable                       Disaster Assistance Program, which is
                                              calculated for buy-up coverage                          energy;                                               authorized by section 196 of the Federal
                                              computed under section 508(c) or (h) of                    (7) Feeding, rearing, or finishing of              Agriculture Improvement and Reform
                                              the Federal Crop Insurance Act and                      livestock;                                            Act of 1996 (7 U.S.C. 7333) and
                                              equal to the amount that the buy-up                                                                           regulations in 7 CFR part 1437.
                                                                                                         (8) Payments of benefits, including
                                              coverage yield for the crop exceeds the                                                                          NAP service fee means the fee the
                                                                                                      benefits from risk management
                                              actual yield for the crop.                                                                                    producer paid to obtain NAP coverage
                                                                                                      practices, crop insurance indemnities,
                                                 Catastrophic coverage has the same                                                                         specified in 7 CFR 1437.7.
                                                                                                      and catastrophic risk protection plans;                  Ownership interest means to have
                                              meaning as in 7 CFR 1437.3.
                                                                                                         (9) Sale of land that has been used for            either a legal ownership interest or a
                                                 Coverage level means the percentage
                                                                                                      agricultural purposes;                                beneficial ownership interest in a legal
                                              determined by multiplying the elected
                                                                                                         (10) Payments and benefits authorized              entity. For the purposes of
                                              yield percentage under a crop insurance
                                                                                                      under any program made available and                  administering ERP, a person or legal
                                              policy or NAP coverage by the elected
                                                                                                      applicable to payment eligibility and                 entity that owns a share or stock in a
                                              price percentage.
                                                 Crop insurance means an insurance                    payment limitation rules;                             legal entity that is a corporation, limited
                                              policy reinsured by the Federal Crop                       (11) Income reported on Internal                   liability company, limited partnership,
                                              Insurance Corporation under the                         Revenue Service (IRS) Schedule F or                   or similar type entity where members
                                              provisions of the Federal Crop                          other schedule used by the person or                  hold a legal ownership interest and
                                              Insurance Act, as amended. It does not                  legal entity to report income from such               shares in the profits or losses of such
                                              include private plans of insurance.                     operations to the IRS;                                entity is considered to have an
                                                 Crop insurance indemnity means the                      (12) Wages or dividends received                   ownership interest in such legal entity.
                                              payment to a participant for crop losses                from a closely held corporation, and                  A person or legal entity that is a
                                              covered under crop insurance                            Interest Charge Domestic International                beneficiary of a trust or heir of an estate
                                              administered by RMA in accordance                       Sales Corporation (IC–DISC) or legal                  who benefits from the profits or losses
                                              with the Federal Crop Insurance Act (7                  entity comprised entirely of family                   of such entity is considered to have a
                                              U.S.C. 1501–1524).                                      members when more than 50 percent of                  beneficial ownership interest in such
                                                 Crop year means:                                     the legal entity’s gross receipts for each            legal entity.
                                                 (1) For insured crops, trees, bushes,                tax year are derived from farming,                       Premium means the premium paid by
                                              and vines, the crop year as defined                     ranching, or forestry activities as                   the producer for crop insurance
                                              according to the applicable crop                        defined in this document; and                         coverage or NAP buy-up coverage
                                              insurance policy; and                                      (13) Any other activity related to                 levels.
                                                 (2) For NAP-covered crops, the crop                  farming, ranching, and forestry, as                      Program year means the crop year.
                                              year as defined in 7 CFR 1437.3.                        determined by the Deputy                                 Qualifying disaster event means
                                                 Deputy Administrator means the FSA                   Administrator.                                        wildfires, hurricanes, floods, derechos,
                                              Deputy Administrator for Farm                              Limited resource farmer or rancher                 excessive heat, winter storms, freeze
                                              Programs.                                               means a farmer or rancher who is both                 (including a polar vortex), smoke
                                                                                                      of the following:
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                                                 FCIC means the Federal Crop                                                                                exposure, excessive moisture, qualifying
                                              Insurance Corporation, a wholly owned                      (1) A person whose direct or indirect              drought, and related conditions.
                                              Government Corporation of USDA,                         gross farm sales, based on 2 years, did                  Qualifying drought means an area
                                              administered by RMA.                                    not exceed:                                           within the county was rated by the U.S.
                                                 Historically underserved farmer or                      (a) $180,300 in each of the 2017 and               Drought Monitor as having a drought
                                              rancher means a beginning farmer or                     2018 calendar years for the 2020                      intensity of D2 (severe drought) for eight
                                              rancher, limited resource farmer or                     program year;                                         consecutive weeks or D3 (extreme

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                                              drought) or higher level for any period                 are intended for commercial purposes.                       A Federal Crop Insurance policy
                                              of time during the applicable calendar                  Nursery stock, banana and plantain                      that provided coverage for crop
                                              year.                                                   plants, and trees used for pulp or timber               production losses or tree losses related
                                                  Related condition means damaging                    are not considered eligible trees.                      to the qualifying disaster events and
                                              weather and adverse natural                                Unit means the unit structure as                     received an indemnity 6 for a crop and
                                              occurrences that occurred concurrently                  defined under the applicable crop                       unit, excluding perennial crops with an
                                              with and as a direct result of a specified              insurance policy for insured crops or in                intended use of grazing; livestock
                                              qualifying disaster event. Related                      7 CFR 1437.9 for NAP-covered crops.                     policies; nursery; forage seeding; and
                                              conditions include, but are not limited                    USDA means the U.S. Department of                    Margin Protection Plan policies
                                              to:                                                     Agriculture.                                            purchased without a base policy; or
                                                   Excessive wind that occurred as a                    U.S. Drought Monitor means the                           NAP coverage and received a NAP
                                              direct result of a derecho;                             system for classifying drought severity                 payment for a crop and unit.
                                                   Silt and debris that occurred as a                according to a range of abnormally dry                     ERP Phase 1 excludes losses to
                                              direct and proximate result of flooding;                to exceptional drought. It is a                         aquacultural species that were
                                                   Excessive wind, storm surges,                     collaborative effort between Federal and                compensated under the Emergency
                                              tornados, tropical storms, and tropical                 academic partners, produced on a                        Assistance for Livestock, Honey Bees,
                                              depressions that occurred as a direct                   weekly basis, to synthesize multiple                    and Farm-raised Fish Program
                                              result of a hurricane; and                              indices, outlooks, and drought impacts                  (generally referred to as ELAP) to avoid
                                                   Excessive wind and blizzards that                 on a map and in narrative form. This                    providing duplicate benefits for losses
                                              occurred as a direct result of a winter                 synthesis of indices is reported by the                 already at least partially compensated
                                              storm.                                                  National Drought Mitigation Center at                   for by ELAP.
                                                  Socially disadvantaged farmer or                    http://droughtmonitor.unl.edu .                            The applicable crop insurance
                                              rancher means a farmer or rancher who                      Veteran farmer or rancher means a                    policies and NAP provide payments to
                                              is a member of a group whose members                    farmer or rancher who has served in the                 producers for crop, tree, bush, and vine
                                              have been subjected to racial, ethnic, or               Armed Forces (as defined in 38 U.S.C.                   losses due to eligible causes of loss as
                                              gender prejudice because of their                       101(10) 3 ) and:                                        defined respectively in the producer’s
                                              identity as members of a group without                     (1) Has not operated a farm or ranch                 crop insurance policy or NAP, which
                                              regard to their individual qualities. For               for more than 10 years; or                              includes crop production losses and tree
                                              entities, at least 50 percent of the                       (2) Has obtained status as a veteran (as             losses due to the qualifying disaster
                                              ownership interest must be held by                      defined in 38 U.S.C. 101(2) 4 ) during the              events eligible for ERP. Where such an
                                              individuals who are members of such a                   most recent 10-year period.                             overlap has been identified, RMA and
                                              group. Socially disadvantaged groups                       For an entity to be considered a                     FSA are using certain data submitted by
                                              include the following and no others                     veteran farmer or rancher, at least 50                  producers for crop insurance or NAP
                                              unless approved in writing by the                       percent of the ownership interest must                  purposes to calculate a producer’s
                                              Deputy Administrator:                                   be held by members who have served in                   eligible loss under ERP Phase 1. The
                                                  (1) American Indians or Alaskan                     the Armed Forces and meet the criteria                  ERP calculation is intended to
                                              Natives;                                                in paragraph (1) or (2) of this definition.             compensate producers for a percentage
                                                  (2) Asians or Asian-Americans;                         Vine means a perennial plant grown                   of that loss determined by the
                                                  (3) Blacks or African Americans;                    under normal conditions from which an                   applicable ERP factor, which varies
                                                  (4) Hispanics or Hispanic Americans;                annual fruit crop is produced for                       based on the producer’s level of crop
                                                  (5) Native Hawaiians or other Pacific               commercial market for human                             insurance or NAP coverage, as described
                                              Islanders; and                                          consumption, such as grape, kiwi, or                    later in this document.
                                                  (6) Women.                                          passion fruit, and that has a flexible                     Producers who did not qualify for
                                                  Specialty crops means fruits, tree                  stem supported by climbing, twining, or                 assistance under Phase 1 who
                                              nuts, vegetables, culinary herbs and                    creeping along a surface. Nursery stock,                experienced losses to crops, trees,
                                              spices, medicinal plants, and nursery,                  perennials that are normally propagated                 bushes, and vines, will be addressed
                                              floriculture, and horticulture crops. This              as annuals such as tomato plants,                       under ERP Phase 2. Other losses to
                                              includes common specialty crops                         biennials such as strawberry plants, and                crops, trees, bushes, and vines will also
                                              identified by USDA’s Agricultural                       annuals such as pumpkin, squash,                        be addressed under ERP Phase 2.7 ERP
                                              Marketing Service at https://www.ams.                   cucumber, watermelon, and other melon                   Phase 2 will address situations where a
                                              usda.gov/services/grants/scbgp/                         plants, are excluded from the term vine.                producer’s records at RMA do not match
                                              specialty-crop and other crops as                                                                               the records at FSA. Further, producers
                                              designated by the Deputy                                ERP Phase 1                                             who apply for payment under ERP
                                              Administrator.                                             ERP Phase 1 will provide a                           Phase 1 may also apply under ERP
                                                  Substantial beneficial interest (SBI)               streamlined application process for                     Phase 2; however, payments under ERP
                                              has the same meaning as specified in                    eligible losses during the 2020, 2021, or
                                              the applicable crop insurance policy.                   2022 crop years 5 for which a producer                  year’’ is defined in the applicable crop insurance
                                              For the purposes of ERP Phase 1,                                                                                policy or NAP provisions.
                                                                                                      had:                                                       6 For purposes of this program, indemnity does
                                              Federal crop insurance records for                                                                              not include cottonseed endorsement payments,
                                              ‘‘transfer of coverage, right to                           3 The term ‘‘Armed Forces’’ means the United
                                                                                                                                                              downed rice endorsement payments, sugarcane
                                              indemnity’’ are considered the same as                  States Army, Navy, Marine Corps, Air Force, Space       crop replacement endorsement payments, replant
                                                                                                      Force, and Coast Guard, including the reserve           payments, or raisin reconditioning payments.
                                              SBIs.                                                   components.                                                7 Losses covered under ERP Phase 2 may include
                                                  Tree means a tall, woody plant having
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                                                                                                         4 The term ‘‘veteran’’ means a person who served
                                                                                                                                                              crop quality losses, losses for which the producer
                                              comparatively great height, and a single                in the active military, naval, air, or space service,   did not have an applicable crop insurance policy
                                              trunk from which an annual crop is                      and who was discharged or released under                or NAP coverage for the crop and unit, and losses
                                              produced for commercial market for                      conditions other than dishonorable.                     for which the producer had an applicable crop
                                                                                                         5 The 2022 crop year is included because a           insurance policy or NAP coverage but the loss was
                                              human consumption, such as a maple                      qualifying disaster event occurring in the 2021         not significant enough to result in a crop insurance
                                              tree for syrup, or papaya or orchard tree               calendar year may have caused a loss of a crop          indemnity or NAP payment or was otherwise
                                              for fruit. It includes immature trees that              during the 2022 crop year, based on how ‘‘crop          excluded from ERP Phase 1.


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                                              Phase 2 will take into account any                      (ECO), Margin Protection (MP), and                    the primary policy holder and all
                                              amounts received for the crop and unit                  Area Risk Protection Insurance (ARPI)                 producers with an SBI who have a
                                              under ERP Phase 1. ERP Phase 2                          when data become available.                           record established with FSA. If one or
                                              provisions will be specified in a future                    For producers who received a crop                 more producers with an SBI had a share
                                              Federal Register document.                              insurance indemnity for eligible                      in a crop, the primary policy holder
                                                                                                      policies, the pre-filled application will             must update the application to show the
                                              Eligibility                                             include the producer’s physical State                 share in the crop for each of those
                                                 To be eligible for payment under ERP                 and county codes, pay unit numbers,                   producers in addition to the primary
                                              Phase 1, a producer must have suffered                  crops, and gross indemnities. While the               policy holder. If determined eligible,
                                              a crop, tree, bush, or vine loss that was               majority of crop insurance policies may               any payments will be issued to the
                                              caused, in whole or in part, by a                       cover an eligible crop loss, a small                  primary policy holder and to any
                                              qualifying disaster event. Because under                number do not and are not eligible for                producers with an SBI who have a share
                                              certain policies the amount of loss due                 ERP, including livestock policies and                 in the crop according to their shares in
                                              to a qualifying disaster event cannot be                margin policies. Even if a policy is                  the crop entered on the application. To
                                              separated from the amount of loss                       included in ERP Phase 1, the producer                 receive a payment, each person or entity
                                              caused by other eligible causes of loss                 will need to certify that their payment               that is listed as having a share of the
                                              as defined by the applicable crop                       under any such policy was in whole or                 ERP Phase 1 payment for a crop and
                                              insurance policy or NAP, the ERP Phase                  in part due to a crop loss related to a               unit must sign the application and agree
                                              1 payment will be based on the                          qualifying disaster event. For producers              to purchase crop insurance or NAP
                                              producer’s loss as long as those losses                 who received a NAP payment, the pre-                  coverage for that crop and unit, as
                                              are in whole or in part caused by a                     filled applications will include the                  described later in this document. If
                                              qualifying disaster event.                              producer’s administrative State and                   multiple crops and units are listed on an
                                                 In addition, consistent with other FSA               county codes, unit numbers, crops, pay                application, producers may agree to
                                              disaster assistance programs, a producer                groups, and gross NAP payments. FSA                   purchase crop insurance or NAP
                                              must be a:                                              will also pre-fill the calculated ERP                 coverage for only some of the crops and
                                                 (1) Citizen of the United States;                    Phase 1 payment amounts, prior to any                 units; an ERP Phase 1 payment will be
                                                 (2) Resident alien, which for purposes               payment reductions. 8 Producers cannot                issued only for those crops and units for
                                              of ERP means ‘‘lawful alien’’ as defined                alter the data in these pre-filled items.             which the producer agrees to meet that
                                              in 7 CFR 1400.3;                                        If a producer believes that any                       requirement.
                                                 (3) Partnership consisting of solely of              information that has been pre-filled is                  Producers, including any producers
                                              citizens of the United States or resident               incorrect, the producer should contact                with an SBI who have a share in a crop
                                              aliens;                                                 their crop insurance agent for insured                as indicted on the application, must also
                                                 (4) Corporation, limited liability                   crops or their FSA county office for                  have the following forms on file with
                                              company, or other organizational                        NAP-covered crops.                                    FSA by within 60 days of the ERP Phase
                                              structure organized under State law                         Receipt of a pre-filled application
                                                                                                                                                            1 deadline announced by the Deputy
                                              consisting solely of citizens of the                    form is not a confirmation that the
                                                                                                                                                            Administrator to receive an ERP Phase
                                              United States or resident aliens; or                    producer is eligible to receive an ERP
                                                 (5) Indian Tribe or Tribal                                                                                 1 payment:
                                                                                                      Phase 1 payment. In order to receive a
                                              organization, as defined in section 4(b)                                                                          Form AD–2047, Customer Data
                                                                                                      payment, the producer must certify that
                                              of the Indian Self-Determination and                                                                          Worksheet;
                                                                                                      their crop insurance indemnity or NAP
                                              Education Assistance Act (25 U.S.C.                     payment on which the ERP Phase 1                          Form CCC–902, Farm Operating
                                              5304).                                                  payment will be based was due, in                     Plan for an individual or legal entity as
                                                 Eligible crops include all crops for                 whole or in part, to a crop production                provided in 7 CFR part 1400;
                                              which crop insurance or NAP coverage                    loss or a loss of trees, bushes, or vines                 Form CCC–901, Member
                                              was available, except for crops intended                caused by a qualifying disaster event.                Information for Legal Entities (if
                                              for grazing.                                            Producers are responsible for reviewing               applicable); and
                                                                                                      the list of qualifying disaster events, and               A highly erodible land conservation
                                              Application Process                                                                                           (sometimes referred to as HELC) and
                                                                                                      if a loss was due to drought, producers
                                                 FSA and RMA will identify the                        must also ensure that the county where                wetland conservation certification as
                                              producers who meet the criteria                         the crop and unit was located meets the               provided in 7 CFR part 12 (form AD–
                                              described above to apply for ERP Phase                  definition of ‘‘qualifying drought.’’ FSA             1026 Highly Erodible Land
                                              1. For each of those producers, FSA will                will provide a factsheet and other                    Conservation (HELC) and Wetland
                                              generate an FSA–520, Emergency Relief                   materials to provide examples and more                Conservation (WC) Certification) for the
                                              Program (ERP) Phase 1 Application,                      details on the qualifying disaster events             producer and applicable affiliates.
                                              with certain items pre-filled with                      to assist producers. In addition,                        Many producers, especially if they
                                              information already on file with USDA.                  producers must also certify that they                 have participated in FSA programs
                                              A separate application form will be                     will meet the requirement to purchase                 recently, will already have these forms
                                              generated for each applicable program                   crop insurance or NAP coverage for the                on file with FSA. Producers who are
                                              year. FSA expects to begin mailing                      next 2 available crop years, as described             unsure of whether a form is on file may
                                              application forms in May to producers                   later in this document.                               contact their local FSA service center.
                                              who received crop insurance                                 The portion of the form for producers             Contact information for service centers
                                              indemnities, and to begin mailing forms                 who had crop insurance will also list                 is available at https://www.farmers.gov/
                                              to producers who received NAP                                                                                 working-with-us/service-center-locator.
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                                              payments later in the summer. FSA will                    8 Similar to other disaster programs administered      In addition to the forms listed above,
                                              mail application forms for policy                       by FSA, payment reductions will be made to            certain producers will also need to
                                              holders with 2021 crop year coverage                    account for payment limitation, lack of compliance    submit the following forms to qualify for
                                                                                                      with highly erodible land conservation and wetland
                                              under Stacked Income Protection                         conservation requirements, and prorating of
                                                                                                                                                            an increased payment rate or payment
                                              (STAX), Supplemental Coverage Option                    payments to stay within available funding as          limitation, as described later in this
                                              (SCO), Enhanced Coverage Option                         discussed later in this document.                     document:

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                                                 Form CCC–860, Socially                                                 certification, for a legal entity and all                                  Payment Calculation
                                              Disadvantaged, Limited Resource,                                           members of that entity, for each                                               RMA and FSA will calculate ERP
                                              Beginning and Veteran Farmer or                                            applicable program year.                                                   Phase 1 payments based on the data on
                                              Rancher Certification, applicable for the                                    FSA will continue to accept forms                                        file with the agencies at the time of
                                              program year or years for which the                                        CCC–860 and FSA–510 from producers                                         calculation. The ERP Phase 1 payment
                                              producer is applying for ERP;9 or                                          for the purpose of establishing eligibility                                calculation for a crop and unit will
                                                 Form FSA–510, Request for an                                           for an increased payment rate or                                           depend on the type and level of
                                              Exception to the $125,000 Payment                                          payment limitation until the deadline                                      coverage obtained by the producer. Each
                                              Limitation for Certain Programs,                                           announced by FSA.                                                          calculation will use an ERP factor based
                                              accompanied by a certification from a                                                                                                                 on the producer’s level of crop
                                              certified public accountant or attorney                                                                                                               insurance or NAP coverage, as specified
                                              as to that person or legal entity’s                                                                                                                   in the following tables.

                                                                                                                                                                                                                                                     ERP factor
                                                                                                                                                                                                                                                      (percent)

                                              Crop Insurance Coverage Level:
                                                  Catastrophic coverage ..................................................................................................................................................................                  75.0
                                                  More than catastrophic coverage but less than 55 percent ........................................................................................................                                         80.0
                                                  At least 55 percent but less than 60 percent ...............................................................................................................................                              82.5
                                                  At least 60 percent but less than 65 percent ...............................................................................................................................                              85.0
                                                  At least 65 percent but less than 70 percent ...............................................................................................................................                              87.5
                                                  At least 70 percent but less than 75 percent ...............................................................................................................................                              90.0
                                                  At least 75 percent but less than 80 percent ...............................................................................................................................                              92.5
                                                  At least 80 percent .......................................................................................................................................................................               95.0
                                              NAP Coverage Level:
                                                  Catastrophic coverage ..................................................................................................................................................................                  75.0
                                                  50 percent .....................................................................................................................................................................................          80.0
                                                  55 percent .....................................................................................................................................................................................          85.0
                                                  60 percent .....................................................................................................................................................................................          90.0
                                                  65 percent .....................................................................................................................................................................................          95.0



                                                 When determining the ERP factors,                                       insurance or NAP coverage cannot                                           equal to the producer’s gross crop
                                              analysis was conducted to ensure that                                      exceed 70 percent of their loss;                                           insurance indemnity already received
                                              payments do not exceed available                                           therefore, the lowest ERP factor for                                       for those losses minus service fees and
                                              funding and, in aggregateacross all                                        producers who had crop insurance or                                        premiums.
                                              producers, do not exceed 90 percent of                                     NAP is set at 75 percent. Payment limits                                      For NAP-covered crops, FSA will use
                                              losses, as required by the Extending                                       and other reductions will reduce ERP                                       the producer’s crop production or
                                              Government Funding and Delivering                                          payments, further lowering the percent                                     inventory data that is already on file,
                                              Emergency Assistance Act. The                                              of losses covered.                                                         which provides the necessary
                                              difference between the ERP payment                                            For crop insurance, RMA will use the                                    information to determine the producer’s
                                              factor for crop insurance and NAP is                                       producer’s data that is already on file,                                   amount of loss. NAP provides financial
                                              due to differences in the available                                        which provides the necessary                                               assistance for crop losses due to
                                              coverage levels. Crop insurance is                                         information to determine the producer’s                                    specified natural disasters and uses a
                                              available at the catastrophic coverage                                     amount of loss. Crop insurance provides                                    producer’s crop production or inventory
                                              level (50 percent production coverage of                                   financial assistance for crop losses due                                   data to calculate a payment based on the
                                              55 percent of the price) and buy-up                                        to specified natural disasters and uses a                                  level of NAP coverage elected by the
                                              coverage levels (50 percent to 85 percent                                  producer’s data to calculate a payment                                     producer. As previously discussed, ERP
                                              of the production for 100 percent of the                                   based on the type of crop insurance                                        is intended to compensate producers for
                                              price). NAP is limited by law to a                                         coverage elected by the producer. As                                       a percentage of loss determined by the
                                              maximum of 65 percent buy-up                                               previously discussed, ERP is intended                                      applicable ERP factor based on their
                                              coverage. For both NAP and crop                                            to compensate producers for a                                              NAP coverage level; therefore, FSA will
                                              insurance, the ERP payment factor for                                      percentage of their loss determined by                                     perform a calculation that is consistent
                                              the catastrophic and maximum buy-up                                        the applicable ERP factor based on the                                     with the NAP payment calculation for
                                              levels are 75 percent and 95 percent                                       level of crop insurance coverage                                           the crop and unit, as provided in 7 CFR
                                              respectively, with the ERP factors stair-                                  purchased; therefore, RMA will                                             part 1437, but using the ERP factor in
                                              stepping for the buy-up options in-                                        calculate each producer’s loss consistent                                  the table above applicable to the
                                              between as shown in the tables above.                                      with the loss procedures for the type of                                   producer’s NAP coverage level as the
                                              The Extending Government Funding                                           coverage purchased 10 but using the ERP                                    applicable guarantee in those
                                              and Delivering Emergency Assistance                                        factor. This calculated amount would                                       calculations. For example, the guarantee
                                              Act provides that payments to                                              then be adjusted by subtracting out the                                    for a producer that had purchased 60
                                              producers who did not have crop                                            net crop insurance indemnity, which is                                     percent NAP coverage would be
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                                                9 A producer who has filed form CCC–860                                  and their certification as a beginning or veteran                          submit form CCC–860 for each applicable program
                                              certifying their status as a socially disadvantaged,                       farmer or rancher includes the relevant date needed                        year.
                                              beginning, or veteran farmer or rancher for a prior                        to determine for what programs years the status                               10 For example, ERP for Area Risk Protection
                                              program year is not required to submit a subsequent                        would apply. Because a producer’s status as a
                                                                                                                                                                                                    Insurance (ARPI) and STAX is based on area-wide
                                              certification of their status for a later program year                     limited resource farmer or rancher may change
                                              because a producer’s status as socially                                    annually depending on the producer’s direct and                            (for example, county) production losses.
                                              disadvantaged would not change in different years,                         indirect gross farm sales, those producers must


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                                              adjusted and recalculated based on a 90                 prorated by 75 percent to ensure that      as to that person or legal entity’s
                                              percent ERP factor. The calculated                      total ERP payments, including payments     certification. If a producer requesting
                                              amount using the ERP factor would then                  under ERP Phase 2, do not exceed the       the increased payment limitation is a
                                              be adjusted by subtracting the net NAP                  available funding. ERP Phase 1             legal entity, all members of that entity
                                              calculated payment, which is equal to                   payments for NAP-covered crops will        must also complete form FSA–510 and
                                              the producer’s gross NAP payment                        not be prorated due to the significantly   provide the required certification
                                              already received by the producer minus                  smaller NAP portfolio that by its nature   according to the direct attribution
                                              service fees and premiums. 11 For NAP,                  only covers smaller acreagesand            provisions in 7 CFR 1400.105,
                                              actual value equals the dollar value of                 specialty crops that are not covered by    ‘‘Attribution of Payments.’’ If a legal
                                              the crop and unit at the time of loss as                crop insurance.                            entity would be eligible for the
                                              determined by USDA. For example, a                                                                 increased payment limitation based on
                                              producer had a crop that had a value of                 Payment Limitation
                                                                                                                                                 the legal entity’s average AGI from
                                              $150,000 and a 50 percent loss,                            The payment limitation for ERP Phase farming, ranching, or forestry related
                                              resulting in a loss of $75,000. They had                1 is determined by the person’s or legal   activities but a member of that legal
                                              a NAP coverage level of 60 percent, so                  entity’s average adjusted gross farm       entity either does not complete a form
                                              their NAP guarantee was $90,000. Their                  income (income from activities related     FSA–510 and provide the required
                                              NAP guarantee of $90,000 minus the                      to farming, ranching, or forestry).        certification or is not eligible for the
                                              $75,000 value of the crop that was not                  Specifically, a person or legal entity,    increased payment limitation, the
                                              lost is equal to a net NAP calculated                   other than a joint venture or general      payment to the legal entity will be
                                              payment of $15,000. The new ERP                         partnership, cannot receive, directly or   reduced for the limitation applicable to
                                              guarantee based on the ERP factor of 90                 indirectly, more than $125,000 in          the share of the ERP Phase 1 payment
                                              percent is calculated to be $135,000.                   payments for specialty crops and           attributed to that member. FSA will
                                              The ERP guarantee of $135,000 minus                     $125,000 in payment for all other crops    issue ERP Phase 1 payments as
                                              the $75,000 value of the crop that was                  under ERP (for Phase 1 and Phase 2         applications are processed and
                                              not lost is equal to $60,000, which is                  combined) for a program year if their      approved. If a producer files form FSA–
                                              reduced by the net NAP calculated                       average adjusted gross farm income is      510 and the accompanying certification
                                              payment amount of $15,000, resulting in                 less than 75 percent of their average AGI after their ERP Phase 1 payment is
                                              a calculated ERP Phase 1 payment of                     the three taxable years preceding the      issued but before the deadline
                                              $45,000.                                                most immediately preceding complete        announced by FSA, FSA will process
                                                 Similar to other FSA disaster                        tax year. If at least 75 percent of the    the form FSA–510 and issue the
                                              assistance programs like ELAP and                       person or legal entity’s average AGI is    additional payment amount.
                                              other recent ad hoc disaster programs,                  derived from farming, ranching, or            A payment made to a legal entity will
                                              historically underserved farmers and                    forestry related activities and the        be attributed to those members who
                                              ranchers will receive an increase to their              participant provides the required          have a direct or indirect ownership
                                              ERP Phase 1 payment that is equal to 15                 certification and documentation, as        interest in the legal entity, unless the
                                              percent of the amount calculated as                     discussed below, the person or legal       payment of the legal entity has been
                                              described above. For example, if a                      entity, other than a joint venture or      reduced by the proportionate ownership
                                              historically underserved farmer or                      general partnership, is eligible to        interest of the member due to that
                                              rancher’s calculated amount is $1,000,                  receive, directly or indirectly, up to:    member’s ineligibility.
                                              their ERP Phase 1 payment will be                           $900,000 for each program year for       Attribution of payments made to legal
                                              $1,150. To qualify for the increased                    specialty crops; 12 and                    entities will be tracked through four
                                              payment amount, a historically                              $250,000 for each program year for    levels of ownership in legal entities as
                                              underserved farmer or rancher must                      all other crops.                           follows:
                                              have certified their status on form CCC–                   The relevant tax years for establishing     First level of ownership—any
                                              860, Socially Disadvantaged, Limited                    a producer’s AGI and percentage            payment made to a legal entity that is
                                              Resource, Beginning and Veteran                         derived from farming, ranching, or         owned in whole or in part by a person
                                              Farmer or Rancher Certification. FSA                    forestry related activities are:           will be attributed to the person in an
                                              will issue ERP Phase 1 payments as                          2016, 2017, and 2018 for program      amount that represents the direct
                                              applications are processed and                          year 2020;                                 ownership interest in the first level or
                                              approved. If a producer files form CCC–                     2017, 2018, and 2019 for program      payment legal entity; 13
                                              860 after their ERP Phase 1 payment is                  year 2021; and                                 Second level of ownership—any
                                              issued but before the deadline to be                        2018, 2019, and 2020 for program      payment made to a first-level legal
                                              announced by FSA, FSA will process                      year 2022.                                 entity that is owned in whole or in part
                                              the form CCC–860 and issue the                             To receive more than $125,000 in ERP by another legal entity (referred to as a
                                              additional payment amount.                              payments for a program year, producers     second-level legal entity) will be
                                                 A total of $10 billion was allocated to              must submit form FSA–510,                  attributed to the second-level legal
                                              certain disaster relief programs.                       accompanied by a certification from a      entity in proportion to the ownership of
                                              Congress allocated $750 million for                     certified public accountant or attorney
                                              livestock assistance, with the first phase                                                                         13 The ‘‘first level or payment legal entity’’ means
                                              of the Emergency Livestock Relief                         12 The Extending   Government Funding and             that the payment entity will have a reduction
                                              Program (ELRP) already paying over                      Delivering Emergency Assistance Act provides that       applied, and if the payment entity happens to be
                                              $560 million. ERP Phase 1 payments for                  in the case of specialty crops or high value crops,     a joint venture, that reduction is applied to the first
                                                                                                      as determined by the Secretary, the Secretary shall     level, or highest level, for payments. The ‘‘first level
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                                              crops covered by crop insurance will be                 impose payment limitations consistent with 7 CFR        or payment legal entity’’ is the highest level of
                                                                                                      760.1507(a)(2), which specified that a producer         ownership of the applicant to whom payments can
                                                 11 The gross NAP payment is the amount               could receive up to $900,000 if not less than 75        be attributed or limited. If the applicant is a
                                              calculated according to 7 CFR part 1437, prior to       percent of the average adjusted gross income of the     business type that does not have a limitation or
                                              any payment reductions for reasons including, but       person or legal entity was average adjusted gross       attribution, the reduction is applied to the first
                                              not limited to, sequestration, payment limitation,      farm income. USDA is continuing to evaluate how         level, but if the business type can have the
                                              and the applicant or member of an applicant that        to define ‘‘high value crops’’ and will address those   reduction applied directly to it, then the limitation
                                              is an entity exceeding the average AGI limitation.      crops during ERP Phase 2.                               applies.


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                                              the second-level legal entity in the first-             payment based on tree, bush, or vine                  or crop acreage in subsequent years, as
                                              level legal entity; if the second-level                 crop insurance policies, are statutorily              provided in this document, and who fail
                                              legal entity is owned in whole or in part               required to purchase crop insurance, or               to obtain the 2 years of crop insurance
                                              by a person, the amount of the payment                  NAP coverage where crop insurance is                  or NAP coverage required as specified
                                              made to the first-level legal entity will               not available, for the next 2 available               in this document must refund all ERP
                                              be attributed to the person in the                      crop years, as determined by the                      Phase 1 payments for that crop in that
                                              amount that represents the indirect                     Secretary. Participants must obtain crop              county with interest from the date of
                                              ownership in the first-level legal entity               insurance or NAP, as may be applicable:               disbursement. Producers who were paid
                                              by the person;                                              At a coverage level equal to or                  under ERP Phase 1 for a crop in a
                                                  Third and fourth levels of                         greater than 60 percent for insurable                 county, but do not plant that crop in
                                              ownership—except as provided in the                     crops; or                                             that county in a year for which this
                                              second level of ownership bullet above                      At the catastrophic level or higher              requirement applies, are not subject to
                                              and in the fourth level of ownership                    for NAP crops.                                        the crop insurance or NAP purchase
                                              bullet below, any payments made to a                       Availability will be determined from               requirement for that year.
                                              legal entity at the third and fourth levels             the date a producer receives an ERP
                                              of ownership will be attributed in the                  payment, and may vary depending on                    Provisions Requiring Refund to FSA
                                              same manner as specified in the second                  the timing and availability of crop                      In the event that any ERP Phase 1
                                              level of ownership bullet above; and                    insurance or NAP for a producer’s                     payment resulted from erroneous
                                                  Fourth-level of ownership—if the                   particular crops. The final crop year to              information reported by the producer or
                                              fourth level of ownership is that of a                  purchase crop insurance or NAP                        if the producer’s data are updated after
                                              legal entity and not that of a person, a                coverage to meet the second year of                   RMA or FSA calculate a producer’s ERP
                                              reduction in payment will be applied to                 coverage for this requirement is the                  Phase 1 payment, the ERP Phase 1
                                              the first-level or payment legal entity in              2026 crop year.                                       payment will be recalculated and the
                                              the amount that represents the indirect                    In situations where crop insurance is              producer must refund any excess
                                              ownership in the first level or payment                 unavailable for a crop, an ERP                        payment to FSA, including interest to be
                                              legal entity by the fourth-level legal                  participant must obtain NAP coverage.                 calculated from the date of the
                                              entity.                                                 Section 1001D of the Food Security Act                disbursement to the producer. If FSA
                                                 Payments made directly or indirectly                 of 1985 (1985 Farm Bill) provides that                determines that the producer
                                              to a person who is a minor child will                   a person or entity with an AGI in                     intentionally misrepresented
                                              not be combined with the earnings of                    amount greater than $900,000 is not                   information used to determine the
                                              the minor’s parent or legal guardian.                   eligible to participate in NAP; however,              producer’s ERP Phase 1 payment
                                                 A producer that is a legal entity must               producers with an AGI greater than                    amount, the application will be
                                              provide the names, addresses,                           $900,000 are eligible for ERP. To                     disapproved and the producer must
                                              ownership share, and valid taxpayer                     reconcile this restriction in the 1985                refund the full payment to FSA with
                                              identification numbers of the members                   Farm Bill and the requirement to obtain               interest from the date of disbursement.
                                              holding an ownership interest in the                    NAP or crop insurance coverage, ERP                   All persons with a financial interest in
                                              legal entity. Payments to a legal entity                participants may meet the purchase                    a legal entity receiving payments are
                                              will be reduced in proportion to a                      requirement by purchasing Whole-Farm                  jointly and severally liable for any
                                              member’s ownership share when a valid                   Revenue Protection (WFRP) crop                        refund, including related charges, which
                                              taxpayer identification number for a                    insurance coverage, if eligible, or they              is determined to be due to FSA for any
                                              person or legal entity that holds a direct              may pay the applicable NAP service fee                reason. Any required refunds must be
                                              or indirect ownership interest, at the                  despite their ineligibility for a NAP                 resolved in accordance with debt
                                              first through fourth levels of ownership                payment. In other words, the service fee              settlement regulations in 7 CFR part 3.
                                              in the business structure, is not                       must be paid even though no NAP
                                                                                                      payment may be made because the AGI                   General Provisions
                                              provided to FSA.
                                                 If an individual or legal entity is not              of the person or entity exceeds the 1985                 Applicable general eligibility
                                              eligible to receive ERP Phase 1                         Farm Bill limitation. The crop insurance              requirements, including recordkeeping
                                              payments due to the individual or legal                 and NAP coverage requirements are                     requirements and required compliance
                                              entity failing to satisfy payment                       specific to the crop and county (which                with HELC and Wetland Conservation
                                              eligibility provisions, the payment made                is the county where the crop is                       provisions, are similar to those for the
                                              either directly or indirectly to the                    physically located for insured crops and              previous ad hoc crop disaster programs
                                              individual or legal entity will be                      the administrative county for NAP-                    and current permanent disaster
                                              reduced to zero. The amount of the                      covered crops) for which ERP Phase 1                  programs.
                                              reduction for the direct payment to the                 payments are paid. This means that a                     General requirements that apply to
                                              producer will be commensurate with                      producer is required to purchase crop                 other FSA-administered commodity
                                              the direct or indirect ownership interest               insurance or NAP coverage for the crop                programs also apply to ERP, including
                                              of the ineligible individual or ineligible              in the county for which the producer                  compliance with the provisions of 7
                                              legal entity. Like other programs                       was issued an ERP Phase 1 payment.                    CFR part 12, ‘‘Highly Erodible Land and
                                              administered by FSA, payments made to                   Producers who receive an ERP Phase 1                  Wetland Conservation,’’ and the
                                              an Indian Tribe or Tribal organization,                 payment that was calculated based on                  provisions of 7 CFR 718.6, which
                                              as defined in section 4(b) of the Indian                an indemnity under a Pasture,                         address ineligibility for benefits for
                                              Self-Determination and Education                        Rangeland, and Forage (PRF); Annual                   offenses involving controlled
                                                                                                      Forage; or WFRP policy must purchase                  substances. Appeal regulations in 7 CFR
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                                              Assistance Act (25 U.S.C. 5304), will not
                                              be subject to payment limitation.                       the same type of policy or a                          parts 11 and 780 and equitable relief
                                                                                                      combination of individual policies for                and finality provisions in 7 CFR part
                                              Requirement To Purchase Crop                            the crops that had covered losses under               718, subpart D, apply to determinations
                                              Insurance or NAP Coverage                               ERP to meet the linkage requirement.                  under ERP. As described above, ERP
                                                All producers who receive ERP Phase                   Producers who receive a payment on a                  Phase 1 payments are calculated using
                                              1 payments, including those receiving a                 crop in a county and who have the crop                data on file with RMA and FSA at the

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                                              time of calculation. Producers who                      Similarly, if any person or legal entity              FSA received emergency approval from
                                              receive an ERP Phase 1 application and                  who would otherwise have been eligible                OMB for 6 months. The emergency
                                              disagree with the calculated payment                    to apply for a payment dies or is                     approval covers ERP information
                                              amount or data used in the calculation                  dissolved, respectively, before the                   collection activities.
                                              may apply for ERP Phase 2, which will                   payment is applied for, payment may be                   Title: ERP.
                                              allow them to provide their data to FSA                 released in accordance with this                         OMB Control Number: 0560–0309.
                                              through a traditional application                       document if a timely application is filed                Type of Request: New Collection.
                                              process.                                                by an authorized representative. Proof of                Abstract: FSA will make payments to
                                                 Participants are required to retain                  authority to sign for the deceased                    eligible producers who suffered losses
                                              documentation in support of their                       producer or dissolved entity must be                  to crops, trees, bushes, and vines due to
                                              application for 3 years after the date of               provided. If a participant is now a                   wildfires, hurricanes, floods, derechos,
                                              approval. All information provided to                   dissolved general partnership or joint                excessive heat, winter storms, freeze
                                              FSA for program eligibility and payment                 venture, all members of the general                   (including a polar vortex), smoke
                                              calculation purposes, including                         partnership or joint venture at the time              exposure, excessive moisture, qualifying
                                              certification that a producer suffered a                of dissolution or their duly authorized               drought, and related conditions
                                              loss due to a qualifying disaster event,                representatives must sign the                         occurring in calendar years 2020 and
                                              is subject to spot check. Participants                  application for payment. Eligibility of               2021. This request includes both ERP
                                              receiving ERP Phase 1 payments or any                   such participant will be determined, as               Phase 1, which uses a streamlined
                                              other person who furnishes such                         it is for other participants, based upon              application process for producers whose
                                              information to USDA must permit                         ownership share and risk in producing                 data is already on file with FSA or
                                              authorized representatives of USDA or                   the crop.                                             RMA, and ERP Phase 2, which will use
                                              the Government Accountability Office,                      In either applying for or participating            a traditional application process during
                                              during regular business hours, to enter                 in ERP, or both, the producer is subject              which producers will provide the
                                              the agricultural operation and to                       to laws against perjury (including, but               information required to calculate a
                                              inspect, examine, and to allow                          not limited to, 18 U.S.C. 1621). If the               payment.
                                              representatives to make copies of books,                producer willfully makes and represents                  For the following estimated total
                                              records, or other items for the purpose                 as true any verbal or written declaration,            annual burden on respondents, the
                                              of confirming the accuracy of the                       certification, statement, or verification             formula used to calculate the total
                                              information provided by the participant.                that the producer knows or believes not               burden hour is the estimated average
                                                 Applicants have a right to a decision                to be true, in the course of either                   time per response multiplied by the
                                              in response to their application. If an                 applying for or participating in ERP, or
                                                                                                                                                            estimated total annual responses. The
                                              applicant files a late ERP Phase 1                      both, then the producer may be found
                                                                                                                                                            estimated average time per response is
                                              application, the application is subject to              to be guilty of perjury. Except as
                                                                                                                                                            rounded to 3 decimal places instead of
                                              the following conditions:                               otherwise provided by law, if guilty of
                                                                                                                                                            showing all 7 decimal places, so the
                                                  A late ERP application will be                     perjury the applicant may be fined,
                                                                                                                                                            calculation based on the numbers
                                              considered a request to waive the                       imprisoned for not more than 5 years, or
                                                                                                                                                            shown below is not exact.
                                              deadline.                                               both, regardless of whether the producer
                                                  Requests to waive or modify                                                                                 Estimate of Respondent Burden:
                                                                                                      makes such verbal or written
                                              program provisions are at the discretion                                                                      Public reporting burden for this
                                                                                                      declaration, certification, statement, or
                                              of the Deputy Administrator. The                                                                              information collection is estimated to
                                                                                                      verification within or outside the United
                                              Deputy Administrator has the authority                                                                        average 0.176 hours per response to
                                                                                                      States.
                                              to waive or modify application                             For the purposes of the effect of a lien           include the time for reviewing
                                              deadlines and other requirements or                     on eligibility for Federal programs (28               instructions, searching for information,
                                              program provisions not specified in law                 U.S.C. 3201(e)), USDA waives the                      gathering and maintaining the data, and
                                              in cases where the Deputy                               restriction on receipt of funds under                 completing and reviewing the collection
                                              Administrator determines it is (1)                      ERP but only as to beneficiaries who, as              of information.
                                              equitable to do so and (2) where the                    a condition of the waiver, agree to apply                Type of Respondents: Individuals or
                                              lateness or failure to meet such other                  the ERP payments to reduce the amount                 households, businesses or other for
                                              requirements or program provisions do                   of the judgment lien.                                 profit farms.
                                              not adversely affect the operation of                      In addition to any other Federal laws                 Estimated Annual Number of
                                              ERP.                                                    that apply to ERP, the following laws                 Respondents: 505,000.
                                                  Applicants who request to waive or                 apply: 15 U.S.C. 714; and 18 U.S.C. 286,                 Estimated Number of Reponses per
                                              modify ERP provisions do not have a                     287, 371, and 1001.                                   Respondent: 1.
                                              right to a decision on those requests.                                                                           Estimated Total Annual Responses:
                                                                                                      Paperwork Reduction Act                               505,000.
                                                  The Deputy Administrator’s refusal
                                                                                                      Requirements                                             Estimated Average Time per
                                              to exercise discretion on requests to
                                              waive or modify ERP provisions will not                    In compliance with the Paperwork                   Response: 0.176 hours.
                                              be considered an adverse decision and                   Reduction Act of 1995 (44 U.S.C.                         Estimated Total Annual Burden on
                                              is, by itself, not appealable.                          chapter 35), FSA is requesting                        Respondents: 88,650.
                                                 Any payment under ERP will be made                   comments from interested individuals                     We are requesting comments on all
                                              without regard to questions of title                    and organizations on the information                  aspects of this information collection to
                                              under State law and without regard to                   collection request associated with ERP.               help us to:
                                                                                                      After the 60-day period ends, the                        (1) Evaluate whether the collection of
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                                              any claim or lien. The regulations
                                              governing offsets in 7 CFR part 3 apply                 information collection request will be                information is necessary for the proper
                                              to ERP payments.                                        submitted to the Office of Management                 performance of the functions of the
                                                 If any person who would otherwise be                 and Budget (OMB) for a 3-year approval                FSA, including whether the information
                                              eligible to receive a payment dies before               to cover ERP information collection. To               will have practical utility;
                                              the payment is received, payment may                    start the ERP information collection                     (2) Evaluate the accuracy of the FSA’s
                                              be released as specified in 7 CFR 707.3.                approval, prior to publishing this notice,            estimate of burden including the

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                                              validity of the methodology and                         Federal AssistancePrograms                              COMMISSION ON CIVIL RIGHTS
                                              assumptions used;
                                                 (3) Enhance the quality, utility, and                  The title and number of the Federal                   Notice of Public Meetings of the
                                              clarity of the information to be                        assistance programs, as found in the                    Kansas Advisory Committee
                                              collected; or                                           Assistance Listing, 14 to which this
                                                                                                      document applies is 10.964—Emergency                    AGENCY: U.S. Commission on Civil
                                                 (4) Minimize the burden of the
                                              collection of information on those who                  Relief Program.                                         Rights.
                                              are to respond, including through the                                                                           ACTION: Announcement      of meeting.
                                              use of appropriate automated,                           USDA Non-Discrimination Policy
                                                                                                                                                              SUMMARY: Notice is hereby given,
                                              electronic, mechanical, or other                           In accordance with Federal civil                     pursuant to the provisions of the rules
                                              technological collection techniques or                  rights law and U.S. Department of                       and regulations of the U.S. Commission
                                              other forms of information technology.                  Agriculture (USDA) civil rights                         on Civil Rights (Commission) and the
                                                 All comments received in response to                 regulations and policies, USDA, its                     Federal Advisory Committee Act that
                                              this notice, including names and                        Agencies, offices, and employees, and                   the Kansas Advisory Committee
                                              addresses when provided, will be a                      institutions participating in or                        (Committee) will hold a series of
                                              matter of public record. Comments will
                                                                                                      administering USDA programs are                         meeting(s) via web conference on, May
                                              be summarized and included in the
                                                                                                      prohibited from discriminating based on                 26, 2022; June 9, 2022 and June 23, 2022
                                              submission for Office of Management
                                                                                                      race, color, national origin, religion, sex,            at 12:00 p.m. Central Time. The purpose
                                              and Budget approval.
                                                                                                      gender identity (including gender                       of the meetings is for the committee to
                                              Environmental Review                                    expression), sexual orientation,                        discuss potential topics and panelists
                                                 The environmental impacts of this                    disability, age, marital status, family or              for the upcoming briefing(s).
                                              final rule have been considered in a                    parental status, income derived from a                  DATES: The meeting will be held on:
                                              manner consistent with the provisions                   public assistance program, political                     Thursday, May 26, 2022 at 12:00 p.m.–1:00
                                              of the National Environmental Policy                    beliefs, or reprisal or retaliation for prior              p.m. Central Time
                                                                                                      civil rights activity, in any program or                 Thursday, June 9, 2022 at 12:00 p.m.–1:00
                                              Act (NEPA, 42 U.S.C. 4321–4347), the
                                                                                                      activity conducted or funded by USDA                       p.m. Central Time
                                              regulations of the Council on                                                                                    Thursday, June 23, 2022 at 12:00 p.m.–1:00
                                              Environmental Quality (40 CFR parts                     (not all bases apply to all programs).
                                                                                                                                                                 p.m. Central Time
                                              1500–1508), and the FSA regulation for                  Remedies and complaint filing                           https://civilrights.webex.com/civilrights/
                                              compliance with NEPA (7 CFR part                        deadlines vary by program or incident.                     j.php?MTID=m5f3e3516a1
                                              799). ERP is authorized by the                             Persons with disabilities who require                   d9b8db382795f2452d782a or Join by
                                              Extending Government Funding and                        alternative means of communication for                     phone: 800–360–9505, USA Toll Free
                                              Delivering Emergency Assistance Act.                    program information (for example,                          Access code: 2763 733 5933
                                              The intent of ERP Phase 1 is to provide                 Braille, large print, audiotape, American               FOR FURTHER INFORMATION CONTACT:
                                              payments to producers who suffered                      Sign Language, etc.) should contact the                 David Barreras, Designated Federal
                                              eligible crop, tree, bush, and vine losses              responsible Agency or USDA TARGET                       Officer, at dbarreras@usccr.gov or (202)
                                              due to wildfires, hurricanes, floods,                   Center at (202) 720–2600 or (844) 433–                  656–8937
                                              derechos, excessive heat, winter storms,                2774 (toll-free nationwide).                            SUPPLEMENTARY INFORMATION: Members
                                              freeze (including a polar vortex), smoke                Additionally, program information may                   of the public may listen to this
                                              exposure, excessive moisture, and                       be made available in languages other                    discussion through the above call-in
                                              qualifying drought, and related                         than English.                                           number. An open comment period will
                                              conditions occurring in calendar years                                                                          be provided to allow members of the
                                                                                                         To file a program discrimination
                                              2020 and 2021.                                                                                                  public to make a statement as time
                                                                                                      complaint, complete the USDA Program
                                                 The limited discretionary aspects of                                                                         allows. Callers can expect to incur
                                                                                                      Discrimination Complaint Form, AD–
                                              the program (for example, determining                                                                           regular charges for calls they initiate
                                                                                                      3027, found online at https://
                                              payment limitations) were designed to                                                                           over wireless lines, according to their
                                                                                                      www.usda.gov/oascr/how-to-file-a-
                                              be consistent with established FSA                                                                              wireless plan. The Commission will not
                                                                                                      program-discrimination-complaint and
                                              disaster programs. As such, the                                                                                 refund any incurred charges.
                                                                                                      at any USDA office or write a letter
                                              Categorical Exclusions found at 7 CFR                                                                           Individuals who are deaf, deafblind and
                                                                                                      addressed to USDA and provide in the
                                              part 799.31 apply, specifically 7 CFR                                                                           hard of hearing may also follow the
                                                                                                      letter all the information requested in
                                              799.31(b)(6)(iv) and (vi) (that is,                                                                             proceedings by first calling the Federal
                                                                                                      the form. To request a copy of the
                                              § 799.31(b)(6)(iv) Individual farm                                                                              Relay Service at 1–800–877–8339 and
                                                                                                      complaint form, call (866) 632–9992.
                                              participation in FSA programs where no                                                                          providing the Service with the
                                                                                                      Submit your completed form or letter to
                                              ground disturbance or change in land                                                                            conference call number and conference
                                                                                                      USDA by mail to: U.S. Department of
                                              use occurs as a result of the proposed                                                                          ID number.
                                                                                                      Agriculture, Office of the Assistant
                                              action or participation; and                                                                                       Members of the public are entitled to
                                                                                                      Secretary for Civil Rights, 1400
                                              § 799.31(b)(6)(vi) Safety net programs                                                                          submit written comments; the
                                                                                                      Independence Avenue SW, Washington,
                                              administered by FSA). No Extraordinary                                                                          comments must be received in the
                                                                                                      DC 20250–9410 or email: OAC@
                                              Circumstances (7 CFR 799.33) exist. As                                                                          regional office within 30 days following
                                                                                                      usda.gov.
                                              such, FSA has determined that the                                                                               the meeting. Written comments may be
                                              implementation of ERP and the                              USDA is an equal opportunity                         emailed to David Barreras at dbarreras@
                                              participation in ERP do not constitute                  provider, employer, and lender.                         usccr.gov.
                                              major Federal actions that would                                                                                   Records generated from this meeting
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                                                                                                      Zach Ducheneaux,
                                              significantly affect the quality of the                                                                         may be inspected and reproduced at the
                                              human environment, individually or                      Administrator, Farm Service Agency.                     Regional Programs Unit Office, as they
                                              cumulatively. Therefore, FSA will not                   [FR Doc. 2022–10628 Filed 5–17–22; 8:45 am]             become available, both before and after
                                              prepare an environmental assessment or                  BILLING CODE 3410–05–P                                  the meeting. Records of the meeting will
                                              environmental impact statement for this                                                                         be available via www.facadatabase.gov
                                              regulatory action.                                        14 See https://sam.gov/content/assistance-listings.   under the Commission on Civil Rights,

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                                                                                                                                                              Monday, April 4, 2022



                                               This section of the FEDERAL REGISTER                    DEPARTMENT OF AGRICULTURE                              ACTION: Notification of funding
                                               contains documents other than rules or                                                                         availability.
                                               proposed rules that are applicable to the               Submission for OMB Review; Notice of
                                               public. Notices of hearings and investigations,         Request for Emergency Approval                         SUMMARY: The Farm Service Agency
                                               committee meetings, agency decisions and                                                                       (FSA) is issuing this notice announcing
                                               rulings, delegations of authority, filing of               In compliance with the requirements                 the new Emergency Livestock Relief
                                               petitions and applications and agency                   of the Paperwork Reduction Act of 1995                 Program (ELRP). This document
                                               statements of organization and functions are            (PRA), the Department of Agriculture                   provides the eligibility requirements
                                               examples of documents appearing in this                                                                        and payment calculation for the first
                                                                                                       (USDA) has submitted a request to the
                                               section.
                                                                                                       Office of Management and Budget                        phase of ELRP assistance, which will
                                                                                                       (OMB) for a six-month emergency                        provide payments to producers who
                                                                                                       approval of the following information                  faced increased supplemental feed costs
                                               DEPARTMENT OF AGRICULTURE
                                                                                                       collection: ICR 0578–NEW, Composting                   as a result of forage losses due to a
                                               Submission for OMB Review; Notice of                    and Food Waste Reduction (CFWR)                        qualifying drought or wildfire in
                                               Request for Emergency Approval                          Cooperative Agreement Program. The                     calendar year 2021 using data already
                                                                                                       requested approval would enable NRCS                   submitted to FSA through the Livestock
                                                  In compliance with the requirements                  to carry out pilot projects under which                Forage Disaster Program (LFP).
                                               of the Paperwork Reduction Act of 1995                  local units of government, schools, and                DATES: Funding availability:
                                               (PRA), the Department of Agriculture                    tribal communities enter into                          Implementation will begin April 4,
                                               (USDA) has submitted a request to the                   cooperative agreements to develop and                  2022.
                                               Office of Management and Budget                         test strategies for planning and                       FOR FURTHER INFORMATION CONTACT:
                                               (OMB) for a six-month emergency                         implementing municipal composting                      Kimberly Graham; telephone: (202) 720–
                                               approval of the following information                   plans and food waste reduction plans.                  6825; email: Kimberly.Graham@
                                               collection: ICR 0578–NEW, Urban                         Natural ResourcesConservation                          usda.gov. Persons with disabilities who
                                               Agriculture and Innovative Production                   Service (NRCS)                                         require alternative means for
                                               (UAIP). The requested approval would                                                                           communication should contact the
                                                                                                          Title: Composting and Food Waste                    USDA Target Center at (202) 720–2600
                                               enable the implementation for NRCS to                   Reduction (CFWR) Cooperative
                                               collect the necessary information to                                                                           (voice) or (844) 433–2774 (toll-free
                                                                                                       Agreements.                                            nationwide).
                                               accept and review proposals and
                                                                                                          OMB Control Number: 0578–NEW.                       SUPPLEMENTARY INFORMATION:
                                               manage agreements for the FY22 Urban
                                               Agriculture and Innovative Production                      Summary of Collection: The Natural
                                                                                                       Resources Conservation Service (NRCS)                 Background
                                               (UAIP) Grant Program.
                                                                                                       is requesting emergency clearance and                    The Extending Government Funding
                                               Natural ResourcesConservation                           review through 5 CFR 1320.13 for a new                and Delivering Emergency Assistance
                                               Service (NRCS)                                          information collection for the NRCS is                Act, (Division B, Title I, Pub. L. 117–43)
                                                                                                       using CFWR funds provided by the                      provides $10 billion for necessary
                                                  Title: Urban Agriculture and                         American Rescue Plan of 2021 (Pub. L.                 expenses related to losses of crops
                                               Innovative Production (UAIP) Grant                      117–2) to assist local units of                       (including milk, on-farm stored
                                               Program.                                                government, schools, and tribal                       commodities, crops prevented from
                                                  OMB Control Number: 0578–NEW.                        communities in implementing projects                  planting in 2020 and 2021, and
                                                                                                       that help their communities generate                  harvested adulterated wine grapes),
                                                  Summary of Collection: The Natural
                                                                                                       compost, improve soil quality, and                    trees, bushes, and vines, as a
                                               Resources Conservation Service (NRCS)                   reduce food waste.                                    consequence of droughts, wildfires,
                                               is requesting emergency clearance and                                                                         hurricanes, floods, derechos, excessive
                                               review through 5 CFR 1320.13 for a new                    Dated: March 29, 2022.
                                                                                                       Ruth Brown,                                           heat, winter storms, freeze, including a
                                               information collection for the Urban                                                                          polar vortex, smoke exposure, quality
                                               Agriculture and Innovative Production                   Departmental Information Collection
                                                                                                       Clearance Officer.                                    losses of crops, and excessive moisture
                                               (UAIP) Grant Program. The NRCS is                                                                             occurring in calendar years 2020 and
                                               using funds provided by the American                    [FR Doc. 2022–06952 Filed 4–1–22; 8:45 am]
                                                                                                                                                             2021. From the $10 billion, the
                                               Rescue Plan of 2021 (Pub. L. 117–2) to                  BILLING CODE 3410–05–P
                                                                                                                                                             Secretary of Agriculture is to use $750
                                               assist local units of government in                                                                           million to assist producers of livestock
                                               implementing projects that improve                                                                            for losses incurred during calendar year
                                                                                                       DEPARTMENT OF AGRICULTURE
                                               access to local foods in areas where                                                                          2021 due to qualifying droughts or
                                               access to fresh, healthy food is limited                Farm Service Agency                                   wildfires. The livestock producers who
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                                               or unavailable.                                                                                               suffered losses due to drought are
                                                 Dated: March 29, 2022.
                                                                                                                                                             eligible for assistance if any area within
                                                                                                       [Docket ID FSA–2022–0004]
                                                                                                                                                             the county in which the loss occurred
                                               Ruth Brown,
                                                                                                       Notice of Funds Availability;                         was rated by the U.S. Drought Monitor
                                               Departmental Information Collection                                                                           as having a D2 (severe drought) for eight
                                               Clearance Officer.
                                                                                                       Emergency Livestock Relief Program
                                                                                                       (ELRP)                                                consecutive weeks or a D3 (extreme
                                               [FR Doc. 2022–06947 Filed 4–1–22; 8:45 am]                                                                    drought) or higher level of drought
                                               BILLING CODE 3410–05–P                                  AGENCY: Farm Service Agency, USDA.                    intensity during the applicable year.

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                                                  FSA will assist livestock producers                               economic hardship on producers that                      the national average corn price per
                                               through ELRP. This document provides                                 were reliant on rangeland, requiring                     bushel for the 12- or 24-month period
                                               the eligibility requirements and                                     them to purchase supplemental feed at                    immediately preceding March 1 of the
                                               payment calculation for Phase 1 of                                   elevated prices to sustain production                    calendar year. Because LFP requires the
                                               ELRP, which will assist eligible                                     throughout 2021 and not just during the                  use of this period, it does not take into
                                               livestock producers who faced increased                              normal grazing periods. Due to the                       account any increases in price paid for
                                               supplemental feed costs as a result of                               excessive and expansive drought and                      supplemental feed during 2021. For
                                               forage losses due to a qualifying drought                            wildfires in 2021, livestock participants:               LFP, the 2021 monthly value of forage,
                                               or wildfire in calendar year 2021. For                                   Suffered extreme grazing losses;                    resulted in an LFP payment rate of
                                               eligible producers, ELRP Phase 1 will                                    Incurred related costs to purchase                  $18.71 per month per eligible animal
                                               pay for a portion of the increased feed                              feed in the grazing period, which is                     unit for drought and the rate for fire is
                                               costs in 2021 based on the number of                                 limited to a 5-month maximum period                      based on the number of fire-restricted
                                               animal units (AU), limited by available                              under LFP;                                               days and was not a single rate.
                                               grazing acreage, in eligible drought                                     Purchased feed, beyond normal for                      LFP does not compensate for the
                                               counties. Although payments made                                     a drought year, to supplement grazing                    increased costs of supplemental feed
                                               under the Livestock Forage Disaster                                  and to support livestock outside of the                  during 2021 due to drought and
                                               Program (LFP) do not have a direct                                   grazing period because forage was not                    wildfires in 2021.
                                               correlation to the increased feed costs                              available for harvest and storage; and                      The actual cost of supplemental feed
                                               incurred, in order to deliver this                                       Were faced with higher feed costs                   prices, based on corn, alfalfa, and
                                               assistance quickly, for Phase 1, FSA is                              during 2021 due to less availability of                  soybean meal, increased substantially in
                                               using certain LFP data and a percentage                              feed resulting from drought severity and                 2021, compared to previous years. Using
                                               of the payment made through LFP                                      feed cost inflation.                                     the Dairy Margin Coverage (DMC)
                                               applications will be used as a proxy for                                LFP provided payments to eligible                     program model for an adequate
                                               these increased supplemental feed costs                              owners and contract growers of covered                   supplemental feed ratio, the 5-year
                                               to eliminate the requirement for                                     livestock who suffered livestock grazing                 average (2016 through 2020) cost to
                                               producers to resubmit information for                                losses due to qualifying drought or fire 1               maintain 1 AU for one month was
                                               ELRP Phase 1.                                                        not to exceed five months during the                     $61.28, compared to the actual average
                                                  According to the US Drought Monitor,                              grazing period based on the documented                   cost from January through October, 2021
                                               more than one-third of the country was                               livestock inventory eligible for LFP. The                of $85.68 per month, an increase of
                                               categorically in a ‘‘D–2 Severe’’ to ‘‘D–                            gross LFP calculated payment                             39.82 percent.
                                               3 Exceptional’’ drought throughout the                               represented a 60 percent reimbursement                      The cost of feeding one AU per month
                                               entire calendar year 2021. Extreme                                   of monthly feed costs for a maximum of                   increased in 2021 compared to the 5-
                                               drought predominately affected areas                                 5 months, based on a feed grain                          year average by $24.40 ($85.68 minus
                                               highly concentrated with rangeland                                   equivalent that is calculated according                  $61.28) for livestock producers affected
                                               needed for livestock production,                                     to 7 CFR 1416.207 as specified in 7                      by drought and wildfires, which was not
                                               therefore drought and wildfire caused                                U.S.C. 9081(c), which uses the higher of                 covered by LFP. See Table 1.

                                                                                   TABLE 1—2021 CALCULATED COSTS (DMC MODEL) TO MAINTAIN 1 AU/MONTH
                                                                                                                                                                                                                     % of
                                                                                                                                                                                                                  increased
                                                                                                                                                                                                  ELRP          supplemental
                                                                                                                  2021 cost                                                    ELRP
                                                                                                                                       Increase in        2021 LFP                              calculated      feed costs in
                                                5 Year avg (corn, alfalfa, soybean meal)                        (corn, alfalfa,                                               payment
                                                                                                                                        cost 2021       Payment rate *                        benefit/month/         2021
                                                                                                               soybean meal)                                                 percentage        eligible AU      compensated
                                                                                                                                                                                                                   by ELRP
                                                                                                                                                                                                                   phase 1

                                               $61.28 ......................................................              $85.68             $24.40              $18.71                75            $14.03                57.5
                                                                                                                                                                                       90             16.84                69.0
                                                 * The 2021 LFP payment rate may be adjusted according to LFP provisions in 7 CFR 1416.207 for mitigated livestock and restricted grazed
                                               animal units due to a qualifying fire.


                                                  The ELRP Phase 1 calculated benefit                                  90%  $18.71 = $16.84 (equivalent to                 the gross LFP calculated payment for all
                                               is based on using the LFP payment rate                               69 percent of increased supplemental                     other producers, which equates to 57.5
                                               of $18.71 per animal unit per month;                                 feed costs in 2021).                                     percent and 69 percent, respectively, of
                                               calculated as follows:                                                  To stay within the available funding,                 the estimated increases in supplemental
                                                  75%  $18.71 = $14.03 (equivalent to                             ELRP Phase 1 payments for increased                      feed costs in 2021 for eligible producers.
                                               57.5 percent of increased supplemental                               supplemental feed costs in 2021 are 90                      Because FSA is using LFP information
                                               feed costs in 2021) and                                              percent of the gross LFP calculated                      to generate a reasonable approximation
                                                                                                                    payment for historically underserved                     for the costs covered by ELRP Phase 1,
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                                                                                                                    farmers and ranchers and 75 percent of                   no action is required for eligible
                                                  1 A grazing loss due to drought qualifies for LFP                 a D2 (severe drought) intensity for at least 8           managed by a Federal agency and the eligible
                                               only if the grazing loss occurs on land that is native               consecutive weeks or D3 (extreme drought) or D4          livestock producer is prohibited by the Federal
                                               or improved pastureland with permanent vegetative                    (exceptional drought) intensity at any time during       agency from grazing the normal permitted livestock
                                               cover or is planted to a crop planted specifically for               the normal grazing period for the specific type of       on the managed rangeland due to a fire.
                                               the purpose of providing grazing for covered                         grazing land or pastureland.
                                                                                                                                                                                See 7 CFR 1416.205 for further information on
                                               livestock, and the land is physically located in a                      A grazing loss due to fire qualifies for LFP only
                                               county rated by the U.S. Drought Monitor as having                   if the grazing loss occurs on rangeland that is          eligible grazing losses under LFP.


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                                               producers to receive these payments.                      (13) Any other activity related to farming,             (4) Hispanics or Hispanic Americans;
                                               FSA is continuing to evaluate the                       ranching, and forestry, as determined by the              (5) Native Hawaiians or other Pacific
                                               impacts of drought and wildfire in                      Deputy Administrator for Farm Programs                 Islanders; and
                                               calendar year 2021, and if additional                   (Deputy Administrator).                                   (6) Women.
                                               ELRP assistance for livestock producers                    LFP means the Livestock Forage                         U.S. Drought Monitor is a system for
                                               is necessary, it will be announced as                   Disaster Program under section 1501 of                 classifying drought severity according to
                                               Phase 2 in a subsequent document to be                  the Agricultural Act of 2014 (7 U.S.C.                 a range of abnormally dry to exceptional
                                               published in the Federal Register.                      9081) and 7 CFR part 1416, subpart C.                  drought. It is a collaborative effort
                                                                                                          Limited resource farmer or rancher                  between Federal and academic partners,
                                               Definitions
                                                                                                       means a farmer or rancher who is both                  produced on a weekly basis, to
                                                  The definitions in 7 CFR parts 718,                  of the following:                                      synthesize multiple indices, outlooks,
                                               1400, and 1416 apply to ELRP, except                       (1) A person whose direct or indirect gross         and drought impacts on a map and in
                                               as otherwise provided in this document.                 farm sales did not exceed $179,000 (the                narrative form. This synthesis of indices
                                               The following definitions also apply.                   amount applicable to the 2021 program year)            is reported by the National Drought
                                                  Beginning farmer or rancher means a                  in each of the 2018 and 2019 calendar years;           Mitigation Center at http://drought
                                               farmer or rancher who has not operated                  and                                                    monitor.unl.edu.
                                               a farm or ranch for more than 10 years                     (2) A person whose total household income
                                                                                                                                                                 Veteran farmer or rancher means a
                                               and who materially and substantially                    was at or below the national poverty level for
                                                                                                       a family of four in each of the same two               farmer or rancher who has served in the
                                               participates in the operation. For a legal                                                                     Armed Forces (as defined in 38 U.S.C.
                                               entity to be considered a beginning                     previous years referenced in paragraph (1) of
                                                                                                       this definition. Limited resource farmer or            101(10) 2 ) and:
                                               farmer or rancher, at least 50 percent of               rancher status can be determined using a
                                               the interest must be beginning farmers                                                                           (1) Has not operated a farm or ranch for
                                                                                                       website available through the Limited                  more than 10 years; or
                                               or ranchers.                                            Resource Farmer and Rancher Online Self                  (2) Has obtained status as a veteran (as
                                                  Historically underserved farmer or                   Determination Tool through National                    defined in 38 U.S.C. 101(2) 3 ) during the most
                                               rancher means a beginning farmer or                     Resources and Conservation Service at                  recent 10-year period.
                                               rancher, limited resource farmer or                     https://lrftool.sc.egov.usda.gov.
                                               rancher, socially disadvantaged farmer                     For an entity to be considered a                       For an entity to be considered a
                                               or rancher, or veteran farmer or rancher.               limited resource farmer or rancher, all                veteran farmer or rancher, at least 50
                                                  Income derived from farming,                         members who hold an ownership                          percent of the ownership interest must
                                               ranching, and forestry operations means                 interest in the entity must meet the                   be held by members who have served in
                                               income of an individual or entity                       criteria in paragraphs (1) and (2) of this             the Armed Forces and meet the criteria
                                               derived from:                                           definition.                                            in paragraph (1) or (2) of this definition.
                                                  (1) Production of crops, specialty crops,               Ownership interest means to have                       Wildfire for ELRP Phase 1 means fire
                                               and unfinished raw forestry products;                   either a legal ownership interest or a                 as used in 7 CFR part 1416, subpart C.
                                                  (2) Production of livestock, aquaculture             beneficial ownership interest in a legal
                                               products used for food, honeybees, and
                                                                                                                                                              Eligible Livestock Producers
                                                                                                       entity. For the purposes of
                                               products derived from livestock;                                                                                 Eligible livestock producers for ELRP
                                                                                                       administering ELRP, a person or legal
                                                  (3) Production of farm-based renewable                                                                     Phase 1 are producers with an approved
                                               energy;                                                 entity that owns a share or stock in a
                                                                                                       legal entity that is a corporation, limited           2021 LFP application. For ELRP Phase
                                                  (4) Selling (including the sale of easements
                                               and development rights) of farm, ranch, and             liability company, limited partnership,               1, the eligibility criteria applicable to
                                               forestry land, water or hunting rights, or              or similar type entity where members                  LFP (7 CFR part 1416, subparts A and
                                               environmental benefits;                                 hold a legal ownership interest and                   C) also applies to ELRP Phase 1,
                                                  (5) Rental or lease of land or equipment             shares in the profits or losses of such               excluding the LFP average adjusted
                                               used for farming, ranching, or forestry                 entity is considered to have an                       gross income (AGI) limitation. FSA will
                                               operations, including water or hunting rights;          ownership interest in such legal entity.              use livestock inventories, forage acreage,
                                                  (6) Processing, packing, storing, and                                                                      restricted animal units and grazing days
                                                                                                       A person or legal entity that is a
                                               transportation of farm, ranch, forestry                                                                       due to fire, and drought intensity levels
                                               commodities including renewable energy;                 beneficiary of a trust or heir of an estate
                                                                                                       who benefits from the profits or losses               already reported to FSA for the 2021
                                                  (7) Feeding, rearing, or finishing of
                                               livestock;                                              of such entity is considered to have a                Livestock Forage Disaster Program
                                                  (8) Payments of benefits, including benefits         beneficial ownership interest in such                 Application 4 (on form number CCC–
                                               from risk management practices, crop                    legal entity.                                         853), to determine eligibility and
                                               insurance indemnities, and catastrophic risk               Socially disadvantaged farmer or                   calculate a ELRP Phase 1 payment, if
                                               protection plans;                                       rancher means a farmer or rancher who                 applicable. Eligible livestock producers
                                                  (9) Sale of land that has been used for              is a member of a group whose members                  are not required to submit an
                                               agricultural purposes;                                  have been subjected to racial, ethnic, or             application for ELRP Phase 1; however,
                                                  (10) Payments and benefits authorized                                                                      they must have the following additional
                                               under any program made available and
                                                                                                       gender prejudice because of their
                                                                                                       identity as members of a group without                forms on file with FSA within 60-days
                                               applicable to payment eligibility and
                                               payment limitation rules;                               regard to their individual qualities. For             of ELRP deadline announced by the
                                                  (11) Income reported on Internal Revenue             entities, at least 50 percent of the
                                               Service (IRS) Schedule F or other schedule              ownership interest must be held by                        2 The term ‘‘Armed Forces’’ means the United

                                               used by the person or legal entity to report            individuals who are members of such a                  States Army, Navy, Marine Corps, Air Force, Space
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                                               income from such operations to the IRS;                                                                        Force, and Coast Guard, including the reserve
                                                                                                       group. Socially disadvantaged groups                   components.
                                                  (12) Wages or dividends received from a              include the following and no others                       3 The term ‘‘veteran’’ means a person who served
                                               closely held corporation, and IC–DISC or                unless approved in writing by the                      in the active military, naval, air, or space service,
                                               legal entity comprised entirely of family                                                                      and who was discharged or released under
                                               members when more than 50 percent of the
                                                                                                       Deputy Administrator:
                                                                                                                                                              conditions other than dishonorable.
                                               legal entity’s gross receipts for each tax year           (1) American Indians or Alaskan Natives;                4 As provided in 7 CFR 1416.206 and publicized
                                               are derived from farming, ranching, or                    (2) Asians or Asian-Americans;                       by FSA, the LFP application deadline for the 2021
                                               forestry activities as defined in this part; and          (3) Blacks or African Americans;                     program year was January 31, 2022.


                                                                                                                                                                                     Strickland AR 0810
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                                               Deputy Administrator to be eligible to                      For example, a historically                        according to the direct attribution
                                               receive a payment:                                      underserved eligible livestock                         provisions in 7 CFR 1400.105,
                                                   Form AD–2047, Customer Data                        producer’s gross 2021 LFP calculation                  ‘‘Attribution of Payments.’’ If a legal
                                               Worksheet;                                              payment is $10,000 multiplied by the 90                entity would be eligible for the $250,000
                                                   Form CCC–902, Farm Operating                       percent ELRP payment percentage                        payment limitation based on the legal
                                               Plan for an individual or legal entity as               results in an ELRP Phase 1 payment of                  entity’s average AGI from farming,
                                               provided in 7 CFR part 1400;                            $9,000. This ELRP payment is intended                  ranching, or forestry related activities
                                                   Form CCC–901, Member                               to represent a reasonable approximation                but a member of that legal entity either
                                               Information for Legal Entities (if                      of 69 percent of the increased                         does not complete an FSA–510 and
                                               applicable); and                                        supplemental feed costs for that                       provide the required certification or is
                                                   A highly erodible land conservation                producer in 2021.                                      not eligible for the $250,000 payment
                                               (sometimes referred to as HELC) and                         Form CCC–860, Socially                             limitation, the payment to the legal
                                               wetland conservation certification as                   Disadvantaged, Limited Resource,                       entity will be reduced for the limitation
                                               provided in 7 CFR part 12 (form AD–                     Beginning and Veteran Farmer or                        applicable to the share of the ELRP
                                               1026, Highly Erodible Land                              Rancher Certification, must be on file                 payment attributed to that member.
                                               Conservation (HELC) and Wetland                         with FSA with a certification applicable                  A payment made to a legal entity will
                                               Conservation (WC) Certification) for the                for the 2021 program year to receive the               be attributed to those members who
                                               ELRP producer and applicable affiliates.                higher ELRP payment rate of 90 percent.                have a direct or indirect ownership
                                                  For a producer to be eligible for a                      FSA will issue ELRP Phase 1                        interest in the legal entity unless the
                                               payment based on the higher payment                     payments as 2021 LFP applications are                  payment of the legal entity has been
                                               rate for eligible historically underserved              processed and approved. If a producer                  reduced by the proportionate ownership
                                               farmers or ranchers or increased                        files the CCC–860 or FSA–510 form and                  interest of the member due to that
                                               payment limitation as described below,                  the accompanying certification by the                  member’s ineligibility.
                                               the following must be submitted within                  deadline announced by the Deputy                          Attribution of payments made to legal
                                               60-days of the ELRP deadline                            Administrator but after their ELRP
                                                                                                                                                              entities will be tracked through four
                                                                                                       Phase 1 payment is issued, FSA will
                                               announced by the Deputy                                                                                        levels of ownership in legal entities as
                                                                                                       recalculate the ELRP Phase 1 payment
                                               Administrator:                                                                                                 follows:
                                                                                                       and issue the additional calculated
                                                   Form CCC–860, Socially                                                                                        First level of ownership: Any
                                                                                                       amount as applicable.
                                               Disadvantaged, Limited Resource,                                                                               payment made to a legal entity that is
                                               Beginning and Veteran Farmer or                         Payment Limitation                                     owned in whole or in part by a person
                                               Rancher Certification, applicable for the                  The payment limitation for ELRP is                  will be attributed to the person in an
                                               2021 program year 5 ; or                                determined by the person’s or legal                    amount that represents the direct
                                                   FSA–510, Request for an Exception                  entity’s average adjusted gross farm                   ownership interest in the first-level or
                                               to the $125,000 Payment Limitation for                  income (income derived from farming,                   payment legal entity;
                                               Certain Programs, accompanied by a                      ranching, and forestry operations).                        Second level of ownership: Any
                                               certification from a certified public                   Specifically, a person or legal entity,                payment made to a first-level legal
                                               accountant or attorney as to that person                other than a joint venture or general                  entity that is owned in whole or in part
                                               or legal entity’s certification, for a legal            partnership, cannot receive, directly or               by another legal entity (referred to as a
                                               entity and all members of that entity.                  indirectly, more than $125,000 in                      second-level legal entity) will be
                                                                                                       payments under ELRP if their average                   attributed to the second-level legal
                                               Payment Calculation
                                                                                                       adjusted gross farm income is less than                entity in proportion to the ownership of
                                                  The ELRP Phase 1 payment will be                     75 percent of their average AGI for tax                the second-level legal entity in the first-
                                               equal to the eligible livestock producer’s              years 2017, 2018, and 2019. If at least                level legal entity; if the second-level
                                               gross 2021 LFP calculated payment 6                     75 percent of the person or legal entity’s             legal entity is owned in whole or in part
                                               multiplied by the applicable ELRP                       average AGI is derived from farming,                   by a person, the amount of the payment
                                               payment percentage. The ELRP Phase 1                    ranching, or forestry related activities               made to the first-level legal entity will
                                               payment percentage will be 90 percent                   and the participant provides the                       be attributed to the person in the
                                               for historically underserved farmers and                required certification and                             amount that represents the indirect
                                               ranchers, and 75 percent for all other                  documentation, as discussed below, the                 ownership in the first-level legal entity
                                               producers.                                              person or legal entity, other than a joint             by the person;
                                                                                                       venture or general partnership, is                         Third and fourth levels of
                                                  5 A producer who has filed CCC–860 certifying
                                                                                                       eligible to receive, directly or indirectly,           ownership: Except as provided in the
                                               their status as a socially disadvantaged, beginning,    up to $250,000 in ELRP payments. The                   second-level of ownership bullet above
                                               or veteran farmer or rancher for a prior program
                                               year is not required to submit a subsequent             relevant tax years for establishing a                  and in the fourth-level of ownership
                                               certification of their status for the 2021 program      producer’s AGI and percentage derived                  bullet below, any payments made to a
                                               year because a producer’s status as socially            from farming, ranching, or forestry                    legal entity at the third and fourth levels
                                               disadvantaged would not change in different years,      related activities for ELRP are 2017,                  of ownership will be attributed in the
                                               and their certification as a beginning or veteran
                                               farmer or rancher includes the relevant date needed     2018, and 2019. To receive more than                   same manner as specified in the second
                                               to determine for what programs years the status         $125,000 in ELRP payments, producers                   level of ownership bullet above; and
                                               would apply. Because a producer’s status as a           must submit form FSA–510,                                  Fourth level of ownership: If the
                                               limited resource farmer or rancher may change
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                                                                                                       accompanied by a certification from a                  fourth level of ownership is that of a
                                               annually depending on the producer’s direct and
                                               indirect gross farm sales, those producers must         certified public accountant or attorney                legal entity and not that of a person, a
                                               submit CCC–860 for each applicable program year.        as to that person or legal entity’s                    reduction in payment will be applied to
                                                  6 The gross LFP calculated payment is the amount     certification. If a producer requesting                the first-level or payment legal entity in
                                               calculated according to 7 CFR 1416.207, prior to        the $250,000 payment limitation is a                   the amount that represents the indirect
                                               any payment reductions for reasons including, but
                                               not limited to, sequestration, payment limitation,
                                                                                                       legal entity, all members of that entity               ownership in the first-level or payment
                                               and the applicant or member of an applicant that        must also complete FSA–510 and                         legal entity by the fourth-level legal
                                               is an entity exceeding the average AGI limitation.      provide the required certification                     entity.

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                                                  Payments made directly or indirectly  provisions of 7 CFR 718.6, which                                      to be true, in the course of either
                                               to a person who is a minor child will    address ineligibility for benefits for                                applying for or participating in ELRP, or
                                               not be combined with the earnings of     offenses involving controlled                                         both, then the producer is guilty of
                                               the minor’s parent or legal guardian.    substances. Appeal regulations in 7 CFR                               perjury and, except as otherwise
                                                  A producer that is a legal entity mustparts 11 and 780 and equitable relief                                 provided by law, may be fined,
                                               provide the names, addresses,            and finality provisions in 7 CFR part                                 imprisoned for not more than 5 years, or
                                               ownership share, and valid taxpayer      718, subpart D, apply to determinations                               both, regardless of whether the producer
                                               identification numbers of the members    under ELRP. The determination of                                      makes such verbal or written
                                               holding an ownership interest in the     matters of general applicability that are                             declaration, certification, statement, or
                                               legal entity. Payments to a legal entity not in response to, or result from, an                                verification within or outside the United
                                               will be reduced in proportion to a       individual set of facts are not matters                               States.
                                               member’s ownership share when a valid    that can be appealed. Such matters of                                    For the purposes of the effect of a lien
                                               taxpayer identification number for a     general applicability include, but are                                on eligibility for Federal programs (28
                                               person or legal entity that holds a direct
                                                                                        not limited to, the ELRP Phase 1                                      U.S.C. 3201(e)), USDA waives the
                                               or indirect ownership interest, at the   eligibility criteria and payment                                      restriction on receipt of funds under
                                               first through fourth levels of ownership calculation.                                                          ELRP but only as to beneficiaries who,
                                               in the business structure, is not           Participants are required to retain                                as a condition of the waiver, agree to
                                               provided to FSA.                         documentation in support of their                                     apply the ELRP payments to reduce the
                                                  If an individual or legal entity is not
                                                                                        application for 3 years after the date of                             amount of the judgment lien.
                                               eligible to receive ELRP payments due    approval. Participants receiving ELRP                                    In addition to any other Federal laws
                                               to the individual or legal entity failingpayments or any other person who                                      that apply to ELRP, the following laws
                                               to satisfy payment eligibility provisions,
                                                                                        furnishes such information to USDA                                    apply: 15 U.S.C. 714; and 18 U.S.C. 286,
                                               the payment made either directly or      must permit authorized representatives                                287, 371, and 1001.
                                               indirectly to the individual or legal    of USDA or the Government
                                               entity will be reduced to zero. The                                                                            Paperwork Reduction Act
                                                                                        Accountability Office, during regular
                                               amount of the reduction for the direct   business hours, to enter the agricultural                             Requirements
                                               payment to the producer will be          operation and to inspect, examine, and                                  In accordance with the Paperwork
                                               commensurate with the direct or          to allow representatives to make copies                               Reduction Act, the information
                                               indirect ownership interest of the       of books, records, or other items for the                             collection request that supports
                                               ineligible individual or ineligible legalpurpose of confirming the accuracy of                                 Emergency Livestock Relief Program
                                               entity. Like other programs              the information provided by the                                       (ELRP) was submitted to OMB for
                                               administered by FSA, payments made to    participant.                                                          emergency approval. OMB approved the
                                               an Indian Tribe or Tribal organization,     The Deputy Administrator has the                                   6-month emergency information
                                               as defined in section 4(b) of the Indian discretion and authority to waive or                                  collection. This new ELRP will be
                                               Self-Determination and Education         modify filing deadlines and other                                     available to the producers up to 6
                                               Assistance Act (25 U.S.C. 5304), will notrequirements or program provisions not                                months only.
                                               be subject to payment limitation.        specified in law, in cases where the
                                                                                                                                                              Environmental Review
                                                                                        Deputy Administrator determines it is
                                               Provisions Requiring Refund to FSA       equitable to do so and where the Deputy                                  The environmental impacts have been
                                                  In the event that any ELRP Phase 1    Administrator finds that the lateness or                              considered in a manner consistent with
                                               payment resulted from erroneous          failure to meet such other requirements                               the provisions of the National
                                               information reported by the producer or or program provisions do not adversely                                 Environmental Policy Act (NEPA, 42
                                               if the producer’s 2021 LFP payment is    affect the operation of ELRP. Although                                U.S.C. 4321–4347), the regulations of
                                               recalculated after the ELRP Phase 1      producers have a right to a decision on                               the Council on Environmental Quality
                                               payment is issued, the ELRP Phase 1      whether they filed applications by the                                (40 CFR parts 1500–1508), and the FSA
                                               payment will be recalculated, and the    deadline or not, producers have no right                              regulation for compliance with NEPA (7
                                               producer must refund any excess          to a decision in response to a request to                             CFR part 799).
                                               payment to FSA, including interest to be waive or modify deadlines or program                                     As previously stated, ELRP Phase 1 is
                                               calculated from the date of the          provisions. The Deputy Administrator’s                                providing payments to eligible livestock
                                               disbursement to the producer. If FSA     refusal to exercise discretion to consider                            producers who faced increased
                                               determines that the producer             the request will not be considered an                                 supplemental feed costs as a result of
                                               intentionally misrepresented             adverse decision and is, by itself, not                               forage losses due to a qualifying drought
                                               information used to determine the        appealable.                                                           or wildfire in calendar year 2021. The
                                               producer’s ELRP Phase 1 payment             Any payment under ELRP will be                                     limited discretionary aspects of ELRP do
                                               amount, the application will be          made without regard to questions of title                             not have the potential to impact the
                                               disapproved and the producer must        under State law and without regard to                                 human environment as they are
                                               refund the full payment to FSA with      any claim or lien. The regulations                                    administrative. Accordingly, these
                                               interest from the date of disbursement.  governing offsets in 7 CFR part 3 apply                               discretionary aspects are covered by the
                                               Any required refunds must be resolved    to ELRP payments.                                                     FSA Categorical Exclusions specified in
                                               in accordance with debt settlement          In either applying for or participating                            § 799.31(b)(6)(iv) that applies to
                                               regulations in 7 CFR part 3.             in ELRP, or both, the producer is subject                             individual farm participation in FSA
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                                                                                        to laws against perjury and any                                       programs where no ground disturbance
                                               General Provisions                       penalties and prosecution resulting                                   or change in land use occurs as a result
                                                  General requirements that apply to    therefrom, with such laws including but                               of the proposed action or participation;
                                               other FSA-administered commodity         not limited to 18 U.S.C. 1621. If the                                 and § 799.31(b)(6)(vi) that applies to
                                               programs also apply to ELRP, including   producer willfully makes and represents                               safety net programs.
                                               compliance with the provisions of 7      as true any verbal or written declaration,                               No Extraordinary Circumstances
                                               CFR part 12, ‘‘Highly Erodible Land and certification, statement, or verification                              (§ 799.33) exist. As such, the
                                               Wetland Conservation,’’ and the          that the producer knows or believes not                               implementation of ELRP and the

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                                               participation in ELRP do not constitute                  Secretary for Civil Rights, 1400                        for Office of Management and Budget
                                               major Federal actions that would                         Independence Avenue SW, Washington,                     approval. All comments will be a matter
                                               significantly affect the quality of the                  DC 20250–9410 or email: OAC@                            of public record.
                                               human environment, individually or                       usda.gov.                                               FOR FURTHER INFORMATION CONTACT:
                                               cumulatively. Therefore, FSA will not                      USDA is an equal opportunity                          Requests for additional information or
                                               prepare an environmental assessment or                   provider, employer, and lender.                         copies of this information collection
                                               environmental impact statement for this                  Zach Ducheneaux,                                        should be directed to Ruth Morgan at
                                               action and this document serves as                                                                               703–457–7759.
                                                                                                        Administrator, Farm Service Agency.
                                               documentation of the programmatic                                                                                SUPPLEMENTARY INFORMATION: Comments
                                                                                                        [FR Doc. 2022–06950 Filed 4–1–22; 8:45 am]
                                               environmental compliance decision for                                                                            are invited on (a) whether the proposed
                                               this federal action.                                     BILLING CODE 3410–05–P
                                                                                                                                                                collection of information is necessary
                                               Federal AssistancePrograms                                                                                       for the proper performance of the
                                                                                                        DEPARTMENT OF AGRICULTURE                               functions of the agency, including
                                                 The title and number of the Federal
                                                                                                                                                                whether the information shall have
                                               assistance programs, as found in the
                                                                                                        Food and Nutrition Service                              practical utility; (b) the accuracy of the
                                               Assistance Listing 7 (formerly referred to
                                               as the Catalog of Federal Domestic                                                                               agency’s estimate of the burden of the
                                                                                                        Agency Information Collection                           proposed collection of information,
                                               Assistance), to which this document                      Activities: Reasons for
                                               applies is 10.148—Emergency Livestock                                                                            including the validity of the
                                                                                                        Underredemption of the WIC Cash-                        methodology and assumptions that were
                                               Relief Program.                                          Value Benefit                                           used; (c) ways to enhance the quality,
                                               USDA Non-Discrimination Policy                           AGENCY: Food and Nutrition               Service        utility, and clarity of the information to
                                                  In accordance with Federal civil                      (FNS), USDA.                                            be collected; and (d) ways to minimize
                                               rights law and U.S. Department of                        ACTION: Notice.                                         the burden of the collection of
                                               Agriculture (USDA) civil rights                                                                                  information on those who are to
                                               regulations and policies, USDA, its                      SUMMARY: In accordance with     the                     respond, including use of appropriate
                                               Agencies, offices, and employees, and                    Paperwork Reduction Act of 1995, this                   automated, electronic, mechanical, or
                                               institutions participating in or                         notice invites the general public and                   other technological collection
                                               administering USDA programs are                          other public agencies to comment on                     techniques or other forms of information
                                               prohibited from discriminating based on                  this proposed information collection.                   technology.
                                               race, color, national origin, religion, sex,             This collection is a NEW information                       Title: Reasons for Underredemption of
                                               gender identity (including gender                        collection. This study informs the U.S.                 the WIC Cash-Value Benefit.
                                               expression), sexual orientation,                         Department of Agriculture’s Food and                       Form Number: N/A.
                                               disability, age, marital status, family or               Nutrition Service (FNS) about the                          OMB Number: Not Yet Assigned.
                                                                                                        reasons behind underredemption of the                      Expiration Date: Not Yet Determined.
                                               parental status, income derived from a
                                                                                                        cash-value benefit (CVB) issued to                         Type of Request: New Collection.
                                               public assistance program, political                                                                                Abstract: The Special Supplemental
                                               beliefs, or reprisal or retaliation for prior            participants in the Special
                                                                                                        Supplemental Nutrition Program for                      Nutrition Program for Women, Infants,
                                               civil rights activity, in any program or                                                                         and Children (WIC) provides nutritious
                                               activity conducted or funded by USDA                     Women, Infants, and Children (WIC). In
                                                                                                        particular, the American Rescue Plan                    supplemental foods, healthcare
                                               (not all bases apply to all programs).                                                                           referrals, breastfeeding support, and
                                               Remedies and complaint filing                            Act of 2021 (ARPA), which was signed
                                                                                                        into law in March 2021, included                        nutrition education to low-income
                                               deadlines vary by program or incident.                                                                           pregnant, breastfeeding, and postpartum
                                                  Persons with disabilities who require                 provisions allowing the USDA to
                                                                                                        temporarily increase the CVV/B for                      women, infants and children up to age
                                               alternative means of communication for
                                                                                                        certain food packages through                           5 who are at nutritional risk. A Final
                                               program information (for example,
                                                                                                        September 30, 2021. This increased CVB                  Rule, Special Supplemental Nutrition
                                               braille, large print, audiotape, American
                                                                                                        amount may reduce barriers to full                      Program for Women, Infants, and
                                               Sign Language, etc.) should contact the
                                                                                                        utilization of the benefit. FNS is                      Children (WIC): Revisions in the WIC
                                               responsible Agency or USDA TARGET
                                                                                                        particularly interested in how State                    Food Packages,was published in the
                                               Center at (202) 720–2600 or 844–433–
                                                                                                        agency policies and practices as well as                Federal Register on March 4, 2014 (79
                                               2774 (toll-free nationwide).
                                                                                                        the temporary benefit increase affects                  FR 12274) that revised the WIC food
                                               Additionally, program information may
                                                                                                        CVB redemption rates.                                   packages to add a monthly cash-value
                                               be made available in languages other
                                                                                                        DATES: Written comments must be                         benefit (CVB) for the purchase of fruits
                                               than English.
                                                                                                        received on or before June 3, 2022.                     and vegetables. This rule also detailed
                                                  To file a program discrimination
                                                                                                                                                                specific provisions for the value of the
                                               complaint, complete the USDA Program                     ADDRESSES: Comments may be sent to
                                                                                                                                                                CVB, the types of fruits and vegetables
                                               Discrimination Complaint Form, AD–                       Ruth Morgan, Food and Nutrition
                                                                                                                                                                authorized, and other State options for
                                               3027, found online at https://                           Service, U.S. Department of Agriculture,
                                                                                                                                                                providing this benefit. Recent studies
                                               www.usda.gov/oascr/how-to-file-a-                        1320 Braddock Place, Alexandria, VA
                                                                                                                                                                have estimated that redemption rates for
                                               program-discrimination-complaint and                     22314. Comments may also be
                                                                                                                                                                CVBs range from 73 percent to 77
                                               at any USDA office or write a letter                     submitted via fax to the attention of
                                                                                                                                                                percent; 1 2 however, the reasons for
                                               addressed to USDA and provide in the                     Ruth Morgan at 703–305–2576 or via
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                                               letter all the information requested in                  email at ruth.morgan@usda.gov.                             1 Phillips, D., Bell, L., Morgan, R., & Pooler, J.
                                               the form. To request a copy of the                       Comments will also be accepted through                  (2014). Transition to EBT in WIC: Review of impact
                                               complaint form, call (866) 632–9992.                     the Federal eRulemaking Portal. Go to                   and examination of participant redemption
                                               Submit your completed form or letter to                  http://www.regulations.gov, and follow                  patterns: Final report. Retrieved from https://
                                               USDA by mail to: U.S. Department of                                                                              altarum.org/sites/default/files/uploaded-
                                                                                                        the online instructions for submitting                  publication-files/Altarum Transition%20to%20
                                               Agriculture, Office of the Assistant                     comments electronically.                                WIC%20EBTFinal%20Report 071614.pdf.
                                                                                                           All responses to this notice will be                    2 National Academies of Sciences, Engineering,
                                                 7 See https://sam.gov/content/assistance-listings.     summarized and included in the request                  and Medicine. (2017). Review of WIC food


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                                               added to the cost of providing the                                       All rates are per-hour except when a                            amounts in each rate calculation are
                                               service.                                                               per-unit cost is noted. The specific                              available upon request.

                                                                                                                                        2022/2023 RATES
                                                                                                                                                                                                          Includes
                                                                                                                                                                                                            travel
                                                                                                                                                  Regular                Overtime           Holiday                           Start date
                                                                                                                                                                                                           costs in
                                                                                                                                                                                                             rate

                                                                                                                                       Specialty Crops Fees

                                                                7 CFR Part 51—Fresh Fruits, Vegetables and Other Products (Inspection, Certification, and Standards)
                                                     Subpart A—Requirements;
                                                        §§ 51.37–51.44 Schedule of Fees and Charges at Destination Markets
                                                        § 51.45 Schedule of Fees and Charges at Shipping Point Areas

                                               Quality and Condition Inspections for Whole Lots ......................                                                $225.00 per lot                    ................   Oct. 1, 2022.
                                               Quality and Condition Half Lot or Condition-Only Inspections                                                           $186.00 per lot                    ................   Oct. 1, 2022.
                                                 for Whole Lots.
                                               Condition—Half Lot .....................................................................                               $172.00 per lot                    ................   Oct. 1, 2022.
                                               Quality and Condition or Condition-Only Inspections for Addi-                                                          $103.00 per lot                    ................   Oct. 1, 2022.
                                                 tional Lots of the Same Product.
                                               Dockside Inspections—Each package weighing <30 lbs ...........                                                         $0.044 per pkg.                    ................   Oct. 1, 2022.
                                               Dockside Inspections—Each package weighing >30 lbs ...........                                                           $0.068/pkg.                      ................   Oct. 1, 2022.
                                               Charge per Individual Product for Dockside Inspection .............                                                      $225.00/lot                      ................   Oct. 1, 2022.
                                               Charge per Each Additional Lot of the Same Product ...............                                                       $103.00/lot                      ................   Oct. 1, 2022.

                                               Inspections for All Hourly Work ...................................................                       $100.00            $137.00            $175.00   ................   Oct. 1, 2022.

                                               Audit Services—Federal ..............................................................                                     $132.00                         ................   Oct. 1, 2022.
                                               Audit Services—State .................................................................                                    $132.00                         ................   Oct. 1, 2022.
                                               GFSI Certification Fee 1 ...............................................................                                $250.00/audit                     ................   Oct. 1, 2022.

                                                         7 CFR Part 52—Processed Fruits and Vegetables, Processed Products Thereof, and Other Processed Food Products
                                                     Subpart A—Requirements Governing Inspection and Certification;
                                                        §§ 52.41—52.51 Fees and Charges

                                               Lot Inspections ............................................................................               $85.00            $112.00            $139.00   ................   Oct. 1, 2022.
                                               In-plant Inspections Under Annual Contract (year-round) ..........                                         $85.00            $107.00            $129.00   ................   Oct. 1, 2022.
                                               Additional Graders (in-plant) or Less Than Year-Round ............                                         $91.00            $120.00            $149.00   ................   Oct. 1, 2022.

                                               Audit Services—Federal ..............................................................                                     $132.00                         ................   Oct. 1, 2022.
                                               Audit Services—State .................................................................                                    $132.00                         ................   Oct. 1, 2022.
                                               GFSI Certification Fee1 ...............................................................                                 $250.00/audit                     ................   Oct. 1, 2022.
                                                 1 Global Food Safety Initiative (GFSI) Certification Fee—$250 per GFSI audit to recoup the costs associated with attaining technical equiva-
                                               lency to the GFSI benchmarking requirements.


                                                  Authority: 7 U.S.C. 1621–1627.                                      ranching, and forestry operations’’ for                           Revision and Clarification
                                                                                                                      ELRP and ERP and clarifying policy                                   FSA announced ELRP in a
                                               Melissa Bailey,
                                                                                                                      around the filing of certifications of                            Notification of Funding Availability
                                               Associate Administrator, Agricultural
                                               Marketing Service.                                                     average adjusted gross farm income.                               (NOFA) on April 4, 2022 (87 FR 19465–
                                               [FR Doc. 2022–17744 Filed 8–17–22; 8:45 am]
                                                                                                                      FSA is clarifying the ERP Phase 1 policy                          19470), and ERP in a NOFA on May 18,
                                                                                                                      related to producers who received both                            2022 (87 FR 30164–30172).
                                               BILLING CODE 3410–02–P
                                                                                                                      a crop insurance indemnity and a                                  Implementation of ELRP Phase 1 began
                                                                                                                      Noninsured Crop Disaster Assistance                               on April 4, 2022. Implementation of
                                               DEPARTMENT OF AGRICULTURE                                              Program (NAP) payment. FSA is also                                ERP Phase 1 began on May 18, 2022. In
                                                                                                                      amending ERP Phase 1 to include                                   those documents, FSA provided the
                                               Farm Service Agency                                                    eligibility for Federal Crop Insurance                            eligibility requirements, application
                                                                                                                      policies with an intended use for                                 process, and payment calculations for
                                               [Docket ID FSA–2022–0008]
                                                                                                                      nursery.                                                          Phase 1 of each program. In this
                                               Emergency Livestock Relief Program                                                                                                       document, FSA is making clarifications
                                                                                                                      FOR FURTHER INFORMATION CONTACT:                                  and revising policy for those programs,
                                               (ELRP) and Emergency Relief Program
                                               (ERP) Clarification                                                    Tona Huggins; telephone: (202) 720–                               as described below.
khammond on DSKJM1Z7X2PROD with NOTICES




                                                                                                                      6825; email: tona.huggins@usda.gov.
                                               AGENCY: Farm Service Agency, USDA.
                                                                                                                                                                                        Clarification to Income Derived From
                                                                                                                      Persons with disabilities who require
                                                                                                                                                                                        Farming, Ranching, and Forestry
                                               ACTION: Notice of funds availability;                                  alternative means for communication
                                                                                                                                                                                        Operations
                                               clarification and revision.                                            should contact the USDA Target Center
                                                                                                                      at (202) 720–2600 (voice) or (844) 433–                             The payment limits under both ELRP
                                               SUMMARY: The Farm Service Agency                                       2774 (toll-free nationwide).                                      and ERP are higher for producers whose
                                               (FSA) is amending the definition of                                                                                                      average adjusted gross farm income is at
                                               ‘‘income derived from farming,                                         SUPPLEMENTARY INFORMATION:                                        least 75 percent of their average

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                                               adjusted gross income (AGI) based on                    operations for the 3 taxable years                    requirement under any Federal statute,
                                               the 3 taxable years preceding the most                  preceding the most immediately                        relevant Federal income tax returns and
                                               immediately preceding complete tax                      preceding complete taxable year.                      documentation must be retained a
                                               year. Under the ERP and ELRP NOFAs                        (a) If the resulting average adjusted               minimum of 2 years after the end of the
                                               income derived from farming, ranching,                  gross farm income derived from items 1                calendar year corresponding to the year
                                               and forestry operations includes any                    through 12 of the definition of income                for which payments or benefits are
                                               other activity related to farming,                      derived from farming, ranching and                    requested. Failure to provide necessary
                                               ranching, and forestry, as determined by                forestry operations is at least 66.66                 and accurate information to verify
                                               the Deputy Administrator. The Deputy                    percent of the average adjusted gross                 compliance, or failure to comply with
                                               Administrator considered the definition                 income of the person or legal entity,                 these requirements will result in
                                               of ‘‘income derived from farming,                       then the average adjusted gross farm                  ineligibility for ELRP and ERP benefits.
                                               ranching, and forestry operations’’ used                income may also take into consideration               This is consistent with the current
                                               in prior disaster programs and                          income or benefits derived from the                   requirements for participants in both
                                               determined the need to clarify that the                 following:                                            ERP Phase 1 and ELRP to retain
                                               sale of equipment to conduct farm,                        (1) The sale of equipment to conduct                documentation in support of their
                                               ranch, or forestry operations and the                   farm, ranch, or forestry operations; and              application for 3 years after the date of
                                               provision of production inputs and                        (2) The provision of production                     approval.
                                               services to farmers, ranchers, foresters                inputs and services to farmers, ranchers,
                                                                                                       foresters, and farm operations.                       ERP Phase 1 Payments—Crop
                                               and farm operations are considered
                                                                                                         (b) The relevant tax years are:                     Insurance Policies and NAP
                                               eligible sources of income derived from
                                               farming, ranching, and forestry                           (1) For the 2020 program year, 2016,                  ERP Phase 1 covers certain losses for
                                               operations under certain conditions.                    2017, and 2018;                                       which a producer received a crop
                                               Production inputs are materials to                        (2) For the 2021 program year, 2017,                insurance indemnity or Noninsured
                                               conduct farming operations, such as                     2018, and 2019; and                                   Crop Disaster Assistance Program (NAP)
                                               seeds, chemicals, and fencing supplies.                   (3) For the 2022 program year, 2018,                payment. In some situations, a producer
                                               Production services are services                        2019, and 2020.                                       may have received both a NAP payment
                                                                                                         In response to inquiries made by                    for a crop loss and an indemnity under
                                               provided to support a farming
                                                                                                       CPAs and attorneys, FSA is providing                  a crop insurance policy that was
                                               operation, such as custom farming,
                                               custom feeding, and custom fencing. In                  additional clarity related to the                     included in ERP Phase 1 to address the
                                               this document, FSA is providing                         certifications of average adjusted gross              same loss. Examples of these policies
                                               clarification regarding how the sale of                 farm income. For legal entities not                   include Rainfall Index plans for Annual
                                               equipment to conduct farm, ranch or                     required to file a federal income tax                 Forage; Pasture, Rangeland, and Forage;
                                               forestry operations and the provision of                return, or a person or legal entity that              or Apiculture. In those situations, the
                                               production inputs and services will be                  did not have taxable income in one or                 producer’s ERP Phase 1 payment will be
                                               considered for the purpose of                           more tax years, the average will be the               calculated based only on the data
                                               determining whether at least 75 percent                 adjusted gross farm income, including                 associated with their indemnity under
                                               of the producer’s average AGI was from                  losses, averaged for the 3 taxable years              the crop insurance policy; for those
                                               income derived from farming, ranching,                  preceding the most immediately                        producers no ERP Phase 1 payment will
                                               and forestry operations. This is only to                preceding complete taxable year, as                   be calculated based on the data
                                               the extent a producer’s income derived                  determined by FSA. A new legal entity                 associated with their NAP payment.
                                               from these sources is not already                       will have its adjusted gross farm income              This policy is necessary to avoid
                                               included under items 1 through 12 of                    averaged only for those years of the base             compensating producers twice for the
                                               the definition of income derived from                   period for which it was in business;                  same loss under ERP Phase 1.
                                               farming, ranching, and forestry                         however, a new legal entity will not be
                                                                                                       considered ‘‘new’’ to the extent it takes             ERP Phase 1 Payments—Nursery
                                               operations.
                                                  The sale of equipment used to                        over an existing operation and has any                   The original NOFA for ERP Phase 1
                                               conduct farm, ranch, or forestry                        elements of common ownership interest                 excluded payments for nursery stock
                                               operations and the provision of                         and land with the preceding person or                 covered by a Federal Crop Insurance
                                               production inputs and services to                       legal entity. When there is such                      policy. After further consideration, FSA
                                               farmers, ranchers, foresters, and farm                  commonality, income of the previous                   has determined that nursery stock
                                               operations will only be taken into                      person or legal entity will be averaged               covered by a Federal Crop Insurance
                                               account in an applicant’s average                       with that of the new legal entity for the             policy suffered qualifying losses similar
                                               adjusted gross farm income if the                       base period. For a person filing a joint              to other crops covered under ERP Phase
                                               average adjusted gross farm income is at                tax return, the certification of average              1 and to be consistent with prior
                                               least 66.66 percent of the applicant’s                  adjusted farm income will be reported                 disaster programs administered by FSA,
                                               average AGI based on items 1 through                    as if the person had filed a separate                 we are revising the policy to include
                                               12 of the definition of income derived                  federal tax return and the calculation is             eligible nursery losses during the 2020,
                                               from farming, ranching, and forestry                    consistent with the information                       2021, or 2022 crop years for which a
                                               operations. For clarity, the full                       supporting the filed joint return.                    producer had a Federal Crop Insurance
                                               definition of ‘‘average adjusted gross                    ELRP and ERP applicants filing                      policy that provided coverage for
                                               farm income’’ is provided below. This                   certifications of average adjusted gross              eligible losses related to the qualifying
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                                               definition is applicable to both ELRP                   farm income are subject to an FSA audit               disaster events and received an
                                               and ERP. It replaces the definition                     of information submitted for the                      indemnity for a crop and unit.
                                               provided in the ERP NOFA and will                       purpose of increasing the program’s
                                               also apply to the ELRP NOFA.                            payment limitation. As a part of this                 Paperwork Reduction Act
                                                  Average adjusted gross farm income                   audit, FSA may request income tax                       In compliance with the Paperwork
                                               means the average of the person or legal                returns, and if requested, must be                    Reduction Act (44 U.S.C. 3501–3520),
                                               entity’s adjusted gross income derived                  supplied by all related persons and legal             this NOFA does not change the
                                               from farming, ranching, or forestry                     entities. In addition to any other                    approved information collection under

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                                               OMB control numbers 0560–0307 and                         USDA is an equal opportunity                        calling the Federal Relay Service at
                                               0560–0309, respectively.                                provider, employer, and lender.                       1–800–877–8339 and providing the
                                                                                                                                                             Service with the conference call number
                                               Federal Assistance Programs                             Zach Ducheneaux,
                                                                                                                                                             and conference ID number.
                                                                                                       Administrator, Farm Service Agency.                      Members of the public are also
                                                 The titles and numbers of the Federal                 [FR Doc. 2022–17795 Filed 8–17–22; 8:45 am]           entitled to submit written comments;
                                               assistance programs, as found in the                    BILLING CODE 3410–05–P                                the comments must be received in the
                                               Assistance Listing,1 to which this
                                                                                                                                                             regional office within 30 days following
                                               document applies are 10.148—
                                                                                                                                                             the meeting. Written comments may be
                                               Emergency Livestock Relief Program,                     COMMISSION ON CIVIL RIGHTS                            emailed to Corrine Sanders at csanders@
                                               and 10.964—Emergency Relief Program.                                                                          usccr.gov. Persons who desire
                                               USDA Non-Discrimination Policy                          Notice of Public Meeting of the                       additional information may contact the
                                                                                                       Pennsylvania Advisory Committee to                    Regional Programs Unit at (312) 353–
                                                  In accordance with Federal civil                     the U.S. Commission on Civil Rights                   8311.
                                               rights law and U.S. Department of                       AGENCY: U.S. Commission on Civil
                                                                                                                                                                Records generated from this meeting
                                               Agriculture (USDA) civil rights                         Rights.                                               may be inspected and reproduced, as
                                               regulations and policies, USDA, its                                                                           they become available, both before and
                                                                                                       ACTION: Announcement of meeting.
                                               Agencies, offices, and employees, and                                                                         after the meeting. Records of the
                                               institutions participating in or                        SUMMARY: Notice is hereby given,                      meeting will be available via
                                               administering USDA programs are                         pursuant to the provisions of the rules               www.facadatabase.gov under the
                                               prohibited from discriminating based on                 and regulations of the U.S. Commission                Commission on Civil Rights,
                                               race, color, national origin, religion, sex,            on Civil Rights (Commission) and the                  Pennsylvania Advisory Committee link.
                                               gender identity (including gender                       Federal Advisory Committee Act that                   Persons interested in the work of this
                                               expression), sexual orientation,                        the Pennsylvania Advisory Committee                   Committee are directed to the
                                               disability, age, marital status, family or              (Committee) to the U.S. Commission on                 Commission’s website, http://
                                                                                                       Civil Rights will hold a business                     www.usccr.gov, or may contact the
                                               parental status, income derived from a
                                                                                                       meeting on Tuesday September 13, 2022                 Regional Programs Unit at the above
                                               public assistance program, political
                                                                                                       at 2:00 p.m. Eastern time. The                        email address.
                                               beliefs, or reprisal or retaliation for prior
                                               civil rights activity, in any program or                Committee will discuss testimony                      Agenda
                                               activity conducted or funded by USDA                    received regarding the study of civil
                                                                                                                                                             Welcome and Roll Call
                                               (not all bases apply to all programs).                  rights and fair housing in the state.                 Discussion: Civil Rights and Fair
                                               Remedies and complaint filing                           DATES: The meeting will take place on                   Housing in Pennsylvania
                                               deadlines vary by program or incident.                  Tuesday September 13, 2022 from 2:00                  Future Plans and Actions
                                                                                                       p.m.–3:00 p.m. Eastern time.                          Public Comment
                                                  Persons with disabilities who require
                                                                                                       ADDRESSES:                                            Adjournment
                                               alternative means of communication for
                                               program information (for example,                          Join Online (Audio/Visual): https://                 Dated: August 15, 2022.
                                                                                                       www.zoomgov.com/j/1610157596?                         David Mussatt,
                                               braille, large print, audiotape, American
                                                                                                       pwd=YlRaUUdDan                                        Supervisory Chief, Regional Programs Unit.
                                               Sign Language, etc.) should contact the
                                                                                                       MwZTI4TFRaRTZnazJrQT09.
                                               responsible Agency or USDA TARGET                                                                             [FR Doc. 2022–17782 Filed 8–17–22; 8:45 am]
                                                                                                          Telephone (Audio Only): Dial 1–669–
                                               Center at (202) 720–2600 or (844) 433–                  254–5252 USA Toll Free; Access code:
                                                                                                                                                             BILLING CODE P
                                               2774 (toll-free nationwide).                            161 015 7596.
                                               Additionally, program information may
                                                                                                       FOR FURTHER INFORMATION CONTACT:                      COMMISSION ON CIVIL RIGHTS
                                               be made available in languages other
                                                                                                       Melissa Wojnaroski, DFO, at
                                               than English.                                                                                                 Notice of Public Meetings of the Ohio
                                                                                                       mwojnaroski@usccr.gov or 312–353–
                                                  To file a program discrimination                     8311.                                                 Advisory Committee to the U.S.
                                               complaint, complete the USDA Program                                                                          Commission on Civil Rights
                                                                                                       SUPPLEMENTARY INFORMATION: Members
                                               Discrimination Complaint Form, AD–
                                                                                                       of the public may listen to this                      AGENCY: U.S. Commission on Civil
                                               3027, found online at https://                          discussion. Committee meetings are                    Rights.
                                               www.usda.gov/oascr/how-to-file-a-                       available to the public through the                   ACTION: Announcement of meeting.
                                               program-discrimination-complaint and                    above listed online registration link or
                                               at any USDA office or write a letter                    call in number. Any interested member                 SUMMARY: Notice is hereby given,
                                               addressed to USDA and provide in the                    of the public may call this number and                pursuant to the provisions of the rules
                                               letter all the information requested in                 listen to the meeting. An open comment                and regulations of the U.S. Commission
                                               the form. To request a copy of the                      period will be provided to allow                      on Civil Rights (Commission) and the
                                               complaint form, call (866) 632–9992.                    members of the public to make a                       Federal Advisory Committee Act, that
                                               Submit your completed form or letter to                 statement as time allows. Callers can                 the Ohio Advisory Committee
                                               USDA by mail to: U.S. Department of                     expect to incur regular charges for calls             (Committee) will hold a web-based
                                               Agriculture, Office of the Assistant                    they initiate over wireless lines,                    meeting on Wednesday August 24,
                                                                                                                                                             2022, at 12:00 p.m. Eastern Time. The
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                                               Secretary for Civil Rights, 1400                        according to their wireless plan. The
                                               Independence Avenue SW, Washington,                     Commission will not refund any                        purpose of the meeting is to discuss the
                                               DC 20250–9410 or email: OAC@                            incurred charges. Callers will incur no               concept stage in the planning process
                                               usda.gov.                                               charge for calls they initiate over land-             and explore various civil rights topics
                                                                                                       line connections to the toll-free                     for the Committee’s first project.
                                                                                                       telephone number. Individuals who are                 DATES: The meeting will be held on:
                                                                                                       deaf, deafblind and hard of hearing may               Wednesday, August 24, 2022, at 12:00
                                                 1 See https://sam.gov/content/assistance-listings.    also follow the proceedings by first                  p.m. Eastern Time.

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                                                   expression), sexual orientation,                        phase of ELRP assistance. ELRP Phase 2                    acreage, in eligible drought counties. In
                                                   disability, age, marital status, family or              will provide assistance to eligible                       order to deliver this assistance quickly,
                                                   parental status, income derived from a                  livestock producers for the loss of the                   FSA used certain 2021 Livestock Forage
                                                   public assistance program, political                    value of winter forage from the                           Disaster Program (LFP) data and a
                                                   beliefs, or reprisal or retaliation for prior           deterioration of grazing cover due to a                   percentage of the payment made
                                                   civil rights activity, in any program or                qualifying drought or wildfire during                     through LFP applications as a proxy for
                                                   activity conducted or funded by USDA                    the 2021 normal grazing period, which                     these increased supplemental feed costs
                                                   (not all bases apply to all programs).                  has been exacerbated by a continued                       to eliminate the requirement for
                                                   Remedies and complaint filing                           lack of precipitation. This document                      producers to resubmit information for
                                                   deadlines vary by program or incident.                  also makes a correction and amendment                     ELRP Phase 1.
                                                      Individuals who require alternative                  to ELRP Phase 1.                                             To stay within the available funding,
                                                   means of communication for program                      DATES: Funding availability:
                                                                                                                                                                     ELRP Phase 1 payments were calculated
                                                   information (for example, braille, large                Implementation will begin September                       at 90 percent of the gross LFP calculated
                                                   print, audiotape, American Sign                         27, 2023.                                                 payment for underserved farmers and
                                                   Language, etc.) should contact the                                                                                ranchers and 75 percent of the gross LFP
                                                                                                           FOR FURTHER INFORMATION CONTACT:
                                                   responsible Agency or USDA TARGET                                                                                 calculated payment for all other
                                                                                                           Kathy Sayers, telephone: (202) 720–                       producers. 2
                                                   Center at (202) 720–2600 (voice and text                7649; email: Kathy.Sayers@usda.gov.
                                                   telephone (TTY)) or dial 711 for                                                                                     This document provides the eligibility
                                                                                                           Individuals with disabilities who                         requirements and payment calculation
                                                   Telecommunications Relay Service                        require alternative means for
                                                   (both voice and text telephone users can                                                                          for ELRP Phase 2 assistance. It also
                                                                                                           communication should contact the                          corrects an error in the ELRP Phase 1
                                                   initiate this call from any telephone).                 USDA Target Center at (202) 720–2600
                                                   Additionally, program information may                                                                             provisions related to payment eligibility
                                                                                                           (voice) or (844) 433–2774 (toll-free                      and amends ELRP Phase 1 to be
                                                   be made available in languages other                    nationwide).
                                                   than English.                                                                                                     consistent with LFP and ELRP Phase 2.
                                                      To file a program discrimination                     SUPPLEMENTARY INFORMATION:                                ELRP Phase 2
                                                   complaint, complete the USDA Program                    Background                                                   For each eligible livestock producer
                                                   Discrimination Complaint Form, AD–                                                                                who previously received an ELRP Phase
                                                   3027, found online at https://                             The Extending Government Funding
                                                                                                           and Delivering Emergency Assistance                       1 payment, FSA will issue an ELRP
                                                   www.usda.gov/oascr/how-to-file-a-                                                                                 Phase 2 payment to assist with losses in
                                                   program-discrimination-complaint and                    Act, (Division B, Title I, Pub. L. 117–43)
                                                                                                           provides $10 billion for necessary                        the value of winter forage from the
                                                   at any USDA office or write a letter                                                                              deterioration of grazing cover due to a
                                                   addressed to USDA and provide in the                    expenses related to losses of crops
                                                                                                           (including milk, on-farm stored                           qualifying drought or wildfire during
                                                   letter all the information requested in                                                                           the 2021 normal grazing period, which
                                                   the form. To request a copy of the                      commodities, crops prevented from
                                                                                                           planting in 2020 and 2021, and                            has been exacerbated by the continued
                                                   complaint form, call (866) 632–9992.                                                                              lack of precipitation, using the ELRP
                                                   Submit your completed form or letter to                 harvested adulterated wine grapes),
                                                                                                           trees, bushes, and vines, as a                            Phase 1 payment as a proxy to calculate
                                                   USDA by mail to: U.S. Department of                                                                               those losses. ELRP Phase 2 assistance is
                                                   Agriculture, Office of the Assistant                    consequence of droughts, wildfires,
                                                                                                           hurricanes, floods, derechos, excessive                   subject to the same ELRP payment
                                                   Secretary for Civil Rights, 1400                                                                                  limitation provided in the previous
                                                   Independence Avenue SW, Washington,                     heat, winter storms, freeze, including a
                                                                                                           polar vortex, smoke exposure, quality                     notice of funds availability. Because
                                                   DC 20250–9410 or email: OAC@                                                                                      FSA is using LFP and ELRP Phase 1
                                                   usda.gov.                                               losses of crops, and excessive moisture
                                                                                                           occurring in calendar years 2020 and                      information to calculate a producer’s
                                                      USDA is an equal opportunity                                                                                   ELRP Phase 2 payment and determine
                                                   provider, employer, and lender.                         2021. From the $10 billion, the
                                                                                                           Secretary of Agriculture is to use $750                   eligibility due to a qualifying drought or
                                                   Zach Ducheneaux,                                        million to assist producers of livestock                  wildfire during the 2021 normal grazing
                                                   Administrator, Farm Service Agency.                     for losses incurred during calendar year                  period, no action is required for eligible
                                                   [FR Doc. 2023–21068 Filed 9–26–23; 8:45 am]             2021 due to qualifying droughts or                           2 ‘‘Underserved farmer or rancher’’ means a
                                                   BILLING CODE 3411–EB–P                                  wildfires. The livestock producers who                    beginning farmer or rancher, limited resource
                                                                                                           suffered losses due to drought are                        farmer or rancher, socially disadvantaged farmer or
                                                                                                           eligible for assistance if any area within                rancher, or veteran farmer or rancher. FSA
                                                   DEPARTMENT OF AGRICULTURE                               the county in which the loss occurred                     calculates payments based on a higher payment
                                                                                                                                                                     factor for underserved farmers and ranchers (or
                                                                                                           was rated by the U.S. Drought Monitor                     specific groups included in that term) in several
                                                   Farm Service Agency                                     as having a D2 (severe drought) for eight                 programs, such as Emergency Conservation
                                                   [Docket ID FSA–2023–00015]                              consecutive weeks or a D3 (extreme                        Program; Emergency Assistance for Livestock,
                                                                                                           drought) or higher level of drought                       Honeybees, and Farm-Raised Fish Program; and the
                                                                                                                                                                     Tree Assistance Program. FSA has also used higher
                                                   Notice of Funds Availability; 2021                      intensity during the applicable year.                     payment factors for these producers in several
                                                   Emergency Livestock Relief Program                         On April 4, 2022, FSA announced                        recently announced programs: the Food Safety
                                                   (ELRP) Phase 2                                          that assistance for livestock producers                   Certification for Specialty Crops Program, the
                                                                                                           would be provided through ELRP (87 FR                     Organic and Transitional Education and
                                                   AGENCY: Farm Service Agency, USDA.                                                                                Certification Program, Emergency Relief Program,
                                                                                                           19465–19470).1 ELRP Phase 1 paid for
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                                                                                                                                                                     and Pandemic Assistance Revenue Program. In
                                                   ACTION: Notification of funding                         a portion of eligible producers’                          addition, the Noninsured Crop Disaster Assistance
                                                   availability.                                           increased supplemental feed costs in                      Program provides a reduced service fee and
                                                                                                           2021 based on the number of animal                        premium for underserved farmers and ranchers.
                                                   SUMMARY: The Farm Service Agency                                                                                  This approach supports the equitable
                                                                                                           units (AU), limited by available grazing                  administration of FSA programs, as underserved
                                                   (FSA) is issuing this notice announcing
                                                                                                                                                                     farmers and ranchers are more likely to lack
                                                   ELRP Phase 2. This document provides                      1 In addition, a clarification to the notice of funds   financial reserves and access to capital that would
                                                   the eligibility requirements and                        availability for ELRP Phase 1 was published on            allow them to cope with losses due to unexpected
                                                   payment calculation for the second                      August 18, 2022 (87 FR 50828–50830).                      events outside of their control.


                                                                                                                                                                                           Strickland AR 0817
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                                                   producers to receive ELRP Phase 2                                          USDA’s September 28, 2021, Weekly                                and not more than 65 percent use
                                                   payments.                                                                  Weather and Crop Bulletin (see https://                          during the dormant season or slowed
                                                      For eligible producers, ELRP Phase 2                                    www.fsa.usda.gov/programs-and-                                   growth period to maintain or improve
                                                   will provide assistance for a portion of                                   services/emergency-relief/index), ‘‘on                           range ecological condition and
                                                   the loss in value of winter grazing in                                     August 29, rangeland and pastures were                           rangeland health, reduce soil erosion, as
                                                   2021 based on the Phase 1 payment                                          rated more than one-half very poor to                            well as improve livestock performance.
                                                   which used the number of AU, limited                                       poor in every state along and northwest                          The drought and wildfire impact to the
                                                   by available grazing acreage, in eligible                                  of a line from California to Minnesota,’’                        losses to winter grazing were not
                                                   drought and wildfire counties. In order                                    that is generally the same area that was                         considered when developing ELRP
                                                   to deliver this assistance quickly, FSA is                                 determined eligible for 2021 LFP and                             Phase 1 but have been determined to be
                                                   using the ELRP Phase 1 payment                                             ELRP Phase 1. According to the report,                           significant and, after considering
                                                   calculation data as a proxy to issue an                                    pasture and range conditions for the                             funding limitations, FSA will
                                                   additional payment equal to 20 percent                                     week ending September 25, 2021, for                              compensate for the estimated impact of
                                                   of the ELRP Phase 1 payment to pay for                                     the states that triggered for LFP in 2021                        winter forage availability on eligible
                                                   a percentage (44 percent or 52 percent)                                    and received ELRP Phase 1 assistance,                            livestock producers at 52 percent and 44
                                                   of the estimated losses in the value of                                    rated 46 percent poor to very poor                               percent for underserved farmers and
                                                   winter forage to eliminate the                                             conditions going into the winter grazing                         ranchers and for all other farmers and
                                                   requirement for producers to resubmit                                      months. The weekly weather data in the                           ranchers, respectively.
                                                   information for ELRP Phase 2.                                              bulletin indicated the percentage of                                Therefore, for eligible producers, the
                                                      According to the US Drought Monitor,                                    normal precipitation at that time in                             ELRP Phase 2 payment will be equal to
                                                   more than one-third of the country was                                     those areas was 79.4 percent, which                              20 percent of the 2021 gross ELRP Phase
                                                   categorically in a ‘‘D2 Severe’’ to ‘‘D4                                   results as a direct indicator of a 20.6                          1 payment to compensate for the loss of
                                                   Exceptional’’ drought throughout the                                       percent negative impact to winter forage                         winter grazing directly affected by the
                                                   entire calendar year 2021. Extreme                                         availability beginning in October 2021.                          drought and wildfire conditions during
                                                   drought predominately affected areas                                       LFP calculated the monthly value of                              the normal grazing period that
                                                   highly concentrated with rangeland                                         forage in 2021, which based on corn                              continued to be exacerbated by
                                                   needed for livestock production,                                           prices was $31.18 per AU per month. A                            conditions in the final quarter of 2021,
                                                   therefore drought and wildfire caused                                      20.6 percent decrease to normal                                  which was not compensated by LFP or
                                                   economic hardship on producers that
                                                                                                                              precipitation equates to a $6.42 impact                          ELRP Phase 1. The payment per AU per
                                                   were reliant on rangeland, requiring
                                                                                                                              ($31.18 x 20.6 percent) per AU per                               month is calculated as follows:
                                                   them to purchase supplemental feed at
                                                                                                                              month.                                                               20 percent of $16.84 = $3.37
                                                   elevated prices to sustain production
                                                   throughout 2021 and not isolated to                                           An additional factor that contributed                         (equivalent to 52 percent of the
                                                   during the normal grazing periods.                                         to the lack of winter grazing availability                       calculated winter grazing loss per
                                                      For eligible producers, ELRP Phase 1                                    during the 2021 drought was the lack of                          month per AU based on percentage of
                                                   compensated 57 to 69 percent of the                                        optimal grazing use. Recommended                                 normal precipitation as of October 1,
                                                   calculated increased supplemental feed                                     grazing use rates or percentages                                 2021) for underserved farmers and
                                                   costs. Due to the excessive and                                            commonly used by the Natural Resource                            ranchers, and
                                                   expansive drought and wildfires in                                         Conservation Service and university                                  20 percent of $14.03 = $2.81
                                                   2021, these livestock participants                                         extension services provide that a grazing                        (equivalent to 44 percent of the
                                                   suffered extreme grazing losses that                                       plan should allow for vigorous plant re-                         calculated winter grazing loss per
                                                   were not concentrated only to the                                          growth following a period of grazing                             month per AU based on percentage of
                                                   normal grazing periods which directly                                      and never have more than 50 percent                              normal precipitation as of October 1,
                                                   impacted winter grazing. According to                                      use during the major growing season,                             2021) for all other farmers and ranchers.

                                                                                                  TABLE 1—REVIEW OF 2021 ELRP PHASE 1 CALCULATED ASSISTANCE
                                                                                                                 ELRP Phase 1 assistance for increased supplement feed costs

                                                                                                                                                                               2021 LFP payment                            Gross 2021 ELRP
                                                                                                                                                                                                          2021 ELRP
                                                                                                 2021 LFP monthly                                                                rate—60% per                              Phase 1 calculated
                                                                                                                                                                                                        Phase 1 payment
                                                                                                  value of forage                                                                    month                                  benefit per month
                                                                                                                                                                                                          percentage
                                                                                                                                                                                (max 5 months) *                             per eligible AU

                                                   $31.18 ..................................................................................................................               $18.71                    75                  $14.03
                                                                                                                                                                                                                     90                   16.84


                                                                                                             TABLE 2—2021 ELRP PHASE 2 CALCULATED ASSISTANCE
                                                                             ELRP Phase 2 assistance for winter grazing losses in relation to % of normal precipitation on October 1, 2021

                                                                                                                                                                                                                             % 2021 ELRP
                                                                                                                                                                                                    $ Impact to winter
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                                                                                                                                                                               Result of % impact                          Phase 2 assistance
                                                                                                                                                        Oct 1% of                                   grazing per month
                                                   Gross 2021 ELRP Phase 2 calculated benefit (20% of Phase                                                                        to winter                               coverage of winter
                                                                                                                                                         normal                                      per AU on Oct 1
                                                             1 payment) per month per eligible AU                                                                                   grazing                                 grazing loss per
                                                                                                                                                       precipitation                                    ($31.18 
                                                                                                                                                                                beginning Oct 1                                month per
                                                                                                                                                                                                          20.6%)              eligible AU

                                                   $2.81 ........................................................................................                    79.4                    20.6                  $6.42                    44




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                                                                                    TABLE 2—2021 ELRP PHASE 2 CALCULATED ASSISTANCE—Continued
                                                                      ELRP Phase 2 assistance for winter grazing losses in relation to % of normal precipitation on October 1, 2021

                                                                                                                                                                                             % 2021 ELRP
                                                                                                                                                                      $ Impact to winter
                                                                                                                                               Result of % impact                          Phase 2 assistance
                                                                                                                              Oct 1% of                               grazing per month
                                                   Gross 2021 ELRP Phase 2 calculated benefit (20% of Phase                                        to winter                               coverage of winter
                                                                                                                               normal                                  per AU on Oct 1
                                                             1 payment) per month per eligible AU                                                   grazing                                 grazing loss per
                                                                                                                             precipitation                                ($31.18 
                                                                                                                                                beginning Oct 1                                month per
                                                                                                                                                                            20.6%)            eligible AU

                                                   3.37                                                                                                                                                   52
                                                    * The 2021 LFP payment rate may be adjusted according to LFP provisions in 7 CFR 1416.207 for mitigated livestock and restricted grazed
                                                   AU due to a qualifying fire.


                                                      Because FSA is using ELRP Phase 1                    participates in the operation. For a legal            the legal entity’s gross receipts for each
                                                   payment information to generate a                       entity to be considered a beginning                   tax year are derived from farming,
                                                   reasonable approximation for the loss                   farmer or rancher, at least 50 percent of             ranching, or forestry activities as
                                                   covered by ELRP Phase 2, no action is                   the interest must be beginning farmers                defined in this part; and
                                                   required for eligible producers to                      or ranchers.                                             (13) Any other activity related to
                                                   receive these payments. If funding                         Income derived from farming,                       farming, ranching, and forestry, as
                                                   remains available after initial payments,               ranching, and forestry operations means               determined by the Deputy
                                                   an additional payment(s) may be issued,                 income of an individual or entity                     Administrator for Farm Programs
                                                   not to exceed 80 percent of the                         derived from:                                         (Deputy Administrator).
                                                   calculated winter grazing loss per AU                      (1) Production of crops, specialty                    LFP means the Livestock Forage
                                                   per month based on the percentage of                    crops, and unfinished raw forestry                    Disaster Program under section 1501 of
                                                   normal precipitation data as of October                 products;                                             the Agricultural Act of 2014 (7 U.S.C.
                                                   1, 2021.3                                                  (2) Production of livestock,                       9081) and 7 CFR part 1416, subpart C.
                                                                                                           aquaculture products used for food,                      Limited resource farmer or rancher
                                                   Definitions                                             honeybees, and products derived from                  means a farmer or rancher who is both
                                                      The definitions in 7 CFR parts 718,                  livestock;                                            of the following:
                                                   1400, and § 1416.202 apply to ELRP                         (3) Production of farm-based                          (1) A person whose direct or indirect
                                                   Phase 2, except as otherwise provided                   renewable energy;                                     gross farm sales did not exceed
                                                   in this document. The following                            (4) Selling (including the sale of                 $179,000 (the amount applicable to the
                                                   definitions also apply.                                 easements and development rights) of                  2021 program year) in each of the 2018
                                                      Average adjusted gross farm income                   farm, ranch, and forestry land, water or              and 2019 calendar years; and
                                                   means the average of the person or legal                hunting rights, or environmental                         (2) A person whose total household
                                                   entity’s adjusted gross income derived                  benefits;                                             income was at or below the national
                                                   from farming, ranching, and forestry                       (5) Rental or lease of land or                     poverty level for a family of four in each
                                                   operations for the 3 taxable years                      equipment used for farming, ranching,                 of the same two previous years
                                                   preceding the most immediately                          or forestry operations, including water               referenced in paragraph (1) of this
                                                   preceding complete taxable year.                        or hunting rights;                                    definition. Limited resource farmer or
                                                      (a) If the resulting average adjusted                   (6) Processing, packing, storing, and              rancher status can be determined using
                                                   gross farm income derived from items 1                  transportation of farm, ranch, forestry               a website available through the Limited
                                                   through 12 of the definition of income                  commodities including renewable                       Resource Farmer and Rancher Online
                                                   derived from farming, ranching and                      energy;                                               Self Determination Tool through
                                                   forestry operations is at least 66.66                      (7) Feeding, rearing, or finishing of              National Resources and Conservation
                                                   percent of the average adjusted gross                   livestock;                                            Service at https://lrftool.sc.egov.
                                                   income of the person or legal entity,                      (8) Payments of benefits, including                usda.gov.
                                                   then the average adjusted gross farm                    benefits from risk management                            For an entity to be considered a
                                                   income may also take into consideration                 practices, crop insurance indemnities,                limited resource farmer or rancher, all
                                                   income or benefits derived from the                     and catastrophic risk protection plans;               members who hold an ownership
                                                   following:                                                 (9) Sale of land that has been used for            interest in the entity must meet the
                                                      (1) The sale of equipment to conduct                 agricultural purposes;                                criteria in paragraphs (1) and (2) of this
                                                   farm, ranch, or forestry operations; and                   (10) Payments and benefits authorized              definition.
                                                      (2) The provision of production                      under any program made available and                     Ownership interest means to have
                                                   inputs and services to farmers, ranchers,               applicable to payment eligibility and                 either a legal ownership interest or a
                                                   foresters, and farm operations.                         payment limitation rules;                             beneficial ownership interest in a legal
                                                      (b) The relevant tax years for the 2021                 (11) Income reported on Internal                   entity. For the purposes of
                                                   program year are 2017, 2018, and 2019.                  Revenue Service (IRS) Schedule F or                   administering ELRP, a person or legal
                                                      Beginning farmer or rancher means a                  other schedule used by the person or                  entity that owns a share or stock in a
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                                                   farmer or rancher who has not operated                  legal entity to report income from such               legal entity that is a corporation, limited
                                                   a farm or ranch for more than 10 years                  operations to the IRS;                                liability company, limited partnership,
                                                   and who materially and substantially                       (12) Wages or dividends received                   or similar type entity where members
                                                                                                           from a closely held corporation, and                  hold a legal ownership interest and
                                                     3 FSA is using an 80 percent threshold similar to
                                                                                                           Interest Charge Domestic International                shares in the profits or losses of such
                                                   the Coronavirus Food Assistance Program 2 (also
                                                   known as CFAP 2) which provided pandemic
                                                                                                           Sales Corporation (IC–DISC) or legal                  entity is considered to have an
                                                   assistance payments to livestock contract growers to    entity comprised entirely of family                   ownership interest in such legal entity.
                                                   cover not more than 80 percent of revenue losses.       members when more than 50 percent of                  A person or legal entity that is a

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                                                   beneficiary of a trust or heir of an estate             AU and grazing days due to fire, and                   Payment Calculation
                                                   who benefits from the profits or losses                 drought intensity levels already                          The ELRP Phase 2 payment will be
                                                   of such entity is considered to have a                  reported to FSA for the 2021 Livestock                 equal to the eligible livestock producer’s
                                                   beneficial ownership interest in such                   Forage Disaster Program Application 6                  gross 2021 ELRP Phase 1 payment 8
                                                   legal entity.                                           (form number CCC–853), and the ELRP                    multiplied by 20 percent. The same
                                                      Socially disadvantaged farmer or                     Phase 1 payment to determine eligibility               percentage will be applied to
                                                   rancher means a farmer or rancher who                   and calculate a ELRP Phase 2 payment.                  underserved farmers and ranchers and
                                                   is a member of a group whose members                    Eligible livestock producers are not                   all other producers. If funding remains
                                                   have been subjected to racial, ethnic, or               required to submit an application for                  available after initial payments, an
                                                   gender prejudice because of their                       ELRP Phase 2; however, if not already                  additional payment(s) may be issued,
                                                   identity as members of a group without                  on file, they must have the following                  not to exceed 80 percent of the
                                                   regard to their individual qualities. For               additional forms on file with FSA                      calculated winter grazing loss per AU
                                                   entities, at least 50 percent of the                    within 60-days of ELRP Phase 2                         per month based on the percentage of
                                                   ownership interest must be held by                      deadline announced by the Deputy                       normal precipitation data as of October
                                                   individuals who are members of such a                   Administrator to be eligible to receive a              1, 2021.
                                                   group. Socially disadvantaged groups                    payment:                                                  For example, a livestock producer’s
                                                   include the following and no others                         Form AD–2047, Customer Data                       gross 2021 ELRP Phase 1 calculated
                                                   unless approved in writing by the                       Worksheet;                                             payment of $10,000 is multiplied by 20
                                                   Deputy Administrator:                                       Form CCC–902, Farm Operating                      percent, resulting in an ELRP Phase 2
                                                      (1) American Indians or Alaskan                      Plan for an individual or legal entity as              payment of $2,000. This ELRP Phase 2
                                                   Natives;                                                provided in 7 CFR part 1400;                           payment is intended to represent a
                                                      (2) Asians or Asian-Americans;                           Form CCC–901, Member
                                                                                                                                                                  reasonable approximation of 44 to 52
                                                      (3) Blacks or African Americans;                     Information for Legal Entities (if
                                                                                                                                                                  percent of the calculated winter grazing
                                                      (4) Hispanics or Hispanic Americans;                 applicable); and
                                                                                                               A highly erodible land conservation               loss per AU per month based on the
                                                      (5) Native Hawaiians or other Pacific                                                                       percentage of normal precipitation data
                                                   Islanders; and                                          (sometimes referred to as HELC) and
                                                                                                           wetland conservation certification as                  as of October 1, 2021.
                                                      (6) Women.                                                                                                     FSA will issue ELRP Phase 2
                                                      Underserved farmer or rancher means                  provided in 7 CFR part 12 (form AD–
                                                                                                                                                                  payments as 2021 ELRP Phase 1
                                                   a beginning farmer or rancher, limited                  1026, Highly Erodible Land
                                                                                                                                                                  payments are processed and approved.
                                                   resource farmer or rancher, socially                    Conservation (HELC) and Wetland
                                                                                                                                                                  If a producer files the CCC–860 Socially
                                                   disadvantaged farmer or rancher, or                     Conservation (WC) Certification) for the
                                                                                                                                                                  Disadvantaged, Limited Resource,
                                                   veteran farmer or rancher.                              ELRP Phase 2 producer and applicable
                                                                                                                                                                  Beginning and Veteran Farmer or
                                                      Veteran farmer or rancher means a                    affiliates.
                                                                                                              For a producer to be eligible for a                 Rancher Certification or FSA–510 form
                                                   farmer or rancher who has served in the                                                                        and the accompanying certification by
                                                   Armed Forces (as defined in 38 U.S.C.                   payment based on the higher payment
                                                                                                           rate for eligible underserved farmers or               the deadline announced by the Deputy
                                                   101(10)) 4 and:                                                                                                Administrator but after their ELRP
                                                                                                           ranchers or increased payment
                                                      (1) Has not operated a farm or ranch                                                                        Phase 2 payment is issued, FSA will
                                                                                                           limitation as described below, the
                                                   for more than 10 years; or                                                                                     recalculate the ELRP Phase 1 and Phase
                                                                                                           following must be submitted within 60-
                                                      (2) Has obtained status as a veteran (as                                                                    2 payment and issue the additional
                                                                                                           days of the ELRP Phase 2 deadline
                                                   defined in 38 U.S.C. 101(2)) 5 during the                                                                      calculated amount as applicable until
                                                                                                           announced by the Deputy
                                                   most recent 10-year period.                                                                                    the ELRP deadline announced by the
                                                                                                           Administrator:
                                                      For an entity to be considered a                                                                            Deputy Administrator.
                                                                                                               Form CCC–860, Socially
                                                   veteran farmer or rancher, at least 50
                                                                                                           Disadvantaged, Limited Resource,                       Payment Limitation
                                                   percent of the ownership interest must                  Beginning and Veteran Farmer or
                                                   be held by members who have served in                                                                             The payment limitation for ELRP is
                                                                                                           Rancher Certification, applicable for the              determined by the person’s or legal
                                                   the Armed Forces and meet the criteria                  2021 program year; 7 or
                                                   in paragraph (1) or (2) of this definition.                                                                    entity’s average adjusted gross farm
                                                                                                               FSA–510, Request for an Exception
                                                      Wildfire for ELRP Phase 2 means fire                                                                        income (as defined above). Specifically,
                                                                                                           to the $125,000 Payment Limitation for
                                                   as used in 7 CFR part 1416, subpart C.                                                                         a person or legal entity, other than a
                                                                                                           Certain Programs, accompanied by a
                                                                                                                                                                  joint venture or general partnership,
                                                   Eligible Livestock Producers                            certification from a certified public
                                                                                                                                                                  cannot receive, directly or indirectly,
                                                                                                           accountant or attorney as to that person
                                                      Eligible livestock producers for ELRP                                                                       more than $125,000 in payments under
                                                                                                           or legal entity’s certification, for a legal
                                                   Phase 2 are producers with an approved                                                                         ELRP if their average adjusted gross
                                                                                                           entity and all members of that entity.
                                                   2021 LFP application who received an                                                                           farm income is less than 75 percent of
                                                   ELRP Phase 1 payment. For ELRP Phase                       6 As provided in 7 CFR 1416.206 and publicized      their average AGI for tax years 2017,
                                                   2, the eligibility criteria applicable to               by FSA, the LFP application deadline for the 2021      2018, and 2019. If at least 75 percent of
                                                   LFP (7 CFR part 1416, subparts A and                    program year was January 31, 2022.                     the person or legal entity’s average AGI
                                                   C) also applies, excluding the LFP
                                                                                                              7 A producer who has filed CCC–860 certifying
                                                                                                                                                                  is derived from farming, ranching, or
                                                                                                           their status as a socially disadvantaged, beginning,
                                                   average adjusted gross income (AGI)                     or veteran farmer or rancher for a prior program
                                                                                                                                                                  forestry related activities and the
                                                   limitation. FSA will use livestock                      year is not required to submit a subsequent            participant provides the required
                                                   inventories, forage acreage, restricted                 certification of their status for the 2021 program     certification and documentation, as
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                                                                                                           year because a producer’s status as socially           discussed below, the person or legal
                                                                                                           disadvantaged would not change in different years,
                                                      4 The term ‘‘Armed Forces’’ means the United
                                                                                                           and their certification as a beginning or veteran
                                                   States Army, Navy, Marine Corps, Air Force, Space       farmer or rancher includes the relevant date needed      8 The gross ELRP Phase 1 calculated payment is
                                                   Force, and Coast Guard, including the reserve           to determine for what programs years the status        the amount calculated according to the ELRP Phase
                                                   components.                                             would apply. Because a producer’s status as a          1 NOFA, prior to any payment reductions for
                                                      5 The term ‘‘veteran’’ means a person who served                                                            reasons including, but not limited to, sequestration,
                                                                                                           limited resource farmer or rancher may change
                                                   in the active military, naval, air, or space service,   annually depending on the producer’s direct and        payment limitation, and the applicant or member of
                                                   and who was discharged or released under                indirect gross farm sales, those producers must        an applicant that is an entity exceeding the average
                                                   conditions other than dishonorable.                     submit CCC–860 for each applicable program year.       AGI limitation.


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                                                   entity, other than a joint venture or                   legal entity at the third and fourth levels           FSA. This includes interest to be
                                                   general partnership, is eligible to                     of ownership will be attributed in the                calculated from the date of the
                                                   receive, directly or indirectly, up to                  same manner as specified in the second                disbursement to the producer. If FSA
                                                   $250,000 in ELRP payments.                              level of ownership bullet above; and                  determines that the producer
                                                      To receive more than $125,000 in                         Fourth level of ownership: If the                intentionally misrepresented
                                                   ELRP payments, producers must submit                    fourth level of ownership is that of a                information used to determine the
                                                   form FSA–510, accompanied by a                          legal entity and not that of a person, a              producer’s ELRP payment amount, the
                                                   certification from a certified public                   reduction in payment will be applied to               application will be disapproved and the
                                                   accountant or attorney as to that person                the first-level or payment legal entity in            producer must refund the full payment
                                                   or legal entity’s certification. If a                   the amount that represents the indirect               to FSA with interest from the date of
                                                   producer requesting the $250,000                        ownership in the first-level or payment               disbursement. Any required refunds
                                                   payment limitation is a legal entity, all               legal entity by the fourth-level legal                must be resolved in accordance with
                                                   members of that entity must also                        entity.                                               debt settlement regulations in 7 CFR
                                                   complete FSA–510 and provide the                           Payments made directly or indirectly               part 3.
                                                   required certification according to the                 to a person who is a minor child will
                                                   direct attribution provisions in 7 CFR                  not be combined with the earnings of                  General Provisions
                                                   1400.105, ‘‘Attribution of Payments.’’ If               the minor’s parent or legal guardian.                    General requirements that apply to
                                                   a legal entity would be eligible for the                   A producer that is a legal entity must             other FSA-administered commodity
                                                   $250,000 payment limitation based on                    provide the names, addresses,                         programs also apply to ELRP, including
                                                   the legal entity’s average adjusted gross               ownership share, and valid taxpayer                   compliance with the provisions of 7
                                                   farm income but a member of that legal                  identification numbers of the members                 CFR part 12, ‘‘Highly Erodible Land and
                                                   entity either does not complete an FSA–                 holding an ownership interest in the                  Wetland Conservation,’’ and the
                                                   510 and provide the required                            legal entity. Payments to a legal entity              provisions of 7 CFR 718.6, which
                                                   certification or is not eligible for the                will be reduced in proportion to a                    address ineligibility for benefits for
                                                   $250,000 payment limitation, the                        member’s ownership share when a valid                 offenses involving controlled
                                                   payment to the legal entity will be                     taxpayer identification number for a                  substances. Appeal regulations in 7 CFR
                                                   reduced for the limitation applicable to                person or legal entity that holds a direct            parts 11 and 780 and equitable relief
                                                   the share of the ELRP payment                           or indirect ownership interest of less                and finality provisions in 7 CFR part
                                                   attributed to that member.                              than 10 percent, at the first through                 718, subpart D, apply to determinations
                                                      A payment made to a legal entity will                fourth levels of ownership in the                     under ELRP. The determination of
                                                   be attributed to those members who                      business structure, is not provided to                matters of general applicability that are
                                                   have a direct or indirect ownership                     FSA. A legal entity is not eligible to                not in response to, or result from, an
                                                   interest in the legal entity unless the                 receive ELRP payments when a valid                    individual set of facts are not matters
                                                   payment of the legal entity has been                    taxpayer identification number for a                  that can be appealed. Such matters of
                                                   reduced by the proportionate ownership                  person or legal entity that holds a direct            general applicability include, but are
                                                   interest of the member due to that                      or indirect ownership interest of 10                  not limited to, the ELRP eligibility
                                                   member’s ineligibility.                                 percent or more, at the first through                 criteria and payment calculation.
                                                      Attribution of payments made to legal                fourth levels of ownership in the                        Participants are required to retain
                                                   entities will be tracked through four                   business structure, is not provided to                documentation in support of their
                                                   levels of ownership in legal entities as                FSA.                                                  application for 3 years after the date of
                                                   follows:                                                   If an individual or legal entity is not            approval. Participants receiving ELRP
                                                       First level of ownership: Any                      eligible to receive ELRP payments due                 payments or any other person who
                                                   payment made to a legal entity that is                  to the individual or legal entity failing             furnishes such information to USDA
                                                   owned in whole or in part by a person                   to satisfy payment eligibility provisions,            must permit authorized representatives
                                                   will be attributed to the person in an                  the payment made either directly or                   of USDA or the Government
                                                   amount that represents the direct                       indirectly to the individual or legal                 Accountability Office, during regular
                                                   ownership interest in the first-level or                entity will be reduced to zero. The                   business hours, to enter the agricultural
                                                   payment legal entity;                                   amount of the reduction for the direct                operation and to inspect, examine, and
                                                       Second level of ownership: Any                     payment to the producer will be                       to allow representatives to make copies
                                                   payment made to a first-level legal                     commensurate with the direct or                       of books, records, or other items for the
                                                   entity that is owned in whole or in part                indirect ownership interest of the                    purpose of confirming the accuracy of
                                                   by another legal entity (referred to as a               ineligible individual or ineligible legal             the information provided by the
                                                   second-level legal entity) will be                      entity. Like other programs                           participant.
                                                   attributed to the second-level legal                    administered by FSA, payments made to                    The Deputy Administrator has the
                                                   entity in proportion to the ownership of                an Indian Tribe or Tribal organization,               discretion and authority to waive or
                                                   the second-level legal entity in the first-             as defined in section 4(b) of the Indian              modify filing deadlines and other
                                                   level legal entity; if the second-level                 Self-Determination and Education                      requirements or program provisions not
                                                   legal entity is owned in whole or in part               Assistance Act (25 U.S.C. 5304), will not             specified in law, in cases where the
                                                   by a person, the amount of the payment                  be subject to payment limitation.                     Deputy Administrator determines it is
                                                   made to the first-level legal entity will                                                                     equitable to do so and where the Deputy
                                                   be attributed to the person in the                      Provisions Requiring Refund to FSA                    Administrator finds that the lateness or
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                                                   amount that represents the indirect                       If any ELRP payment resulted from                   failure to meet such other requirements
                                                   ownership in the first-level legal entity               erroneous information reported by the                 or program provisions do not adversely
                                                   by the person;                                          producer or if the producer’s 2021 LFP                affect the operation of ELRP. Although
                                                       Third and fourth levels of                         payment is recalculated after the ELRP                producers have a right to a decision on
                                                   ownership: Except as provided in the                    Phase 1 payment or ELRP Phase 2                       whether they filed applications by the
                                                   second-level of ownership bullet above                  payment is issued, the ELRP payment                   deadline or not, producers have no right
                                                   and in the fourth-level of ownership                    will be recalculated, and the producer                to a decision in response to a request to
                                                   bullet below, any payments made to a                    must refund any excess payment to                     waive or modify deadlines or program

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                                                   provisions. The Deputy Administrator’s                  identification numbers of the members                    As previously stated, ELRP Phase 2 is
                                                   refusal to exercise discretion to consider              holding an ownership interest in order                providing payments to eligible livestock
                                                   the request will not be considered an                   to receive any LFP payment. This is                   producers for loss of the value of winter
                                                   adverse decision and is, by itself, not                 how FSA has been implementing ELRP                    forage from the deterioration of grazing
                                                   appealable.                                             Phase 1, consistent with LFP prior to                 cover due to a qualifying drought or
                                                      Any payment under ELRP will be                       January 2023, despite certain conflicting             wildfire during the 2021 normal grazing
                                                   made without regard to questions of title               language in the ELRP Phase 1 NOFA                     period, which has been exacerbated by
                                                   under State law and without regard to                   that appears to permit partial ELRP                   a continued lack of precipitation. The
                                                   any claim or lien. The regulations                      payments to be issued after reduction in              limited discretionary aspects of ELRP do
                                                   governing offsets in 7 CFR part 3 apply                 proportion to a member’s share if the                 not have the potential to impact the
                                                   to ELRP payments.                                       required information was not provided                 human environment as they are
                                                      In either applying for or participating              to FSA.                                               administrative. Accordingly, these
                                                   in ELRP, or both, the producer is subject                  On January 11, 2023, FSA published                 discretionary aspects are covered by the
                                                   to laws against perjury and any                         a final rule (88 FR 1862–1892) that                   FSA categorical exclusions specified in
                                                   penalties and prosecution resulting                     removed § 1400.107 and added a new                    § 799.31(b)(6)(iv) that applies to
                                                   therefrom, with such laws including but                 § 1400.10, which specified that for                   individual farm participation in FSA
                                                   not limited to 18 U.S.C. 1621. If the                   certain FSA programs, including LFP,                  programs where no ground disturbance
                                                   producer willfully makes and represents                 payments to a legal entity will be                    or change in land use occurs as a result
                                                   as true any verbal or written declaration,              reduced in proportion to a member’s                   of the proposed action or participation;
                                                   certification, statement, or verification               ownership share when a valid taxpayer                 and § 799.31(b)(6)(vi) that applies to
                                                   that the producer knows or believes not                 identification number for a person or                 safety net programs.
                                                   to be true, in the course of either                     legal entity that holds a direct or                      No Extraordinary Circumstances exist
                                                   applying for or participating in ELRP, or               indirect ownership interest of less than              under § 799.33. As such, the
                                                   both, then the producer is guilty of                    10 percent, at or above the fourth level              implementation of ELRP and the
                                                   perjury and, except as otherwise                        of ownership in the business structure,               participation in ELRP do not constitute
                                                   provided by law, may be fined,                          is not provided to USDA. The                          major Federal actions that would
                                                   imprisoned for not more than 5 years, or                provisions in § 1400.10 also specify that             significantly affect the quality of the
                                                   both, regardless of whether the producer                a legal entity will not be eligible to                human environment, individually or
                                                   makes such verbal or written                            receive payment when a valid taxpayer                 cumulatively. Therefore, FSA will not
                                                   declaration, certification, statement, or               identification number for a person or                 prepare an environmental assessment or
                                                   verification within or outside the United               legal entity that holds a direct or                   environmental impact statement for this
                                                   States.                                                 indirect ownership interest of 10                     action and this document serves as
                                                      For the purposes of the effect of a lien             percent or greater at, or above the fourth            documentation of the programmatic
                                                   on eligibility for Federal programs (28                 level of ownership in the business                    environmental compliance decision for
                                                   U.S.C. 3201(e)), USDA waives the                        structure, is not provided to USDA. This              this federal action.
                                                   restriction on receipt of funds under                   change was made retroactive to the 2020
                                                   ELRP but only as to beneficiaries who,                  program year for LFP.                                 Federal AssistancePrograms
                                                   as a condition of the waiver, agree to                     This document amends ELRP Phase 1
                                                                                                                                                                   The title and number of the Federal
                                                   apply the ELRP payments to reduce the                   to be consistent with these provisions of
                                                                                                                                                                 assistance program, as found in the
                                                   amount of the judgment lien.                            § 1400.10 that currently apply to LFP for
                                                      In addition to any other Federal laws                                                                      Assistance Listing 9 (formerly referred to
                                                                                                           the 2021 program year, and which also
                                                   that apply to ELRP, the following laws                                                                        as the Catalog of Federal Domestic
                                                                                                           apply to ELRP Phase 2.
                                                   apply: 15 U.S.C. 714; and 18 U.S.C. 286,                                                                      Assistance), to which this document
                                                   287, 371, and 1001.                                     Paperwork Reduction Act                               applies is 10.148—Emergency Livestock
                                                                                                           Requirements                                          Relief Program.
                                                   ELRP Phase 1                                               In compliance with the Paperwork                   USDA Non-Discrimination Policy
                                                      FSA announced ELRP Phase 1 in a                      Reduction Act (44 U.S.C. chapter 35),
                                                   NOFA published on April 4, 2022 (87                     the information collection request for                   In accordance with Federal civil
                                                   FR 19465–19470). This document                          ELRP Phase 2 has been approved by                     rights law and U.S. Department of
                                                   corrects an error in that NOFA and                      OMB under the control number 0503–                    Agriculture (USDA) civil rights
                                                   amends ELRP Phase 1 related to the                      0028. FSA will collect the information                regulations and policies, USDA, its
                                                   requirement to provide the names,                       from the livestock producer to qualify                Agencies, offices, and employees, and
                                                   addresses, ownership share, and valid                   for the payment to assist with the loss               institutions participating in or
                                                   taxpayer identification numbers of the                  of winter grazing. This NOFA is the one-              administering USDA programs are
                                                   members holding an ownership interest                   time announcement of the new ELRP                     prohibited from discriminating based on
                                                   in a legal entity. The ELRP Phase 1                     Phase 2 federal financial assistance. For             race, color, national origin, religion, sex,
                                                   NOFA provided that ‘‘the eligibility                    the ELRP Phase 1 correction, there is no              gender identity (including gender
                                                   criteria applicable to LFP . . . also                   new information collection required.                  expression), sexual orientation,
                                                   applies to ELRP Phase 1,’’ which would                                                                        disability, age, marital status, family or
                                                   include notification of interest                        Environmental Review                                  parental status, income derived from a
                                                   provisions applicable to LFP.                             The environmental impacts have been                 public assistance program, political
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                                                      LFP is subject to the payment                        considered in a manner consistent with                beliefs, or reprisal or retaliation for prior
                                                   eligibility provisions of 7 CFR part 1400,              the provisions of the National                        civil rights activity, in any program or
                                                   including the notification of interest                  Environmental Policy Act (NEPA, 42                    activity conducted or funded by USDA
                                                   requirements. When the ELRP Phase 1                     U.S.C. 4321–4347), the regulations of                 (not all bases apply to all programs).
                                                   NOFA was published, the provisions in                   the Council on Environmental Quality                  Remedies and complaint filing
                                                   § 1400.107 required a legal entity to                   (40 CFR parts 1500 through 1508), and                 deadlines vary by program or incident.
                                                   provide the names, addresses,                           the FSA regulation for compliance with
                                                   ownership share, and valid taxpayer                     NEPA (7 CFR part 799).                                  9 See https://sam.gov/content/assistance-listings.




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                                                      Individuals who require alternative                  collection. The approval for this                        FSIS is requesting renewal of the
                                                   means of communication for program                      information collection will expire on                 approved information collection
                                                   information (for example, braille, large                January 31, 2024.                                     regarding egg products HACCP and
                                                   print, audiotape, American Sign                         DATES: Submit comments on or before                   Sanitation SOPs. There are no changes
                                                   Language, etc.) should contact the                      November 27, 2023.                                    to the information collection. The
                                                   responsible Agency or the USDA                          ADDRESSES: FSIS invites interested                    approval for this information collection
                                                   TARGET Center at (202) 720–2600                         persons to submit comments on this                    will expire on January 31, 2024.
                                                   (voice and text telephone (TTY)) or dial                Federal Register notice. Comments may                    FSIS requires official plants to
                                                   711 for Telecommunications Relay                                                                              develop and maintain HACCP plans and
                                                                                                           be submitted by one of the following
                                                   Service (both voice and text telephone                                                                        Sanitation SOPs, as well as various
                                                                                                           methods:
                                                   users can initiate this call from any                       Federal eRulemaking Portal: This                 transaction records. The plant maintains
                                                   telephone). Additionally, program                       website provides commenters the ability               on file the name and a brief resume of
                                                   information may be made available in                    to type short comments directly into the              the HACCP trained individuals who
                                                   languages other than English.                                                                                 participate in the hazard analysis and
                                                                                                           comment field on the web page or to
                                                      To file a program discrimination                                                                           subsequent development of the HACCP
                                                                                                           attach a file for lengthier comments. Go
                                                   complaint, complete the USDA Program                                                                          plans. Plants develop written HACCP
                                                                                                           to https://www.regulations.gov. Follow
                                                   Discrimination Complaint Form, AD–                                                                            plans that include: identification of
                                                                                                           the on-line instructions at that site for
                                                   3027, found online at https://                                                                                hazards reasonably likely to occur in the
                                                                                                           submitting comments.
                                                   www.usda.gov/oascr/how-to-file-a-                           Mail: Send to Docket Clerk, U.S.                 production process; identification and
                                                   program-discrimination-complaint and                    Department of Agriculture, Food Safety                description of the critical control point
                                                   at any USDA office or write a letter                    and Inspection Service, 1400                          (CCP) for each identified hazard;
                                                   addressed to USDA and provide in the                    Independence Avenue SW, Mailstop                      specification of the critical limit which
                                                   letter all the information requested in                 3758, Washington, DC 20250–3700.                      may not be exceeded at the CCP, and,
                                                   the form. To request a copy of the                          Hand- or courier-delivered                       if appropriate, a target limit; description
                                                   complaint form, call (866) 632–9992.                    submittals: Deliver to 1400                           of the monitoring procedure or device to
                                                   Submit your completed form or letter to                 Independence Avenue SW, Jamie L.                      be used; description of the corrective
                                                   USDA by: (1) mail to: U.S. Department                   Whitten Building, Room 350–E,                         action to be taken if the limit is
                                                   of Agriculture, Office of the Assistant                 Washington, DC 20250–3700.                            exceeded; description of the records
                                                   Secretary for Civil Rights, 1400                           Instructions: All items submitted by               which would be generated and
                                                   Independence Avenue SW, Washington,                     mail or electronic mail must include the              maintained regarding this CCP; and
                                                   DC 20250–9410; (2) fax: (202) 690–7442;                 Agency name and docket number FSIS–                   description of the facility verification
                                                   or (3) email: program.intake@usda.gov.                  2023–0021. Comments received in                       activities and the frequency at which
                                                      USDA is an equal opportunity                         response to this docket will be made                  they are to be conducted. The adequacy
                                                   provider, employer, and lender.                         available for public inspection and                   of a plant’s HACCP plan must be
                                                                                                           posted without change, including any                  reassessedat least annually and
                                                   Zach Ducheneaux,                                                                                              whenever changes occur that could
                                                                                                           personal information, to https://
                                                   Administrator, Farm Service Agency.                                                                           affect the hazard analysis or alter the
                                                                                                           www.regulations.gov.
                                                   [FR Doc. 2023–21088 Filed 9–26–23; 8:45 am]                Docket: For access to background                   HACCP plan.
                                                   BILLING CODE 3410–05–P                                  documents or comments received, call                     Each processor is also required to
                                                                                                           (202) 937–4272 to schedule a time to                  develop and maintain a Sanitation SOP.
                                                                                                           visit the FSIS Docket Room at 1400                    The Sanitation SOP specifies the
                                                   DEPARTMENT OF AGRICULTURE                               Independence Avenue SW, Washington,                   cleaning and sanitizing procedures for
                                                                                                           DC 20250–3700.                                        all equipment and facilities involved in
                                                   Food Safety and Inspection Service                                                                            the production of every product. As part
                                                                                                           FOR FURTHER INFORMATION CONTACT: Gina
                                                   [Docket No. FSIS–2023–0021]                                                                                   of the Sanitation SOP, a plant employee
                                                                                                           Kouba, Office of Policy and Program
                                                                                                                                                                 records results of daily sanitation
                                                                                                           Development, Food Safety and
                                                   Notice of Request to Renew an                                                                                 checks at the frequencies stated in the
                                                                                                           Inspection Service, USDA, 1400
                                                   Approved Information Collection: Egg                                                                          Sanitation SOP. The burden of
                                                                                                           Independence Avenue SW, Mailstop
                                                   Products Hazard Analysis and Critical                                                                         documenting the adherence to the
                                                                                                           3758, South Building, Washington, DC
                                                   Control Point and Sanitation Standard                                                                         Sanitation SOP is based on three factors:
                                                                                                           20250–3700; (202) 937–4272.
                                                   Operating Procedures                                                                                          Recording, reviewing, and storage.
                                                                                                           SUPPLEMENTARY INFORMATION: Title: Egg                 Recording encompasses conducting and
                                                   AGENCY: Food Safety and Inspection                      Products Hazard Analysis and Critical                 inscribing the finding from an
                                                   Service (FSIS), U.S. Department of                      Control Point and Sanitation Standard                 observation and filing of the document
                                                   Agriculture (USDA).                                     Operating Procedures                                  produced.
                                                   ACTION: Notice and request for                             OMB Number: 0583–0172.                                FSIS has made the following
                                                   comments.                                                  Expiration Date of Approval: January               estimates based upon an information
                                                                                                           31, 2024.                                             collection assessment:
                                                   SUMMARY: In accordance with    the                         Type of Request: Renewal of an                        Respondents: Official egg products
                                                   Paperwork Reduction Act of 1995 and                     approved information collection.                      plants.
                                                   the Office of Management and Budget                        Abstract: FSIS has been delegated the                 Estimated No. of Respondents: 132.
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                                                   (OMB) regulations, FSIS is announcing                   authority to exercise the functions of the               Estimated No. of Responses: 138,596.
                                                   its intention to request renewal of the                 Secretary (7 CFR 2.18, 2.53), as specified               Estimated Total Annual Burden on
                                                   approved information collection                         in the Egg Products Inspection Act                    Respondents: 76,280 hours.
                                                   regarding egg products Hazard Analysis                  (EPIA) (21 U.S.C. 1031, et seq.). This                   All responses to this notice will be
                                                   and Critical Control Point (HACCP) and                  statute mandates that FSIS protect the                summarized and included in the request
                                                   Sanitation Standard Operating                           public by verifying that egg products are             for OMB approval. All comments will
                                                   Procedures (Sanitation SOPs). There are                 safe, wholesome, and properly labeled                 also become a matter of public record.
                                                   no changes to the information                           and packaged.                                         Copies of this information collection

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                                                   This section of the FEDERAL REGISTER                    commodities, crops prevented from                     economic hardship on producers that
                                                   contains documents other than rules or                  planting in 2022, and harvested                       were reliant on rangeland, requiring
                                                   proposed rules that are applicable to the               adulterated wine grapes), trees, bushes,              them to purchase supplemental feed at
                                                   public. Notices of hearings and investigations,         and vines, as a consequence of droughts,              elevated prices to sustain production
                                                   committee meetings, agency decisions and                wildfires, hurricanes, floods, derechos,              throughout 2022 and not just during the
                                                   rulings, delegations of authority, filing of
                                                                                                           excessive heat, tornadoes, winter                     normal grazing periods. Due to the
                                                   petitions and applications and agency
                                                   statements of organization and functions are            storms, freeze, including a polar vortex,             excessive and expansive drought and
                                                   examples of documents appearing in this                 smoke exposure, and excessive moisture                wildfires in 2022, livestock participants
                                                   section.                                                occurring in calendar years 2022. From                experienced the following, they:
                                                                                                           that amount, the Secretary of                             Suffered extreme grazing losses;
                                                                                                           Agriculture is to use up to $494.5                        Incurred related costs to purchase
                                                   DEPARTMENT OF AGRICULTURE                               million to provide assistance to                      feed in the grazing period;
                                                                                                           livestock producers for losses incurred                   Purchased feed, beyond normal for
                                                   Farm Service Agency                                     during calendar year 2022 due to                      a drought year, to supplement grazing
                                                                                                           qualifying droughts or wildfires. The                 and to support livestock outside of the
                                                   [Docket ID FSA–2023–0011]                                                                                     grazing period because forage was not
                                                                                                           livestock producers who suffered losses
                                                   Notice of Funds Availability;                           due to drought are eligible for assistance            available for harvest and storage; and
                                                                                                                                                                     Were faced with higher feed costs
                                                   Emergency Livestock Relief Program                      if any area within the county in which
                                                                                                                                                                 during 2022 due to less availability of
                                                   (ELRP) 2022                                             the loss occurred was rated by the U.S.
                                                                                                                                                                 feed resulting from drought severity and
                                                                                                           Drought Monitor as having a D2 (severe
                                                   AGENCY: Farm Service Agency, USDA.                                                                            feed cost inflation.
                                                                                                           drought) for eight consecutive weeks or                  LFP provided payments to eligible
                                                   ACTION: Notification of funding                         a D3 (extreme drought) or higher level
                                                   availability.                                                                                                 owners and contract growers of covered
                                                                                                           of drought intensity during the                       livestock who suffered livestock grazing
                                                                                                           applicable year.                                      losses due to qualifying drought or fire 1
                                                   SUMMARY: The Farm Service Agency
                                                                                                              FSA will assist livestock producers
                                                   (FSA) is issuing this notice announcing                                                                       not to exceed 5 months during the
                                                                                                           through ELRP 2022. This document
                                                   ELRP 2022. This document provides the                                                                         grazing period based on the documented
                                                                                                           provides the eligibility requirements
                                                   eligibility requirements and payment                                                                          livestock inventory eligible for LFP. The
                                                                                                           and payment calculation for ELRP 2022,
                                                   calculation for ELRP 2022 assistance.                                                                         gross LFP calculated payment
                                                                                                           which will assist eligible livestock
                                                   ELRP 2022 will provide payments to                                                                            represented a 60 percent reimbursement
                                                                                                           producers who faced increased
                                                   producers who faced increased                                                                                 of monthly feed costs for a maximum of
                                                                                                           supplemental feed costs as a result of
                                                   supplemental feed costs as a result of                                                                        5 months, based on a feed grain
                                                                                                           forage losses due to a qualifying drought
                                                   forage losses due to a qualifying drought                                                                     equivalent that is calculated according
                                                                                                           or wildfire in calendar year 2022. For
                                                   or wildfire in calendar year 2022, using                                                                      to 7 CFR 1416.207 as specified in 7
                                                                                                           eligible producers, ELRP 2022 will pay
                                                   data already submitted to FSA through                                                                         U.S.C. 9081(c), which uses the higher of
                                                                                                           for a portion of the increased feed costs
                                                   the Livestock Forage Disaster Program                                                                         the national average corn price per
                                                                                                           in 2022 based on the number of animal
                                                   (LFP).                                                                                                        bushel for the 12- or 24-month period
                                                                                                           units (AU), limited by available grazing
                                                   DATES: Funding availability:                                                                                  immediately preceding March 1 of the
                                                                                                           acreage, in eligible drought counties.
                                                   Implementation will begin September                                                                           calendar year. Because LFP requires the
                                                                                                           Although LFP payments do not have a
                                                   27, 2023.                                                                                                     use of this period, it does not take into
                                                                                                           direct correlation to the increased feed
                                                                                                                                                                 account any increases in price paid for
                                                   FOR FURTHER INFORMATION CONTACT:                        costs incurred, in order to deliver this
                                                                                                                                                                 supplemental feed during 2022. For
                                                   Kathy Sayers; telephone: (202) 720–                     assistance quickly, FSA is using certain
                                                                                                                                                                 LFP, the 2022 monthly value of forage,
                                                   6870; email: Kathy.Sayers@usda.gov.                     LFP data and a percentage of the
                                                                                                                                                                 resulted in an LFP payment rate of
                                                   Individuals who require alternative                     payment made through LFP
                                                                                                                                                                 $28.37 per month per eligible animal
                                                   means of communication for program                      applications will be used as a proxy for
                                                                                                                                                                 unit for drought. The rate for fire is
                                                   information should contact the USDA                     these increased supplemental feed costs
                                                   Target Center at (202) 720–2600 (voice)                 to eliminate the requirement for                         1 A grazing loss due to drought qualifies for LFP
                                                   or dial 711 for Telecommunications                      producers to resubmit information for                 only if the grazing loss occurs on land that is native
                                                   Relay Service (both voice and text                      ELRP 2022. The ELRP 2022 payment                      or improved pastureland with permanent vegetative
                                                   telephone users can initiate this call                  percentage will be 90 percent for                     cover or is planted to a crop planted specifically for
                                                                                                                                                                 the purpose of providing grazing for covered
                                                   from any telephone).                                    historically underserved farmers and                  livestock, and the land is physically located in a
                                                   SUPPLEMENTARY INFORMATION:                              ranchers, and 75 percent for all other                county rated by the U.S. Drought Monitor as having
                                                                                                           producers.                                            a D2 intensity for at least 8 consecutive weeks or
                                                   Background                                                 According to the US Drought Monitor,               D3 or D4 intensity at any time during the normal
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                                                                                                                                                                 grazing period for the specific type of grazing land
                                                     Title I of the Disaster Relief                        more than one-third of the country was                or pastureland.
                                                   Supplemental Appropriations Act, 2023                   categorically in a ‘‘D2 Severe’’ to ‘‘D4                 A grazing loss due to fire qualifies for LFP only
                                                   (Division N of the Consolidated                         Exceptional’’ drought throughout the                  if the grazing loss occurs on rangeland that is
                                                   Appropriations Act, 2023; Public Law                    entire calendar year 2022. Extreme                    managed by a Federal agency and the eligible
                                                   117–328) provides $3,741,715,000 for                    drought predominately affected areas                  livestock producer is prohibited by the Federal
                                                                                                                                                                 agency from grazing the normal permitted livestock
                                                   necessary expenses related to losses of                 highly concentrated with rangeland                    on the managed rangeland due to a fire.
                                                   revenue, quality, or production losses of               needed for livestock production.                         See 7 CFR 1416.205 for further information on
                                                   crops (including milk, on-farm stored                   Therefore, drought and wildfire caused                eligible grazing losses under LFP.


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                                                   based on the number of fire-restricted                              soybean meal, increased substantially in               through December, 2022 of $107.51 per
                                                   days and was not a single rate.                                     2022, compared to previous years. Using                month, an increase of 61 percent.
                                                      LFP does not compensate for the                                  the Dairy Margin Coverage (DMC) 2                         The cost of feeding one AU per month
                                                   increased costs of supplemental feed,                               program model for an adequate                          increased in 2022 compared to the 5-
                                                   including during 2022 due to drought                                supplemental feed ratio, the 5-year                    year average by $40.72 ($107.51 ¥
                                                   and wildfires in 2022.                                              average cost to maintain 1 AU for one                  $66.79) for livestock producers affected
                                                      The actual cost of supplemental feed                             month was $66.79, compared to the                      by drought and wildfires, which was not
                                                   prices, based on corn, alfalfa, and                                 actual average cost from January                       covered by LFP. See Table 1.
                                                                                            TABLE 1—2022 CALCULATED COSTS (DMC MODEL) TO MAINTAIN 1 AU/MONTH
                                                                                                                                                                                                                Percentage
                                                                                                                                                                                                                of increased
                                                                                                                                                                                      Gross ELRP 2022
                                                                                                       2022 Cost                                                    ELRP 2022                                supplemental feed
                                                           5 Year avg. cost                                             2022 Increase          2022 LFP                               calculated benefit/
                                                                                                     (corn, alfalfa,                                                 payment                                   costs in 2022
                                                     (corn, alfalfa, soybean meal)                                         in cost           payment rate *                           month/eligible AU
                                                                                                    soybean meal)                                                   percentage                                compensated by
                                                                                                                                                                                        prior to factor      ELRP 2022 prior to
                                                                                                                                                                                                                    factor

                                                   $66.79 .......................................            $107.51              $40.72               $28.37                    75                 $21.28                   52.2
                                                                                                                                                                                 90                  25.53                   62.7
                                                     * The 2022 LFP payment rate may be adjusted according to LFP provisions in 7 CFR 1416.207 for mitigated livestock and restricted grazed animal units due to a
                                                   qualifying fire.


                                                      The ELRP 2022 calculated benefit is                              percent of the average adjusted gross                     (5) Rental or lease of land or
                                                   based on using the LFP payment rate of                              income of the person or legal entity,                  equipment used for farming, ranching,
                                                   $28.37 per animal unit per month,                                   then the average adjusted gross farm                   or forestry operations, including water
                                                   calculated as follows:                                              income may also take into consideration                or hunting rights;
                                                      75 percent  $28.37 = $21.28                                    income or benefits derived from the                       (6) Processing, packing, storing, and
                                                   (equivalent to 52.2 percent of increased                            following:                                             transportation of farm, ranch, or forestry
                                                   supplemental feed costs in 2022) and                                   (1) The sale of equipment to conduct                commodities including for renewable
                                                      90 percent  $28.37 = $25.53                                    farm, ranch, or forestry operations; and               energy;
                                                   (equivalent to 62.7 percent of increased                               (2) The provision of production                        (7) Feeding, rearing, or finishing of
                                                   supplemental feed costs in 2022).                                   inputs and services to farmers, ranchers,              livestock;
                                                      To stay within the available funding,                            foresters, and farm operations.                           (8) Payments of benefits, including
                                                   ELRP 2022 payments for increased                                       (b) The relevant tax years for ELRP                 benefits from risk management
                                                   supplemental feed costs in 2022 will be                             2022 are 2018, 2019, and 2020.                         practices, crop insurance indemnities,
                                                   factored initially by 25 percent. If funds                             Beginning farmer or rancher means a                 and catastrophic risk protection plans;
                                                   remain available after initial payments,                            farmer or rancher who has not operated                    (9) Sale of land that has been used for
                                                   a second payment of up to 75 percent                                a farm or ranch for more than 10 years                 agricultural purposes;
                                                   may be issued.                                                      and who materially and substantially
                                                      Because FSA is using LFP information                                                                                       (10) Payments and benefits authorized
                                                                                                                       participates in the operation. For a legal             under any program made available and
                                                   to generate a reasonable approximation                              entity to be considered a beginning
                                                   for the costs covered by ELRP 2022, no                                                                                     applicable to payment eligibility and
                                                                                                                       farmer or rancher, at least 50 percent of              payment limitation rules;
                                                   action is required for eligible producers                           the interest must be beginning farmers
                                                   to receive ELRP 2022 payments.                                                                                                (11) Income reported on Internal
                                                                                                                       or ranchers.                                           Revenue Service (IRS) Schedule F or
                                                   Definitions                                                            Income derived from farming,                        other schedule used by the person or
                                                       The definitions in 7 CFR parts 718,                             ranching, and forestry operations means                legal entity to report income from such
                                                   1400, and 1416 apply to ELRP 2022,                                  income of an individual or entity                      operations to the IRS;
                                                   except as otherwise provided in this                                derived from:                                             (12) Wages or dividends received
                                                   document. The following definitions                                    (1) Production of crops, specialty                  from a closely held corporation, and IC–
                                                   also apply.                                                         crops, and unfinished raw forestry                     DISC (Interest Charge Domestic
                                                       Average adjusted gross farm income                              products;                                              International Sales Corporation) or legal
                                                   means the average of the person or legal                               (2) Production of livestock,                        entity comprised entirely of family
                                                   entity’s adjusted gross income derived                              aquaculture products used for food,                    members when more than 50 percent of
                                                   from farming, ranching, and forestry                                honeybees, and products derived from                   the legal entity’s gross receipts for each
                                                   operations for the 3 taxable years                                  livestock;                                             tax year are derived from farming,
                                                   preceding the most immediately                                         (3) Production of farm-based                        ranching, and forestry activities as
                                                   preceding complete taxable year.                                    renewable energy;                                      defined in this part; and
                                                       (a) If the resulting average adjusted                              (4) Selling (including the sale of                     (13) Any other activity related to
                                                   gross farm income derived from items 1                              easements and development rights) of                   farming, ranching, and forestry, as
                                                   through 12 of the definition below for                              farm, ranch, and forestry land, water or               determined by the Deputy
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                                                   ‘‘income derived from farming, ranching                             hunting rights, or environmental                       Administrator for Farm Programs
                                                   and forestry operations’’ is at least 66.66                         benefits;                                              (Deputy Administrator).
                                                     2 ELRP 2022 uses the DMC model to calculate                       DMC, as outlined in 7 CFR part 1430, calculates a        (2) The product determined by multiplying
                                                   actual feed costs producers experienced in 2022.                    national average feed cost using the following three   0.00735 by the price of soybean meal per ton; and
                                                   The DMC formula aims to calculate feed costs to                     items and are added together:                            (3) The product determined by multiplying
                                                   maintain a dairy cow to produce one
                                                                                                                          (1) The product determined by multiplying           0.0137 by the price of alfalfa hay per ton.
                                                   hundredweight of milk, however FSA is using this
                                                   model, and converting to maintain 1 animal unit.                    1.0728 by the price of corn per bushel;


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                                                      LFP means the Livestock Forage                          (5) Native Hawaiians or other Pacific                with FSA within 60-days of ELRP 2022
                                                   Disaster Program under section 1501 of                  Islanders; and                                          deadline announced by the Deputy
                                                   the Agricultural Act of 2014 (7 U.S.C.                     (6) Women.                                           Administrator to be eligible to receive a
                                                   9081) and 7 CFR part 1416, subpart C.                      Underserved farmer or rancher means                  payment:
                                                      Limited resource farmer or rancher                   a beginning farmer or rancher, limited                      Form AD–2047, Customer Data
                                                   means a farmer or rancher who is both                   resource farmer or rancher, socially                    Worksheet;
                                                   of the following:                                       disadvantaged farmer or rancher, or                         Form CCC–902, Farm Operating
                                                      (1) A person whose direct or indirect                veteran farmer or rancher.                              Plan for an individual or legal entity as
                                                   gross farm sales did not exceed                            U.S. Drought Monitor is a system for                 provided in 7 CFR part 1400;
                                                   $179,000 (the amount applicable to the                  classifying drought severity according to                   Form CCC–901, Member
                                                   2022 program year) in each of the 2019                  a range of abnormally dry to exceptional                Information for Legal Entities (if
                                                   and 2020 calendar years; and                            drought. It is a collaborative effort                   applicable); and
                                                      (2) A person whose total household                   between Federal and academic partners,                      A highly erodible land conservation
                                                   income was at or below the national                     produced on a weekly basis, to                          (sometimes referred to as HELC) and
                                                   poverty level for a family of four in each              synthesize multiple indices, outlooks,                  wetland conservation certification as
                                                   of the same 2 previous years referenced                 and drought impacts on a map and in                     provided in 7 CFR part 12 (form AD–
                                                   in paragraph (1) of this definition.                    narrative form. This synthesis of indices               1026, Highly Erodible Land
                                                   Limited resource farmer or rancher                      is reported by the National Drought                     Conservation (HELC) and Wetland
                                                   status can be determined using a                        Mitigation Center at http://                            Conservation (WC) Certification) for the
                                                   website available through the Limited                   droughtmonitor.unl.edu.                                 ELRP 2022 producer and applicable
                                                   Resource Farmer and Rancher Online                         Veteran farmer or rancher means a                    affiliates.
                                                   Self Determination Tool through                         farmer or rancher who has served in the                    For a producer to be eligible for a
                                                   National Resources and Conservation                     Armed Forces (as defined in 38 U.S.C.                   payment based on the higher payment
                                                   Service at https://lrftool.sc.egov.                     101(10) 3 ) and:                                        rate for eligible underserved farmers or
                                                   usda.gov.                                                  (1) Has not operated a farm or ranch                 ranchers or increased payment
                                                      For an entity to be considered a                     for more than 10 years; or                              limitation as described below, the
                                                   limited resource farmer or rancher, all                    (2) Has obtained status as a veteran (as
                                                                                                                                                                   following must be submitted within 60-
                                                   members who hold an ownership                           defined in 38 U.S.C. 101(2) 4 ) during the
                                                                                                                                                                   days of the ELRP 2022 deadline
                                                   interest in the entity must meet the                    most recent 10-year period.
                                                                                                              For an entity to be considered a                     announced by the Deputy
                                                   criteria in paragraphs (1) and (2) of this                                                                      Administrator:
                                                   definition.                                             veteran farmer or rancher, at least 50
                                                                                                           percent of the ownership interest must                      Form CCC–860, Socially
                                                      Ownership interest means to have                                                                             Disadvantaged, Limited Resource,
                                                   either a legal ownership interest or a                  be held by members who have served in
                                                                                                           the Armed Forces and meet the criteria                  Beginning and Veteran Farmer or
                                                   beneficial ownership interest in a legal                                                                        Rancher Certification, applicable for the
                                                   entity. For the purposes of                             in paragraph (1) or (2) of this definition.
                                                                                                              Wildfire for ELRP 2022 means fire as                 2022 program year 6 ; or
                                                   administering ELRP 2022, a person or                                                                                FSA–510, Request for an Exception
                                                   legal entity that owns a share or stock                 used in 7 CFR part 1416, subpart C.
                                                                                                                                                                   to the $125,000 Payment Limitation for
                                                   in a legal entity that is a corporation,                Eligible Livestock Producers                            Certain Programs, accompanied by a
                                                   limited liability company, limited                                                                              certification from a certified public
                                                                                                              Eligible livestock producers for ELRP
                                                   partnership, or similar type entity where                                                                       accountant or attorney as to that person
                                                                                                           2022 are producers with an approved
                                                   members hold a legal ownership interest                                                                         or legal entity’s certification, for a legal
                                                                                                           2022 LFP application. For ELRP 2022,
                                                   and shares in the profits or losses of                                                                          entity and all members of that entity.
                                                                                                           the eligibility criteria applicable to LFP
                                                   such entity is considered to have an
                                                                                                           (7 CFR part 1416, subparts A and C) also                Payment Calculation
                                                   ownership interest in such legal entity.
                                                                                                           applies to ELRP 2022, excluding the
                                                   A person or legal entity that is a                                                                                The initial ELRP 2022 payment will
                                                                                                           LFP average adjusted gross income
                                                   beneficiary of a trust or heir of an estate                                                                     be equal to the eligible livestock
                                                                                                           (AGI) limitation. FSA will use livestock
                                                   who benefits from the profits or losses                                                                         producer’s gross 2022 LFP calculated
                                                                                                           inventories, forage acreage, restricted
                                                   of such entity is considered to have a                                                                          payment 7 multiplied by the applicable
                                                                                                           animal units, and grazing days due to
                                                   beneficial ownership interest in such
                                                                                                           fire, and drought intensity levels already
                                                   legal entity.                                                                                                      6 An individual who has filed CCC–860 certifying
                                                                                                           reported to FSA for the 2022 Livestock
                                                      Socially disadvantaged farmer or                                                                             their status as a socially disadvantaged, beginning,
                                                                                                           Forage Disaster Program Application 5                   or veteran farmer or rancher for a prior program
                                                   rancher means a farmer or rancher who
                                                                                                           (on form number CCC–853), to                            year is not required to submit a subsequent
                                                   is a member of a group whose members
                                                                                                           determine eligibility and calculate an                  certification of their status for the 2022 program
                                                   have been subjected to racial, ethnic, or                                                                       year because an individual’s status as socially
                                                                                                           ELRP 2022 payment, if applicable.
                                                   gender prejudice because of their                                                                               disadvantaged would not change in different years,
                                                                                                           Eligible livestock producers are not                    and their certification as a beginning or veteran
                                                   identity as members of a group without
                                                                                                           required to submit an application for                   farmer or rancher includes the relevant date needed
                                                   regard to their individual qualities. For
                                                                                                           ELRP 2022; however, they must have                      to determine for what programs years the status
                                                   entities, at least 50 percent of the                                                                            would apply. An entity that has filed CCC–860
                                                                                                           the following additional forms on file
                                                   ownership interest must be held by                                                                              certifying its status as a socially disadvantaged,
                                                   individuals who are members of such a                                                                           beginning, or veteran farmer or rancher for a prior
                                                                                                              3 The term ‘‘Armed Forces’’ means the United
                                                                                                                                                                   program year is not required to submit a subsequent
                                                   group. Socially disadvantaged groups
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                                                                                                           States Army, Navy, Marine Corps, Air Force, Space       certification of its status for a later program year
                                                   include the following and no others                     Force, and Coast Guard, including the reserve           unless the entity’s status has changed due to
                                                   unless approved in writing by the                       components.                                             changes in membership. Because a producer’s
                                                                                                              4 The term ‘‘veteran’’ means a person who served     status as a limited resource farmer or rancher may
                                                   Deputy Administrator:
                                                      (1) American Indians or Alaskan                      in the active military, naval, air, or space service,   change annually depending on the producer’s direct
                                                                                                           and who was discharged or released under                and indirect gross farm sales, those producers must
                                                   Natives;                                                conditions other than dishonorable.                     submit CCC–860 for each applicable program year.
                                                      (2) Asians or Asian-Americans;                          5 As provided in 7 CFR 1416.206 and publicized          7 The gross LFP calculated payment is the amount
                                                      (3) Blacks or African Americans;                     by FSA, the LFP application deadline for the 2022       calculated according to 7 CFR 1416.207, prior to
                                                      (4) Hispanics or Hispanic Americans;                 program year was January 30, 2023.                                                                 Continued



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                                                   ELRP 2022 payment percentage of 90                      indirectly, more than $125,000 in                     by a person, the amount of the payment
                                                   percent for underserved farmers and                     payments under ELRP 2022 if their                     made to the first-level legal entity will
                                                   ranchers and 75 percent for all other                   average adjusted gross farm income is                 be attributed to the person in the
                                                   producers multiplied by a 25 percent                    less than 75 percent of their average AGI             amount that represents the indirect
                                                   factor to stay within available funding. 8              for tax years 2018, 2019, and 2020. If at             ownership in the first-level legal entity
                                                   If funds remain available after initial                 least 75 percent of the person or legal               by the person;
                                                   payments, a second payment of up to 75                  entity’s average AGI is derived from                      Third and fourth levels of
                                                   percent may be issued. For example, an                  farming, ranching, and forestry related               ownership: Except as provided in the
                                                   underserved eligible livestock                          activities and the participant provides               second-level of ownership bullet above
                                                   producer’s gross 2022 LFP calculation                   the required certification and                        and in the fourth-level of ownership
                                                   payment is $10,000 multiplied by the 90                 documentation, as discussed below, the                bullet below, any payments made to a
                                                   percent ELRP 2022 payment percentage                    person or legal entity, other than a joint            legal entity at the third and fourth levels
                                                   multiplied by the 25 percent factor                     venture or general partnership, is                    of ownership will be attributed in the
                                                   results in an initial ELRP 2022 payment                 eligible to receive, directly or indirectly,          same manner as specified in the second
                                                   of $2,250. The ELRP 2022 payment is                     up to $250,000 in ELRP 2022 payments.                 level of ownership bullet above; and
                                                   intended to represent a reasonable                      To receive more than $125,000 in ELRP                     Fourth level of ownership: If the
                                                   approximation of 63 percent, factored                   2022 payments, producers must submit                  fourth level of ownership is that of a
                                                   by 25 percent, of the increased                         form FSA–510, accompanied by a                        legal entity and not that of a person, a
                                                   supplemental feed costs for that                        certification from a certified public                 reduction in payment will be applied to
                                                   producer in 2022.                                       accountant or attorney as to that person              the first-level or payment legal entity in
                                                      Form CCC–860, Socially                               or legal entity’s certification. If a                 the amount that represents the indirect
                                                   Disadvantaged, Limited Resource,                        producer requesting the $250,000                      ownership in the first-level or payment
                                                   Beginning and Veteran Farmer or                         payment limitation is a legal entity, all             legal entity by the fourth-level legal
                                                   Rancher Certification, must be on file                  members of that entity must also                      entity.
                                                   with FSA with a certification applicable                complete FSA–510 and provide the                         Payments made directly or indirectly
                                                   for the 2022 program year to receive the                required certification according to the               to a person who is a minor child will
                                                   higher ELRP 2022 payment rate of 90                     direct attribution provisions in 7 CFR                not be combined with the earnings of
                                                   percent.                                                1400.105, ‘‘Attribution of Payments.’’ If             the minor’s parent or legal guardian.
                                                      FSA will issue ELRP 2022 payments                    a legal entity would be eligible for the
                                                   as 2022 LFP applications are processed                                                                           A producer that is a legal entity must
                                                                                                           $250,000 payment limitation based on                  provide the names, addresses,
                                                   and approved. If a producer files the                   the legal entity’s average adjusted gross
                                                   CCC–860 or FSA–510 form and the                                                                               ownership share, and valid taxpayer
                                                                                                           farm income but a member of that legal
                                                   accompanying certification by the                                                                             identification numbers of the members
                                                                                                           entity either does not complete an FSA–
                                                   deadline announced by the Deputy                                                                              holding an ownership interest in the
                                                                                                           510 and provide the required
                                                   Administrator but after their ELRP 2022                                                                       legal entity. Payments to a legal entity
                                                                                                           certification or is not eligible for the
                                                   payment is issued, FSA will recalculate                                                                       will be reduced in proportion to a
                                                                                                           $250,000 payment limitation, the
                                                   the ELRP 2022 payment and issue the                                                                           member’s ownership share when a valid
                                                                                                           payment to the legal entity will be
                                                   additional calculated amount as                                                                               taxpayer identification number for a
                                                                                                           reduced for the limitation applicable to
                                                   applicable.                                                                                                   person or legal entity that holds a direct
                                                                                                           the share of the ELRP 2022 payment
                                                                                                                                                                 or indirect ownership interest of less
                                                   Payment Limitation                                      attributed to that member.
                                                                                                              A payment made to a legal entity will              than 10 percent, at the first through
                                                      The payment limitation for ELRP                      be attributed to those members who                    fourth levels of ownership in the
                                                   2022 is determined by the person’s or                   have a direct or indirect ownership                   business structure, is not provided to
                                                   legal entity’s average adjusted gross                   interest in the legal entity unless the               FSA. A legal entity is not eligible to
                                                   farm income (as defined above).                         payment of the legal entity has been                  receive ELRP 2022 payments when a
                                                   Specifically, a person or legal entity,                 reduced by the proportionate ownership                valid taxpayer identification number for
                                                   other than a joint venture or general                   interest of the member due to that                    a person or legal entity that holds a
                                                   partnership, cannot receive, directly or                member’s ineligibility.                               direct or indirect ownership interest of
                                                                                                              Attribution of payments made to legal              10 percent or more, at the first through
                                                   any payment reductions for reasons including, but       entities will be tracked through four                 fourth levels of ownership in the
                                                   not limited to, sequestration, payment limitation,                                                            business structure, is not provided to
                                                   and the applicant or member of an applicant that
                                                                                                           levels of ownership in legal entities as
                                                   is an entity exceeding the average AGI limitation.      follows:                                              FSA.
                                                      8 FSA calculates payments based on a higher              First level of ownership: Any                       If an individual or legal entity is not
                                                   payment factor for underserved farmers and              payment made to a legal entity that is                eligible to receive ELRP 2022 payments
                                                   ranchers (or specific groups included in that term)     owned in whole or in part by a person                 due to the individual or legal entity
                                                   in several programs, such as Emergency
                                                   Conservation Program, Emergency Assistance for          will be attributed to the person in an                failing to satisfy payment eligibility
                                                   Livestock, Honeybees, and Farm-raised Fish              amount that represents the direct                     provisions, the payment made either
                                                   Program (also known as ELAP), and the Tree              ownership interest in the first-level or              directly or indirectly to the individual
                                                   Assistance Program. FSA has also used higher            payment legal entity;                                 or legal entity will be reduced to zero.
                                                   payment factors for these producers in several
                                                   recently announced programs: the Food Safety                Second level of ownership: Any                   The amount of the reduction for the
                                                   Certification for Specialty Crops Program, the          payment made to a first-level legal                   direct payment to the producer will be
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                                                   Organic and Transitional Education and                  entity that is owned in whole or in part              commensurate with the direct or
                                                   Certification Program, previous ELRP Phase 1, and       by another legal entity (referred to as a             indirect ownership interest of the
                                                   ERP. In addition, NAP provides a reduced service
                                                   fee and premium for underserved farmers and             second-level legal entity) will be                    ineligible individual or ineligible legal
                                                   ranchers. This approach supports the equitable          attributed to the second-level legal                  entity. Like other programs
                                                   administration of FSA programs, as underserved          entity in proportion to the ownership of              administered by FSA, payments made to
                                                   farmers and ranchers are more likely to lack
                                                   financial reserves and access to capital that would
                                                                                                           the second-level legal entity in the first-           an Indian Tribe or Tribal organization,
                                                   allow them to cope with losses due to unexpected        level legal entity; if the second-level               as defined in section 4(b) of the Indian
                                                   events outside of their control.                        legal entity is owned in whole or in part             Self-Determination and Education

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                                                   Assistance Act (25 U.S.C. 5304), will not requirements or program provisions not                              supplemental feed costs. This NOFA is
                                                   be subject to payment limitation.         specified in law, in cases where the                                the one-time announcement of the new
                                                                                             Deputy Administrator determines it is                               ELRP 2022 federal financial assistance
                                                   Provisions Requiring Refund to FSA
                                                                                             equitable to do so and where the Deputy                             funding.
                                                      In the event that any ELRP 2022        Administrator finds that the lateness or
                                                   payment resulted from erroneous                                                                               Environmental Review
                                                                                             failure to meet such other requirements
                                                   information reported by the producer or or program provisions do not adversely                                   The environmental impacts have been
                                                   if the producer’s 2022 LFP payment is     affect the operation of ELRP 2022.                                  considered in a manner consistent with
                                                   recalculated after the ELRP 2022          Although producers have a right to a                                the provisions of the National
                                                   payment is issued, the ELRP 2022          decision on whether they filed                                      Environmental Policy Act (NEPA, 42
                                                   payment will be recalculated, and the     applications by the deadline or not,                                U.S.C. 4321–4347), the regulations of
                                                   producer must refund any excess           producers have no right to a decision in                            the Council on Environmental Quality
                                                   payment to FSA, including interest to be response to a request to waive or modify                             (40 CFR parts 1500–1508), and the FSA
                                                   calculated from the date of the           deadlines or program provisions. The                                regulation for compliance with NEPA (7
                                                   disbursement to the producer. If FSA      Deputy Administrator’s refusal to                                   CFR part 799).
                                                   determines that the producer              exercise discretion to consider the                                    As previously stated, ELRP 2022 is
                                                   intentionally misrepresented              request will not be considered an                                   providing payments to eligible livestock
                                                   information used to determine the         adverse decision and is, by itself, not                             producers who faced increased
                                                   producer’s ELRP 2022 payment amount, appealable.                                                              supplemental feed costs as a result of
                                                   the application will be disapproved and       Any payment under ELRP 2022 will                                forage losses due to a qualifying drought
                                                   the producer must refund the full         be made without regard to questions of                              or wildfire in calendar year 2022. The
                                                   payment to FSA with interest from the     title under State law and without regard                            limited discretionary aspects of ELRP
                                                   date of disbursement. Any required        to any claim or lien. The regulations                               2022 do not have the potential to impact
                                                   refunds must be resolved in accordance governing offsets in 7 CFR part 3 apply                                the human environment as they are
                                                   with debt settlement regulations in 7     to ELRP 2022 payments.                                              administrative. Accordingly, these
                                                   CFR part 3.                                   In either applying for or participating                         discretionary aspects are covered by the
                                                                                             in ELRP 2022, or both, the producer is                              FSA Categorical Exclusions specified in
                                                   General Provisions
                                                                                             subject to laws against perjury and any                             § 799.31(b)(6)(iv) that applies to
                                                      General requirements that apply to     penalties and prosecution resulting                                 individual farm participation in FSA
                                                   other FSA-administered commodity          therefrom, with such laws including but                             programs where no ground disturbance
                                                   programs also apply to ELRP 2022,         not limited to 18 U.S.C. 1621. If the                               or change in land use occurs as a result
                                                   including compliance with the             producer willfully makes and represents                             of the proposed action or participation;
                                                   provisions of 7 CFR part 12, ‘‘Highly     as true any verbal or written declaration,                          and § 799.31(b)(6)(vi) that applies to
                                                   Erodible Land and Wetland                 certification, statement, or verification                           safety net programs.
                                                   Conservation,’’ and the provisions of 7   that the producer knows or believes not                                No Extraordinary Circumstances
                                                   CFR 718.6, which address ineligibility    to be true, in the course of either                                 (§ 799.33) exist. As such, the
                                                   for benefits for offenses involving       applying for or participating in ELRP                               implementation of ELRP 2022 and the
                                                   controlled substances. Appeal             2022, or both, then the producer is                                 participation in ELRP 2022 do not
                                                   regulations in 7 CFR parts 11 and 780     guilty of perjury and, except as                                    constitute major Federal actions that
                                                   and equitable relief and finality         otherwise provided by law, may be                                   would significantly affect the quality of
                                                   provisions in 7 CFR part 718, subpart D, fined, imprisoned for not more than 5                                the human environment, individually or
                                                   apply to determinations under ELRP        years, or both, regardless of whether the                           cumulatively. Therefore, FSA will not
                                                   2022. The determination of matters of     producer makes such verbal or written                               prepare an environmental assessment or
                                                   general applicability that are not in     declaration, certification, statement, or                           environmental impact statement for this
                                                   response to, or result from, an           verification within or outside the United                           action and this document serves as
                                                   individual set of facts are not matters   States.                                                             documentation of the programmatic
                                                   that can be appealed. Such matters of         For the purposes of the effect of a lien                        environmental compliance decision for
                                                   general applicability include, but are    on eligibility for Federal programs (28                             this federal action.
                                                   not limited to, the ELRP 2022 eligibility U.S.C. 3201Ö), USDA waives the
                                                   criteria and payment calculation.         restriction on receipt of funds under                               Federal AssistancePrograms
                                                      Participants are required to retain    ELRP 2022 but only as to beneficiaries                                The title and number of the Federal
                                                   documentation in support of their         who, as a condition of the waiver, agree                            assistance programs, as found in the
                                                   application for 3 years after the date of to apply the ELRP 2022 payments to                                  Assistance Listing, 9 to which this
                                                   approval. Participants receiving ELRP     reduce the amount of the judgment lien.                             document applies is 10.980—Emergency
                                                   2022 payments or any other person who         In addition to any other Federal laws                           Livestock Relief Program 2022.
                                                   furnishes such information to USDA        that apply to ELRP 2022, the following
                                                   must permit authorized representatives                                                                        USDA Non-Discrimination Policy
                                                                                             laws apply: 15 U.S.C. 714; and 18 U.S.C.
                                                   of USDA or the Government                 286, 287, 371, and 1001.                                               In accordance with Federal civil
                                                   Accountability Office, during regular                                                                         rights law and U.S. Department of
                                                   business hours, to enter the agricultural Paperwork Reduction Act                                             Agriculture (USDA) civil rights
                                                   operation and to inspect, examine, and    Requirements                                                        regulations and policies, USDA, its
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                                                   to allow representatives to make copies       In compliance with the provisions of                            Agencies, offices, and employees, and
                                                   of books, records, or other items for the the Paperwork Reduction Act (44 U.S.C.                              institutions participating in or
                                                   purpose of confirming the accuracy of     chapter 35), the information collection                             administering USDA programs are
                                                   the information provided by the           request has been approved by OMB                                    prohibited from discriminating based on
                                                   participant.                              under the control number of 0503–0028.                              race, color, national origin, religion, sex,
                                                      The Deputy Administrator has the       FSA will collect the information from                               gender identity (including gender
                                                   discretion and authority to waive or      the livestock producers to qualify for the
                                                   modify filing deadlines and other         payment to assist with increased                                      9 See https://sam.gov/content/assistance-listings.




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                                                   expression), sexual orientation,                        phase of ELRP assistance. ELRP Phase 2                    acreage, in eligible drought counties. In
                                                   disability, age, marital status, family or              will provide assistance to eligible                       order to deliver this assistance quickly,
                                                   parental status, income derived from a                  livestock producers for the loss of the                   FSA used certain 2021 Livestock Forage
                                                   public assistance program, political                    value of winter forage from the                           Disaster Program (LFP) data and a
                                                   beliefs, or reprisal or retaliation for prior           deterioration of grazing cover due to a                   percentage of the payment made
                                                   civil rights activity, in any program or                qualifying drought or wildfire during                     through LFP applications as a proxy for
                                                   activity conducted or funded by USDA                    the 2021 normal grazing period, which                     these increased supplemental feed costs
                                                   (not all bases apply to all programs).                  has been exacerbated by a continued                       to eliminate the requirement for
                                                   Remedies and complaint filing                           lack of precipitation. This document                      producers to resubmit information for
                                                   deadlines vary by program or incident.                  also makes a correction and amendment                     ELRP Phase 1.
                                                      Individuals who require alternative                  to ELRP Phase 1.                                             To stay within the available funding,
                                                   means of communication for program                      DATES: Funding availability:
                                                                                                                                                                     ELRP Phase 1 payments were calculated
                                                   information (for example, braille, large                Implementation will begin September                       at 90 percent of the gross LFP calculated
                                                   print, audiotape, American Sign                         27, 2023.                                                 payment for underserved farmers and
                                                   Language, etc.) should contact the                                                                                ranchers and 75 percent of the gross LFP
                                                                                                           FOR FURTHER INFORMATION CONTACT:
                                                   responsible Agency or USDA TARGET                                                                                 calculated payment for all other
                                                                                                           Kathy Sayers, telephone: (202) 720–                       producers. 2
                                                   Center at (202) 720–2600 (voice and text                7649; email: Kathy.Sayers@usda.gov.
                                                   telephone (TTY)) or dial 711 for                                                                                     This document provides the eligibility
                                                                                                           Individuals with disabilities who                         requirements and payment calculation
                                                   Telecommunications Relay Service                        require alternative means for
                                                   (both voice and text telephone users can                                                                          for ELRP Phase 2 assistance. It also
                                                                                                           communication should contact the                          corrects an error in the ELRP Phase 1
                                                   initiate this call from any telephone).                 USDA Target Center at (202) 720–2600
                                                   Additionally, program information may                                                                             provisions related to payment eligibility
                                                                                                           (voice) or (844) 433–2774 (toll-free                      and amends ELRP Phase 1 to be
                                                   be made available in languages other                    nationwide).
                                                   than English.                                                                                                     consistent with LFP and ELRP Phase 2.
                                                      To file a program discrimination                     SUPPLEMENTARY INFORMATION:                                ELRP Phase 2
                                                   complaint, complete the USDA Program                    Background                                                   For each eligible livestock producer
                                                   Discrimination Complaint Form, AD–                                                                                who previously received an ELRP Phase
                                                   3027, found online at https://                             The Extending Government Funding
                                                                                                           and Delivering Emergency Assistance                       1 payment, FSA will issue an ELRP
                                                   www.usda.gov/oascr/how-to-file-a-                                                                                 Phase 2 payment to assist with losses in
                                                   program-discrimination-complaint and                    Act, (Division B, Title I, Pub. L. 117–43)
                                                                                                           provides $10 billion for necessary                        the value of winter forage from the
                                                   at any USDA office or write a letter                                                                              deterioration of grazing cover due to a
                                                   addressed to USDA and provide in the                    expenses related to losses of crops
                                                                                                           (including milk, on-farm stored                           qualifying drought or wildfire during
                                                   letter all the information requested in                                                                           the 2021 normal grazing period, which
                                                   the form. To request a copy of the                      commodities, crops prevented from
                                                                                                           planting in 2020 and 2021, and                            has been exacerbated by the continued
                                                   complaint form, call (866) 632–9992.                                                                              lack of precipitation, using the ELRP
                                                   Submit your completed form or letter to                 harvested adulterated wine grapes),
                                                                                                           trees, bushes, and vines, as a                            Phase 1 payment as a proxy to calculate
                                                   USDA by mail to: U.S. Department of                                                                               those losses. ELRP Phase 2 assistance is
                                                   Agriculture, Office of the Assistant                    consequence of droughts, wildfires,
                                                                                                           hurricanes, floods, derechos, excessive                   subject to the same ELRP payment
                                                   Secretary for Civil Rights, 1400                                                                                  limitation provided in the previous
                                                   Independence Avenue SW, Washington,                     heat, winter storms, freeze, including a
                                                                                                           polar vortex, smoke exposure, quality                     notice of funds availability. Because
                                                   DC 20250–9410 or email: OAC@                                                                                      FSA is using LFP and ELRP Phase 1
                                                   usda.gov.                                               losses of crops, and excessive moisture
                                                                                                           occurring in calendar years 2020 and                      information to calculate a producer’s
                                                      USDA is an equal opportunity                                                                                   ELRP Phase 2 payment and determine
                                                   provider, employer, and lender.                         2021. From the $10 billion, the
                                                                                                           Secretary of Agriculture is to use $750                   eligibility due to a qualifying drought or
                                                   Zach Ducheneaux,                                        million to assist producers of livestock                  wildfire during the 2021 normal grazing
                                                   Administrator, Farm Service Agency.                     for losses incurred during calendar year                  period, no action is required for eligible
                                                   [FR Doc. 2023–21068 Filed 9–26–23; 8:45 am]             2021 due to qualifying droughts or                           2 ‘‘Underserved farmer or rancher’’ means a
                                                   BILLING CODE 3411–EB–P                                  wildfires. The livestock producers who                    beginning farmer or rancher, limited resource
                                                                                                           suffered losses due to drought are                        farmer or rancher, socially disadvantaged farmer or
                                                                                                           eligible for assistance if any area within                rancher, or veteran farmer or rancher. FSA
                                                   DEPARTMENT OF AGRICULTURE                               the county in which the loss occurred                     calculates payments based on a higher payment
                                                                                                                                                                     factor for underserved farmers and ranchers (or
                                                                                                           was rated by the U.S. Drought Monitor                     specific groups included in that term) in several
                                                   Farm Service Agency                                     as having a D2 (severe drought) for eight                 programs, such as Emergency Conservation
                                                   [Docket ID FSA–2023–00015]                              consecutive weeks or a D3 (extreme                        Program; Emergency Assistance for Livestock,
                                                                                                           drought) or higher level of drought                       Honeybees, and Farm-Raised Fish Program; and the
                                                                                                                                                                     Tree Assistance Program. FSA has also used higher
                                                   Notice of Funds Availability; 2021                      intensity during the applicable year.                     payment factors for these producers in several
                                                   Emergency Livestock Relief Program                         On April 4, 2022, FSA announced                        recently announced programs: the Food Safety
                                                   (ELRP) Phase 2                                          that assistance for livestock producers                   Certification for Specialty Crops Program, the
                                                                                                           would be provided through ELRP (87 FR                     Organic and Transitional Education and
                                                   AGENCY: Farm Service Agency, USDA.                                                                                Certification Program, Emergency Relief Program,
                                                                                                           19465–19470).1 ELRP Phase 1 paid for
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                                                                                                                                                                     and Pandemic Assistance Revenue Program. In
                                                   ACTION: Notification of funding                         a portion of eligible producers’                          addition, the Noninsured Crop Disaster Assistance
                                                   availability.                                           increased supplemental feed costs in                      Program provides a reduced service fee and
                                                                                                           2021 based on the number of animal                        premium for underserved farmers and ranchers.
                                                   SUMMARY: The Farm Service Agency                                                                                  This approach supports the equitable
                                                                                                           units (AU), limited by available grazing                  administration of FSA programs, as underserved
                                                   (FSA) is issuing this notice announcing
                                                                                                                                                                     farmers and ranchers are more likely to lack
                                                   ELRP Phase 2. This document provides                      1 In addition, a clarification to the notice of funds   financial reserves and access to capital that would
                                                   the eligibility requirements and                        availability for ELRP Phase 1 was published on            allow them to cope with losses due to unexpected
                                                   payment calculation for the second                      August 18, 2022 (87 FR 50828–50830).                      events outside of their control.


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               For further information, contact
               Christine E. Whitt                      (202) 694-5288                     christine.whitt1@usda.gov
               Jessica E. Todd                         (202) 694-5363                     jessica.todd@usda.gov
               Andrew Keller                           (202) 694-5610                     andrew.keller@usda.gov




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                 To file a program discrimination complaint, complete the USDA Program Discrimination Complaint Form, AD-
                 3027, found online at How to File a Program Discrimination Complaint and at any USDA office or write a letter
                 addressed to USDA and provide in the letter all of the information requested in the form. To request a copy of the
                 complaint form, call (866) 632-9992. Submit your completed form or letter to USDA by: (1) mail: U.S. Department
                 of Agriculture, Office of the Assistant Secretary for Civil Rights, 1400 Independence Avenue, SW, Washington, D.C.
                 20250-9410; (2) fax: (202) 690-7442; or (3) email: program.intake@usda.gov.

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                      Broad descriptions of farms based on U.S. averages can
                      mask variation among the many sizes and types of farms.
                      For example, in 2020, the average value of production
                      on the 2 million U.S. farms amounted to $183,467. Few
                      farms, however, are near the average; half of the farms had
                      production valued at $7,000 or less, whereas 66 percent of
                      all production occurred on farms with at least $1 million of
                      agricultural output.

                      This report uses a farm classification, or typology,
                      developed by the U.S. Department of Agriculture’s (USDA)
                      Economic Research Service (ERS) to categorize farms
                      into more homogeneous groupings to better understand
                      conditions across the Nation’s diverse farm sector. The
                      classification is based largely on the farm’s annual revenue,
                      the main occupation of the farm’s principal operator,
                      and family versus nonfamily farm ownership. This report
                      includes many sections that appear in each annual edition;
                      generally, data and statistics for these sections have varied
                      little across the years as changes in the agricultural sector’s
                      structure are usually gradual. Some sections in this edition
                      include a comparison with 2011, the first year the current
                      farm typology was in place. These 10-year reflections are
                      not comprehensive over the entire decade, but they do give
                      a sense of how little has changed in farm structure, value of
                      production, and financial risk by farm type.

                      This edition also reports on some areas in which the
                      coronavirus (COVID-19) pandemic may have affected farms
                      and farm households; exploring changes in direct sales and
                      off-farm employment in farm households; and examines
                      the distribution of farm and non-farm pandemic assistance
                      farms received in 2020. The pandemic and its impacts
                      were not limited to 2020, and the Government response
                      continues into 2021.



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                                  2022 EMERGENCY RELIEF DECISIONS
                                            MAY 19, 2023




OVERVIEW:

This memo provides the final decision for the following key items pertaining to ERP 2022:

       ERP Track 1 Payment Calculation using Progressive Factoring
       ERP 2022 Track 2 Determination of Benchmark Year


ERP Track 1 Payment Calculations
The basic track 1 ERP payment calculation considers the following data elements and math:
** RMA calculated gross ERP payment * share * progressive factoring + premiums/fees for underserved producers

This calculation substantiates the highest benefit for the UP producer by adding the premiums/fees after
factoring.
Progressive factoring will occur at the Producer Payee Level
Progressive factor is at the producer level (only using the eligible units the producer selected for payment)

       RMA Estimated ERP payment * share calculated for primary insured and SBI producers
       Progressive payment factor applied per producer, including all SBI producers
       Add on premiums and service fees to calculate payment for each underserved producer
            o   Applying progressive factor at the producer level will not have any impact on the application process.
            o   Results in higher payment to primary policy holder and all SBI’s.
            o   More accurate calculation of a progressive factor based on their calculated Track 1 payment.
            o   Easily accommodates producer’s ability to not select ineligible units and/or crops producers do not want
                to be required to meet linkage




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Who will implement the Progressive Factoring (FSA/RMA)
Recommendation: FSA
Pros:

       Ability to easily update the factors/ranges (through a program load table handled within FSA) without a
        change on the application.
        Note: After the application is live, only increases are allowed not decreases to the factors, because
        obligation has been committed and overpayment would not be due to changed data elements or producer
        provided information.
       Implementation on FSA’s payment side can illustrate how the progressive factoring was calculated for
        ease of county office/producer.
       Would not require communications with RMA for questions on progressive factoring.
       If progressive factoring is done at a policyholder level, an addition of a record from RMA will not alter
        the application but only change the Estimated Calculated Payment Report (ECPR).
       Payment factoring is typically done on payment side.
       If progressive factors are changed it may delay implementation of the program if RMA applies the
        factors because of data calculations and subsequent transmission of information to FSA.
       The progressive factor will need to be built by FSA for Track 2. If utilized in Track 1 code will be
        existing for Track 2.
       RMA has acknowledged that it would be more difficult for RMA to address corrections if they are
        doing the progressive payment factor.
       Corrections process can be developed and improved if FSA implements progressive payment factor.
       Would allow FSA to calculate progressive factoring based only on the crops/units elected by the
        producer. (in cases of no qualifying disaster event/not wanting to meet linkage). RMA can only
        calculate a progressive payment factor to all crops/units that received an indemnity regardless of
        whether a producer elects payment.
Cons:

       FSA will be accountable and responsible for calculations and corrections.




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Data to be Shared from RMA to FSA:
The RMA data elements required would be the same whether FSA implements progressive factoring or not.
These are required because of statutory requirements of eligible disaster conditions and linkage requirements, as
well as accommodating a simplified and timely corrections process.
The following are the required data elements:

       CCID
       Reinsurance Year
       AIP Code
       AIP Policy Producer Key
       First Name
       Middle Name
       Last Name
       Business Name
       Entity Type Code
       Primary Location State Code
       Primary Location County Code
       Insurance Plan Code
       Commodity Code(s)*
       Commodity Name(s)*
       Commodity Year
       Unit Structure Code
       Unit Number*
       Total Indemnity
       Producer Premium
       Administrative Fees
       Calculated ERP Payment(prior to progressive factoring and applying premiums and administrative fees)
SBI File needs:

       CCID
       Reinsurance Year
       AIP Code
       AIP Policy Producer Key
       First Name
       Last Name
       Middle name
       Business Name
       Entity Type Code
       Landlord/Tenant Flag




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Revenue Calculation for Track 2 - Benchmark Year with option to use Expected Disaster Year Revenue
in Comparison to Actual Disaster Year Revenue
Background:
ERP Phase 2 required producers to select either 2018 and 2019 as their benchmark year. For many producers,
both 2018 and 2019 were disaster years and were not reflective of a typical year of revenue for the farming
operation. This was further exacerbated by high commodity prices in 2021 – 2022. These concerns have been
received from producers, state and county offices, and stakeholders as a flaw in the current structure of the
program.
Under the 2020/2021 ERP Phase 2, adjustments to benchmark year revenue were only required for new
producers who did not have a benchmark year revenue in 2018 or 2019 or if the producer had a decrease in
operation capacity in the disaster year as compared to the benchmark year. For new producers, adjusted
benchmark year revenue was based on Expected Disaster Year Revenue. As such, Phase 2 policy already has
the methodology for calculating expected disaster year revenue which can be expanded and applied to all
producers. As a result, benchmark year revenue would be calculated consistently for all producers.
Decision:
Based on the identified concerns the decision for ERP 2022, Track 2 benchmark revenue has been expanded and
will utilize one of the following:

       Tax Year 2018 or 2019 revenue for benchmark, (Same calculation as Phase 2) or
       Expected disaster year revenue. (Producer calculation of benchmark based on the income expected for
        the crop year)
Adding the available criteria of expected disaster year revenue for the benchmark year necessitates a change to
what is included as revenue in the disaster year. When a producer chooses to utilize expected revenue as their
benchmark year revenue, the benchmark will consist of the expected revenue for eligible crops (absent any
disaster conditions) compared to actual disaster year revenue. This comparison would reflect the actual
revenue loss due to qualifying disaster conditions.
Disaster year revenue would only include:

       revenue from actual crop sales,
       revenue from crop insurance indemnities and NAP payments, less premiums and fees, and
       the actual value of the crop for crops not sold (such as wine grapes/forage)




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*Examples provided are for yield-based crops.
Note: For non-yield-based crops, expected revenue could also easily be certified by the producer using the
expected vs actual approach.
Example 1:

Producer A grows NI Yellow corn gr and soybeans com gr. (Price/Yield data from NCT, – McHenry ND)

Expected Disaster Year Revenue (Benchmark):

Corn 1000ac (Planted Acres) x 103 Bu (Expected Yield) x $5.90 (Expected Price) = $607,700 expected revenue

Soybeans 500ac (Planted Acres) x 33 Bu (Expected Yield) x $14.33 (Expected Price)= $236,445 expected revenue


$844,145 Total Expected revenue * 90% factor (over 60% insured/NAP covered) = $759,731

Actual Disaster Year Revenue:

Corn Sales = $388,960

Soybean Sales = $186,450

Crop insurance indemnity for Corn (less premiums and fees) = $75,000

$650,410 Total actual revenue

 Payment Calculation: $759,731 - $650,410 = $109,321 * 15% UP = $125,719



Example 2:
Expected Disaster Year Revenue: Example 2
Producer B grows, hay for feed, wheat, barley
IGS Mixed Forage for feed (not sold) = $45,867 (Producer certified crop value (since the crop was not sold)
based on planted acres (500) x expected yield (1.28 ton) x expected price ($71.6667).
Wheat HRS Gr 500ac(Expected Acres) x 65 Bu (Expected Yield) x $7.22 (Expected Price) = $234,650
Barley Spr Gr 500ac (Expected Acres) x 80 Bu (Expected Yield) x $6.95 (Expected Price) = $278,000


$ 558,517 Total Expected revenue * $502,666
Actual Revenue: Example 2
IGS Mixed Forage not sold = $26,875 (producer certified value of actual production) Producer certified amount
based on total acres (500), harvested production (.75 tons), and county expected price ($71.6667).
Wheat sales = $191,250
Barley sales = $198,900
$417,025 Total actual revenue
Payment Calculation: $502,666 - $417,025 = $85,641 * 15% UP = $98,487



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From:                      White, Jamie - FPAC-FSA, DC
Sent:                      Monday, July 3, 2023 8:49 AM
To:                        Sayers, Kathy - FPAC-FSA, DC; Walter, Michael - FPAC-FSA, DC
Cc:                        Berge, John - FPAC-FSA, NE; Graham, Kimberly - OSEC, DC
Subject:                   FW: Pending ERP 2022 Decision Items - High Priority

Importance:                High


KathyandMike,

DAFPmetwithMikeSchmidtonFridaytoreviewprogressivefactoringandthetwopendingERP2022decision
items.PleasebeadvisedthatDAFPandMikehaveconcurredwiththefollowingtworecommendaƟonsdetailedbelow.

Thisshouldcloseoutdecisionitemspendingreview.PleasedonothesitatetoreachoutifthereareanyquesƟonsor
concerns.

Thankyou!

JamieWhite
AssistanttoDeputyAdministratorforFarmPrograms(DAFP)
FarmServiceAgency(FSA)
U.S.DepartmentofAgriculture(USDA)

Phone605.352.1181Mobile605.461.8052
Emailjamie.white@usda.gov
1400IndependenceAve.,Washington,DC20250


From:Berge,JohnͲFPACͲFSA,NE<John.Berge@usda.gov>
Sent:Monday,June26,20234:06PM
To:Mehta,RiyaͲFPACͲFSA,DC<Riya.Mehta@usda.gov>;Gannon,TimothyͲOSEC,DC<Timothy.Gannon@usda.gov>;
Schmidt,MichaelͲOSEC,DC<Michael.Schmidt3@usda.gov>
Cc:White,JamieͲFPACͲFSA,DC<jamie.white@usda.gov>;Graham,KimberlyͲOSEC,DC<kimberly.graham@usda.gov>
Subject:FW:PendingERP2022DecisionItemsͲHighPriority
Importance:High

GoodaŌernoon–permyemailearlier,Iwantedtosharetheitemsbelowforyourreviewandperhapsforyour
concurrence.ItismyhopethatbyhighlighƟngtheserecommendaƟonsforeachofthesedecisionitems,wecankeep
thesemoving,butwanttobesurethateachofyouindividuallyandallofyoucollecƟvelyarecomfortablewiththe
direcƟonthatweareworkingtowardaswehavemadetheserecommendaƟonsbasedontheguidingprinciplesthatyou
allhaveoīered.PleaseletusknowifyouhaveobjecƟons.Geƫngthesedecisionsmadewillallowustomoveforward
withruleͲmakingandsoŌwaredevelopment.IfyouwouldprefertodiscussoroīeralternaƟves,pleasedo.Thanksso
much.

DecisionItem1:Track2–ApplicaƟonofInsured(90%)andUninsured(70%)ERPFactor

ERPTrack2hasbeendesignedtoaccommodateanERPfactorofupto90%forproducerswhosuīerrevenuelosses
aƩributedtocropscoveredbycropinsuranceand/orNAP.StatuteisprescripƟveandrequiresthatassistancefor
uninsuredlossescannotexceed70%ofthecrop’svalueasdeterminedbytheSecretary.FSArecommendsthat
applicaƟonoftheERPFactorof90%(insuredfactor)underTrack2bebasedonparƟcipantcerƟĮcaƟonthatALL
CROPSincludedinclaimedrevenueareinsuredorcoveredbyNAP.Thisapproachcomportswithstatuteandminimizes
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theapplicaƟonburdenontheparƟcipant.AnybifurcaƟonofrevenuebycroptosupporttheapplicaƟonofboththe
insuredanduninsuredERPFactorunderTrack2createsaddiƟonalsoŌwarecomplexityandbecomesoverly
burdensomefortheparƟcipant.

DecisionItem2:Track2–UPFactorPaymentCalculaƟon

Tocomportwithstatute,anyUPtopͲupfactor(15%)cannotexceedthestatutorypaymentcapof90%or70%ofthe
cropvalue.Track2embracesaninsuredanduninsuredpaymentfactorfurtherincenƟvizingcropinsuranceandNAP,
necessitaƟngtheestablishmentofapaymentcalculaƟondemonstraƟnggrossERPTrack2assistance(includingUPtopͲ
up)doesnotexceedthe90%or70%factorpaymentcapestablishedbystatute.

FSArecommendscalculaƟngthe15%UPtopͲupAFTERprogressivefactoringwithbuiltinsoŌwarelogicensuringthe
Įnalpaymentissueddoesnotexceed100%ofthegrossERPTrack2payment.CalculaƟon:GrossERPPaymentx
ProgressiveFactorxUPfactor(115%)=TotalPaymentNTEGrossERPPayment.WhilethecombinedTrack2gross
paymentandaddiƟonalUPbeneĮtexceedthestatutorylimitsof90%or70%,thisapproachleveragestheuseofthe
progressivefactorforlevelsthatdonotpayat100%bydemonstraƟngthestatutorylimitsarenotexceededastheĮnal
paymentwillnotexceedthegrosscalculatedERPbeneĮt.WhilethismethodologywillnotprovideanUPbeneĮtto
parƟcipantswhosegrosspaymentfallswithintheĮrstbucket(paidat100%),thisapproachmaximizesavailable
assistancetoallsmallͲscaleoperaƟonswhilesupporƟngtheaddiƟonalUPtopͲupbeneĮtfornonͲtradiƟonaloperaƟons
andparƟcipants.

Example:
    x ProgressiveFactoringSampleCriteria:First$5Kpaysat100%,2nd$5Kpaysat75%,3rd$5Kpaysat50%,Greater
        than$15Kpaysat25%.
    x GrosscalculatedTrack2paymentof$40,000isprogressivelyfactoredto$17,500,withUPtopͲupof15%the
        finalpaymentissuedtotheparticipantis$20,125whichdoesnotexceedthegrossERP2benefitcalculated.






                                                           2
                                                                                                 Strickland AR 0868

                                                     APP. 000868
Case
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                                                                                  2204




                                                                                         Strickland AR 0869
                                                                        Emergency Relief Program
                                                                        2022




                                    APP. 000869
                                                                                                          Case
                                                                                                            Case




              Background
                                                                                                               2:24-cv-00060-Z




              Agricultural losses due to natural disaster were widespread across crops and
              geography in 2022
                                                                                                                 2:24-cv-00060-Z Document




              Funding to address impacts to crops is approximately $3.2 billion
                                                                                                                                  Document33-2




              Losses not covered by crop insurance or NAP are estimated at $10 billion - About
              equal to 2020 and 2021 combined




APP. 000870
                                                                                                          Page                             30-3 Filed 07/31/24
                                                                                                                                                      08/28/24




              This presentation details how the $3.2 billion appropriated for
                                                                                                           Page111




              the Emergency Relief Program in 2022 (ERP 2022) will be
                                                                                                                170ofof149




              distributed over $10.6 billion in 2022 losses that were not
              covered by crop insurance or the Noninsured Crop Disaster
              Assistance Program (NAP)
                                                                                                                        272 PageID
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                                                                                                                                   1250




                                                                                     Strickland AR 0870
                                                                                                                                     2205
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                                                                                                             Case
                                                                                                                2:24-cv-00060-Z




              ERP 2022 for crop losses will be implemented in two tracks:
                                                                                                                  2:24-cv-00060-Z Document




              1.   Track 1 (Includes Losses Indemnified by Crop Insurance or NAP) uses data from
                   existing USDA programs to prefill producer applications, streamlining and expediting
                                                                                                                                   Document33-2




                   the process for producers


                       A. Track 1A/RMA Records represent around 80% of the $10 billion in uncovered




APP. 000871
                          losses and uses crop insurance data from the Risk Management Agency
                                                                                                                                            30-3 Filed 07/31/24
                                                                                                                                                       08/28/24




                       B. Track 1B/NAP Records uses program data from FSA’s NAP
                                                                                                           Page
                                                                                                            Page112




              2.   Track 2 (Whole Farm Revenue Model) allows producers to seek relief for losses missed
                   by Track 1
                                                                                                                 171ofof149




                       A. Based on expected revenue vs. actual revenue
                                                                                                                         272 PageID
                                                                                                                               PageID
                                                                                                                                    1251




                                                                                      Strickland AR 0871
                                                                                                                                      2206
                                                                                                                               Case
                                                                                                                                 Case




                            Comparison of ERP 2022 to ERP 2020/21 Features:
              What’s the same?
                                                                                                                                    2:24-cv-00060-Z




              1.   The higher the coverage level on producers’ crop insurance or NAP policy, the higher
                   the factor that will be used in calculating their gross ERP payment
                                                                                                                                      2:24-cv-00060-Z Document




              2.   Track 1B (NAP Records) gross payments will be paid at a factor of 100%
                                                                                                                                                       Document33-2




              3.   Premiums/Fees refunded under Track 1B (NAP Records)
              4.   The types of natural disaster event that establish eligibility:
                    •   Qualifying Drought (D2 for 8 weeks, D3 or greater)
                    •   Wildfires




APP. 000872
                    •   Hurricanes
                                                                                                                                                                30-3 Filed 07/31/24
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                    •   Floods
                    •   Derechos
                    •   Excessive Heat
                                                                                                                               Page




                    •   Tornadoes – New in ERP 2022
                                                                                                                                Page113




                    •   Winter Storms
                    •   Freeze
                    •   Smoke Exposure
                                                                                                                                     172ofof149




                    •   Excessive Moisture
                    •   Related Conditions (occurred as a direct result of a qualifying disaster event)
                                                                                                                                             272 PageID
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                                                                                                          Strickland AR 0872
                                                                                                                                                          2207
                                                                                                                                            Case
                                                                                                                                              Case




                         Comparison of ERP 2022 to ERP 2020/21 Features:
              What’s new?
                                                                                                                                                 2:24-cv-00060-Z




              1.   Track 1A (RMA Records) and Track 2 (Whole Farm Revenue Model) gross payments
                   will be paid using progressive factors instead of a flat factor
                                                                                                                                                   2:24-cv-00060-Z Document




                    A.   This approach targets payments to 2 groups:
                                                                                                                                                                    Document33-2




                          i.    Losses incurred by smaller producers
                          ii.   Shallow losses (those that are small relative to overall crop size or those that are
                                already partially indemnified)




APP. 000873
              2.   Premiums/Fees refunded for underserved producers under Track 1A (RMA Records)
                                                                                                                                                                             30-3 Filed 07/31/24
                                                                                                                                                                                        08/28/24




                    A.   Given the reduced funding available for ERP 2022, reducing outlays attributed to the full refund of premiums and
                         fees (estimated $2 billion) under Track 1A (RMA Records) optimizes funding available to support equitable
                         assistance under both tracks of ERP 2022 while targeting assistance to smaller operations and underserved
                                                                                                                                            Page




                         participants
                    B.   Refund of premiums and fees for underserved participants under Track 1A (RMA Records) is estimated to be
                                                                                                                                             Page114




                         approximately $432 million

              3.   On Track 2, a 90% revenue guarantee has been added, and producers can use 2022
                                                                                                                                                  173ofof149




                   expected revenue as a benchmark instead of 2018 or 2019
              4.   Track 1 and 2 applications will be accepted simultaneously
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                                                                                                             Strickland AR 0873
                                                                                                                                                                       2208
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                                              PRODUCER PAYMENT CALCULATIONS…




                                                                                                          Strickland AR 0874




                                    APP. 000874
                                                                                               Case
                                                                                                 Case




              PRODUCER PAYMENT calculation steps: Track 1A/RMA
                                                                                                    2:24-cv-00060-Z




                                                 1.   Gross payment = (RMA calculated loss
                                                      - net crop insurance indemnity) * ERP
                                                      factor associated with coverage level
                                                      (See table on left)
                                                                                                      2:24-cv-00060-Z Document
                                                                                                                       Document33-2




                                                       Note: The greater the crop insurance
                                                       coverage level, the greater the ERP
                                                       factor




APP. 000875
                                                                                                                                30-3 Filed 07/31/24
                                                                                                                                           08/28/24




                                                 2.   Track 1A (RMA Records) gross
                                                      payments are then progressively
                                                      factored
                                                                                               Page
                                                                                                Page116




                                                 3.   Premiums/fees are refunded for
                                                      underserved producers (UP)
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                                                                                                                        1255




                                                                          Strickland AR 0875
                                                                                                                          2210
                                                                                                           Case
                                                                                                             Case




              PRODUCER PAYMENT calculation steps: Track 1B/NAP Records
                                                  1.   Gross payment = new revenue
                                                                                                                2:24-cv-00060-Z




                                                       guarantee - salvage value - NAP
                                                       payment

                                                        Note: The greater the NAP
                                                                                                                  2:24-cv-00060-Z Document




                                                        coverage level, the higher the
                                                        new revenue guarantee
                                                                                                                                   Document33-2




                                                  2.   Track 1B (NAP Records) gross
                                                       payments are not progressively




APP. 000876
                                                       factored but, instead, are paid
                                                       at 100%
                                                                                                                                            30-3 Filed 07/31/24
                                                                                                                                                       08/28/24




                                                  3.   Premiums/fees are refunded for
                                                                                                           Page




                                                       underserved producers (UP);
                                                                                                            Page117




                                                       however, budgetary impact is
                                                       negligible as these were
                                                       already waived for UPs enrolled
                                                                                                                 176ofof149




                                                       in NAP at the catastrophic
                                                       coverage level
                                                                                                                         272 PageID
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                                                        Note: > 90% of participants
                                                                                                                                    1256




                                                        are enrolled in NAP at
                                                                                                                                      2211




                                                        catastrophic coverage level   Strickland AR 0876
                                                                                                                             Case
                                                                                                                               Case




              PRODUCER PAYMENT calculation steps: Track 2 (Whole Farm Record
              Model)
                                                                                                                                  2:24-cv-00060-Z




              1.    Gross payment = benchmark year revenue * ERP factor - disaster year
                                                                                                                                    2:24-cv-00060-Z Document




                    revenue - Track 1 payments
                                                                                                                                                     Document33-2




                      A.      Benchmark year can be 2018, 2019, or expected revenue for 2022

                      B.      ERP factor is 90% for insured crops and 70% for uninsured crops




APP. 000877
                                                                                                                                                              30-3 Filed 07/31/24
                                                                                                                                                                         08/28/24




              2.   Track 2 gross payments are then progressively factored
                                                                                                                             Page




              3.   Payments to underserved producers under Track 2 will then be multiplied by
                                                                                                                              Page118




                   115%
                                                                                                                                   177ofof149




                           Note: The Total Track 2 benefit including the Underserved Producer benefit (Step 3) will
                           not exceed the calculated Gross ERP Track 2 benefit calculated in Step 1 to ensure the
                           payment caps of 70% and 90% prescribed by statute are not exceeded.
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                                                                                                        Strickland AR 0877
                                                                                                                                                        2212
                                                                                                                            Case
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                         AGGREGATE - Cost of ERP 2022 Estimated at $2.74 billion:
                                                                                                 ($ billions)
                                                                                                                                 2:24-cv-00060-Z




              Tract 1A/RMA:
                               The sum of all PRODUCER PAYMENTS after
                               progressively factoring $7.9 billion in losses (effective
                               factor = 27%)                                                          2.14
                                                                                                                                   2:24-cv-00060-Z Document




                               Plus: Premium/fee refund for underserved producers:                    0.43
                               Less: Payment limitations, attributions, netting, etc.                 0.26
                                                                                                                                                    Document33-2




                                                                                                                   2.31
              Track 1B/NAP:
                               The sum of all PRODUCER PAYMENTS made at 100%
                               factor                                                                 0.20




APP. 000878
                               Less: Payment limitations, attributions, netting, etc.                 0.02
                                                                                                                   0.18
                                                                                                                                                             30-3 Filed 07/31/24
                                                                                                                                                                        08/28/24




              Track 2:
                               The sum of all PRODUCER PAYMENTS after
                                                                                                                            Page




                               progressively factoring 1.9 billion in losses (effective factor
                               = 13%)                                                                 0.25
                                                                                                                             Page119




                               Plus: 15% benefit for underserved producers                            0.02
                               Less: Payment limitations, attributions, netting, etc.                 0.03
                                                                                                                                  178ofof149




                                                                                                                   0.24

              ERP 2022 Total
                                                                                                                                          272 PageID




              Payment:                                                                                           2.74
                                                                                                                                                PageID
                                                                                                                                                     1258




                                                                                                       Strickland AR 0878
                                                                                                                                                       2213
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                                                                                                                                              2214




                                                                                                                                              Strickland AR 0879
                                                         Used for Track 1A (RMA Records) and Track 2 (Whole Farm
                                 Progressive Factoring
                                                         Revenue Model)




                                          APP. 000879
                                                                                       Case
                                                                                         Case
                                                                                            2:24-cv-00060-Z




               Gross Payment      Factor   Example of how a $5K gross payment for
                                           an individual producer would be factored:
                   Band
                                                                                              2:24-cv-00060-Z Document




                $0 to $2,000      100%
                                                     $2K in band 1 * 100%
                                                                                                               Document33-2




              $2,001 to $4,000     80%               $2K in band 2 * 80%
              $4,001 to $6,000     60%               $1K in band 3 * 60%




APP. 000880
              $6,000 to $8,000     40%
                                                                                                                        30-3 Filed 07/31/24
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              $8,001 to $10,000    20%     Pays a higher portion of small or shallow
                                           losses
                 > $10,000        10%
                                                                                       Page
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                                           Progressive Factoring changes the
                                           distribution of payments but does not
                                           increase costs
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                                                                  Strickland AR 0880
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                                                                                                     Document33-2




              Progressive Factoring is designed to pay more to
              program participants who are due a gross payment of
              less than $30,000 under Track 1A (RMA Records), which




APP. 000881
              is 82% of producers.
                                                                             Page
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                                                        Strickland AR 0881
                                                                                                        2216
                                                                                                                                        Case
                                                                                                                                          Case




                           Ex. Net payment calculation steps under Track 1A/RMA Records for
                           producer with $20,000 gross payment
                                                                                               1.   Calculate producer’s gross
                                                 Progressive
                                                                                                                                             2:24-cv-00060-Z




              Bucket min   Bucket max   Gross                   Net     Flat factor    Net          payment
                                                    factor
                 $0         $2,000      $2,000       1.00      $2,000       0.27       $541
               $2,001       $4,000      $2,000       0.80      $1,600       0.27       $541
               $4,001       $6,000      $2,000       0.60      $1,200       0.27       $541
                                                                                               2.   Divide into standardized “bands”
               $6,001       $8,000      $2,000       0.40       $800        0.27       $541
               $8,001       $10,000     $2,000       0.20       $400        0.27       $541
                                                                                                                                               2:24-cv-00060-Z Document




               $10,001      $12,000     $2,000       0.10       $200        0.27       $541
               $12,001      $14,000     $2,000       0.10       $200        0.27       $541
                                                                                                                                                                Document33-2




               $14,001      $16,000     $2,000       0.10       $200        0.27       $541
                                                                                               3.   Multiply respective factor by
               $16,001      $18,000     $2,000       0.10       $200        0.27       $541         amount from each band
               $18,001      $20,000     $2,000       0.10       $200        0.27       $541
               $20,001      $22,000       $0         0.10        $0         0.27        $0
               $22,001      $24,000       $0         0.10        $0         0.27        $0




APP. 000882
               $24,001      $26,000       $0         0.10        $0         0.27        $0     4.   Total across all bands to achieve
               $26,001      $28,000       $0         0.10        $0         0.27        $0          net payment
                                                                                                                                                                         30-3 Filed 07/31/24
                                                                                                                                                                                    08/28/24




               $28,001      $30,000       $0         0.10        $0         0.27        $0
               $30,001      $32,000       $0         0.10        $0         0.27        $0
               $32,001      $34,000       $0         0.10        $0         0.27        $0
               $34,001      $36,000       $0         0.10        $0         0.27        $0     Note: This producer would receive a
                                                                                                                                        Page




               $36,001      $38,000       $0         0.10        $0         0.27        $0     29% higher net payment than under a
               $38,001      $40,000       $0         0.10        $0         0.27        $0
                                                                                                                                         Page123




               $40,001      $42,000       $0         0.10        $0         0.27        $0
                                                                                               program using the flat factor of 27%,
               $42,001      $44,000       $0         0.10        $0         0.27        $0     which has equal outlays to the
               $44,001      $46,000       $0         0.10        $0         0.27        $0     proposed progressive factoring
                                                                                                                                              182ofof149




               $46,001      $48,000       $0         0.10        $0         0.27        $0
               $48,001      $50,000       $0         0.10        $0         0.27        $0
               $50,001      No max        $0         0.10        $0         0.27        $0
                                                                                                                                                      272 PageID




                Gross
                                                                                                                                                            PageID




                            $20,000              Net payment   $7,000   Net payment   $5,409
               Payment
                                                                                                                                                                 1262




                                                                                                             Strickland AR 0882
                                                                                                                                                                   2217
                                                                                                                                  Case
                                                                                                                                    Case




              Ex. Net payment calculation under Track 1A/RMA Records for producer
              with $30,000 gross payment
                                                                                                                                       2:24-cv-00060-Z




                                                 Progressive
              Bucket min   Bucket max   Gross                   Net     Flat factor    Net     Gross payments $30K and
                                                    factor
                 $0         $2,000      $2,000       1.00      $2,000       0.27       $541    larger would net lower payments
               $2,001       $4,000      $2,000       0.80      $1,600       0.27       $541    under progressive factoring
               $4,001       $6,000      $2,000       0.60      $1,200       0.27       $541
                                                                                                                                         2:24-cv-00060-Z Document




               $6,001       $8,000      $2,000       0.40       $800        0.27       $541
               $8,001       $10,000     $2,000       0.20       $400        0.27       $541
               $10,001      $12,000     $2,000       0.10       $200        0.27       $541
                                                                                                                                                          Document33-2




               $12,001      $14,000     $2,000       0.10       $200        0.27       $541    RMA data indicate that 18
               $14,001      $16,000     $2,000       0.10       $200        0.27       $541    percent of producers in Track 1A
               $16,001      $18,000     $2,000       0.10       $200        0.27       $541
               $18,001      $20,000     $2,000       0.10       $200        0.27       $541    are due a gross payment of $30k
               $20,001      $22,000     $2,000       0.10       $200        0.27       $541    or more
               $22,001      $24,000     $2,000       0.10       $200        0.27       $541




APP. 000883
               $24,001      $26,000     $2,000       0.10       $200        0.27       $541
               $26,001      $28,000     $2,000       0.10       $200        0.27       $541
                                                                                                                                                                   30-3 Filed 07/31/24
                                                                                                                                                                              08/28/24




               $28,001      $30,000     $2,000       0.10       $200        0.27       $541
               $30,001      $32,000       $0         0.10        $0         0.27        $0
                                                                                               By using progressive factoring,
               $32,001      $34,000       $0         0.10        $0         0.27        $0     the approach increases
               $34,001      $36,000       $0         0.10        $0         0.27        $0     emergency relief payments to
                                                                                                                                  Page




               $36,001      $38,000       $0         0.10        $0         0.27        $0
               $38,001      $40,000       $0         0.10        $0         0.27        $0     most participants while scaling
                                                                                                                                   Page124




               $40,001      $42,000       $0         0.10        $0         0.27        $0     back those at the top end
               $42,001      $44,000       $0         0.10        $0         0.27        $0
               $44,001      $46,000       $0         0.10        $0         0.27        $0
                                                                                                                                        183ofof149




               $46,001      $48,000       $0         0.10        $0         0.27        $0
               $48,001      $50,000       $0         0.10        $0         0.27        $0
               $50,001      No max        $0         0.10        $0         0.27        $0

                Gross
                            $30,000              Net payment   $8,000   Net payment   $8,114
                                                                                                                                                272 PageID




               Payment
                                                                                                                                                      PageID
                                                                                                                                                           1263




                                                                                                            Strickland AR 0883
                                                                                                                                                             2218
                                                                                                             Case
                                                                                                               Case




                                                    Conclusion
                                                                                                                  2:24-cv-00060-Z




              Progressive factors allow payments to be targeted to smaller producers and
              shallower losses, without increasing costs
                                                                                                                    2:24-cv-00060-Z Document




              Total aggregate outlays for ERP 2022 (Both Tracks 1 and 2) are estimated at $2.74
              billion
                                                                                                                                     Document33-2




                      This includes an additional 5% on track 1A/RMA Records to account for
                      outstanding crop insurance claims
                      Outlays could outpace expectations by nearly 10% and still remain within




APP. 000884
                      budget
                                                                                                                                              30-3 Filed 07/31/24
                                                                                                                                                         08/28/24




              To provide further protection against cost overruns, a 75% max initial payment will
                                                                                                             Page




              be instituted
                                                                                                              Page125




                      This lowers the projected cost to $2.06 billion
                                                                                                                   184ofof149




                      Producers will receive 75% of their net payment initially
                      As budget permits, the remaining portion of their net payment will be
                      issued
                                                                                                                           272 PageID
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                                                                                                                                      1264




              If funds are not exhausted, factors can be increased and additional payments
                                                                                                                                        2219




              issued                                                                    Strickland AR 0884
                                                                                                                              Case
                                                                                                                                Case




                     Notes on Track 1 (Losses Indemnified by Crop Insurance or NAP) cost
                     estimate methodology
              Track 1A/RMA Records
                                                                                                                                   2:24-cv-00060-Z




              Assumption: some crop year 2023 losses will be paid in program year 2022
                          For example, winter wheat planted in fall 2022 that experienced winter kill in December
                                                                                                                                     2:24-cv-00060-Z Document




                          2022 before spring 2023 harvest
                                                                                                                                                      Document33-2




                          Or late-season Florida oranges that were subject to a December 2022 freeze in the middle
                          of the May 1, 2022, to June 30, 2023, crop insurance coverage period



              Track 2B/NAP Records




APP. 000885
                                                                                                                                                               30-3 Filed 07/31/24
                                                                                                                                                                          08/28/24




              Assumption: crop units receiving payment had low salvage values
                                                                                                                              Page




              Grass is the largest commodity covered under NAP; however, only grass harvested for forage is
                                                                                                                               Page126




              eligible for ERP
              Assumption: 50% of ERP 1B payments will be for grass
                                                                                                                                    185ofof149




                          Follows the trend of an increasing share: in 2020, 16 percent of gross ERP 1B payments
                          were on grass and, in 2021, 28% of gross ERP 1B payments were on grass
                                                                                                                                            272 PageID




                          Widespread drought in the Plains during 2022 supports a higher portion of payments to
                                                                                                                                                  PageID




                          grass
                                                                                                                                                       1265




                                                                                                         Strickland AR 0885
                                                                                                                                                         2220
                                                                                                                          Case
                                                                                                                            Case




                 Notes on Track 2 (Whole Farm Revenue Model) cost estimate
                 methodology
                                                                                                                               2:24-cv-00060-Z




              Assumption: ERP track 2 gross payments will equal to those of 2020 and 2021 combined


                       This phenomenon was observed in RMA data and is generalized to track 2
                                                                                                                                 2:24-cv-00060-Z Document




                       Producers can use expected revenue in lieu of 2018 and 2019 as a benchmark year
                       More producers will participate, and losses will be inflated by higher commodity prices
                                                                                                                                                  Document33-2




              Gross ERP track 2 payments from 2020/2021 are summed, then multiplied by 1.29 to account for
              the higher revenue guarantee available this year




APP. 000886
                       90% / 70% = 1.29
                                                                                                                                                           30-3 Filed 07/31/24
                                                                                                                                                                      08/28/24




              The impacts of progressive factoring are estimated by assuming the same distribution of payments
                                                                                                                          Page




              as 2020/2021
                                                                                                                           Page127




                       Only 6% of total gross payments are in or below the $10K band
                                                                                                                                186ofof149




                       Larger gross payments in Track 2 means higher savings by using progressive factoring
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                                                                                                     Strickland AR 0886
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              0-2000          2 588274284
              2001-4000       4 460712735
              etc             6 387687004
                              8 337052421
                             10 298349898
                             12 267520925
                             14 242544370
                             16 221389577
                             18 203762809
                             20 188509182
                             22 174727063
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                             24 162566340
                             26 151599860
                             28 142069412
                             30 133320844
                             32 125442398
                             34 118329382
                             36 111716437
                             38 105627489
                             40   99871377
                             42   94530575
                             44   89740646
                             46   85115699
                                                                         2:24-cv-00060-Z Document




                             48   81085250
                             50   77253237
                             50 2767467070

                          total 7716266284
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                                                                                                                                                     Strickland AR 0888
                                                      [REDACTED—NOT PART OF ADMINISTRATIVE RECORD]
  ERP 2022 COST ESTIMATE 09272023.xlxs

                                         TAB 1B-NAP




                                                                                                     APP. 000888
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                                                                                                                                                                 Strickland AR 0889
                                                                  [REDACTED—NOT PART OF ADMINISTRATIVE RECORD]
   ERP 2022 COST ESTIMATE 09272023.xlxs

                                          TAB 1B-NAP grass adj.




                                                                                                                 APP. 000889
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                                                                                                                                                   Strickland AR 0890
                                                    [REDACTED—NOT PART OF ADMINISTRATIVE RECORD]
  ERP 2022 COST ESTIMATE 09272023.xlxs

                                         TAB ERP2




                                                                                                   APP. 000890
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                                                                Track 1A - RMA                                            Track 1B - NAP
                                                                                                                                                                                Case




               Bucket min     Bucket max      RMA gross     Share           Factor       RMA net        NAP gross     Share           Factor      NAP net
                   $0           $2,000      $588,274,284      8%             1.00    $588,274,284     $51,579,246      23%             1.00    $51,579,246
                 $2,001         $4,000      $460,712,735      6%             0.80    $368,570,188     $27,921,273      13%             1.00    $27,921,273
                 $4,001         $6,000      $387,687,004      5%             0.60    $232,612,202     $18,638,813       8%             1.00    $18,638,813
                 $6,001         $8,000      $337,052,421      4%             0.40    $134,820,968     $13,849,117       6%             1.00    $13,849,117
                 $8,001        $10,000      $298,349,898      4%             0.20     $59,669,980     $10,848,227       5%             1.00    $10,848,227
                $10,001        $12,000      $267,520,925      3%             0.10     $26,752,093      $8,734,623       4%             1.00     $8,734,623
                $12,001        $14,000      $242,544,370      3%             0.10     $24,254,437      $7,230,894       3%             1.00     $7,230,894
                $14,001        $16,000      $221,389,577      3%             0.10     $22,138,958      $6,113,706       3%             1.00     $6,113,706
                $16,001        $18,000      $203,762,809      3%             0.10     $20,376,281      $5,267,150       2%             1.00     $5,267,150
                                                                                                                                                                                   2:24-cv-00060-Z




                $18,001        $20,000      $188,509,182      2%             0.10     $18,850,918      $4,520,812       2%             1.00     $4,520,812
                $20,001        $22,000      $174,727,063      2%             0.10     $17,472,706      $3,937,461       2%             1.00     $3,937,461
                $22,001        $24,000      $162,566,340      2%             0.10     $16,256,634      $3,481,319       2%             1.00     $3,481,319
                $24,001        $26,000      $151,599,860      2%             0.10     $15,159,986      $3,058,620       1%             1.00     $3,058,620
                $26,001        $28,000      $142,069,412      2%             0.10     $14,206,941      $2,730,023       1%             1.00     $2,730,023
                $28,001        $30,000      $133,320,844      2%             0.10     $13,332,084      $2,461,921       1%             1.00     $2,461,921
                $30,001        $32,000      $125,442,398      2%             0.10     $12,544,240      $2,218,617       1%             1.00     $2,218,617
                $32,001        $34,000      $118,329,382      2%             0.10     $11,832,938      $2,009,345       1%             1.00     $2,009,345
                $34,001        $36,000      $111,716,437      1%             0.10     $11,171,644      $1,793,741       1%             1.00     $1,793,741
                                                                                                                                                                                     2:24-cv-00060-Z Document




                $36,001        $38,000      $105,627,489      1%             0.10     $10,562,749      $1,646,842       1%             1.00     $1,646,842
                $38,001        $40,000       $99,871,377      1%             0.10      $9,987,138      $1,520,438       1%             1.00     $1,520,438
                $40,001        $42,000       $94,530,575      1%             0.10      $9,453,058      $1,404,376       1%             1.00     $1,404,376
                $42,001        $44,000       $89,740,646      1%             0.10      $8,974,065      $1,303,961       1%             1.00     $1,303,961
                                                                                                                                                                                                      Document33-2




                $44,001        $46,000       $85,115,699      1%             0.10      $8,511,570      $1,222,981       1%             1.00     $1,222,981
                $46,001        $48,000       $81,085,250      1%             0.10      $8,108,525      $1,143,307       1%             1.00     $1,143,307
                $48,001        $50,000       $77,253,237      1%             0.10      $7,725,324      $1,058,129       0%             1.00     $1,058,129
                $50,001          No max    $2,767,467,070    36%             0.10    $276,746,707     $36,189,457      16%             1.00    $36,189,457

                  Total                    $7,716,266,284                    0.27    $2,045,784,947   $221,884,398                     1.00    $221,884,398

                   UP                       $432,192,149                              $432,192,149         $0                                       $0




APP. 000891
               Less payment
               limitations,
                                 0.10      ($814,845,843)                            ($247,797,710)   ($22,188,440)                            ($22,188,440)
               attribution,
                                                                                                                                                                                                               30-3 Filed 07/31/24
                                                                                                                                                                                                                          08/28/24




              netting, etc.

                  Final                    $7,333,612,590                            $2,230,179,387   $199,695,958                             $199,695,958
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                                        Track 2                                                                  All ERP 2022
                                                                                                                                                                                      Case




                ERP 2 gross    Share              Factor     ERP 2 net          Gross           Gross share    Effective factor        Net         Net share
               $48,607,874     1.21%               1.00    $48,607,874      $688,461,405             6%              1.00         $688,461,405        25%
               $46,441,359     1.16%               0.80    $37,153,088      $535,075,368             4%              0.81         $433,644,549        16%
               $44,511,569     1.11%               0.60    $26,706,941      $450,837,386             4%              0.62         $277,957,956        10%
               $42,786,821     1.07%               0.40    $17,114,728      $393,688,359             3%              0.42         $165,784,814         6%
               $41,145,427     1.03%               0.20     $8,229,085      $350,343,552             3%              0.22          $78,747,292         3%
               $39,562,342     0.99%               0.10     $3,956,234      $315,817,890             3%              0.12          $39,442,950         1%
               $38,047,528     0.95%               0.10     $3,804,753      $287,822,792             2%              0.12          $35,290,084         1%
               $36,736,590     0.92%               0.10     $3,673,659      $264,239,874             2%              0.12          $31,926,323         1%
               $35,631,185     0.89%               0.10     $3,563,118      $244,661,143             2%              0.12          $29,206,549         1%
                                                                                                                                                                                         2:24-cv-00060-Z




               $34,567,941     0.86%               0.10     $3,456,794      $227,597,935             2%              0.12          $26,828,524         1%
               $33,555,682     0.84%               0.10     $3,355,568      $212,220,206             2%              0.12          $24,765,735         1%
               $32,592,436     0.81%               0.10     $3,259,244      $198,640,095             2%              0.12          $22,997,196         1%
               $31,673,342     0.79%               0.10     $3,167,334      $186,331,822             2%              0.11          $21,385,940         1%
               $30,811,307     0.77%               0.10     $3,081,131      $175,610,743             1%              0.11          $20,018,095         1%
               $29,935,413     0.75%               0.10     $2,993,541      $165,718,178             1%              0.11          $18,787,546         1%
               $29,101,726     0.73%               0.10     $2,910,173      $156,762,741             1%              0.11          $17,673,029         1%
               $28,315,772     0.71%               0.10     $2,831,577      $148,654,499             1%              0.11          $16,673,860         1%
               $27,598,974     0.69%               0.10     $2,759,897      $141,109,152             1%              0.11          $15,725,282         1%
                                                                                                                                                                                           2:24-cv-00060-Z Document




               $26,886,912     0.67%               0.10     $2,688,691      $134,161,243             1%              0.11          $14,898,282         1%
               $26,182,479     0.65%               0.10     $2,618,248      $127,574,293             1%              0.11          $14,125,823         1%
               $25,545,021     0.64%               0.10     $2,554,502      $121,479,972             1%              0.11          $13,411,935         0%
               $24,912,423     0.62%               0.10     $2,491,242      $115,957,030             1%              0.11          $12,769,268         0%
                                                                                                                                                                                                            Document33-2




               $24,327,918     0.61%               0.10     $2,432,792      $110,666,599             1%              0.11          $12,167,343         0%
                $23,763,713    0.59%               0.10     $2,376,371      $105,992,270             1%              0.11          $11,628,203         0%
                $23,219,293     0.58%              0.10     $2,321,929      $101,530,660             1%              0.11          $11,105,383         0%
              $3,185,926,205   79.40%              0.10    $318,592,620    $5,989,582,732           50%              0.11         $631,528,785        23%

              $4,012,387,256                       0.13    $516,701,138    $11,950,537,937                           0.23         $2,784,370,483

               $300,929,044                                $38,752,585      $733,121,193                                           $470,944,734




APP. 000892
              ($431,331,630)                               ($55,545,372)   ($1,268,365,913)                                       ($325,531,522)
                                                                                                                                                                                                                     30-3 Filed 07/31/24
                                                                                                                                                                                                                                08/28/24




              $3,881,984,670                               $499,908,351    $11,415,293,217                                        $2,929,783,695

                                                                           Add 2.5 percent    ---------------------------------   $3,003,028,288
                                                                                                                                                                                    Page




                                                                            Add 5 percent     ---------------------------------   $3,076,272,880
                                                                                                                                                                                     Page133




                                                                            Add 10 percent    ---------------------------------   $3,222,762,065



                                                                            Apply 75% max
                                                                                                                                                                                          192ofof149




                                                                                              ---------------------------------   $2,197,337,772
                                                                           initial payment

                                                                           Add 2.5 percent    ---------------------------------   $2,252,271,216

                                                                            Add 5 percent     ---------------------------------   $2,307,204,660
                                                                                                                                                                                                  272 PageID




                                                                           Add 10 percent     ---------------------------------   $2,417,071,549
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                                              74404                        Federal Register/ Vol. 88, No. 209 / Tuesday, October 31, 2023 / Notices

                                              bringing about a balance between                              Total Burden Hours: 17,970.                      measure the quality of customer service
                                              production, and utilization of                                                                                 for Supplemental Nutrition Assistance
                                                                                                      Levi S. Harrell,
                                              agricultural products.’’ The collection of                                                                     Program (SNAP) applicants and
                                                                                                      Departmental Information Collection
                                              information in this request is based on                                                                        participants, particularly strategies that
                                                                                                      Clearance Officer.
                                              the AMA, title II, subtitle A, § 203,                                                                          go beyond the minimum requirements
                                                                                                      [FR Doc. 2023–23952 Filed 10–30–23; 8:45 am]
                                              principally, paragraphs (b), (g), and (k)                                                                      set by FNS; and how State SNAP
                                                                                                      BILLING CODE 3410–02–P
                                              that direct the Secretary of Agriculture                                                                       agencies implement and refine their
                                              to determine agricultural marketing                                                                            customer service approaches. This study
                                              costs and develop efficient marketing                   DEPARTMENT OF AGRICULTURE                              will conduct case studies in up to nine
                                              methods to reduce the price spread                                                                             states to understand their approaches to
                                              between producer and consumer; to                       Submission for OMB Review;                             defining, measuring, and improving
                                              collect and disseminate marketing                       Comment Request                                        customer service in SNAP.
                                              information to bring about a balance                                                                              Need and Use of the Information: (1)
                                              between production and utilization of                      The Department of Agriculture has                   Review of existing studies, reports, and
                                              agricultural products; and to collect,                  submitted the following information                    data on customer services strategies and
                                              tabulate, and disseminate agricultural                  collection requirement(s) to OMB for                   approaches. (2) Case studies in up to
                                              marketing statistics.                                   review and clearance under the                         nine states with diverse approaches to
                                                 Under this authority, the Agricultural               Paperwork Reduction Act of 1995,                       supporting and monitoring customer
                                              Marketing Service (AMS) Livestock,                      Public Law 104–13. Comments are                        service in SNAP.
                                              Poultry, and Grain Market News                          requested regarding; whether the                          The research team will collect case
                                              (LPGMN) Division works to provide                       collection of information is necessary                 study data during two-day in-person site
                                              timely information of prices, supply,                   for the proper performance of the                      visits to each selected State that will
                                              demands, trends, movement, and other                    functions of the agency, including                     include interviews with State, regional
                                              details affecting the trade of livestock,               whether the information will have                      (e.g., call center), and local SNAP staff
                                              poultry, meat, eggs, grain, and their                   practical utility; the accuracy of the                 and key stakeholders, review of relevant
                                              related products, as well as locally                    agency’s estimate of burden including                  documents and reports, and
                                              produced and marketed products. The                     the validity of the methodology and                    observations of staff interactions with
                                              information requested is used to                        assumptions used; ways to enhance the                  customer service systems.
                                              compile and disseminate market reports                  quality, utility and clarity of the                       Description of Respondents: State,
                                              that provide current, unbiased                          information to be collected; and ways to               Local and Tribal Governments,
                                              information to all stakeholders in the                  minimize the burden of the collection of               Businesses.
                                              U.S. agricultural industry.                             information on those who are to                           Number of Respondents: 116.
                                                 Need and Use of the Information:                     respond, including through the use of                     Frequency of Responses: Reporting:
                                              Information is used by the private sector               appropriate automated, electronic,                     Once.
                                              to make economic decisions to establish                 mechanical, or other technological                        Total Burden Hours: 144.
                                              market values for application in                        collection techniques or other forms of
                                                                                                      information technology.                                Ruth Brown,
                                              contracts or settlement value, and to
                                              address specific concerns or issues                        Comments regarding this information                 Departmental Information Collection
                                                                                                      collection received by November 30,                    Clearance Officer.
                                              related to trade agreements and disputes
                                              as well as being used by educational                    2023 will be considered. Written                       [FR Doc. 2023–23960 Filed 10–30–23; 8:45 am]

                                              institutions, specifically, agricultural                comments and recommendations for the                   BILLING CODE 3410–30–P

                                              colleges and universities. Government                   proposed information collection should
                                              agencies such as the Foreign                            be submitted within 30 days of the
                                                                                                      publication of this notice on the                      DEPARTMENT OF AGRICULTURE
                                              Agricultural Service, Economic
                                              Research Service and the National                       following website www.reginfo.gov/
                                                                                                      public/do/PRAMain. Find this                           Farm Service Agency
                                              Agricultural Statistics Service use
                                              market news data in the performance of                  particular information collection by                   [Docket ID FSA–2023–0020]
                                              their missions. LPGMN reports provide                   selecting ‘‘Currently under 30-day
                                              interested segments of the market chain                 Review—Open for Public Comments’’ or                   Notice of Funds Availability;
                                              and the general public with unbiased                    by using the search function.                          Emergency Relief Program 2022 (ERP
                                                                                                         An agency may not conduct or                        2022)
                                              comprehensive livestock, poultry, meat,
                                                                                                      sponsor a collection of information
                                              eggs, wool, grain market data which                                                                            AGENCY: Farm Service Agency, USDA.
                                                                                                      unless the collection of information
                                              helps equalize the competitive position                                                                        ACTION: Notice of funds availability.
                                                                                                      displays a currently valid OMB control
                                              of all market participants. The absence
                                                                                                      number and the agency informs
                                              of these data would deny primary and                                                                           SUMMARY: The Farm Service Agency
                                                                                                      potential persons who are to respond to
                                              secondary users information that                                                                               (FSA) is issuing this notice announcing
                                                                                                      the collection of information that such
                                              otherwise would be available to aid                                                                            ERP 2022, which will provide payments
                                                                                                      persons are not required to respond to
                                              them in their production and marketing                                                                         to eligible crop producers for losses due
                                                                                                      the collection of information unless it
                                              decisions, analyses, research and                                                                              to qualifying disaster events including
                                                                                                      displays a currently valid OMB control
                                              knowledge of current market conditions.                                                                        wildfires, hurricanes, floods, derechos,
                                                                                                      number.
                                              The omission of these data could                                                                               excessive heat, tornadoes, winter
                                              adversely affect prices, supply, and                    Food and Nutrition Service                             storms, freeze (including a polar vortex),
lotter on DSK11XQN23PROD with NOTICES1




                                              demand.                                                   Title: Understanding States’ SNAP                    smoke exposure, excessive moisture,
                                                 Description of Respondents: Business                 Customer Service Strategies (NEW).                     qualifying drought, and related
                                              or other for-profit; Farms.                               OMB Control Number: 0584–NEW.                        conditions that occurred in calendar
                                                 Number of Respondents: 3,220.                          Summary of Collection: The Food and                  year 2022. ERP 2022 will be
                                                 Frequency of Responses: Reporting:                   Nutrition Service (FNS) is interested in               administered through 2 tracks (referred
                                              Weekly; Annually.                                       exploring how State agencies define and                to as Track 1 and Track 2). Track 1 will

                                                                                                                                                                                  Strickland AR 0893
                                         VerDate Sep<11>2014   17:18 Oct 30, 2023   Jkt 262001   PO 00000    Frm 00004   Fmt 4703   Sfmt 4703   E:\FR\FM\31OCN1.SGM   31OCN1
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                                                                           Federal Register/ Vol. 88, No. 209 / Tuesday, October 31, 2023 / Notices                                            74405

                                              assist eligible crop producers who                      or a D3 (extreme drought) or higher                   document and discussed below in the
                                              received indemnities for eligible crop or               level of drought intensity.                           payment limitation section.
                                              tree losses through certain Federal crop                   FSA is using the funding to assist
                                                                                                                                                            Definitions
                                              insurance policies or payments for crop                 eligible producers who suffered eligible
                                              losses through the Noninsured Crop                      losses through several programs. 1 In this               The definitions in 7 CFR parts 718
                                              Disaster Assistance Program (NAP).                      document, FSA is announcing ERP                       and 1400 apply to ERP 2022, except as
                                              Track 2 will assist eligible crop                       2022, which will assist eligible crop                 otherwise provided in this document.
                                              producers for other eligible crop and                   producers who suffered eligible losses                The following definitions also apply.
                                              tree losses through a revenue-based                     due to qualifying disaster events as                     2017 WHIP means the 2017 Wildfires
                                              approach.                                               defined in this document. These                       and Hurricanes Indemnity Program (7
                                                                                                      producers have been significantly                     CFR part 760, subpart O).
                                              DATES:
                                                                                                      impacted by qualifying disaster events                   Administrative fee means the amount
                                                 Funding availability: Application
                                                                                                      occurring in 2022, which have resulted                an insured producer paid for
                                              period for Track 1 will begin October
                                              31, 2023. Application period for Track                  in significant losses. FSA has designed               catastrophic risk protection and any
                                              2 will begin October 31, 2023.                          ERP 2022 consistent with the public                   additional coverage for each crop year
                                                 Comments: We will consider                           interest in streamlining and expediting               as specified in the applicable Federal
                                              comments we receive by January 2,                       disaster assistance payments to                       crop insurance policy.
                                              2024.                                                   agricultural producers to the greatest                   Aquaculture means any species of
                                                                                                      extent possible. ERP 2022 will be                     aquatic organisms grown as food for
                                              ADDRESSES: You may submit comments                                                                            human or livestock consumption or for
                                              by the following method: Federal                        administered through 2 tracks:
                                                                                                          Track 1 will use a streamlined                   industrial or biomass uses, fish raised as
                                              eRulemaking Portal: Go to https://                                                                            feed for fish that are consumed by
                                              www.regulations.gov and search for                      process with pre-filled application
                                                                                                      forms, as discussed in this document. It              humans, and ornamental fish
                                              Docket ID FSA–2023–0020. You may                                                                              propagated and reared in an aquatic
                                              also send comments to the Desk Officer                  will provide payments for eligible crop
                                                                                                      losses and tree losses, described below,              medium. Eligible aquacultural species
                                              for Agriculture, Office of the                                                                                must be raised by a commercial operator
                                              Information and Regulatory Affairs,                     where data are already on file with FSA
                                                                                                      or the Risk Management Agency (RMA),                  and in water in a controlled
                                              Office of Management and Budget,                                                                              environment.
                                              Washington, DC 20503. Comments will                     as a result of the producer previously
                                                                                                                                                               ARC means the Agriculture Risk
                                              be available for public inspection online               receiving a NAP payment or an
                                                                                                                                                            Coverage program (7 CFR part 1412).
                                              at https://www.regulations.gov.                         indemnity under certain Federal crop                     Average adjusted gross farm income
                                              FOR FURTHER INFORMATION CONTACT:                        insurance policies for a loss in the same             means the average of the person or legal
                                              Kathy Sayers; telephone: (202) 720–                     year that could have been affected by a               entity’s adjusted gross income (AGI)
                                              6825; email: kathy.sayers@usda.gov.                     qualifying disaster event; and                        derived from farming, ranching, and
                                              Individuals who require alternative                         Track 2 will provide payments for                forestry operations, including losses, for
                                              means for communication should                          eligible crop and tree losses through a               the base period consisting of the 2018,
                                              contact the USDA Target Center at (202)                 revenue-based approach using data                     2019, and 2020 tax years.
                                              720–2600 (voice and text telephone                      provided by eligible producers on                        If the resulting average adjusted gross
                                              (TTY)) or dial 711 for                                  application forms.                                    farm income derived from items 1
                                              Telecommunications Relay service (both                     Producers with losses that are eligible            through 12 of the definition of income
                                              voice and text telephone users can                      for Track 1 may apply for Track 1, Track              derived from farming, ranching, and
                                              initiate this call from any telephone).                 2, or both tracks; however, the Track 2               forestry operations is at least 66.66
                                              SUPPLEMENTARY INFORMATION:                              payment calculation will take into                    percent of the average AGI of the person
                                                                                                      account any payments the producer                     or legal entity, then the average adjusted
                                              Background                                              receives under Track 1 to ensure a                    gross farm income may also take into
                                                 Title I of the Disaster Relief                       producer is not receiving duplicate                   consideration income or benefits
                                              Supplemental Appropriations Act, 2023                   benefits under both tracks.                           derived from the following:
                                              (Division N of the Consolidated                            Both tracks cover the same eligible                   (1) The sale of equipment to conduct
                                              Appropriations Act, 2023; Pub. L. 117–                  crops, as defined below. For payment                  farm, ranch, or forestry operations; and
                                              328) provides approximately $3.74                       limitation purposes, ERP 2022 classifies                 (2) The provision of production
                                              billion, to remain available until                      eligible crops into the following                     inputs and production services to
                                              expended, for necessary expenses                        categories:                                           farmers, ranchers, foresters, and farm
                                              related to losses of revenue, quality, or                   specialty crops;                                 operations.
                                              production losses of crops (including                       non-specialty crops;                                For legal entities not required to file
                                              milk, on-farm stored commodities, crops                     high value crops; and                            a Federal income tax return, or a person
                                              prevented from planting in 2022, and                        other crops.                                     or legal entity that did not have taxable
                                              harvested adulterated wine grapes),                        The term ‘‘non-specialty crop’’ only               income in one or more tax years during
                                              trees, bushes, and vines, as a                          applies to Track 1, the terms ‘‘high                  the base period, the average will be the
                                              consequence of droughts, wildfires,                     value crop’’ and ‘‘other crop’’ only                  adjusted gross farm income, including
                                              hurricanes, floods, derechos, excessive                 apply to Track 2, and the term                        losses, averaged for the 2018, 2019, and
                                              heat, tornadoes, winter storms, freeze,                 ‘‘specialty crop’’ applies to both tracks;            2020 tax years, as determined by FSA.
                                              including a polar vortex, smoke                         those terms are defined in this                       A new legal entity will have its adjusted
                                              exposure, and excessive moisture                                                                              gross farm income averaged only for
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                                              occurring in calendar year 2022. Losses                   1 FSA previously announced Emergency                those years of the base period for which
                                              due to drought are only eligible for                    Livestock Relief Program 2022 (ELRP 2022) on          it was in business; however, a new legal
                                              assistance if any area within the county                September 27, 2023 (88 FR 66361–66366) and the        entity will not be considered ‘‘new’’ to
                                                                                                      Milk Loss Program on September 11, 2023 (88 FR
                                              in which the loss occurred was rated by                 62285–62292). ELRP 2022 and Milk Loss Program
                                                                                                                                                            the extent it takes over an existing
                                              the U.S. Drought Monitor as having a D2                 payments for 2022 losses have the same funding        operation and has any elements of
                                              (severe drought) for 8 consecutive weeks                source as ERP 2022.                                   common ownership interest and land

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                                              with the preceding person or legal entity               certifying a production, processing, or               administered by RMA under the
                                              from which it took over. When there is                  handling operation as organic.                        provisions of the Federal Crop
                                              such commonality, income of the                            Controlled environment means an                    Insurance Act (7 U.S.C. 1501–1524), as
                                              previous person or legal entity will be                 environment in which everything that                  amended. It does not include private
                                              averaged with that of the new legal                     can practicably be controlled by the                  plans of insurance.
                                              entity for the base period. For a person                producer with structures, facilities, and                Federal crop insurance indemnity
                                              filing a joint tax return, the certification            growing media (including but not                      means the payment to a participant for
                                              of average adjusted farm income may be                  limited to water, soil, or nutrients), is in          crop losses covered under Federal crop
                                              reported as if the person had filed a                   fact controlled by the producer, as                   insurance administered by RMA in
                                              separate Federal tax return and the                     determined by industry standards.                     accordance with the Federal Crop
                                              calculation is consistent with the                         Coverage level means the percentage                Insurance Act.
                                              information supporting the filed joint                  determined by multiplying the elected                    Feedstock means a crop including,
                                              return.                                                 yield percentage under a Federal crop                 but not limited to, grassesor legumes,
                                                  Average AGI means the average of the                insurance policy or NAP coverage by                   algae, cotton, peanuts, coarse grains,
                                              AGI as defined under 26 U.S.C. 62 or                    the elected price percentage.                         small grains, oilseeds, or short rotation
                                              comparable measure of the person or                        Crop year means:                                   woody crops grown expressly for the
                                              legal entity. The relevant tax years for                   (1) For insured crops and trees, the               purpose of producing a biobased
                                              the 2022 program year are 2018, 2019,                   crop year as defined according to the                 material or product, and does not
                                              and 2020.                                               applicable Federal crop insurance                     include residues and by-products of
                                                  BCAP means the Biomass Crop                         policy; and                                           crops grown for any other purpose.
                                              Assistance Program (7 CFR part 1450).                      (2) For NAP-covered crops, the crop                   Hemp means the plant species
                                                  Beginning farmer or rancher means a                 year as defined in 7 CFR 1437.3.                      Cannabis sativa L. and any part of that
                                                                                                         Deputy Administrator means the FSA                 plant, including the seeds and all
                                              farmer or rancher who has not operated
                                                                                                      Deputy Administrator for Farm                         derivatives, extracts, cannabinoids,
                                              a farm or ranch for more than 10 years
                                                                                                      Programs.                                             isomers, acids, salts, and salts of
                                              and who materially and substantially                       Direct market crop means a crop sold
                                              participates in the operation. For a legal                                                                    isomers, whether growing or not, with a
                                                                                                      directly to consumers without the
                                              entity to be considered a beginning                                                                           delta-9 tetrahydrocannabinol
                                                                                                      intervention of an intermediary such as
                                              farmer or rancher, at least 50 percent of               a registered handler, wholesaler,                     concentration of not more than 0.3
                                              the interest must be beginning farmers                  retailer, packer, processor, shipper, or              percent on a dry weight basis, that is
                                              or ranchers.                                            buyer (for example, a crop sold at a                  grown under a license or other required
                                                  Buy-up NAP coverage means NAP                       farmer’s market or roadside stand),                   authorization issued by the applicable
                                              coverage at a payment amount that is                    excluding crops sold for livestock                    governing authority that permits the
                                              equal to an indemnity amount                            consumption.                                          production of the hemp.
                                              calculated for buy-up coverage                             Disaster year means the calendar year                 High value crop means, for Track 2:
                                              computed under section 508(c)I or (h) of                in which the qualifying disaster event                   (1) Any eligible crop that is not
                                              the Federal Crop Insurance Act and                      occurred (that is, 2022).                             specifically identified as a specialty
                                              equal to the amount that the buy-up                        ELAP means the Emergency                           crop or listed in the definition of ‘‘other
                                              coverage yield for the crop exceeds the                 Assistance for Livestock, Honeybees,                  crop’’; and
                                              actual yield for the crop.                              and Farm-Raised Fish Program (7 CFR                      (2) Any eligible crop, regardless of
                                                  Catastrophic coverage has the same                  part 1416, subpart B).                                whether it is identified as a specialty
                                              meaning as for NAP (in 7 CFR 1437.3),                      Eligible crop means a crop, including              crop or listed in the definition of ‘‘other
                                              which is:                                               eligible aquaculture, that is produced, or            crop,’’ if the crop is a direct market
                                                  (1) For insured crops, the coverage                 would have been produced if the                       crop, organic crop, or a crop grown for
                                              offered by the Federal Crop Insurance                   qualifying disaster event had not                     a specific market in which specialized
                                              Corporation (FCIC) under section 508(b)                 occurred (for example, crops prevented                products can be sold resulting in an
                                              of the Federal Crop Insurance Act.                      from planting), in the United States as               increased value compared to the typical
                                                  (2) For eligible NAP crops, coverage at             part of a farming operation. It excludes:             market for the crops (for example,
                                              the following levels due to an eligible                    (1) Crops for grazing;                             soybeans intended for tofu production),
                                              cause of loss impacting the NAP                            (2) Aquatic species that do not meet               as determined by the Deputy
                                              covered crop during the coverage                        the definition of aquaculture;                        Administrator.
                                              period:                                                    (3) Cannabis sativa L. and any part of                Note: The term ‘‘high value crop’’
                                                  (i) Prevented planting in excess of 35              that plant that does not meet the                     does not apply to Track 1.
                                              percent of the intended acres;                          definition of hemp; and                                  Income derived from farming,
                                                  (ii) A yield loss in excess of 50                      (4) Timber.                                        ranching, and forestry operations means
                                              percent of the approved yield;                             Farming operation means a business                 income of a person or legal entity
                                                  (iii) A value loss in excess of 50                  enterprise engaged in the production of               derived from:
                                              percent; or                                             agricultural products, commodities, or                   (1) Production of crops and
                                                  (iv) An animal-unit-days (AUD) loss                 livestock, operated by a person, legal                unfinished raw forestry products;
                                              greater than 50 percent of expected                     entity, or joint operation. A person or                  (2) Production of livestock,
                                              AUD.                                                    legal entity may have more than one                   aquaculture products used for food,
                                                  CFAP means the Coronavirus Food                     farming operation if the person or legal              honeybees, and products derived from
                                              Assistance Program 1 and 2 under 7                      entity is a member of one or more legal               livestock;
                                                                                                                                                               (3) Production of farm-based
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                                              CFR part 9, subparts A through C,                       entity or joint operation.
                                              excluding assistance for contract                          FCIC means the Federal Crop                        renewable energy;
                                              producers specified in § 9.203(l) through               Insurance Corporation, a wholly owned                    (4) Selling (including the sale of
                                              (o).                                                    Government Corporation of USDA,                       easements and development rights) of
                                                  Certifying agent means a private or                 administered by RMA.                                  farm, ranch, and forestry land, water or
                                              governmental entity accredited by the                      Federal crop insurance means an                    hunting rights, or environmental
                                              USDA Secretary for the purpose of                       insurance policy reinsured by FCIC                    benefits;

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                                                 (5) Rental or lease of land or                       calendar years (the relevant years for the            limited liability company, limited
                                              equipment used for farming, ranching,                   2022 program year); and                               partnership, or similar type entity where
                                              or forestry operations, including water                    (2) A person whose total household                 members hold a legal ownership interest
                                              or hunting rights;                                      income was at or below the national                   and shares in the profits or losses of
                                                 (6) Processing, packing, storing, and                poverty level for a family of four in each            such entity is considered to have an
                                              transportation of farm, ranch, or forestry              of the 2019 and 2020 calendar years.                  ownership interest in such legal entity.
                                              commodities including for renewable                     Limited resource farmer or rancher                    A person or legal entity that is a
                                              energy;                                                 status can be determined using a                      beneficiary of a trust or heir of an estate
                                                 (7) Feeding, rearing, or finishing of                website available through the Limited                 who benefits from the profits or losses
                                              livestock;                                              Resource Farmer and Rancher Online                    of such entity is also considered to have
                                                 (8) Payments of benefits, including                  Self Determination Tool through the                   a beneficial ownership interest in such
                                              benefits from risk management                           Natural Resources Conservation Service                legal entity.
                                              practices, Federal crop insurance                       at https://lrftool.sc.egov.usda.gov.                     Person means an individual who is a
                                              indemnities, and catastrophic risk                         For an entity to be considered a                   natural person and does not include a
                                              protection plans;                                       limited resource farmer or rancher, all               legal entity.
                                                 (9) Sale of land that has been used for              members who hold an ownership                            PLC means the Price Loss Coverage
                                              agricultural purposes;                                  interest in the entity must meet the                  program (7 CFR part 1412).
                                                 (10) Benefits (including, but not                    criteria in paragraphs (1) and (2) of this               Premium means the premium paid by
                                              limited to, cost-share assistance and                   definition.                                           the producer for Federal crop insurance
                                              other payments) from any Federal                           LFP means the Livestock Forage                     coverage or NAP buy-up coverage
                                              program made available and applicable                   Disaster Program (7 CFR part 1416,                    levels.
                                              to payment eligibility and payment                      subpart C).                                              Producer means a person or legal
                                              limitation rules, as provided in 7 CFR                     MLG means marketing loan gains from                entity who was entitled to a share in the
                                              part 1400;                                              the Marketing Assistance Loan program                 eligible crop or would have shared had
                                                 (11) Income reported on IRS Schedule                 (7 CFR parts 1421, 1425, 1427, 1434,                  the eligible crop been produced.
                                              F or other schedule used by the person                  and 1435).                                               Production inputs mean material to
                                                                                                         Minor child means a person who is                  conduct farming operations, such as
                                              or legal entity to report income from
                                                                                                      under 18 years of age as of June 1, 2022.             seeds, chemicals, and fencing supplies.
                                              such operations to the IRS;
                                                                                                         MFP means the 2018 Market
                                                 (12) Wages or dividends received                                                                              Production services mean services
                                                                                                      Facilitation Program (7 CFR part 1409,
                                              from a closely held corporation, an                                                                           provided to support a farming
                                                                                                      subpart A) and the 2019 Market
                                              Interest Charge Domestic International                                                                        operation, such as custom farming,
                                                                                                      Facilitation Program (7 CFR part 1409,
                                              Sales Corporation (IC–DISC), or legal                                                                         custom feeding, and custom fencing.
                                                                                                      subpart B).
                                              entity comprised entirely of family                                                                              Qualifying disaster event means
                                                                                                         NAP means the Noninsured Crop
                                              members when more than 50 percent of                                                                          wildfires, hurricanes, floods, derechos,
                                                                                                      Disaster Assistance Program (7 CFR part
                                              the legal entity’s gross receipts for each                                                                    excessive heat, tornadoes, winter
                                                                                                      1437).
                                              tax year are derived from farming,                         NAP service fee means the fee the                  storms, freeze (including a polar vortex),
                                              ranching, and forestry activities as                    producer paid to obtain NAP coverage                  smoke exposure, excessive moisture,
                                              defined in this document; and                           specified in 7 CFR 1437.7.                            qualifying drought, and related
                                                 (13) Any other activity related to                      Non-specialty crop means a crop,                   conditions occurring in 2022.
                                              farming, ranching, or forestry, as                      under Track 1, that does not meet the                    Qualifying drought means an area
                                              determined by the Deputy                                definition of specialty crop. Note: The               within the county was rated by the U.S.
                                              Administrator.                                          term ‘‘non-specialty crop’’ does not                  Drought Monitor as having a drought
                                                 IRS means the Department of the                      apply to Track 2.                                     intensity of D2 (severe drought) for 8
                                              Treasury, Internal Revenue Service.                        On-Farm Storage Loss Program means                 consecutive weeks or D3 (extreme
                                                 LDP means the Loan Deficiency                        the On-Farm Storage Loss Program (7                   drought) or higher level for any period
                                              Payment programs (7 CFR parts 1421,                     CFR part 760, subpart P).                             of time during the applicable calendar
                                              1425, 1427, 1434, and 1435).                               Organic crop means a crop that is                  year.
                                                 Legal entity means a corporation, joint              grown on acreage certified by a                          QLA Program means the Quality Loss
                                              stock company, association, limited                     certifying agent as conforming to                     Adjustment Program (7 CFR part 760,
                                              partnership, limited liability company,                 organic standards (7 CFR part 205) and                subpart R).
                                              irrevocable trust, estate, charitable                   organically produced consistent with                     Related condition means damaging
                                              organization, general partnership, joint                section 2103 of the Organic Foods                     weather and adverse natural
                                              venture, or other similar organization                  Production Act of 1990 (7 U.S.C. 6502).               occurrences that occurred concurrently
                                              created under Federal or State law                         Other crop means, for Track 2, cotton,             with and as a direct result of a specified
                                              including any such organization                         peanuts, rice, feedstock, and any crop                qualifying disaster event. Related
                                              participating in a business structure as                grown with an intended use of grain,                  conditions include, but are not limited
                                              a partner in a general partnership, a                   silage, or forage, unless the crop meets              to:
                                              participant in a joint venture, a grantor               the requirements in paragraph (2) of the                 (1) Excessive wind that occurred as a
                                              of a revocable trust, or as a participant               definition of ‘‘high value crop.’’ Note:              direct result of a derecho;
                                              in a similar organization. A business                   The term ‘‘other crop’’ does not apply to                (2) Silt and debris that occurred as a
                                              operating as a sole proprietorship is                   Track 1.                                              direct and proximate result of flooding;
                                              considered a legal entity.                                 Ownership interest means to have                      (3) Excessive wind, storm surges,
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                                                 Limited resource farmer or rancher                   either a legal ownership interest or a                tropical storms, and tropical
                                              means a farmer or rancher who is both                   beneficial ownership interest in a legal              depressions that occurred as a direct
                                              of the following:                                       entity. For the purposes of                           result of a hurricane; and
                                                 (1) A person whose direct or indirect                administering ERP 2022, a person or                      (4) Excessive wind and blizzards that
                                              gross farm sales did not exceed                         legal entity that owns a share or stock               occurred as a direct result of a winter
                                              $189,200 in each of the 2019 and 2020                   in a legal entity that is a corporation,              storm.

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                                                 Socially disadvantaged farmer or                     Columbia, the Commonwealth of Puerto                    Track 1 Overview
                                              rancher means a farmer or rancher who                   Rico, and any other territory or                           Track 1 will provide a streamlined
                                              is a member of a group whose members                    possession of the United States.                        application process for eligible crop and
                                              have been subjected to racial, ethnic, or                  USDA means the U.S. Department of
                                                                                                                                                              tree losses during the 2022 or 2023 crop
                                              gender prejudice because of their                       Agriculture.
                                                                                                         U.S. Drought Monitor means the                       years 4 for which a producer had:
                                              identity as members of a group without                                                                              A Federal crop insurance policy
                                              regard to their individual qualities. For               system for classifying drought severity
                                                                                                                                                              that provided coverage for crop
                                              entities, at least 50 percent of the                    according to a range of abnormally dry
                                                                                                      to exceptional drought. It is a                         production losses or tree losses related
                                              ownership interest must be held by                                                                              to the qualifying disaster events and
                                              individuals who are members of such a                   collaborative effort between Federal and
                                                                                                      academic partners, produced on a                        received an indemnity 5 for a crop and
                                              group. Socially disadvantaged groups                                                                            unit, excluding:
                                              include the following and no others                     weekly basis, to synthesize multiple
                                                                                                      indices, outlooks, and drought impacts                  —crops with an intended use of
                                              unless approved in writing by the
                                                                                                      on a map and in narrative form. This                       grazing, 6
                                              Deputy Administrator:                                                                                           —livestock policies,
                                                 (1) American Indians or Alaskan                      synthesis of indices is reported by the
                                                                                                      National Drought Mitigation Center at                   —forage seeding,
                                              Natives;                                                                                                        —Margin Protection Plan policies
                                                 (2) Asians or Asian-Americans;                       http://droughtmonitor.unl.edu.
                                                                                                         Veteran farmer or rancher means a                       purchased without a base policy, 7
                                                 (3) Blacks or African Americans;
                                                                                                      farmer or rancher who has served in the                 —banana plants insured under the
                                                 (4) Hispanics or Hispanic Americans;
                                                 (5) Native Hawaiians or other Pacific                Armed Forces (as defined in 38 U.S.C.                      Hawaii Tropical Trees provisions, 8
                                              Islanders; and                                          101(10)) 2 and:                                            and
                                                 (6) Women.                                              (1) Has not operated a farm or ranch                 —policies issued in Puerto Rico; 9 or
                                                 Specialty crops means fruits, tree                   for more than 10 years; or                                  NAP coverage and received a NAP
                                              nuts, vegetables, culinary herbs and                       (2) Has obtained status as a veteran (as             payment for a crop and unit, excluding
                                              spices, medicinal plants, and nursery,                  defined in 38 U.S.C. 101(2)) 3 during the               crops with an intended use of grazing.
                                              floriculture, and horticulture crops. This              most recent 10-year period.                                The applicable Federal crop insurance
                                              includes common specialty crops                            For an entity to be considered a                     policies and NAP provide payments to
                                              identified by USDA’s Agricultural                       veteran farmer or rancher, at least 50                  producers for crop and tree losses due
                                              Marketing Service at https://                           percent of the ownership interest must                  to eligible causes of loss, as defined in
                                              www.ams.usda.gov/services/grants/                       be held by members who have served in                   the producer’s Federal crop insurance
                                              scbgp/specialty-crop and other crops as                 the Armed Forces and meet the criteria                  policy or NAP regulations and basic
                                              designated by the Deputy                                in paragraph (1) or (2) of this definition.             provisions. RMA and FSA are using
                                              Administrator. This term also includes                     WFRP means Whole-Farm Revenue                        data submitted by producers for Federal
                                              trees covered by Federal crop insurance                 Protection available through the FCIC,                  crop insurance or NAP purposes to
                                              policies included in Track 1.                           including coverage under the Micro                      calculate a producer’s eligible loss
                                                 STRP means the Seafood Trade Relief                  Farm Program.                                           under Track 1. The Track 1 payment
                                              Program (announced in the notice of                        WHIP+ means the Wildfires and                        calculation is intended to compensate
                                              funds availability published on                         Hurricanes Indemnity Program Plus (7                    eligible crop and tree producers for a
                                              September 14, 2020 (85 FR 56572)).                      CFR part 760, subpart O).                               percentage of that loss determined by
                                                 Substantial beneficial interest (SBI)                Producer Eligibility                                    the applicable ERP factor, which varies
                                              has the same meaning as specified in 7                                                                          based on the producer’s level of Federal
                                              CFR 457.8. For the purposes of ERP                         To be eligible for ERP 2022, a                       crop insurance or NAP coverage, as
                                              2022 Track 1, Federal crop insurance                    producer must meet all requirements                     described later in this document. To be
                                              records for ‘‘transfer of coverage, right to            described below for Track 1 or Track 2,                 eligible for payment under Track 1, a
                                              indemnity’’ are considered the same as                  as applicable, and be a:                                producer must have suffered a crop or
                                                                                                         (1) Citizen of the United States;                    tree loss that was caused, in whole or in
                                              SBIs.                                                      (2) Resident alien, which for purposes
                                                 Tree means a tall, woody plant having                                                                        part, by a qualifying disaster event.
                                                                                                      of ERP 2022 means ‘‘lawful alien’’ as
                                              comparatively great height, and a single                                                                        Because the amount of loss due to a
                                                                                                      defined in 7 CFR part 1400;
                                              trunk from which an annual crop is                         (3) Partnership organized under State
                                              produced for commercial market for                      law;
                                                                                                                                                                 4 The 2023 crop year is included because a

                                              human consumption, such as a maple                                                                              qualifying disaster event occurring in the 2022
                                                                                                         (4) Corporation, limited liability                   calendar year may have caused a loss of a crop
                                              tree for syrup, or papaya or orchard tree               company, or other organizational                        during the 2023 crop year, based on how ‘‘crop
                                              for fruit. It includes immature trees that              structure organized under State law;                    year’’ is defined in the applicable Federal crop
                                              are intended for commercial purposes.                      (5) Indian Tribe or Tribal                           insurance policy or NAP provisions.
                                              Nursery stock, banana and plantain                      organization, as defined in section 4(b)
                                                                                                                                                                 5 For purposes of Track 1, ‘‘indemnity’’ does not
                                                                                                                                                              include cottonseed endorsement payments, downed
                                              plants, and trees used for pulp or timber               of the Indian Self-Determination and                    rice endorsement payments, sugarcane crop
                                              are not considered eligible trees.                      Education Assistance Act (25 U.S.C.                     replacement endorsement payments, replant
                                                 Underserved farmer or rancher means                  5304); or                                               payments, or raisin reconditioning payments.
                                              a beginning farmer or rancher, limited                     (6) Foreign person or foreign entity                    6 Crops with an intended use of grazing are

                                              resource farmer or rancher, socially                                                                            covered under ELRP 2022.
                                                                                                      who meets all requirements as described                    7 While the majority of crop insurance policies
                                              disadvantaged farmer or rancher, or                     in 7 CFR part 1400.                                     cover an eligible crop loss, a small number do not
                                              veteran farmer or rancher.                                                                                      and are not eligible for ERP, including livestock
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                                                 Unit means the unit structure as                        2 The term ‘‘Armed Forces’’ means the United         policies, forage seeding, and margin policies.
                                              defined under the applicable Federal                    States Army, Navy, Marine Corps, Air Force, Space          8 While bananas are covered under crops, the

                                              crop insurance policy for insured crops                 Force, and Coast Guard, including the reserve           banana plants are not a tree, bush or a vine.
                                              or in 7 CFR 1437.9 for NAP-covered                      components.                                                9 Federal crop insurance policies issued in Puerto
                                                                                                         3 The term ‘‘veteran’’ means a person who served     Rico are not transmitted through the standardized
                                              crops.                                                  in the active military, naval, air, or space service,   Policy Acceptance and Storage System. Therefore,
                                                 United States means all 50 States of                 and who was discharged or released under                pre-filled applications cannot be automatically
                                              the United States, the District of                      conditions other than dishonorable.                     generated under Track 1.


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                                              qualifying disaster event cannot be                      for NAP-covered crops. Once the                              Producers must also certify on FSA–
                                              separated from the amount of loss                        corrected data have been received and                     523 that they will meet the requirement
                                              caused by other causes of loss covered                   processed by RMA and FSA, an updated                      to purchase Federal crop insurance or
                                              by some Federal crop insurance policies                  Track 1 application may be generated                      NAP coverage for the next 2 available
                                              or NAP, the Track 1 payment will be                      for the producer.                                         crop years, as described later in this
                                              based on the producer’s loss as long as                     For producers who received a Federal                   document. If multiple crops and units
                                              those losses were caused, in whole or in                 crop insurance indemnity for eligible                     are listed on an application and the
                                              part, by a qualifying disaster event.                    policies, the pre-filled application will                 producer only agrees to purchase
                                                Track 1 excludes losses to                             include:                                                  Federal crop insurance or NAP coverage
                                              aquacultural species for which the                           the producer’s physical State and                    for only some of the crops and units, a
                                              producer received a payment under                        county codes,                                             Track 1 payment will be issued only for
                                              ELAP to avoid providing duplicate                            unit numbers,                                        those crops and units for which the
                                              benefits for losses already at least                         crops, and                                           producer agrees to purchase Federal
                                              partially compensated for by ELAP. It                        crop years.                                          crop insurance or NAP coverage for the
                                              also excludes losses for which the                          For producers who received a NAP                       next 2 available crop years.
                                              producer received a Phase 1 payment                      payment, the pre-filled applications will
                                                                                                                                                                    The portion of the form for producers
                                              under the previous ERP.10                                include:
                                                In some situations, a producer may                                                                               who had Federal crop insurance will list
                                                                                                           the producer’s administrative State
                                              have received both a NAP payment for                                                                               the primary policy holder and all
                                                                                                       and county codes,
                                                                                                                                                                 producers with an SBI who have a
                                              a crop loss and an indemnity under a                         unit numbers,
                                                                                                                                                                 record established with FSA. If one or
                                              Federal crop insurance policy that is                        crop years,
                                              included in Track 1 to address the same                      pay crops, and                                       more producers with an SBI had a share
                                              loss. Examples of these policies include                     pay groups.                                          in a crop, the primary policy holder
                                              Rainfall Index plans for Annual Forage;                     FSA will also pre-fill the calculated                  must update the application to show the
                                              Pasture, Rangeland, and Forage; and                      Track 1 payment amounts, prior to any                     share in the crop for each of those
                                              Apiculture. In those situations, the                     payment reductions for reasons such as                    producers in addition to the primary
                                              producer must elect whether to receive                   payment limitation and factoring of                       policy holder. If the producer(s) are
                                              the Track 1 payment based only on the                    payments to stay within available                         determined to be eligible, payments will
                                              data associated with their Federal crop                  funding.                                                  be issued to the primary policy holder
                                              insurance indemnity or their NAP                            Receipt of a pre-filled application                    and to any eligible producers with an
                                              payment, but they cannot receive a                       form is not a confirmation that the                       SBI based on their ownership share of
                                              Track 1 payment based on both the crop                   producer is eligible to receive a Track 1                 the crop. To receive a payment, each
                                              insurance indemnity and NAP payment.                     payment. In order to receive a payment,                   person or entity that is listed as having
                                              This policy is necessary to avoid                        the producer must certify that their                      a share of the Track 1 payment for a
                                              compensating producers twice for the                     Federal crop insurance indemnity or                       crop and unit must sign the application
                                              same loss under Track 1.                                 NAP payment on which the Track 1                          and agree to purchase Federal crop
                                                                                                       payment will be based was due, in                         insurance or NAP coverage for that crop
                                              Track 1 Applications                                                                                               and unit.
                                                                                                       whole or in part, to a crop production
                                                  FSA and RMA will identify the                        loss or a tree loss caused by a qualifying                Track 1 Payment Calculation
                                              producers who meet the criteria                          disaster event. Producers are
                                              described above to apply for Track 1.                    responsible for reviewing the list of                        FSA and RMA will calculate Track 1
                                              For each of those producers, FSA will                    qualifying disaster events, and if a loss                 payments using the loss data on file
                                              generate an FSA–523, Emergency Relief                    was due to drought, producers must also                   with FSA or RMA at the time of
                                              Program (ERP) 2022 Track 1                               ensure that the county where the crop                     payment calculation or as later updated
                                              Application, with certain items pre-                     and unit was located meets the                            by FSA or RMA upon identification of
                                              filled with information already on file                  definition of ‘‘qualifying drought.’’ FSA                 an error in the data on file at time of
                                              with USDA, as listed below. Producers                    will provide a factsheet and other                        payment calculation. 12 The Track 1
                                              cannot alter the data in these pre-filled                materials to provide examples and more                    payment calculation for a crop and unit
                                              items; any alterations in the pre-filled                 details on the qualifying disaster events                 will depend on the type and level of
                                              data on the application will result in the               to assist producers (available through                    Federal crop insurance or NAP coverage
                                              producer’s Track 1 application being                     FSA county offices and at https://                        obtained by the producer. Crops covered
                                              considered incomplete and the                            www.fsa.usda.gov/programs-and-                            under a WFRP policy or included in a
                                              application will not be processed by                     services/emergency-relief/index).                         whole-farm unit will be treated as a
                                              FSA. FSA will not calculate Track 1                      Producers who received a Federal crop                     single crop for payment calculation
                                              payments using data manually                             insurance indemnity under a WFRP                          purposes. Separate payment limitations
                                              submitted by producers. Track 1                          policy or for a whole-farm unit must                      will apply to the portions of the
                                              payments will only be calculated using                   also certify to the percentage of their                   payments that are attributed to specialty
                                              data already on file with RMA and FSA.                   expected revenue or total liability for                   and to non-specialty crops, as described
                                              If a producer believes that any                          the unit, respectively, from specialty                    later in this document.
                                              information that has been pre-filled is                  crops for the purpose of administration                      Each payment calculation will use an
                                              incorrect, the producer should contact                   of ERP 2022 payment limitations. 11                       ERP factor based on the producer’s level
                                              their Federal crop insurance agent for
                                                                                                                                                                 of Federal crop insurance or NAP
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                                              insured crops or their FSA county office                    11 WFRP provides risk management safety for
                                                                                                                                                                 coverage for that eligible crop or tree, as
                                                                                                       specialty and non-specialty crops under one               specified in the following tables.
                                                 10 The previous ERP provided assistance for           Federal crop insurance policy. The producer
                                              eligible crop losses due to qualifying disaster events   certifies to the percentage of expected revenue or
                                              in calendar years 2020 and 2021. Phase 1 of that         total liability for the unit for specialty crops, which     12 Track 1 payments will be calculated using only

                                              program included 2022 crop year losses if the loss       results in the attribution of the specialty and non-      data on file with RMA and FSA. FSA will not
                                              was due, in whole or in part, to a qualifying disaster   specialty crop portions of the ERP 2022 payment to        calculate Track 1 payments using data manually
                                              event that occurred in the 2021 calendar year.           the separate payment limitations.                         submitted by producers.


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                                                    Federal crop insurance                       ERP factor        indemnities, RMA will use the                                 For another example, to apply
                                                       coverage level                              (%)             producer’s data that are already on file,                  progressive factoring to a calculated loss
                                                                                                                   which provide the necessary                                (after subtraction of indemnities) of
                                              Catastrophic coverage ..............                          75.0   information to determine the producer’s                    $430,000, FSA would multiply:
                                              More than catastrophic cov-                                                                                                         the first $2,000 by a factor of 100
                                                                                                                   amount of loss. Federal crop insurance
                                                erage but less than 55 per-
                                                                                                                   provides financial assistance for crop                     percent ($2,000  100% = $2,000),
                                                cent .......................................                80.0
                                              At least 55 percent but less                                         losses due to specified natural disasters                      the second $2,000 by a factor of 80
                                                than 60 percent .....................                       82.5   and uses a producer’s data to calculate                    percent ($2,000  80% = $1,600),
                                              At least 60 percent but less                                         a payment based on the type of Federal                         the third $2,000 by a factor of 60
                                                than 65 percent .....................                       85.0   crop insurance coverage elected by the                     percent ($2,000  60% = $1,200),
                                              At least 65 percent but less                                         producer. As previously discussed,                             the fourth $2,000 by a factor of 40
                                                than 70 percent .....................                       87.5   Track 1 is intended to compensate                          percent ($2,000  40% = $800),
                                              At least 70 percent but less                                         eligible crop and tree producers for a                         the fifth $2,000 by a factor of 20%
                                                than 75 percent .....................                       90.0
                                                                                                                   percentage of their loss determined by                     ($2,000  20% = $400), and
                                              At least 75 percent but less                                                                                                        the remaining $420,000 by a factor
                                                than 80 percent .....................                       92.5   the applicable ERP factor based on the
                                                                                                                                                                              of 10 percent ($420,000  10% =
                                              At least 80 percent ...................                       95.0   level of Federal crop insurance coverage
                                                                                                                                                                              $42,000).
                                                                                                                   purchased; therefore, RMA will
                                                                                                                                                                                 The sum of those calculations is
                                                                                                                   calculate each producer’s loss consistent
                                                                                                 ERP factor                                                                   $48,000, which is the calculated ERP
                                                      NAP coverage level                                           with the approved RMA loss procedures
                                                                                                   (%)                                                                        2022 payment after progressive
                                                                                                                   for the type of coverage purchased 13 but
                                                                                                                                                                              factoring.
                                              Catastrophic coverage ..............                          75.0   using the ERP factor. This calculated                         For underserved producers, the
                                              50 percent .................................                  80.0   amount will then be adjusted by                            producer’s share of the Federal crop
                                              55 percent .................................                  85.0   subtracting the gross Federal crop
                                              60 percent .................................                  90.0                                                              insurance administrative fee and
                                                                                                                   insurance indemnity.                                       premium will be added to the resulting
                                              65 percent .................................                  95.0      After calculating the producer’s loss
                                                                                                                                                                              sum. 15
                                                                                                                   and subtracting the gross Federal crop                        For all eligible crop producers, FSA
                                                 When determining the ERP factors,                                 insurance indemnity as described above
                                              analysis was conducted to ensure that                                                                                           will then apply a final payment factor
                                                                                                                   for each crop and unit, progressive                        of 75 percent, resulting in the
                                              payments do not exceed available                                     factoring 14 will be applied. Progressive
                                              funding and, in aggregateacross all                                                                                             producer’s calculated Track 1 payment.
                                                                                                                   factoring will be applied by payment                          For NAP-covered crops and trees,
                                              eligible crop and tree producers, do not
                                                                                                                   range, according to the table below, and                   FSA will use the producer’s crop
                                              exceed 90 percent of losses, as required
                                                                                                                   FSA will calculate the sum of each of                      production or inventory data that are
                                              by Title I of the Disaster Relief
                                                                                                                   those calculations.                                        already on file, which provides the
                                              Supplemental Appropriations Act,
                                              2023. The difference between the ERP                                                                                            necessary information to determine the
                                                                                                                                                                Progressive
                                              factors for Federal crop insurance and                                         Payment range                         factor     producer’s amount of loss. NAP
                                              NAP is due to differences in the                                                                                      (%)       provides financial assistance for crop
                                              available coverage levels under Federal                                                                                         losses due to specified natural disasters
                                              crop insurance and NAP. Federal crop                                 Up to $2,000 .............................          100    and uses a producer’s crop production
                                              insurance is available at the catastrophic                           $2,001 to $4,000 ......................              80    or inventory data to calculate a payment
                                                                                                                   $4,001 to $6,000 ......................              60    based on the level of NAP coverage
                                              coverage level (50 percent production
                                                                                                                   $6,001 to $8,000 ......................              40    elected by the producer. As previously
                                              coverage of 55 percent of the price) and                             $8,001 to $10,000 ....................               20
                                              buy-up coverage levels (50 percent to 85                             Over $10,000 ............................            10
                                                                                                                                                                              discussed, ERP 2022 is intended to
                                              percent of the production for 100                                                                                               compensate eligible crop and tree
                                              percent of the price). The coverage level                              For example, to apply progressive                        producers for a percentage of loss
                                              for NAP is limited by law to a maximum                               factoring to a calculated loss (after                      determined by the applicable ERP factor
                                              of 65 percent buy-up coverage. For both                              subtraction of indemnities) of $5,000,                     based on their NAP coverage level;
                                              NAP and Federal crop insurance, the                                  FSA would multiply:
                                              ERP payment factor for the catastrophic                                 the first $2,000 by a factor of 100
                                                                                                                                                                                 15 Providing a refund of underserved producers’

                                              and maximum buy-up levels are 75                                                                                                premiums and fees supports the equitable
                                                                                                                   percent ($2,000  100% = $2,000),                         administration of FSA programs by targeting
                                              percent and 95 percent, respectively,                                   the second $2,000 by a factor of 80                    limited resources to support underserved farmers
                                              with the ERP factors stair-stepping for                              percent ($2,000  80% = $1,600), and                      and ranchers, who are more likely to lack financial
                                              the buy-up options in-between as shown                                  the remaining $1,000 by a factor of                    reserves and access to capital to invest in future risk
                                              in the tables above. Title I of the                                                                                             protection while coping with losses due to
                                                                                                                   60 percent ($1,000  60% = $600).                         unexpected events outside of their control. The
                                              Disaster Relief Supplemental                                           The sum of those calculations is                         refund of premiums and fees for these more-often
                                              Appropriations Act, 2023, provides that                              $4,200, which is the calculated ERP                        vulnerable and smaller operations who often lack
                                              payments to eligible crop and tree                                   2022 payment after progressive                             financial resources supports access to higher levels
                                              producers who did not have Federal                                   factoring.                                                 of coverage available through Federal crop
                                                                                                                                                                              insurance or NAP. This approach is consistent with
                                              crop insurance or NAP coverage cannot                                                                                           the intent to provide reduced service fees and
                                              exceed 70 percent of their loss. The                                    13 For example, ERP 2022 for Area Risk Protection
                                                                                                                                                                              premium reductions to underserved farmers and
                                              lowest ERP factor for eligible crop and                              Insurance (ARPI) and Stacked Income Protection             ranchers for other FSA programs as authorized by
                                              tree producers who had Federal crop                                  (STAX) is based on area-wide (for example, county)         law. NAP provides a reduced service fee and
                                                                                                                   production losses.                                         premium for underserved farmers and ranchers (7
                                              insurance or NAP is set at 75 percent.
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                                                                                                                      14 Progressive factoring is a mechanism that            U.S.C. 7333(k)(2) and 7 U.S.C. 7333(l)(3)). In
                                              Payment limits and other reductions                                  ensures the limited available funding is distributed       addition, Federal crop insurance provides an
                                              will result in reducing ERP 2022                                     in a manner benefitting the majority of producers          administrative fee waiver for limited resource
                                              payments, further lowering the percent                               rather than a few. Additionally, progressive               farmers, beginning farmers or ranchers, and veteran
                                                                                                                   factoring increases emergency relief payments to           farmers or ranchers; and offers a premium reduction
                                              of losses covered.                                                   most participants while reducing larger potential          for beginning farmers or ranchers and veteran
                                                 For eligible crop producers who                                   payments which increases the proportion of                 farmers or ranchers (7 U.S.C. 1508(b)(5)(E)(i) and 7
                                              received Federal crop insurance                                      funding provided to smaller producers.                     U.S.C. 1508(e)(8)).


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                                              therefore, FSA will perform a                             been processed and payments have been                   disaster year revenue, as compared to a
                                              calculation that is consistent with the                   issued, FSA may issue an additional                     benchmark year revenue, that was due
                                              NAP payment calculation for the pay                       payment, not to exceed the maximum                      to necessary expenses associated with
                                              crop and unit, as provided in 7 CFR part                  amount allowed by law.                                  losses of eligible crops due in whole or
                                              1437, but using the ERP factor in the                                                                             in part to a qualifying disaster event that
                                                                                                        Track 2 Overview
                                              table above applicable to the producer’s                                                                          occurred in the 2022 calendar year.
                                              NAP coverage level as the applicable                         Track 2 will provide assistance for                  Track 2 provides 2 options for
                                              guarantee in those calculations. For                      eligible revenue, production, and                       determining the benchmark and disaster
                                              example, the guarantee for a producer                     quality losses of eligible crops not                    year revenues:
                                              that had purchased 60 percent NAP                         included in Track 1. FSA has                                The tax year option, which allows
                                              coverage would be adjusted and                            determined that the best estimation of                  producers to use certain information
                                              recalculated based on a 90 percent ERP                    such losses is a producer’s decrease in                 located in their tax records to apply for
                                              factor. The calculated amount using the                   disaster year revenue compared to a                     Track 2;19 or
                                              ERP factor would then be adjusted by                      benchmark year revenue, where
                                                                                                        benchmark year revenue represents a                         The expected revenue option,
                                              subtracting the producer’s gross NAP                                                                              which is intended to better address
                                              payment. 16 For underserved producers,                    producer’s revenue prior to the impact
                                                                                                        of the qualifying disaster event. This                  situations such as a change in operation
                                              the producer’s share of the NAP service                                                                           capacity 20 in the disaster year, as
                                              fees and premium will be added to the                     difference in revenue will reflect losses
                                                                                                        in both production and quality due in                   compared to the 2018 or 2019
                                              result of that calculation. 17                                                                                    benchmark year; the 2018 and 2019 tax
                                                                                                        whole or in part to qualifying disaster
                                                 The calculated amount for NAP-                         events without requiring the more                       years not reasonably reflecting a normal
                                              covered crops will not be subject to the                  extensive calculations and                              year’s revenue for reasons including
                                              progressive factoring 18 that applies to                  documentation required under some                       losses due to disaster events in 2018 and
                                              ERP 2022 payments based on Federal                        previous FSA programs addressing crop                   2019 or changes in crop prices; or
                                              crop insurance indemnities; however, it                   losses due to disaster events. Decreases                production of crops that do not generate
                                              will be multiplied by a final payment                     in disaster year revenue compared to                    revenue for the producer directly from
                                              factor of 75 percent to ensure that total                 benchmark revenue also reflect a                        the sale of the crop (for example, forage
                                              payments do not exceed the available                      producer’s loss due to a qualifying                     fed to livestock or grapes used by the
                                              funding.                                                  disaster event regardless of whether the                producer to make wine).
                                                 FSA will issue Track 1 payments as                     loss occurs before harvest or after                        The following table summarizes
                                              applications are processed and                            harvest while the crop is in storage,                   benchmark and disaster year revenue for
                                              approved. All ERP 2022 payments are                       further streamlining the delivery of                    the 2 options. Sources of revenue to be
                                              subject to the availability of funding. If                assistance.                                             included in allowable gross revenue,
                                              additional funding is available after all                    To be eligible for Track 2, a producer               expected revenue, and actual revenue
                                              eligible ERP 2022 applications have                       must certify that they suffered a loss in               are explained below in greater detail.

                                                         Option                                    Benchmark year revenue                                              Disaster year revenue

                                              Tax Year .......................   A producer’s allowable gross revenue for the 2018 or               A producer’s allowable gross revenue for the 2022 or
                                                                                   2019 tax year, as elected by the producer.                         2023 tax year, as elected by the producer.
                                              Expected Revenue .......           A producer’s expected revenue from all eligible crops that         A producer’s actual revenue from all eligible crops that
                                                                                   could have been affected by a qualifying disaster event            were included in the producer’s expected revenue.
                                                                                   in calendar year 2022.



                                                Although most producers may choose                      as their representative disaster year to                new producer with no benchmark year
                                              between the 2 options when applying                       ensure that they are not paid for the                   revenue in 2018 or 2019, or produced
                                              for Track 2, there are two situations that                same loss under both programs, as those                 any crop or crops that did not generate
                                              require a producer to use a specific                      producers had previously certified that                 revenue directly from the sale of the
                                              option:                                                   2022 losses were the result of 2021                     crop and that the producer uses within
                                                 Situation 1: Producers who                            disaster events.21                                      their ordinary operation.
                                              received a payment under the previous                        Situation 2: Producers, except those                  Producers who had an increase in
                                              ERP for the 2021 disaster year and                        described in Situation 1, must use the                  operation capacity may elect either the
                                              elected the 2022 tax year for their                       expected revenue option if they had a                   tax year option or the expected revenue
                                              representative disaster year for Phase 2                  decrease in operating capacity during                   option; however, they may not adjust
                                              can only apply for Track 2 using the tax                  their disaster year, as compared to the                 benchmark year revenue under the tax
                                              year option, and they must select 2023                    2018 or 2019 benchmark year, were a                     year option to reflect the change, which
                                                 16 The gross NAP payment is the amount                    18 Progressive factoring will not apply to ERP           20 Change in operation capacity does not include

                                              calculated according to 7 CFR part 1437, prior to         Track 1 payments calculated based on NAP                crop rotation from year to year, changes in farming
                                              any payment reductions for reasons including, but         payments as they traditionally support smaller          practices such as converting from conventional
                                              not limited to, sequestration, payment limitation,        producers and non-traditional crops. Non-               tillage to no-till, or changing the amount of
                                              and average AGI limitations.                              traditional crops are not typically covered by          fertilizers or chemicals used.
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                                                 17 See footnote 15. NAP service fees are waived
                                                                                                        Federal crop insurance products so the higher               21 Producers applying for Phase 2 of the previous
                                                                                                        levels of coverage and risk protection under Federal    ERP for losses due to qualifying disaster events in
                                              for producers with a CCC–860 certification of             crop insurance are not available to offset losses for   the 2021 calendar year selected either the 2021 or
                                              underserved status on file; however, if an                producers of those crops in times of disaster.          2022 tax year as the applicable disaster year.
                                              underserved producer did not previously file CCC–            19 The tax year option is similar to the approach    Producers who selected the 2022 tax year have
                                              860 to receive a service fee waiver, but files one        used in Phase 2 of the previous ERP, which              already been compensated for their 2022 tax year
                                              now, their service fee will be added in the Track         provided assistance for crop losses due to disaster     losses, but may select the 2023 tax year for the
                                              1 payment calculation.                                    events in 2020 and 2021.                                disaster year for Track 2.


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                                              is likely to result in a lower Track 2                     (7) NAP payments for eligible crops,                  Form FSA–524–A, Emergency Relief
                                              payment because the 2018 or 2019 tax                    minus the amount of service fees and                   Program (ERP) 2022 Track 2 Tax Year
                                              year would not accurately reflect their                 premiums;                                              Revenue Worksheet, is an optional form
                                              expected revenue at their 2022                             (8) Proceeds for eligible crops under               that producers may use to assist in
                                              operating capacity.                                     private insurance policies;                            determining their allowable gross
                                                 Producers must use the same option                      (9) Payments issued through grant                   revenue. It is available at https://
                                              to calculate both the benchmark year                    agreements with FSA for losses of                      www.fsa.usda.gov/programs-and-
                                              revenue and disaster year revenue. For                  eligible crops;                                        services/emergency-relief/index.
                                              example, a producer who uses the                           (10) Grants from the Department of
                                                                                                      Commerce, National Oceanic and                         Track 2 Tax Year Option Special
                                              expected revenue option for the
                                                                                                      Atmospheric Administration (NOAA)                      Provisions for Certain Producers
                                              benchmark year must also use the actual
                                              revenue option for the disaster year;                   and State program funds providing                         As stated above, producers who
                                              they cannot use 2022 or 2023 tax year                   direct payments for the loss of eligible               received a payment under the previous
                                              revenue for the disaster year.                          crops or the loss of revenue from                      ERP for the 2021 program year and
                                                                                                      eligible crops;                                        elected the 2022 tax year for their
                                              Track 2 Tax Year Option                                    (11) Other revenue directly related to              representative disaster year revenue are
                                                 Producers who use the tax year option                the production of eligible crops that the              required to use the tax year option for
                                              for Track 2 will select 2018 or 2019 for                IRS requires the producer to report as                 Track 2, and they must use the 2023 tax
                                              their benchmark year revenue and 2022                   income, such as commodity-specific                     year for disaster year revenue.
                                              or 2023 as their representative year for                income received from State or local                       Those producers must certify to an
                                              the disaster year revenue and will                      governments and net gain from hedging;                 allowable gross revenue for the
                                              certify to their allowable gross revenue                and                                                    benchmark year that they adjusted if the
                                              for those years. Allowable gross revenue                   (12) For the disaster year only, ERP                producer had a decreased operation
                                              is based on the year for which the                      2022 Track 1 payments issued to                        capacity in a disaster year for which
                                              revenue would be reported for the                       another person or entity for the                       they are applying for ERP Track 2,
                                              purpose of filing a tax return, except for              producer’s share of an eligible crop,                  compared to the benchmark year. Those
                                              the ERP 2022 Track 1 payments                           regardless of the tax year in which the                producers may certify to an allowable
                                              specified below. Producers who file or                  payment would be reported to the IRS.22                gross revenue that they adjusted for the
                                              would be eligible to file a joint tax                      Allowable gross revenue does not                    benchmark year on FSA–524 if either of
                                              return will certify their allowable gross               include revenue from sources other than                the following apply:
                                              revenue based on what it would have                     those listed above, including but not                     (1) The producer did not have a full
                                              been had they filed taxes separately for                limited to, revenue from:                              year of revenue for 2018 or 2019; or
                                              the applicable year.                                       (1) Federal assistance programs not                    (2) The producer had expanded their
                                                 Allowable gross revenue includes                     included above;                                        operation capacity in the disaster year
                                                                                                         (2) Sales of livestock, animal by-                  compared to the benchmark year.
                                              revenue from:
                                                                                                      products, and any commodities that are                    Change in operation capacity does not
                                                 (1) Sales of eligible crops produced by
                                                                                                      excluded from ‘‘eligible crops;’’                      include crop rotation from year to year,
                                              the producer, which includes sales                         (3) Resale items not held for                       changes in farming practices such as
                                              resulting from value added through                      characteristic change;                                 converting from conventional tillage to
                                              post-production activities (for example,                   (4) Income from a pass-through entity               no-till, or increasing the rate of
                                              sales of jam from the processing of                     such as an S Corp or limited liability                 fertilizers or chemicals.
                                              strawberries) that were reportable on                   company;                                                  If requested by FSA, producers are
                                              IRS Schedule F;                                            (5) Conservation program payments;                  required to submit documentation to
                                                 (2) Sales of eligible crops a producer                  (6) Any pandemic assistance                         FSA to support their adjustments within
                                              purchased for resale that had a change                  payments that were not for the loss of                 30 calendar days of the request. The
                                              in characteristic due to the time held                  eligible crops or the loss of revenue                  documentation to support an
                                              (for example, a plant purchased at a size               from eligible crops including, but not                 adjustment due to a change in operation
                                              of 2 inches and sold as an 18-inch plant                limited to, the Pandemic Livestock                     capacity must show that the adjustment
                                              after 4 months), less the cost or other                 Indemnity Program, Pandemic                            to the producer’s benchmark year
                                              basis of such eligible crops;                           Assistance for Timber Harvesters and                   revenue is due to:
                                                 (3) Cooperative distributions directly               Haulers, and Spot Market Hog Pandemic                     (1) An addition or decrease in
                                              related to the sale of the eligible crops               Program;                                               production capacity of the farming
                                              produced by the producer, such as                          (7) Custom hire income;                             operation;
                                              patronage paid to producers for gross                      (8) Net gain from speculation;                         (2) An increase or decrease in the use
                                              grain sales;                                               (9) Wages, salaries, tips, and cash                 of existing production capacity; or
                                                 (4) Benefits for eligible crops under                rent;                                                     (3) Physical alterations that were
                                              the following agricultural programs:                       (10) Rental of equipment or supplies;               made to existing production capacity.
                                              2017 WHIP, ARC and PLC, BCAP,                           and                                                       If a producer did not have allowable
                                              CFAP, ELAP (for aquaculture crops),                        (11) Acting as a contract producer of               gross revenue in a benchmark year
                                              ERP Phases 1 and 2, LDP, MLG, MFP,                      an agricultural commodity.                             because they began farming in 2020 or
                                              the On-Farm Storage Loss Program,                                                                              later, the producer may adjust
                                              Pandemic Assistance Revenue Program,                        22 Track 1 allows producers who received pre-
                                                                                                                                                             benchmark year revenue on FSA–524
                                              QLA Program, STRP, and WHIP+;                           filled application forms to indicate shares in the
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                                                                                                      crop. In some cases, payment for a producer’s share    that represents the producer’s
                                                 (5) Commodity Credit Corporation                     of a crop may have been issued to a different person   reasonably expected disaster year
                                              loans for eligible crops, if treated as                 or entity than the producer applying for a related     revenue prior to the impact of the
                                              income and reported to the IRS;                         revenue loss under Track 2. Applications for Track     qualifying disaster event.
                                                                                                      2 must include any Track 1 payments issued to
                                                 (6) Federal crop insurance proceeds                  another person or entity for the producer’s share of
                                                                                                                                                                If requested by FSA, documentation
                                              for eligible crops, minus the amount of                 an eligible crop in order to prevent duplicate         required to support a producer’s
                                              administrative fees and premiums;                       benefits being issued for the same loss.               certification must be provided within 30

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                                              calendar days of FSA’s request, or the                  a producer’s payment, and it does not                     ARC and PLC prices and yields 25
                                              producer will be considered ineligible                  cover crops that were sold by a                           cooperative extension service and
                                              for ERP Track 2. Acceptable                             producer.                                             university data,
                                              documentation must be generated in the                     These adjustment provisions only                       financial institute documentation,
                                              ordinary course of business and dated                   apply to producers that received a                    and
                                              prior to the impact of the qualifying                   payment under the previous ERP for the                    National Agricultural Statistics
                                              disaster event and includes, but is not                 2021 program year based on the 2022                   Service data.
                                              limited to:                                             tax year for their representative disaster               The producer must maintain
                                                 (1) Financial documents such as a                    year revenue because those producers                  sufficient documentation to support that
                                              business plan or cash flow statement                    must use the tax year option. All other               their projection is reasonable and
                                              that demonstrate an expected level of                   producers that would require such                     realistic; that documentation must be
                                              revenue;                                                adjustments must use the expected                     available if requested.
                                                 (2) Sales contracts or purchase                      revenue option, as previously explained                  Actual disaster year revenue for the
                                              agreements; and                                         in this document.                                     expected revenue option is equal to the
                                                 (3) Documentation supporting                                                                               actual revenue from all crops that were
                                              production capacity, use of existing                    Track 2 Expected Revenue Option
                                                                                                                                                            included in the producer’s expected
                                              production capacity, or physical                           As mentioned above, for Track 2, as                revenue. Actual disaster year revenue
                                              alterations that demonstrate production                 an alternative to using the tax year                  includes:
                                              capacity.                                               option, a producer may certify to a                       Revenue from sales of eligible
                                                 Producers who received a payment                     benchmark year revenue that represents                crops;
                                              under the previous ERP for the 2021                     the producer’s reasonably expected                        Federal crop insurance indemnities
                                              program year and elected the 2022 tax                   revenue prior to the impact of the                    for eligible crops, minus premiums and
                                              year for their representative disaster                  qualifying disaster event, as well as                 administrative fees;
                                              year must also include in the allowable                 their actual disaster year revenue. The                   NAP payments for eligible crops,
                                              gross revenue a value for certain crops,                producer’s total expected revenue must                minus premiums and service fees;
                                              when and as determined by the Deputy                    include all eligible crops that could                     Indemnities for eligible crops under
                                              Administrator, that they produced that                  have been affected by a qualifying                    private crop insurance policies;
                                              did not generate revenue directly from                  disaster event in calendar year 2022,
                                              the sale of the crop and that the                                                                                 The value of eligible crops
                                                                                                      including crops prevented from being                  produced but not sold (such as crops in
                                              producer uses within their ordinary                     planted, planted crops (including
                                              operation. This would include, for                                                                            storage or inventory, or fed to the
                                                                                                      annual, perennial, and inventory), and                producer’s livestock);
                                              example, wine makers who grow their                     crops that were in storage. It does not
                                              own wine grapes and process those                                                                                 FSA Payments issued for 2022
                                                                                                      include revenue from crop by-products,                calendar year disaster losses, including
                                              grapes into wine and producers of                       such as cotton seed and corn stalks.
                                              forage crops who store the crop to feed                                                                       but not limited to payments under:
                                                                                                      Expected revenue will be based on:                       Æ ELAP for aquaculture crops,
                                              to livestock on their farm. These                           For perennial, planted, and
                                              producers would not have revenue from                                                                            Æ ARC,
                                                                                                      prevented planted yield-based crops,                     Æ LDP,
                                              the sale of the portion of their crop used              the producer’s expected acres
                                              for these purposes. The determination                                                                            Æ MLG,
                                                                                                      multiplied by their expected yield per                    Net gains from hedging from
                                              that producers may include a crop’s                     acre, multiplied by the expected price;
                                              value is at the Deputy Administrator’s                                                                        eligible crops produced;
                                                                                                          For inventory crops, the total                       Grants from NOAA and State
                                              discretion. Wine grapes used to process                 inventory prior to the impact of the
                                              grapes into wine, forage crops that are                                                                       programs for the direct loss of eligible
                                                                                                      qualifying disaster event multiplied by               crops or the loss of revenue for eligible
                                              stored and fed to livestock, and certain                the expected price; and
                                              other crops, as listed on the FSA                                                                             crops; and
                                                                                                          For crops in storage, the producer’s                 Other revenue directly related to
                                              website at https://www.fsa.usda.gov/                    production in storage multiplied by the
                                              programs-and-services/emergency-                                                                              the production of eligible crops that IRS
                                                                                                      expected price.                                       requires the producer to report as
                                              relief/index, have been determined by                      Expected revenue must be based on
                                              the Deputy administrator to qualify for                                                                       income.
                                                                                                      realistic projections that can be
                                              including the crop’s value.                                                                                      For crops produced in the 2022 or
                                                                                                      supported by acceptable documentation
                                                 The value of the eligible crop reported                                                                    2023 crop years but not sold, the value
                                                                                                      of expected inventory, acres, yield, and
                                              in the producer’s allowable gross                                                                             included in actual disaster year revenue
                                                                                                      unit price, such as the following:
                                              revenue will be based on the producer’s                     sales contracts,                                 may differ from the expected revenue
                                              actual production of the crop and a                         purchase agreements,                             for the crops due to market price
                                              price for the crop based on the best                        market agreements,                               fluctuations between planting and time
                                              available data for each crop, such as                       settlement sheets,                               of marketing, quality losses, or
                                              published price data for the crop 23 or                     scale tickets,                                   production losses related to qualifying
                                              the average price obtained by other                         lease agreements,                                disaster events occurring in the 2022
                                              producers in the area, as determined by                     local market prices,                             calendar year. Crops in storage from
                                              the Deputy Administrator and                                FCIC established yield and prices,               2021 or earlier must use the expected
                                              published through guidance on FSA’s                         Federal crop insurance documents,                price to calculate the value included in
                                              website. This provision is intended to                      historical yield data,                           actual disaster year revenue if the crop
                                              address a gap in how crop losses in                         appraisals,                                      remains in storage at the time of
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                                              these situations may be accounted for in                    farm business plans,                             application since ERP 2022 does not pay
                                                                                                          acreage reports,
                                                 23 Published sources of price data that the Deputy
                                                                                                          FSA National Crop Table (NCT)                    assistance-program/noninsured-crop-disaster-
                                              Administrator may consider include, but are not         data,24                                               assistance/index.
                                              limited to, FCIC-established prices, FSA-established                                                             25 ARC and PLC information is available at

                                              NCT prices, and National Agricultural Statistic          24 NCT data are available at https://                https://www.fsa.usda.gov/programs-and-services/
                                              Service prices.                                         www.fsa.usda.gov/programs-and-services/disaster-      arcplc program/arcplc-program-data/index.


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                                              for market fluctuations for prior year                    Step 3 The sum of the producer’s                         producer’s calculated Track 2 payment
                                              crops.                                                  gross Track 1 payments. 26                                 will be equal to the lesser of the
                                                Form FSA–524–B, Emergency Relief                        After performing the calculation                         resulting amount or the amount
                                              Program (ERP) 2022 Track 2 Expected                     described above, progressive factoring 27                  calculated after step 3 above.28 For all
                                              Revenue Worksheet, is an optional form                  will be applied to the calculated amount                   other eligible producers, the sum of the
                                              that producers may use to assist in                     according to the table below.                              results for each range will be the
                                              calculating their expected and actual                                                                              calculated Track 2 payment. FSA will
                                              revenue. It is available at https://                                                                 Progressive   multiply that amount by the percentage
                                                                                                                Payment range                         factor     of the expected disaster year revenue for
                                              www.fsa.usda.gov/programs-and-                                                                           (%)
                                              services/emergency-relief/index.                                                                                   specialty and high value crops or other
                                                                                                      Up to $2,000 .............................          100    crops, as applicable, to determine the
                                              Track 2 Applications                                    $2,001 to $4,000 ......................              80    amounts that will apply to the payment
                                                 Producers applying for Track 2 must                  $4,001 to $6,000 ......................              60    limitations for specialty and high value
                                              submit FSA–524, Emergency Relief                        $6,001 to $8,000 ......................              40    crops (combined) and other crops.
                                                                                                      $8,001 to $10,000 ....................               20       For example, the amount calculated
                                              Program (ERP) 2022 Track 2                              Over $10,000 ............................            10    after step 3 above is $430,000 and is
                                              Application, certifying their benchmark
                                                                                                                                                                 reduced to $48,000 after progressive
                                              year revenue and disaster year revenue.                    For example, to apply progressive                       factoring. For an underserved producer,
                                              The FSA–524 Appendix provides a                         factoring to a calculated loss of $5,000,                  FSA would multiply $48,000 times 115
                                              guide for what should be included as                    FSA would multiply:                                        percent which equals $55,200 which is
                                              applicable revenue for the option                           the first $2,000 by a factor of 100                   less than the max payment amount of
                                              elected by the producer. In addition, all               percent ($2,000  100% = $2,000),                         $430,000. The producer certified to 50
                                              producers applying for Track 2 must                         the second $2,000 by a factor of 80                   percent of expected revenue as being
                                              submit FSA–525, Crop Insurance and/or                   percent ($2,000  80% = $1,600), and                      from specialty crops. FSA would
                                              NAP Coverage Agreement, by the                              the remaining $1,000 by a factor of                   multiply $55,200 times 50 percent
                                              application deadline to have a complete                 60 percent ($1,000  60% = $600).                         which equals $27,600 gross payment
                                              application on file.                                        The sum of those calculations is                      attributed to specialty crops. FSA would
                                                 For the purpose of administration of                 $4,200.                                                    subtract $27,600 from $55,200 which
                                              the ERP 2022 payment limitations,                          For another example, to apply                           equals $27,600 gross payment attributed
                                              producers applying for Track 2 must                     progressive factoring to a calculated loss                 to other crops. The producer’s total
                                              certify to the percentage of their disaster             of $430,000, FSA would multiply:                           payment is $55,200 ($27,600 + $27,600
                                              year revenue from specialty and high                        the first $2,000 by a factor of 100                   = $55,200). FSA will apply a final
                                              value crops combined, and from other                    percent ($2,000  100% = $2,000),                         payment factor of 75 percent to all
                                              crops on their application. The                             the second $2,000 by a factor of 80                   calculated Track 2 payments, including
                                              percentages certified must be equal to                  percent ($2,000  80% = $1,600),                          payments to underserved producers, to
                                              the percentages that the producer would                     the third $2,000 by a factor of 60                    ensure payments do not exceed
                                              have reasonably expected to receive for                 percent ($2,000  60% = $1,200),                          available funding.
                                              the disaster year if not for the qualifying                 the fourth $2,000 by a factor of 40                      If a producer receives a Track 1
                                              disaster event. Producers must also                     percent ($2,000  40% = $800),                            payment after their Track 2 payment is
                                              certify to whether all acreage of all                       the fifth $2,000 by a factor of 20%                   calculated, the producer’s Track 2
                                              eligible crops (including crops grown,                  ($2,000  20% = $400), and                                payment will be recalculated and the
                                              prevented from being planted, and in                        the remaining $420,000 by a factor                    producer must refund any resulting
                                              storage or inventory in the disaster year)              of 10 percent ($420,000  10% =                           overpayment.
                                              were covered by Federal crop insurance                  $42,000).                                                     FSA will issue Track 2 payments as
                                              or NAP, for the purpose of determining                     The sum of those calculations is                        applications are processed and
                                              the applicable ERP factor, as explained                 $48,000, which is the gross ERP 2022                       approved. All ERP 2022 payments are
                                              below.                                                  payment after progressive factoring.                       subject to the availability of funding. If
                                                                                                         FSA will calculate the total of the                     additional funding is available after ERP
                                                 If requested by FSA, documentation                   results for each range above. For
                                              required to support a producer’s                        underserved producers, the sum of the                         28 Underserved producers will receive an increase
                                              certifications of revenue and other                     results will be multiplied by a factor of                  to their Track 2 payment that is equal to 15 percent
                                              information provided on the application                 115 percent, and the underserved                           of the gross Track 2 payment after progressive
                                              must be submitted within 30 calendar                                                                               factoring not to exceed the calculated Track 2
                                              days of FSA’s request, or the producer                     26 The gross ERP Track 1 calculated payment is
                                                                                                                                                                 payment before progressive factoring. FSA
                                                                                                                                                                 calculates payments based on a higher payment
                                              will be considered ineligible for Track 2.              the calculated payment amount after all applicable         factor for underserved farmers and ranchers (or
                                                                                                      factoring and prior to any payment reductions for          specific groups included in that term) in several
                                              Track 2 Payment Calculation                             reasons including, but not limited to, sequestration       programs, such as Emergency Conservation
                                                                                                      and payment limitation.                                    Program, ELAP, and the Tree Assistance Program.
                                                 To determine a producer’s Track 2                       27 Track 2 applies progressive factoring in a
                                                                                                                                                                 FSA has also used higher payment factors for these
                                              payment amount, FSA will calculate:                     manner consistent with the progressive factoring of        producers in several recently announced programs:
                                                 Step 1 The producer’s benchmark year                 Track 1 payments based on Federal crop insurance           the Food Safety Certification for Specialty Crops
                                                                                                      indemnified losses. Track 2 assistance is calculated       Program, the Organic and Transitional Education
                                              revenue, multiplied by the ERP factor of                based on a decrease in disaster year revenue for           and Certification Program, Pandemic Assistance
                                              90 percent if all acres of all eligible                 eligible revenue, production, and quality losses of        Revenue Program, and the previous ELRP and ERP
                                              crops were covered by Federal crop                      eligible insured, non-insurable, and uninsured             programs for qualifying disaster events in calendar
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                                              insurance or NAP, or 70 percent if not                  crops not included in Track 1. While Track 1               years 2020 and 2021. In addition, NAP provides a
                                                                                                      payments based on NAP payments are not subject             reduced service fee and premium for underserved
                                              all acres of all eligible crops were                    to progressive factoring, Track 2 assistance is            farmers and ranchers. This approach supports the
                                              covered by Federal crop insurance or                    calculated based on the overall decrease in disaster       equitable administration of FSA programs, as
                                              NAP; minus                                              year revenue and does not calculate assistance             underserved farmers and ranchers are more likely
                                                                                                      independently for insured crops and NAP crops in           to lack financial reserves and access to capital that
                                                 Step 2 The producer’s disaster year                  a manner similar to Track 1; therefore, progressive        would allow them to cope with losses due to
                                              revenue; minus                                          factoring is applied to all Track 2 payments.              unexpected events outside of their control.


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                                              2022 payments are issued, FSA may                       Beginning and Veteran Farmer or                        forestry related activities and the
                                              issue an additional payment, not to                     Rancher Certification, applicable for the              participant provides the required
                                              exceed the maximum amount allowed                       2022 program year; 29 or                               certification and documentation, as
                                              by law as explained below.                                  Form FSA–510, Request for an                      discussed below, the person or legal
                                                                                                      Exception to the $125,000 Payment                      entity, other than a joint venture or
                                              Applying for ERP 2022                                   Limitation for Certain Programs,                       general partnership, is eligible to
                                                  FSA expects to begin mailing Track 1                including the certification from a                     receive, directly or indirectly, up to:
                                              application forms on or around                          certified public accountant or attorney                    $900,000 for specialty crops under
                                              November 8, 2023, to producers who                      that the person or legal entity has met                Tracks 1 and 2 and high value crops
                                              received Federal crop insurance                         the requirements to be eligible for the                under Track 2 combined; and
                                              indemnities, and to begin mailing forms                 increased payment limitation, for a                        $250,000 for non-specialty crops
                                              to producers who received NAP                           person or a legal entity and all members               under Track 1 and other crops under
                                              payments on or around November 8,                       of that entity, for the 2022 program year.             Track 2, combined.
                                              2023. For Track 2, FSA will begin                          FSA will continue to accept forms                      The relevant tax years for establishing
                                              accepting applications on October 31,                   CCC–860 and FSA–510 for ERP 2022                       a producer’s AGI and percentage
                                              2023, and producers may obtain an                       until 60 days after the ERP 2022                       derived from farming, ranching, and
                                              application form and FSA–525, Crop                      deadline. If a producer files a CCC–860                forestry related activities are 2018, 2019,
                                              Insurance and/or Nap Coverage                           or FSA–510 and the accompanying                        and 2020.
                                              Agreement for ERP 2022, through their                   certification after their ERP 2022                        To receive more than $125,000 in ERP
                                              county office or online at https://                     payment is issued but before the                       2022 payments, producers must submit
                                              www.fsa.usda.gov/programs-and-                          deadline to submit these forms, FSA                    form FSA–510, including the
                                              services/emergency-relief/index.                        will process the form CCC–860 or FSA–                  certification from a certified public
                                                  Applications may be submitted in                    510 and issue any resulting additional                 accountant or attorney that the person
                                              person or by mail, email, facsimile, or                 payment amount.                                        or legal entity has met the requirements
                                              other methods announced by FSA. A                       Payment Limitation                                     to be eligible for the increased payment
                                              complete application for each track a                                                                          limitation. If a producer requesting the
                                              producer is applying for must be                           As required by Title I of the Disaster              increased payment limitation is a legal
                                              submitted to the producer’s recording                   Relief Supplemental Appropriations                     entity, all members of that entity must
                                              county office by the close of business on               Act, 2023, the payment limitation for                  also complete form FSA–510 and
                                              the deadline announced by FSA (the                      ERP 2022 is determined by the person’s                 provide the required certification
                                              ERP 2022 deadline).                                     or legal entity’s average adjusted gross               according to the direct attribution
                                                  To receive an ERP 2022 payment,                     farm income. Specifically, a person or                 provisions in 7 CFR 1400.105,
                                              producers, including any producers                      legal entity, other than a joint venture or            ‘‘Attribution of Payments.’’ If a legal
                                              with an SBI who have a share in a crop                  general partnership, cannot receive,                   entity would be eligible for the
                                              as indicated on a Track 1 application,                  directly or indirectly, more than                      increased payment limitation based on
                                              must also have the following forms on                   $125,000 in payments for specialty and                 the legal entity’s average AGI that is
                                              file with FSA within 60 days of the ERP                 high value crops combined and                          income derived from farming, ranching,
                                              2022 deadline:                                          $125,000 in payment for all non-                       and forestry related activities but a
                                                   Form AD–2047, Customer Data                       specialty crops and other crops under                  member of that legal entity either does
                                              Worksheet;                                              ERP 2022 (for Track 1 and Track 2                      not complete a form FSA–510 and
                                                   Form CCC–902, Farm Operating                      combined) if their average adjusted                    provide the required certification or is
                                              Plan for an individual or legal entity as               gross farm income is less than 75                      not eligible for the increased payment
                                              provided in 7 CFR part 1400;                            percent of their average AGI the 3                     limitation, the payment to the legal
                                                   Form CCC–901, Member                              taxable years preceding the most                       entity will be reduced for the payment
                                              Information for Legal Entities (if                      immediately preceding complete tax                     limitation applicable to the share of the
                                              applicable); and                                        year.                                                  payment attributed to that member.
                                                   A highly erodible land conservation                  If at least 75 percent of the person or                A payment made to a legal entity will
                                              (sometimes referred to as HELC) and                     legal entity’s average AGI is income                   be attributed to those members who
                                              wetland conservation certification as                   derived from farming, ranching, and                    have a direct or indirect ownership
                                              provided in 7 CFR part 12 (form AD–                                                                            interest in the legal entity, unless the
                                              1026 Highly Erodible Land                                  29 A person who has filed CCC–860 certifying
                                                                                                                                                             payment of the legal entity has been
                                              Conservation (HELC) and Wetland                         their status as a socially disadvantaged, beginning,
                                                                                                      or veteran farmer or rancher for a prior program       reduced by the proportionate ownership
                                              Conservation (WC) Certification) for the                year is not required to submit a subsequent CCC–       interest of the member due to that
                                              producer and applicable affiliates.                     860 certifying their status for a later program year   member’s ineligibility.
                                                  Many producers, especially if they                  because a person’s status as socially disadvantaged       Attribution of payments made to legal
                                              have participated in FSA programs                       would not change in different years, and their
                                                                                                                                                             entities will be tracked through four
                                              recently, will already have these forms                 certification as a beginning or veteran farmer or
                                                                                                      rancher includes the relevant date needed to           levels of ownership in legal entities as
                                              on file with FSA.                                       determine for what program years the status would      follows:
                                                  In addition to the forms listed above,              apply.                                                     First level of ownership—any
                                              certain producers will also need to                        An entity that has filed CCC–860 certifying its
                                                                                                                                                             payment made to a legal entity that is
                                              submit the following forms in order to                  status as a socially disadvantaged, beginning, or
                                                                                                                                                             owned in whole or in part by a person
                                                                                                      veteran farmer or rancher for a prior program year
                                              have their payment calculated as                        is not required to submit a subsequent certification   will be attributed to the person in an
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                                              described above for underserved                         of its status for a later program year unless the      amount that represents the direct
                                              producers or to qualify for an increased                entity’s status has changed due to changes in
                                                                                                                                                             ownership interest in the first level or
                                              payment limitation, as described in the                 membership.
                                                                                                                                                             payment legal entity; 30
                                              Payment Limitation section in this                         Because a producer’s status as a limited resource
                                                                                                      farmer or rancher may change annually depending
                                              document:                                               on the producer’s direct and indirect gross farm         30 The ‘‘first level or payment legal entity’’ means
                                                   Form CCC–860, Socially                            sales and household income, those producers must       that the payment entity will have a reduction
                                              Disadvantaged, Limited Resource,                        submit CCC–860 for each applicable program year.                                                    Continued



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                                                  Second level of ownership—any                         interest of 10 percent or greater at or             requirement to obtain NAP or Federal
                                              payment made to a first-level legal                        above the fourth level of ownership in              crop insurance coverage, ERP 2022
                                              entity that is owned in whole or in part                   the business structure is not provided to           participants may meet the purchase
                                              by another legal entity (referred to as a                  USDA.                                               requirement by purchasing WFRP
                                              second-level legal entity) will be                            If a person or legal entity is not               coverage, if eligible, or they may pay the
                                              attributed to the second-level legal                       eligible to receive ERP 2022 payments               applicable NAP service fee despite their
                                              entity in proportion to the ownership of                   due to the person or legal entity failing           ineligibility for a NAP payment. In other
                                              the second-level legal entity in the first-                to satisfy payment eligibility provisions,          words, the service fee must be paid even
                                              level legal entity; if the second-level                    the payment made either directly or                 though no NAP payment may be made
                                              legal entity is owned in whole or in part                  indirectly to the person or legal entity            because the average AGI of the person
                                              by a person, the amount of the payment                     will be reduced to zero. The amount of              or entity exceeds the 1985 Farm Bill
                                              made to the first-level legal entity will                  the reduction for the direct payment to             limitation.
                                              be attributed to the person in the                         the producer will be commensurate                      For Track 1, the Federal crop
                                              amount that represents the indirect                        with the direct or indirect ownership               insurance and NAP coverage
                                              ownership in the first-level legal entity                  interest of the ineligible person or                requirements are specific to the crop
                                              by the person;                                             ineligible legal entity.                            and county (which is the county where
                                                  Third and fourth levels of                               Like other programs administered by              the crop is physically located for
                                              ownership—except as provided in the                        FSA, payments made to an Indian Tribe               insured crops and the administrative
                                              second level of ownership bullet above                     or Tribal organization, as defined in               county for NAP-covered crops) for
                                              and in the fourth level of ownership                       section 4(b) of the Indian Self-                    which Track 1 payments are paid.
                                              bullet below, any payments made to a                       Determination and Education                            Producers who receive a Track 1
                                              legal entity at the third and fourth levels                Assistance Act (25 U.S.C. 5304), will not           payment that was calculated based on
                                              of ownership will be attributed in the                     be subject to payment limitation.                   an indemnity under a Pasture,
                                              same manner as specified in the second                                                                         Rangeland, and Forage policy; Annual
                                                                                                         Requirement To Purchase Federal Crop                Forage policy; or WFRP policy must
                                              level of ownership bullet above; and
                                                  Fourth-level of ownership—if the                      Insurance or NAP Coverage                           purchase the same type of policy or a
                                              fourth level of ownership is that of a                        Title I of the Disaster Relief                   combination of individual policies for
                                              legal entity and not that of a person, a                   Supplemental Appropriations Act,                    the crops that had covered losses under
                                              reduction in payment will be applied to                    2023, requires all producers who receive            ERP 2022 to meet the Federal crop
                                              the first-level or payment legal entity in                 ERP 2022 payments, including those                  insurance and NAP coverage
                                              the amount that represents the indirect                    receiving a Track 1 payment for a tree              requirement.
                                              ownership in the first level or payment                    loss under a Federal crop insurance                    Producers who receive a Track 1
                                              legal entity by the fourth-level legal                     policy, to purchase Federal crop                    payment on a crop in a county and who
                                              entity.                                                    insurance, or NAP coverage where                    have the crop or crop acreage in
                                                 Payments made directly or indirectly                    Federal crop insurance is not available,            subsequent years, as provided in this
                                              to a person who is a minor child will                      for the next 2 available crop years, as             document, and who fail to obtain the 2
                                              not be combined with the earnings of                       determined by the Secretary.                        years of Federal crop insurance or NAP
                                              the minor’s parent or legal guardian.                      Participants must file an accurate                  coverage required as specified in this
                                                 A person or legal entity must provide                   acreage report and obtain Federal crop              document must refund all Track 1
                                              the name, address, valid taxpayer                          insurance or NAP coverage, as may be                payments for that crop in that county
                                              identification number, and ownership                       applicable:                                         with interest from the date of
                                              share of each person, or the name,                             At a coverage level equal to or                disbursement.
                                              address, valid taxpayer identification                     greater than 60 percent for insurable                  Producers who were paid under Track
                                              number, and ownership share of each                        crops and trees; or                                 1 for a crop in a county, but do not plant
                                              legal entity, that holds or acquires an                        At the catastrophic level or higher            that crop in that county in a year for
                                              ownership interest in the legal entity.                    for NAP-eligible crops.                             which the Federal crop insurance and
                                              ERP 2022 payments to a legal entity will                      Availability will be determined from             NAP coverage requirement applies, are
                                              be reduced in proportion to a member’s                     the date a producer receives an ERP                 not subject to the Federal crop
                                              ownership share when a valid taxpayer                      2022 payment and may vary depending                 insurance or NAP purchase requirement
                                              identification number for a person or                      on the timing and availability of Federal           for that year.
                                              legal entity that holds a direct or                        crop insurance or NAP coverage for a                   For Track 2, producers must report all
                                              indirect ownership interest of less than                   producer’s particular crops. The final              crops that suffered a revenue loss in
                                              10 percent at or above the fourth level                    crop year to purchase Federal crop                  whole or in part due to a qualifying
                                              of ownership in the business structure                     insurance or NAP coverage to meet the               disaster event on form FSA–525, Crop
                                              is not provided to USDA. A legal entity                    second year of coverage for this                    Insurance and/or NAP Coverage
                                              will not be eligible to receive payment                    requirement is the 2027 crop year.                  Agreement, and obtain the required
                                              when a valid taxpayer identification                          In situations where Federal crop                 level of Federal crop insurance or NAP
                                              number for a person or legal entity that                   insurance is unavailable for a crop, an             coverage in all counties where the crop
                                              holds a direct or indirect ownership                       ERP 2022 participant must obtain NAP                is grown for the applicable years. For all
                                                                                                         coverage. Section 1001D of the Food                 crops listed on form FSA–525,
                                              applied, and if the payment entity happens to be           Security Act of 1985 (1985 Farm Bill;               producers who have the crop or crop
                                              a joint venture, that reduction is applied to the first    Pub. L. 99–198) provides that a person              acreage in subsequent years and who
                                              level, or highest level, for payments. The ‘‘first level
                                                                                                         or entity with an average AGI greater
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                                              or payment legal entity’’ is the highest level of                                                              fail to obtain the required 2 years of
                                              ownership of the applicant to whom payments can            than $900,000 is not eligible to                    Federal crop insurance or NAP coverage
                                              be attributed or limited. If the applicant is a            participate in NAP; however, producers              must refund the ERP Track 2 payment
                                              business type that does not have a limitation or           with an average AGI greater than                    with interest from the date of
                                              attribution, the reduction is applied to the first
                                              level, but if the business type can have the
                                                                                                         $900,000 are eligible to participate in             disbursement.
                                              reduction applied directly to it, then the limitation      ERP 2022. To reconcile this restriction                If both Federal crop insurance and
                                              applies.                                                   in the 1985 Farm Bill and the                       NAP coverage are unavailable for a crop,

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                                              the producer must obtain WFRP Federal    and equitable relief and finality                                    Failure to provide necessary and
                                              crop insurance coverage, if eligible.    provisions in 7 CFR part 718, subpart D,                             accurate information to verify
                                                 Producers who receive an ERP Track    apply to determinations under ERP                                    compliance, or failure to comply with
                                              1 payment for a crop are not required to 2022. As described above, Track 1                                    these requirements will result in
                                              obtain additional years of Federal crop  payments are calculated using data on                                ineligibility for ERP 2022 benefits and
                                              insurance or NAP coverage for that crop  file with RMA and FSA at the time of                                 require refund of any ERP 2022
                                              if they also receive an ERP Track 2      payment calculation, unless that data                                payments, including interest to be
                                              payment for a loss associated with that  are later updated. Producers who                                     calculated from the date of the
                                              crop.                                    receive a Track 1 application and                                    disbursement to the producer.
                                                 Producers who do not plant a crop     disagree with the calculated payment                                    Applicants have a right to a decision
                                              listed on form FSA–525 in a year for     amount or data used in the calculation                               in response to a timely-filed complete
                                              which the Federal crop insurance and     may apply for Track 2, which will allow                              application.
                                              NAP coverage requirement applies are     them to provide their data to FSA                                       If an applicant files a late ERP 2022
                                              not subject to the Federal crop          through a traditional application                                    application, the application will be
                                              insurance or NAP purchase requirement    process.                                                             considered a request to waive the
                                              for that crop for that year.                 Participants are required to retain                              deadline. Requests to waive or modify
                                                                                       documentation     in support of their                                program provisions are at the discretion
                                              Provisions Requiring Refund to FSA
                                                                                       application for 3 years after the date of                            of the Deputy Administrator. The
                                                 In the event that any ERP 2022        approval. All information provided to                                Deputy Administrator has the authority
                                              payment resulted from erroneous          FSA for program eligibility and payment                              to waive or modify application
                                              information reported by the producer, or calculation purposes, including                                      deadlines and other requirements or
                                              any person acting on their behalf, or if certification that a producer suffered a                             program provisions not specified in law
                                              the producer’s data are updated after    loss due to a qualifying disaster event,                             in cases where the Deputy
                                              RMA or FSA calculates a producer’s       is subject to spot check. Participants                               Administrator determines it is equitable
                                              Track 1 payment, the ERP 2022 payment receiving ERP 2022 payments or any                                      to do so and the lateness or failure to
                                              for both Track 1 and Track 2, as         other person who furnishes such                                      meet such other requirements or
                                              applicable, will be recalculated and the information to USDA must permit                                      program provisions do not adversely
                                              producer must refund any excess          authorized representatives of USDA or                                affect the operation of ERP 2022.
                                              payment to FSA, including interest to be the Government Accountability Office,                                Applicants who request to waive or
                                              calculated from the date of the          during regular business hours, to enter                              modify program provisions do not have
                                              disbursement to the producer. If FSA     the agricultural operation and to                                    a right to a decision on those requests.
                                              determines that the producer             inspect, examine, and to allow                                       The Deputy Administrator’s refusal to
                                              intentionally misrepresented             representatives to make copies of books,                             exercise discretion on requests to waive
                                              information used to determine the        records, or other items for the purpose                              or modify ERP 2022 provisions will not
                                              producer’s ERP 2022 payment amount,      of confirming the accuracy of the                                    be considered an adverse decision and
                                              the application will be disapproved and information provided by the participant.                              is, by itself, not appealable.
                                              the producer must refund the full            If requested by FSA, the producer                                   Any payment under ERP 2022 will be
                                              payment to FSA with interest from the    must provide additional documentation                                made without regard to questions of title
                                              date of disbursement. All persons with   that establishes the producer’s eligibility                          under State law and without regard to
                                              a financial interest in a legal entity   for ERP 2022. If supporting                                          any claim or lien. The regulations
                                              receiving payments are jointly and       documentation is requested, the                                      governing offsets in 7 CFR part 3 apply
                                              severally liable for any refund,         documentation must be submitted to                                   to ERP 2022 payments.
                                              including related charges, which is      FSA within 30 calendar days from the                                    If any person who would otherwise be
                                              determined to be due to FSA for any      request or the application will be                                   eligible to receive a payment dies before
                                              reason. Any required refunds must be     disapproved by FSA. FSA may request                                  the payment is received, payment may
                                              resolved in accordance with debt         supporting documentation to verify                                   be released as specified in 7 CFR 707.3.
                                              settlement regulations in 7 CFR part 3.  information provided by the producer                                 Similarly, if any person or legal entity
                                                                                       and the producer’s eligibility including,                            who would otherwise have been eligible
                                              General Provisions                       but not limited to, the producer’s                                   to apply for a payment dies or is
                                                 Applicable general eligibility        ownership share in the crop or                                       dissolved, respectively, before the
                                              requirements, including recordkeeping    commodity, benchmark year revenue,                                   payment is applied for, payment may be
                                              requirements and required compliance     disaster year revenue, and percentage of                             released in accordance with this
                                              with HELC and Wetland Conservation       expected revenue from specialty and                                  document if a timely application is filed
                                              provisions, are similar to those for     high value crops and other crops.                                    by an authorized representative. Proof of
                                              previous ad hoc crop disaster programs       ERP 2022 applicants filing an FSA–                               authority to sign for the deceased
                                              and current permanent disaster           510 are subject to an FSA audit of                                   producer or dissolved entity must be
                                              programs.                                information submitted for the purpose                                provided. If a participant is now a
                                                 General requirements that apply to    of increasing the program’s payment                                  dissolved general partnership or joint
                                              other FSA-administered commodity         limitation. As a part of this audit, FSA                             venture, all members of the general
                                              programs also apply to ERP 2022.         may request income tax returns, and if                               partnership or joint venture at the time
                                              Accordingly, producers that receive ERP requested, must be supplied by all                                    of dissolution or their duly authorized
                                              2022 must be in compliance with the      related persons and legal entities. In                               representatives must sign the
                                              provisions of 7 CFR part 12, ‘‘Highly    addition to any other requirement under
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                                                                                                                                                            application for payment. Eligibility of
                                              Erodible Land and Wetland                any Federal statute, relevant Federal                                such participant will be determined, as
                                              Conservation,’’ and the provisions of 7  income tax returns and documentation                                 it is for other participants, based on
                                              CFR 718.6, which address ineligibility   must be retained a minimum of 3 years                                ownership share and risk in producing
                                              for benefits for offenses involving      after the end of the calendar year                                   the crop.
                                              controlled substances. Appeal            corresponding to the year for which                                     In either applying for or participating
                                              regulations in 7 CFR parts 11 and 780    payments or benefits are requested.                                  in ERP 2022, or both, the producer is

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                                              subject to laws against perjury                         excessive heat, winter storms, freeze,                respond through the use of appropriate
                                              (including, but not limited to, 18 U.S.C.               including a polar vortex, smoke                       automated, electronic, mechanical, or
                                              1621). If the producer willfully makes                  exposure, quality losses of crops, and                other technological collection
                                              and represents as true any verbal or                    excessive moisture occurring in                       techniques or other forms of information
                                              written declaration, certification,                     calendar year 2022.                                   technology.
                                              statement, or verification that the                        FSA is administering ERP in two                       All comments received in response to
                                              producer knows or believes not to be                    tracks (referred to as Track 1 and Track              this notice, including names and
                                              true, in the course of either applying for              2). ERP Track 1 will use a streamlined                addresses where provided, will be made
                                              or participating in ERP 2022, or both,                  process with pre-filled application                   a matter of public record. Comments
                                              then the producer may be found to be                    forms for losses where the data are                   will be summarized and included in the
                                              guilty of perjury. Except as otherwise                  already on file with FSA or the Risk                  submission for Office of Management
                                              provided by law, if guilty of perjury the               Management Agency (RMA) as a result                   and Budget approval.
                                              applicant may be fined, imprisoned for                  of the producers previously receiving a
                                              not more than 5 years, or both,                         Noninsured Crop Disaster Assistance                   Environmental Review
                                              regardless of whether the producer                      Program (NAP) payment or a Federal                       The environmental impacts have been
                                              makes such verbal or written                            crop insurance indemnity under certain                considered in a manner consistent with
                                              declaration, certification, statement, or               Federal crop insurance policies. ERP                  the provisions of the National
                                              verification within or outside the United               Track 2 will provide payments for other               Environmental Policy Act (NEPA, 42
                                              States.                                                 eligible losses through a revenue-based               U.S.C. 4321–4347), the regulations of
                                                 For the purposes of the effect of a lien             approach using a traditional application              the Council on Environmental Quality
                                              on eligibility for Federal programs (28                 process during which producers will                   (40 CFR parts 1500–1508), and the FSA
                                              U.S.C. 3201(e)), USDA waives the                        provide the information required to                   regulation for compliance with NEPA (7
                                              restriction on receipt of funds under                   calculate a payment.                                  CFR part 799). ERP 2022 is authorized
                                              ERP 2022 under the following                               For the following estimated total                  by Title I of the Disaster Relief
                                              condition: by applying for ERP 2022,                    annual burden on respondents, the                     Supplemental Appropriations Act,
                                              applicants agree, as a condition of the                 formula used to calculate the total                   2023. The intent of ERP 2022 is to
                                              waiver, that the ERP 2022 payments will                 burden hours is the estimated average                 provide payments to eligible crop
                                              be applied to reduce the amount of the                  time per response multiplied by the                   producers who suffered eligible crop
                                              judgment lien.                                          estimated total annual responses.                     and tree losses due to wildfires,
                                                 In addition to any other Federal laws                   Estimate of Average Time to Respond:               hurricanes, floods, derechos, excessive
                                              that apply to ERP 2022, the following                   Public reporting burden for collecting                heat, tornadoes, winter storms, freeze
                                              laws apply: 15 U.S.C. 714; and 18 U.S.C.                information under this notice is                      (including a polar vortex), smoke
                                              286, 287, 371, and 1001.                                estimated to average 0.305 hour per                   exposure, excessive moisture, and
                                                                                                      response, including the time for                      qualifying drought, and related
                                              Paperwork Reduction Act
                                                                                                      reviewing instructions, searching                     conditions occurring in calendar year
                                              Requirements
                                                                                                      existing data sources, gathering and                  2022.
                                                 In compliance with the provisions of                 maintaining the data needed, and                         The limited discretionary aspects of
                                              the Paperwork Reduction Act (44 U.S.C.                  completing and reviewing the                          the program were designed to be
                                              chapter 35), the information collection                 collections of information.                           consistent with established FSA disaster
                                              request has been approved by OMB                           Type of Respondents: Producers.                    programs. As such, the Categorical
                                              under an emergency request under                           Estimated Number of Respondents:
                                                                                                                                                            Exclusions in 7 CFR part 799.31 apply,
                                              control number 0560–0316. FSA will                      230,000.
                                                                                                         Estimated Average Number of                        specifically 7 CFR 799.31(b)(6)(iv) and
                                              collect the information from producers
                                                                                                      Responses per Respondent: 1.43.                       (vi) (that is, § 799.31(b)(6)(iv) Individual
                                              to qualify for an ERP 2022 payment.
                                                                                                         Estimated Total Annual Responses:                  farm participation in FSA programs
                                              ERP 2022 is a one-time funding as
                                                                                                      327,855.                                              where no ground disturbance or change
                                              described in this NOFA.
                                                 In accordance with the Paperwork                        Estimated Total Annual Burden on                   in land use occurred as a result of the
                                              Reduction Act, FSA is requesting                        Respondents: 100,072 hours.                           action or participation; and
                                              comments from all interested                               The purpose of this notice is to                   § 799.31(b)(6)(vi) Safety net programs
                                              individuals and organizations on a new                  request comments from the public (as                  administered by FSA). No Extraordinary
                                              information collection request that                     well as affected agencies) concerning                 Circumstances (7 CFR 799.33) exist. As
                                              supports ERP 2022.                                      the information collection request.                   such, FSA has determined that the
                                                                                                         The comments will help us:                         implementation of ERP 2022 and the
                                              Description of Information Collection                      (1) Evaluate whether the proposed                  participation in ERP 2022 do not
                                                 Title: Emergency Relief Program 2022                 collection of information is necessary                constitute major Federal actions that
                                              (ERP 2022).                                             for the proper performance of the                     would significantly affect the quality of
                                                 OMB Control Number: 0560–0316.                       functions of the agency, including                    the human environment, individually or
                                                 Type of Request: New.                                whether the information will have                     cumulatively. Therefore, FSA will not
                                                 Abstract: FSA is providing assistance                practical utility;                                    prepare an environmental assessment or
                                              to eligible crop producers to cover the                    (2) Evaluate the accuracy of the                   environmental impact statement for this
                                              necessary expenses related losses of                    agency’s estimate of burden of the                    regulatory action, and this notice serves
                                              revenue, quality, or production of crops                collection of information including the               as documentation of the programmatic
                                              (including milk, on-farm stored                                                                               environmental compliance decision.
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                                                                                                      validity of the methodology and
                                              commodities, crops prevented from                       assumptions used;                                     Federal AssistancePrograms
                                              planting in 2020 and 2021, and                             (3) Evaluate the quality, utility and
                                              harvested adulterated wine grapes),                     clarity of the information technology;                  The titles and numbers of the Federal
                                              trees, bushes, and vines, as a                          and                                                   assistance programs, as found in the
                                              consequence of droughts, wildfires,                        (4) Minimize the burden of the                     Assistance Listings, to which this
                                              hurricanes, tornadoes, floods, derechos,                information collection on those who                   document applies are 10.964—

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                                              Emergency Relief Program and 10.979—                    COMMISSION ON CIVIL RIGHTS                            the meeting. Written comments may be
                                              Emergency Relief Program 2022.                                                                                emailed to Ana Victoria Fortes at
                                                                                                      Notice of Public Briefing of the                      afortes@usccr.gov. Persons who desire
                                              USDA Non-Discrimination Policy                          Minnesota Advisory Committee to the                   additional information may contact the
                                                                                                      U.S. Commission on Civil Rights                       Regional Programs Coordination Unit at
                                                 In accordance with Federal civil
                                              rights law and U.S. Department of                                                                             (312) 353–8311.
                                                                                                      AGENCY: U.S. Commission on Civil
                                                                                                                                                               Records generated from this meeting
                                              Agriculture (USDA) civil rights                         Rights.                                               may be inspected and reproduced at the
                                              regulations and policies, USDA, its                     ACTION: Notice of public         briefing.            Regional Programs Coordination Unit
                                              Agencies, offices, and employees, and                                                                         Office, as they become available, both
                                              institutions participating in or                        SUMMARY: Notice is hereby given,
                                                                                                                                                            before and after the meeting. Records of
                                              administering USDA programs are                         pursuant to the provisions of the rules
                                                                                                                                                            the meetings will be available via
                                              prohibited from discriminating based on                 and regulations of the U.S. Commission
                                                                                                                                                            www.facadatabase.gov under the
                                              race, color, national origin, religion, sex,            on Civil Rights (Commission) and the
                                                                                                                                                            Commission on Civil Rights, Minnesota
                                              gender identity (including gender                       Federal Advisory Committee Act, that
                                                                                                                                                            Advisory Committee link. Persons
                                              expression), sexual orientation,                        the Minnesota Advisory Committee
                                                                                                                                                            interested in the work of this Committee
                                              disability, age, marital status, family or              (Committee) to the U.S. Commission on
                                                                                                                                                            are directed to the Commission’s
                                              parental status, income derived from a                  Civil Rights will hold a public briefing
                                                                                                                                                            website, http://www.usccr.gov, or may
                                                                                                      via Zoom at 12 p.m. CT on Wednesday,
                                              public assistance program, political                                                                          contact the Regional Programs
                                                                                                      January 17, 2024. The purpose of this
                                              beliefs, or reprisal or retaliation for prior                                                                 Coordination Unit at lschiller@
                                                                                                      briefing is to hear testimony on housing
                                              civil rights activity, in any program or                                                                      usccr.gov.
                                                                                                      affordability in the state.
                                              activity conducted or funded by USDA                                                                          Agenda
                                                                                                      DATES: Wednesday, January 17, 2024,
                                              (not all bases apply to all programs).
                                                                                                      from 12 p.m.–2 p.m. Central Time.                     I. Welcome & Roll Call
                                              Remedies and complaint filing
                                              deadlines vary by program or incident.                  ADDRESSES: The meeting will be held                   II. Introductory Remarks
                                                                                                      via Zoom.                                             III. Panelist Presentations & Committee
                                                 Individuals who require alternative                     Registration Link (Audio/Visual):                        Q&A
                                              means of communication for program                      https://www.zoomgov.com/j/                            IV. Public Comment
                                              information (for example, braille, large                1610159425.                                           V. Closing Remarks
                                              print, audiotape, American Sign                            Join by Phone (Audio Only): (833)                  VI. Adjournment
                                              Language, etc.) should contact the                      435–1820 USA Toll-Free; Meeting ID:                     Dated: October 25, 2023.
                                              responsible Agency or the USDA                          161 015 9425.                                         David Mussatt,
                                              TARGET Center at (202) 720–2600                         FOR FURTHER INFORMATION CONTACT: Ana                  Supervisory Chief, Regional Programs Unit.
                                              (voice and text telephone (TTY)) or dial                Victoria Fortes, Designated Federal                   [FR Doc. 2023–23945 Filed 10–30–23; 8:45 am]
                                              711 for Telecommunications Relay                        Officer, at afortes@usccr.gov or (202)                BILLING CODE P
                                              Service (both voice and text telephone                  519–2938.
                                              users can initiate this call from any                   SUPPLEMENTARY INFORMATION: This
                                              telephone). Additionally, program                       committee meeting is available to the                 COMMISSION ON CIVIL RIGHTS
                                              information may be made available in                    public through the registration link
                                              languages other than English.                                                                                 Notice of Public Briefing of the
                                                                                                      above. Any interested member of the
                                                                                                                                                            Minnesota Advisory Committee to the
                                                 To file a program discrimination                     public may listen to the meeting. An
                                                                                                                                                            U.S. Commission on Civil Rights
                                              complaint, complete the USDA Program                    open comment period will be provided
                                              Discrimination Complaint Form, AD–                      to allow members of the public to make                AGENCY: U.S. Commission on Civil
                                              3027, found online at https://                          a statement as time allows. Per the                   Rights.
                                              www.usda.gov/oascr/how-to-file-a-                       Federal Advisory Committee Act, public                ACTION: Notice of public     briefing.
                                              program-discrimination-complaint and                    minutes of the meeting will include a
                                                                                                      list of persons who are present at the                SUMMARY: Notice is hereby given,
                                              at any USDA office or write a letter
                                                                                                      meeting. If joining via phone, callers can            pursuant to the provisions of the rules
                                              addressed to USDA and provide in the
                                                                                                      expect to incur regular charges for calls             and regulations of the U.S. Commission
                                              letter all the information requested in
                                                                                                      they initiate over wireless lines,                    on Civil Rights (Commission) and the
                                              the form. To request a copy of the                                                                            Federal Advisory Committee Act, that
                                                                                                      according to their wireless plan. The
                                              complaint form, call (866) 632–9992.                                                                          the Minnesota Advisory Committee
                                                                                                      Commission will not refund any
                                              Submit your completed form or letter to                                                                       (Committee) to the U.S. Commission on
                                                                                                      incurred charges. Callers will incur no
                                              USDA by: (1) mail to: U.S. Department                   charge for calls they initiate over land-             Civil Rights will hold a public briefing
                                              of Agriculture, Office of the Assistant                 line connections to the toll-free                     via Zoom at 12 p.m. CT on Friday,
                                              Secretary for Civil Rights, 1400                        telephone number. Closed captioning                   January 26, 2024. The purpose of this
                                              Independence Avenue SW, Washington,                     will be available for individuals who are             briefing is to hear testimony on housing
                                              DC 20250–9410; (2) fax: (202) 690–7442;                 deaf, hard of hearing, or who have                    affordability in the state.
                                              or (3) email: program.intake@usda.gov.                  certain cognitive or learning                         DATES: Friday, January 26, 2024, from 12
                                                 USDA is an equal opportunity                         impairments. To request additional                    p.m.–2 p.m. Central Time.
                                              provider, employer, and lender.                         accommodations, please email Liliana                  ADDRESSES: The meeting will be held
                                                                                                      Schiller, Support Services Specialist, at
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                                                                                                                                                            via Zoom.
                                              Zach Ducheneaux,                                        lschiller@usccr.gov at least 10 business                 Registration Link (Audio/Visual):
                                              Administrator, Farm Service Agency.                     days prior to the meeting.                            https://www.zoomgov.com/j/
                                              [FR Doc. 2023–24009 Filed 10–30–23; 8:45 am]               Members of the public are entitled to              1613104128.
                                              BILLING CODE 3410–05–P                                  submit written comments; the                             Join by Phone (Audio Only): (833)
                                                                                                      comments must be received in the                      435–1820 USA Toll-Free; Meeting ID:
                                                                                                      regional office within 30 days following              161 310 4128.

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                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                  AMARILLO DIVISION

    RUSTY STRICKLAND,                               )
                                                    )
    ALAN AND AMY WEST FARMS,
                                                    )
    ALAN WEST,                                      )
    AMY WEST,                                       )
                                                    )
    DOUBLE B FARMS, LLC, and                        )
    BRYAN BAKER,                                    )
                                                    )
            Plaintiffs,                             )
                                                    )
    v.                                              ) Case No. 2:24-cv-60
                                                    )
    THE UNITED STATES DEPARTMENT OF                 )
    AGRICULTURE,                                    )
    THOMAS J. VILSACK, in his official              )
    capacity as Secretary of the United States      )
    Department of Agriculture,                      )
                                                    )
    ZACH DUCHENEAUX, in his official
                                                    )
    capacity as Administrator of the Farm Service
                                                    )
    Agency, and
                                                    )
    THE UNITED STATES OF AMERICA,                   )
            Defendants.                             )
                                                    )
                                                    )




         COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF, AND, IN THE
               ALTERNATIVE, FOR PARTIAL VACATUR AND REMAND


                                          INTRODUCTION

           1.      Natural disasters do not discriminate, and neither should the Department of

   Agriculture (USDA). The Constitution promises equal treatment to all Americans regardless of

   their race or sex. It also promises the separation of powers. USDA broke both promises through




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   the disaster and pandemic relief programs challenged here that it operates under the “Emergency

   Relief” umbrella. Plaintiffs are Texas farmers, ranchers, and business entities. They are all eligible

   for relief under one or more of the programs. Plaintiffs bring this lawsuit to challenge USDA’s

   decision to discriminate based on race and sex through the programs in violation of the Fifth

   Amendment and the Administrative Procedure Act (APA).

           2.      The agricultural industry’s contribution to the American economy and quality of

   life cannot be overstated. According to USDA, in 2022, “[a]griculture, food, and related industries

   contributed roughly $1.420 trillion to U.S. gross domestic product (GDP), a 5.5-percent share.”

   U.S. Dep’t of Agric., Ag and Food Sectors and the Economy (2024), https://perma.cc/MSC2-

   ZT63.

           3.      Agriculture is a risky business. One drought can wipe out an entire season’s crops,

   one wildfire can kill an entire herd, and one hurricane can destroy an entire orchard.

           4.      Recognizing the critical importance of sustaining our national agriculture, Congress

   maintains a farm bill and regularly appropriates funds to USDA to provide financial assistance to

   America’s farmers, ranchers, communities, and businesses 1 that have suffered financial loss due

   to disasters.

           5.      Over the past four years, Congress appropriated $13.7 billion to USDA to

   implement disaster assistance programs for crop and livestock disaster relief and nearly $11.2

   billion to USDA to implement disaster assistance programs for coronavirus-related relief. USDA

   then took these funds and implemented a suite of programs to aid farmers who had lost income,

   crops, or livestock due to disasters and the pandemic.




   1
    Throughout the complaint, “farmers” is used as a general term for all agricultural producers and
   entities covered by the programs.
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          6.      Unfortunately, USDA made the decision—despite a lack of congressional

   authorization—to base the amount of financial assistance provided by the programs on race and

   sex.

          7.      Indeed, the relevant portions of the appropriations bills never mention race or sex.

   Yet, when providing nearly $25 billion in relief, USDA factored it in anyway.

          8.      First, USDA created a category of farmers defined strictly by race and sex. It called

   these farmers “socially disadvantaged.” USDA considers the following groups to be socially

   disadvantaged: (1) American Indians or Alaskan Natives; (2) Asians or Asian-Americans;

   (3) blacks or African-Americans; (4) Hispanics or Hispanic-Americans; (5) Native Hawaiians or

   other Pacific Islanders; and (6) women.

          9.      Then, in each of the programs, USDA used two different methods for calculating

   the amount and type of financial assistance for farmers.

          10.     One method was used for: (1) veteran farmers, distinguished by having served in

   the armed forces; (2) beginning farmers, distinguished by being new to the profession; (3) limited-

   resource farmers, distinguished by having low incomes; and (4) socially disadvantaged farmers,

   distinguished by being of a particular race or sex. Under this method, USDA awarded significant

   additional benefits to those groups of farmers, such as refunding insurance premiums, refunding

   fees, automatically enrolling farmers in programs to cover non-insured crops without the farmer

   even requesting it, or just giving farmers more money. USDA used a second method for all other

   farmers.

          11.     USDA’s message was simple: white men must be veterans, or new farmers, or poor

   to deserve additional disaster relief. Everyone else is entitled to it based on their race or sex.




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           12.     As a result, across the programs, USDA provided additional disaster relief in the

   form of more money to some farmers based solely on their race and sex.

           13.     Plaintiffs all suffered financial losses due to disasters and/or the pandemic and they

   all qualified for and received financial assistance from some of the programs. But they did not

   qualify to receive the disaster relief that USDA provided based on race or sex, and thus received

   less disaster relief than farmers of a different race or sex.

           14.     USDA’s actions are both unlawful and unconstitutional. USDA, absent

   congressional authorization and in violation of the separation of powers, took upon itself the

   responsibility to use race and sex to decide how much money each disaster victim would get. And

   even if it had congressional authorization, awarding disaster relief based on race or sex is contrary

   to the Constitution’s guarantee of equality.

           15.     Through the programs, USDA acted unilaterally to enshrine into law race and sex

   classifications that divide American farmers, and which are unmoored from any interest that the

   government may have in remedying specific, identified instances of past discrimination.

           16.     “The difficulty of overcoming the effects of past discrimination is as nothing

   compared with the difficulty of eradicating from our society the source of those effects, which is

   the tendency—fatal to a Nation such as ours—to classify and judge men and women on the basis

   of their country of origin or the color of their skin.” Richmond v. J.A. Croson Co., 488 U.S. 469,

   520 (1989) (Scalia, J., concurring).

           17.     Plaintiffs bring this lawsuit to vindicate their constitutional right to equal protection

   of the laws, to uphold separation of powers principles, and to give all farmers fair and equal

   treatment in receiving much-needed disaster relief funding. They ask this Court to declare the

   programs contrary to constitutional right, power, privilege, or immunity, in excess of USDA’s



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   statutory authority, and otherwise not in accordance with law, to set the programs aside, and enjoin

   USDA from perpetuating race and sex discrimination through regulation. Moreover, to the extent

   that USDA correctly interpreted relevant statutory authority, those statutory classifications must

   be declared unconstitutional.

                                               PARTIES

          18.     Plaintiff Rusty Strickland lives in Wellington, Texas, and operates a farm with his

   wife Alison Strickland. Together, their farms grow cotton, peanuts, and wheat. They also raise

   cattle. Mrs. Strickland received full disaster relief under each of the programs because she is a

   woman. Because Mr. Strickland is a white man and not a veteran farmer, beginning farmer, or

   limited resource farmer, he received less disaster relief under the programs than his wife.

          19.     The following chart depicts which of the programs Mr. Strickland was eligible for,

   the amount USDA calculated he had lost due to natural disasters or the pandemic for each, and the

   disaster relief he received:




          20.     On information and belief, the following chart depicts what USDA would have paid

   Mr. Strickland if he were of a different race or sex:




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           21.     Plaintiff Alan and Amy West Farms is a joint venture based in Lubbock, Texas,

   owned and operated by Plaintiffs Alan West and Amy West. The farm grows cotton, wheat, grain

   sorghum, and hay. Alan and Amy West Farms is owned 52 percent by Mr. West, a white man who

   is not a veteran farmer, beginning farmer, or limited resource farmer, and only 48 percent by

   Mrs. West, a woman. Thus, because Amy West owned less than 50 percent of the joint venture,

   USDA did not consider Alan and Amy West Farms socially disadvantaged. As a result, Mr. and

   Mrs. West received less disaster relief.

           22.     The following chart depicts which of the programs Alan and Amy West Farms was

   eligible for, the amount USDA calculated it had lost due to natural disasters for each, and the

   disaster relief it received:




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          23.     On information and belief, the following chart depicts what USDA would have paid

   Alan and Amy West Farms if Alan West were of a different race or sex or if Amy West owned

   two percent more of the joint venture:




          24.     Plaintiff Alan West lives in Lubbock, Texas, and co-owns and operates Alan and

   Amy West Farms as a 52-48 joint venture with Mrs. West. Mr. West owns 52 percent of their joint

   venture.

          25.     Plaintiff Amy West lives in Lubbock, Texas, and co-owns and operates Alan and

   Amy West Farms as a 52-48 joint venture with Mr. West. Mrs. West owns 48 percent of their joint

   venture.

          26.     Plaintiff Bryan Baker lives in Sudan, Texas, and operates a sole proprietorship farm

   and a limited liability company, Double B Farms, LLC, which he owns in full. His farms grow

   cotton, black eyed peas, grain sorghum, and sorghum silage. Because Mr. Baker is a white man

   who is not a veteran farmer, beginning farmer, or limited resource farmer, USDA did not consider

   his sole proprietorship socially disadvantaged. As a result, he received less disaster relief.

          27.     The following chart depicts which of the programs Bryan Baker was eligible for,

   the amount USDA calculated he had lost due to natural disasters or the pandemic for each, and the

   disaster relief he received:




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           28.     On information and belief, the following chart depicts what USDA would have paid

   Bryan Baker if he were of a different race or sex:




           29.     Plaintiff Double B Farms, LLC is registered in Sudan, Texas. Mr. Baker owns

   Double B Farms, LLC in full. Because Mr. Baker is a white man and not a veteran farmer,

   beginning farmer, or limited resource farmer, Double B Farms, LLC did not receive full disaster

   relief under any of the programs. The following chart depicts which of the programs Double B

   Farms, LLC was eligible for, the amount USDA calculated it had lost due to natural disasters for

   each, and the relief it received.




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           30.     On information and belief, the following chart depicts what USDA would have paid

   Double B Farms, LLC if Bryan Baker were of a different race or sex:




           31.     Defendant USDA is a federal executive department. USDA was given the authority

   by Congress to spend nearly $25 billion for coronavirus and natural disaster relief. It promulgated

   the challenged programs.

           32.     Defendant Thomas J. Vilsack is the Secretary of Agriculture. He is responsible for

   leading USDA, including the Farm Service Agency. At all times relevant to this complaint, he

   enacted and enforced the challenged programs. He is sued in his official capacity.

           33.     Defendant Zach Ducheneaux is the Administrator for USDA’s Farm Service

   Agency. At all times relevant to this complaint, his responsibilities included administering loan

   programs and managing relief programs, including the programs challenged here. He is sued in his

   official capacity.



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           34.         Defendant United States of America is a government entity. It can be sued under

   the Administrative Procedure Act. See 5 U.S.C. § 703.

                                       JURISDICTION AND VENUE

           35.         This case arises under both the Fifth Amendment to the United States Constitution

   and the Administrative Procedure Act. See 5 U.S.C. § 701 et seq.

           36.         The Court has jurisdiction over this complaint under 28 U.S.C. § 1331 (federal

   question) because this case presents substantial questions of federal law, specifically whether

   USDA has violated the United States Constitution’s guarantee of equal protection of the laws and

   the Administrative Procedure Act. See 5 U.S.C. § 701 et seq.

           37.         This Court has authority to issue a declaratory judgment and to order injunctive

   relief and other relief that is necessary and proper pursuant to 28 U.S.C. §§ 2201 and 2202

   (Declaratory Judgment Act) and Fed. R. Civ. P. 57. It may also set aside the challenged agency

   actions, postpone their effective date pending judicial review, hold them unlawful, and grant

   preliminary and permanent injunctive relief. See 5 U.S.C. §§ 705, 706; Fed. R. Civ. P. 65.

           38.         Venue is appropriate in this district under 28 U.S.C. § 1391(e)(1) because a

   substantial part of the events giving rise to this claim occurred in this district and a plaintiff resides

   in this district.

                                          STATEMENT OF FACTS

   The Biden Administration’s Whole-of-Government Approach to Racial Equity

           39.         On day one of his administration, President Biden issued Executive Order 13985,

   Advancing Racial Equity and Support for Underserved Communities Through the Federal

   Government, 86 Fed. Reg. 7009 (Jan. 25, 2021), which declared that his administration was taking




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   a “comprehensive approach to advancing equity for all” and would establish “an ambitious whole-

   of-government equity agenda.”

          40.     As Judge Ho recently explained, the difference between equity and equality is “the

   difference between securing equality of opportunity regardless of race and guaranteeing equality

   of outcome based on race. It’s the difference between color blindness and critical race theory.” See

   Rollerson v. Brazos River Harbor Navigation Dist., 6 F.4th 633, 648 (5th Cir. 2021) (Ho, J.,

   concurring in part and concurring in the judgment).

          41.     On April 14, 2022, in response to President Biden’s directive to “the whole of the

   federal government to advance an ambitious equity and racial justice agenda,” more than ninety

   federal agencies released their first-ever Equity Action Plans. See The White House, Biden-Harris

   Administration Releases Agency Equity Action Plans to Advance Equity and Racial Justice Across

   the Federal Government (2022), https://perma.cc/PF3B-D5R6.

          42.     On February 16, 2023, President Biden updated his equity initiative through

   Executive Order 14091, Further Advancing Racial Equity and Support for Underserved

   Communities Through the Federal Government. See 88 Fed. Reg. 10825 (Feb. 22, 2023).

          43.     In EO 14091, President Biden proclaimed that his “[a]dministration has embedded

   a focus on equity into the fabric of Federal policymaking and service delivery” and “vigorously

   championed racial equity.” Id.

          44.     President Biden then reaffirmed that his policy would be to “advance an ambitious,

   whole-of-government approach to racial equity and support for underserved communities and to

   continuously embed equity into all aspects of Federal decision-making” and directed agencies to

   “support ongoing implementation of a comprehensive equity strategy . . . to yield equitable

   outcomes.” Id. at 10826, 10828 (emphasis added).



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           45.     Every federal agency must comply with these executive orders.

   USDA’s Race- and Sex-Based Approach to Equity

           46.     In the words of Secretary Vilsack himself, “Under this Administration, equity is

   more than a catchphrase. It’s a promise.” U.S. Dep’t of Agric., Equity Action Plan 2023 Update,

   2 (2024), https://perma.cc/PQH3-4B3W.

           47.     In February 2022, USDA published its Equity Action Plan. U.S. Dep’t of Agric.,

   USDA Equity Action Plan in Support of Executive Order (EO) 13985 Advancing Racial Equity

   and Support for Underserved Communities through the Federal Government (Feb. 10, 2022),

   https://perma.cc/9CVL-2FG9.

           48.     In its Equity Action Plan, USDA declared that “[it] strives to institutionalize this

   emphasis on equity” and will “remain steadfast in [its] commitment to advance equity in every

   facet of [its] mission.” Id. at 1, 5.

           49.     In January 2024, USDA published an annual report on its Equity Action Plan

   informing Americans that USDA has “continued meaningful steps to fortify equity and racial

   justice” by centering equity in everything USDA does. Equity Action Plan 2023 Update, at 1.

           50.     In furtherance of its commitment to equity, USDA uses a category of farmers that

   it calls “underserved farmers,” which includes veteran farmers, beginning farmers, limited

   resource farmers, and, most relevant to this complaint, socially disadvantaged farmers. Id. at 6.

           51.     If a farmer wants USDA to classify him as an underserved farmer, he must submit

   USDA’s Form CCC-860. U.S. Dep’t of Agric. Commodity Credit Corp., CCC-860, Socially

   Disadvantaged, Limited Resource, Beginning and Veteran Farmer or Rancher Certification

   (2020), https://perma.cc/W7BF-Q93Q.




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              52.   Form CCC-860 allows farmers to classify themselves as a veteran farmer (based on

   veteran status), a beginning farmer (started farming in past 10 years), and/or a limited resource

   farmer (based on low annual income). Id. Plaintiffs do not challenge any these categories because

   they do not consider the race or sex of the farmer.

              53.   Form CCC-860 also allows farmers to classify themselves as a socially

   disadvantaged farmer, which USDA expressly defines as only members of certain races and one

   sex. Id.

              54.   The programs and Form CCC-860 specify that farmers of the following races

   qualify as socially disadvantaged:

                    a. American Indians or Alaskan Natives;

                    b. Asians or Asian Americans;

                    c. Blacks or African Americans;

                    d. Hispanics or Hispanic Americans; and

                    e. Native Hawaiians or other Pacific Islanders.

   Id.; see also Notice of Funds Availability; Emergency Relief Program (ERP) (ERP 2021 Phase 1),

   87 Fed. Reg. 30164, 30166 (May 18, 2022); Pandemic Assistance Programs and Agricultural

   Disaster Assistance Programs, Subpart S—Emergency Relief Program Phase 2 (ERP 2021 Phase

   2), 88 Fed. Reg. 1862, 1886 (Jan. 11, 2023) (codified at 7 C.F.R. § 760.1901); Subpart A—

   Coronavirus Food Assistance Program 2 (CFAP 2), id. at 1877 (codified at 7 C.F.R. § 9.201);

   Subpart D—Pandemic Assistance Revenue Program (PARP), id. at 1879 (codified at 7 C.F.R. §

   9.302); Notice of Funds Availability; Emergency Livestock Relief Program (ELRP) (ELRP 2021

   Phase 1), 87 Fed. Reg. 19465, 19467 (Apr. 4, 2022); Notice of Funds Availability; 2021

   Emergency Livestock Relief Program (ELRP) Phase 2 (ELRP 2021 Phase 2), 88 Fed. Reg. 66366,



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   66369 (Sept. 27, 2023); Notice of Funds Availability; Emergency Relief Program 2022 (ERP

   2022), 88 Fed. Reg. 74404, 74408 (Oct. 31, 2023); Notice of Funds Availability; Emergency

   Livestock Relief Program (ELRP) 2022 (ELRP 2022), 88 Fed. Reg. 66361, 66363 (Sept. 27, 2023).

          55.     These definitions also specify that women qualify as socially disadvantaged. See,

   e.g., ERP 2022, 88 Fed. Reg. at 74408.

          56.     For an entity to qualify as socially disadvantaged, members of the listed races and

   sex must own at least a 50 percent interest in the entity. Id.

   Statutory and Regulatory Background

          57.     USDA provides emergency disaster relief to farmers through many different

   programs.

          58.     In 2021, Congress provided $10 billion to USDA for “necessary expenses related

   to losses” due to natural disasters and other weather events. Extending Government Funding &

   Delivering Emergency Assistance Act, Pub. L. 117-43, Div. B, Title I, 135 Stat. 344, 356 (2021).

          59.     In 2022, Congress provided a further $3.7 billion for substantially the same

   purpose. Consolidated Appropriations Act, 2023, Pub. L. 117-328, Div. N, Title I, 136 Stat. 4459,

   5201 (2022).

          60.     And in 2020, Congress provided nearly $11.2 billion to USDA for coronavirus-

   related relief. Consolidated Appropriations Act, 2021, Pub. L. 116-260, Div. N, Title VII, Subtitle

   B, 134 Stat. 1182, 2105 (2020).

          61.     These appropriations total nearly $25 billion.

          62.     Through these three laws, Congress granted USDA the authority to use the

   appropriated funds to provide financial assistance to farmers who lost crops, livestock, or revenue

   due to disasters like wildfires, hurricanes, and the pandemic.



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          63.     The relevant provisions of all three laws never mention race or sex and never direct

   or authorize USDA to consider the race or sex of disaster or pandemic relief recipients.

          64.     In response to the congressional appropriations, USDA created and funded

   numerous relief programs it placed under the umbrella category of “Emergency Relief.” U.S. Dep’t

   of Agric., Emergency Relief (2024), https://perma.cc/S7V3-GLY8.

          65.     This action is brought to challenge eight different programs within that umbrella:

   (1) the Emergency Relief Program 2021 Phase 1 (ERP 2021 Phase 1), 87 Fed. Reg. 30164; (2) the

   Emergency Relief Program 2021 Phase 2 (ERP 2021 Phase 2), 88 Fed. Reg. 1862, 1862−66;

   (3) the Coronavirus Food Assistance Program 2 (CFAP 2) bonus payment, id. at 1869−70; (4) the

   Pandemic Assistance Revenue Program (PARP), id. at 1866−69; (5) the Emergency Livestock

   Relief Program 2021 Phase 1 (ELRP 2021 Phase 1), 87 Fed. Reg. 19465; (6) the Emergency

   Livestock Relief Program 2021 Phase 2 (ELRP 2021 Phase 2), 88 Fed. Reg. 66366; (7) the

   Emergency Relief Program 2022 Track 1 and Track 2 (ERP 2022), 88 Fed. Reg. 74404; and (8) the

   Emergency Livestock Relief Program 2022 (ELRP 2022), 88 Fed. Reg. 66361.

          66.     Apart from CFAP 2, USDA funded these programs with the nearly $25 billion in

   appropriations from the three laws.

          67.     USDA funded the CFAP 2 bonus payment using Commodity Credit Corporation

   (CCC) funds. CFAP 2, 88 Fed. Reg. at 1869.

          68.     The CCC is a USDA-run corporation created by the Commodity Credit Corporation

   Charter Act that funds and administers USDA programs to stabilize agriculture prices and market

   conditions. 15 U.S.C. § 714. It can borrow up to $30 billion and operates under the supervision

   and direction of the Secretary of Agriculture. 15 U.S.C. §§ 714, 714b(i).




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   Emergency Relief Program (ERP) 2021 Phase 1 and Phase 2

          69.     On May 18, 2022, USDA published a Notice of Funds Availability for the

   Emergency Relief Program, establishing ERP 2021 Phase 1 to provide emergency relief to farmers

   who suffered crop losses due to adverse weather events in 2020 or 2021. ERP 2021 Phase 1, 87

   Fed. Reg. 30164.

          70.     On January 11, 2023, USDA published a Final Rule titled Pandemic Assistance

   Programs and Agricultural Disaster Assistance Programs, establishing ERP 2021 Phase 2 to

   provide emergency relief to farmers who suffered crop losses due to adverse weather events in

   2020 or 2021. ERP 2021 Phase 2, 88 Fed. Reg. 1862.

          71.     USDA funded ERP 2021 Phases 1 and 2 with funds from Division B, Title I, of the

   Extending Government Funding and Delivering Emergency Assistance Act, Pub. L. 117-43. ERP

   2021 Phase 1, 87 Fed. Reg. at 30164; ERP 2021 Phase 2, 88 Fed. Reg. at 1862.

          72.     Under ERP 2021, USDA calculated relief payments for farmers who qualified as

   socially disadvantaged differently than non-underserved farmers.

          73.     For ERP 2021 Phase 1, USDA performed a complex series of calculations

   including: (1) a farmer’s level of insurance coverage; (2) a farmer’s total crop losses; (3) the

   amount a farmer already received from insurance; and (4) the amount a farmer paid in premiums

   and fees for insurance, to arrive at a farmer’s “calculated ERP Phase 1 payment,” a dollar value.

   ERP 2021 Phase 1, 87 Fed. Reg. at 30169; see also id. at 30168.

          74.     USDA paid more money to farmers that had better insurance coverage, more crop

   losses, or paid more in premiums and fees for insurance. Id.

          75.     USDA paid less money to farmers who were compensated more by their insurance.

   Id.



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           76.      At the last step of the calculation, USDA increased that payment by 15 percent if

   the farmer was socially disadvantaged or underserved. Id. at 30169.

           77.      Non-underserved farmers like Plaintiffs did not receive that 15 percent increase. Id.

           78.      When it unveiled ERP 2021 Phase 2 on January 11, 2023, USDA announced that it

   intended to make the difference between socially disadvantaged farmers and non-underserved

   farmers like Plaintiffs even larger if it ran low on funds. See 88 Fed. Reg. at 1888 (codified at 7

   C.F.R. § 760.1905(d) (2023) (“If there are insufficient funds, a differential of 15 percent will be

   used for [socially disadvantaged and other] underserved producers similar to ERP [2021] Phase 1

   . . . .” (emphasis added)).

           79.      A differential of 15 percent is very different from the 15 percent increase that

   USDA used in ERP 2021 Phase 1.

           80.      For example, if two farmers lose $100,000 and USDA pays one of them $30,000

   and the other $15,000, that is a 15 percent differential—despite one farmer getting double what

   the other got.

           81.      If USDA instead paid them $17,250 and $15,000, that would be a 15 percent

   increase.

           82.      USDA thus decided not just to continue discriminating based on race and sex, but

   to increase the amount of discrimination as remaining funds ran lower.

   Emergency Livestock Relief Program (ELRP) 2021 Phase 1 and Phase 2

           83.      On April 4, 2022, USDA published a Notice of Funds Availability to establish

   ELRP 2021 Phase 1 to provide emergency relief to farmers for livestock-related losses. ELRP

   2021 Phase 1, 87 Fed. Reg. at 19467.




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          84.       On September 27, 2023, USDA published a Notice of Funds Availability to

   establish ELRP 2021 Phase 2 to provide emergency relief to farmers for livestock-related losses.

   ELRP 2021 Phase 2, 88 Fed. Reg. at 66369.

          85.       USDA funded both phases of ELRP 2021 with funds from the Extending

   Government Funding & Delivering Emergency Assistance Act. Pub. L. 117-43, Div. B, Title I

   (2021). ELRP 2021 Phase 1, 87 Fed. Reg. at 19465; ELRP 2021 Phase 2, 88 Fed. Reg. at 66366.

          86.       Through ELRP 2021, USDA reimbursed farmers for purchasing feed for livestock

   due to reduced grazing opportunities caused by droughts or wildfires. See ELRP 2021 Phase 1, 87

   Fed. Reg. at 19466; ELRP 2021 Phase 2, 88 Fed. Reg. at 66367.

          87.       USDA reimbursed farmers based on a measurement called animal unit months

   (AUMs). ELRP 2021 Phase 1, 87 Fed. Reg. at 19466.

          88.       An AUM is a unit of measurement equivalent to “the amount of forage necessary

   for the sustenance of one cow or its equivalent for a period of 1 month.” Grazing Administration

   Definitions, 43 C.F.R. § 4100.0-5 (2023).

          89.       For example, a farmer who owned five cows for which he needed to purchase feed

   for three months due to reduced grazing opportunities caused by droughts or wildfires would be

   reimbursed for fifteen AUMs.

          90.       USDA calculated ELRP 2021 Phase 1 payments in three steps.

          91.       First, USDA selected a base reimbursement rate for ELRP 2021 Phase 1 of $18.71

   per AUM worth of feed that a farmer needed to purchase due to lost grazing opportunities. 87 Fed.

   Reg. at 19466.




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          92.     Second, USDA multiplied the $18.71 per AUM base rate by either 90 percent for

   socially disadvantaged and other underserved farmers or by 75 percent for non-underserved

   farmers. Id.

          93.     This resulted in an ELRP 2021 Phase 1 per AUM reimbursement price of $16.84

   for socially disadvantaged farmers and $14.03 for non-underserved farmers like Plaintiffs. Id.

          94.     Finally, USDA multiplied each farmer’s ELRP 2021 Phase 1 per AUM

   reimbursement price by that farmer’s number of AUMs. Id.

          95.     Through this three-step process under ELRP 2021 Phase 1, USDA paid socially

   disadvantaged farmers 20 percent more than non-underserved farmers like Plaintiffs. See id.

          96.     USDA calculated ELRP 2021 Phase 2 payments by first multiplying each farmer’s

   ELRP 2021 Phase 1 per AUM reimbursement price by 20 percent to get the ELRP 2021 Phase 2

   per AUM reimbursement price and then multiplying that per AUM price by that farmer’s total

   AUMs. ELRP 2021 Phase 2, 88 Fed. Reg. at 66367.

          97.     USDA stated that for ELRP 2021 Phase 2, “[t]he same percentage will be applied

   to underserved farmers and ranchers and all other producers.” Id. at 66369.

          98.     Although USDA did apply the “same percentage” to all farmers, it continued

   discriminating based on whether recipients were socially disadvantaged or underserved farmers

   because it applied that same percentage to the earlier, discriminatory payment rates.

          99.     Under ELRP 2021 Phase 2, USDA paid socially disadvantaged farmers $3.37 per

   AUM, or 20 percent of the $16.84 they had been paid before. Id. at 66367.

          100.    Under ELRP 2021 Phase 2, USDA paid non-underserved farmers like Plaintiffs

   $2.81 per AUM, or 20 percent of the lesser $14.03 they had been paid before. Id.




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          101.    Thus, even though USDA stated that “[t]he same percentage will be applied to

   underserved farmers and ranchers and all other producers,” id. at 66369, it continued to pay more

   to socially disadvantaged farmers than to non-underserved farmers like Plaintiffs, id. at 66366−69.

   Coronavirus Food Assistance Program 2

          102.    On September 22, 2020, under President Trump, USDA announced CFAP 2.

   Coronavirus Food Assistance Program, 85 Fed. Reg. 59380 (Sept. 22, 2020).

          103.    Initially, USDA did not administer CFAP 2 in a discriminatory manner; it

   calculated CFAP 2 payments the same way for all recipients, regardless of their race or sex. See

   id. at 59380−81.

          104.    In furtherance of President Biden’s whole-of-government equity agenda, though,

   USDA began discriminating based on race and sex in CFAP 2 payments in 2023.

          105.    On January 11, 2023, USDA announced in the same Notice of Funds Availability

   establishing ERP 2021 Phase 2 that it would provide an additional payment under CFAP 2 equal

   to 15 percent of the initial CFAP 2 payment. ERP 2021 Phase 2, 88 Fed. Reg. at 1869.

          106.    USDA funded this additional payment using Commodity Credit Corporation funds.

   Id.

          107.    USDA only gave this additional payment to socially disadvantaged and other

   underserved farmers. Id.

          108.    USDA did not make an additional payment to non-underserved farmers. See id.

   Pandemic Assistance Revenue Program

          109.    On January 11, 2023, USDA announced in the same Notice of Funds Availability

   establishing ERP 2021 Phase 2 a new program called PARP. Id. at 1866−69.




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          110.    USDA funded PARP using funds from the Consolidated Appropriations Act, 2021,

   Pub. L. 116-260. Id. at 1866.

          111.    Through PARP, USDA paid farmers whose 2020 revenue had decreased from their

   2018 or 2019 revenue. Id. at 1868.

          112.    USDA set the calculated payment rate at 90 percent of lost revenue for socially

   disadvantaged and other underserved farmers. Id.

          113.    USDA set the calculated payment rate at 80 percent of lost revenue for non-

   underserved farmers. Id.

          114.    USDA determined each farmer’s PARP payment by subtracting the amount of

   assistance a farmer had received from a list of other USDA programs from the calculated payment.

   Id.

          115.    Through PARP’s higher calculated payment rate for socially disadvantaged

   farmers, USDA discriminated against non-underserved farmers like Plaintiffs based on race and

   sex.

   Emergency Livestock Relief Program 2022

          116.    On September 27, 2023, USDA published a Notice of Funds Availability

   establishing ELRP 2022. 88 Fed. Reg. 66361.

          117.    USDA funded ELRP 2022 with funds from Title I of the Disaster Relief

   Supplemental Appropriations Act, part of Division N of the Consolidated Appropriations Act of

   2023, Pub. L. 117-328 (2023). Id. at 66361.

          118.    Through ELRP 2022, USDA reimbursed farmers for purchasing feed for livestock

   due to reduced grazing opportunities caused by droughts or wildfires. Id. at 66361−62.




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            119.   USDA again used AUMs to calculate ELRP 2022 payments in three steps. Id. at

   66362.

            120.   First, USDA selected a base reimbursement rate for ELRP 2022 of $28.37 per AUM

   worth of feed that a farmer needed to purchase due to lost grazing opportunities. Id.

            121.   Second, USDA multiplied the $28.37 per AUM base rate by either 90 percent for

   socially disadvantaged and other underserved farmers or by 75 percent for non-underserved

   farmers. Id.

            122.   This resulted in an ELRP 2022 per AUM reimbursement price of $25.53 for

   socially disadvantaged farmers and $21.28 for non-underserved farmers like Plaintiffs. Id.

            123.   Finally, USDA multiplied each farmer’s ELRP 2022 per AUM reimbursement

   price by that farmer’s number of AUMs. Id.

            124.   Through this three-step process under ELRP 2022, USDA paid socially

   disadvantaged farmers 20 percent more than non-underserved farmers like Plaintiffs. See id.

   Emergency Relief Program 2022

            125.   On October 31, 2023, USDA published a Notice of Funds Availability establishing

   ERP 2022 to provide emergency relief to farmers who suffered crop losses due to adverse weather

   events that occurred in 2022. 88 Fed. Reg. 74404.

            126.   USDA funded ERP 2022 with funds from Title I of the Disaster Relief

   Supplemental Appropriations Act, part of Division N of the Consolidated Appropriations Act of

   2023, Pub. L. 117-328 (2023). Id. at 74405.

            127.   USDA established ERP 2022 to cover the same kinds of losses as ERP 2021 Phases

   1 and 2. Compare id. at 74405, with ERP 2021 Phase 1, 87 Fed. Reg. at 30164.




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          128.    In fact, the funding used for ERP 2022 was appropriated using nearly identical

   statutory language. Compare Extending Government Funding & Delivering Emergency

   Assistance Act, Pub. L. 117-43, Div. B, Title I (2021), with Consolidated Appropriations Act,

   2023, Pub. L. 117-328, Div. N, Title I (2023).

          129.     USDA split ERP 2022 into Track 1 (losses of crops) and Track 2 (losses of

   revenue). Id. at 74404−05.

          130.    USDA made two shifts in policy from ERP 2021 to ERP 2022 without meaningful

   explanation.

   Shift One: USDA Moves from Flat Factor Payments to “Progressive Factoring”

          131.    The first policy shift occurred when USDA introduced what it termed “progressive

   factoring.” See ERP 2022, 88 Fed. Reg. at 74410 & n.14.

          132.    In every other program challenged here, USDA paid farmers using a simple

   formula: the amount lost multiplied by a percentage.

          133.    USDA refers to this as a “flat factor.” U.S. Dep’t of Agric., Emergency Relief

   Program 2022 (Track 1) Delivery Snapshot for Texas, 1 (2023), https://perma.cc/VPV5-R8JK.

          134.    If USDA had used a flat factor for ERP 2022, the rate would have been 27 percent.

   See id. (“If a flat factor was applied, the factor would have been 27%.”).

          135.    Instead, USDA used its new progressive factoring for ERP 2022 and, as a result, it

   paid out dramatically less money as a percentage to farmers with greater losses.

          136.    Under progressive factoring, USDA pays 100 percent of the first $2,000 in losses;

   80 percent of the loss between $2,001 and $4,000; 60 percent of the loss between $4,001 and

   $6,000; 40 percent of the loss between $6,001 and $8,000; 20 percent of the loss between $8,001

   and $10,000; and 10 percent of any losses over $10,000. ERP 2022, 88 Fed. Reg. at 774410.



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            137.   USDA provided a two-sentence footnote explaining this change:

            Progressive factoring is a mechanism that ensures the limited available funding is
            distributed in a manner benefitting the majority of producers rather than a few.
            Additionally, progressive factoring increases emergency relief payments to most
            participants while reducing larger potential payments which increases the proportion of
            funding provided to smaller producers.

   Id. at 74410 n.14.

            138.   Because of this progressive factoring system, victims of natural disasters who

   operated comparatively larger farms and were counting on disaster relief from ERP 2022 under

   the prior formula, like Plaintiffs here, lost out on a significant amount of the disaster relief funds

   Congress had appropriated for them.

            139.   For example, Alan and Amy West Farms had a calculated loss of $208,706.00 for

   ERP 2022 Track 1.

            140.   Because USDA applied progressive factoring to ERP 2022, Alan and Amy West

   Farms received approximately $19,403 in relief for those losses.

            141.   If USDA had applied the flat factor, Alan and Amy West Farms would have

   received approximately $42,263 in relief—more than double—for those very same losses.

            142.   USDA applied progressive factoring to both Track 1 and Track 2. Id. at 74410,

   74414.

   Shift Two: Only Underserved Farmers Receive Insurance Refunds

            143.   The second policy shift occurred when USDA limited insurance premium refunds

   available under ERP 2022 to only socially disadvantaged and other underserved farmers. Id. at

   74410.




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          144.    With ERP 2021, USDA had returned a significant portion of Federal Crop

   Insurance or Noninsured Crop Disaster Assistance Program (NAP)2 premiums and fees to all

   farmers regardless of their race or sex. See ERP 2021 Phase 1, 87 Fed. Reg. at 30168−69.

          145.    Instead, as part of ERP 2022 Track 1, USDA decided to refund Federal Crop

   Insurance and NAP premiums and fees only to socially disadvantaged and other underserved

   farmers, discriminating based on race and sex. 88 Fed. Reg. at 74410.

   The Impact of the Policy Shifts

   Insurance Premiums and Fees Refunds

          146.    First, USDA funneled much greater benefits to socially disadvantaged and other

   underserved producers by selectively applying progressive factoring to only certain portions of the

   payment. Id. at 74410−11.

          147.    USDA did not subject refunds of insurance premiums and fees to progressive

   factoring and only gave refunds of insurance premiums and fees under ERP 2022 to socially

   disadvantaged and other underserved producers. Id. at 74411.

          148.    Because of this, USDA’s progressive factoring system compounded the

   discriminatory effect of the insurance refunds, because socially disadvantaged and other

   underserved farmers who received insurance refunds did not lose up to 90 percent of that money

   to progressive factoring. See id.

          149.    For example, in every other program challenged here that they were eligible for,

   USDA paid Plaintiff Rusty Strickland between 10 and 20 percent less than his wife Alison for

   identical actual losses because USDA classified her as socially disadvantaged.




   2
    NAP is an insurance program that covers certain kinds of uninsured or specialty crops that are
   not covered by ordinary crop insurance. See 7 C.F.R. §§ 1437.1, 1437.4 (2023).
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          150.    But for ERP 2022 Track 1, Mrs. Strickland received nearly ten times what

   Mr. Strickland received: $71,900.96 compared to his $7,272.71, even though they suffered

   identical actual losses as equal partners.

          151.    USDA paid her this additional money solely because Mrs. Strickland is a woman

   and thus received a refund of insurance premiums and fees because of her sex.

          152.    This entire difference is attributable to the fact that she received a refund of Federal

   Crop Insurance administrative fees and premiums and he did not.

   Preferential Treatment for NAP

          153.    Second, USDA used preferential treatment to steer additional benefits towards

   socially disadvantaged and other underserved farmers through NAP.

          154.    USDA awarded preferential treatment to socially disadvantaged farmers who had

   crops eligible for NAP by: (1) backdating and automatically enrolling them in NAP coverage;

   (2) fully refunding the cost of NAP; (3) making them eligible for both Track 1 and Track 2 of ERP

   2022; (4) not applying progressive factoring to their Track 1 losses of NAP-covered crops; and

   (5) providing them a higher payment factor of 90 percent instead of 70 percent on Track 2.

          155.    Although the large additional benefits granted to NAP-covered crops might seem

   nondiscriminatory, they are just discrimination with extra steps: USDA made sure that every

   farmer who was not a white man had NAP coverage on all of their eligible crops free of charge,

   but white men who were not veterans, beginning farmers, or limited resource farmers had to

   manually apply for it and pay full price.

          156.    Normally, farmers must apply specifically for NAP coverage and pay for it by a set

   closing date, with fees increasing the later a farmer applies for insurance, see 7 C.F.R. § 1437.7(a),

   (b) (2023), but USDA changed that for socially disadvantaged and other underserved farmers.



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            157.    Back when it announced ERP 2021 Phase 2, USDA decided to retroactively

   construe applications from farmers to be considered socially disadvantaged (Form CCC-860) as

   applications for catastrophic 3 insurance coverage under NAP. See 88 Fed. Reg. at 1871

   (“Following the change to the regulation, FSA intends to designate the CCC-860 to be an

   application for catastrophic coverage for NAP if filed before the deadline for application for the

   coverage period. . . . Many underserved producers have previously filed a certification of their

   underserved status with FSA, and those producers will be considered as having timely applied for

   catastrophic coverage for the 2022 crop year if the certification was filed before the deadline for

   application for the NAP coverage period.”).

            158.    Then, in ERP 2022, USDA refunded in full the cost of NAP to socially

   disadvantaged and other underserved farmers. 88 Fed. Reg. at 74411.

            159.    Finally, USDA decided not to apply progressive factoring to losses of crops covered

   by NAP. Id.

            160.    To illustrate, consider how USDA treats two hypothetical farmers, one who

   qualifies as socially disadvantaged and one who qualifies as neither socially disadvantaged nor

   otherwise underserved.

            161.    Both farmers lost $100,000 worth of crops eligible for coverage under NAP, but

   neither intended to apply for NAP.

            162.    USDA completely excludes the non-underserved farmer’s NAP-eligible crops from

   ERP 2022 Track 1 because his crops were not insured and he never received a NAP payment. 88

   Fed. Reg. at 74408−09.

            163.    Instead, USDA only allows him to apply for ERP 2022 Track 2. See id. at 74414.



   3
       This is the lowest tier of coverage available under NAP. See 7 C.F.R. § 1437.3 (2023).
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          164.    Under Track 2, USDA will apply the minimum ERP factor of 70 percent when

   calculating his losses because his NAP-eligible crops were not insured by NAP. Id.

          165.    In fact, because these NAP-eligible crops were not insured by NAP, USDA will

   apply the minimum factor of 70 percent when calculating all his Track 2 losses, even if most of

   his crops were covered by insurance. Id.

          166.    In addition, USDA will apply progressive factoring to payments based on his losses

   of NAP-eligible crops. Id. at 74414 n.27.

          167.    In contrast, USDA allows the socially disadvantaged farmer to use ERP 2022 Track

   1 even though he did not intend to apply for NAP coverage because, back in ERP 2021 Phase 2,

   USDA retroactively construed his application to be considered socially disadvantaged as an

   application for catastrophic NAP coverage. See ERP 2021 Phase 2, 88 Fed. Reg. at 1871.

          168.    USDA calculates the socially disadvantaged farmer’s NAP-eligible crop losses

   using the ERP factor of 75 percent used for minimum insurance coverage, again because USDA

   construed his application to be considered socially disadvantaged as an application for NAP

   coverage. ERP 2022, 88 Fed. Reg. at 74410 (providing a table that lists an ERP payment factor of

   75 percent for catastrophic NAP coverage).

          169.    Then, USDA does not apply progressive factoring because NAP-covered crops are

   excluded from progressive factoring under Track 1. Id. at 74411 (“The calculated amount for NAP-

   covered crops will not be subject to the progressive factoring that applies to ERP 2022 payments

   based on Federal [C]rop [I]nsurance indemnities . . . .” (footnote omitted)).

          170.    And USDA also refunds the cost of NAP coverage to the socially disadvantaged

   farmer. Id.




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          171.      After the socially disadvantaged farmer has received his Track 1 payment, USDA

   allows him to apply for ERP 2022 Track 2 to cover any losses he had that were not covered by

   Track 1. 88 Fed. Reg. at 74414.

          172.      USDA calculates the socially disadvantaged farmer’s Track 2 losses using a 90

   percent ERP factor rather than the 70 percent ERP factor used for the non-underserved farmer,

   again because USDA construed the socially disadvantaged farmer’s application to be considered

   socially disadvantaged as an application for NAP coverage. Id.

          173.      Then, at the penultimate step of the calculation, USDA multiplies the socially

   disadvantaged farmer’s payment by 115 percent, additional disaster relief that USDA provides

   only to socially disadvantaged and other underserved farmers. Id. at 74414 & n.28.

   Injury to Plaintiffs

          Rusty Strickland

          174.      Defendants injured Plaintiff Rusty Strickland through ERP 2022 Track 1, ELRP

   2022, ERP 2021 Phases 1 and 2, ELRP 2021 Phases 1 and 2, and CFAP 2 when they provided him

   less money than they would have under these programs if he were of a different race or sex.

          175.      Plaintiff Rusty Strickland operates a farm with his wife Alison Strickland.

          176.      USDA paid Mrs. Strickland more money than Mr. Strickland for all losses covered

   by the programs because she is a woman and he is a white man, even though they operate their

   farm together.

          177.      This is because USDA classifies Mrs. Strickland as socially disadvantaged because

   she is a woman.

          178.      Mr. Strickland is a white man and thus does not qualify as socially disadvantaged.




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          179.    Mr. Strickland is not a veteran farmer, beginning farmer, or limited resource farmer,

   the categories that qualify as underserved other than socially disadvantaged.

          180.    On information and belief, the following chart depicts the programs for which

   Mr. Strickland was eligible, the amount USDA calculated he had lost due to natural disasters or

   the pandemic for each, the payments received, and the amount USDA would have paid him if Mr.

   Strickland were of a different race or sex:




          ERP 2022 Track 1

          181.    Mr. and Mrs. Strickland each suffered $46,969.50 in losses due to weather events

   covered by ERP 2022 Track 1.

          182.    Mr. Strickland received $7,272.71 from USDA for his losses under ERP 2022

   Track 1; Mrs. Strickland received $71,900.96 for hers—nearly ten times as much for the same

   losses—because she is a woman.

          183.    If USDA had applied a flat factor instead of the progressive factor, Mr. and

   Mrs. Strickland would each have received an additional $2,238.61 under ERP 2022 Track 1.

          ELRP 2022

          184.    Mr. and Mrs. Strickland each suffered calculated livestock losses of $8,240 due to

   weather events covered by ELRP 2022.


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          185.    Mr. Strickland received $1,545 for his share of losses under ELRP 2022;

   Mrs. Strickland received $1,854 for hers because she is a woman.

          ERP 2021 Phases 1 and 2

          186.    Mr. and Mrs. Strickland each suffered $264,794 in calculated losses due to weather

   events covered by ERP 2021 Phase 1 and Phase 2.

          187.    Mr. Strickland received $207,863.34 for his share of calculated losses under ERP

   2021 Phases 1 and 2; Mrs. Strickland received $239,042.92 for hers because she is a woman.

          ELRP 2021 Phases 1 and 2

          188.    Mr. and Mrs. Strickland each suffered $4,056 in losses covered by ELRP 2021

   Phase 1 and Phase 2.

          189.    For his losses, Mr. Strickland received $3,042 under ELRP 2021 Phase 1 and $608

   under ELRP 2021 Phase 2; Mrs. Strickland received $3,650.40 under ELRP 2021 Phase 1 and

   $730.08 under ELRP 2021 Phase 2 for hers because she is a woman.

          CFAP 2

          190.    Mr. Strickland suffered $59,459.03 in losses and Mrs. Strickland suffered

   $59,404.034 in losses due to disaster and pandemic events covered by CFAP 2 for 2020.

          191.    Mr. Strickland did not receive an additional payment for his losses under CFAP 2;

   Mrs. Strickland received $8,910.61 for hers because she is a woman.

          192.    If USDA considered Mr. Strickland socially disadvantaged, he would have received

   an additional payment of $8,918.86, similar to what it paid Mrs. Strickland.




   4
    The $55 discrepancy is owed to a single head of cattle allocated to Mr. Strickland instead of
   Mrs. Strickland.
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          Alan and Amy West and Alan and Amy West Farms

          193.    Defendants injured Plaintiffs Alan West, Amy West, and Alan and Amy West

   Farms through ERP 2022 Tracks 1 and 2 and ERP 2021 Phases 1 and 2 when they provided them

   less money than they would have under these programs if Alan West were of a different race or

   sex.

          194.    Plaintiffs Alan and Amy West operate a farm, Alan and Amy West Farms, together.

          195.    Mr. West owns 52 percent of the farm and Mrs. West owns 48 percent.

          196.    Mr. West is a white man and thus does not qualify as socially disadvantaged.

          197.    Mrs. West is a woman and thus does qualify as socially disadvantaged, but because

   she owns only 48 percent of the farm, the entity does not qualify as socially disadvantaged with

   respect to the programs.

          198.    Neither Mr. West is not a veteran farmer, beginning farmer, or limited resource

   farmer, the categories that qualify as underserved other than socially disadvantaged.

          199.    On information and belief, the following chart depicts the programs for which Alan

   and Amy West Farms was eligible, the amount USDA calculated it had lost due to natural disasters

   or the pandemic for each, the payments received, and the amount USDA would have paid it if Mr.

   West were of a different race or sex:




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          ERP 2022 Track 1

          200.   Alan and Amy West Farms suffered losses of $208,706 due to weather events

   covered by ERP 2022 Track 1.

          201.   Alan and Amy West Farms received $19,402.94 from USDA under ERP 2022

   Track 1.

          202.   If it qualified as socially disadvantaged, Alan and Amy West Farms would have

   received $206,533.44 under the same program—more than ten times as much.

          203.   If USDA had applied a flat factor instead of the progressive factor, Alan and Amy

   West Farms would have received an additional $22,860.02 under ERP 2022 Track 1.

          ERP 2022 Track 2

          204.   Alan and Amy West Farms suffered losses of $631,289.01 due to weather events

   covered by ERP 2022 Track 2. 5

          205.   Alan and Amy West Farms received $51,096.68 from USDA under ERP 2022

   Track 2.

          206.   If it qualified as socially disadvantaged, Alan and Amy West Farms would have

   received $58,760.40 under ERP 2022 Track 2.

          207.   If USDA had applied a flat factor instead of the progressive factor, Alan and Amy

   West Farms would have received at least an additional $76,739.34 under ERP 2022 Track 2.

          ERP 2021 Phases 1 and 2

          208.   Alan and Amy West Farms suffered losses of $417,547.00 due to losses of cotton

   and forage covered by ERP 2021 Phases 1 and 2.



   5
    Because one component used in calculating Track 2 losses is the gross Track 1 payment, see ERP
   2022, 88 Fed. Reg. at 74414, all Track 2 calculations would change if Alan and Amy West Farms’
   Track 1 payment changed.
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           209.    Alan and Amy West Farms received $327,774.46 from USDA under ERP 2021

   Phases 1 and 2.

           210.    If it qualified as socially disadvantaged, Alan and Amy West Farms would have

   received $376,940.55 under the same program.

           211.    If USDA considered Mr. West socially disadvantaged, Alan and Amy West Farms

   would have received additional disaster relief because at least 50 percent of the entity would have

   been owned by socially disadvantaged farmers, benefiting both Mr. and Mrs. West.

           Bryan Baker and Double B Farms, LLC

           212.    Defendants injured Plaintiffs Bryan Baker and Double B Farms, LLC through ERP

   2021 Phases 1 and 2 and ERP 2022 Tracks 1 and 2 when Defendants provided them less money

   than they would have received under these programs if Mr. Baker were of a different race or sex.

           213.    Plaintiff Bryan Baker was also injured through PARP because he suffered losses

   covered by the program and received less money than he would have from the program if he were

   of a different race or sex.

           214.    Mr. Baker operates a sole proprietorship farm and Double B Farms, LLC.

           215.    Mr. Baker is a white man and thus does not qualify as socially disadvantaged.

           216.    Mr. Baker is not a veteran farmer, beginning farmer, or limited resource farmer, the

   categories that qualify as underserved other than socially disadvantaged.

           217.    On information and belief, the following chart depicts the programs for which

   Double B Farms, LLC was eligible, the amount USDA calculated it had lost due to natural disasters

   or the pandemic for each, the payments received, and the amount USDA would have paid it if Mr.

   Baker were of a different race or sex:




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          ERP 2022 Track 1

          218.   Double B Farms, LLC suffered $130,136 in losses due to weather events covered

   by ERP 2022 Track 1.

          219.   It received $13,510.20 under ERP 2022 Track 1.

          220.   If it were classified as socially disadvantaged, it would have received $110,688.75

   under ERP 2022 Track 1.

          221.   If USDA had applied a flat factor instead of the progressive factor, Double B Farms,

   LLC would have received an additional $12,842.34 under ERP 2022 Track 1.

          ERP 2022 Track 2

          222.   Double B Farms, LLC suffered $973,083.32 in losses due to weather events

   covered by ERP 2022 Track 2.

          223.   It received $76,731.25 under ERP 2022 Track 2.

          224.   If it were classified as socially disadvantaged, it would have received $88,241 under

   ERP 2022 Track 2. 6




   6
    Because one component used in calculating Track 2 losses is the gross Track 1 payment, see ERP
   2022, 88 Fed. Reg. at 74414, all Track 2 calculations would change if Double B Farms, LLC’s
   Track 1 payment changed.
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          225.    If USDA had applied a flat factor instead of the progressive factor, Double B Farms,

   LLC would have received an additional $120,318.12 under ERP 2022 Track 2, or $138,365.84

   more if it qualified as socially disadvantaged as well.

          ERP 2021 Phase 1

          226.    Double B Farms, LLC suffered $193,150 in losses due to weather events covered

   by ERP 2021 Phase 1.

          227.    It received $151,622.79 under ERP 2021 Phase 1.

          228.    If it were classified as socially disadvantaged, it would have received $174,366.16

   under ERP 2021 Phase 1.

          229.    The following chart depicts the programs for which Mr. Baker, through his sole

   proprietorship farm, was eligible, the amount USDA calculated he had lost due to natural disasters

   or the pandemic for each, the payments received, and the amount USDA would have paid him if

   he were of a different race or sex:




          ERP 2022 Track 1

          230.    Mr. Baker’s sole proprietorship farm suffered $53,850 in losses due to weather

   events covered by ERP 2022 Track 1.

          231.    He received $7,788.75 under ERP 2022 Track 1.




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          232.   If he were classified as socially disadvantaged, he would have received $48,153.74

   under ERP 2022 Track 1.

          233.   If USDA had applied a flat factor instead of the progressive factor, Bryan Baker

   would have received an additional $3,115.87 under ERP 2022 Track 1.

          ERP 2022 Track 2

          234.   Mr. Baker’s sole proprietorship farm suffered $372,889.73 in losses due to weather

   events covered by ERP 2022 Track 2.

          235.   He received $31,716.73 under ERP 2022 Track 2.

          236.   If he were classified as socially disadvantaged, he would have received $36,474.24

   under ERP 2022 Track 2. 7

          237.   If USDA had applied a flat factor instead of the progressive factor, Bryan Baker

   would have received at least an additional $43,794.17 under ERP 2022 Track 2.

          ERP 2021 Phase 1

          238.   Mr. Baker’s sole proprietorship farm suffered $67,990 in losses due to weather

   events covered by ERP 2021 Phase 1.

          239.   He received $53,372.17 under ERP 2021 Phase 1.

          240.   If he were classified as socially disadvantaged, he would have received $61,377.97.

          PARP

          241.   Mr. Baker’s sole proprietorship farm suffered calculated losses of $225,612.80 in

   2020 covered by PARP.

          242.   He received $9,448.03 under PARP.



   7
    Because one component used in calculating Track 2 losses is the gross Track 1 payment, see ERP
   2022, 88 Fed. Reg. at 74414, all Track 2 calculations would change if Mr. Baker’s Track 1 payment
   changed.
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          243.      If he were classified as socially disadvantaged, he would have received $11,591.35.

          244.      If USDA considered Mr. Baker socially disadvantaged, both he and Double B

   Farms, LLC would have received additional relief as detailed above.

   Summary of Injuries to Plaintiffs

          245.      On information and belief, Plaintiffs provide the following chart showing their

   injuries based on what they believe they would have received had USDA considered them socially

   disadvantaged:




          246.      If USDA had used a flat factor to calculate payments under ERP 2022, Plaintiffs

   would have received increased payments under ERP 2022 Tracks 1 and 2.

          247.      Plaintiffs are thus injured by USDA’s decision to abandon flat factoring and

   institute progressive factoring.

          248.      If Mr. Strickland, Mr. Baker, and Mr. West were women, American Indians,

   Alaskan Natives, Asians, Asian-Americans, blacks, African-Americans, Hispanics, Hispanic-




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   Americans, Native Hawaiians, or Pacific Islanders, USDA would consider them socially

   disadvantaged farmers.

           249.    Plaintiffs are thus disadvantaged relative to similarly situated farmers because of

   their race and sex.

                                          CAUSES OF ACTION

                                     FIRST CLAIM FOR RELIEF
                                     (Administrative Procedure Act)
                             (Ultra Vires Action; Major Questions Doctrine)

           250.    Plaintiffs reallege and incorporate by reference the allegations set forth above as if

   fully set forth herein.

           251.    Agencies have only those powers provided to them by statute; agency actions

   exceeding congressional delegation are unlawful.

           252.    The Administrative Procedure Act, 5 U.S.C. § 706(2)(C), instructs courts to “hold

   unlawful and set aside agency action . . . found to be . . . in excess of statutory jurisdiction,

   authority, or limitations, or short of statutory right.”

           253.    Through Executive Orders 13985 and 14091, President Biden made it the policy of

   his administration to advance racial “equity” by using federal programs to tip the scales of

   outcomes, rather than working to ensure equal opportunities for all Americans. See 86 Fed. Reg.

   7009; 88 Fed. Reg. 10825.

           254.    The challenged programs seek to advance “equity” by remedying alleged

   disparities between races and sexes in the United States through the constitutionally suspect and

   highly disfavored use of race and sex discrimination.




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           255.    The question whether these disparities should be addressed through overt race and

   sex preferences involves some of the most hotly debated topics and the most politically and

   economically significant questions facing the country.

           256.    The executive orders and USDA’s Equity Action Plan show that USDA and the

   Biden Administration believe that these are among the most important questions facing the

   country.

           257.    The appropriations used to fund the programs total nearly $25 billion.

           258.    Thus, through the challenged programs, Defendants seek to answer a “major

   question” involving vast political and economic significance.

           259.    “Major questions” can be answered only by agencies when Congress has articulated

   a clear statement authorizing such expansive powers. See West Virginia v. EPA, 142 S. Ct. 2587,

   2608 (2022).

           260.    When Congress does wish to enact a benefit that discriminates based on race or sex,

   it does so clearly and in express terms.

           261.    Congress has provided no authorization whatsoever for Defendants’ actions, let

   alone clear authorization; instead, it simply provided funds for disaster and pandemic relief.

           262.    Defendants have thus acted unlawfully and ultra vires.

                                SECOND CLAIM FOR RELIEF
                                   (Administrative Procedure Act)
                  (Fifth Amendment Equal Protection Violation – Race Discrimination)

           263.    Plaintiffs reallege and incorporate by reference the allegations set forth above as if

   fully set forth herein.




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           264.    The Administrative Procedure Act, 5 U.S.C. § 706(2)(B), instructs courts to “hold

   unlawful and set aside agency action . . . found to be . . . contrary to constitutional right, power,

   privilege, or immunity.”

           265.    The programs discriminate based on race in violation of the Fifth Amendment to

   the United States Constitution.

           266.    Plaintiffs, except Amy West, received less money under the programs than a

   similarly situated farmer of a different race would have.

           267.    Plaintiff Amy West received less money under the programs than a similarly

   situated farmer whose business partner were of a different race would have.

           268.    Plaintiffs are harmed by Defendants’ racial classifications because, but for

   Defendants’ racial discrimination, they would be receiving greater disaster and pandemic relief

   from the programs.

           269.    The racial classifications of the programs do not satisfy strict scrutiny. Adarand

   Constructors v. Peña, 515 U.S. 200, 224 (1995) (“[A]ny person, of whatever race, has the right to

   demand that any governmental actor subject to the Constitution justify any racial classification

   subjecting that person to unequal treatment under the strictest judicial scrutiny.”).

           270.    Defendants do not have a compelling interest in providing enhanced disaster or

   pandemic relief to farmers simply based on their membership in a particular race. See Wygant v.

   Jackson Bd. of Educ., 476 U.S. 267, 274 (1986) (“This Court never has held that societal

   discrimination alone is sufficient to justify a racial classification.”).

           271.    Defendants’ preference for farmers of certain races is not narrowly tailored to any

   compelling interest. See Nuziard v. Minority Bus. Dev. Agency, No. 4:23-CV-0278, 2024 U.S.

   Dist. LEXIS 38050, at *99 (N.D. Tex. Mar. 5, 2024) (“It doesn’t matter if it’s the easiest, most



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   administrable, most well-intentioned program in the world—it cannot be based on race if it is not

   strictly necessary to achieve the relevant compelling interest.”)

           272.    The programs are not narrowly tailored since they are both underinclusive—they

   do not provide additional benefits to groups that have histories of discrimination in the United

   States, such as Jewish-Americans, Arab-Americans, Italian-Americans, Slavic-Americans, and

   Irish-Americans—and overinclusive—they include farmers who may meet the racial

   qualifications, but who have never suffered discrimination on that basis or are wealthy and not in

   danger of catastrophe absent additional disaster relief.

                                 THIRD CLAIM FOR RELIEF
                                  (Administrative Procedure Act)
                  (Fifth Amendment Equal Protection Violation – Sex Discrimination)

           273.    Plaintiffs reallege and incorporate by reference the allegations set forth above as if

   fully set forth herein.

           274.    The Administrative Procedure Act, 5 U.S.C. § 706(2)(B), instructs courts to” hold

   unlawful and set aside agency action . . . found to be . . . contrary to constitutional right, power,

   privilege, or immunity.”

           275.    The programs discriminate based on sex in violation of the Fifth Amendment to the

   United States Constitution.

           276.    Defendants are responsible for implementing the programs.

           277.    Plaintiffs, except Amy West, received less money under the programs than a

   similarly situated farmer of a different sex would have.

           278.    Plaintiff Amy West received less money under the programs than a similarly

   situated farmer whose business partner were of a different sex would have.




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           279.    Plaintiffs are harmed by Defendants’ sex classifications because, but for

   Defendants’ sex discrimination, they would be receiving greater disaster and pandemic relief from

   the programs.

           280.    Defendants’ preference for women is not substantially related to any exceedingly

   persuasive objective. See Sessions v. Morales-Santana, 582 U.S. 47, 58 (2017).

           281.    General claims of societal sex discrimination cannot justify the challenged

   programs. See Miss. Univ. for Women v. Hogan, 458 U.S. 718, 727–29 (1982).

           282.    The challenged programs are both underinclusive and overinclusive—they fail to

   include farmers who are not women but who have suffered discrimination based on their sex and

   they do include farmers who are women but who have never suffered discrimination based on their

   sex.

                                 FOURTH CLAIM FOR RELIEF
                                    (Administrative Procedure Act)
               (Arbitrary and Capricious – Progressive Factoring and Insurance Refunds)

           283.    Plaintiffs reallege and incorporate by reference the allegations set forth above as if

   fully set forth herein.

           284.    In prior years, USDA had used a simple system for disaster relief. First, it would

   calculate how much each farmer had lost to specific disaster events and sum that up. Second, it

   would refund a portion of each farmer’s Federal Crop Insurance and/or NAP premiums and fees.

   Third, it would see how much money it had to spend. Fourth, it would divide the money

   proportional to each farmer’s losses using a flat factor.

           285.    But it abruptly shifted its policy when it published the Notice of Funding

   Availability for ERP 2022 in October 2023.




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           286.       Suddenly and without warning, it abandoned flat factoring and implemented what

   it calls progressive factoring and stopped providing refunds of Federal Crop Insurance and NAP

   premiums and fees to all farmers.

           287.       Under progressive factoring, farmers with large losses are given reduced assistance

   and farmers with small losses are given additional assistance.

           288.       This is a dramatic shift from prior policy, and the agency provided only a cursory,

   two-sentence explanation of its reasoning for the shift.

           289.       USDA’s only explanation is found in a footnote in the Notice of Funding

   Availability, 88 Fed. Reg. at 74410 n.14, saying:

           Progressive factoring is a mechanism that ensures the limited available funding is
           distributed in a manner benefitting the majority of producers rather than a few.
           Additionally, progressive factoring increases emergency relief payments to most
           participants while reducing larger potential payments which increases the
           proportion of funding provided to smaller producers.

           290.       This sudden change had a dramatic effect, which harmed and continues to harm

   Plaintiffs in two distinct ways.

           291.       First, Plaintiffs will receive less in disaster relief because of this change; for

   instance, Plaintiff Rusty Strickland would have received $9,511.32 under the flat factor system but

   received only $7,271.71 under the progressive factoring system.

           292.       Second, Plaintiffs were injured because they relied on USDA’s past practice of

   disaster relief.

           293.       For example, Plaintiffs Alan West and Amy West made plans for the next year in

   part based on their expected ERP 2022 payment.




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          294.    When USDA’s decision to reduce their relief payments via progressive factoring

   caused Mr. and Mrs. West to suffer shortfalls, they ended up dipping into their retirement savings

   and using an advance on their operating note to run Alan and Amy West Farms.

          295.    In addition, all Plaintiffs expected they would receive a refund of their Federal Crop

   Insurance premiums and fees as they had in prior years.

          296.    Although USDA provided a bare-bones explanation for its institution of

   progressive factoring, it did not explain its decision to no longer extend a refund of Federal Crop

   Insurance premiums and fees to all farmers.

          297.    Agencies must always provide a reasoned explanation for their actions, and when

   an agency changes from its past policy, it must at minimum “display awareness that it is changing

   position.” FCC v. Fox TV Stations, Inc., 556 U.S. 502, 515 (2009).

          298.    This requirement is particularly important where, as here, the agency’s “prior policy

   has engendered serious reliance interests that must be taken into account.” Id.

          299.    USDA’s two-sentence explanation fails to provide even the most basic explanation

   of its reasoning and its implementation of progressive factoring is thus arbitrary and capricious.

          300.    The footnote does not consider reliance interests; it does not acknowledge the shift

   in policy; it does not explain alternatives that USDA considered; it does not explain how its

   reasoning was based on the factors Congress intended it to consider. See Motor Vehicle Mfrs. Ass’n

   v. State Farm Mut. Auto Ins., 463 U.S. 29, 43 (1983) (explaining that an agency’s action is arbitrary

   and capricious when it “has relied on factors which Congress has not intended it to consider”).




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                                          RELIEF REQUESTED

          Plaintiffs respectfully request that this Court:

          A.         Hold unlawful and set aside the programs under 5 U.S.C. § 706(2);

          B.         Enter a declaratory judgment that Congress never authorized USDA to allocate

   disaster and pandemic relief to individuals based on race or sex;

          C.         Enter an order preliminarily and permanently enjoining Defendants from enforcing

   or implementing any categories based on race or sex absent clear congressional authorization;

          D.         In the alternative, enter a declaratory judgment that the race and sex preferences of

   the challenged programs are unconstitutional under the Equal Protection principles protected by

   the Due Process Clause of the Fifth Amendment to the United States Constitution, both facially

   and as applied;

          E.         Enter an order preliminarily and permanently enjoining Defendants from enforcing

   or implementing any race or sex preferences and remand the programs to USDA to remedy the

   Fifth Amendment violations;

          F.         In the alternative, vacate and set aside the provisions of each of the challenged

   programs that apply race or sex preferences and remand the challenged programs to USDA to

   remedy the Fifth Amendment violations;

          G.         Enter an order permanently enjoining Defendants from reducing or increasing

   payments using the Notice of Funding Availability’s progressive factoring system;

          H.         Vacate and set aside the portion of the Notice of Funding Availability instituting

   progressive factoring and remand to the agency;




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          I.    Exercise its discretion to mandate a 90-day remand timeline, maintain jurisdiction

   over the action to ensure compliance, and provide guidance to USDA on available curative

   responses;

          J.    Award Plaintiffs such costs and attorneys’ fees as allowed by law;

          K.    Grant such other and further relief as the Court deems appropriate.



   Dated: March 29, 2024.                     Respectfully submitted,


                                               /s/ Braden H. Boucek
                                              BRADEN H. BOUCEK
                                                 Georgia Bar No. 396831
                                                 Tennessee Bar No. 021399
                                              BENJAMIN I. B. ISGUR
                                                 Virginia Bar No. 98812
                                              Southeastern Legal Foundation
                                              560 W. Crossville Road, Suite 104
                                              Roswell, GA 30075
                                              (770) 977-2131
                                              bboucek@southeasternlegal.org
                                              bisgur@southeasternlegal.org

                                              WILLIAM E. TRACHMAN
                                                Colorado Bar No. 45684
                                              Mountain States Legal Foundation
                                              2596 South Lewis Way
                                              Lakewood, Colorado 80227
                                              (303) 292-2021
                                              wtrachman@mslegal.org

                                              Attorneys for Plaintiffs




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                           IN THE UNITED STATES DISTRICT COURT
                           FOR THE NORTHERN DISTRICT OF TEXAS
                                   AMARILLO DIVISION

    RUSTY STRICKLAND,                                    )
    ALAN AND AMY WEST FARMS,                             )
                                                         )
    ALAN WEST,                                           )
    AMY WEST,                                            )
                                                         )
    DOUBLE B FARMS, LLC, and                             )
    BRYAN BAKER,                                         )
                                                         )
           Plaintiffs,                                   )
                                                         )
    v.                                                   ) Case No. 2:24-cv-60-Z
                                                         )
    THE UNITED STATES DEPARTMENT OF                      )
    AGRICULTURE,                                         )
    THOMAS J. VILSACK, in his official capacity          )
    as Secretary of the United States Department of      )
    Agriculture,                                         )
                                                         )
    ZACH DUCHENEAUX, in his official
                                                         )
    capacity as Administrator of the Farm Service
                                                         )
    Agency, and
                                                         )
    THE UNITED STATES OF AMERICA,                        )
           Defendants.                                   )



                                  DECLARATION OF ALAN WEST


          I, Alan West, declare the following:

          1.      The facts set forth in this declaration are based on my knowledge and, if called as

   a witness, I can competently testify to their truthfulness under oath. As to those matters that reflect

   a matter of opinion, they reflect my personal opinion and judgment upon the matter.

          2.      I am a citizen of the United States, a resident of Texas, over 18 years of age, and

   have personal knowledge of the facts set forth herein.

          3.      I am fully competent to make this declaration.




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            4.    I am a farmer in Lubbock, Texas.

            5.    I am married to Amy West.

            6.    Amy and I own and operate Alan and Amy West Farms as a joint venture, in which

   I hold a 52% stake and Amy holds a 48% stake.

            7.    Alan and Amy West Farms grows cotton, wheat, grain sorghum, and hay.

            8.    In 2020, 2021, and 2022, our area experienced excessive heat and drought. For

   example, 2022 had thirty-four days with a high temperature over 100 degrees, the second greatest

   number of days over 100 degrees on record. In 2022, we received only 1.12 inches of rain in June,

   and only 0.20 inches of rain in July. Average rainfall in the months of June and July is around two

   inches per month. The 2022 drought was especially damaging to our farm because we had

   experienced below-average rainfall in the months prior, leaving us no underground reserve

   moisture from which to draw. Weather conditions in 2020 and 2021 in our area also harmed our

   crops.

            9.    I am a Non-Hispanic, Caucasian (white) male.

            10.   I am not a “beginning farmer” because I have operated a farm for more than ten

   years.

            11.   I am not a “veteran farmer” because I am not a veteran.

            12.   I am not a “limited resource farmer” because our total household income for all

   relevant calendar years placed me above the national poverty level for a family of four.

            13.   As a result of my statuses identified above, I do not qualify as an “underserved

   farmer or rancher” for purposes of relief programs administered by United States Department of

   Agriculture (USDA) to help our farm cope with losses due to the excessive heat and drought we

   have experienced in northwest Texas. Furthermore, because my wife owns only 48% of our joint



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   venture, rather than at least 50%, her ownership share is insufficient for USDA to consider our

   joint venture “socially disadvantaged.”

          14.     For losses our area suffered from excessive heat and drought, our farm, Alan and

   Amy West Farms, applied to USDA under the Emergency Relief Program 2021, Phases 1 and 2,

   identifying total eligible losses of $417,547.00. USDA issued Alan and Amy West Farms program

   payments totaling $327,774.46.

          15.     For losses our area suffered from excessive heat and drought, our farm, Alan and

   Amy West Farms, applied to USDA under the Emergency Relief Program 2022, Track 1,

   identifying an eligible loss of $208,706.00. USDA issued Alan and Amy West Farms a program

   payment of $19,402.94.

          16.     The payment USDA issued to Alan and Amy West Farms under the Emergency

   Relief Program 2022, Track 1 did not include a refund of federal crop insurance premiums and

   fees because USDA does not consider our farm underserved. This was a change from prior years.

          17.     Additionally, in determining the payment Alan and Amy West Farms received

   under the Emergency Relief Program 2022, Track 1, USDA applied its newly adopted progressive

   factoring, resulting in a substantial reduction in the payment to loss ratio compared to past years.

          18.     This came as a surprise to me. Prior to USDA announcing its progressive factoring

   approach, Amy and I created an annual budget based on USDA’s prior payment practices, which

   did not include a reduction in payment based on progressive factoring. As a result of USDA using

   progressive factoring rather than flat factoring and not refunding our crop insurance premiums,

   my wife and I were forced to borrow against our retirement funds to cover the lost funding and

   meet our operating budget and loan obligations. We paid an interest rate of 12% to borrow against

   our savings. Furthermore, we lacked the necessary operating funds for the 2024 season and had to



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   use money from our bank line of credit, at an interest rate of 9%. We will be incurring interest on

   this line of credit at least until our crops bring a return in September 2024.

          19.     Also, in anticipation of receiving funding based on the historical flat factoring

   calculation, Alan and Amy West Farms invested money to upgrade a cotton harvester that it

   otherwise would not have upgraded. As a result of the decreased payment, Amy and I were forced

   to withdraw over $20,000 from our money market account to make the down payment on the

   replacement cotton harvester. We were also forced to postpone trading in two work trucks with

   over 240,000 miles on them and trading in one of our tractors.

          20.     For losses our area suffered from excessive heat and drought, our farm, Alan and

   Amy West Farms, applied to USDA under the Emergency Relief Program 2022, Track 2,

   identifying an eligible loss of $631,289.01. USDA issued Alan and Amy West Farms a program

   payment of $51,096.68.

          21.     Had I not been Caucasian and male, our farm, Alan and Amy West Farm, and I

   would not have been denied disaster relief from USDA under the Emergency Relief Program 2021,

   Phases 1 and 2, and the Emergency Relief Program 2022, Tracks 1 and 2.

          22.     USDA’s decision that I must be a veteran, a new farmer, or struggling to make ends

   meet to be entitled to the same disaster relief as every other American farmer is stigmatizing and

   discriminatory. I am aware that USDA is punishing me because of my race and sex.

          I declare under penalty of perjury under the laws of the United States of America that the

   foregoing is true and correct to the best of my knowledge, information, and belief.




   Dated: ___________                                             _____________________________
                                                                  Alan West


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                           IN THE UNITED STATES DISTRICT COURT
                           FOR THE NORTHERN DISTRICT OF TEXAS
                                   AMARILLO DIVISION

    RUSTY STRICKLAND,                                    )
    ALAN AND AMY WEST FARMS,                             )
                                                         )
    ALAN WEST,                                           )
    AMY WEST,                                            )
                                                         )
    DOUBLE B FARMS, LLC, and                             )
    BRYAN BAKER,                                         )
                                                         )
           Plaintiffs,                                   )
                                                         )
    v.                                                   ) Case No. 2:24-cv-60-Z
                                                         )
    THE UNITED STATES DEPARTMENT OF                      )
    AGRICULTURE,                                         )
    THOMAS J. VILSACK, in his official capacity          )
    as Secretary of the United States Department of      )
    Agriculture,                                         )
                                                         )
    ZACH DUCHENEAUX, in his official
                                                         )
    capacity as Administrator of the Farm Service
                                                         )
    Agency, and
                                                         )
    THE UNITED STATES OF AMERICA,                        )
           Defendants.                                   )



                                  DECLARATION OF AMY WEST


          I, Amy West, declare the following:

          1.      The facts set forth in this declaration are based on my knowledge and, if called as

   a witness, I can competently testify to their truthfulness under oath. As to those matters that reflect

   a matter of opinion, they reflect my personal opinion and judgment upon the matter.

          2.      I am a citizen of the United States, a resident of Texas, over 18 years of age, and

   have personal knowledge of the facts set forth herein.

          3.      I am fully competent to make this declaration.




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            4.    I am a farmer in Lubbock, Texas.

            5.    I am married to Alan West.

            6.    Alan and I own and operate Alan and Amy West Farms as a joint venture, in which

   I hold a 48% stake and Alan holds a 52% stake.

            7.    Alan and Amy West Farms grows cotton, wheat, grain sorghum, and hay.

            8.    In 2020, 2021, and 2022, our area experienced excessive heat and drought. For

   example, 2022 had thirty-four days with a high temperature over 100 degrees, the second greatest

   number of days over 100 degrees on record. In 2022, we received only 1.12 inches of rain in June,

   and only 0.20 inches of rain in July. Average rainfall in the months of June and July exceeds two

   inches per month. The 2022 drought was especially damaging to our farm because we had

   experienced below-average rainfall in the months prior, leaving us no underground reserve

   moisture from which to draw. Weather conditions in 2020 and 2021 in our area also harmed our

   crops.

            9.    I am a Non-Hispanic, Caucasian (white) female.

            10.   Although I, personally, qualify as an “underserved farmer or rancher” by virtue of

   my status as a woman, because I own 48% of our joint venture, rather than 50% or more, Alan and

   Amy West Farms is not considered a “socially disadvantaged farmer” for purposes of relief

   programs administered by United States Department of Agriculture (USDA) to help our farm cope

   with losses due to the excessive heat and drought we have experienced in northwest Texas.

            11.   For losses our area suffered from excessive heat and drought, our farm, Alan and

   Amy West Farms, applied to USDA under the Emergency Relief Program 2021, Phases 1 and 2,

   identifying total eligible losses of $417,547.00. USDA issued Alan and Amy West Farms program

   payments totaling $327,774.46.



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          12.     For losses our area suffered from excessive heat and drought, our farm, Alan and

   Amy West Farms, applied to USDA under the Emergency Relief Program 2022, Track 1,

   identifying an eligible loss of $208,706.00. USDA issued Alan and Amy West Farms a program

   payment of $19,402.94.

          13.     The payment USDA issued to Alan and Amy West Farms under the Emergency

   Relief Program 2022, Track 1, did not include a refund of federal crop insurance premiums and

   fees because USDA does not consider our farm underserved. This was a change from prior years.

          14.     Additionally, in determining the payment Alan and Amy West Farms received

   under the Emergency Relief Program 2022, Track 1, USDA applied its newly adopted progressive

   factoring, resulting in a substantial reduction in the payment to loss ratio compared to past years.

          15.     This came as a surprise to me. Prior to USDA announcing its progressive factoring

   approach, Alan and I created an annual budget based on USDA’s prior payment practices, which

   did not include a reduction in payment based on progressive factoring. As a result of USDA using

   progressive factoring rather than flat factoring, my husband and I were forced to borrow against

   our retirement funds to cover the lost funding and meet our operating budget and loan obligations.

   We paid an interest rate of 12% to borrow against our savings. Furthermore, we lacked the

   necessary operating funds for the 2024 season and had to use money from our bank line of credit,

   at an interest rate of 9%. We will be incurring interest on this line of credit at least until our crops

   bring a return in September 2024.

          16.     Also, in anticipation of receiving funding based on the historical flat factoring

   calculation, Alan and Amy West Farms invested money to upgrade a cotton harvester that it

   otherwise would not have upgraded. As a result of the decreased payment, Alan and I were forced

   to withdraw over $20,000 from our money market account to make the down payment on the



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   replacement cotton harvester. We were also forced to postpone trading in two work trucks with

   over 240,000 miles on them and trading in one of our tractors.

          17.     For losses our area suffered from excessive heat and drought, our farm, Alan and

   Amy West Farms, applied to USDA under the Emergency Relief Program 2022, Track 2,

   identifying an eligible loss of $631,289.01. USDA issued Alan and Amy West Farms a program

   payment of $51,096.68.

          18.     Had I owned 2% more of Alan and Amy West Farms, such that my ownership

   interest was 50% rather than 48%, or if my husband Alan were a woman or non-white, our farm

   would not have been denied disaster relief from USDA under the Emergency Relief Program 2021,

   Phases 1 and 2 and the Emergency Relief Program 2022, Tracks 1 and 2.

          I declare under penalty of perjury under the laws of the United States of America that the

   foregoing is true and correct to the best of my knowledge, information, and belief.




   Dated: ___________                                          _____________________________
                                                               Amy West




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                           IN THE UNITED STATES DISTRICT COURT
                           FOR THE NORTHERN DISTRICT OF TEXAS
                                   AMARILLO DIVISION

    RUSTY STRICKLAND,                                    )
    ALAN AND AMY WEST FARMS,                             )
                                                         )
    ALAN WEST,                                           )
    AMY WEST,                                            )
                                                         )
    DOUBLE B FARMS, LLC, and                             )
    BRYAN BAKER,                                         )
                                                         )
           Plaintiffs,                                   )
                                                         )
    v.                                                   ) Case No. 2:24-cv-60-Z
                                                         )
    THE UNITED STATES DEPARTMENT OF                      )
    AGRICULTURE,                                         )
    THOMAS J. VILSACK, in his official capacity          )
    as Secretary of the United States Department of      )
    Agriculture,                                         )
                                                         )
    ZACH DUCHENEAUX, in his official
                                                         )
    capacity as Administrator of the Farm Service
                                                         )
    Agency, and
                                                         )
    THE UNITED STATES OF AMERICA,                        )
           Defendants.                                   )



                                DECLARATION OF BRYAN BAKER


          I, Bryan Baker, declare the following:

          1.      The facts set forth in this declaration are based on my knowledge and, if called as

   a witness, I can competently testify to their truthfulness under oath. As to those matters that reflect

   a matter of opinion, they reflect my personal opinion and judgment upon the matter.

          2.      I am a citizen of the United States, a resident of Texas, over 18 years of age, and

   have personal knowledge of the facts set forth herein.

          3.      I am fully competent to make this declaration.




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            4.    I am a farmer in Sudan, Texas and grow cotton, black eyed peas, grain sorghum,

   and sorghum silage.

            5.    I am the sole owner of Double B Farms, LLC.

            6.    In 2020, 2021, and 2022, our area experienced excessive heat and drought. These

   conditions harmed crops and reduced available grazing. My farms have produced less than half

   the cotton they normally would have. Although I have been fortunate enough not to directly suffer

   from the wildfires that have struck many neighboring farmers, the ripple effects of these disasters

   impact everything and everyone around me through the agricultural cooperatives as well as the

   local economy. These bad years have left me without the capital I need to upgrade my rollers,

   including a John Deere sprayer and other vehicles my employees use.

            7.    I am a Non-Hispanic, Caucasian (white) male.

            8.    I am not a “beginning farmer” because I have operated a farm for more than ten

   years.

            9.    I am not a “veteran farmer” because I am not a veteran.

            10.   I am not a “limited resource farmer” because my total household income for all

   relevant calendar years placed me above the national poverty level for a family of four.

            11.   As a result of my statuses identified in the paragraphs above, neither I nor Double

   B Farms, LLC qualified as an “underserved farmer or rancher” for purposes of the relief programs

   administered by the United States Department of Agriculture (USDA) to help our farm cope with

   losses due to the pandemic, the excessive heat, and the droughts we experienced in northwest

   Texas.

            12.   I applied to USDA under the Pandemic Assistance Revenue Program, identifying

   my eligible 2020 program loss as $225,612.80. USDA issued me a program payment of $9,448.03.



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          13.     For losses our area suffered from droughts and excessive heat in 2020 and 2021, I

   applied to USDA under the Emergency Relief Program 2021, Phase 1, identifying my eligible

   program loss as $67,990.00. USDA issued me a program payment of $53,372.17.

          14.     For losses our area suffered from droughts and excessive heat in 2020 and 2021,

   Double B Farms, LLC applied to USDA under the Emergency Relief Program 2021, Phase 1,

   identifying an eligible program loss of $193,150.00. USDA issued Double B Farms, LLC a

   program payment of $151,622.79.

          15.     For losses our area suffered from droughts and excessive heat in 2022, I applied to

   USDA under the Emergency Relief Program 2022, Track 1, identifying an eligible program loss

   of $53,850.00. USDA issued me a program payment of $7,788.75.

          16.     For losses our area suffered from droughts and excessive heat in 2022, Double B

   Farms, LLC applied to USDA under the Emergency Relief Program 2022, Track 1, identifying an

   eligible program loss of $130,136.00. USDA issued Double B Farms, LLC a program payment of

   $13,510.20.

          17.     The payments USDA issued to Double B Farms, LLC and me under the Emergency

   Relief Program 2022, Track 1, did not include any refunds of federal crop insurance premiums and

   fees because it does not consider either Double B Farms, LLC or me underserved. This was a

   change from prior years.

          18.     Additionally, in determining the payments Double B Farms, LLC and I received

   under the Emergency Relief Program 2022, Track 1, USDA applied its newly adopted progressive

   factoring, resulting in a substantial reduction in the payment to loss ratio compared to past years.

   This came as a surprise to me. Prior to USDA announcing its progressive factoring approach, I




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   planned based on USDA’s prior payment practices, which did not include a reduction in payment

   based on progressive factoring.

          19.     For losses our area suffered from droughts and excessive heat in 2022, I applied to

   USDA under the Emergency Relief Program 2022, Track 2, identifying an eligible program loss

   of $372,889.73. USDA issued me a program payment of $31,716.73.

          20.     For losses our area suffered from droughts and excessive heat in 2022, Double B.

   Farms, LLC applied to USDA under the Emergency Relief Program 2022, Track 2, identifying an

   eligible program loss of $973,083.32. USDA issued Double B Farms, LLC a program payment of

   $76,731.25.

          21.     Had I not been Caucasian and male, both Double B Farms, LLC and I would not

   have been denied disaster relief from USDA under the Emergency Relief Program 2021, Phase 1,

   and the Emergency Relief Program 2022, Tracks 1 and 2. In addition, I would not have been denied

   disaster relief from USDA under the Pandemic Assistance Revenue Program.

          22.     USDA’s decision that I must be a veteran, a new farmer, or struggling to make ends

   meet to be entitled to the same disaster relief as every other American farmer is stigmatizing and

   discriminatory. I am aware that USDA is punishing me because of my race and sex.

          I declare under penalty of perjury under the laws of the United States of America that the

   foregoing is true and correct, to the best of my knowledge, information, and belief.




   Dated: ___________                                          _____________________________
                                                               Bryan Baker




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                           IN THE UNITED STATES DISTRICT COURT
                           FOR THE NORTHERN DISTRICT OF TEXAS
                                   AMARILLO DIVISION

    RUSTY STRICKLAND,                                    )
    ALAN AND AMY WEST FARMS,                             )
                                                         )
    ALAN WEST,                                           )
    AMY WEST,                                            )
                                                         )
    DOUBLE B FARMS, LLC, and                             )
    BRYAN BAKER,                                         )
                                                         )
           Plaintiffs,                                   )
                                                         )
    v.                                                   ) Case No. 2:24-cv-60-Z
                                                         )
    THE UNITED STATES DEPARTMENT OF                      )
    AGRICULTURE,                                         )
    THOMAS J. VILSACK, in his official capacity          )
    as Secretary of the United States Department of      )
    Agriculture,                                         )
                                                         )
    ZACH DUCHENEAUX, in his official
                                                         )
    capacity as Administrator of the Farm Service
                                                         )
    Agency, and
                                                         )
    THE UNITED STATES OF AMERICA,                        )
           Defendants.                                   )



                            DECLARATION OF RUSTY STRICKLAND


          I, Rusty Strickland, declare the following:

          1.      The facts set forth in this declaration are based on my knowledge and, if called as

   a witness, I can competently testify to their truthfulness under oath. As to those matters that reflect

   a matter of opinion, they reflect my personal opinion and judgment upon the matter.

          2.      I am a citizen of the United States, a resident of Texas, over 18 years of age, and

   have personal knowledge of the facts set forth herein.

          3.      I am fully competent to make this declaration.




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            4.    I am a farmer and rancher in Wellington, Texas.

            5.    I am married to Alison Strickland.

            6.    Together, Alison and I own and operate a farm and ranch.

            7.    Together, we grow cotton, peanuts, and wheat. We also raise cattle.

            8.    In 2020, 2021, and 2022, our area experienced excessive heat and drought. These

   conditions harmed crops and reduced available grazing.

            9.    I am a Non-Hispanic, Caucasian (white) male.

            10.   I am not a “beginning farmer” because I have operated a farm for more than ten

   years.

            11.   I am not a “veteran farmer” because I am not a veteran.

            12.   I am not a “limited resource farmer” because my total household income for all

   relevant calendar years placed me above the national poverty level for a family of four.

            13.   As a result of my statuses identified in the paragraphs above, I do not qualify as an

   “underserved farmer or rancher” for purposes of the relief programs administered by the United

   States Department of Agriculture (USDA) to help our farm cope with losses due to the pandemic,

   the excessive heat, and the droughts we experienced in northwest Texas. 2020 and 2021 were bad

   years, but 2022 and 2023 have been some of the worst I’ve ever personally experienced. The spring

   of 2022 was terrible and dry, but we saw a brief glimmer of hope when we got two inches of rain

   in May of 2022. We rushed out and worked 24 hours a day getting our cotton planted in the dryland

   while we had the moisture. But the moisture didn’t last long. We lost the crop. We also planted an

   irrigated crop, but we ended up with about 60% of what we would have gotten in a normal year.

   2023 started off looking better with snow in January. It gave us all hope again. But we got no other

   moisture until May. That killed our winter wheat crop. The summer was looking good until it dried


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   up and we started getting 110-degree days that lasted until September. In 2023, I was forced to

   terminate 90% of my dryland crops and my irrigated crop was the worst I’ve ever produced in 23

   years. Although these disaster relief programs don’t cover my 2023 losses, as a result of my 2023

   losses things are bad and getting worse. I have never needed a disaster relief payment more than

   now.

            14.   I applied to USDA for relief under the Coronavirus Food Assistance Program 2.

   Initially, my wife and I were paid the same amount. However, when USDA made an additional

   payment, USDA paid me $0.00 and my wife $8,863.86, solely because she is a woman, and I am

   a man.

            15.   For losses our area suffered from droughts and excessive heat in 2020 and 2021, I

   applied to USDA for relief under the Emergency Relief Program 2021, Phase 1, with a qualifying

   program loss of $130,147.50. USDA issued me a payment of $102,165.81. For my wife’s half,

   USDA calculated her loss as $149,669.72 and issued her a payment of $117,490.74. Although our

   actual losses were identical since we share the farm equally, USDA paid my wife $15,324.93 more,

   solely because she is a woman, and I am a man.

            16.   For losses our area suffered from droughts and excessive heat in 2020 and 2021, I

   applied to the USDA for relief under the Emergency Relief Program 2021, Phase 2, with a

   qualifying program loss of $134,646.50. USDA issued me a payment of $105,697.53. For my

   wife’s half of the venture, USDA calculated her loss as $154,843.53 and issued her a payment of

   $121,552.18. Although our actual losses were identical since we share the farm equally, USDA

   paid my wife $15,854.65 more, solely because she is a woman, and I am a man.

            17.   For grazing losses our area suffered from droughts and excessive heat in 2020 and

   2021, I applied to USDA for relief under the Emergency Livestock Relief Program 2021, Phase 1,


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   identifying an eligible loss for my half of the farm of $4,056.00. USDA issued me a program

   payment of $3,042.00. Meanwhile, my wife applied to USDA for her half, seeking relief for the

   same loss amount but receiving a payment from USDA of $3,650.40. Although our losses were

   identical since we share the farm equally, USDA paid my wife $608.40 more, solely because she

   is a woman, and I am a man.

          18.    For grazing losses our area suffered from droughts and excessive heat in 2020 and

   2021, I applied to USDA for relief under the Emergency Livestock Relief Program 2021, Phase 2,

   with a qualifying program loss of $3,042.00. USDA issued me a payment of $608.40. For my

   wife’s half of the venture, USDA calculated her loss as $3,650.40 and issued her a payment of

   $730.08. Although our losses were identical since we share the farm equally, USDA paid my wife

   $121.68 more, solely because she is a woman, and I am a man.

          19.    For losses our area suffered from droughts and excessive heat in 2022, I applied to

   USDA for relief under the Emergency Livestock Relief Program 2022, identifying an eligible loss

   for my half of the venture of $8,240.00. USDA issued me a program payment of $1,545.00.

   Meanwhile, my wife applied to USDA for her half of the venture, seeking relief for the same loss

   amount but receiving a payment from USDA of $1,854.00. Although our losses were identical

   since we share the farm equally, USDA paid my wife $309.00 more, solely because she is a woman,

   and I am a man.

          20.    For losses our area suffered from droughts in 2022, I applied to USDA under the

   Emergency Relief Program 2022, Track 1, identifying an eligible loss of $46,969.50. USDA issued

   me a program payment of $7,272.71. Meanwhile, my wife applied to USDA for her half of the

   venture, seeking relief for the same loss amount but receiving a payment from USDA of

   $71,900.96. Although our losses were identical since we own an equal share of our farming and


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   ranching venture, USDA paid my wife $64,628.25 more, solely because she is a woman, and I am

   a man.

            21.    In addition to the payment under the Emergency Relief Program 2022, Track 1,

   being reduced because I am a white man, USDA made two substantial changes to the calculation

   of payments that reduced my 2022 program payment relative to previous years. First, USDA did

   not include any refunds of federal crop insurance premiums and fees for non-underserved farmers.

   Second, USDA applied its newly adopted progressive factoring. These changes came as a surprise.

            22.    Had I not been Caucasian and male, I would not have been denied disaster relief

   from USDA under the Coronavirus Food Assistance Program 2; the Emergency Relief Program

   2021, Phases 1 and 2; the Emergency Livestock Relief Program 2021, Phases 1 and 2; the

   Emergency Livestock Relief Program 2022; and the Emergency Relief Program 2022, Track 1.

            23.    USDA’s decision that I must be a veteran, a new farmer, or struggling to make ends

   meet to be entitled to the same disaster relief as every other American farmer is stigmatizing and

   discriminatory. I am aware that USDA is punishing me because of my race and sex.

            I declare under penalty of perjury under the laws of the United States of America that the

   foregoing is true and correct to the best of my knowledge, information, and belief.




   Dated: ___________                                           _____________________________
                                                                Rusty Strickland




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